                Case 20-11561-KBO               Doc 6      Filed 08/28/20        Page 1 of 976




                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

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                                                             :
In re                                                        :        Chapter 11
                                                             :
24 HOUR FITNESS                                              :        Case No. 20– 11558 (KBO)
WORLDWIDE, INC., et al.,                                     :
                                                             :
                                    Debtors.1                :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x


                       SCHEDULE OF ASSETS AND LIABILITIES FOR
                      24 HOUR FITNESS USA, INC. (CASE NO. 20-11561)




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are 24 Hour Holdings II LLC (N/A); 24 Hour Fitness Worldwide, Inc. (5690); 24 Hour
    Fitness United States, Inc. (8376); 24 Hour Fitness USA, Inc. (9899); 24 Hour Fitness Holdings LLC (8902); 24
    San Francisco LLC (3542); 24 New York LLC (7033); 24 Denver LLC (6644); RS FIT Holdings LLC (3064);
    RS FIT CA LLC (7007); and RS FIT NW LLC (9372). The Debtors’ corporate headquarters and service address
    is 12647 Alcosta Blvd., Suite 500, San Ramon, CA 94583.
              Case 20-11561-KBO          Doc 6     Filed 08/28/20     Page 2 of 976




                     GLOBAL NOTES AND STATEMENTS OF
               LIMITATIONS, METHODOLOGY, AND DISCLAIMERS
              REGARDING THE DEBTORS’ SCHEDULES OF ASSETS
           AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        24 Hour Fitness Worldwide, Inc. (“Worldwide”) and its debtor affiliates in the above-
captioned chapter 11 cases, as debtors and debtors in possession (collectively, the “Debtors”), are
filing their respective Schedules of Assets and Liabilities (each, a “Schedule” and, collectively,
the “Schedules”) and Statements of Financial Affairs (each, a “Statement” and, collectively,
the “Statements”) in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”) pursuant to section 521 of title 11 of the United States Code
(the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”).

       These Global Notes and Statements of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are
incorporated by reference in, and comprise an integral part of all of the Schedules and Statements.
The Global Notes are in addition to the specific notes set forth below with respect to the Schedules
and Statements (the “Specific Notes” and, together with the Global Notes, the “Notes”). These
Notes should be referred to, and referenced in connection with, any review of the Schedules and
Statements.

         The Debtors’ management team prepared the Schedules and Statements with the assistance
of their advisors and other professionals. The Schedules and Statements are unaudited and subject
to potential adjustment. In preparing the Schedules and Statements, the Debtors relied on financial
data derived from their books and records that was available at the time of preparation. The
Debtors’ management team and advisors have made reasonable efforts to ensure that the Schedules
and Statements are as accurate and complete as possible under the circumstances; however,
subsequent information or discovery may result in material changes to the Schedules and
Statements, and errors or omissions may exist. Notwithstanding any such discovery, new
information, or errors or omissions, the Debtors do not undertake any obligation or commitment
to update the Schedules and Statements.

                The Debtors reserve all rights to amend or supplement the Schedules and
Statements from time to time, in all respects, as may be necessary or appropriate, including the
right to dispute or otherwise assert offsets or defenses to any claim reflected on the Schedules and
Statements as to amount, liability, classification, or identity of the applicable Debtor or to
otherwise subsequently designate any claim as “disputed,” “contingent,” or “unliquidated.”
Furthermore, nothing contained in the Schedules, Statements, or Notes shall constitute a waiver of
any of the Debtors’ rights or an admission with respect to their chapter 11 cases, including any
issues involving objections to claims, substantive consolidation, equitable subordination, defenses,
characterization or re-characterization of contracts and leases, assumption or rejection of contracts
and leases under the provisions of chapter 3 of the Bankruptcy Code, causes of action arising under
the provisions of chapter 5 of the Bankruptcy Code, or any other relevant applicable laws to
recover assets or avoid transfers.




                                                 2
             Case 20-11561-KBO         Doc 6     Filed 08/28/20     Page 3 of 976




                                         Global Notes

The Schedules, Statements, and Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events, or performance of any
of the Debtors or their affiliates.

       1.     Description of the Cases. On June 15, 2020 (the “Petition Date”), each of the
              Debtors commenced a voluntary case under chapter 11 of the Bankruptcy Code.
              The Debtors are authorized to operate their businesses and manage their properties
              as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
              Code. On the Petition Date, the Bankruptcy Court entered an order authorizing the
              joint administration of the chapter 11 cases pursuant to Bankruptcy Rule 1015(b).
              [See Docket No. 90.] Notwithstanding the joint administration of the Debtors’
              cases for procedural purposes, each Debtor has filed its own Schedule and
              Statement. On June 25, 2020, the United States Trustee for the District of Delaware
              (the “U.S. Trustee”) appointed an official committee of unsecured creditors
              pursuant to section 1102(a)(1) of the Bankruptcy Code (the “Creditors’
              Committee”).

       2.     Basis of Presentation. For financial reporting purposes, the Debtors generally
              prepare consolidated financial statements, which include information for
              Worldwide and its Debtor and non-Debtor affiliates. The Schedules and Statements
              are unaudited and reflect the Debtors’ reasonable efforts to report certain financial
              information of each Debtor on an unconsolidated basis. These Schedules and
              Statements neither purport to represent financial statements prepared in accordance
              with Generally Accepted Accounting Principles in the United States (“GAAP”),
              nor are they intended to be fully reconciled with the financial statements of each
              Debtor.

              The Debtors used reasonable efforts to attribute the assets and liabilities, certain
              required financial information, and various cash disbursements to each particular
              Debtor entity. Because the Debtors’ accounting systems, policies, and practices
              were developed for consolidated reporting purposes rather than for reporting by
              legal entity, however, it is possible that not all assets and liabilities have been
              recorded with the correct legal entity on the Schedules and Statements.
              Accordingly, the Debtors reserve all rights to supplement and amend the Schedules
              and Statements in this regard, including with respect to reallocation of assets or
              liabilities to any particular entity.

       3.     Reporting Date. Unless otherwise noted on the specific responses, the Schedules
              and Statements generally reflect the Debtors’ books and records as of the Petition
              Date. The liability values are as of the Petition Date, adjusted for authorized
              payments made under the First Day Orders (as defined below).

       4.     Current Values. The assets and liabilities of each Debtor are listed on the basis of
              the book value of the asset or liability in the respective Debtor’s accounting books




                                                3
     Case 20-11561-KBO         Doc 6    Filed 08/28/20      Page 4 of 976




     and records. Unless otherwise noted, the carrying value on the Debtors’ books,
     rather than the current market value, is reflected in the Schedules and Statements.

5.   Confidentiality. There may be instances where certain information was not
     included or was redacted due to the nature of an agreement between a Debtor and
     a third party, concerns about the confidential or commercially sensitive nature of
     certain information, or to protect the privacy of an individual.

6.   Consolidated Entity Accounts Payable and Disbursement Systems.
     As described in the Motion of Debtors for Entry of Interim and Final Orders
     (I) Authorizing Debtors to (A) Continue Participating in Existing Cash
     Management System and Using Bank Accounts and Business Forms, and
     (B) Continue Intercompany Transactions, (II) Providing Administrative Expense
     Priority for Postpetition Intercompany Claims, and (III) Granting Related Relief
     [Docket No. 8] (the “Cash Management Motion”), the Debtors utilize an
     integrated, centralized cash management system in the ordinary course of business
     to collect, concentrate, and disburse funds generated by their operations (the “Cash
     Management System”). The Debtors maintain a consolidated disbursements
     system to pay operating and administrative expenses through disbursement
     accounts.

     In the ordinary course of business, the Debtors maintain business relationships
     among each other, which result in intercompany receivables and payables
     (the “Intercompany Claims”) arising from intercompany transactions
     (the “Intercompany Transactions”). As set forth more fully in the Cash
     Management Motion, the primary Intercompany Transactions giving rise to
     Intercompany Claims are cash receipts activities, disbursement activities, and
     expense allocations. Historically, Intercompany Claims are not settled by actual
     transfers of cash among the Debtors. Instead, the Debtors track all Intercompany
     Transactions in their accounting system, which concurrently are recorded on the
     applicable Debtors’ balance sheets. The Debtors’ accounting system requires that
     all general-ledger entries be balanced at the legal-entity level. Unless otherwise
     noted, the Debtors have reported the aggregate net intercompany balances among
     the Debtors as assets on Schedule A/B or as liabilities on Schedule E/F, as
     appropriate.

7.   Accuracy. The financial information disclosed herein was not prepared in
     accordance with federal or state securities laws or other applicable nonbankruptcy
     law or in lieu of complying with any periodic reporting requirements thereunder.
     Persons and entities trading in or otherwise purchasing, selling, or transferring
     claims against or equity interests in the Debtors should evaluate this financial
     information in light of the purposes for which it was prepared. The Debtors are not
     liable for and undertake no responsibility to indicate variations from securities laws
     or for any evaluations of the Debtors based on this financial information or any
     other information.




                                       4
      Case 20-11561-KBO         Doc 6     Filed 08/28/20     Page 5 of 976




8.    Net Book Value of Assets. In many instances, current market valuations are not
      maintained by or readily available to the Debtors. Thus, wherever possible, net
      book values as of the Petition Date are presented. When necessary, the Debtors
      have indicated that the value of certain assets is “unknown” or “undetermined.”
      Amounts ultimately realized may vary materially from net book value (or other
      value so ascribed). Accordingly, the Debtors reserve all rights to amend,
      supplement, and adjust the asset values set forth in the Schedules and Statements.
      As applicable, fixed assets and leasehold-improvement assets that have been fully
      depreciated or amortized, or were expensed for GAAP accounting purposes, have
      no net book value and, therefore, are not included in the Schedules and Statements.

9.    Undetermined Amounts. Claim amounts that could not readily be quantified by
      the Debtors are scheduled as “undetermined,” “unknown,” or “N/A.” The
      description of an amount as “undetermined,” “unknown,” or “N/A” is not intended
      to reflect upon the materiality of the amount.

10.   Excluded Assets and Liabilities. The Debtors believe that they have identified,
      but did not necessarily value, all material categories of assets and liabilities in the
      Schedules. The Debtors have excluded certain accrued liabilities, including,
      without limitation, accrued salaries and wages, employee benefit accruals, and
      certain other accruals, as well as certain other assets and liabilities considered to
      have de minimis or no market value, from the Schedules and Statements. Other
      immaterial assets and liabilities may also have been excluded.

11.   Totals. All totals that are included in the Schedules and Statements represent totals
      of all the known amounts included in the Schedules and Statements and exclude
      items identified as “unknown” or “undetermined.” If there are unknown or
      undetermined amounts, the actual totals may be materially different from the listed
      totals.

12.   Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
      unless otherwise indicated.

13.   Payment of Prepetition Claims Pursuant to First Day Orders. Following the
      Petition Date, the Bankruptcy Court entered various orders (the “First Day
      Orders”) authorizing, but not directing, the Debtors to, among other things, pay
      certain prepetition (i) service fees and charges assessed by the Debtors’ banks;
      (ii) insurance and surety bond obligations; (iii) obligations to critical vendors;
      (iv) claims of shippers and lienholders; (v) customer program obligations;
      (vi) employee wages, salaries, and related items (including, employee benefit
      programs and independent contractor obligations); and (vii) taxes and assessments.
      Accordingly, outstanding liabilities may have been reduced by any court-approved
      post-petition payments made with respect to prepetition payables. Where and to
      the extent these liabilities have been satisfied, they are not listed in the Schedules
      and Statements unless otherwise noted. To the extent the Debtors later pay any
      amount of the claims listed in the Schedules and Statements pursuant to any orders
      entered by the Bankruptcy Court, the Debtors reserve all rights to amend or



                                        5
      Case 20-11561-KBO         Doc 6    Filed 08/28/20      Page 6 of 976




      supplement the Schedules and Statements or to take other action, such as filing
      claims objections, as is necessary and appropriate to avoid overpayment or
      duplicate payments for liabilities. Nothing contained herein should be deemed to
      alter the rights of any party in interest to contest a payment made pursuant to an
      order of the Bankruptcy Court where such order preserves the right to contest.

14.   Other Paid Claims. To the extent the Debtors have reached any postpetition
      settlement with a vendor or other creditor, the terms of such settlement will prevail
      and shall supersede amounts listed in the Debtors’ Schedules and Statements and
      be enforceable by all parties, subject to Bankruptcy Court approval.

15.   Setoffs. The Debtors routinely incur certain setoffs with respect to vendors and
      other third parties in the ordinary course of business. Setoffs in the ordinary course
      can result from various items, including, but not limited to, pricing discrepancies,
      returns, promotional funding, and other disputes between the Debtors and third
      parties. These routine setoffs are consistent with the ordinary course of business in
      the Debtors’ industry and, therefore, can be particularly voluminous, unduly
      burdensome, and costly for the Debtors to regularly document. Therefore, although
      such setoffs and other similar rights may have been accounted for when scheduling
      certain amounts, these ordinary-course setoffs are not independently accounted for
      and, thus, are excluded from the Debtors’ Schedules and Statements. Any setoff of
      a prepetition debt to be applied against the Debtors is subject to the automatic stay
      and must comply with section 553 of the Bankruptcy Code.

16.   Inventory. The Debtors maintain saleable inventory, primarily at their club
      locations. Such inventories are valued at the lower of cost or market or net
      realizable value.

17.   Property and Equipment. Property and equipment are recorded at historical cost.
      Depreciation is computed on the straight-line method over the estimated useful
      lives of the furniture, fixtures, and equipment, which generally range from five to
      ten years. Amortization of leasehold improvements is computed on the straight-
      line method based upon the shorter of the estimated useful lives of the assets or the
      terms of the respective leases.

18.   Debtors’ Reservation of Rights. Nothing contained in the Schedules, Statements,
      or Notes shall constitute a waiver of rights with respect to these chapter 11 cases,
      including, but not limited to, the following:

      a.     Any failure to designate a claim listed on the Debtors’ Schedules and
             Statements as “disputed,” “contingent,” or “unliquidated” does not
             constitute an admission by the Debtors that such amount is not “disputed,”
             “contingent,” or “unliquidated.” The Debtors reserve the right to dispute
             and to assert setoff rights, counterclaims, and defenses to any claim
             reflected on the Schedules as to amount, liability, and classification and to
             otherwise subsequently designate any claim as “disputed,” “contingent,” or
             “unliquidated.”




                                        6
Case 20-11561-KBO       Doc 6     Filed 08/28/20      Page 7 of 976




b.    Notwithstanding that the Debtors have made reasonable efforts to correctly
      characterize, classify, categorize, or designate certain claims, assets,
      executory contracts, unexpired leases, and other items reported in the
      Schedules and Statements, the Debtors nonetheless may have improperly
      characterized, classified, categorized, or designated certain items. The
      Debtors thus reserve all rights to re-characterize, re-classify, re-categorize,
      or re-designate items reported in the Schedules and Statements at a later
      time as is necessary and appropriate.

c.    The listing of a claim on Schedule D as “secured,” on Schedule E/F (Part 1)
      as “priority,” on Schedule E/F (Part 2) as “unsecured” or the listing of a
      contract or lease on Schedule G as “executory” or “unexpired” does not
      constitute an admission by the Debtors of the legal rights of the claimant or
      a waiver of the Debtors’ rights to re-characterize or re-classify such claim
      or contract pursuant to an amendment to the Schedules, a claim objection,
      or otherwise. Moreover, although the Debtors may have scheduled claims
      of various creditors as secured claims for informational purposes, no current
      valuation of the Debtors’ assets in which such creditors may have a security
      interest has been undertaken. Except as provided in an order of the
      Bankruptcy Court, the Debtors reserve all rights to dispute and challenge
      the secured nature or amount of any such creditors’ claims, the
      characterization of the structure of any transaction, or any document or
      instrument related to such creditors’ claims.

d.    In the ordinary course of their business, the Debtors lease real property from
      certain third-party lessors to operate their businesses. The Debtors have
      made commercially reasonable efforts to list any such leases in Schedule G,
      and any current amounts due under such leases that were outstanding as of
      the Petition Date are listed on Schedule E/F. Except as otherwise noted
      herein, the property subject to any such leases is not reflected in Schedule
      A/B as either owned property or assets of the Debtors, and neither is such
      property or assets of third parties within the control of the Debtors. Nothing
      in the Schedules is or shall be construed as an admission or determination
      as to the legal status of any lease (including whether any lease is a true lease
      or a financing arrangement), and the Debtors reserve all rights with respect
      to any of such issues, including the re-characterization thereof.

e.    The claims of individual creditors for, among other things, goods, products,
      services, or taxes are listed as the amounts entered on the Debtors’ books
      and records and may not reflect credits, allowances, or other adjustments
      due from such creditors to the Debtors. The Debtors reserve all of their
      rights with regard to such credits, allowances, and other adjustments,
      including the right to assert claims objections and/or setoffs with respect to
      the same.

f.    The Debtors’ businesses are part of a complex enterprise. Although the
      Debtors have exercised their reasonable efforts to ensure the accuracy of



                                 7
Case 20-11561-KBO       Doc 6     Filed 08/28/20       Page 8 of 976




      their Schedules and Statements, the Schedules and Statements nevertheless
      may contain errors and omissions. The Debtors hereby reserve all of their
      rights to dispute the validity, status, and enforceability of any contracts,
      agreements, and leases identified in the Debtors’ Schedules and Statements
      and to amend and supplement the Schedules and Statements as necessary.

g.    The Debtors further reserve all of their rights, claims, and causes of action
      with respect to the contracts and agreements listed on the Schedules and
      Statements, including, but not limited to, the right to dispute and challenge
      the characterization or the structure of any transaction, document, and
      instrument related to a creditor’s claim.

h.    Except as otherwise indicated, the Debtors have identified the primary
      Debtor obligor(s) with respect to their executory contracts, unexpired
      leases, and other agreements. The Debtors reserve their rights to amend and
      supplement the Schedules and Statements to the extent that guarantees and
      other secondary liability claims are identified. In addition, the Debtors
      reserve the right to amend the Schedules and Statements to re-characterize
      and re-classify any such contract or claim.

i.    Listing a contract or lease on the Debtors’ Schedules and Statements shall
      not be deemed an admission that such contract is an executory contract,
      such lease is an unexpired lease, or that either necessarily is a binding, valid,
      and enforceable contract. The Debtors hereby expressly reserve the right to
      assert that any contract listed on the Debtors’ Schedules and Statements
      does not constitute an executory contract within the meaning of section 365
      of the Bankruptcy Code and the right to assert that any lease so listed does
      not constitute an unexpired lease within the meaning of section 365 of the
      Bankruptcy Code.

j.    Exclusion of certain intellectual property should not be construed to be an
      admission that such intellectual property rights have been abandoned, have
      been terminated or otherwise expired by their terms, or have been assigned
      or otherwise transferred pursuant to a sale, acquisition, or other transaction.
      Conversely, inclusion of certain intellectual property should not be
      construed to be an admission that such intellectual property rights have not
      been abandoned, have not been terminated or otherwise expired by their
      terms, or have not been assigned or otherwise transferred pursuant to a sale,
      acquisition, or other transaction.

k.    To timely close the books and records of the Debtors as of the Petition Date
      and to prepare such information on a legal-entity basis, the Debtors were
      required to make certain estimates and assumptions that affect the reported
      amounts of assets and liabilities and reported revenue and expenses as of
      the Petition Date. The Debtors reserve all rights to amend the reported
      amounts of assets, liabilities, revenue, and expenses to reflect changes in
      those estimates and assumptions.



                                 8
      Case 20-11561-KBO      Doc 6    Filed 08/28/20    Page 9 of 976




19.   Global Notes Control. In the event that the Schedules or Statements differ from
      any of the foregoing Global Notes, the Global Notes shall control.




                                     9
            Case 20-11561-KBO          Doc 6    Filed 08/28/20     Page 10 of 976




      Specific Notes with Respect to the Debtors’ Schedules of Assets and Liabilities

Schedule A/B

   a. Part 1. As set forth more fully in the Cash Management Motion, the Debtors conduct their
      operations through an extensive network of bank accounts. The values provided for in
      Schedule A/B, Item 3 for each account for a given Debtor reflect the ending cash balance
      of such account as of the close of business on June 14, 2020.

   b. Part 2. The Debtors maintain certain deposits in the conduct of their business operations,
      which are included in the Schedules for the appropriate legal entity. Certain prepaid or
      amortized assets are listed in Part 2 in accordance with the Debtors’ books and records.
      The amounts listed in Part 2 do not necessarily reflect values that the Debtors will be able
      to collect or realize. The amounts listed in Part 2 include, among other things, various
      prepaid deposits, prepaid taxes, prepaid insurance, and prepaid supplies.

   c. Part 3. The Debtors’ accounts receivable information includes receivables from the
      Debtors’ members, vendors, or third parties, which are calculated net of any amounts that,
      as of the Petition Date, may be owed to such parties in the form of offsets or other
      adjustments pursuant to the Debtors’ day-to-day operations or may, in the Debtors’
      opinion, be difficult to collect from such parties due to the passage of time or other
      circumstances. The Debtors indicate the age of accounts receivables in the Schedules for
      the applicable Debtor. The accounts receivable balances in this section exclude
      intercompany receivables.

      As stated in the Cash Management Motion, the Debtors historically have tracked
      Intercompany Transactions and continue to track such Intercompany Transactions on a
      post-petition, Debtor-by-Debtor basis.

   d. Part 4. Any of the Debtors’ ownership interests in subsidiaries, partnerships, and joint
      ventures were not considered and are not listed in Schedule A/B, Part 4 because the fair
      market value of such interests is dependent on numerous variables and factors and may
      differ significantly from the net book value.

   e. Part 5. The Debtors maintain saleable inventory, primarily at their club locations. Such
      inventories are valued at the lower of cost or market or net realizable value.

   f. Part 7. The Debtors have identified owned furniture, fixtures, and equipment. Actual
      realizable values may vary significantly relative to net book values as of the Petition Date.

   g. Part 9. Actual realizable values of the identified leasehold improvements may vary
      significantly relative to net book values as of the Petition Date.

   h. Part 10. The Debtors have identified intangible assets as of the Petition Date, although
      the Debtors have not listed the value of such assets because the values reflected in the
      Debtors’ books and records may not accurately reflect such assets’ value in the




                                               10
             Case 20-11561-KBO           Doc 6     Filed 08/28/20      Page 11 of 976




       marketplace. Additionally, certain of the Debtors have member information from
       conducting gift card programs, credit card and online sales, and ordinary-course business
       practices for an operator of fitness clubs, which information may include personally
       identifiable information. The Debtors maintain certain records in the ordinary course of
       business but do not sell these records in the ordinary course of business. Due to the need
       to protect confidential information and individual privacy, the Debtors have not furnished
       any customer lists on their Schedules.

   i. Part 11. In the ordinary course of business, the Debtors may have accrued, or may
      subsequently accrue, certain rights to counterclaims, cross-claims, setoffs, and refunds with
      and potential warranty claims against their vendors, among other claims. Additionally,
      certain of the Debtors may be party to pending litigation in which the Debtors have
      asserted, or may assert, claims as plaintiffs or counter-claims and/or cross-claims as
      defendants. Such litigation is listed in the Statements.

       Despite exercising their reasonable efforts to identify all such assets, the Debtors may not
       have listed all of their causes of action or potential causes of action against third parties as
       assets in their Schedules, including, but not limited to, avoidance actions arising under
       chapter 5 of the Bankruptcy Code, actions under other relevant nonbankruptcy laws to
       recover assets, and actions relating to or arising from the COVID-19 pandemic. The
       Debtors reserve all of their rights with respect to any claims, causes of action, or avoidance
       actions they may have, and neither these Notes nor the Schedules shall be deemed a waiver
       of any such claims, causes of action, or avoidance actions or in any way prejudice or impair
       the assertion of such claims.

       The Debtors file consolidated federal tax returns, as well as certain of their state tax returns,
       under Worldwide. The values of the net operating losses listed in Schedule A/B reflect the
       amounts listed in the Debtors’ books and records, which may not reflect the value
       recoverable on account of such net operating losses, and may reflect net operating losses
       accumulated for more than one tax year.

       Where a Debtor holds a positive net intercompany balance, such amount has been listed on
       Schedule A/B for such Debtor. Correspondingly, where a Debtor holds a negative net
       intercompany balance, such amount has been listed on Schedule E/F, Part 2 for such
       Debtor.

Schedule D

The claims listed on Schedule D, as well as the guarantees of those claims listed on Schedule H,
arose and were incurred on various dates; a determination of the date upon which each claim arose
or was incurred would be unduly burdensome and cost prohibitive. Accordingly, not all such dates
are included for each claim. To the best of the Debtors’ knowledge, all claims listed on Schedule
D arose or were incurred prior to the Petition Date. The amounts in Schedule D are consistent
with the Debtors’ stipulations set forth in the Final Order (I) Authorizing the Debtors to Obtain
Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens
and Providing Superpriority Administrative Expense Claims, (IV) Granting Adequate Protection




                                                  11
             Case 20-11561-KBO           Doc 6    Filed 08/28/20      Page 12 of 976




to Prepetition Lenders, (V) Modifying Automatic Stay, and (VI) Granting Related Relief [Docket
No. 652] (the “DIP Order”), which remain subject to investigation and challenge by the Creditors’
Committee or other parties in interest, all as more fully set forth in the DIP Order and the order
extending the time for the Creditors’ Committee to challenge such liens entered by the Bankruptcy
Court on August 21, 2020 [Docket No. 774].

Except as otherwise agreed to or stated pursuant to a stipulation, agreed order, or general order
entered by the Bankruptcy Court that is or becomes final, including the DIP Order, the Debtors
and their estates reserve their right to dispute and challenge the validity, perfection, or immunity
from avoidance of any lien purported to be granted or perfected in any specific asset to a creditor
listed on Schedule D of any Debtor and, subject to the foregoing limitations, note as follows:
(a) although the Debtors may have scheduled claims of various creditors as secured claims for
informational purposes, no current valuation of the Debtors’ assets in which such creditors may
have a lien has been undertaken; (b) the Debtors reserve all rights to dispute and challenge the
secured nature of any creditor’s claim, the characterization of the structure of any such transaction,
or any document or instrument related to such creditor’s claim; and (c) the descriptions provided
on Schedule D only are intended to be a summary. Reference to the applicable loan agreements
and related documents is necessary for a complete description of the collateral and the nature,
extent, and priority of any liens.

Detailed descriptions of the Debtors’ prepetition debt structure and descriptions of collateral
relating to the debt contained on Schedule D are contained in the Declaration of Daniel Hugo in
Support of Debtors’ Chapter 11 Petitions and First Day Relief [Docket No. 4] (the “First Day
Declaration”). Although there are multiple parties that hold a portion of the Debtors’
indebtedness, only the administrative agent has been listed for the purposes of Schedule D. The
descriptions provided in Schedule D are intended only to be a summary. Reference to the
applicable loan documents is necessary for a complete description of the collateral and the nature,
extent, and priority of any liens. Nothing in these Notes or the Schedules and Statements shall be
deemed a modification or interpretation of the terms of such agreements

Except as specifically stated herein, real property lessors, utility companies, and other parties that
may hold deposits have not been listed on Schedule D. Additionally, the Debtors have not included
parties that may assert claims secured through setoff rights or inchoate statutory lien rights.

Schedule E/F

   a. Part 1. The claims listed on Part 1 arose and were incurred on various dates. A
      determination of the date upon which each claim arose or was incurred would be unduly
      burdensome and cost prohibitive. Accordingly, no such dates are included for each claim
      listed on Part 1. To the best of the Debtors’ knowledge, all claims listed on Part 1 arose or
      were incurred before the Petition Date.

       The Debtors have not listed any wage or wage-related obligations that the Debtors have
       paid pursuant to the First Day Orders on Part 1. The Debtors believe that all such claims
       for wages, salaries, expenses, benefits, and other compensation as described in the First




                                                 12
         Case 20-11561-KBO           Doc 6     Filed 08/28/20      Page 13 of 976




   Day Orders have been or will be satisfied in the ordinary course during these chapter 11
   cases pursuant to the authority granted to the Debtors in the relevant First Day Orders.

   Claims owing to various taxing authorities to which the Debtors potentially may be liable
   are included on Part 1. Such claims, however, may be subject to ongoing audits and/or the
   Debtors may otherwise be unable to determine with certainty the amount of the remaining
   claims listed on Part 1. Therefore, the Debtors have listed all such claims as “contingent”
   and “unliquidated,” pending final resolution of ongoing audits or other outstanding issues.

   The Debtors reserve their rights to dispute or challenge whether creditors listed on Part 1
   are entitled to priority claims under the Bankruptcy Code.

b. Part 2. The Debtors have exercised their reasonable efforts to list all liabilities on Part 2
   of each applicable Debtor’s Schedule. As a result of the Debtors’ consolidated operations,
   however, Part 2 for each Debtor should be reviewed in these chapter 11 cases for a
   complete understanding of the unsecured claims against the Debtors. Certain creditors
   listed on Part 2 may owe amounts to the Debtors, and, thus, the Debtors may have valid
   setoff and recoupment rights with respect to such amounts. The amounts listed on Part 2
   may not reflect any such right of setoff or recoupment, and the Debtors reserve all rights
   to assert the same and to dispute and challenge any setoff and/or recoupment rights that
   may be asserted against the Debtors by a creditor. Additionally, certain creditors may
   assert mechanics’ or other similar liens against the Debtors for amounts listed on Part 2.
   The Debtors reserve their right to dispute and challenge the validity, perfection, and
   immunity from avoidance of any lien purported to be perfected by a creditor listed on Part
   2 of any Debtor. In addition, certain claims listed on Part 2 may potentially be entitled to
   priority under section 503(b)(9) of the Bankruptcy Code. The Debtors reserve their right
   to dispute or challenge any priority asserted with respect to any liabilities listed on
   Schedule E/F.

   Unless otherwise noted, the claims listed on Part 2 are based on the Debtors’ books and
   records as of the Petition Date. Despite the Debtors’ reasonable efforts to include all
   unsecured creditors on Part 2, including, but not limited to, trade creditors, landlords, utility
   companies, and other service providers, there may be instances where creditors have yet to
   provide proper invoices for prepetition goods or services. Although the Debtors maintain
   general accruals to account for these liabilities in accordance with GAAP, these amounts
   are estimates and have not been included on Part 2. Such amounts are, however, reflected
   on the Debtors’ books and records, as required in accordance with GAAP, but such accruals
   primarily represent general estimates of liabilities and do not represent specific claims as
   of the Petition Date. The Debtors have made reasonable efforts to include as “contingent,”
   “unliquidated,” and/or “disputed” the claim of any party not included on the Debtors’ open
   accounts payable that is associated with an account that has an accrual or receipt not
   invoiced.

   Schedule E/F also contains information regarding pending litigation involving the Debtors.
   In certain instances, the relevant Debtor that is the subject of the litigation is unclear or
   undetermined. To the extent that litigation involving a particular Debtor has been




                                              13
             Case 20-11561-KBO         Doc 6     Filed 08/28/20     Page 14 of 976




       identified, however, such information is included on that Debtor’s Schedule E/F. The
       amounts for these potential claims are listed as undetermined and marked as “contingent,”
       “unliquidated,” and “disputed” in the Schedules.

       As of the Petition Date, the Debtors served approximately 3 million members nationwide.
       In the course of these chapter 11 cases, the Debtors will have provided notice of the general
       bar date to approximately 11.1 million current and former members and approximately 3.5
       million guests. A determination of the amount of any claim that each of the Debtors’ current
       members, former members, and guests may hold would be unduly burdensome and cost
       prohibitive.

       With respect to those 8.000% senior unsecured notes due 2022 issued under that certain
       indenture, dated as of May 30, 2014, the Debtors have listed only the indenture trustee as
       the named creditor on Schedule F. Nonetheless, these notes are beneficially owned by a
       number of other parties.

       As noted in the Global Notes, the Bankruptcy Court has authorized the Debtors to pay, in
       their discretion, certain non-priority unsecured claims pursuant to the First Day Orders. To
       the extent practicable, each Debtor’s Schedule E/F is intended to reflect the balance as of
       the Petition Date, adjusted for post-petition payments made under some or all of the First
       Day Orders. Each Debtor’s Schedule E/F will reflect that Debtor’s payment of certain
       claims pursuant to the First Day Orders, and, to the extent an unsecured claim has been
       paid or may be paid, it is possible such claim is not included on Schedule E/F. Certain
       Debtors may pay additional claims listed on Schedule E/F during these chapter 11 cases
       pursuant to the First Day Orders and other orders of the Bankruptcy Court, and the Debtors
       reserve all of their rights to update Schedule E/F to reflect such payments or to modify the
       claims register to account for the satisfaction of such claims. Additionally, Schedule E/F
       does not include potential rejection damage claims, if any, of the counterparties to
       executory contracts and unexpired leases that may be rejected.

Schedule G

Although reasonable efforts have been made to ensure the accuracy of Schedule G regarding
executory contracts and unexpired leases (collectively, the “Agreements”), the Debtors’ review
process of the Agreements is ongoing, and inadvertent errors, omissions, or over-inclusion may
have occurred. The Debtors may have entered into various other types of Agreements in the
ordinary course of their businesses, such as indemnity agreements, supplemental agreements,
amendments/letter agreements, and confidentiality agreements which may not be set forth in
Schedule G. As stated in the Global Notes, omission of a contract or agreement from Schedule G
does not constitute an admission that such omitted contract or agreement is not an executory
contract or unexpired lease. Schedule G may be amended at any time to add any omitted
Agreement. Likewise, the listing of an Agreement on Schedule G does not constitute an admission
that such Agreement is an executory contract or unexpired lease or that such Agreement was in
effect on the Petition Date or is valid or enforceable. The Agreements listed on Schedule G may
have expired or may have been modified, amended, or supplemented from time to time by various
amendments, restatements, waivers, estoppel certificates, letters and other documents,




                                                14
             Case 20-11561-KBO          Doc 6    Filed 08/28/20     Page 15 of 976




instruments, and agreements that may not be listed on Schedule G. Any and all of the Debtors’
rights, claims, and causes of action with respect to the Agreements listed on Schedule G are hereby
reserved and preserved, and, thus, the Debtors hereby reserve all of their rights to (i) dispute the
validity, status, or enforceability of any Agreements set forth on Schedule G; (ii) dispute or
challenge the characterization of the structure of any transaction or any document or instrument
related to a creditor’s claim, including, but not limited to, the Agreements listed on Schedule G;
and (iii) amend or supplement such Schedule as necessary.

Executory contracts for short-term service orders that are oral in nature have not been included in
Schedule G. Executory contracts that expired between the Petition Date and the filing of these
Schedules are also excluded from Schedule G.

Certain of the Agreements listed on Schedule G may have been entered into by or on behalf of
more than one of the Debtors. Additionally, the specific Debtor obligor(s) to certain of the
Agreements could not be specifically ascertained in every circumstance. In such cases, the Debtors
have made reasonable efforts to identify the correct Debtor’s Schedule G on which to list the
Agreement, and, where a contract party remained uncertain, such Agreement may have been listed
on a different Debtor’s Schedule G.

Schedule H

The Debtors are party to various debt agreements that were executed by multiple Debtors. The
guaranty obligations with respect to the Debtors’ prepetition indebtedness are noted on Schedule
H for each individual Debtor. In the event that two or more Debtors are co-obligors with respect
to a scheduled debt or guaranty, such debt or guaranty is listed in the Schedule and Statement of
each such Debtor at the full amount of such potential claim, and such claim is marked “contingent”
and “unliquidated.”

In the ordinary course of their businesses, the Debtors are involved in pending or threatened
litigation and claims arising out of the conduct of their businesses. Some of these matters may
involve multiple plaintiffs and defendants, some or all of whom may assert cross-claims and
counter-claims against other parties and some or all of whom may have been named as plaintiffs
and defendants inadvertently. Such claims are listed elsewhere in the Schedules, and they have
not been set forth individually on Schedule H.

Except as otherwise indicated, the Debtors have identified the primary Debtor obligor(s) with
respect to their executory contracts, unexpired leases, and other agreements. The Debtors reserve
their rights to amend and supplement the Schedules and Statements to the extent that guarantees
and other secondary liability claims are identified.

No claim set forth on the Schedules and Statements of any Debtor is intended to acknowledge
claims of creditors that are otherwise satisfied or discharged by other Debtors or non-Debtors. To
the extent these Notes include notes specific to Schedules D–G, such Notes also apply to the co-
Debtors listed in Schedule H. The Debtors reserve all of their rights to amend the Schedules to
the extent that additional guarantees are identified or such guarantees are discovered to have
expired or be unenforceable.




                                                15
              Case 20-11561-KBO          Doc 6     Filed 08/28/20      Page 16 of 976




         Specific Notes with Respect to the Debtors’ Statements of Financial Affairs

Part 1, Question 1

The income stated in the Debtors’ response to Question 1 is consistent with the consolidated sales
disclosed in compliance with GAAP.

The Debtors’ fiscal year ends on the last day of each calendar year:

   •   FY 2018: Comprised of 52 weeks ending December 31, 2018.

   •   FY 2019: Comprised of 52 weeks ending December 31, 2019.

   •   Stub Period 2020: Comprised of approximately 23 weeks ending June 14, 2020.

Part 2, Question 3

The obligations of the Debtors are primarily paid by and through 24 Hour Fitness USA, Inc.,
notwithstanding the fact that certain obligations may be obligations of one or more of the affiliated
Debtors.

The payments disclosed in SOFA 3 are based on payments made by the Debtors with payment
dates from March 15, 2020 to June 14, 2020. The Debtors have listed payroll-related amounts in
the aggregate, which includes amounts that were paid to insiders and included in response to
Question 4. Amounts still owed to creditors will appear on the Schedules for each Debtor, as
applicable.

All payments for services of any entities that provided consultation concerning debt counseling or
restructuring services, relief under the Bankruptcy Code, or preparation of a petition in bankruptcy
within one year immediately preceding the Petition Date are listed on Question 11 and are excluded
from Question 3.

Part 2, Question 4

For purposes of the Schedules and Statements, the Debtors define insiders as (a) officers, directors,
and anyone in control of a corporate debtor and their relatives and (b) affiliates of the Debtor and
insiders of such affiliates. Individuals listed in the Statements as insiders have been included for
informational purposes only. The Debtors do not take any position with respect to (i) such
individual’s influence over the control of the Debtors, (ii) the management responsibilities or
functions of such individual, (iii) the decision-making or corporate authority of such individual, or
(iv) whether such individual could successfully argue that he or she is not an insider under
applicable law, including, without limitation, the federal securities laws, or with respect to any
theories of liability or for any other purpose. Thus, the Debtors reserve all rights to dispute whether
someone identified is in fact an “insider” as defined in section 101(31) of the Bankruptcy Code.
For more information regarding each Debtor’s officers and directors, please refer to Question 28
and Question 29 of the Statements.




                                                  16
               Case 20-11561-KBO            Doc 6      Filed 08/28/20        Page 17 of 976




Home addresses for directors, former directors, employees, and former employees identified as
insiders have not been included in the Statements for privacy reasons.2 Amounts still owed to
creditors will appear on the Schedules for each of the Debtors, as applicable.

The payroll-related amount shown in response to Question 4, which includes, among other things,
salary, wage, and additional compensation, is a gross amount that does not include reductions for
amounts including employee tax or benefit withholdings. In the ordinary course of business,
certain corporate or personal credit cards may be utilized by insiders to pay for travel and business-
related expenses for various other individuals employed by the Debtors. As it would be unduly
burdensome for the Debtors to analyze which credit card expenses related to those incurred on
behalf of an insider as opposed to another employee (or the Debtors), the Debtors have listed the
aggregate amount paid for such expenses. Amounts still owed to creditors will appear on the
Schedules for each of the Debtors.

Part 2, Question 6

The Debtors incur certain offsets and other similar rights in the ordinary course of business.
Offsets in the ordinary course can result from various items, including, without limitation, billing
discrepancies, overpayments, returns, and other disputes between the Debtors and their club
members, vendors, and contract counterparties. These offsets and other similar rights are
consistent with the ordinary course of business in the Debtors’ industry and are not tracked
separately.

Part 3, Question 7

Actions described in response to Question 7 include, but are not limited to, consumer disputes,
employee matters, and personal injury suits.

The Debtors reserve all of their rights and defenses with respect to any and all listed lawsuits and
administrative proceedings. The listing of such suits and proceedings shall not constitute an
admission by the Debtors of any liabilities or that the actions or proceedings were correctly filed
against the Debtors or any affiliates of the Debtors. The Debtors also reserve their rights to assert
that neither the Debtors nor any affiliate of the Debtors is an appropriate party to such actions or
proceedings. Further, the Debtors operate in numerous jurisdictions and in the ordinary course of
business may have disputed property valuations/tax assessments. The Debtors have not listed such
disputes on Question 7.

Part 4, Question 9

The donations and/or charitable contributions listed in response to this question represent
payments made by the Debtors to third parties during the applicable timeframe that were recorded
as such within the Debtors’ books and records. In addition to the charitable contributions listed
therein, the Debtors may make de minimis gifts or gifts in kind from time to time.


2
    On June 16, 2020, the Bankruptcy Court entered an order granting the Debtors’ motion requesting authority to
    redact the home addresses of the Debtors’ current and former employees. [See Docket No. 119.]




                                                      17
             Case 20-11561-KBO          Doc 6    Filed 08/28/20     Page 18 of 976




Part 5, Question 10

The Debtors occasionally incurred losses for a variety of reasons, including theft and property
damage. The Debtors, however, may not have records of all such losses if such losses do not have
a material impact on the Debtors’ business or are not reported for insurance purposes. Accordingly,
in this context, the Debtors have not listed such losses.

Additionally, the Debtors have not listed any losses arising from or related to the COVID-19
pandemic.

Part 6, Question 11

All payments for services of any entities that provided consultation concerning debt counseling or
restructuring services, relief under the Bankruptcy Code, or preparation of a petition in bankruptcy
within one year immediately preceding the Petition Date are listed on the applicable Debtor’s
response to Question 11. Additional information regarding the Debtors’ retention of professional
service firms is more fully described in individual retention applications and related orders. In
addition, the Debtors have listed payments made to professionals retained by the Debtors but not
payments made to advisors of their lenders or other parties.

Part 6, Question 13

The Debtors may, from time to time and in the ordinary course of business, transfer equipment
and other assets and/or sell certain equipment and other assets to third parties. These types of
ordinary course transfers have not been disclosed in Question 13.

Part 9, Question 16

The Debtors collect a limited amount of information from club members and guests, including
personally identifiable information, via their website portals and mobile applications, over the
telephone, or in person in order to provide services to members and guests and inform them of new
products and services. Examples of the types of information collected by the Debtors include,
among other things, mailing addresses, email addresses, phone number, and names. The Debtors
retain such information as long as is necessary for the Debtors to comply with business, tax, and
legal requirements. The Debtors maintain privacy policies and have information security protocols
to safeguard personally identifiable information.

Part 9, Question 17

As of the Petition Date, the Debtors maintained a non-qualified deferred compensation plan (a/k/a
the 24 Hour Fitness USA, Inc. Deferred Compensation Plan) (the “NQDC Plan”). Claims of
participants in the NQDC Plan have been listed with an “unknown” value and designated as
“contingent” and “unliquidated.”

Part 10, Question 18

In the ordinary course of the Debtors’ business, the Debtors are engaged in various financial
instruments, including Letters of Credit that are renewed on a regular basis. Certain accounts or



                                                18
             Case 20-11561-KBO         Doc 6    Filed 08/28/20     Page 19 of 976




instruments that appear to have been “closed” were closed in regard to that particular period but
were renewed for subsequent periods. To the extent the Debtors have any accounts or instruments
that appear to have been closed but were in fact renewed for subsequent years and are continuing
under a present renewal, the Debtors have not included those accounts or instruments in response
to Question 18.

Part 11, Question 21

In the ordinary course of business, the Debtors’ club locations contain items owned by others,
including, but not limited to vending machines and beverage coolers. The Debtors have not
included such items in response to Question 21.

Part 13, Question 26

   a. Question 26(a), (b), and (c).

       In the ordinary course of business, the Debtors retain certain bookkeepers, accountants, or
       other firms or individuals (collectively, “Recipients”) in order to review the Debtors’
       books and records for the purpose of auditing the books and records or preparing financial
       statements. The Debtors have not included members of their management team in response
       to Question 26, given the number of such persons who may have reviewed the Debtors’
       books and records.

       The Debtors do not maintain complete lists to track all persons who may have reviewed
       their books and records and cannot account for the possibility that persons may have
       reviewed the Debtors’ books and records without the Debtors’ knowledge or consent.
       Considering the number of such persons and the possibility that persons may have
       reviewed the Debtors’ books and records without the Debtors’ knowledge or consent, the
       Debtors have not disclosed any such persons for the purposes of Question 26.

   b. Question 26(d).

       The Debtors provided financial statements in the ordinary course of business to certain
       parties for business, statutory, credit, financing, and other reasons. Recipients have
       included regulatory agencies, financial institutions, investment banks, debtholders, and
       their legal and financial advisors. Financial statements have also been provided to other
       parties as requested. The Debtors do not maintain complete lists to track such disclosures
       and cannot account for the possibility that such information may have been shared with
       parties without the Debtors’ knowledge or consent. Considering the number of such
       recipients and the possibility that such information may have been shared with parties
       without the Debtors’ knowledge or consent, the Debtors have not disclosed any parties that
       may have received such financial statements for the purposes of Question 26(d).

Part 13, Question 28

For each entity, the Debtors have included individuals identified as of the Petition Date as
directors, officers, members, or managers, as applicable, of such entity in the Debtors’
recordkeeping systems or, if no individuals were identified, an entity member, as applicable.



                                               19
              Case 20-11561-KBO          Doc 6     Filed 08/28/20     Page 20 of 976




Part 13, Question 29

The disclosures relate specifically to terminated job titles or positions and are not indicative of the
individuals’ current employment status with the Debtors. For each entity, the Debtors have
included the individuals who, during the applicable period, were identified as directors and officers
of such entity in the Debtors’ recordkeeping systems.

Part 13, Question 30

Any and all known disbursements to insiders have been listed in response to Question 4.




                                                  20
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 21 of 976

 Fill in this information to identify the case:

 Debtor name         24 Hour Fitness USA, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         20-11561
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.        Cash on hand                                                                                                                          $50,848.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Bank of America                                          Checking                     4606                                             $0.00




           3.2.    Bank of Hawaii                                           Checking                     2148                                     $1,219.26




           3.3.    Citibank                                                 Checking                     4502                                  $342,793.90




           3.4.    Citibank                                                 Checking                     5133                                  $442,599.12




           3.5.    Wells Fargo                                              Checking                     1392                                             $0.00




           3.6.    Wells Fargo                                              Checking                     3857                                             $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 1
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 22 of 976

 Debtor           24 Hour Fitness USA, Inc.                                                  Case number (If known) 20-11561
                  Name




           3.7.     Wells Fargo                                             Checking                        3881                             $0.00




           3.8.     Wells Fargo                                             Checking                        3907                             $0.00




           3.9.     Wells Fargo                                             Checking                        4641                             $0.00



           3.10
           .    Wells Fargo                                                 Checking                        5236                             $0.00



           3.11
           .    Wells Fargo                                                 Checking                        5244                             $0.00



           3.12
           .    Wells Fargo                                                 Checking                        6868                             $0.00



           3.13
           .    Wells Fargo                                                 Checking                        7248                             $0.00



           3.14
           .    Wells Fargo                                                 Checking                        8456                             $0.00



           3.15
           .    Wells Fargo                                                 Checking                        9216                             $0.00



           3.16
           .    Wells Fargo                                                 Checking                        9353                   $547,043.63



           3.17
           .    Wells Fargo                                                 Checking                        9690                             $0.00



           3.18
           .    Wells Fargo                                                 Checking                        3899                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                    $1,384,503.91
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 2
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 23 of 976

 Debtor           24 Hour Fitness USA, Inc.                                                  Case number (If known) 20-11561
                  Name



        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Holder: 1680 Kapiolani, LLC; Description: Premise deposit for club 540 Honolulu Super
           7.1.     Sport                                                                                                          $35,000.00



                    Holder: 1680 Kapiolani, LLC; Description: Premise deposit for club 540 Honolulu Super
           7.2.     Sport                                                                                                          $26,872.00




           7.3.     Holder: 3699 Wilshire, LLC; Description: Premise deposit for club 118 Mid Wilshire                             $21,566.00




           7.4.     Holder: ACE American Insurance; Description: Bond collateral for bankruptcy filing                           $259,262.08




           7.5.     Holder: Albertson's, Inc.; Description: Premise deposit for club 553 Aurora                                    $60,000.00




           7.6.     Holder: Amazon; Description: Reserves withheld for refunds and chargebacks.                                      $3,978.65



                    Holder: AMCAP/Denver Limited Partnership; Description: Premise deposit for club 326
           7.7.     Lakewood Sport                                                                                                 $20,000.00



                    Holder: Ayden (credit card processor); Description: Security deposit for Adyen credit
           7.8.     card processor                                                                                             $17,300,000.00



                    Holder: Brodsky Family Properties, LLC; Description: Premise deposit for club 704
           7.9.     Berkeley Solano Avenue FitLite                                                                                   $5,000.00



           7.10 Holder: Carrier: Marsh Risk & Insurance Services (Liberty Mutual); Description: Escrow
           .    with Liberty Mutual for club 90700                                                                                   $2,000.00



           7.11
           .    Holder: City of Homestead; Description: Utility deposit for club 618 Homestead                                       $8,626.00



           7.12
           .    Holder: City of Mesquite Utilities; Description: Utility deposit for club 211 Mesquite                             $15,000.00



           7.13 Holder: City of Sunrise; Description: Utility deposit for club 631 Sunrise Florida Super
           .    Sport                                                                                                                $5,500.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 3
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 24 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name




           7.14
           .    Holder: City of Tamarac; Description: Utility deposit for club 637 Tamarac Super Sport                              $9,220.50



           7.15
           .    Holder: CON EDISON; Description: Utility deposit for club 294 Riverdale Sport                                       $9,200.50



           7.16 Holder: Donahue Schriber Realty Group, L.P.; Description: Premise deposit for club 43
           .    Alamo Express                                                                                                     $20,000.00



           7.17 Holder: Donahue Schriber Realty Group, L.P.; Description: Premise deposit for club 48
           .    Fountain Valley                                                                                                   $18,750.00



           7.18
           .    Holder: Duke Energy ; Description: Utility deposit for club 635 Apopak Super Sport                                $18,000.00



           7.19 Holder: Duke Energy ; Description: Utility deposit for club 638 The Grove at Winter Park
           .    SS                                                                                                                $14,920.00



           7.20 Holder: Duke Energy; Description: Utility deposit for club 619 Orland Park Square Super
           .    Sport                                                                                                               $6,945.00



           7.21
           .    Holder: Duke Energy; Description: Utility deposit for club 633 Lake Mary                                          $14,335.00



           7.22 Holder: Durham Business Properties LLC; Description: Premise deposit for Portland
           .    Office                                                                                                              $5,900.00



           7.23 Holder: Florida Power & Light; Description: Utility deposit for clbu 628 Miami Cutler
           .    Ridge Sport                                                                                                       $14,298.00



           7.24
           .    Holder: Florida Power & Light; Description: Utility deposit for club 217 Plantation Sport                         $17,912.00



           7.25 Holder: Florida Power & Light; Description: Utility deposit for club 623 Pembroke Pines
           .    Shaq Sport                                                                                                        $20,557.00



           7.26 Holder: Florida Power & Light; Description: Utility deposit for club 624 Town & Country
           .    Sport                                                                                                             $22,950.00



           7.27 Holder: Florida Power & Light; Description: Utility deposit for club 627 Greenacres
           .    Shaq Active                                                                                                       $16,501.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 4
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 25 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name




           7.28
           .    Holder: Florida Power & Light; Description: Utility deposit for club 629 Miramar Sport                            $21,755.00



           7.29 Holder: Florida Power & Light; Description: Utility deposit for club 630 Boynton Beach
           .    Shaq Super Sport                                                                                                  $21,446.00



           7.30 Holder: Florida Power & Light; Description: Utility deposit for club 631 Sunrise Florida
           .    Super Sport                                                                                                       $25,148.00



           7.31
           .    Holder: Florida Power & Light; Description: Utility deposit for club 634 Miami Garden                             $15,715.00



           7.32
           .    Holder: Florida Public Utilities Co; Description: Utility deposit for club 633 Lake Mary                            $2,250.00



           7.33 Holder: Fort Worth Water Department; Description: Utility deposit for club 665 Lake
           .    Worth Sport                                                                                                         $5,000.00



           7.34 Holder: Fred Straus (Landlord); Description: Premise deposit for club 294 Riverdale
           .    Sport                                                                                                           $161,334.00



           7.35
           .    Holder: K&K Lumber Co.; Description: Premise deposit for club 114 Encinitas                                           $300.00



           7.36 Holder: Kelly/JRM Palomar Airport I, LLC; Description: Premise deposit for club 90281
           .    Office Facilities MSC                                                                                               $5,000.00



           7.37
           .    Holder: MOSO pay; Description: MOSO pay is withholding funds due to COVID-19                                      $70,745.32



           7.38 Holder: Nevada Power Company; Description: Utility deposit for club 229 Las Vegas
           .    Mountain Vista                                                                                                    $40,765.00



           7.39 Holder: NJ Division of Consumer Affairs; Description: Consumer Protection deposit for
           .    club 616 Paramus Super Sport                                                                                      $50,000.00



           7.40
           .    Holder: Northpoint Investors; Description: Premise deposit for club 519 North Point                               $42,469.00



           7.41 Holder: Orange & Rockland Electric Company; Description: Utility deposit for club 641
           .    Ramsey Crescent Ave SS                                                                                            $25,000.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 5
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 26 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name




           7.42 Holder: ORLANDO UTILITIES COMMISSION; Description: Utility deposit for club 632
           .    Orlando Orange Super Sport                                                                                        $39,270.00



           7.43
           .    Holder: PEPCO; Description: Utility deposit for club 816 Glenarden Landover                                         $8,600.00



           7.44 Holder: Poland General Electric; Description: Utility deposit for multiple clubs in
           .    Portland                                                                                                        $125,028.00



           7.45
           .    Holder: San Diego Gas & Electric; Description: Utility deposit for club 481 San Marcos                            $14,374.00



           7.46 Holder: State of Maryland; Description: Consumer Protection deposit for club 611
           .    Annapolis Riva Rd. Super Sport                                                                                  $200,000.00



           7.47 Holder: State of Maryland; Description: Consumer Protection deposit for club 816
           .    Glenarden Super Sport                                                                                           $200,000.00



           7.48 Holder: State of New Jersey (until end of business in state); Description: Consumer
           .    Protection deposit for 642 Englewood Cliffs Super Sport                                                           $50,000.00



           7.49 Holder: State of New Jersey Division of Consumer Affairs ; Description: Consumer
           .    Protection deposit for club 641 Ramsey Supersport                                                                 $50,000.00



           7.50 Holder: State of New Jersey; Description: Consumer Protection deposit for club 614
           .    Piscataway Super Sport                                                                                            $50,000.00



           7.51 Holder: State of New Jersey; Description: Consumer Protection deposit for club 615
           .    Springfield Super Sport                                                                                           $50,000.00



           7.52 Holder: State of New Jersey; Description: Consumer Protection deposit for club 643
           .    Wayne Towne Center Super Sport                                                                                    $50,000.00



           7.53 Holder: State of New Jersey; Description: Consumer Protection deposit for club 644
           .    Woodbridge Township Super Sport                                                                                   $50,000.00



           7.54 Holder: State of New Jersey; Description: Consumer Protection deposit for club 645
           .    Whippany Super Sport                                                                                              $50,000.00



           7.55 Holder: State of New Jersey; Description: Consumer Protection deposit for club 654
           .    Hasbrouck Heights Super Sport                                                                                     $50,000.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 6
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 27 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name




           7.56 Holder: State of NJ Division of Consumer Affairs; Description: Consumer Protection
           .    deposit for club 283 Saddle Brook Sport                                                                           $50,000.00



           7.57 Holder: State of NJ Division of Consumer Affairs; Description: Consumer Protection
           .    deposit for club 285 Jersey City Sport                                                                            $50,000.00



           7.58 Holder: State of NJ Divison of Consumer Affairs; Description: Consumer Protection
           .    deposit for club 282 Clark Super Sport                                                                            $50,000.00



           7.59 Holder: Switch Communications Group LLC / Datacenter Cabinet Colocation;
           .    Description: Security deposit for Switch IT racks                                                                 $22,184.00



           7.60
           .    Holder: TECO; Description: Utility deposit for club 639 Kissimmee, FL                                             $23,000.00



           7.61 Holder: The Realty Associates Funds VII, L.P.; Description: Premise deposit for club 94
           .    Miramar                                                                                                           $60,979.00



           7.62 Holder: Treasurer of Virginia (till end of business in state); Description: Consumer
           .    Protection deposit for club 817 Tysons Corner Super Sport                                                       $100,000.00



           7.63 Holder: Treasurer of Virginia ; Description: Consumer Protection deposit for club 19
           .    Fairfax Super Sport                                                                                             $100,000.00



           7.64 Holder: Treasurer of Virginia; Description: Consumer Protection deposit for club 818
           .    Falls Church Super Sport                                                                                        $100,000.00



           7.65 Holder: United Parcel Service, Inc. (UPS); Description: Premise deposit for club 512 San
           .    Ramon Super Sport                                                                                                 $67,664.00



           7.66
           .    Holder: Van Ness Post Center, LLC; Description: Premise deposit for club 502 Van Ness                             $83,667.00



           7.67 Holder: Wells Fargo / NY Division of Licensing Services; Description: Consumer
           .    Protection deposit for region 105                                                                               $450,126.00



           7.68 Holder: Wells Fargo / San Francisco CA; Description: Premise deposit for IT Storage
           .    (Vista)                                                                                                           $24,300.00



           7.69 Holder: Wells Fargo / State of New York; Description: Consumer Protection deposit for
           .    club 726 Soho Ultra Sport                                                                                       $150,000.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 7
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 28 of 976

 Debtor           24 Hour Fitness USA, Inc.                                                  Case number (If known) 20-11561
                  Name




           7.70 Holder: Wells Fargo / State of Utah; Description: Consumer Protection deposit for club
           .    336 Sandy                                                                                                         $74,994.00



           7.71 Holder: Wells Fargo / State of Utah; Description: Consumer Protection deposit for club
           .    433 9th Street Sport                                                                                            $160,637.00



           7.72 Holder: Wells Fargo CD; Description: Consumer Protection deposit for club 342
           .    Sugarhouse                                                                                                        $75,035.00



           7.73 Holder: Wells Fargo CD; Description: Consumer Protection deposit for club 434 Trolley
           .    Corners                                                                                                           $75,000.00



           7.74
           .    Holder: Wells Fargo; Description: Premise deposit for club 732 Massapequa                                           $3,825.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Holder: 0000128768-Highland Fitness Ltd; Description: Prepaid CAM - ST                                        $28,723.20




           8.2.     Holder: 0000145953-Allen Fitness LP; Description: Prepaid CAM - ST                                            $22,387.92




           8.3.     Holder: 0000243202-Lakeline Austin Fitness LP; Description: Prepaid CAM - ST                                  $20,623.66




           8.4.     Holder: 0000254798-Lowry Denver Fitness LP; Description: Prepaid CAM - ST                                     $22,599.12




           8.5.     Holder: 0000263776-Frisco Fitness LP; Description: Prepaid CAM - ST                                           $20,620.92




           8.6.     Holder: 0000302561-North Richland Fitness LP; Description: Prepaid CAM - ST                                   $22,436.27




           8.7.     Holder: 0000410973-Hacienda Business Park Owners; Description: Prepaid CAM - ST                                 $3,632.62




           8.8.     Holder: 0000412975-Grimmer Auto Mall Association; Description: Prepaid CAM - ST                                 $5,393.68


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 8
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 29 of 976

 Debtor           24 Hour Fitness USA, Inc.                                                  Case number (If known) 20-11561
                  Name




           8.9.     Holder: 0000413148-Cole 24 Fort Worth TX LLC; Description: Prepaid CAM - ST                                   $28,394.64



           8.10
           .    Holder: 0000414107-A & J Properties LLC; Description: Prepaid CAM - ST                                            $17,676.76



           8.11 Holder: 0000415094-Lakeshore Towers Limited Partnership; Description: Prepaid CAM -
           .    ST                                                                                                                  $2,218.12



           8.12
           .    Holder: 0000416806-Zelprop 24 LLC; Description: Prepaid CAM - ST                                                  $26,204.65



           8.13
           .    Holder: 100 California Street LLC; Description: Prepaid Real Property Tax                                       $163,644.44



           8.14
           .    Holder: 100 Oceangate LLC ; Description: Prepaid Real Property Tax                                                    $474.90



           8.15
           .    Holder: 1211 E Arques LP; Description: Prepaid Real Property Tax                                                    $1,908.90



           8.16 Holder: 1301 East Gladstone Street Investors LLC; Description: Prepaid Real Property
           .    Tax                                                                                                                 $7,133.88



           8.17
           .    Holder: 13395 Beach Blvd LLC; Description: Prepaid Real Property Tax                                                $8,391.87



           8.18
           .    Holder: 147 Metro LLC; Description: Prepaid Real Property Tax                                                       $2,423.10



           8.19
           .    Holder: 150 Sylvan Avenue LLC; Description: Prepaid Real Property Tax                                             $12,406.63



           8.20 Holder: 16000 Pines Retail Investments, LLC (Club #617- Pembroke Pines Super Sport);
           .    Description: Prepaid Landlord Asset                                                                             $235,588.00



           8.21
           .    Holder: 1830-1850 Ocean Avenue LLC; Description: Prepaid Real Property Tax                                            $549.54



           8.22
           .    Holder: 21614 Tomball LLC; Description: Prepaid Real Property Tax                                                 $21,834.57


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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 30 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.23
           .    Holder: 24 Hour Tropicana LLC; Description: Prepaid Real Property Tax                                               $2,211.71



           8.24
           .    Holder: 24 Salem Partners LLC; Description: Prepaid Real Property Tax                                             $18,502.34



           8.25
           .    Holder: 33 Journal Square Owner LLC; Description: Prepaid Real Property Tax                                       $19,045.89



           8.26
           .    Holder: 5 Points Partners LP; Description: Prepaid Real Property Tax                                                $3,539.89



           8.27
           .    Holder: 507 Northgate LLC; Description: Prepaid Real Property Tax                                                   $6,092.13



           8.28
           .    Holder: 525 Colorado LLC; Description: Prepaid Real Property Tax                                                    $3,088.21



           8.29
           .    Holder: 5307 Sepulveda Boulevard LLC; Description: Prepaid Real Property Tax                                        $5,267.19



           8.30
           .    Holder: 600 Broadway Partners LLC ; Description: Prepaid Real Property Tax                                          $4,464.25



           8.31
           .    Holder: A & J Properties LLC; Description: Prepaid Real Property Tax                                                $7,799.19



           8.32
           .    Holder: A-1 Lock & Key; Description: Prepaid IT Supplies in Breakfix warehouse                                        $270.35



           8.33
           .    Holder: Acd Enterprises LLC; Description: Prepaid Real Property Tax                                               $14,722.13



           8.34
           .    Holder: Ag Upland LLC; Description: Prepaid Real Property Tax                                                       $3,019.35



           8.35
           .    Holder: Agre River Bridge Owner LLC; Description: Prepaid Real Property Tax                                       $15,222.34



           8.36
           .    Holder: Alacrinet Consulting; Description: Prepaid Maintenance/Support                                            $18,328.88


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 10
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 31 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.37
           .    Holder: Alacrinet Consulting; Description: Prepaid SaaS service fees                                            $200,287.17



           8.38
           .    Holder: Albee Properties LLC; Description: Prepaid Real Property Tax                                                $5,225.21



           8.39
           .    Holder: Alkitsa Investments Limited Inc; Description: Prepaid Real Property Tax                                   $17,406.08



           8.40
           .    Holder: Allianz Global Risk US Ins Co; Description: Prepaid Insurance                                             $14,204.69



           8.41
           .    Holder: Allied World Assurance Co. (U.S.) Inc.; Description: Prepaid Insurance                                        $367.41



           8.42
           .    Holder: Allied World Insurance Company; Description: Prepaid Insurance                                            $12,729.80



           8.43
           .    Holder: Allied World National Assurance Co; Description: Prepaid Insurance                                          $5,207.71



           8.44
           .    Holder: Almaden Fitness LP; Description: Prepaid Real Property Tax                                                  $2,011.87



           8.45
           .    Holder: Amazon; Description: Prepaid IT Supplies in Breakfix warehouse                                              $1,785.23



           8.46
           .    Holder: American Fire and Casualty Company; Description: Prepaid Insurance                                      $115,922.11



           8.47
           .    Holder: Anaheim Gateway LLC; Description: Prepaid Real Property Tax                                                 $2,385.69



           8.48
           .    Holder: Annapolis Towne Center At Parole LLC; Description: Prepaid Real Property Tax                            $283,344.16



           8.49
           .    Holder: Arc Hrpwotx001 LP; Description: Prepaid Real Property Tax                                                   $2,390.00



           8.50
           .    Holder: Arnold Schlesinger; Description: Prepaid Real Property Tax                                                  $1,744.07


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 11
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 32 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.51
           .    Holder: A-S 108 Friendswood Crossing LP; Description: Prepaid Real Property Tax                                   $18,105.56



           8.52 Holder: A-S 144 Grand Parkway-W. Airport, LP (Club #647 - Aliana Super Sport);
           .    Description: Prepaid Landlord Asset                                                                             $199,571.00



           8.53
           .    Holder: A-S 86 Fm 1960-Veterans Memorial LP; Description: Prepaid Real Property Tax                                 $5,958.28



           8.54
           .    Holder: A-S 93 Sh 130 - Sh 45 LP; Description: Prepaid Real Property Tax                                        $105,013.79



           8.55
           .    Holder: Atomic Investments Inc.; Description: Prepaid Real Property Tax                                             $1,319.72



           8.56
           .    Holder: Avg Chula Vista LLC; Description: Prepaid Real Property Tax                                                 $2,129.08



           8.57
           .    Holder: Avg Cypress LP; Description: Prepaid Real Property Tax                                                      $4,974.60



           8.58
           .    Holder: Avg Laguna LLC; Description: Prepaid Real Property Tax                                                      $5,840.10



           8.59
           .    Holder: Avg Partners I LLC; Description: Prepaid Real Property Tax                                                  $3,690.85



           8.60
           .    Holder: Avg Partners; Description: Prepaid Real Property Tax                                                        $2,622.34



           8.61
           .    Holder: Avg Partners; Description: Prepaid Real Property Tax                                                        $2,783.57



           8.62
           .    Holder: Avg Puyallup LLC; Description: Prepaid Real Property Tax                                                    $2,537.71



           8.63
           .    Holder: Avg-Henderson-I LLC ; Description: Prepaid Real Property Tax                                                $8,921.74



           8.64
           .    Holder: Avus Design, LLC; Description: Prepaid IT Supplies in Breakfix warehouse                                  $12,939.39


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 12
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 33 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.65
           .    Holder: Ballybrack Group LLC; Description: Prepaid Real Property Tax                                                $5,463.83



           8.66
           .    Holder: Beazley Insurance Company Inc; Description: Prepaid Insurance                                               $7,391.89



           8.67
           .    Holder: Bellevue Pacific LLC ; Description: Prepaid Real Property Tax                                               $4,239.64



           8.68
           .    Holder: Berkley Insurance Company; Description: Prepaid Insurance                                                 $17,636.92



           8.69
           .    Holder: Betty Jean Louie Iii Limited Partnership; Description: Prepaid Real Property Tax                            $2,566.29



           8.70
           .    Holder: Black Cherry LLC; Description: Prepaid Real Property Tax                                                    $1,876.21



           8.71
           .    Holder: Blue Shield of California; Description: Prepaid Health Insurance                                          $67,891.23



           8.72
           .    Holder: BMC Software; Description: Prepaid Maintenance/Support                                                    $49,497.75



           8.73
           .    Holder: Bms Realty Company LLC; Description: Prepaid Real Property Tax                                              $8,905.98



           8.74
           .    Holder: Bp-Cgcenter I LLC; Description: Prepaid Real Property Tax                                               $166,474.80



           8.75
           .    Holder: Bre Ddr Br Cornerstar Co LLC; Description: Prepaid Real Property Tax                                        $6,071.64



           8.76
           .    Holder: Bre Ddr Crocodile Falcon Ridge; Description: Prepaid Real Property Tax                                      $4,678.40



           8.77 Holder: Briarwood Rowlett, LLC (Club #648 - Rowlett Super Sport); Description: Prepaid
           .    Landlord Asset                                                                                                 $1,243,629.00



           8.78
           .    Holder: Brixmor Holdings 12 Spe LLC; Description: Prepaid Real Property Tax                                         $1,489.31


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 13
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 34 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.79
           .    Holder: Brixmor Holdings 12 Spe LLC; Description: Prepaid Real Property Tax                                       $16,497.90



           8.80
           .    Holder: Broadcast Music Inc. (BMI); Description: Prepaid License & Permits                                      $294,706.71



           8.81
           .    Holder: Builders Associates 3; Description: Prepaid Real Property Tax                                               $3,550.28



           8.82
           .    Holder: C2G; Description: Prepaid IT Supplies in Breakfix warehouse                                                   $765.57



           8.83
           .    Holder: Cable Matters; Description: Prepaid IT Supplies in Breakfix warehouse                                         $970.48



           8.84
           .    Holder: Cable Wholesale; Description: Prepaid IT Supplies in Breakfix warehouse                                       $168.49



           8.85
           .    Holder: Cables and Kits; Description: Prepaid IT Supplies in Breakfix warehouse                                       $913.37



           8.86
           .    Holder: Camunda; Description: Prepaid Maintenance/Support                                                         $17,717.80



           8.87
           .    Holder: Carbrijar LLC; Description: Prepaid Real Property Tax                                                       $2,042.18



           8.88
           .    Holder: Che Chen Liu & Shu Fen Liu; Description: Prepaid Real Property Tax                                          $7,860.04



           8.89
           .    Holder: CherryStone IT; Description: Prepaid IT Supplies in Breakfix warehouse                                    $19,830.70



           8.90
           .    Holder: Chubb Bermuda Insurance LTD; Description: Prepaid Insurance                                                   $335.83



           8.91
           .    Holder: Chubb Bermuda Insurance Ltd; Description: Prepaid Insurance                                             $258,535.38



           8.92
           .    Holder: Cintas; Description: Prepaid Maintenance/Support                                                            $2,651.07


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 14
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 35 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.93
           .    Holder: Cisco ; Description: Prepaid IT Supplies in Breakfix warehouse                                              $1,353.13



           8.94
           .    Holder: City of Los Angeles; Description: Prepaid License & Permits                                             $117,631.71



           8.95
           .    Holder: City of Oakland; Description: Prepaid License & Permits                                                   $14,568.59



           8.96
           .    Holder: City of Ontario; Description: Prepaid Real Property Tax                                                     $5,645.84



           8.97
           .    Holder: City of Santa Monica; Description: Prepaid License & Permits                                                $1,113.40



           8.98
           .    Holder: Cmf Mp South LLC; Description: Prepaid Real Property Tax                                                    $1,452.34



           8.99
           .    Holder: Coastal Serhoe; Description: Prepaid Real Property Tax                                                      $4,009.71



           8.10
           0.   Holder: Cojama 2 LP; Description: Prepaid Real Property Tax                                                       $10,592.83



           8.10
           1.   Holder: Cole 24 Orlando Fl LLC; Description: Prepaid Real Property Tax                                            $68,338.36



           8.10
           2.   Holder: Columbia Casualty Company; Description: Prepaid Insurance                                               $274,618.93



           8.10
           3.   Holder: Columbus Avenue II LLC; Description: Prepaid Real Property Tax                                            $10,275.02



           8.10
           4.   Holder: Continental Casualty Company; Description: Prepaid Insurance                                              $19,437.65



           8.10
           5.   Holder: CoStar Software; Description: Prepaid SaaS service fees                                                   $20,073.20



           8.10
           6.   Holder: CP Books Inc; Description: Prepaid Real Property Tax                                                        $3,438.18


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 15
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 36 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.10 Holder: CPTC 24HF LLC (Club #760 - Cedar Park Super Sport); Description: Prepaid
           7.   Landlord Asset                                                                                                  $204,906.00



           8.10
           8.   Holder: Crane Court LLC; Description: Prepaid Real Property Tax                                                   $18,269.47



           8.10
           9.   Holder: CRG; Description: Prepaid IT Supplies in Breakfix warehouse                                                 $4,478.30



           8.11
           0.   Holder: Curvature; Description: Prepaid IT Supplies in Breakfix warehouse                                         $47,574.79



           8.11
           1.   Holder: Deloitte; Description: Deferred Costs - Retainer                                                          $22,239.00



           8.11
           2.   Holder: Delta Dental Plan; Description: Prepaid Health Insurance                                                    $4,412.81



           8.11
           3.   Holder: Dimension Data; Description: Prepaid SaaS service fees                                                    $63,245.02



           8.11
           4.   Holder: Direct Systems Support; Description: Prepaid Maintenance/Support                                          $40,221.94



           8.11
           5.   Holder: Douglas Emmett 2016 LLC; Description: Prepaid Real Property Tax                                               $764.78



           8.11
           6.   Holder: Ds Fountain Valley LP; Description: Prepaid Real Property Tax                                                 $764.06



           8.11
           7.   Holder: Durham Business Properties LLC; Description: Prepaid Real Property Tax                                      $3,881.71



           8.11
           8.   Holder: Ebay; Description: Prepaid IT Supplies in Breakfix warehouse                                                    $81.19



           8.11
           9.   Holder: Edward F Plant; Description: Prepaid Real Property Tax                                                        $311.40



           8.12
           0.   Holder: Ella Paseo LLC; Description: Prepaid Real Property Tax                                                    $16,764.06


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 16
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 37 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.12
           1.   Holder: ELO ; Description: Prepaid IT Supplies in Breakfix warehouse                                                $2,136.86



           8.12
           2.   Holder: Endurance Risk Solutions Assurance Co; Description: Prepaid Insurance                                     $14,732.70



           8.12
           3.   Holder: EPR Fitness LLC; Description: Prepaid Real Property Tax                                                     $4,104.15



           8.12
           4.   Holder: Everest Indemnity Insurance Co; Description: Prepaid Insurance                                            $80,037.90



           8.12
           5.   Holder: Everest National Insurance Company; Description: Prepaid Insurance                                      $349,024.01



           8.12
           6.   Holder: Evotek; Description: Prepaid Maintenance/Support                                                          $74,921.00



           8.12 Holder: Facchino Labarbera Tennant Station LLC; Description: Prepaid Real Property
           7.   Tax                                                                                                                   $678.10



           8.12
           8.   Holder: FHR Community Center LLC; Description: Prepaid Real Property Tax                                          $25,947.09



           8.12
           9.   Holder: Fitness Anywhere; Description: Prepaid IT Supplies in Breakfix warehouse                                $158,868.78



           8.13
           0.   Holder: Flatbush Delaware Holding LLC ; Description: Prepaid Real Property Tax                                      $1,881.87



           8.13
           1.   Holder: Fordham Associates DE LLC; Description: Prepaid Real Property Tax                                           $7,571.81



           8.13
           2.   Holder: Fr San Antonio Center LLC; Description: Prepaid Real Property Tax                                           $4,807.04



           8.13
           3.   Holder: Fred Straus Inc; Description: Prepaid Real Property Tax                                                     $3,993.13



           8.13 Holder: Fsp South Flower Street Associates LLC; Description: Prepaid Real Property
           4.   Tax                                                                                                                 $5,142.59


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 17
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 38 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.13
           5.   Holder: Fw Ca-Point Loma Plaza LLC; Description: Prepaid Real Property Tax                                              $27.06



           8.13
           6.   Holder: Fw Ca-Rancho San Diego Village LLC; Description: Prepaid Real Property Tax                                    $457.61



           8.13
           7.   Holder: G&I VIII Piedmont Plaza LLC; Description: Prepaid Real Property Tax                                       $13,536.90



           8.13
           8.   Holder: General Security Indemnity Co. of AZ; Description: Prepaid Insurance                                        $1,808.17



           8.13
           9.   Holder: Genovation, Inc.; Description: Prepaid IT Supplies in Breakfix warehouse                                      $703.63



           8.14
           0.   Holder: Genovation; Description: Prepaid IT Supplies in Breakfix warehouse                                        $10,446.13



           8.14
           1.   Holder: Giavista Investment LLC; Description: Prepaid Real Property Tax                                             $4,956.74



           8.14
           2.   Holder: Global Industrial; Description: Prepaid IT Supplies in Breakfix warehouse                                     $522.20



           8.14
           3.   Holder: Global Music Rights; Description: Prepaid License & Permits                                               $61,658.33



           8.14
           4.   Holder: Golden Springs Development Co LLC; Description: Prepaid Real Property Tax                                   $4,028.14



           8.14
           5.   Holder: Great American Ins. Co. of NY; Description: Prepaid Insurance                                               $9,571.07



           8.14
           6.   Holder: Greenburgh, Receiver Of Taxes; Description: Prepaid Real Property Tax                                     $65,418.39



           8.14
           7.   Holder: GridGain Systems; Description: Prepaid Maintenance/Support                                              $127,607.64



           8.14
           8.   Holder: Griffin Farm At Midtown LLC; Description: Prepaid Real Property Tax                                       $92,480.79


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 18
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 39 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.14
           9.   Holder: GS Pacific ER LLC; Description: Prepaid Real Property Tax                                                   $3,466.68



           8.15
           0.   Holder: H & A Properties LP; Description: Prepaid Real Property Tax                                                 $1,498.10



           8.15
           1.   Holder: H2 Manager Expenses; Description: Deferred Costs                                                          $45,333.34



           8.15
           2.   Holder: Hancock Fitness LP; Description: Prepaid Real Property Tax                                                  $9,543.00



           8.15
           3.   Holder: Hanover 3201 Realty LLC; Description: Prepaid Real Property Tax                                           $41,116.02



           8.15
           4.   Holder: Hawaii Dental Service; Description: Prepaid Health Insurance                                                $1,626.48



           8.15
           5.   Holder: Hawaii Medical Service Association; Description: Prepaid Health Insurance                                 $19,007.17



           8.15
           6.   Holder: Hayward 880 LLC; Description: Prepaid Real Property Tax                                                     $6,856.99



           8.15
           7.   Holder: Hgga Promenade LP; Description: Prepaid Real Property Tax                                                     $590.86



           8.15
           8.   Holder: Highland Shopping Center LLC; Description: Prepaid Real Property Tax                                        $3,227.83



           8.15
           9.   Holder: Hilco Consulting and Advisory; Description: Prepaid Professional Fees                                   $200,000.00



           8.16
           0.   Holder: Hiscox Insurance Company Ltd.; Description: Prepaid Insurance                                               $4,348.12



           8.16
           1.   Holder: Hollywood Station Partners LLC; Description: Prepaid Real Property Tax                                      $8,396.20



           8.16
           2.   Holder: HREH LLC; Description: Prepaid Real Property Tax                                                            $3,531.24


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 19
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 40 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.16
           3.   Holder: Huntington South Center LLC; Description: Prepaid Real Property Tax                                         $6,413.04



           8.16
           4.   Holder: Husite LP; Description: Prepaid Real Property Tax                                                           $4,275.44



           8.16
           5.   Holder: Ia Cypress Cyfair; Description: Prepaid Real Property Tax                                                   $1,423.98



           8.16
           6.   Holder: Ia League City Bay Colony; Description: Prepaid Real Property Tax                                         $69,004.45



           8.16
           7.   Holder: IDEMIA; Description: Prepaid IT Supplies in Breakfix warehouse                                            $38,375.71



           8.16
           8.   Holder: IGI19 FC VA LLC; Description: Prepaid Real Property Tax                                                   $11,968.74



           8.16
           9.   Holder: IHRSA- Annual Membership; Description: Prepaid Dues & Subscriptions                                       $16,322.21



           8.17
           0.   Holder: Industry East Land Retail Ii LLC; Description: Prepaid Real Property Tax                                    $6,490.37



           8.17
           1.   Holder: Informatica; Description: Prepaid Maintenance/Support                                                     $64,310.59



           8.17
           2.   Holder: Inland Iowa Property LLC; Description: Prepaid Real Property Tax                                          $11,760.47



           8.17
           3.   Holder: Iscm Great America Parkway LLC; Description: Prepaid Real Property Tax                                      $1,875.59



           8.17
           4.   Holder: JBC Santa Rosa LP; Description: Prepaid Real Property Tax                                                     $454.73



           8.17
           5.   Holder: JBL Asset Management LLC; Description: Prepaid Real Property Tax                                          $48,206.45



           8.17
           6.   Holder: JCI; Description: Prepaid IT Supplies in Breakfix warehouse                                                 $9,438.34


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 20
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 41 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.17 Holder: JDN Real Estate - Freehold, LP (Club #608 - Freehold Super Sport); Description:
           7.   Prepaid Landlord Asset                                                                                            $15,040.00



           8.17
           8.   Holder: JPM/Morgan Stanley Agency Fees; Description: Prepaid Professional Fees                                      $4,541.67



           8.17
           9.   Holder: K & K Lumber Company; Description: Prepaid Real Property Tax                                                  $421.23



           8.18
           0.   Holder: KA&N Industries; Description: Prepaid Real Property Tax                                                   $10,392.85



           8.18
           1.   Holder: Kaiser Foundation Health; Description: Prepaid Health Insurance                                         $332,007.39



           8.18
           2.   Holder: Kapolei Hawaii Property Company LLC; Description: Prepaid Real Property Tax                                 $4,758.24



           8.18
           3.   Holder: Kawips Florida LLC ; Description: Prepaid Real Property Tax                                               $32,169.98



           8.18
           4.   Holder: Kellan Systems Inc.; Description: Prepaid Maintenance/Support                                             $16,117.60



           8.18
           5.   Holder: Kellan Systems; Description: Prepaid IT Supplies in Breakfix warehouse                                    $11,920.19



           8.18
           6.   Holder: Kimco Lake Prairie Tc LP; Description: Prepaid Real Property Tax                                          $19,354.49



           8.18
           7.   Holder: Koko Marina Shopping Center; Description: Prepaid Real Property Tax                                         $1,179.91



           8.18
           8.   Holder: Kone; Description: Prepaid Maintenance/Support                                                              $2,594.91



           8.18
           9.   Holder: Kuk Chung; Description: Prepaid Real Property Tax                                                           $2,994.32



           8.19
           0.   Holder: La Costa Town Center LLC; Description: Prepaid Real Property Tax                                            $9,377.79


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 21
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 42 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.19
           1.   Holder: La Paz Shopping Center LP; Description: Prepaid Real Property Tax                                         $15,939.56



           8.19
           2.   Holder: LabelValue.com; Description: Prepaid IT Supplies in Breakfix warehouse                                        $334.95



           8.19
           3.   Holder: Lakha Kent Properties LLC; Description: Prepaid Real Property Tax                                           $5,039.58



           8.19
           4.   Holder: Lap Empire Avenue LLC; Description: Prepaid Real Property Tax                                               $8,273.40



           8.19
           5.   Holder: Lazard Freres & Co; Description: Deferred Costs - Retainer                                                $80,000.00



           8.19
           6.   Holder: LBG Hilltop LLC; Description: Prepaid Real Property Tax                                                   $38,675.18



           8.19
           7.   Holder: Liberty Mutual Fire Insurance; Description: Prepaid Insurance                                               $7,293.70



           8.19
           8.   Holder: Lindley Terrace LLC; Description: Prepaid Real Property Tax                                                 $7,497.12



           8.19
           9.   Holder: LinkedIn Corporation; Description: Prepaid Dues & Subscriptions                                           $73,510.87



           8.20
           0.   Holder: Lloyd's of London; Description: Prepaid Insurance                                                         $19,745.01



           8.20
           1.   Holder: Lockton Companies, LLC; Description: Prepaid Insurance                                                  $104,424.95



           8.20
           2.   Holder: Longview; Description: Prepaid Maintenance/Support                                                          $2,674.27



           8.20
           3.   Holder: Los Altos School District; Description: Prepaid Real Property Tax                                         $14,582.76



           8.20
           4.   Holder: LRIC Lewisville LP; Description: Prepaid Real Property Tax                                                $20,905.35


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 22
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 43 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.20
           5.   Holder: LTG South Hills LLC; Description: Prepaid Real Property Tax                                                 $1,349.40



           8.20
           6.   Holder: Macerich Lakewood LLC; Description: Prepaid Real Property Tax                                               $6,773.45



           8.20
           7.   Holder: Madison 3721 LLC; Description: Prepaid Real Property Tax                                                    $5,219.48



           8.20
           8.   Holder: MAGTEK; Description: Prepaid IT Supplies in Breakfix warehouse                                            $21,548.09



           8.20 Holder: Maiochi Launderland 24Th Street Family; Description: Prepaid Real Property
           9.   Tax                                                                                                                   $246.41



           8.21
           0.   Holder: Mani Anand Vjay Sawh LLC; Description: Prepaid Real Property Tax                                            $1,170.77



           8.21
           1.   Holder: Marc Ittah; Description: Prepaid Real Property Tax                                                          $9,115.81



           8.21
           2.   Holder: Marin Country Mart LLC; Description: Prepaid Real Property Tax                                                $547.55



           8.21
           3.   Holder: Mark Group No 6; Description: Prepaid Real Property Tax                                                   $33,953.33



           8.21
           4.   Holder: Markel Bermuda Limited; Description: Prepaid Insurance                                                  $109,274.58



           8.21
           5.   Holder: Masha Grupp Trust Two Dtd 2 78; Description: Prepaid Real Property Tax                                      $5,458.66



           8.21
           6.   Holder: Mdc Coast 21 LLC; Description: Prepaid Real Property Tax                                                    $6,225.10



           8.21
           7.   Holder: Mept Westwood Village LLC; Description: Prepaid Real Property Tax                                           $8,836.74



           8.21
           8.   Holder: Mesa Verde Associates; Description: Prepaid Real Property Tax                                               $1,121.96


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 23
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 44 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.21
           9.   Holder: Metlife; Description: Prepaid Health Insurance                                                              $2,211.04



           8.22
           0.   Holder: Metroplex Plaza LP; Description: Prepaid Real Property Tax                                                  $6,596.43



           8.22
           1.   Holder: Meyerland Retail Associates LLC; Description: Prepaid Real Property Tax                                   $60,975.79



           8.22
           2.   Holder: Microsoft O365/Exchange; Description: Prepaid SaaS service fees                                         $147,329.54



           8.22
           3.   Holder: MicroStrategy; Description: Prepaid Maintenance/Support                                                     $4,437.73



           8.22
           4.   Holder: Miramar Equity I LLC; Description: Prepaid Real Property Tax                                                $2,129.87



           8.22
           5.   Holder: Mission Valley Shoppingtown LLC; Description: Prepaid Real Property Tax                                       $772.57



           8.22
           6.   Holder: Mkd Great Petaluma Mill LLC; Description: Prepaid Real Property Tax                                         $2,136.80



           8.22
           7.   Holder: Mm Pg Bayfair Properties LLC; Description: Prepaid Real Property Tax                                          $289.20



           8.22
           8.   Holder: MonoPrice; Description: Prepaid IT Supplies in Breakfix warehouse                                         $10,655.19



           8.22
           9.   Holder: Morpho; Description: Prepaid IT Supplies in Breakfix warehouse                                            $43,607.43



           8.23
           0.   Holder: Motion Picture Licensing Corp (MPLC) ; Description: Prepaid License & Permits                               $7,276.40



           8.23
           1.   Holder: Murray Scholls LLC; Description: Prepaid Real Property Tax                                                    $794.72



           8.23 Holder: N/A (99000 - Projects Club #'s not assigned, Project ID:02638_01 San Antonio
           2.   Stone Oak ); Description: Prepaid Landlord Asset                                                                    $8,153.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 24
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 45 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.23 Holder: N/A (99000 - Projects Club #'s not assigned; Project ID: 02494_01 Houston
           3.   Gulfgate Center); Description: Prepaid Landlord Asset                                                             $12,603.00



           8.23 Holder: N/A (99000 - Projects Club #'s not assigned; Project ID: 02554_01 Deerfield
           4.   Beach Deer Creek); Description: Prepaid Landlord Asset                                                            $15,986.00



           8.23 Holder: N/A (99000 - Projects Club #'s not assigned; Project ID: 02621_01 Miami
           5.   Kendale Lakes); Description: Prepaid Landlord Asset                                                               $12,568.00



           8.23 Holder: N/A (99000 - Projects Club #'s not assigned; Project ID: 02636_01 Charlotte
           6.   MoRa); Description: Prepaid Landlord Asset                                                                          $8,492.00



           8.23 Holder: N/A (99000 - Projects Club #'s not assigned; Project ID: 02639_01 Live Oak
           7.   Town Center); Description: Prepaid Landlord Asset                                                                   $8,360.00



           8.23
           8.   Holder: National Fire & Marine Ins Co.; Description: Prepaid Insurance                                              $6,418.80



           8.23
           9.   Holder: Navex; Description: Prepaid Maintenance/Support                                                             $2,888.89



           8.24
           0.   Holder: Navigators Insurance Co; Description: Prepaid Insurance                                                 $110,863.81



           8.24 Holder: Network Hardware Resale; Description: Prepaid IT Supplies in Breakfix
           1.   warehouse                                                                                                               $86.60



           8.24
           2.   Holder: Nevada Dept of Taxation; Description: Prepaid License & Permits                                           $52,640.60



           8.24
           3.   Holder: Newegg; Description: Prepaid IT Supplies in Breakfix warehouse                                                  $60.01



           8.24
           4.   Holder: Newpark Mall LP; Description: Prepaid Real Property Tax                                                   $34,904.55



           8.24
           5.   Holder: NFF Imperial LLC; Description: Prepaid Real Property Tax                                                    $4,235.27



           8.24
           6.   Holder: Nibs Management Inc; Description: Prepaid Real Property Tax                                                 $7,293.15


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 25
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 46 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.24
           7.   Holder: Nickie Investments, Inc.; Description: Prepaid Real Property Tax                                              $106.33



           8.24
           8.   Holder: Noho Meadowridge Retail Ix LLC; Description: Prepaid Real Property Tax                                    $13,348.58



           8.24
           9.   Holder: Norman H Scheiner; Description: Prepaid Real Property Tax                                                   $2,844.45



           8.25
           0.   Holder: North Brand Property Owner LLC; Description: Prepaid Real Property Tax                                      $8,373.47



           8.25
           1.   Holder: North Halstead Associates LLC; Description: Prepaid Real Property Tax                                       $5,286.97



           8.25 Holder: North Natomas Town Center East, LLC (Club #948 - Sacramento Del Paso SS);
           2.   Description: Prepaid Landlord Asset                                                                               $10,629.00



           8.25
           3.   Holder: NTT (Dimension Data); Description: Prepaid SaaS service fees                                              $12,601.49



           8.25
           4.   Holder: Ocean Ranch Ii LLC; Description: Prepaid Real Property Tax                                                  $1,803.24



           8.25
           5.   Holder: Oceanview 1 LLC; Description: Prepaid Real Property Tax                                                   $14,478.63



           8.25
           6.   Holder: Old Republic; Description: Prepaid Insurance                                                            $258,551.30



           8.25
           7.   Holder: Open Text; Description: Prepaid Maintenance/Support                                                       $12,110.49



           8.25
           8.   Holder: Orange Center Tower Owner LLC; Description: Prepaid Real Property Tax                                     $14,300.23



           8.25
           9.   Holder: Orange County Tax Collector, CA; Description: Prepaid Personal Property Tax                             $113,655.60



           8.26
           0.   Holder: Oregon Metro LLC; Description: Prepaid Real Property Tax                                                    $3,008.96


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 26
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 47 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.26
           1.   Holder: Oxford Spectrum Wilson LLC; Description: Prepaid Real Property Tax                                          $5,543.63



           8.26
           2.   Holder: Pac Trust - Unit 72; Description: Prepaid Real Property Tax                                                   $823.89



           8.26
           3.   Holder: Pachulski Stang Ziehl & Jones; Description: Deferred Costs - Retainer                                     $90,000.00



           8.26
           4.   Holder: Pacwal LLC; Description: Prepaid Real Property Tax                                                          $8,399.15



           8.26
           5.   Holder: Palomar Fitness Partner LP; Description: Prepaid Real Property Tax                                          $5,533.45



           8.26
           6.   Holder: Palomar Fitness Partner LP; Description: Prepaid Real Property Tax                                          $7,903.75



           8.26
           7.   Holder: Panorama Capital LP; Description: Prepaid Real Property Tax                                                 $1,961.18



           8.26
           8.   Holder: PCM/Sarcom; Description: Prepaid IT Supplies in Breakfix warehouse                                      $840,777.01



           8.26
           9.   Holder: PCM-Cisco Smartnet; Description: Prepaid Maintenance/Support                                            $274,390.25



           8.27
           0.   Holder: PCM-Comm Vault Premium Support; Description: Prepaid Maintenance/Support                                  $13,061.67



           8.27
           1.   Holder: PCM-Firewall DC1; Description: Prepaid Maintenance/Support                                                $25,103.39



           8.27
           2.   Holder: PCM-Firewall DC2; Description: Prepaid Maintenance/Support                                                $25,103.39



           8.27
           3.   Holder: PCM-Fortinet Firewall SW/Maint; Description: Prepaid Maintenance/Support                                $167,924.02



           8.27
           4.   Holder: PCM-NetApp SupportEdge Premium; Description: Prepaid Maintenance/Support                                  $26,834.33


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 27
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 48 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.27
           5.   Holder: PCM-Printer Tech Support; Description: Prepaid Maintenance/Support                                          $3,743.49



           8.27
           6.   Holder: Pcw Properties LLC; Description: Prepaid Real Property Tax                                                $10,127.38



           8.27
           7.   Holder: Peak Holdings LLC; Description: Prepaid Real Property Tax                                                   $3,370.40



           8.27 Holder: Peninsula Retail Partners V, LLC (Club #935 - Victorville Super Sport);
           8.   Description: Prepaid Landlord Asset                                                                               $36,768.00



           8.27
           9.   Holder: Percussion; Description: Prepaid Maintenance/Support                                                        $1,177.78



           8.28
           0.   Holder: Pinecrest Diamond LLC; Description: Prepaid Real Property Tax                                               $7,435.79



           8.28
           1.   Holder: Pitney Bowes; Description: Prepaid SaaS service fees                                                          $878.89



           8.28
           2.   Holder: PJT Partners; Description: Deferred Costs - Retainer                                                    $155,000.00



           8.28
           3.   Holder: Platform Mansfield Mt LLC; Description: Prepaid Real Property Tax                                         $12,991.88



           8.28
           4.   Holder: Por LP; Description: Prepaid Real Property Tax                                                            $41,799.02



           8.28
           5.   Holder: Post Road Plaza Leasehold LLC; Description: Prepaid Real Property Tax                                       $7,915.05



           8.28
           6.   Holder: Protea Pacific Beach LLC; Description: Prepaid Real Property Tax                                              $753.30



           8.28 Holder: Protection One Alarm Mon.; Description: Prepaid IT Supplies in Breakfix
           7.   warehouse                                                                                                         $13,680.85



           8.28
           8.   Holder: QBE Insurance Corp; Description: Prepaid Insurance                                                          $5,434.19


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 28
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 49 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.28
           9.   Holder: Quest Software; Description: Prepaid Maintenance/Support                                                  $44,441.31



           8.29
           0.   Holder: Realty Income Corporation; Description: Prepaid Real Property Tax                                           $4,231.60



           8.29
           1.   Holder: Revstream ; Description: Prepaid SaaS service fees                                                      $193,391.23



           8.29 Holder: Rich Uncles Nnn Operating Partnership LP; Description: Prepaid Real Property
           2.   Tax                                                                                                                 $2,025.98



           8.29
           3.   Holder: Richards Layton & Finger; Description: Deferred Costs - Retainer                                          $50,000.00



           8.29
           4.   Holder: Riskonnect Subscription Fees; Description: Prepaid Insurance                                              $49,839.53



           8.29
           5.   Holder: RNB Partners LLC; Description: Prepaid Real Property Tax                                                  $14,396.98



           8.29
           6.   Holder: Robert N Ruggles; Description: Prepaid Real Property Tax                                                    $1,896.30



           8.29
           7.   Holder: Roic California LLC; Description: Prepaid Real Property Tax                                                     $15.38



           8.29
           8.   Holder: Roic Oregon LLC; Description: Prepaid Real Property Tax                                                     $2,932.01



           8.29
           9.   Holder: Rolling Hills Plaza LLC; Description: Prepaid Real Property Tax                                             $2,166.86



           8.30
           0.   Holder: Round Rock Fitness LP; Description: Prepaid Real Property Tax                                             $10,704.24



           8.30
           1.   Holder: S&P rating fee; Description: Prepaid Professional Fees                                                    $36,736.11



           8.30
           2.   Holder: Salt Lake County Tax Collector, UT; Description: Prepaid Personal Property Tax                              $2,363.94


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 29
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 50 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.30
           3.   Holder: Salt Lake County Tax Collector, UT; Description: Prepaid Personal Property Tax                              $3,079.78



           8.30
           4.   Holder: Salt Lake County Tax Collector, UT; Description: Prepaid Personal Property Tax                              $3,153.46



           8.30
           5.   Holder: Salt Lake County Tax Collector, UT; Description: Prepaid Personal Property Tax                              $2,180.56



           8.30
           6.   Holder: Salvatore LLC; Description: Prepaid Real Property Tax                                                     $32,564.67



           8.30
           7.   Holder: San Diego Grove LP; Description: Prepaid Real Property Tax                                                  $4,139.84



           8.30
           8.   Holder: San Jose Central Travel Inc; Description: Prepaid Real Property Tax                                         $8,070.98



           8.30
           9.   Holder: Santa Susana Garp LLC; Description: Prepaid Real Property Tax                                               $1,658.94



           8.31
           0.   Holder: Saskaway Six LP; Description: Prepaid Real Property Tax                                                       $533.72



           8.31
           1.   Holder: Scotti And Associates Inc; Description: Prepaid Real Property Tax                                           $2,951.29



           8.31 Holder: Second & Santa Monica Blvd Associates; Description: Prepaid Real Property
           2.   Tax                                                                                                                 $1,164.35



           8.31
           3.   Holder: Selv Enterprises LLC; Description: Prepaid Real Property Tax                                                $8,480.88



           8.31
           4.   Holder: Service Channel; Description: Prepaid SaaS service fees                                                 $254,255.00



           8.31
           5.   Holder: SESAC Music License Fee; Description: Prepaid License & Permits                                           $40,201.23



           8.31
           6.   Holder: Seven Hills Properties 31 LLC; Description: Prepaid Real Property Tax                                       $8,053.09


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 30
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 51 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.31
           7.   Holder: Sfp 24 Hour Taylorsville LLC; Description: Prepaid Real Property Tax                                          $359.27



           8.31
           8.   Holder: Shapell Norcal Rental Properties LLC; Description: Prepaid Real Property Tax                                $2,058.79



           8.31
           9.   Holder: ShowMeCables; Description: Prepaid IT Supplies in Breakfix warehouse                                          $965.37



           8.32
           0.   Holder: Sic-Lakeside Drive LLC; Description: Prepaid Real Property Tax                                            $17,652.33



           8.32
           1.   Holder: Silverado Ranch Center Ii LLC; Description: Prepaid Real Property Tax                                       $1,626.29



           8.32
           2.   Holder: Skolem Group LLC; Description: Prepaid Real Property Tax                                                    $3,926.71



           8.32
           3.   Holder: SmartBear; Description: Prepaid Maintenance/Support                                                       $17,034.51



           8.32
           4.   Holder: Smartsheet; Description: Prepaid SaaS service fees                                                          $1,442.22



           8.32
           5.   Holder: SMBP LLC; Description: Prepaid Real Property Tax                                                          $31,068.12



           8.32
           6.   Holder: So - Mckinley LLC; Description: Prepaid Real Property Tax                                                 $15,945.17



           8.32
           7.   Holder: Softchoice; Description: Prepaid Maintenance/Support                                                      $15,993.86



           8.32
           8.   Holder: Sompo America Insurance Co; Description: Prepaid Insurance                                                $26,079.93



           8.32
           9.   Holder: Spirit Master Funding X LLC; Description: Prepaid Real Property Tax                                       $12,993.63



           8.33
           0.   Holder: Sr19 Mark Ii Portfolio LLC; Description: Prepaid Real Property Tax                                          $4,648.72


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 31
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 52 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.33
           1.   Holder: Sss Highland Plaza LLC; Description: Prepaid Real Property Tax                                              $6,342.88



           8.33
           2.   Holder: Staples; Description: Prepaid IT Supplies in Breakfix warehouse                                               $190.52



           8.33
           3.   Holder: Staples; Description: Prepaid Maintenance/Support                                                         $76,970.27



           8.33
           4.   Holder: Starboard Management Services LLC; Description: Prepaid Real Property Tax                                 $12,869.83



           8.33
           5.   Holder: Starr Indemnity & Liability Company; Description: Prepaid Insurance                                     $333,110.50



           8.33
           6.   Holder: Starr Indemnity & Liability Company; Description: Prepaid Insurance                                     $468,897.99



           8.33
           7.   Holder: Starr Surplus Lines Insurance Company; Description: Prepaid Insurance                                     $13,755.04



           8.33
           8.   Holder: Stc Gardenwalk LLC; Description: Prepaid Real Property Tax                                                  $3,096.30



           8.33
           9.   Holder: Sunbrewer Partners LP; Description: Prepaid Real Property Tax                                                 $322.60



           8.34 Holder: Sunnybrook Ridge Owners Care Of Doug; Description: Prepaid Real Property
           0.   Tax                                                                                                                 $5,715.83



           8.34
           1.   Holder: Sunnyvale Shopping Center; Description: Prepaid Real Property Tax                                           $6,341.39



           8.34
           2.   Holder: Sweetwater; Description: Prepaid IT Supplies in Breakfix warehouse                                            $142.53



           8.34
           3.   Holder: Tax Compliance, Inc.; Description: Prepaid Maintenance/Support                                            $15,405.47



           8.34
           4.   Holder: Tax Compliance; Description: Prepaid SaaS service fees                                                    $12,522.20


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 32
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 53 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.34
           5.   Holder: TecNec; Description: Prepaid IT Supplies in Breakfix warehouse                                            $80,805.71



           8.34
           6.   Holder: The Hagers LP; Description: Prepaid Real Property Tax                                                       $1,372.43



           8.34
           7.   Holder: The Harry And Jeanette Weinberg; Description: Prepaid Real Property Tax                                     $2,760.95



           8.34
           8.   Holder: The Retail Property Trust; Description: Prepaid Real Property Tax                                       $198,974.65



           8.34
           9.   Holder: The Round Owner LLC; Description: Prepaid Real Property Tax                                               $38,196.43



           8.35
           0.   Holder: TKG Murrietta Plaza LLC; Description: Prepaid Real Property Tax                                             $2,717.45



           8.35
           1.   Holder: TKG Nordhoff-Tampa Plaza LLC; Description: Prepaid Real Property Tax                                      $30,250.27



           8.35
           2.   Holder: Topaz; Description: Prepaid IT Supplies in Breakfix warehouse                                             $28,690.58



           8.35
           3.   Holder: Tr Wateridge LLC; Description: Prepaid Real Property Tax                                                    $5,081.77



           8.35
           4.   Holder: TRC; Description: Prepaid IT Supplies in Breakfix warehouse                                                   $780.44



           8.35
           5.   Holder: Tri Cities Harriman LLC; Description: Prepaid Real Property Tax                                           $22,808.90



           8.35
           6.   Holder: Triangle 17 Center LLC; Description: Prepaid Real Property Tax                                              $6,314.98



           8.35
           7.   Holder: Triangle Center LLC; Description: Prepaid Real Property Tax                                                 $4,798.22



           8.35
           8.   Holder: Trintech; Description: Prepaid Maintenance/Support                                                          $6,111.22


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 33
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 54 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.35
           9.   Holder: Trop 2015 Holding LLC; Description: Prepaid Real Property Tax                                               $1,664.65



           8.36
           0.   Holder: Tyco; Description: Prepaid IT Supplies in Breakfix warehouse                                              $16,716.03



           8.36
           1.   Holder: Underwriters at Lloyd's London; Description: Prepaid Insurance                                                $593.19



           8.36
           2.   Holder: Unum Life Insurance CO of America; Description: Prepaid Health Insurance                                  $48,566.66



           8.36
           3.   Holder: US Global Net; Description: Prepaid SaaS service fees                                                     $16,488.86



           8.36
           4.   Holder: Vallejo Cc LLC; Description: Prepaid Real Property Tax                                                      $4,555.87



           8.36
           5.   Holder: Van Ness Post Center LLC; Description: Prepaid Real Property Tax                                            $7,916.22



           8.36 Holder: VARP, LLC (Club #752 - Mallard Creek Super Sport); Description: Prepaid
           6.   Landlord Asset                                                                                                    $57,621.00



           8.36
           7.   Holder: Vereit Real Estate LP; Description: Prepaid Real Property Tax                                               $5,699.57



           8.36
           8.   Holder: Vertex; Description: Prepaid SaaS service fees                                                            $29,698.86



           8.36
           9.   Holder: Vf4 Crystal Lake LLC; Description: Prepaid Real Property Tax                                              $56,088.98



           8.37
           0.   Holder: Vision Service Plan - (Ca); Description: Prepaid Health Insurance                                             $936.88



           8.37 Holder: W Gl Ocean Avenue Lb Holdings Vii LLC; Description: Prepaid Real Property
           1.   Tax                                                                                                               $44,988.02



           8.37
           2.   Holder: WalkMe; Description: Prepaid SaaS service fees                                                            $24,144.15


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 34
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 55 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.37
           3.   Holder: Walnut Creek Holdings Inc; Description: Prepaid Real Property Tax                                             $139.42



           8.37
           4.   Holder: Watumull Properties Corp.; Description: Prepaid Real Property Tax                                           $3,344.92



           8.37
           5.   Holder: WCSC LLC; Description: Prepaid Real Property Tax                                                            $1,133.62



           8.37
           6.   Holder: Weil, Gotshals & Manges LLP ; Description: Deferred Costs - Retainer                                   $1,144,729.99



           8.37
           7.   Holder: Weingarten Nostat Inc; Description: Prepaid Real Property Tax                                               $1,414.61



           8.37
           8.   Holder: Weingarten Nostat Inc; Description: Prepaid Real Property Tax                                               $1,032.54



           8.37
           9.   Holder: Westchester Fire Insurance Co; Description: Prepaid Insurance                                             $55,189.10



           8.38
           0.   Holder: Westmar II LP; Description: Prepaid Real Property Tax                                                     $11,561.27



           8.38
           1.   Holder: Wexer Licensing; Description: Prepaid License & Permits                                                   $20,143.47



           8.38
           2.   Holder: Whittwood 1768 Inc; Description: Prepaid Real Property Tax                                                  $9,918.27



           8.38
           3.   Holder: WKF, Inc.; Description: Prepaid Real Property Tax                                                           $8,937.43



           8.38
           4.   Holder: Wmc Fund LLC; Description: Prepaid Real Property Tax                                                      $24,516.70



           8.38
           5.   Holder: Wood Stone Iv Las Vegas LLC ; Description: Prepaid Real Property Tax                                        $6,905.15



           8.38
           6.   Holder: Woodbridge Avenel LLC; Description: Prepaid Real Property Tax                                               $7,296.65


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 35
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 56 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name


           8.38
           7.   Holder: Woodmore Town Centre LLC; Description: Prepaid Real Property Tax                                                $9,457.18



           8.38
           8.   Holder: Wp-Sc LLC ; Description: Prepaid Real Property Tax                                                              $9,945.58



           8.38
           9.   Holder: Wri West Gate South LP; Description: Prepaid Real Property Tax                                                  $1,800.69



           8.39
           0.   Holder: WRI West Gate South LP; Description: Prepaid Real Property Tax                                                      $42.29



           8.39
           1.   Holder: XL Specialty Insurance America, Inc.; Description: Prepaid Insurance                                          $16,791.39



           8.39
           2.   Holder: XL Specialty; Description: Prepaid Insurance                                                                $397,760.51



           8.39
           3.   Holder: XL Specialty; Description: Prepaid Insurance                                                                $821,375.46



           8.39
           4.   Holder: Ygnacio Center Owner LLC; Description: Prepaid Real Property Tax                                              $19,189.45



           8.39
           5.   Holder: YIP Holdings Two LLC; Description: Prepaid Real Property Tax                                                  $26,643.59



           8.39
           6.   Holder: Your Trainer; Description: Prepaid Maintenance/Support                                                      $112,761.07



           8.39
           7.   Holder: Zoom; Description: Prepaid Telecom                                                                          $234,811.60



           8.39
           8.   Holder: Zuora; Description: Prepaid SaaS service fees                                                              $1,139,576.47



           8.39
           9.   Holder: Zurich ; Description: Prepaid Insurance                                                                     $314,688.45




 9.        Total of Part 2.                                                                                                    $38,919,384.50
           Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 36
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                                  Case 20-11561-KBO                     Doc 6        Filed 08/28/20            Page 57 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                         Case number (If known) 20-11561
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         2,102,117.98    -                             70,813.05 = ....                $2,031,304.93
                                              face amount                           doubtful or uncollectible accounts




           11b. Over 90 days old:                            4,171,515.29    -                        1,397,921.05 =....                   $2,773,594.24
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                            $4,804,899.17
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of         Valuation method used    Current value of
                                                      physical inventory         debtor's interest         for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Finished goods - apparel
           - Clubs                                    Q4 2019                           $139,812.89        NBV Less Reserve                   $49,998.41


           Finished goods - apparel
           - UPS warehouse                            10/23/2019                        $103,806.00        NBV Less Reserve                           $0.00


           Finished goods - bars
           and snacks - Amazon
           warehouse                                  N/A                                    $225.66       Cost                                   $225.66


           Finished goods - bars
           and snacks - Clubs                         Q4 2019                         $1,212,850.11        NBV Less Reserve                  $853,929.12


           Finished goods - bars
           and snacks - UPS
           warehouse                                  10/23/2019                        $476,879.19        NBV Less Reserve                  $349,524.90


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 37
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                                  Case 20-11561-KBO                        Doc 6        Filed 08/28/20     Page 58 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                        Case number (If known) 20-11561
                Name



           Finished goods - fitness
           accessories - Amazon
           warehouse                                  N/A                                     $32.25    Cost                                    $32.25


           Finished goods - fitness
           accessories - Clubs                        Q4 2019                           $1,827,161.69   NBV Less Reserve               $1,550,159.75


           Finished goods - fitness
           accessories - UPS
           warehouse                                  10/23/2019                         $528,064.53    NBV Less Reserve                $522,209.27


           Finished goods - fitness
           drinks - Clubs                             Q4 2019                           $2,268,140.18   NBV Less Reserve               $2,043,462.80


           Finished goods -
           hydrations drinks -
           Clubs                                      Q4 2019                            $559,235.15    NBV Less Reserve                $559,235.15


           Finished goods - pills
           and powders - Amazon
           warehouse                                  N/A                                  $3,139.71    Cost                                $3,139.71


           Finished goods - pills
           and powders - Clubs                        Q4 2019                           $2,864,979.30   NBV Less Reserve               $2,437,740.29


           Finished goods - pills
           and powders - UPS
           warehouse                                  10/23/2019                        $1,310,411.28   NBV Less Reserve               $1,303,667.68


           Other inventory -
           employee uniform shirts
           - Staples                                  N/A                                $144,726.52    Replacement                     $138,202.47


           Other inventory - retail
           fixtures                                   N/A                                $384,578.32    Replacement                     $384,578.32



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                        $10,196,105.78
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 38
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 59 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                     Case number (If known) 20-11561
                Name


               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           See Question 41                                                                  $0.00                                                 $0.00



 40.       Office fixtures
           See Question 41                                                                  $0.00                                                 $0.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Servers, Network Equipment, Signage, Office
           Furniture & Fixtures                                                   $84,616,780.63     Net Book Value                  $84,616,780.63



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                         $84,616,780.63
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 39
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                                  Case 20-11561-KBO                      Doc 6     Filed 08/28/20       Page 60 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                     Case number (If known) 20-11561
                Name

 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Exercise Equipment - Treamills, Cross
           Trainers, free weights, bikes                                          $60,126,270.00     Net Book Value                    $60,126,270.00




 51.       Total of Part 8.                                                                                                        $60,126,270.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Ownership of
                     building at 193
                     Chambers Brick
                     Road, Brick, New
                     Jersey                               Property                   $398,161.00     Cost                                 $398,161.00


           55.2.     24 - Carlsbad Sport,
                     1265 Laurel Tree
                     Lane, Suite 1,
                     Carlsbad CA                          Leasehold
                     92011-4221                           Improvements               $771,170.65     Net Book Value                       $771,170.65


           55.3.     43 - Alamo Express
                     CLOSED, 140A
                     Alamo Plaza, Alamo                   Leasehold
                     CA 94507-1518                        Improvements               $654,143.89     Net Book Value                       $654,143.89




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 40
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 61 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.4.     48 - Fountain Valley
                     CLOSED, 18305
                     Brookhurst Street,
                     Fountain Valley CA                   Leasehold
                     92708-6741                           Improvements                $38,273.54     Net Book Value               $38,273.54


           55.5.     53 - Ladera Ranch,
                     200 Corporate Drive,
                     Ladera Ranch CA                      Leasehold
                     92694-1275                           Improvements                $77,423.80     Net Book Value               $77,423.80


           55.6.     54 - Santa Barbara
                     Super Sport, 820
                     State Street, Santa
                     Barbara CA                           Leasehold
                     93101-3256                           Improvements                $73,345.37     Net Book Value               $73,345.37


           55.7.     57 - College Grove,
                     6348 College Grove
                     Way, Suite 19, San                   Leasehold
                     Diego CA 92115-8401                  Improvements               $104,954.62     Net Book Value             $104,954.62


           55.8.     58 - Puente Hills,
                     1600 S Azusa
                     Avenue, 3, City of
                     Industry CA                          Leasehold
                     91748-1674                           Improvements                $44,301.37     Net Book Value               $44,301.37


           55.9.     60 - Rancho San
                     Diego, 3633 Avocado
                     Blvd., La Mesa CA                    Leasehold
                     91941-7337                           Improvements                $26,747.46     Net Book Value               $26,747.46


           55.10 62 - Altadena, 2180
           .     Lincoln Avenue,
                     Building #4, Altadena                Leasehold
                     CA 91001-5456                        Improvements                  $6,023.09    Net Book Value                 $6,023.09


           55.11 63 - Orange Sport,
           .     3600 West
                     Orangewood Avenue,
                     Orange CA                            Leasehold
                     92868-1607                           Improvements               $481,489.95     Net Book Value             $481,489.95


           55.12 64 - Anaheim
           .     Gateway, 1430 North
                     Lemon Street,
                     Anaheim CA                           Leasehold
                     92801-1200                           Improvements               $148,015.60     Net Book Value             $148,015.60


           55.13 65 - Pacific Beach
           .     (San Diego), 909
                     Garnet Avenue, San                   Leasehold
                     Diego CA 92109-2729                  Improvements               $155,890.70     Net Book Value             $155,890.70

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 41
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 62 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name



           55.14 66 - Silverado (Las
           .     Vegas) CLOSED,
                     9875 S. Maryland
                     Parkway, Las Vegas                   Leasehold
                     NV 89183-7145                        Improvements               $146,235.21     Net Book Value             $146,235.21


           55.15 68 - The Promenade
           .     SS CLOSED, 1417
                     Second Street, Santa
                     Monica CA                            Leasehold
                     90401-2301                           Improvements                  $1,096.17    Net Book Value                 $1,096.17


           55.16 69 - Santa Fe
           .     Springs, 13312
                     Imperial Highway,
                     Santa Fe Springs CA                  Leasehold
                     90670-4819                           Improvements               $167,719.77     Net Book Value             $167,719.77


           55.17 70 - Sherman Oaks
           .     Galleria, 15301
                     Ventura Blvd.,
                     Sherman Oaks CA                      Leasehold
                     91403-3102                           Improvements               $303,452.82     Net Book Value             $303,452.82


           55.18 71 - Downtown Chula
           .     Vista Ac CLOSED,
                     320 Third Avenue,
                     Chula Vista CA                       Leasehold
                     91910-3911                           Improvements               $545,042.90     Net Book Value             $545,042.90


           55.19 73 - Foothill Ranch,
           .     26781 Rancho
                     Parkway, Lake Forest                 Leasehold
                     CA 92630-8706                        Improvements                $21,936.34     Net Book Value               $21,936.34


           55.20 74 - Tropicana Super
           .     Sport CLOSED, 5035
                     W. Tropicana
                     Avenue, Las Vegas                    Leasehold
                     NV 89103-5079                        Improvements               $261,170.20     Net Book Value             $261,170.20


           55.21 77 - La Mirada
           .     CLOSED, 13395
                     Beach Blvd., La
                     Mirada CA                            Leasehold
                     90638-3553                           Improvements               $217,916.46     Net Book Value             $217,916.46


           55.22 78 - South Coast
           .     Metro Center SS, 589
                     Anton Blvd., Costa                   Leasehold
                     Mesa CA 92626-1912                   Improvements               $106,903.91     Net Book Value             $106,903.91




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 42
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 63 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.23 79 - Charleston (Las
           .     Vegas) CLOSED,
                     4480 E. Charleston
                     Blvd., Las Vegas, Las                Leasehold
                     Vegas NV 89104-5535                  Improvements                $87,493.46     Net Book Value               $87,493.46


           55.24 80 - Oceanside, 4655
           .     Frazee Blvd.,
                     Oceanside CA                         Leasehold
                     92057-6100                           Improvements                $42,828.25     Net Book Value               $42,828.25


           55.25 81 - West Covina,
           .     1530 West Covina
                     Parkway, West
                     Covina CA                            Leasehold
                     91790-2703                           Improvements               $361,202.33     Net Book Value             $361,202.33


           55.26 84 - Bonita, 870
           .     Amena Court, Chula                       Leasehold
                     Vista CA 91910-7802                  Improvements                $76,043.55     Net Book Value               $76,043.55


           55.27 85 - Ocean Ranch,
           .     32451 Golden
                     Lantern, suite 100,
                     Suite 1, Laguna
                     Niguel CA                            Leasehold
                     92677-5344                           Improvements                $24,385.34     Net Book Value               $24,385.34


           55.28 88 - Hollywood CA
           .     Super Sport, 6380 W.
                     Sunset Blvd, 4th Flr,
                     Hollywood CA                         Leasehold
                     90028-7233                           Improvements               $405,081.08     Net Book Value             $405,081.08


           55.29 89 - Thousand Oaks,
           .     2595 Thousand Oaks
                     Blvd, Thousand Oaks                  Leasehold
                     CA 91362-3259                        Improvements               $307,657.19     Net Book Value             $307,657.19


           55.30 94 - Miramar, 9550
           .     Miramar Road, San                        Leasehold
                     Diego CA 92126-4533                  Improvements               $203,542.96     Net Book Value             $203,542.96


           55.31 95 - Escondido La
           .     Terraza SS, 400 La
                     Terraza Blvd,
                     Escondido CA                         Leasehold
                     92025-3838                           Improvements                $14,957.32     Net Book Value               $14,957.32




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 43
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 64 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.32 97 - Hermosa Beach
           .     Super Sport, 1601
                     Pacific Coast
                     Highway, Suite 1,
                     Hermosa Beach CA                     Leasehold
                     90254-3243                           Improvements               $194,371.72     Net Book Value             $194,371.72


           55.33 98 - Camarillo
           .     CLOSED, 453
                     Carmen Drive,
                     Camarillo CA                         Leasehold
                     93010-6010                           Improvements               $503,257.23     Net Book Value             $503,257.23


           55.34 99 - North Las Vegas
           .     CLOSED, 2106 W.
                     Craig Road, North
                     Las Vegas NV                         Leasehold
                     89032-3017                           Improvements               $137,713.01     Net Book Value             $137,713.01


           55.35 103 - Point Loma,
           .     3675 Midway Drive,
                     A1, San Diego CA                     Leasehold
                     92110-5259                           Improvements               $578,248.09     Net Book Value             $578,248.09


           55.36 104 - Santee, 9906
           .     Mission Gorge Road,
                     Santee CA                            Leasehold
                     92071-3840                           Improvements                $12,997.40     Net Book Value               $12,997.40


           55.37 105 - Huntington
           .     Beach, 5858 Warner
                     Avenue, Huntington                   Leasehold
                     Beach CA 92649-4658                  Improvements               $148,992.92     Net Book Value             $148,992.92


           55.38 109 - Stadium, 5885
           .     Rancho Mission
                     Road, San Diego CA                   Leasehold
                     92108-2502                           Improvements               $144,764.38     Net Book Value             $144,764.38


           55.39 111 - Cypress, 4951
           .     Katella Avenue,
                     Cypress CA                           Leasehold
                     90720-2721                           Improvements               $250,534.55     Net Book Value             $250,534.55


           55.40 113 - Glendale
           .     CLOSED, 240 North
                     Brand Blvd, Glendale                 Leasehold
                     CA 91203-2610                        Improvements               $444,214.87     Net Book Value             $444,214.87


           55.41 114 - Encinitas
           .     CLOSED, 455 Santa
                     Fe Drive, Encinitas                  Leasehold
                     CA 92024-5134                        Improvements                $90,763.55     Net Book Value               $90,763.55


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 44
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 65 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.42 116 - Bakersfield
           .     Southwest CLOSED,
                     4302 Gosford Road,
                     Bakersfield CA                       Leasehold
                     93313-4806                           Improvements                $25,963.97     Net Book Value               $25,963.97


           55.43 117 - Palmdale West
           .     CLOSED, 1335 West
                     Avenue P, Palmdale                   Leasehold
                     CA 93551-3182                        Improvements                $21,613.65     Net Book Value               $21,613.65


           55.44 118 - Mid Wilshire,
           .     3699 Wilshire Blvd,
                     Suite #110, #11, Los
                     Angeles CA                           Leasehold
                     90010-2720                           Improvements             $2,348,917.54     Net Book Value            $2,348,917.54


           55.45 121 - Costa Mesa
           .     CLOSED, 1600
                     Adams Avenue,
                     Costa Mesa CA                        Leasehold
                     92626-4954                           Improvements               $305,692.46     Net Book Value             $305,692.46


           55.46 124 - Laguna Hills
           .     CLOSED, 25252
                     McIntyre Street, Suite
                     A, Laguna Hills CA                   Leasehold
                     92653-5448                           Improvements                $43,176.43     Net Book Value               $43,176.43


           55.47 127 - Orange, 3521 E.
           .     Chapman Avenue,
                     Orange CA                            Leasehold
                     92869-3814                           Improvements               $155,724.66     Net Book Value             $155,724.66


           55.48 128 - Bakersfield
           .     Northwest CLOSED,
                     3633 Rosedale
                     Highway, Bakersfield                 Leasehold
                     CA 93308-6230                        Improvements                $78,678.70     Net Book Value               $78,678.70


           55.49 130 - Torrance-PV
           .     Super Sport, 2685
                     Pacific Coast
                     Highway, Torrance                    Leasehold
                     CA 90505-7037                        Improvements               $140,544.28     Net Book Value             $140,544.28


           55.50 140 - Arvada, 8105 N.
           .     Sheridan Blvd.,
                     Arvada CO                            Leasehold
                     80003-1911                           Improvements               $117,380.89     Net Book Value             $117,380.89




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 45
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 66 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.51 151 - Wigwam Sport,
           .     2556 Wigwam
                     Parkway, Henderson                   Leasehold
                     NV 89074-6226                        Improvements               $389,257.97     Net Book Value             $389,257.97


           55.52 156 - Garden Grove,
           .     9561 Chapman
                     Avenue, Garden                       Leasehold
                     Grove CA 92841-2704                  Improvements             $1,182,258.05     Net Book Value            $1,182,258.05


           55.53 157 - Mission Viejo,
           .     23166 Los Alisos
                     Blvd, #14, Mission                   Leasehold
                     Viejo CA 92691-2810                  Improvements                $19,865.50     Net Book Value               $19,865.50


           55.54 158 - Aliso Viejo,
           .     27141 Aliso Creek
                     Road, #1, Aliso Viejo                Leasehold
                     CA 92656-3357                        Improvements                $39,219.66     Net Book Value               $39,219.66


           55.55 159 - Brea, 965 E.
           .     Birch Street, Brea CA                    Leasehold
                     92821-5813                           Improvements                $14,115.53     Net Book Value               $14,115.53


           55.56 163 - Manhattan
           .     Beach Super Sport,
                     1500 Rosecrans
                     Avenue, Manhattan                    Leasehold
                     Beach CA 90266-3763                  Improvements                $10,993.98     Net Book Value               $10,993.98


           55.57 165 - Upland Sport,
           .     685 West Foothill
                     Blvd., Upland CA                     Leasehold
                     91786-3859                           Improvements               $143,850.12     Net Book Value             $143,850.12


           55.58 166 - Green Valley
           .     CLOSED, 2893 North
                     Green Valley
                     Parkway, Henderson                   Leasehold
                     NV 89014-0403                        Improvements                $40,234.87     Net Book Value               $40,234.87


           55.59 167 - La Jolla West
           .     CLOSED, 7680 Girard
                     Avenue, Suite 2, La                  Leasehold
                     Jolla CA 92037-4420                  Improvements                $79,215.24     Net Book Value               $79,215.24


           55.60 168 - Victorville
           .     CLOSED, 16200 Bear
                     Valley Road,
                     Victorville CA                       Leasehold
                     92395-8400                           Improvements                $55,322.29     Net Book Value               $55,322.29




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 46
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 67 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.61 170 - Monrovia, 715
           .     E. Huntington Drive,
                     Monrovia CA                          Leasehold
                     91016-3613                           Improvements               $124,870.57     Net Book Value             $124,870.57


           55.62 171 - Rancho Santa
           .     Margarita, 22331 El
                     Paseo, Rancho Santa
                     Margarita CA                         Leasehold
                     92688-2822                           Improvements                $79,228.06     Net Book Value               $79,228.06


           55.63 173 - Pasadena
           .     CLOSED, 465 North
                     Halstead Street,
                     Pasadena CA                          Leasehold
                     91107-3144                           Improvements               $180,317.73     Net Book Value             $180,317.73


           55.64 174 - Solana Beach
           .     Active, 975 Lomas
                     Santa Fe Drive,
                     Solana Beach CA                      Leasehold
                     92075-2125                           Improvements                $54,712.60     Net Book Value               $54,712.60


           55.65 179 - Pasadena
           .     Downtown, 525
                     Colorado Blvd.,
                     Pasadena CA                          Leasehold
                     91101-5229                           Improvements               $366,225.54     Net Book Value             $366,225.54


           55.66 180 - Chino Hills
           .     Marketplace, 4200
                     Chino Hills Parkway,
                     Suite 78, Chino Hills                Leasehold
                     CA 91709-5839                        Improvements               $144,111.61     Net Book Value             $144,111.61


           55.67 183 - Santa Monica
           .     Super Sport, 2929
                     31st Street, Santa
                     Monica CA                            Leasehold
                     90405-3036                           Improvements               $639,375.57     Net Book Value             $639,375.57


           55.68 184 - West Hollywood
           .     Super Sport, 8612
                     Santa Monica Blvd,
                     West Hollywood CA                    Leasehold
                     90069-4110                           Improvements               $784,313.26     Net Book Value             $784,313.26


           55.69 185 - Costa Mesa
           .     Sport, 555 West 19th
                     Street, Costa Mesa                   Leasehold
                     CA 92627-2753                        Improvements               $215,788.54     Net Book Value             $215,788.54




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 47
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 68 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.70 186 - Long Beach
           .     Super Sport, 3030
                     Bellflower Blvd.,
                     Long Beach CA                        Leasehold
                     90808-3701                           Improvements             $1,024,978.39     Net Book Value            $1,024,978.39


           55.71 189 - Lakeshore Ultra
           .     Sport CLOSED,
                     18007 Von Karman
                     Avenue, Irvine CA                    Leasehold
                     92612-1003                           Improvements               $337,283.23     Net Book Value             $337,283.23


           55.72 191 - Rancho
           .     Penasquitos, 10025
                     Carmel Mountain
                     Road, San Diego CA                   Leasehold
                     92129-3229                           Improvements               $455,052.89     Net Book Value             $455,052.89


           55.73 192 - Carson, 945 E.
           .     Dominguez Street,
                     Carson CA                            Leasehold
                     90746-7260                           Improvements               $257,983.74     Net Book Value             $257,983.74


           55.74 196 - Irvine Center
           .     Drive SuperSport,
                     8697 Irvine Center
                     Drive, Irvine CA                     Leasehold
                     92618-4219                           Improvements               $123,018.92     Net Book Value             $123,018.92


           55.75 197 - Rancho
           .     Cucamonga Sport,
                     11787 Foothill Blvd.,
                     Rancho Cucamonga                     Leasehold
                     CA 91730-3907                        Improvements               $139,399.23     Net Book Value             $139,399.23


           55.76 198 - Corona, 275
           .     Teller Street, #1,
                     Corona CA                            Leasehold
                     92879-1894                           Improvements               $266,240.32     Net Book Value             $266,240.32


           55.77 202 - Austin, 10616
           .     Research Blvd.,                          Leasehold
                     Austin TX 78759-5709                 Improvements               $168,079.13     Net Book Value             $168,079.13


           55.78 208 - Sugarland Sport
           .     CLOSED, 14111
                     Southwest Freeway,
                     Sugar Land TX                        Leasehold
                     77478-3776                           Improvements                $20,883.91     Net Book Value               $20,883.91




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 48
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 69 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.79 210 - Rainbow Super
           .     Sport CLOSED, 601
                     S. Rainbow Blvd.,
                     Las Vegas NV                         Leasehold
                     89145-6243                           Improvements               $398,499.75     Net Book Value             $398,499.75


           55.80 211 - Mesquite Super
           .     Sport, 3600
                     Emporium Circle,
                     Mesquite TX                          Leasehold
                     75150-6508                           Improvements                $79,241.10     Net Book Value               $79,241.10


           55.81 212 - Plano Super
           .     Sport CLOSED, 4600
                     West Park Blvd.,                     Leasehold
                     Plano TX 75093-2233                  Improvements               $132,704.13     Net Book Value             $132,704.13


           55.82 214 - Arlington Sport,
           .     1131 W. Arbrook
                     Blvd., Arlington TX                  Leasehold
                     76015-4206                           Improvements               $330,160.14     Net Book Value             $330,160.14


           55.83 215 - Bedford Super
           .     Sport CLOSED, 2100
                     Plaza Parkway,
                     Bedford TX                           Leasehold
                     76021-7003                           Improvements                $78,053.67     Net Book Value               $78,053.67


           55.84 217 - Plantation, 700
           .     South Pine Island
                     Road, Plantation FL                  Leasehold
                     33324-3130                           Improvements               $133,601.04     Net Book Value             $133,601.04


           55.85 218 - Fort Worth
           .     Hulen CLOSED, 5001
                     Overton Ridge Blvd.,
                     Fort Worth TX                        Leasehold
                     76132-1917                           Improvements                  $2,177.39    Net Book Value                 $2,177.39


           55.86 219 - Glendale Super
           .     Sport, 450 N. Brand
                     Blvd., Ste. 12,
                     Glendale CA                          Leasehold
                     91203-2347                           Improvements                $34,676.62     Net Book Value               $34,676.62


           55.87 228 - Summerlin
           .     Super Sport, 2090
                     Village Center Circle,
                     Las Vegas NV                         Leasehold
                     89134-6250                           Improvements               $214,732.65     Net Book Value             $214,732.65




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 49
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 70 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.88 229 - Las Vegas
           .     Moun Vista SS
                     CLOSED, 4440 E.
                     Tropicana Avenue,                    Leasehold
                     Las Vegas NV 89121                   Improvements             $3,490,593.80     Net Book Value            $3,490,593.80


           55.89 265 - Doral East
           .     Super Sport, 8700
                     NW 36th Street, #301,                Leasehold
                     Doral FL 33166                       Improvements               $255,933.51     Net Book Value             $255,933.51


           55.90 266 - Royal Palm
           .     Beach Super Sport,
                     11001-11161
                     Southern Boulevard,
                     Royal Palm Beach FL                  Leasehold
                     33411-4240                           Improvements               $286,501.71     Net Book Value             $286,501.71


           55.91 267 - Doral West
           .     Super Sport, 1970
                     NW 117 PL, Miami FL                  Leasehold
                     33182-1500                           Improvements             $4,214,130.18     Net Book Value            $4,214,130.18


           55.92 268 - Capitol
           .     Expressway Sport,
                     2920 Aborn Square
                     Road, San Jose CA                    Leasehold
                     95121                                Improvements               $208,290.90     Net Book Value             $208,290.90


           55.93 271 - Fremont Sport
           .     CLOSED, 35630
                     Fremont Boulevard,                   Leasehold
                     Fremont CA 94536                     Improvements                $13,386.57     Net Book Value               $13,386.57


           55.94 272 - Washington
           .     Sport, 567 Floresta
                     Blvd, San Leandro                    Leasehold
                     CA 94578-4125                        Improvements                $55,120.75     Net Book Value               $55,120.75


           55.95 273 - Alemany Sport
           .     CLOSED, 3951
                     Alemany Blvd, San                    Leasehold
                     Francisco CA 94132                   Improvements                $65,124.70     Net Book Value               $65,124.70


           55.96 274 - Englewood
           .     Sport CLOSED, 3435
                     S. Inca Street,                      Leasehold
                     Englewood CO 80110                   Improvements                $56,171.05     Net Book Value               $56,171.05


           55.97 278 - Belmar Sport
           .     CLOSED, 360 South
                     Teller Street,
                     Lakewood CO                          Leasehold
                     80226-7384                           Improvements                  $1,184.02    Net Book Value                 $1,184.02

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 50
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 71 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name



           55.98 280 - Aurora City
           .     Place SS CLOSED,
                     1450 South Abilene
                     Street, Aurora CO                    Leasehold
                     80012-4627                           Improvements               $835,315.61     Net Book Value             $835,315.61


           55.99 283 - Saddle Brook
           .     Sport CLOSED, 189
                     US Highway 46,
                     Saddle Brook NJ                      Leasehold
                     07663-6215                           Improvements                $73,435.04     Net Book Value               $73,435.04


           55.10 285 - Jersey City
           0.    Sport CLOSED, 918
                     Bergen Avenue,
                     Jersey City NJ                       Leasehold
                     07306-3002                           Improvements                $38,741.75     Net Book Value               $38,741.75


           55.10 289 - Kings Highway
           1.    Sport CLOSED, 945
                     Kings Highway,                       Leasehold
                     Brooklyn NY 11223                    Improvements                $83,796.55     Net Book Value               $83,796.55


           55.10 290 - Kew Gardens
           2.    Sport, 8002 Kew
                     Gardens Road, Kew
                     Gardens NY                           Leasehold
                     11415-3600                           Improvements               $178,493.49     Net Book Value             $178,493.49


           55.10 291 - Fordham Road
           3.    Sport CLOSED, 2503
                     Grand Concourse,                     Leasehold
                     Bronx NY 10468                       Improvements                  $6,245.71    Net Book Value                 $6,245.71


           55.10 293 - Bensonhurst
           4.    Sport CLOSED, 1921
                     86th Street, Brooklyn                Leasehold
                     NY 11214-3103                        Improvements                $14,698.31     Net Book Value               $14,698.31


           55.10 294 - Riverdale Sport
           5.    CLOSED, 298 West
                     231st, Bronx NY                      Leasehold
                     10463-3940                           Improvements               $441,913.73     Net Book Value             $441,913.73


           55.10 296 - Sheepshead
           6.    Bay SS CLOSED,
                     1728 Sheepshead
                     Bay Road, Brooklyn                   Leasehold
                     NY 11235-3605                        Improvements               $289,536.77     Net Book Value             $289,536.77




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 51
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 72 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.10 299 - Yonkers Sport
           7.    CLOSED, 589
                     Tuckahoe Road,
                     Yonkers NY                           Leasehold
                     10710-5702                           Improvements               $228,719.48     Net Book Value             $228,719.48


           55.10 301 - Gulf Freeway,
           8.    11528 Gulf Freeway,
                     Houston TX                           Leasehold
                     77034-3530                           Improvements                $72,560.09     Net Book Value               $72,560.09


           55.10 305 - Richmond
           9.    CLOSED, 5721
                     Westheimer Road,
                     Houston TX                           Leasehold
                     77057-5719                           Improvements                $23,604.09     Net Book Value               $23,604.09


           55.11 307 - Coit CLOSED,
           0.    7622 Campbell Road,                      Leasehold
                     Dallas TX 75248-1704                 Improvements                $37,852.69     Net Book Value               $37,852.69


           55.11 313 - Nasa, 1017 Bay
           1.    Area Blvd., Houston                      Leasehold
                     TX 77058-2605                        Improvements                $18,165.10     Net Book Value               $18,165.10


           55.11 319 - Katy CLOSED,
           2.    1550 S. Mason Road,                      Leasehold
                     Katy TX 77450-4558                   Improvements               $189,166.50     Net Book Value             $189,166.50


           55.11 323 - Lewisville
           3.    CLOSED, 724 West
                     Main Street, #19,
                     Lewisville TX                        Leasehold
                     75067-3514                           Improvements                $92,045.35     Net Book Value               $92,045.35


           55.11 324 - Colorado
           4.    Springs, 3650 Austin
                     Bluff Parkway, #197,
                     Colorado Springs CO                  Leasehold
                     80918-6684                           Improvements               $424,714.11     Net Book Value             $424,714.11


           55.11 326 - Lakewood
           5.    Sport, 12039 W.
                     Alameda Parkway,
                     #Z-3, Lakewood CO                    Leasehold
                     80228-2701                           Improvements               $269,371.62     Net Book Value             $269,371.62


           55.11 329 - Kipling Sport,
           6.    6044 South Kipling
                     Parkway, Littleton                   Leasehold
                     CO 80127-2514                        Improvements               $538,485.03     Net Book Value             $538,485.03




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 52
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 73 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.11 332 - Jacinto City
           7.    Sport, 11420 I-10 East
                     Freeway, Ste 2,
                     Jacinto City TX                      Leasehold
                     77029-1935                           Improvements               $654,497.05     Net Book Value             $654,497.05


           55.11 336 - Sandy CLOSED,
           8.    10365 South 1300
                     East, Sandy UT                       Leasehold
                     84094-4681                           Improvements                     $22.16    Net Book Value                     $22.16


           55.11 337 - Broomfield
           9.    CLOSED, 4650 W
                     120th Avenue,
                     Broomfield CO                        Leasehold
                     80020-3327                           Improvements               $193,420.01     Net Book Value             $193,420.01


           55.12 341 - Addison
           0.    (Dallas) CLOSED,
                     5100 Belt Line Road,
                     #6, Dallas TX                        Leasehold
                     75254-7559                           Improvements                  $9,293.15    Net Book Value                 $9,293.15


           55.12 344 - Irving
           1.    (Metroplex Pla
                     CLOSED, 2407 West
                     Airport Freeway,                     Leasehold
                     Irving TX 75062-6016                 Improvements               $200,114.84     Net Book Value             $200,114.84


           55.12 349 - Atascocita
           2.    CLOSED, 7068
                     FM-1960 East,
                     Humble TX                            Leasehold
                     77346-2704                           Improvements               $241,626.41     Net Book Value             $241,626.41


           55.12 350 - Meridian
           3.    CLOSED, 11798
                     Oswego Street,
                     Englewood CO                         Leasehold
                     80112-7000                           Improvements               $145,981.75     Net Book Value             $145,981.75


           55.12 351 - Alameda Ave
           4.    (Denver), 4120 E.
                     Alameda, Denver CO                   Leasehold
                     80246-1069                           Improvements                $29,916.52     Net Book Value               $29,916.52


           55.12 352 - Tiffany Plaza
           5.    (Denver), 7400 E.
                     Hampden Avenue,
                     Denver CO                            Leasehold
                     80231-4884                           Improvements                $83,337.34     Net Book Value               $83,337.34




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 53
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 74 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.12 353 - Friendswood
           6.    CLOSED, 130 West
                     Parkwood Avenue,
                     Friendswood TX                       Leasehold
                     77546-5431                           Improvements               $207,884.14     Net Book Value             $207,884.14


           55.12 355 - Highlands
           7.    Ranch CLOSED, 333
                     Dad Clark Drive,
                     Highlands Ranch CO                   Leasehold
                     80126-2444                           Improvements               $528,157.31     Net Book Value             $528,157.31


           55.12 356 - Highway 249
           8.    (Compaq) CLOSED,
                     21614 Tomball
                     Parkway, Houston TX                  Leasehold
                     77070-1646                           Improvements               $184,535.27     Net Book Value             $184,535.27


           55.12 362 - Woodlands,
           9.    1800 Lake
                     Woodlands Drive,
                     The Woodlands TX                     Leasehold
                     77380-1009                           Improvements               $301,222.84     Net Book Value             $301,222.84


           55.13 365 - Central & Royal
           0.    (Dallas), 11100
                     Central Expressway,                  Leasehold
                     Dallas TX 75243-6904                 Improvements               $177,606.76     Net Book Value             $177,606.76


           55.13 366 - Meyerland Plaza
           1.    CLOSED, 8650
                     Endicott Lane,
                     Houston TX                           Leasehold
                     77096-1501                           Improvements               $100,848.17     Net Book Value             $100,848.17


           55.13 369 - Mockingbird
           2.    (Dallas) CLOSED,
                     5706 E. Mockingbird
                     Lane, #31, Dallas TX                 Leasehold
                     75206-5460                           Improvements               $223,721.74     Net Book Value             $223,721.74


           55.13 372 - Hancock
           3.    Center, 1000 E. 41st
                     Street, Suite 85,                    Leasehold
                     Austin TX 78751-4810                 Improvements               $179,775.18     Net Book Value             $179,775.18


           55.13 375 - Southlake, 301
           4.    N. Nolen Drive,
                     Southlake TX                         Leasehold
                     76092-8025                           Improvements               $444,691.13     Net Book Value             $444,691.13




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 54
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 75 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.13 377 - Lake Creek
           5.    CLOSED, 13802 N
                     Hwy 183, Austin TX                   Leasehold
                     78750-1203                           Improvements                  $5,534.04    Net Book Value                 $5,534.04


           55.13 384 - Castle Rock
           6.    Super Sport, 5745
                     New Abbey Lane,
                     Castle Rock CO                       Leasehold
                     80108                                Improvements             $2,955,114.95     Net Book Value            $2,955,114.95


           55.13 385 - Euless Rio
           7.    Grande Super Sport,
                     2401 Rio Grande
                     Blvd, Euless TX                      Leasehold
                     76039                                Improvements             $2,613,467.06     Net Book Value            $2,613,467.06


           55.13 386 - Arvada Super
           8.    Sport, 12680 West
                     64th Avenue, Arvada                  Leasehold
                     CO 80004-3806                        Improvements             $4,915,386.06     Net Book Value            $4,915,386.06


           55.13 387 - Rosenberg
           9.    Super Sport
                     CLOSED, 4112 FM
                     762, Rosenberg TX                    Leasehold
                     77471-5877                           Improvements             $2,688,134.11     Net Book Value            $2,688,134.11


           55.14 388 - McKinney
           0.    Super Sport, 1601 N.
                     Hardin Blvd.,                        Leasehold
                     McKinney TX 75071                    Improvements             $3,464,501.98     Net Book Value            $3,464,501.98


           55.14 389 - Fairview Super
           1.    Sport, 361 Southwind
                     Ln., Fairview TX                     Leasehold
                     75069                                Improvements             $4,472,358.78     Net Book Value            $4,472,358.78


           55.14 390 - East Plano
           2.    Super Sport, 3300 N
                     Central Expressway,
                     Suite A, Plano TX                    Leasehold
                     75074                                Improvements             $5,852,696.84     Net Book Value            $5,852,696.84


           55.14 391 - Carrollton
           3.    Woodlake SS
                     CLOSED, 3050 Josey
                     Lane, Carrollton TX                  Leasehold
                     75006                                Improvements             $6,704,426.28     Net Book Value            $6,704,426.28


           55.14 392 - Bingle CLOSED,
           4.    12708 Northwest
                     Freeway, Houston TX                  Leasehold
                     77092-2402                           Improvements                $45,652.05     Net Book Value               $45,652.05

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 55
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 76 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name



           55.14 393 - Frisco Sport
           5.    CLOSED, 3865
                     Preston Road, Frisco                 Leasehold
                     TX 75034-9458                        Improvements               $113,068.58     Net Book Value             $113,068.58


           55.14 397 - Torrance Del
           6.    Amo Super Sport,
                     21501 Torrance Blvd,                 Leasehold
                     Torrance CA 90503                    Improvements             $3,961,972.54     Net Book Value            $3,961,972.54


           55.14 398 - Riverside
           7.    Madison SS, 3490
                     Madison Street,
                     Riverside CA                         Leasehold
                     92504-3717                           Improvements             $2,550,075.27     Net Book Value            $2,550,075.27


           55.14 402 - Lakewood Mall
           8.    CLOSED, 5919
                     Lakewood Towne
                     Center Blvd, Suite K,
                     Suite K, Lakewood                    Leasehold
                     WA 98499-6513                        Improvements                $30,950.74     Net Book Value               $30,950.74


           55.14 403 - Ballinger Village
           9.    CLOSED, 20202
                     Ballinger Way NE,
                     Space A-10, Space
                     A-1, Seattle WA                      Leasehold
                     98155-1144                           Improvements                $29,445.64     Net Book Value               $29,445.64


           55.15 407 - West Seattle,
           0.    2500 SW Barton
                     Street, Suite B-7,
                     Suite B-7, Seattle WA                Leasehold
                     98126-3949                           Improvements               $142,970.37     Net Book Value             $142,970.37


           55.15 411 - Columbia Tech
           1.    Center, 800 S.E. Tech
                     Center Drive,
                     Vancouver WA                         Leasehold
                     98683-5532                           Improvements               $175,711.86     Net Book Value             $175,711.86


           55.15 412 - Downtown
           2.    Seattle, 1827 Yale
                     Avenue, Seattle WA                   Leasehold
                     98101-1443                           Improvements                $96,185.52     Net Book Value               $96,185.52


           55.15 413 - Downtown
           3.    Portland, 1407 SW
                     Fourth Avenue,
                     Portland OR                          Leasehold
                     97201-5507                           Improvements               $228,285.28     Net Book Value             $228,285.28




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 56
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 77 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.15 415 - Murray Scholls,
           4.    11100 SW Murray
                     Scholls Pl.,
                     Beaverton OR                         Leasehold
                     97007-9703                           Improvements                $89,235.35     Net Book Value               $89,235.35


           55.15 418 - Lynnwood,
           5.    18930 29th Avenue
                     West, Lynwood WA                     Leasehold
                     98036-4729                           Improvements                $91,482.22     Net Book Value               $91,482.22


           55.15 423 - Mall 205
           6.    (Portland), 10052 SE
                     Washington Street,
                     Space E-1, Portland                  Leasehold
                     OR 97216-2424                        Improvements                $85,568.92     Net Book Value               $85,568.92


           55.15 425 - Portland
           7.    McLoughlin
                     SuperSport, 4546 SE
                     McLoughlin Blvd,
                     Portland OR                          Leasehold
                     97202-5041                           Improvements               $652,846.90     Net Book Value             $652,846.90


           55.15 427 - Gladstone
           8.    Super Sport, 465 W.
                     Arlington Street,                    Leasehold
                     Gladstone OR 97027                   Improvements             $2,543,026.49     Net Book Value            $2,543,026.49


           55.15 428 - Auburn
           9.    CLOSED, 915 Auburn
                     Way North, Auburn                    Leasehold
                     WA 98002-4117                        Improvements                  $1,056.01    Net Book Value                 $1,056.01


           55.16 433 - 9th Street Sport
           0.    CLOSED, 5684 South
                     900 East, Murray UT                  Leasehold
                     84121-1034                           Improvements                $23,217.69     Net Book Value               $23,217.69


           55.16 435 -
           1.    Sutter-Montgomery,
                     45 Montgomery
                     Street, San Francisco                Leasehold
                     CA 94104-4522                        Improvements                $17,125.98     Net Book Value               $17,125.98


           55.16 437 - North Aurora
           2.    Chambers Sport, 512
                     S. Chambers Road,
                     Aurora CO                            Leasehold
                     80017-3606                           Improvements               $612,001.85     Net Book Value             $612,001.85




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 57
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 78 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.16 438 - Southglenn
           3.    Super Sport
                     CLOSED, 6839 South
                     Vine Street,
                     Centennial CO                        Leasehold
                     80122-3492                           Improvements               $964,510.98     Net Book Value             $964,510.98


           55.16 439 - Issaquah Black
           4.    Nugget Rd SS, 5712
                     East Lake
                     Sammamish Parkway
                     SE, Issaquah WA                      Leasehold
                     98029-8914                           Improvements               $871,780.27     Net Book Value             $871,780.27


           55.16 440 - Bothell Super
           5.    Sport, 18006 120th
                     Avenue, Bothell WA                   Leasehold
                     98011-9478                           Improvements             $1,799,598.09     Net Book Value            $1,799,598.09


           55.16 441 - Tacoma Super
           6.    Sport, 111 South 38th
                     Street, Tacoma WA                    Leasehold
                     98418-7803                           Improvements             $3,774,467.95     Net Book Value            $3,774,467.95


           55.16 442 - Gresham Super
           7.    Sport, 1541 NE 181st
                     Avenue, Portland OR                  Leasehold
                     97230                                Improvements             $3,404,995.27     Net Book Value            $3,404,995.27


           55.16 443 - Puyallup Super
           8.    Sport CLOSED, 301
                     37th Avenue SE,                      Leasehold
                     Puyallup WA 98374                    Improvements             $4,436,944.65     Net Book Value            $4,436,944.65


           55.16 448 - Fountain Valley
           9.    Super Sport, 17200
                     Brookhurst St,
                     Fountain Valley CA                   Leasehold
                     92708                                Improvements             $3,583,513.21     Net Book Value            $3,583,513.21


           55.17 449 - Encino Super
           0.    Sport, 17017 Ventura
                     Blvd, Encino CA                      Leasehold
                     91316                                Improvements                $67,281.38     Net Book Value               $67,281.38


           55.17 456 - Antioch
           1.    Somersville SS, 2520
                     Somersville Road,
                     Antioch CA                           Leasehold
                     94509-4409                           Improvements             $3,070,727.65     Net Book Value            $3,070,727.65




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 58
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 79 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.17 457 - Brentwood
           2.    Super Sport, Lone
                     Treet & Jeffrey Way,                 Leasehold
                     Brentwood CA                         Improvements             $2,876,942.43     Net Book Value            $2,876,942.43


           55.17 460 - South Parker
           3.    Super Sport, 11481 S
                     Twenty Mile Road,                    Leasehold
                     Parker CO 80134                      Improvements             $4,464,713.78     Net Book Value            $4,464,713.78


           55.17 475 - Redwood City
           4.    Super Sport, 1050
                     Broadway St,
                     Redwood City CA                      Leasehold
                     94063                                Improvements             $1,871,238.52     Net Book Value            $1,871,238.52


           55.17 481 - San Marcos
           5.    CLOSED, 641 South
                     Rancho Santa Fe
                     Road, San Marcos                     Leasehold
                     CA 92078-3973                        Improvements               $925,766.09     Net Book Value             $925,766.09


           55.17 487 - Pacifica, 555
           6.    Oceana Blvd.,
                     Pacifica CA                          Leasehold
                     94044-1902                           Improvements                $47,976.86     Net Book Value               $47,976.86


           55.17 488 - Hayward Super
           7.    Sport, 2480 Whipple
                     Road, Hayward CA                     Leasehold
                     94544-7808                           Improvements             $2,003,635.75     Net Book Value            $2,003,635.75


           55.17 490 - La Cienega
           8.    Sport, 5045 West
                     Slauson Avenue, Los
                     Angeles CA                           Leasehold
                     90056-1651                           Improvements                  $3,478.94    Net Book Value                 $3,478.94


           55.17 491 - Tualatin Super
           9.    Sport, 17942 SW
                     McEwan Road,
                     Tigard OR                            Leasehold
                     97224-7206                           Improvements               $405,413.87     Net Book Value             $405,413.87


           55.18 492 - Redmond Super
           0.    Sport, 7320 170th
                     Ave NE, Redmond                      Leasehold
                     WA 98052-4457                        Improvements             $1,829,086.02     Net Book Value            $1,829,086.02


           55.18 493 - Fremont Auto
           1.    Mall Super Sport,
                     4500 Auto Mall
                     Parkway, Fremont                     Leasehold
                     CA 94538-3185                        Improvements             $2,310,356.96     Net Book Value            $2,310,356.96

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 59
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 80 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name



           55.18 494 - Richmond
           2.    Sport, 2126 Hilltop
                     Mall Road, Richmond                  Leasehold
                     CA 94806-1923                        Improvements               $134,768.55     Net Book Value             $134,768.55


           55.18 496 - Pearl City Super
           3.    Sport, 1000
                     Kamehameha
                     Highway, Pearl City                  Leasehold
                     HI 96782-2881                        Improvements             $1,766,975.29     Net Book Value            $1,766,975.29


           55.18 497 - Santa Teresa
           4.    (San Jose), 6223
                     Santa Teresa Blvd,
                     San Jose CA                          Leasehold
                     95119-1436                           Improvements               $337,148.42     Net Book Value             $337,148.42


           55.18 498 - Antelope
           5.    Marketplace, 7905
                     Walerga Road,
                     Antelope CA                          Leasehold
                     95843-5722                           Improvements               $143,839.14     Net Book Value             $143,839.14


           55.18 501 - San Leandro,
           6.    304 Bayfair Mall, San
                     Leandro CA                           Leasehold
                     94578-1900                           Improvements               $142,085.36     Net Book Value             $142,085.36


           55.18 502 - Van Ness, 1200
           7.    Van Ness Avenue,
                     San Francisco CA                     Leasehold
                     94109-5507                           Improvements                $79,652.12     Net Book Value               $79,652.12


           55.18 503 - San Mateo, 500
           8.    S. El Camino Real,
                     San Mateo CA                         Leasehold
                     94402-1707                           Improvements               $182,945.67     Net Book Value             $182,945.67


           55.18 504 - Hillsdale,
           9.    1825-A Hillsdale
                     Avenue, San Jose CA                  Leasehold
                     95124-3405                           Improvements                $59,883.91     Net Book Value               $59,883.91


           55.19 505 - Capitol &
           0.    McKee CLOSED,
                     375A North Capitol
                     Avenue, San Jose CA                  Leasehold
                     95133-1900                           Improvements                $92,723.07     Net Book Value               $92,723.07


           55.19 506 - Sunnyvale, 150
           1.    E. Fremont Avenue,
                     Sunnyvale CA                         Leasehold
                     94087-3201                           Improvements               $172,561.43     Net Book Value             $172,561.43

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 60
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 81 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name



           55.19 507 - Daly City, 373
           2.    Gellert Blvd, Daly                       Leasehold
                     City CA 94015-2613                   Improvements               $157,484.86     Net Book Value             $157,484.86


           55.19 510 - Santa Rosa
           3.    Super Sport, 3550
                     Industrial Drive,
                     Santa Rosa CA                        Leasehold
                     95403-2058                           Improvements               $158,751.40     Net Book Value             $158,751.40


           55.19 511 - Concord, 359
           4.    Sun Valley Mall Road,
                     Concord CA                           Leasehold
                     94520-5811                           Improvements               $105,935.83     Net Book Value             $105,935.83


           55.19 512 - San Ramon
           5.    Super Sport, 4450
                     Norris Canyon Road,
                     San Ramon CA                         Leasehold
                     94583-5415                           Improvements             $2,609,052.00     Net Book Value            $2,609,052.00


           55.19 513 - Mountain View,
           6.    550 Showers Drive,
                     Mountain View CA                     Leasehold
                     94040-1431                           Improvements               $246,951.56     Net Book Value             $246,951.56


           55.19 514 - Castro Valley,
           7.    3839 E. Castro Valley
                     Blvd., Castro Valley                 Leasehold
                     CA 94552-4837                        Improvements               $184,238.91     Net Book Value             $184,238.91


           55.19 515 - Vallejo
           8.    CLOSED, 4300
                     Sonoma Blvd, #48,
                     Vallejo CA                           Leasehold
                     94589-2200                           Improvements               $101,479.68     Net Book Value             $101,479.68


           55.19 516 - Walnut Creek
           9.    Ygnacio Ce CLOSED,
                     2033 N. Main Street,
                     Walnut Creek CA                      Leasehold
                     94596-3772                           Improvements               $179,969.08     Net Book Value             $179,969.08


           55.20 517 - Santa Cruz
           0.    Super Sport, 1261
                     Soquel Avenue,
                     Santa Cruz CA                        Leasehold
                     95062-2107                           Improvements               $222,274.58     Net Book Value             $222,274.58


           55.20 519 - North Point
           1.    CLOSED, 350 Bay
                     Street, San Francisco                Leasehold
                     CA 94133-1966                        Improvements               $102,453.85     Net Book Value             $102,453.85

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 61
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 82 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name



           55.20 521 - California
           2.    Street, 100 California
                     Street, San Francisco                Leasehold
                     CA 94111-4505                        Improvements               $721,091.52     Net Book Value             $721,091.52


           55.20 523 - Citrus Heights,
           3.    6633 Auburn
                     Boulevard, Citrus
                     Heights CA                           Leasehold
                     95621-4925                           Improvements                $54,877.52     Net Book Value               $54,877.52


           55.20 528 - Rancho
           4.    Cordova, 9574
                     Micron Avenue,
                     Sacramento CA                        Leasehold
                     95827-2622                           Improvements                  $8,026.88    Net Book Value                 $8,026.88


           55.20 532 - Oakland, 2050
           5.    Webster Street,
                     Oakland CA                           Leasehold
                     94612-3512                           Improvements                $37,438.38     Net Book Value               $37,438.38


           55.20 533 - Morgan Hill
           6.    CLOSED, 850
                     Tennant Station,
                     Morgan Hill CA                       Leasehold
                     95037-5459                           Improvements                $51,191.88     Net Book Value               $51,191.88


           55.20 535 - Manteca
           7.    CLOSED, 1090 North
                     Main Street, Manteca                 Leasehold
                     CA 95336-3745                        Improvements               $124,840.57     Net Book Value             $124,840.57


           55.20 536 - Hayward, 24727
           8.    Amador Street,
                     Hayward CA                           Leasehold
                     94544-1801                           Improvements               $249,138.37     Net Book Value             $249,138.37


           55.20 538 - Reno, 1595 Sky
           9.    Mountain Drive, Reno                     Leasehold
                     NV 89523-9190                        Improvements               $176,574.39     Net Book Value             $176,574.39


           55.21 539 - Ocean, 1850
           0.    Ocean Avenue, San
                     Francisco CA                         Leasehold
                     94112-1768                           Improvements               $224,039.59     Net Book Value             $224,039.59


           55.21 540 - Honolulu Super
           1.    Sport, 1680 Kapiolani
                     Blvd., Honolulu HI                   Leasehold
                     96814-3794                           Improvements               $492,435.21     Net Book Value             $492,435.21




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 62
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 83 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.21 543 - Paseo Padre,
           2.    39300 Paseo Padre
                     Parkway, Fremont                     Leasehold
                     CA 94538-1629                        Improvements               $165,527.98     Net Book Value             $165,527.98


           55.21 544 - Parkmoor, 1531
           3.    Parkmoor Avenue,
                     San Jose CA                          Leasehold
                     95128-2407                           Improvements               $496,786.16     Net Book Value             $496,786.16


           55.21 545 - Potrero Sport,
           4.    1645 Bryant Street,
                     San Francisco CA                     Leasehold
                     94103-4851                           Improvements               $458,060.81     Net Book Value             $458,060.81


           55.21 547 - Market Street
           5.    CLOSED, 2145
                     Market Street, San
                     Francisco CA                         Leasehold
                     94114-1321                           Improvements               $174,557.15     Net Book Value             $174,557.15


           55.21 548 - Mililani Super
           6.    Sport, 95-221 Kipapa
                     Drive, Mililani HI                   Leasehold
                     96789-1147                           Improvements               $171,193.79     Net Book Value             $171,193.79


           55.21 549 - Reno South
           7.    CLOSED, 6155 Neil
                     Road, Reno NV                        Leasehold
                     89511-1134                           Improvements                $16,497.39     Net Book Value               $16,497.39


           55.21 552 - Laguna, 8785
           8.    Center Parkway,
                     Sacramento CA                        Leasehold
                     95823-7697                           Improvements               $145,996.33     Net Book Value             $145,996.33


           55.21 553 - Aurora
           9.    CLOSED, 4100 South
                     Parker Road, Aurora                  Leasehold
                     CO 80014-4132                        Improvements               $215,954.65     Net Book Value             $215,954.65


           55.22 555 - Bishop, 1000
           0.    Bishop Street, Suite
                     11, Honolulu HI                      Leasehold
                     96813-4202                           Improvements               $153,129.84     Net Book Value             $153,129.84


           55.22 557 - Benjamin Holt
           1.    Sport CLOSED, 3137
                     West Benjamin Holt
                     Drive, Stockton CA                   Leasehold
                     95219-3703                           Improvements               $102,707.42     Net Book Value             $102,707.42




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 63
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 84 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.22 558 - Maui CLOSED,
           2.    150 Hana Highway,
                     Suite 18, Kahului HI                 Leasehold
                     96732-2331                           Improvements               $310,398.75     Net Book Value             $310,398.75


           55.22 559 - Windward City,
           3.    45-480 Kaneohe Bay
                     Drive, Suite C-21,
                     Suite C-21, Kaneohe                  Leasehold
                     HI 96744-2039                        Improvements               $167,687.96     Net Book Value             $167,687.96


           55.22 560 - Riverlake, 7600
           4.    Greenhaven Drive, #
                     15, Sacramento CA                    Leasehold
                     95831-5604                           Improvements                $46,978.75     Net Book Value               $46,978.75


           55.22 561 - Beaverton
           5.    CLOSED, 4145 SW
                     Watson Ave,
                     Beaverton OR                         Leasehold
                     97005-2132                           Improvements               $123,260.99     Net Book Value             $123,260.99


           55.22 562 - The Pearl, 1210
           6.    NW Johnson Street,
                     Portland OR                          Leasehold
                     97209-3011                           Improvements               $414,880.75     Net Book Value             $414,880.75


           55.22 571 - Fulton & Hurley,
           7.    1314 Fulton Avenue,
                     Sacramento CA                        Leasehold
                     95825-3604                           Improvements               $275,574.71     Net Book Value             $275,574.71


           55.22 572 - Lowry Sport,
           8.    7600 Academy Blvd,
                     Denver CO                            Leasehold
                     80230-7194                           Improvements               $138,802.79     Net Book Value             $138,802.79


           55.22 573 - Salem CLOSED,
           9.    451 Lancaster Drive
                     NE, Salem OR                         Leasehold
                     97301-4784                           Improvements                $81,440.66     Net Book Value               $81,440.66


           55.23 575 - Hillsboro, 6095
           0.    SE Tualatin Valley
                     Hwy, Hillsboro OR                    Leasehold
                     97123-8181                           Improvements                $23,869.88     Net Book Value               $23,869.88


           55.23 577 - Petaluma, 6
           1.    Petaluma Blvd.
                     North, Petaluma CA                   Leasehold
                     94952-3050                           Improvements                $65,531.05     Net Book Value               $65,531.05




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 64
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 85 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.23 592 - Roseville, 336
           2.    N. Sunrise Avenue,
                     Roseville CA                         Leasehold
                     95661-3025                           Improvements               $901,740.74     Net Book Value             $901,740.74


           55.23 593 - Hawaii Kai,
           3.    7120 Kalanianaole
                     Hwy, Honolulu HI                     Leasehold
                     96825-1932                           Improvements               $209,735.71     Net Book Value             $209,735.71


           55.23 594 - East Arques,
           4.    1211 E. Arques
                     Avenue, Sunnyvale                    Leasehold
                     CA 94085-4702                        Improvements                  $7,441.86    Net Book Value                 $7,441.86


           55.23 598 - Downtown
           5.    Sacramento
                     SuperSport, 1020 7th
                     Street, Sacramento                   Leasehold
                     CA 95814-3400                        Improvements             $1,266,497.77     Net Book Value            $1,266,497.77


           55.23 601 - Milpitas Active
           6.    CLOSED, 301 Jacklin
                     Road, Milpitas CA                    Leasehold
                     95035-3225                           Improvements               $100,556.83     Net Book Value             $100,556.83


           55.23 602 - Milpitas Super
           7.    Sport, 749 East
                     Calaveras Blvd,
                     Milpitas CA                          Leasehold
                     95033-5435                           Improvements             $4,047,029.32     Net Book Value            $4,047,029.32


           55.23 608 - Freehold Super
           8.    Sport, 326 West Main
                     Street, Freehold NJ                  Leasehold
                     07728                                Improvements                $44,932.87     Net Book Value               $44,932.87


           55.23 609 - Middletown
           9.    Super Sport, 835
                     Highway 35,                          Leasehold
                     Middletown NJ 07748                  Improvements                $42,997.96     Net Book Value               $42,997.96


           55.24 611 - Annapolis Riva
           0.    Rd. SS CLOSED, 200
                     Harker Place, 23,
                     Annapolis MD                         Leasehold
                     21401-3680                           Improvements             $1,092,966.21     Net Book Value            $1,092,966.21


           55.24 612 - Ledgewood
           1.    Super Sport, 461
                     Route 10 Unit #01,                   Leasehold
                     Ledgewood NJ 07852                   Improvements               $162,866.91     Net Book Value             $162,866.91




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 65
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 86 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.24 613 - North
           2.    Brunswick SS
                     CLOSED, 1500
                     Livingston Ave,
                     North Brunswick NJ                   Leasehold
                     08816                                Improvements             $2,214,865.85     Net Book Value            $2,214,865.85


           55.24 614 - Piscataway
           3.    Super Sport
                     CLOSED, 1327
                     Centennial Ave,                      Leasehold
                     Piscataway NJ 08854                  Improvements             $6,439,691.13     Net Book Value            $6,439,691.13


           55.24 615 - Springfield
           4.    Super Sport, 75 US
                     Hwy 22, Springfield                  Leasehold
                     NJ 07081                             Improvements             $5,301,945.07     Net Book Value            $5,301,945.07


           55.24 616 - Paramus Super
           5.    Sport, 260 East
                     Route-4, Paramus NJ                  Leasehold
                     07652-5169                           Improvements               $458,298.54     Net Book Value             $458,298.54


           55.24 617 - Pembroke Pines
           6.    Super Sport, 16000
                     Pines Boulevard,
                     Pembroke Pines FL                    Leasehold
                     33082                                Improvements               $193,443.72     Net Book Value             $193,443.72


           55.24 618 - Homestead
           7.    Super Sport, 3314 NE
                     7th Street,
                     Homestead FL                         Leasehold
                     33033-4502                           Improvements             $4,208,763.60     Net Book Value            $4,208,763.60


           55.24 619 - Orlando Park
           8.    Square SS, 12187 E.
                     Colonial Drive,
                     Orlando FL                           Leasehold
                     32826-4707                           Improvements             $1,932,086.53     Net Book Value            $1,932,086.53


           55.24 621 - Coconut Grove
           9.    CLOSED, 2982 Grand
                     Avenue, Miami FL                     Leasehold
                     33133-6040                           Improvements                  $8,115.87    Net Book Value                 $8,115.87


           55.25 623 - Pembroke Pines
           0.    Sport CLOSED, 8333
                     Pines Blvd.,
                     Pembroke Pines FL                    Leasehold
                     33024-6607                           Improvements               $351,188.63     Net Book Value             $351,188.63




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 66
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 87 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.25 624 - Town & Country
           1.    Sport CLOSED, 8400
                     Mills Drive, Miami FL                Leasehold
                     33183-4807                           Improvements               $857,272.03     Net Book Value             $857,272.03


           55.25 627 - Greenacres
           2.    Active CLOSED, 6846
                     Forest Hills Blvd.,
                     Greenacres FL                        Leasehold
                     33413-3352                           Improvements                $81,241.01     Net Book Value               $81,241.01


           55.25 628 - Miami Cutler
           3.    Ridge Spo CLOSED,
                     20851 Dixie Drive
                     Highway, Miami FL                    Leasehold
                     33189-2217                           Improvements               $409,286.62     Net Book Value             $409,286.62


           55.25 629 - Miramar Sport,
           4.    11645 Red Road,
                     Space H-1, Miramar                   Leasehold
                     FL 33025-7810                        Improvements               $918,980.98     Net Book Value             $918,980.98


           55.25 630 - Boynton Beach
           5.    Super Sp CLOSED,
                     1775 North Congress
                     Avenue, Boynton                      Leasehold
                     Beach FL 33426                       Improvements               $214,244.17     Net Book Value             $214,244.17


           55.25 631 - Sunrise Florida
           6.    Super Sport, 9919
                     West Oakland Park
                     Blvd, Sunrise FL                     Leasehold
                     33351-7009                           Improvements             $1,070,001.57     Net Book Value            $1,070,001.57


           55.25 632 - Orlando Orange
           7.    Super Sp CLOSED,
                     15 West Crystal Lake
                     Street, Orlando FL                   Leasehold
                     32806-4403                           Improvements               $155,432.97     Net Book Value             $155,432.97


           55.25 633 - Lake Mary
           8.    Super Sport, 236
                     Wheel House Lane,
                     Lake Mary FL                         Leasehold
                     32746-3410                           Improvements             $3,681,533.40     Net Book Value            $3,681,533.40


           55.25 634 - Miami Gardens
           9.    Super Sport, 19371
                     NW 27th Avenue,
                     Miami Gardens FL                     Leasehold
                     33056-2521                           Improvements             $3,823,910.58     Net Book Value            $3,823,910.58




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 67
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 88 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.26 635 - Apopka Super
           0.    Sport, 2360 E.
                     Semoran Blvd,                        Leasehold
                     Apopka FL 32703                      Improvements             $3,359,932.43     Net Book Value            $3,359,932.43


           55.26 636 - Kirkman Super
           1.    Sport, 1101 Resource
                     Avenue, Orlando FL                   Leasehold
                     32811-2203                           Improvements             $3,264,275.15     Net Book Value            $3,264,275.15


           55.26 637 - Tamarac Super
           2.    Sport CLOSED, 4017
                     W. Commercial Blvd,                  Leasehold
                     Tamarac FL 33319                     Improvements             $4,237,773.14     Net Book Value            $4,237,773.14


           55.26 638 - Winter Park
           3.    Super Sport, 4270
                     Aloma Avenue, Suite
                     164, Suite 164, Winter               Leasehold
                     Park FL 32792-9393                   Improvements             $5,285,097.94     Net Book Value            $5,285,097.94


           55.26 639 - Kissimmee
           4.    Super Sport, 850 W.
                     Osceola Parkway,                     Leasehold
                     Kissimmee FL 34741                   Improvements             $2,858,862.86     Net Book Value            $2,858,862.86


           55.26 640 - Pelham Manor
           5.    Super Sport, 887
                     Pelham Parkway,
                     Pelham Manor NY                      Leasehold
                     10803                                Improvements             $6,101,344.42     Net Book Value            $6,101,344.42


           55.26 641 - Ramsey Super
           6.    Sport, 150 Triangle
                     Plaza, Ramsey NJ                     Leasehold
                     07446                                Improvements             $4,907,438.85     Net Book Value            $4,907,438.85


           55.26 642 - Englewood
           7.    Cliffs Super Sport,
                     150 Sylvan Avenue,
                     Englewood Cliffs NJ                  Leasehold
                     07632-2549                           Improvements             $1,288,623.16     Net Book Value            $1,288,623.16


           55.26 643 - Wayne Towne
           8.    Center SS CLOSED,
                     133 Route 23, Wayne                  Leasehold
                     NJ 07470                             Improvements             $2,366,425.54     Net Book Value            $2,366,425.54


           55.26 644 - Woodbridge
           9.    Township SS
                     CLOSED, 1600 Saint
                     Georges Avenue,
                     Avenel NJ                            Leasehold
                     07001-1044                           Improvements             $5,390,115.06     Net Book Value            $5,390,115.06

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 68
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 89 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name



           55.27 645 - Whippany
           0.    Super Sport
                     CLOSED, 30 Sylvan
                     Way, Parsippany NJ                   Leasehold
                     07054                                Improvements             $4,663,742.41     Net Book Value            $4,663,742.41


           55.27 647 - Aliana Super
           1.    Sport, The Grand at
                     Aliana, Richmond TX                  Leasehold
                     77406-3657                           Improvements               $161,340.26     Net Book Value             $161,340.26


           55.27 648 - Rowlett Super
           2.    Sport, 5959 Sherry
                     Ln. Ste. 1250, Dallas                Leasehold
                     TX 75225                             Improvements               $531,200.82     Net Book Value             $531,200.82


           55.27 651 - Rockwall, 405
           3.    East Interstate 30,
                     Rockwall TX                          Leasehold
                     75087-5406                           Improvements               $636,133.76     Net Book Value             $636,133.76


           55.27 653 - Keller Super
           4.    Sport CLOSED, 5901
                     Golden Triangle, Fort                Leasehold
                     Worth TX 76244-4490                  Improvements               $758,405.37     Net Book Value             $758,405.37


           55.27 654 - Hasbrouck
           5.    Heights SS CLOSED,
                     459 Route 17,
                     Hasbrouck Heights                    Leasehold
                     NJ 07604-3015                        Improvements             $1,216,750.86     Net Book Value            $1,216,750.86


           55.27 656 - Murphy Super
           6.    Sport, 229 East FM
                     544, Murphy TX                       Leasehold
                     75094-4023                           Improvements               $794,398.10     Net Book Value             $794,398.10


           55.27 657 - Fort Worth
           7.    Horne, 2701 Halloran
                     Street, Fort Worth TX                Leasehold
                     76107-4637                           Improvements               $575,094.11     Net Book Value             $575,094.11


           55.27 658 - Pflugerville SS
           8.    CLOSED, 1401 Town
                     Center Drive,
                     Pflugerville TX                      Leasehold
                     78660-7599                           Improvements             $1,181,911.69     Net Book Value            $1,181,911.69


           55.27 659 - Houston Rice
           9.    Village SS, 2500
                     Dunstan Road,
                     Houston TX                           Leasehold
                     77005-2572                           Improvements             $2,091,953.19     Net Book Value            $2,091,953.19

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 69
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 90 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name



           55.28 660 - Katy Bella Terra
           0.    Super Sport, 5270
                     West Grand Parkway
                     South, Richmond TX                   Leasehold
                     77406-5822                           Improvements             $1,351,078.30     Net Book Value            $1,351,078.30


           55.28 661 - Greeley Super
           1.    Sport CLOSED, 3001
                     S. 23rd Avenue,
                     Greeley CO                           Leasehold
                     80631-8752                           Improvements             $4,739,041.07     Net Book Value            $4,739,041.07


           55.28 662 - Fort Collins
           2.    North SS CLOSED,
                     460 South College
                     Avenue, Fort Collins                 Leasehold
                     CO 80524                             Improvements             $4,516,923.72     Net Book Value            $4,516,923.72


           55.28 663 -
           3.    Parker-Arapahoe
                     Super Sport, 15900 E
                     Briarwood Circle,
                     Aurora CO                            Leasehold
                     80016-1564                           Improvements             $1,260,371.00     Net Book Value            $1,260,371.00


           55.28 664 - Littleton
           4.    Belleview Sp
                     CLOSED, 2650 W.
                     Belleview Avenue,
                     Suite #100, Littleton                Leasehold
                     CO 80123-7196                        Improvements               $416,612.26     Net Book Value             $416,612.26


           55.28 665 - Lake Worth
           5.    Sport, 6000 Quebec
                     Street, Fort Worth TX                Leasehold
                     76135-3609                           Improvements               $473,284.98     Net Book Value             $473,284.98


           55.28 667 - Fort Collins
           6.    Sport, 2208 E
                     Harmony Road, Fort
                     Collins CO                           Leasehold
                     80528-3412                           Improvements               $390,597.94     Net Book Value             $390,597.94


           55.28 668 - Boulder Iris
           7.    Street SuperSport,
                     2900 Iris Street,
                     Boulder CO                           Leasehold
                     80301-1413                           Improvements               $666,198.46     Net Book Value             $666,198.46


           55.28 669 - Lafayette Super
           8.    Sport, 851 N. Hwy
                     287, Lafayette CO                    Leasehold
                     80026                                Improvements             $3,959,849.31     Net Book Value            $3,959,849.31


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 70
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 91 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.28 670 - Spring Energy
           9.    Super Sport, 1000
                     Lake Plaza Dr.,                      Leasehold
                     Spring TX 77389                      Improvements             $4,264,571.33     Net Book Value            $4,264,571.33


           55.29 671 - Sienna
           0.    Plantation SS
                     CLOSED, 9026
                     Sienna Crossing
                     Drive, Missouri City                 Leasehold
                     TX 77071                             Improvements             $4,537,012.40     Net Book Value            $4,537,012.40


           55.29 672 - Houston
           1.    Heights Super Sport,
                     1513 West 18th St,
                     Store #14, Houston                   Leasehold
                     TX 77008                             Improvements             $3,498,282.33     Net Book Value            $3,498,282.33


           55.29 673 - Firethorne
           2.    Super Sport
                     CLOSED, 1719
                     Spring Green Blvd,                   Leasehold
                     Katy TX 77494                        Improvements             $2,599,364.82     Net Book Value            $2,599,364.82


           55.29 674 - Kessler Park
           3.    Super Sport, 2300
                     Fort Worth Ave,                      Leasehold
                     Dallas TX 75211                      Improvements             $4,053,727.00     Net Book Value            $4,053,727.00


           55.29 676 - William Cannon
           4.    Sport CLOSED, 4625
                     West Williams
                     Cannon Drive, Austin                 Leasehold
                     TX 78749-2318                        Improvements               $283,998.43     Net Book Value             $283,998.43


           55.29 677 - Fry Road &
           5.    Saums Rd CLOSED,
                     19734 Saums Road,
                     Houston TX                           Leasehold
                     77084-4734                           Improvements               $167,969.13     Net Book Value             $167,969.13


           55.29 679 - Pearland Super
           6.    Sport, 10011
                     Broadway Street,
                     Suite 107, Suite 17,
                     Pearland TX                          Leasehold
                     77584-7873                           Improvements             $1,425,483.24     Net Book Value            $1,425,483.24


           55.29 680 - Cedar Hill
           7.    CLOSED, 213 North
                     Highway 67, #1B,
                     Cedar Hill TX                        Leasehold
                     75104-2168                           Improvements               $330,085.59     Net Book Value             $330,085.59



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 71
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 92 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.29 681 - North Richland
           8.    Hills Sp CLOSED,
                     6601 Northeast Loop
                     820, North Richland                  Leasehold
                     Hills TX 76180-6040                  Improvements               $256,405.89     Net Book Value             $256,405.89


           55.29 682 - Parmer Sport
           9.    CLOSED, 12400 N IH-
                     35 Svc. Road
                     Southbound, Austin                   Leasehold
                     TX 78753-1331                        Improvements               $244,976.48     Net Book Value             $244,976.48


           55.30 684 - Spring-Cypress
           0.    CLOSED, 25632
                     Highway 290,
                     Cypress TX                           Leasehold
                     77429-1028                           Improvements               $103,147.51     Net Book Value             $103,147.51


           55.30 685 - West
           1.    Woodlands CLOSED,
                     10860 Kuykendahl
                     Road, The
                     Woodlands TX                         Leasehold
                     77381-2662                           Improvements               $143,577.62     Net Book Value             $143,577.62


           55.30 687 - Valley Ranch
           2.    Sport, 2280 Market
                     Place Drive, Irving TX               Leasehold
                     75063-8073                           Improvements               $466,816.69     Net Book Value             $466,816.69


           55.30 688 - Fort Worth
           3.    Western Center, 6500
                     Old Denton Road,
                     Fort Worth TX                        Leasehold
                     76131-2397                           Improvements               $291,683.58     Net Book Value             $291,683.58


           55.30 689 - Pasadena East
           4.    CLOSED, 5946
                     Fairmont Parkway,
                     Pasadena TX                          Leasehold
                     77505-3409                           Improvements               $281,319.35     Net Book Value             $281,319.35


           55.30 690 - Houston FM
           5.    1960 CLOSED, 4425
                     FM 1960 West,
                     Houston TX                           Leasehold
                     77068-3409                           Improvements                $38,611.19     Net Book Value               $38,611.19


           55.30 691 - Mansfield, 1101
           6.    N. Walnut Creek
                     Drive, Mansfield TX                  Leasehold
                     76063-2501                           Improvements               $492,474.50     Net Book Value             $492,474.50




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 72
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 93 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.30 692 - League City
           7.    CLOSED, 2765 Gulf
                     Freeway South,
                     League City TX                       Leasehold
                     77573-6769                           Improvements               $388,964.32     Net Book Value             $388,964.32


           55.30 694 - Little Elm
           8.    Crossing CLOSED,
                     2700 E. Eldorado
                     Parkway, Ste. 3, Little              Leasehold
                     Elm TX 75068-5999                    Improvements               $711,640.81     Net Book Value             $711,640.81


           55.30 695 - Baytown Garth
           9.    Road Sport, 3501
                     Garth Road, Baytown                  Leasehold
                     TX 77521-3865                        Improvements               $321,450.84     Net Book Value             $321,450.84


           55.31 696 - Elgin &
           0.    Louisiana Super
                     Sport, 3201 Louisiana
                     Street, Houston TX                   Leasehold
                     77006-6644                           Improvements               $756,689.43     Net Book Value             $756,689.43


           55.31 697 - Dairy Ashford
           1.    Sport, 12553
                     Westheimer Road,
                     Houston TX                           Leasehold
                     77077-5807                           Improvements               $948,955.49     Net Book Value             $948,955.49


           55.31 699 - Grand Prairie,
           2.    5208 South State
                     Hwy 360, Grand                       Leasehold
                     Prairie TX 75052-8307                Improvements               $291,019.43     Net Book Value             $291,019.43


           55.31 701 - Noe Valley
           3.    FitLite CLOSED, 3800
                     24th Street, Suite #2,
                     San Francisco CA                     Leasehold
                     94114-3875                           Improvements                  $1,530.47    Net Book Value                 $1,530.47


           55.31 704 - Berkeley Solano
           4.    AvFitLi CLOSED,
                     1775 Solano Avenue,
                     Berkeley CA                          Leasehold
                     94707-2209                           Improvements                   $362.90     Net Book Value                   $362.90


           55.31 709 - Moreno Valley
           5.    Fit Lite CLOSED,
                     23750 Alessandro
                     Blvd, Moreno Valley                  Leasehold
                     CA 92553-8811                        Improvements                  $2,485.68    Net Book Value                 $2,485.68




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 73
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 94 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.31 710 - Oak Lawn
           6.    Super Sport, SWC
                     95th & Pulaski, Oak                  Leasehold
                     Lawn IL 60453-3587                   Improvements               $920,208.66     Net Book Value             $920,208.66


           55.31 711 - Schaumburg
           7.    Super Sport
                     CLOSED, 141 N
                     Barrington Road,
                     Schaumburg IL                        Leasehold
                     60194-3860                           Improvements             $5,600,856.48     Net Book Value            $5,600,856.48


           55.31 712 - Carol Stream
           8.    SS CLOSED, 560 S.
                     Schmale Road, Carol                  Leasehold
                     Stream IL 60188                      Improvements             $6,637,603.95     Net Book Value            $6,637,603.95


           55.31 713 - Buffalo Grove
           9.    Super Sport, 45 East
                     Dundee Road,
                     Buffalo Grove IL                     Leasehold
                     60089                                Improvements               $216,899.86     Net Book Value             $216,899.86


           55.32 714 - Chicago Super
           0.    Sport, North Harlem,
                     Chicago IL                           Leasehold
                     60707-4303                           Improvements                $39,345.04     Net Book Value               $39,345.04


           55.32 715 - Six Corners
           1.    Super Sport, 4035
                     North Cicero Avenue,
                     Chicago IL                           Leasehold
                     60641-2794                           Improvements                $18,542.73     Net Book Value               $18,542.73


           55.32 716 - Joliet Super
           2.    Sport, 3340 Mall Loop
                     Drive, Joliet IL                     Leasehold
                     60431-1057                           Improvements                $29,324.82     Net Book Value               $29,324.82


           55.32 717 - Orland Park
           3.    Super Sport, 2 Orland
                     Square Drive, Orland                 Leasehold
                     Park IL 60462-3286                   Improvements                $35,162.19     Net Book Value               $35,162.19


           55.32 718 - Algonquin
           4.    Super Sport, 1621
                     South Randall Road,
                     Algonquin IL                         Leasehold
                     60102-5923                           Improvements               $437,929.40     Net Book Value             $437,929.40




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 74
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 95 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.32 719 - Mount Prospect
           5.    Super Sport, 1480 S
                     Elmhurst Road,
                     Mount Prospect IL                    Leasehold
                     60056                                Improvements               $282,376.46     Net Book Value             $282,376.46


           55.32 727 - Madison Square
           6.    Park US CLOSED,
                     225 Fifth Avenue,
                     New York NY                          Leasehold
                     10010-1102                           Improvements                $61,487.79     Net Book Value               $61,487.79


           55.32 728 - Midtown Ultra
           7.    Sport CLOSED, 153
                     East 53rd Street, New                Leasehold
                     York NY 10022-4611                   Improvements               $355,580.41     Net Book Value             $355,580.41


           55.32 729 - Nanuet Super
           8.    Sport, 5205 Fashion
                     Drive, Nanuet NY                     Leasehold
                     10954-2751                           Improvements             $2,581,017.91     Net Book Value            $2,581,017.91


           55.32 730 - Valley Stream
           9.    Green Acres SS, 750
                     West Sunrise Hwy,
                     Suite 100 Green
                     Acres Commons, 1
                     Green Acres
                     Commons, Valley
                     Stream NY                            Leasehold
                     11581-1007                           Improvements             $4,351,458.53     Net Book Value            $4,351,458.53


           55.33 731 - Scarsdale
           0.    Super Sport, 668
                     Central Park Ave,
                     Scarsdale NY                         Leasehold
                     10583-2512                           Improvements             $5,437,435.51     Net Book Value            $5,437,435.51


           55.33 732 - Massapequa
           1.    Super Sport
                     CLOSED, 941
                     Carmans Road,
                     Massapequa NY                        Leasehold
                     11758-3504                           Improvements             $5,444,967.39     Net Book Value            $5,444,967.39


           55.33 733 - Yorktown
           2.    Heights Super Sport,
                     600 Lee Blvd., Suite
                     1180, Jefferson
                     Valley Mall, Yorktown
                     Heights NY                           Leasehold
                     10598-1142                           Improvements             $6,066,571.29     Net Book Value            $6,066,571.29




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 75
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 96 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.33 734 - East Northport
           3.    Super Sport, 4000
                     Jericho Turnpike,
                     Suite 119, East                      Leasehold
                     Northport NY 11731                   Improvements             $6,788,311.15     Net Book Value            $6,788,311.15


           55.33 735 - Hicksville Super
           4.    Sport, 195 North
                     Broadway, Hicksville                 Leasehold
                     NY 11801                             Improvements                $77,025.38     Net Book Value               $77,025.38


           55.33 736 - East Setauket
           5.    Super Sport, 4054
                     Nesconset Highway,
                     East Setauket NY                     Leasehold
                     11733                                Improvements             $5,120,730.04     Net Book Value            $5,120,730.04


           55.33 737 - East Meadow
           6.    Super Sport, 2000
                     Hempstead Turnpike,
                     East Meadow NY                       Leasehold
                     11554                                Improvements               $404,293.28     Net Book Value             $404,293.28


           55.33 738 - Staten Island
           7.    Richmond Ave SS,
                     2655 Richmond Ave,
                     Staten Island NY                     Leasehold
                     10314                                Improvements                $94,754.42     Net Book Value               $94,754.42


           55.33 751 - Raleigh
           8.    Midtown Super
                     Sport, 601 E Six
                     Forks Road, Raleigh                  Leasehold
                     NC 27609                             Improvements               $166,196.41     Net Book Value             $166,196.41


           55.33 752 - Mallard Creek
           9.    Super Sport, Village
                     at Research Park,
                     Charlotte NC                         Leasehold
                     28262-2662                           Improvements                $37,162.16     Net Book Value               $37,162.16


           55.34 760 - Cedar Park
           0.    Super Sport, E. New
                     Hope Dr., Cedar Park                 Leasehold
                     TX 78613-6299                        Improvements               $123,184.57     Net Book Value             $123,184.57


           55.34 780 - Navajo Super
           1.    Sport, 8876 Navajo
                     Road, San Diego CA                   Leasehold
                     92119                                Improvements             $2,494,152.85     Net Book Value            $2,494,152.85




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 76
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 97 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.34 781 - Carmel
           2.    Mountain Ranch SS,
                     14331 Penasquitos
                     Drive, San Diego CA                  Leasehold
                     92129                                Improvements             $4,567,758.62     Net Book Value            $4,567,758.62


           55.34 782 - Mission Valley
           3.    Super Sport, 1702
                     Camino Del Rio
                     North, San Diego CA                  Leasehold
                     92108-1515                           Improvements               $120,325.52     Net Book Value             $120,325.52


           55.34 801 - Carmichael
           4.    Active CLOSED, 5114
                     Arden Way,
                     Carmichael CA                        Leasehold
                     95608-6005                           Improvements                $26,624.65     Net Book Value               $26,624.65


           55.34 802 - Oakland High
           5.    Street, 3950 Alameda
                     Avenue, Oakland CA                   Leasehold
                     94601-3910                           Improvements               $451,544.84     Net Book Value             $451,544.84


           55.34 803 - Solano Mall -
           6.    Fairfield CLOSED,
                     1519 Gateway Blvd.,
                     Fairfield CA                         Leasehold
                     94533-6902                           Improvements               $307,819.73     Net Book Value             $307,819.73


           55.34 805 - Millbrae Super
           7.    Sport, 979 Broadway,
                     Millbrae CA                          Leasehold
                     94030-1987                           Improvements               $275,878.41     Net Book Value             $275,878.41


           55.34 806 - Florin Sport
           8.    CLOSED, 6061 Florin
                     Rd, Sacramento CA                    Leasehold
                     95823-2304                           Improvements               $598,822.76     Net Book Value             $598,822.76


           55.34 807 - Sunrise Sport
           9.    CLOSED, 2280
                     Sunrise Blvd.,
                     Rancho Cordova CA                    Leasehold
                     95670-4342                           Improvements               $836,717.20     Net Book Value             $836,717.20


           55.35 808 - Elk Grove
           0.    Calvine Active, 8461
                     Elk Grove Florin
                     Road, Elk Grove CA                   Leasehold
                     95624-9518                           Improvements               $215,184.98     Net Book Value             $215,184.98




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 77
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 98 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.35 809 - Folsom Super
           1.    Sport, 1006 Riley
                     Street, Folsom CA                    Leasehold
                     95630-3266                           Improvements               $964,430.81     Net Book Value             $964,430.81


           55.35 810 - Willow Glen
           2.    Super Sport, 2306
                     Almaden Road,
                     Suite14, San Jose CA                 Leasehold
                     95125-2168                           Improvements               $517,354.46     Net Book Value             $517,354.46


           55.35 811 - San Jose Super
           3.    Sport, 1610 Crane
                     Court, San Jose CA                   Leasehold
                     95112-4201                           Improvements             $1,460,994.03     Net Book Value            $1,460,994.03


           55.35 812 - Moraga Super
           4.    Sport, 351 Rheem
                     Blvd, Moraga CA                      Leasehold
                     94556-1541                           Improvements               $557,659.47     Net Book Value             $557,659.47


           55.35 813 - San Mateo
           5.    Super Sport, 93
                     Bovet Road, San                      Leasehold
                     Mateo CA 94402-3104                  Improvements               $609,091.23     Net Book Value             $609,091.23


           55.35 814 - Mountain View
           6.    Super Sport, 2535
                     California Street,
                     Mountain View CA                     Leasehold
                     94040-1301                           Improvements                $94,650.36     Net Book Value               $94,650.36


           55.35 815 - Rohnert Park
           7.    Super Sport, 6345
                     Commerce Blvd,
                     Rohnert Park CA                      Leasehold
                     94928-2403                           Improvements             $1,245,181.71     Net Book Value            $1,245,181.71


           55.35 816 - Glenarden
           8.    Super Sport
                     CLOSED, 9450 Ruby
                     Lockhart Blvd,                       Leasehold
                     Lanham MD 20706                      Improvements             $2,615,992.56     Net Book Value            $2,615,992.56


           55.35 817 - Tysons Corner
           9.    Super Sp CLOSED,
                     1500 Cornerside
                     Blvd, Vienna VA                      Leasehold
                     22182-2433                           Improvements             $1,438,644.73     Net Book Value            $1,438,644.73




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 78
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                                  Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 99 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.36 818 - Falls Church
           0.    Super Sport, 1000
                     East Broad Street,
                     Falls Church VA                      Leasehold
                     22042-2405                           Improvements             $3,127,856.64     Net Book Value            $3,127,856.64


           55.36 819 - Fairfax Super
           1.    Sport, 12300 Price
                     Club Plaza, Fairfax                  Leasehold
                     VA 22030                             Improvements             $1,178,871.28     Net Book Value            $1,178,871.28


           55.36 821 - East Side San
           2.    Jose Super Sport,
                     2323 McKee Road,                     Leasehold
                     San Jose CA 95116                    Improvements             $4,907,252.53     Net Book Value            $4,907,252.53


           55.36 823 - Santa Clara
           3.    Super Sport, 3615 El
                     Camino Real, Santa                   Leasehold
                     Clara CA 95051                       Improvements               $310,683.12     Net Book Value             $310,683.12


           55.36 830 - Fort Totten
           4.    Super Sport,
                     Galloway St.,
                     Washington DC                        Leasehold
                     20001                                Improvements             $1,831,069.82     Net Book Value            $1,831,069.82


           55.36 836 - Pleasanton
           5.    Super Sport, 4770
                     Willow Road,
                     Pleasanton CA                        Leasehold
                     94588-2762                           Improvements             $2,392,770.58     Net Book Value            $2,392,770.58


           55.36 844 - Fullerton Super
           6.    Sport, 130 Imperial
                     Highway, Fullerton                   Leasehold
                     CA 92835-1019                        Improvements             $3,539,908.02     Net Book Value            $3,539,908.02


           55.36 845 - San Clemente
           7.    Super Sport, 110
                     Avenida La Pata, San
                     Clemente CA                          Leasehold
                     92673-6307                           Improvements             $2,038,906.56     Net Book Value            $2,038,906.56


           55.36 846 - Ventura Super
           8.    Sport, 3350
                     Telegraph Road,                      Leasehold
                     Ventura CA 93003                     Improvements             $6,497,648.22     Net Book Value            $6,497,648.22


           55.36 847 - Renaissance
           9.    Marketplace SS, 1335
                     W. Renaissance
                     Parkway, Rialto CA                   Leasehold
                     92376                                Improvements             $2,948,892.11     Net Book Value            $2,948,892.11

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 79
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                 Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 100 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name



           55.37 848 - Centennial
           0.    Super Sport, 6830 E
                     County Line Road,
                     Highlands Ranch CO                   Leasehold
                     80126-3906                           Improvements               $964,122.50     Net Book Value             $964,122.50


           55.37 849 - Tanasbourne
           1.    Super Sport, 1265
                     Waterhouse Avenue,                   Leasehold
                     Beaverton OR 97006                   Improvements             $1,003,106.28     Net Book Value            $1,003,106.28


           55.37 851 - Huntington
           2.    Beach Sport, 7887
                     Center Avenue,
                     Huntington Beach CA                  Leasehold
                     92647-3051                           Improvements               $350,054.30     Net Book Value             $350,054.30


           55.37 853 - Temecula Sport
           3.    CLOSED, 27520 Ynez
                     Road, Anchor 8,
                     Temecula CA                          Leasehold
                     92591-4650                           Improvements               $225,889.80     Net Book Value             $225,889.80


           55.37 855 - Buena Park
           4.    Sport, 8430 On the
                     Mall, Unit No. 25,
                     Buena Park CA                        Leasehold
                     90620-3218                           Improvements               $439,440.33     Net Book Value             $439,440.33


           55.37 858 - Anaheim
           5.    Garden Walk
                     CLOSED, 400 W.
                     Disney Way, Suite 94
                     , Anaheim CA                         Leasehold
                     92802-3600                           Improvements               $390,072.68     Net Book Value             $390,072.68


           55.37 860 - City of Industry
           6.    Sport, 21560 Valley
                     Blvd., City of industry              Leasehold
                     CA 91789-5241                        Improvements               $493,622.84     Net Book Value             $493,622.84


           55.37 862 - Laguna Niguel
           7.    Super Sport, 27921
                     La Paz Road, Laguna
                     Niguel CA                            Leasehold
                     92677-3931                           Improvements               $841,986.19     Net Book Value             $841,986.19


           55.37 863 - Irvine Spectrum
           8.    Sport CLOSED, 517
                     Spectrum Center
                     Drive, Irvine CA                     Leasehold
                     92618-2940                           Improvements               $164,434.52     Net Book Value             $164,434.52




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 80
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                                 Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 101 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.37 864 - Westminster
           9.    Active CLOSED, 6731
                     Westminster Blvd.,
                     Suite 113,
                     Westminster CA                       Leasehold
                     92683-3794                           Improvements               $246,555.08     Net Book Value             $246,555.08


           55.38 866 - Northridge
           0.    Super Sport, 19350
                     Nordhoff Street, Unit
                     D, Northridge CA                     Leasehold
                     91324-2498                           Improvements               $986,178.48     Net Book Value             $986,178.48


           55.38 867 - Monterey Park
           1.    Sport, 500 N. Atlantic
                     Blvd., Suite A-12-1,
                     Monterey Park CA                     Leasehold
                     91754-1079                           Improvements               $735,019.91     Net Book Value             $735,019.91


           55.38 868 - Vista Sport
           2.    CLOSED, 324
                     Sycamore Avenue,                     Leasehold
                     Vista CA 92083-7702                  Improvements               $625,232.91     Net Book Value             $625,232.91


           55.38 870 - Las Vegas Ann
           3.    Road Super Sport,
                     5651 Centennial
                     Center Blvd, Las                     Leasehold
                     Vegas NV 89149-7104                  Improvements               $858,486.12     Net Book Value             $858,486.12


           55.38 871 - Apple Valley
           4.    Super Sport, 18825
                     Bear Valley Road,
                     Apple Valley CA                      Leasehold
                     92308-2726                           Improvements               $779,642.54     Net Book Value             $779,642.54


           55.38 872 - Imperial
           5.    Marketplace Sport,
                     4345 Imperial
                     Avenue, San Diego                    Leasehold
                     CA 92113-1962                        Improvements               $747,065.88     Net Book Value             $747,065.88


           55.38 873 - Escondido
           6.    North County Mall
                     SS, 230 E. Via
                     Rancho Parkway,
                     Suite 210, Suite 21,
                     Escondido CA                         Leasehold
                     92025-8005                           Improvements             $2,553,426.59     Net Book Value            $2,553,426.59


           55.38 874 - Mission Hills
           7.    Super Sport, 10400
                     Sepulveda Blvd,
                     Mission Hills CA                     Leasehold
                     91345-2424                           Improvements             $3,267,888.52     Net Book Value            $3,267,888.52

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 81
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                                 Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 102 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name



           55.38 875 - Newark
           8.    NewPark Mall SS,
                     6000 Newpark Mall,
                     Newark CA                            Leasehold
                     94560-5205                           Improvements             $3,554,407.68     Net Book Value            $3,554,407.68


           55.38 876 - Santa Ana
           9.    Edinger Super Sport,
                     1350 West Edinger
                     Avenue, Santa Ana                    Leasehold
                     CA 92704                             Improvements             $4,325,268.03     Net Book Value            $4,325,268.03


           55.39 877 - Downey Super
           0.    Sport, 8810 Apollo
                     Way, Downey CA                       Leasehold
                     90242                                Improvements             $2,567,137.08     Net Book Value            $2,567,137.08


           55.39 878 - Lancaster West
           1.    Super Sport, 1220
                     West Avenue K,
                     Lancaster CA                         Leasehold
                     93534-5922                           Improvements             $1,038,772.99     Net Book Value            $1,038,772.99


           55.39 880 - El Cajon Main
           2.    St Super Sport, 198
                     West Main Street, El                 Leasehold
                     Cajon CA 92020-3399                  Improvements               $846,458.18     Net Book Value             $846,458.18


           55.39 881 - Castle Hills
           3.    Super Sport, 4866
                     State Hwy 121,
                     Lewisville TX                        Leasehold
                     75056-2915                           Improvements               $750,748.89     Net Book Value             $750,748.89


           55.39 882 - Galleria Sport,
           4.    5070 Richmond
                     Avenue, Houston TX                   Leasehold
                     77056-7402                           Improvements               $950,894.24     Net Book Value             $950,894.24


           55.39 883 - Burbank Empire
           5.    Super Sport, 1903 W.
                     Empire Avenue,
                     Burbank CA                           Leasehold
                     91504-3433                           Improvements             $1,501,035.23     Net Book Value            $1,501,035.23


           55.39 884 - Irvine
           6.    Marketplace Super
                     Sport, 13752
                     Jamboree Road,                       Leasehold
                     Irvine CA 92602-1200                 Improvements             $1,565,418.17     Net Book Value            $1,565,418.17




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 82
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                 Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 103 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.39 885 - Walnut Creek
           7.    North Main SS, 2800
                     North Main Street,
                     Walnut Creek CA                      Leasehold
                     94597-2717                           Improvements             $1,724,485.44     Net Book Value            $1,724,485.44


           55.39 886 - Northgate Fifth
           8.    Ave SuperSport, 507
                     NE Northgate Way,
                     Seattle WA                           Leasehold
                     98125-6106                           Improvements             $1,192,166.77     Net Book Value            $1,192,166.77


           55.39 887 - Sunnyvale
           9.    Super Sport, 762
                     Sunnyvale Saratoga
                     Road, Sunnyvale CA                   Leasehold
                     94087-1462                           Improvements             $1,138,435.38     Net Book Value            $1,138,435.38


           55.40 888 - UTC Super
           0.    Sport, 4425 La Jolla
                     Village Drive, San                   Leasehold
                     Diego CA 92122-1219                  Improvements             $1,688,912.94     Net Book Value            $1,688,912.94


           55.40 889 - North
           1.    Hollywood Super
                     Sport, 5300
                     Lankershim Blvd, 1,
                     North Hollywood CA                   Leasehold
                     91601-3178                           Improvements             $1,609,143.62     Net Book Value            $1,609,143.62


           55.40 890 - Lakewood
           2.    Super Sport, 4821 Del
                     Amo Blvd, Lakewood                   Leasehold
                     CA 90712-2504                        Improvements             $1,237,246.52     Net Book Value            $1,237,246.52


           55.40 891 - Costa Mesa
           3.    Newport Super Sport,
                     1870 Harbor Blvd, B4,
                     Costa Mesa CA                        Leasehold
                     92627-5022                           Improvements             $1,911,270.85     Net Book Value            $1,911,270.85


           55.40 892 - Balboa Super
           4.    Sport, 7715 Balboa
                     Avenue, San Diego                    Leasehold
                     CA 92111-2229                        Improvements             $2,025,038.06     Net Book Value            $2,025,038.06


           55.40 893 - Eastvale Super
           5.    Sport, 12354
                     Limonite Avenue,
                     Eastvale CA                          Leasehold
                     91752-3671                           Improvements             $1,346,648.54     Net Book Value            $1,346,648.54




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 83
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                 Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 104 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.40 894 - Carlsbad Super
           6.    Sport, 2501 El
                     Camino Real,
                     Carlsbad CA                          Leasehold
                     92008-1202                           Improvements             $1,987,743.74     Net Book Value            $1,987,743.74


           55.40 895 - Livermore
           7.    Super Sport, 2650
                     Kittyhawk Road,
                     Livermore CA                         Leasehold
                     94551-9418                           Improvements             $3,142,620.28     Net Book Value            $3,142,620.28


           55.40 896 - Yorba Linda
           8.    Super Sport, 4848
                     Valley View Ave,
                     Yorba Linda CA                       Leasehold
                     92886-3642                           Improvements             $1,913,692.43     Net Book Value            $1,913,692.43


           55.40 897 - Chino Super
           9.    Sport, 12155 Central
                     Ave, Chino CA                        Leasehold
                     91710-2421                           Improvements             $2,139,304.60     Net Book Value            $2,139,304.60


           55.41 898 - San Juan
           0.    Capistrano
                     SuperSport, 27124
                     Calle Arroyo, San
                     Juan Capistrano CA                   Leasehold
                     92675                                Improvements             $3,228,772.75     Net Book Value            $3,228,772.75


           55.41 899 - Santa Ana
           1.    Super Sport, 2800
                     North Main St, unit
                     3100, Santa Ana CA                   Leasehold
                     92705                                Improvements             $2,486,502.59     Net Book Value            $2,486,502.59


           55.41 901 - Montclair Active
           2.    CLOSED, 9750
                     Central Avenue,
                     Montclair CA                         Leasehold
                     91763-2815                           Improvements                $47,441.02     Net Book Value               $47,441.02


           55.41 902 - North Torrance
           3.    Active Dry, 4240
                     Redondo Beach
                     Blvd., Torrance CA                   Leasehold
                     90504-1030                           Improvements               $233,535.85     Net Book Value             $233,535.85


           55.41 903 - Simi
           4.    Valley-Tapo Activ
                     CLOSED, 2350 Tapo
                     Street, Simi Valley                  Leasehold
                     CA 93063-3024                        Improvements               $125,385.46     Net Book Value             $125,385.46



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 84
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                                 Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 105 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.41 904 - West Hills
           5.    Super Sport, 6653
                     Fallbrook Avenue,
                     West Hills CA                        Leasehold
                     91307-3520                           Improvements             $2,022,964.88     Net Book Value            $2,022,964.88


           55.41 905 - Downtown
           6.    LA-6th Street
                     CLOSED, 505 S.
                     Flower Street, Level
                     B, Los Angeles CA                    Leasehold
                     90071-2022                           Improvements               $283,456.90     Net Book Value             $283,456.90


           55.41 906 - Arcadia CA, 125
           7.    North 1st Avenue,
                     Arcadia CA                           Leasehold
                     91006-3213                           Improvements               $337,994.36     Net Book Value             $337,994.36


           55.41 907 - Fontana North,
           8.    15310 Summit
                     Avenue, Fontana CA                   Leasehold
                     92336-0236                           Improvements               $427,524.12     Net Book Value             $427,524.12


           55.41 910 - Glendora, 1357
           9.    E. Gladstone Avenue,
                     Glendora CA                          Leasehold
                     91740-5368                           Improvements               $356,895.83     Net Book Value             $356,895.83


           55.42 912 - Murrieta
           0.    CLOSED, 40396
                     Murrieta Hot Springs
                     Road, Murrieta CA                    Leasehold
                     92563-6408                           Improvements                $42,451.74     Net Book Value               $42,451.74


           55.42 914 - Molasky Active
           1.    CLOSED, 100 City
                     Parkway, Suite 16,
                     Las Vegas NV                         Leasehold
                     89106-4610                           Improvements               $288,156.31     Net Book Value             $288,156.31


           55.42 916 - Compton Sport,
           2.    110 Towne Center
                     Drive, Compton CA                    Leasehold
                     90220-6436                           Improvements               $518,160.25     Net Book Value             $518,160.25


           55.42 917 - South Hills
           3.    Plaza Act CLOSED,
                     1422 Azusa Avenue,
                     West Covina CA                       Leasehold
                     91791-4121                           Improvements               $258,672.85     Net Book Value             $258,672.85




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 85
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                                 Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 106 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.42 919 - Channel Islands
           4.    Active, 1651 Victoria
                     Avenue, Suite 160,
                     Suite 16, Oxnard CA                  Leasehold
                     93035-1592                           Improvements               $304,168.27     Net Book Value             $304,168.27


           55.42 920 - Ontario Super
           5.    Sport, 2580 S.
                     Archibald Avenue,
                     Ontario CA                           Leasehold
                     91761-6503                           Improvements               $927,950.29     Net Book Value             $927,950.29


           55.42 921 - Indio Jackson
           6.    Center Sport, 42900
                     Jackson Street, Indio                Leasehold
                     CA 92203-9754                        Improvements               $511,651.16     Net Book Value             $511,651.16


           55.42 922 - Orange Super
           7.    Sport, 2102 North
                     Tustin Street, Orange                Leasehold
                     CA 92865-3702                        Improvements             $1,732,196.68     Net Book Value            $1,732,196.68


           55.42 923 - Fontana Super
           8.    Sport, 17204 Slover
                     Avenue, Fontana CA                   Leasehold
                     92337-7536                           Improvements             $2,739,736.87     Net Book Value            $2,739,736.87


           55.42 925 - Moreno Valley
           9.    Super Sport, 12660
                     Day Street, Moreno                   Leasehold
                     Valley CA 92553-7521                 Improvements             $1,805,481.73     Net Book Value            $1,805,481.73


           55.43 926 - Redlands Super
           0.    Sport, 27621 San
                     Bernardino Avenue,                   Leasehold
                     Redlands CA 92374                    Improvements             $1,798,568.96     Net Book Value            $1,798,568.96


           55.43 927 - La Costa Super
           1.    Sport, 3409 Via
                     Montebello, Carlsbad                 Leasehold
                     CA 92009-8685                        Improvements             $1,985,649.94     Net Book Value            $1,985,649.94


           55.43 928 - Oxnard
           2.    Collection Super
                     Sport, 400 Town
                     Center Drive, Oxnard                 Leasehold
                     CA 93036-1145                        Improvements             $1,960,221.83     Net Book Value            $1,960,221.83


           55.43 929 - Woodland Hills
           3.    Super Sport, 6220 N
                     Topanga Canyon
                     Blvd, Ste 2410, 241,
                     Woodland Hills CA                    Leasehold
                     91367                                Improvements             $2,701,684.82     Net Book Value            $2,701,684.82

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 86
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                                 Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 107 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name



           55.43 930 - Eastridge Super
           4.    Sport, 2200 Eastridge
                     Loop, San Jose CA                    Leasehold
                     95122                                Improvements             $1,988,846.91     Net Book Value            $1,988,846.91


           55.43 931 - Cerritos Super
           5.    Sport, 17970
                     Studebaker Road,
                     Plaza 183, Cerritos                  Leasehold
                     CA 90703-2645                        Improvements             $3,032,037.70     Net Book Value            $3,032,037.70


           55.43 932 - Huntington
           6.    Beach Super Sport,
                     9051 Atlanta Avenue,
                     Huntington Beach CA                  Leasehold
                     92646                                Improvements             $3,068,785.07     Net Book Value            $3,068,785.07


           55.43 933 - San Bernardino
           7.    Super Sport, 897 East
                     Harriman Place, San
                     Bernardino CA                        Leasehold
                     92408-3563                           Improvements             $2,644,754.06     Net Book Value            $2,644,754.06


           55.43 934 - Walnut Super
           8.    Sport, 18730 Amar
                     Road, Walnut CA                      Leasehold
                     91789-4166                           Improvements             $3,676,161.20     Net Book Value            $3,676,161.20


           55.43 935 - Victorville
           9.    Super Sport, 11896
                     Amargosa Rd,
                     Victorville CA                       Leasehold
                     92392-8133                           Improvements                $84,080.81     Net Book Value               $84,080.81


           55.44 936 - Downtown
           0.    Long Beach SS, 1
                     World Trade Center,
                     Ste 110, Long Beach                  Leasehold
                     CA 90831                             Improvements             $3,781,610.16     Net Book Value            $3,781,610.16


           55.44 937 - El Cerrito Super
           1.    Sport, 10636 San
                     Pablo Ave, El Cerrito                Leasehold
                     CA 94530-2620                        Improvements             $4,404,937.92     Net Book Value            $4,404,937.92


           55.44 938 - Laguna Hills
           2.    Super Sport, 24155
                     Laguna Hills Mall,
                     Laguna Hills CA                      Leasehold
                     92653                                Improvements               $276,946.01     Net Book Value             $276,946.01




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 87
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                                 Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 108 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.44 939 - Laurel Canyon
           3.    Super Sport, 6140
                     Laurel Canyon Blvd,
                     Ste 170, North                       Leasehold
                     Hollywood CA 91606                   Improvements             $2,846,044.53     Net Book Value            $2,846,044.53


           55.44 940 - Hawaiian
           4.    Gardens SS
                     CLOSED, 12120
                     Carson Street,
                     Hawaiian Gardens                     Leasehold
                     CA 90716                             Improvements             $4,473,180.24     Net Book Value            $4,473,180.24


           55.44 941 - Pomona Super
           5.    Sport, 55-65 Rancho
                     Camino Drive,                        Leasehold
                     Pomona CA 91769                      Improvements                $61,422.77     Net Book Value               $61,422.77


           55.44 948 - Sacramento Del
           6.    Paso SS, 2631 Del
                     Paso Road, Natomas                   Leasehold
                     CA 95835                             Improvements                $60,173.07     Net Book Value               $60,173.07


           55.44 949 - West Roseville
           7.    Super Sport, NW
                     Corner of Painted
                     Desert Drive &
                     Roseville Parkway,
                     Roseville CA                         Leasehold
                     95747-5152                           Improvements                $81,571.34     Net Book Value               $81,571.34


           55.44 951 - Colorado-Yale
           8.    CLOSED, 2770 South
                     Colorado Blvd,
                     Denver CO                            Leasehold
                     80222-6602                           Improvements                $83,570.73     Net Book Value               $83,570.73


           55.44 952 - Renton
           9.    Highlands Active
                     CLOSED, 4110 NE
                     4th Street, Suite B,
                     Renton WA                            Leasehold
                     98059-5045                           Improvements                $25,949.73     Net Book Value               $25,949.73


           55.45 954 - Clackamas
           0.    Super Sport, 8720 SE
                     Sunnybrook Blvd.,
                     Clackamas OR                         Leasehold
                     97015-5731                           Improvements               $603,595.78     Net Book Value             $603,595.78


           55.45 955 - Hollywood OR
           1.    Super Sport, 4224 NE
                     Halsey Street, Suite
                     1, Portland OR                       Leasehold
                     97213-1539                           Improvements               $780,611.43     Net Book Value             $780,611.43

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 88
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                                 Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 109 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name



           55.45 956 - Highlands
           2.    Garden, 4600 West
                     38th Avenue, Denver                  Leasehold
                     CO 80212-2047                        Improvements               $246,181.97     Net Book Value             $246,181.97


           55.45 957 - Capital Mall
           3.    CLOSED, 621 Black
                     Lake Blvd., Olympia                  Leasehold
                     WA 98502-5051                        Improvements               $242,542.45     Net Book Value             $242,542.45


           55.45 958 - Vancouver
           4.    Andresen CLOSED,
                     2913 NE 72nd Drive,
                     Vancouver WA                         Leasehold
                     98661-7302                           Improvements               $456,330.85     Net Book Value             $456,330.85


           55.45 959 - North Colorado
           5.    SS CLOSED, 7720 N.
                     Academy Blvd.,
                     Colorado Springs CO                  Leasehold
                     80920-3258                           Improvements               $587,713.00     Net Book Value             $587,713.00


           55.45 960 - Vancouver
           6.    131st Ave
                     SuperSport, 13019
                     NE Fourth Plain
                     Road, Vancouver WA                   Leasehold
                     98682-5547                           Improvements               $551,800.25     Net Book Value             $551,800.25


           55.45 961 - Kent Kangley
           7.    SS CLOSED, 12922
                     SE Kent Kangley
                     Road, Kent WA                        Leasehold
                     98030-7940                           Improvements               $685,848.70     Net Book Value             $685,848.70


           55.45 962 - Everett 19th
           8.    Avenue SS CLOSED,
                     11014 19th Ave SE,
                     Suite #4, Ste #4,
                     Everett WA                           Leasehold
                     98208-5121                           Improvements               $662,860.23     Net Book Value             $662,860.23


           55.45 963 - Kapolei
           9.    Parkway Super
                     Sport, 91-5431
                     Kapolei Parkway,
                     Suite 1700, Suite 17,                Leasehold
                     Kapolei HI 96707                     Improvements             $3,320,028.81     Net Book Value            $3,320,028.81


           55.46 970 - Panther Lake
           0.    Super Sport, 20600
                     108th Avenue SE,                     Leasehold
                     Kent WA 98031                        Improvements             $4,277,096.74     Net Book Value            $4,277,096.74


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 89
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                                 Case 20-11561-KBO                     Doc 6      Filed 08/28/20        Page 110 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name

           55.46 971 - Mountlake
           1.    Terrace Super Sport,
                     6004 237th St. SW,
                     Suite 100, Mountlake                 Leasehold
                     Terrace WA 98043                     Improvements               $373,913.57      Net Book Value                $373,913.57


           55.46 11102 - Keizer
           2.    CLOSED, 5045 River
                     Road N, Keizer OR                    Leasehold
                     97303-5398                           Improvements                  $2,236.23     Net Book Value                    $2,236.23


           55.46 11103 - Gresham
           3.    Town Fair CLOSED,
                     400 NW Eastman
                     Parkway, Gresham                     Leasehold
                     OR 97030                             Improvements                  $6,110.70     Net Book Value                    $6,110.70


           55.46 11104 - Tualatin
           4.    CLOSED, 15575 SW
                     Sequoia Pkwy, Suite
                     100, 1, Tigard OR                    Leasehold
                     97224-6100                           Improvements                  $1,595.06     Net Book Value                    $1,595.06


           55.46 11105 - Beaverton
           5.    Raleigh Hills
                     CLOSED, 8235 SW
                     Apple Way, Portland                  Leasehold
                     OR 97225-1782                        Improvements                  $2,814.22     Net Book Value                    $2,814.22


           55.46 11106 - Happy Valley
           6.    CLOSED, 14800 SE
                     Sunnyside Road,
                     Happy Valley OR                      Leasehold
                     97015-6403                           Improvements                $14,866.17      Net Book Value                  $14,866.17


           55.46 90280 - Bishop
           7.    Ranch CORP, 12647
                     Alcosta Blvd, Suite
                     500, San Ramon CA                    Leasehold
                     94583                                Improvements               $367,912.63      Net Book Value                $367,912.63


           55.46 90281 - Office
           8.    Facilities MSC, 1265
                     Laurel Tree Ln ,                     Leasehold
                     Carlsbad CA 920011                   Improvements             $1,228,763.37      Net Book Value               $1,228,763.37


           55.46 99000 - Projects Club
           9.    #'s not assigned, No                     Leasehold
                     physical addresses                   Improvements               $791,785.16      Net Book Value                $791,785.16




 56.       Total of Part 9.                                                                                                    $498,926,289.23
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 90
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                                 Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 111 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                     Case number (If known) 20-11561
                Name



 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Trademarks                                                                 Unknown                                              Unknown



 61.        Internet domain names and websites
            Internet domain names and websites                                         Unknown                                              Unknown



 62.        Licenses, franchises, and royalties
            Licenses, franchises, and royalties                                        Unknown                                              Unknown



 63.        Customer lists, mailing lists, or other compilations
            Customer Lists                                                             Unknown                                              Unknown



 64.        Other intangibles, or intellectual property
            Intangibles, Other                                                         Unknown                                              Unknown



 65.        Goodwill
            Goodwill                                                                   Unknown                                              Unknown



 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 91
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                                 Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 112 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name



 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            California Enterprise Zone Tax Credits                                             Tax year 2008                            $600,580.00



            California Enterprise Zone Tax Credits                                             Tax year 2009                            $609,925.00



            California Enterprise Zone Tax Credits                                             Tax year 2010                          $1,069,909.00



            California Enterprise Zone Tax Credits                                             Tax year 2011                          $1,729,971.00



            California Enterprise Zone Tax Credits                                             Tax year 2012                          $1,745,187.00



            California Enterprise Zone Tax Credits                                             Tax year 2013                          $1,724,138.00



            California Enterprise Zone Tax Credits                                             Tax year 2014                          $1,428,355.00



            California Enterprise Zone Tax Credits                                             Tax year 2015                            $546,349.00



            California Enterprise Zone Tax Credits                                             Tax year 2016                            $219,347.00



            California Enterprise Zone Tax Credits                                             Tax year 2017                             $78,053.00



            California Enterprise Zone Tax Credits                                             Tax year 2018                             $16,000.00



            Maryland net operating loss                                                        Tax year 2020                          $1,388,615.26



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 92
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                                 Case 20-11561-KBO                     Doc 6      Filed 08/28/20       Page 113 of 976

 Debtor         24 Hour Fitness USA, Inc.                                                    Case number (If known) 20-11561
                Name



           New Jersey net operating loss                                                       Tax year 2020                      $4,344,331.04



 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Deferred Sublease - Brick - NJ                                                                                              $1,546.52



           Deferred Sublease - Kirkwood - MO                                                                                         $34,047.25



           Deferred Sublease - Lee's Summit - MO                                                                                     $86,046.22



           Deferred Sublease - Moore - OK                                                                                          $101,579.62



           Net Intercompany Receivable                                                                                          $22,578,169.90




 78.       Total of Part 11.                                                                                                   $38,302,149.81
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 93
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                                    Case 20-11561-KBO                             Doc 6              Filed 08/28/20                  Page 114 of 976

 Debtor          24 Hour Fitness USA, Inc.                                                                           Case number (If known) 20-11561
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                     Current value of real
                                                                                                     personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $1,384,503.91

 81. Deposits and prepayments. Copy line 9, Part 2.                                                           $38,919,384.50

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $4,804,899.17

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                         $10,196,105.78

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                    $84,616,780.63

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                $60,126,270.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                    $498,926,289.23

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +            $38,302,149.81

 91. Total. Add lines 80 through 90 for each column                                                     $238,350,093.80               + 91b.         $498,926,289.23


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                              $737,276,383.03




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                         page 94
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                                    Case 20-11561-KBO                      Doc 6          Filed 08/28/20            Page 115 of 976

 Fill in this information to identify the case:

 Debtor name         24 Hour Fitness USA, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)             20-11561
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
       Morgan Stanley Senior
 2.1                                                                                                                    $843,852,285.52                        $0.00
       Funding, Inc.                                  Describe debtor's property that is subject to a lien
       Creditor's Name
       1300 Thames Street, 4th
       Floor
       Thames Street Wharf
       Baltimore, MD 21231
       Creditor's mailing address                     Describe the lien
                                                      Senior Credit Facility - Term Loan
       Agency.Borrowers@morga                         Is the creditor an insider or related party?
       nstanley.com                                      No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       5/31/18                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Morgan Stanley Senior
 2.2                                                                                                                     $96,053,935.73                        $0.00
       Funding, Inc.                                  Describe debtor's property that is subject to a lien
       Creditor's Name
       1300 Thames Street, 4th
       Floor
       Thames Street Wharf
       Baltimore, MD 21231
       Creditor's mailing address                     Describe the lien
                                                      Senior Credit Facility - Revolver
       Agency.Borrowers@morga                         Is the creditor an insider or related party?
       nstanley.com                                      No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       5/31/18                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
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                                 Case 20-11561-KBO                         Doc 6          Filed 08/28/20          Page 116 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)   20-11561
              Name


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




                                                                                                                           $939,906,221.25
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.


 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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                                  Case 20-11561-KBO                           Doc 6           Filed 08/28/20                 Page 117 of 976

 Fill in this information to identify the case:

 Debtor name         24 Hour Fitness USA, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)           20-11561
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                      Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          Unknown            Unknown
           ADAMS COUNTY TREASURER                                    Check all that apply.
           P.O. BOX 869                                                 Contingent
           BRIGHTON, CO 80601-0869                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          Unknown            Unknown
           ALAMEDA COUNTY TAX                                        Check all that apply.
           COLLECTOR                                                    Contingent
           224 W. WINTON AVE. RM.169                                    Unliquidated
           HAYWARD, CA 94544
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 118 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ANNE ARUNDEL COUNTY                                        Check all that apply.
          OFFICE OF FINANCE                                             Contingent
          BILLING AND CUSTOMER                                          Unliquidated
          SERVICE
                                                                        Disputed
          ANNAPOLIS, MD 21404-0427
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ARAPAHOE COUNTY                                            Check all that apply.
          TREASURER                                                     Contingent
          P.O. BOX 571                                                  Unliquidated
          LITTLETON, CO 80160-0571
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ARIZONA DEPARTMENT OF                                      Check all that apply.
          REVENUE                                                       Contingent
          P.O. BOX 29079                                                Unliquidated
          PHOENIX, AZ 85038-9079
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          AUSTIN POLICE DEPARTMENT                                   Check all that apply.
          PO BOX 689001                                                 Contingent
          AUSTIN, TX 78768-9001                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 119 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          AUSTIN-TRAVIS COUNTY HEALTH                                Check all that apply.
          ENVIRONMENTAL HEALTH                                          Contingent
          SERVICES DIVISION                                             Unliquidated
          AUSTIN, TX 78714
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BEDFORD FIRE DEPARTMENT                                    Check all that apply.
          1816 BEDFORD ROAD                                             Contingent
          BEDFORD, TX 76021                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BEDFORD POLICE DEPARTMENT                                  Check all that apply.
          2121 L DON DODSON DR                                          Contingent
          BEDFORD, TX 76021                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BOULDER COUNTY TREASURER                                   Check all that apply.
          P.O. BOX 471                                                  Contingent
          BOULDER, CO 80306                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 120 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BRAZORIA COUNTY TAX                                        Check all that apply.
          ASSESSOR-COLLECTOR                                            Contingent
          RO'VIN GARRETT RTA                                            Unliquidated
          PO BOX 1586
                                                                        Disputed
          LAKE JACKSON, TX 77566
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BRICK TOWNSHIP                                             Check all that apply.
          401 CHAMBERSBRIDGE RD                                         Contingent
          BRICK, NJ 08723                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BROWARD COUNTY BOARD OF                                    Check all that apply.
          COMMISSIONERS                                                 Contingent
          1 NORTH UNIVERSITY DRIVE                                      Unliquidated
          PLANTATION, FL 33324
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BROWARD COUNTY REVENUE                                     Check all that apply.
          COLLECTION                                                    Contingent
          115 S ANDREWS AVENUE #A100                                    Unliquidated
          FT LAUDERDALE, FL 33301-1895
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 121 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          BUREAU OF CONVEYANCES                                      Check all that apply.
          1151 PUNCHBOWL STREET                                         Contingent
          HONOLULU, HI 96813                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CALIFORNIA FRANCHISE TAX                                   Check all that apply.
          BOARD                                                         Contingent
          PO BOX 942857                                                 Unliquidated
          SACRAMENTO, CA 94257-0631
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY & COUNTY OF DENVER                                    Check all that apply.
          201 W. COLFAX AVE                                             Contingent
          DENVER, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY AND COUNTY OF DENVER                                  Check all that apply.
          ALARMS                                                        Contingent
          PO BOX 650781                                                 Unliquidated
          DALLAS, TX 75265-0781
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 122 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY AND COUNTY OF                                         Check all that apply.
          HONOLULU                                                      Contingent
          HONOLULU HALE                                                 Unliquidated
          ROOM 203
                                                                        Disputed
          HONOLULU, HI 96813
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ALLEN                                              Check all that apply.
          UTILITY DEPARTMENT                                            Contingent
          305 CENTURY PARKWAY                                           Unliquidated
          ALLEN, TX 75013
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ALLEN ALARM                                        Check all that apply.
          PROGRAM                                                       Contingent
          305 CENTURY PARKWAY                                           Unliquidated
          ALLEN, TX 75013
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ANAHEIM                                            Check all that apply.
          P.O. BOX 3069                                                 Contingent
          ANAHEIM, CA 92803-3069                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 123 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ANTIOCH                                            Check all that apply.
          FINANCE DEPARTMENT                                            Contingent
          P.O. BOX 5008                                                 Unliquidated
          ANTIOCH, CA 94531-5008
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF APOPKA                                             Check all that apply.
          120 E MAIN STREET                                             Contingent
          APOPKA, FL 32703                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ARCADIA                                            Check all that apply.
          PO BOX 60021                                                  Contingent
          ARCADIA, CA 91066-6021                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ARLINGTON                                          Check all that apply.
          NEIGHBORHOOD SERVICES DEPT                                    Contingent
          ARLINGTON, TX 76004-0321                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 124 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ARVADA                                             Check all that apply.
          8101 RALSTON ROAD                                             Contingent
          ARVADA, CO 80002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF AUBURN                                             Check all that apply.
          25 W MAIN STREET                                              Contingent
          AUBURN, WA 98001                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF AURORA                                             Check all that apply.
          1470 S. HAVANA STREET                                         Contingent
          ROOM 120                                                      Unliquidated
          AURORA, CO 80012
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF BAYTOWN                                            Check all that apply.
          2401 MARKET ST.                                               Contingent
          BAYTOWN, TX 77520                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 125 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF BELLEVUE                                           Check all that apply.
          P.O. BOX 34372                                                Contingent
          SEATTLE, WA 98124                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF BERKELEY                                           Check all that apply.
          DIVISION 2020 CENTER STREET                                   Contingent
          BERKELEY, CA 94704                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF BOULDER                                            Check all that apply.
          PLANNING AND DEVELOPMENT                                      Contingent
          SERVICES                                                      Unliquidated
          PO BOX 791
                                                                        Disputed
          BOULDER, CO 80306
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF BOYNTON BEACH                                      Check all that apply.
          PO BOX 31015                                                  Contingent
          TAMPA, FL 33631-3015                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 126 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF BREA                                               Check all that apply.
          1 CIVIC CENTER CIRCLE                                         Contingent
          BREA, CA 92821                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF BURBANK                                            Check all that apply.
          PO BOX 6459                                                   Contingent
          BURBANK, CA 91510-6459                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CAMARILLO                                          Check all that apply.
          601 CARMEN DR #6034                                           Contingent
          CAMARILLO, CA 93010                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CARLSBAD                                           Check all that apply.
          5950 EL CAMINO REAL                                           Contingent
          CARLSBAD, CA 92008                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 10 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 127 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CARSON                                             Check all that apply.
          701 E CARSON STREET                                           Contingent
          CARSON, CA 90745                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CEDAR HILL                                         Check all that apply.
          285 UPTOWN BLVD. BLDG 100                                     Contingent
          CEDAR HILL, TX 75104                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CENTENNIAL                                         Check all that apply.
          PO BOX 17383                                                  Contingent
          DENVER, CO 80217-0383                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CERRITOS                                           Check all that apply.
          18125 BLOOMFIELD AVENUE                                       Contingent
          CERRITOS, CA 90703-3130                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 11 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 128 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CHINO HILLS                                        Check all that apply.
          14000 CITY CENTER DRIVE                                       Contingent
          CHINO HILLS, CA 91709                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CHULA VISTA                                        Check all that apply.
          PO BOX 142588                                                 Contingent
          IRVING, TX 75014-2588                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CITRUS HEIGHTS                                     Check all that apply.
          6360 FOUNTAIN SQUARE DRIVE                                    Contingent
          CITRUS HEIGHTS, CA 95621                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF COLORADO SPRINGS                                   Check all that apply.
          SALES TAX DIVISION                                            Contingent
          PO BOX 2408                                                   Unliquidated
          COLORADO SPRINGS, CO
                                                                        Disputed
          80901-2408
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 12 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 129 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF COMPTON                                            Check all that apply.
          205 S WILLOWBROOK AVE                                         Contingent
          COMPTON, CA 90220                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CONCORD                                            Check all that apply.
          1950 PARKSIDE DR.                                             Contingent
          CONCORD, CA 94519                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CORONA                                             Check all that apply.
          400 S. VICENTIA AVE                                           Contingent
          CORONA, CA 92882                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF COSTA MESA                                         Check all that apply.
          77 FAIR DRIVE                                                 Contingent
          COSTA MESA, CA 92628-1200                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 13 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 130 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF CYPRESS                                            Check all that apply.
          5275 ORANGE AVENUE                                            Contingent
          CYPRESS, CA 90360-0609                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF DALLAS                                             Check all that apply.
          1500 MARILLA STREET                                           Contingent
          DALLAS, TX 75201                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF DALY CITY                                          Check all that apply.
          333 - 90TH STREET                                             Contingent
          DALY CITY, CA 94015-1895                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF DOWNEY                                             Check all that apply.
          DEPT LA 23221                                                 Contingent
          PASADENA, CA 91185-3221                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 14 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 131 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF EL CAJON, CA                                       Check all that apply.
          P.O. BOX 511378                                               Contingent
          LOS ANGELES, CA 90051-7933                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF EL CERRITO                                         Check all that apply.
          10890 SAN PABLO AVE                                           Contingent
          EL CERRITO, CA 94530-2392                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ELK GROVE                                          Check all that apply.
          8401 LAGUNA PALMS WAY                                         Contingent
          ELK GROVE, CA 95758                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ENCINITAS                                          Check all that apply.
          505 S. VULCAN AVE                                             Contingent
          ENCINITAS, CA 92024                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 15 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 132 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ENGLEWOOD                                          Check all that apply.
          REVENUE DIVISION                                              Contingent
          1000 ENGLEWOOD PARKWAY                                        Unliquidated
          ENGLEWOOD, CO 80110
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ESCONDIDO                                          Check all that apply.
          PO BOX 460009                                                 Contingent
          ESCONDIDO, CA 92046                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF EVERETT                                            Check all that apply.
          2930 WETMORE AVENUE                                           Contingent
          EVERETT, WA 98201                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FAIRFIELD                                          Check all that apply.
          1000 WEBSTER STREET                                           Contingent
          FAIRFIELD, CA 94533-4883                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 16 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 133 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FALLS CHURCH                                       Check all that apply.
          300 PARK AVENUE                                               Contingent
          FALLS CHURCH, VA 22046                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FONTANA - BUSINESS                                 Check all that apply.
          LICENSE                                                       Contingent
          8353 SIERRA AVENUE                                            Unliquidated
          FONTANA, CA 92335
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FORT COLLINS                                       Check all that apply.
          215 N MASON ST 2ND FLOOR                                      Contingent
          FORT COLLINS, CO 80524                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FORT WORTH                                         Check all that apply.
          P.O. BOX 99426                                                Contingent
          FORT WORTH, TX 76199-0426                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 17 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 134 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FREMONT                                            Check all that apply.
          3300 CAPITOL AVE                                              Contingent
          FREMONT, CA 94538                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FREMONT POLICE                                     Check all that apply.
          DEPARTMENT                                                    Contingent
          PO BOX 5007                                                   Unliquidated
          FREMONT, CA 94537-5007
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FRISCO                                             Check all that apply.
          6101 FRISCO SQUARE                                            Contingent
          BOULEVARD                                                     Unliquidated
          FRISCO, TX 75034
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF FULLERTON                                          Check all that apply.
          303 W. COMMONWEALTH AVE.                                      Contingent
          FULLERTON, CA 92832                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 18 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 135 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF GARDEN GROVE                                       Check all that apply.
          11222 ACACIA PARKWAY                                          Contingent
          GARDEN GROVE, CA 92840                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF GLADSTONE                                          Check all that apply.
          ALARMS                                                        Contingent
          GLADSTONE, OR 97027                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF GLENARDEN                                          Check all that apply.
          8600 GLENARDEN PARKWAY                                        Contingent
          GLENARDEN, MD 20706-1522                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF GLENDORA                                           Check all that apply.
          8839 N CEDAR AVE                                              Contingent
          FRESNO, CA 93720                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 19 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 136 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF GRAND PRAIRIE                                      Check all that apply.
          300 WEST MAIN ST.                                             Contingent
          GRAND PRAIRIE, TX 75050                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF GREENACRES                                         Check all that apply.
          5800 MELALEUCA LANE                                           Contingent
          GREENACRES, FL 33463                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF GRESHAM OREGON                                     Check all that apply.
          1333 NW EASTMAN PARKWAY                                       Contingent
          GRESHAM, OR 97030                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HAPPY VALLEY                                       Check all that apply.
          16000 SE MISTY DRIVE                                          Contingent
          HAPPY VALLEY, OR 97086-6299                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 20 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 137 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HAWAIIAN GARDENS                                   Check all that apply.
          ATTN: BLDG & SAFETY DIV.                                      Contingent
          21815 PIONEER BLVD                                            Unliquidated
          HAWAIIAN GARDENS, CA 90716
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HAWTHORNE                                          Check all that apply.
          4455 W. 126TH STREET                                          Contingent
          HAWTHORNE, CA 90250                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HAYWARD                                            Check all that apply.
          777 B STREET HAYWARD                                          Contingent
          HAYWARD, CA 94541-5007                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HENDERSON                                          Check all that apply.
          P.O. BOX 95050                                                Contingent
          HENDERSON, NV 89009-5050                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 21 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 138 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HERMOSA BEACH                                      Check all that apply.
          1315 VALLEY DRIVE                                             Contingent
          HERMOSA BEACH, CA 90254                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HILLSBORO                                          Check all that apply.
          150 E. MAIN STREET                                            Contingent
          HILLSBORO, OR 97213                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HOUSTON                                            Check all that apply.
          P.O. BOX 300008                                               Contingent
          HOUSTON, TX 77230-0008                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HOUSTON FIRE                                       Check all that apply.
          DEPARTMENT                                                    Contingent
          901 BAGBY                                                     Unliquidated
          HOUSTON, TX 77002
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 22 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 139 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HOUSTON POLICE                                     Check all that apply.
          DEPARTMENT                                                    Contingent
          PO BOX 741009                                                 Unliquidated
          HOUSTON, TX 77274
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF HUNTINGTON BEACH                                   Check all that apply.
          2000 MAIN STREET                                              Contingent
          HUNTINGTON BEACH, CA 92648                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF INDIO                                              Check all that apply.
          100 CIVIC CENTER MALL                                         Contingent
          INDIO, CA 92201                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF IRVINE                                             Check all that apply.
          P.O. BOX 19575                                                Contingent
          IRVINE, CA 92623-9575                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 23 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 140 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF IRVING                                             Check all that apply.
          P.O. BOX 152288                                               Contingent
          IRVING, TX 75015-2288                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ISSAQUAH                                           Check all that apply.
          PO BOX 1307                                                   Contingent
          ISSAQUAH, WA 98027-1307                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF JACINTO CITY                                       Check all that apply.
          1301 MERCURY DRIVE                                            Contingent
          HOUSTON, TX 77029                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF KENT                                               Check all that apply.
          400 WEST GOWE                                                 Contingent
          KENT, WA 98032                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 24 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 141 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF KENT                                               Check all that apply.
          220 FOURTH AVE. S.                                            Contingent
          KENT, WA 98032-5895                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LA MIRADA                                          Check all that apply.
          13700 LA MIRADA BOULEVARD                                     Contingent
          LA MIRADA, CA 90638                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LAFAYETTE                                          Check all that apply.
          REVENUE DIVISION                                              Contingent
          1290 S. PUBLIC RD                                             Unliquidated
          LAFAYETTE, CO 80026
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LAKE MARY                                          Check all that apply.
          911 WALLACE COURT                                             Contingent
          LAKE MARY, FL 32746                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 25 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 142 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.99     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LAKEWOOD                                           Check all that apply.
          SALES/USE TAX RETURN                                          Contingent
          P.O. BOX 261450                                               Unliquidated
          LAKEWOOD, CO 80226-9450
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.100    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LANCASTER                                          Check all that apply.
          8839 N CEDAR AVE #212                                         Contingent
          FRESNO, CA 93720                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.101    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LARKSPUR                                           Check all that apply.
          438 EAST SHAW AVE                                             Contingent
          FRESNO, CA 93710                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.102    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LAS VEGAS                                          Check all that apply.
          DEPT OF PLANNING BUSINESS                                     Contingent
          LICENSING                                                     Unliquidated
          LOS ANGELES, CA 90074-8018
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 26 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 143 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.103    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LITTLETON                                          Check all that apply.
          2255 W BERRY AVE                                              Contingent
          LITTLETON, CO 80165-0002                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.104    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LIVERMORE                                          Check all that apply.
          1052 S. LIVERMORE AVE                                         Contingent
          LIVEMORE, CA 94550-4899                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.105    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LONG BEACH                                         Check all that apply.
          411 W. OCEAN BLVD                                             Contingent
          LONG BEACH, CA 90802                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.106    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LONG BEACH                                         Check all that apply.
          333 W. OCEAN BOULEVARD                                        Contingent
          LONG BEACH, CA 90802                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 27 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 144 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.107    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF LOS ANGELES                                        Check all that apply.
          PO BOX 30749                                                  Contingent
          LOS ANGELES, CA 90030-0749                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.108    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MANHATTAN BEACH                                    Check all that apply.
          1400 HIGHLAND AVENUE                                          Contingent
          MANHATTAN BEACH, CA 90266                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.109    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MANTECA                                            Check all that apply.
          1001 W. CENTER ST.                                            Contingent
          MANTECA, CA 95337                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.110    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MESQUITE                                           Check all that apply.
          POLICE DEPARTMENT                                             Contingent
          PO BOX 850137                                                 Unliquidated
          MESQUITE, TX 75185-0137
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 28 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 145 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.111    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MIAMI                                              Check all that apply.
          444 SW 2ND AVE                                                Contingent
          MIAMI, FL 33130                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.112    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MILLBRAE                                           Check all that apply.
          621 MAGNOLIA AVE                                              Contingent
          MILLBRAE, CA 94030                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.113    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MILPITAS                                           Check all that apply.
          455 E. CALAVERAS BLVD.                                        Contingent
          MILPITAS, CA 95035                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.114    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MIRAMAR                                            Check all that apply.
          14801 SW 27TH. STREET                                         Contingent
          MIAMI, FL 33027                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 29 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 146 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.115    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MONROVIA                                           Check all that apply.
          415 S. IVY AVE.                                               Contingent
          MONROVIA, CA 91016-2888                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.116    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MONTCLAIR                                          Check all that apply.
          5111 BENITO STREET                                            Contingent
          MONTCLAIR, CA 91763                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.117    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MONTEREY PARK                                      Check all that apply.
          320 WEST NEWMARK AVE.                                         Contingent
          MONTEREY PARK, CA 91754                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.118    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MORENO VALLEY                                      Check all that apply.
          PO BOX 88005                                                  Contingent
          MORENO VALLEY, CA 92552-0805                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 30 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 147 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.119    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MORGAN HILL                                        Check all that apply.
          17575 PEAK AVENUE                                             Contingent
          MORGAN HILL, CA 95037                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.120    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MOUNTAIN VIEW                                      Check all that apply.
          P.O. BOX 60000                                                Contingent
          SAN FRANCSICO, CA 94160-3015                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.121    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MURPHY                                             Check all that apply.
          206 N. MURPHY RD                                              Contingent
          MURPHY, TX 75094                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.122    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF MURRIETA                                           Check all that apply.
          24601 JEFFERSON AVE                                           Contingent
          MURRIETA, CA 92562                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 31 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 148 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.123    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF NEWARK                                             Check all that apply.
          920 BROAD STREET                                              Contingent
          NEWARK, NJ 07102                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.124    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF NORTH LAS VEGAS                                    Check all that apply.
          P.O. BOX 4146                                                 Contingent
          NORTH LAS VEGAS, NV                                           Unliquidated
          89036-4146
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.125    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF NORTH RICHLAND HILLS                               Check all that apply.
          4301 CITY POINT DRIVE                                         Contingent
          NORTH RICHLAND HILLS, TX                                      Unliquidated
          76180
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.126    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF OAKLAND                                            Check all that apply.
          250 FRANK H OGAWA PLAZA,                                      Contingent
          SUITE 3341                                                    Unliquidated
          OAKLAND, CA 94612
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 32 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 149 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.127    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF OCEANSIDE                                          Check all that apply.
          300 NORTH COAST HWY                                           Contingent
          OCEANSIDE, CA 92054                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.128    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF OLYMPIA                                            Check all that apply.
          PO BOX 2009                                                   Contingent
          OLYMPIA, WA 98507                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.129    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ONTARIO                                            Check all that apply.
          303 EAST B STREET                                             Contingent
          ONTARIO, CA 91764                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.130    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ORANGE                                             Check all that apply.
          300 E. CHAPMAN AVE                                            Contingent
          ORANGE, CA 92866                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 33 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 150 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.131    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ORLANDO                                            Check all that apply.
          400 SOUTH ORANGE AVE 1ST                                      Contingent
          FLOOR                                                         Unliquidated
          ORLANDO, FL 32802-4990
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.132    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF OXNARD                                             Check all that apply.
          300 WEST 3RD ST.                                              Contingent
          OXNARD, CA 93030-5712                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.133    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF PACIFICA                                           Check all that apply.
          FIRE PREVENTION BUREAU                                        Contingent
          DALY CITY, CA 94015                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.134    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF PALMDALE                                           Check all that apply.
          38300 SIERRA HIGHWAY                                          Contingent
          PALMDALE, CA 93550                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 34 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 151 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.135    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF PASADENA                                           Check all that apply.
          100 NORTH GARFIELD AVE                                        Contingent
          PASADENA, CA 91109-7215                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.136    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF PEMBROKE PINES                                     Check all that apply.
          4TH FLOOR LBTR DIV                                            Contingent
          PEMBROKE PINES, FL 33025                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.137    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF PETALUMA                                           Check all that apply.
          11 ENGLISH ST                                                 Contingent
          PETALUMA, CA 94952                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.138    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF PFLUGERVILLE                                       Check all that apply.
          100 E. MAIN ST                                                Contingent
          PFLUGERVILLE, TX 78660                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 35 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 152 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.139    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF PORTLAND                                           Check all that apply.
          111 SW COLUMBIA ST., STE. 600                                 Contingent
          PORTLAND, OR 97201-5840                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.140    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF RANCHO CORDOVA                                     Check all that apply.
          2729 PROSPECT PARK DRIVE                                      Contingent
          RANCHO CORDOVA, CA 95670                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.141    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF REDLANDS                                           Check all that apply.
          35 CAJON ST. SUITE 15B                                        Contingent
          REDLANDS, CA 92373                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.142    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF REDWOOD CITY                                       Check all that apply.
          1017 MIDDLEFIELD ROAD                                         Contingent
          REDWOOD CITY, CA 94063                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 36 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 153 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.143    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF RENO                                               Check all that apply.
          1 E. FIRST STREET                                             Contingent
          PO BOX 1900                                                   Unliquidated
          RENO, NV 89505
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.144    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF RENTON                                             Check all that apply.
          1055 SOUTH GRADY WAY                                          Contingent
          RENTON, WA 98055                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.145    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF RIALTO                                             Check all that apply.
          150 S. PALM AVENUE                                            Contingent
          RIALTO, CA 92376                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.146    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF RICHARDSON HEALTH                                  Check all that apply.
          DIST.                                                         Contingent
          411 W. ARAPAHO RD                                             Unliquidated
          RICHARDSON, TX 75080-4551
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 37 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 154 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.147    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF RICHMOND                                           Check all that apply.
          450 CIVIC CENTER PLAZA                                        Contingent
          RICHMOND, CA 94804                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.148    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF RIVERSIDE BLDG &                                   Check all that apply.
          SAFETY                                                        Contingent
          3900 MAIN ST                                                  Unliquidated
          RIVERSIDE, CA 92522
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.149    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ROCKWALL ALARM                                     Check all that apply.
          PROGRAM                                                       Contingent
          385 S. GOLIAD                                                 Unliquidated
          ROCKWALL, TX 75087
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.150    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF ROHNERT PARK                                       Check all that apply.
          130 AVRAM AVENUE                                              Contingent
          ROHNERT PARK, CA 94928-1180                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 38 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 155 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.151    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SACRAMENTO                                         Check all that apply.
          915 I STREET                                                  Contingent
          SACRAMENTO, CA 95814                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.152    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN BERNARDINO                                     Check all that apply.
          P.O. BOX 1318                                                 Contingent
          SAN BERNARDINO, CA 92418                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.153    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN CARLOS                                         Check all that apply.
          600 ELM STREET                                                Contingent
          SAN CARLOS, CA 94070                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.154    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN CLEMENTE                                       Check all that apply.
          SAN CLEMENTE CITY HALL                                        Contingent
          910 CALLE NEGOCIO                                             Unliquidated
          SAN CLEMENTE, CA 92673
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 39 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 156 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.155    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN DIEGO                                          Check all that apply.
          BUSINESS TAX PROGRAM                                          Contingent
          SAN DIEGO, CA 92112-2289                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.156    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN JOSE TREASURER                                 Check all that apply.
          FINANCE DEPARTMENT                                            Contingent
          200 E. SANTA CLARA ST.                                        Unliquidated
          SAN JOSE, CA 95113
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.157    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN LEANDRO                                        Check all that apply.
          CIVIC CENTER, 835 E. 14TH                                     Contingent
          STREET                                                        Unliquidated
          SAN LEANDRO, CA 94577
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.158    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN MARCOS                                         Check all that apply.
          SAN MARCOS CITY HALL                                          Contingent
          1 CIVIC CENTER DRIVE                                          Unliquidated
          SAN MARCOS, CA 92069
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 40 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 157 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.159    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN MATEO                                          Check all that apply.
          330 W. 20TH AVE.                                              Contingent
          SAN MATEO, CA 94403-1388                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.160    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SAN RAMON                                          Check all that apply.
          7000 BOLLINGER CANYON RD                                      Contingent
          SAN RAMON, CA 94583                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.161    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SANTA ANA                                          Check all that apply.
          20 CIVIC CENTER PLAZA                                         Contingent
          SANTA ANA, CA 92702-1964                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.162    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SANTA BARBARA                                      Check all that apply.
          735 ANACAPA STREET                                            Contingent
          SANTA BARBARA, CA 93102                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 41 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 158 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.163    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SANTA CRUZ                                         Check all that apply.
          FINANCE DEPARTMENT                                            Contingent
          809 CENTER STREET, ROOM 8                                     Unliquidated
          SANTA CRUZ, CA 95060
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.164    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SANTA FE SPRINGS                                   Check all that apply.
          11710 TELEGRAPH ROAD                                          Contingent
          SANTA FE SPRINGS, CA                                          Unliquidated
          90670-3679
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.165    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SANTA MONICA                                       Check all that apply.
          P O BOX 2200                                                  Contingent
          SANTA MONICA, CA 90407-2200                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.166    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SANTA ROSA                                         Check all that apply.
          2373 CIRCADIAN WAY                                            Contingent
          SANTA ROSA, CA 95407                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 42 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 159 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.167    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SANTEE                                             Check all that apply.
          10601 MAGNOLIA AVE                                            Contingent
          SANTEE, CA 92071-1266                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.168    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SEATTLE                                            Check all that apply.
          P.O. BOX 34905                                                Contingent
          SEATTLE, WA 98124-1905                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.169    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SHORELINE                                          Check all that apply.
          17500 MIDVALE AVE N                                           Contingent
          SHORELINE, WA 98133                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.170    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SIMI VALLEY                                        Check all that apply.
          SIMI VALLEY CITY HALL                                         Contingent
          2929 TAPO CANYON ROAD                                         Unliquidated
          SIMI VALLEY, CA 93062
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 43 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 160 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.171    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF STOCKTON                                           Check all that apply.
          425 N. EL DORADO ST                                           Contingent
          STOCKTON, CA 95201-9005                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.172    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF STOCKTON - FINAR                                   Check all that apply.
          P.O. BOX 2107                                                 Contingent
          STOCKTON, CA 95201                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.173    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SUNNYVALE                                          Check all that apply.
          ATTN: CRIME PREVENTION UNIT                                   Contingent
          SUNNYVALE, CA 94088-3707                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.174    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF SUNRISE                                            Check all that apply.
          10770 WEST OAKLAND PARK                                       Contingent
          BOULEVARD                                                     Unliquidated
          SUNRISE, FL 33631
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 44 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 161 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.175    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF TACOMA WASHINGTON                                  Check all that apply.
          747 MARKET ST                                                 Contingent
          ROOM 246                                                      Unliquidated
          TACOMA, WA 98402
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.176    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF TAYLORSVILLE                                       Check all that apply.
          2600 TAYLORSVILLE BLVD.                                       Contingent
          TAYLORSVILLE, UT 84118                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.177    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF TEMECULA                                           Check all that apply.
          41000 MAIN STREET                                             Contingent
          TEMECULA, CA 92589                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.178    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF THORNTON                                           Check all that apply.
          SALES TAX DIVISION                                            Contingent
          9500 CIVIC CENTER DR                                          Unliquidated
          THORNTON, CO 80229-4326
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 45 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 162 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.179    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF THOUSAND OAKS                                      Check all that apply.
          2100 THOUSAND OAKS BLVD                                       Contingent
          THOUSAND OAKS, CA 91362-2903                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.180    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF TIGARD                                             Check all that apply.
          8777 SW BURNHAM STREET                                        Contingent
          TIGARD, OR 97281                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.181    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF TORRANCE                                           Check all that apply.
          3031 TORRANCE BLVD                                            Contingent
          TORRANCE, CA 90503                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.182    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF TUALATIN, OR                                       Check all that apply.
          18880 SW MARTINAZZI AVE                                       Contingent
          TUALATIN, OR 97062-7099                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 46 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 163 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.183    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF VALLEJO                                            Check all that apply.
          555 SANTA CLARA STREET                                        Contingent
          VALLEJO, CA 94590-5934                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.184    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF VANCOUVER                                          Check all that apply.
          2323 GENERAL ANDERSON                                         Contingent
          AVENUE                                                        Unliquidated
          PO BOX 8875
                                                                        Disputed
          VANCOUVER, WA 98666
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.185    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF VENTURA                                            Check all that apply.
          PUBLIC COUNTER ROOM 117                                       Contingent
          VENTURA, CA 93002                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.186    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF VISTA                                              Check all that apply.
          200 CIVIC CENTER DRIVE                                        Contingent
          VISTA, CA 92084                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 47 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 164 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.187    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF WALNUT                                             Check all that apply.
          8839 N. CEDAR AVE.                                            Contingent
          FRESNO, CA 93720                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.188    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF WEST HOLLYWOOD                                     Check all that apply.
          8300 SANTA MONICA                                             Contingent
          BOULEVARD                                                     Unliquidated
          WEST HOLLYWOOD, CA 90069
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.189    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF WESTMINSTER                                        Check all that apply.
          FINANCE DEPT SALES TAX                                        Contingent
          DIVISION                                                      Unliquidated
          4800 WEST 92ND AVENUE
                                                                        Disputed
          WESTMINISTER, CO 80031-6387
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.190    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF WHITTIER                                           Check all that apply.
          13230 PENN STREET                                             Contingent
          WHITTIER, CA 90602                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 48 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 165 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.191    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF YONKERS                                            Check all that apply.
          CITY CLERK'S OFFICE                                           Contingent
          40 SOUTH BROADWAY                                             Unliquidated
          YONKERS, NY 10701
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.192    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OF YORBA LINDA                                        Check all that apply.
          P.O. BOX 87014                                                Contingent
          YORBA LINDA, CA 92885-8714                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.193    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY OFVICTORVILLE                                         Check all that apply.
          14343 CIVIC DRIVE                                             Contingent
          PO BOX 5001                                                   Unliquidated
          VICTORVILLE, CA 92392-2399
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.194    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CITY TREASURER                                             Check all that apply.
          1200 THIRD AVE., SUITE 100                                    Contingent
          SAN DIEGO, CA 92187                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 49 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 166 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.195    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLACKAMAS COUNTY                                           Check all that apply.
          2051 KAEN RD                                                  Contingent
          OREGON CITY, OR 97045                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.196    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLACKAMAS COUNTY SHERIFF                                   Check all that apply.
          2223 S. KAEN ROAD                                             Contingent
          OREGON CITY, OR 97045                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.197    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLACKAMAS COUNTY TAX                                       Check all that apply.
          COLLECTOR                                                     Contingent
          168 WARNER-MILNE ROAD                                         Unliquidated
          OREGON CITY, OR 97045-4098
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.198    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLARK COUNTY DEPT. OF                                      Check all that apply.
          BUSINESS LICENSE                                              Contingent
          500 S GRAND CENTRAL PKWY                                      Unliquidated
          3RD FLOOR
                                                                        Disputed
          LAS VEGAS, NV 89155-1810
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 50 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 167 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.199    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLARK COUNTY HEALTH DEPT.                                  Check all that apply.
          1601 E FOURTH PLAIN BLVD.,                                    Contingent
          BLDG 17                                                       Unliquidated
          VANCOUVER, WA 98666-8825
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.200    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLARK COUNTY TREASURER                                     Check all that apply.
          500 S. GRAND CENTRAL PKWY,                                    Contingent
          1ST FLR                                                       Unliquidated
          P.O. BOX 551220
                                                                        Disputed
          LAS VEGAS, NV 89155-1220
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.201    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLARK COUNTY WATER                                         Check all that apply.
          RECLAMATION DISTRICT                                          Contingent
          5857 E FLAMINGO ROAD                                          Unliquidated
          LAS VEGAS, NV 89122
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.202    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CLEAR LAKE CITY W.A.                                       Check all that apply.
          900 BAY AREA BLVD.                                            Contingent
          HOUSTON, TX 77586                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 51 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 168 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.203    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COLORADO BOILER INSPECTION                                 Check all that apply.
          BRANCH                                                        Contingent
          P.O. BOX 628                                                  Unliquidated
          DENVER, CO 80201-0628
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.204    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COLORADO DEPARTMENT OF                                     Check all that apply.
          REVENUE                                                       Contingent
          STATE OF COLORADO                                             Unliquidated
          DEPARTMENT OF REVENUE
                                                                        Disputed
          DENVER, CO 80261-0013
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.205    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COMMONWEALTH OF VIRGINIA                                   Check all that apply.
          STATE CORPORATION                                             Contingent
          COMMISSION                                                    Unliquidated
          MERRIFIELD, VA 22116-7607
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.206    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COMPTROLLER OF MARYLAND                                    Check all that apply.
          PO BOX 17405                                                  Contingent
          BALTIMORE, MD 21297-1405                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 52 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 169 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.207    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CONTRA COSTA COUNTY                                        Check all that apply.
          651 PINE STREET                                               Contingent
          MARTINEZ, CA 94553                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.208    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CONTRA COSTA COUNTY FIRE                                   Check all that apply.
          DISTRICT                                                      Contingent
          PERMIT DIVISION                                               Unliquidated
          PLEASANT HILL, CA 94523
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.209    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          CONTRA COSTA COUNTY TAX                                    Check all that apply.
          COLLECTOR                                                     Contingent
          P.O. BOX 631                                                  Unliquidated
          MARTINEZ, CA 94553
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.210    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF ALAMEDA                                          Check all that apply.
          ENVIRONMENTAL SERVICES                                        Contingent
          P.O. BOX N                                                    Unliquidated
          ALAMEDA, CA 94501-0108
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 53 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 170 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.211    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF LOS ANGELES                                      Check all that apply.
          PO BOX 54978                                                  Contingent
          LOS ANGELES, CA 90054-0978                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.212    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF RIVERSIDE                                        Check all that apply.
          P.O. BOX 1089                                                 Contingent
          RIVERSIDE, CA 92502-3012                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.213    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF SACRAMENTO                                       Check all that apply.
          10590 ARMSTRONG AVENUE                                        Contingent
          MATHER, CA 95655                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.214    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF SAN BERNARDINO                                   Check all that apply.
          1ST FLOOR                                                     Contingent
          SAN BERNARDINO, CA                                            Unliquidated
          92415-0187
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 54 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 171 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.215    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF SAN DIEGO                                        Check all that apply.
          WEIGHTS & MEASURES                                            Contingent
          SAN DIEGO, CA 92123                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.216    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF SANTA BARBARA                                    Check all that apply.
          2125 S. CENTERPOINTE                                          Contingent
          PARKWAY, STE 333                                              Unliquidated
          SANTA MARIA, CA 93455
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.217    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF SANTA CRUZ                                       Check all that apply.
          701 OCEAN ST.RM. 312                                          Contingent
          SANTA CRUZ, CA 95060                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.218    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF SONOMA                                           Check all that apply.
          625 5TH STREET                                                Contingent
          SANTA ROSA, CA 95404                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 55 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 172 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.219    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY OF VENTURA                                          Check all that apply.
          800 S VICTORIA AVE                                            Contingent
          VENTURA, CA 93009-1730                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.220    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          COUNTY ROAD PROPERTIES                                     Check all that apply.
                                                                        Contingent
          0, CA                                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.221    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DALLAS COUNTY TAX                                          Check all that apply.
          COLLECTOR                                                     Contingent
          P.O. BOX 139006                                               Unliquidated
          DALLAS, TX 75313-9066
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.222    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DENTON COUNTY                                              Check all that apply.
          STEVE MOSSMAN                                                 Contingent
          PO BOX 90223                                                  Unliquidated
          DENTON, TX 76202
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 56 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 173 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.223    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DENVER FIRE DEPARTMENT                                     Check all that apply.
          745 W. COLFAX AVE.                                            Contingent
          DENVER, CO 80204                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.224    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DEPARTMENT OF HEALTH                                       Check all that apply.
          33 N CENTRAL AVENUE                                           Contingent
          RAMSEY, NJ 07446                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.225    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DEPARTMENT OF PUBLIC                                       Check all that apply.
          HEALTH                                                        Contingent
          1390 MARKET STREET                                            Unliquidated
          SUITE 210
                                                                        Disputed
          SAN FRANCISCO, CA 94102
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.226    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DEPT. OF CONSUMER &                                        Check all that apply.
          BUSINESS SERVICES                                             Contingent
          P.O. BOX 14610                                                Unliquidated
          SALEM, OR 97309-0445
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 57 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 174 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.227    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DEPT. OF LABOR & INDUSTRIAL                                Check all that apply.
          RELATIONS                                                     Contingent
          830 PUNCHBOWL STREET, ROOM                                    Unliquidated
          423
                                                                        Disputed
          HONOLULU, HI 96813
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.228    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          DOUGLAS COUNTY TREASURER                                   Check all that apply.
          PO BOX 1208                                                   Contingent
          100 THIRD STREE, SUITE 120                                    Unliquidated
          CASTLE ROCK, CO 90104
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.229    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          EL PASO COUNTY                                             Check all that apply.
          1675 W Garden of the Gods Road,                               Contingent
          Ste 2044                                                      Unliquidated
          COLORADO SPRINGS, CO 80907
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.230    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          EL PASO COUNTY TREASURER                                   Check all that apply.
          P.O. BOX 2018                                                 Contingent
          COLORADO SPRINGS, CO                                          Unliquidated
          80901-2018
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 58 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 175 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.231    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FAIRFAX COUNTY                                             Check all that apply.
          FALSE ALARM REDUCTION UNIT                                    Contingent
          4100 CHAIN BRIDGE ROAD                                        Unliquidated
          FAIRFAX, VA 22030
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.232    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FINANCE DEPARTMENT -                                       Check all that apply.
          SEATTLE                                                       Contingent
          ATTN: ACCOUNTS RECEIVABLE                                     Unliquidated
          SEATTLE, WA 98124-4996
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.233    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FLORIDA DEPARTMENT OF                                      Check all that apply.
          HEALTH                                                        Contingent
          1001 EXECUTIVE CENTER DRIVE                                   Unliquidated
          ORLANDO, FL 32803
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.234    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FLORIDA DEPARTMENT OF                                      Check all that apply.
          REVENUE                                                       Contingent
          5050 W. TENNESSEE ST                                          Unliquidated
          TALLAHASSEE, FL 32399-0128
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 59 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 176 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.235    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FLORIDA DEPT OF AGRICULTURE                                Check all that apply.
          & CONSUMER                                                    Contingent
          PO BOX 6700                                                   Unliquidated
          TALLAHASSEE, FL 32314-6700
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.236    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FORT BEND COUNTY MUD # 161                                 Check all that apply.
          12841 CAPRICORN STREET                                        Contingent
          STAFFORD, TX 77477                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.237    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FORT BEND COUNTY MUD # 167                                 Check all that apply.
          11500 NW FREEWAY                                              Contingent
          STE 465                                                       Unliquidated
          HOUSTON, TX 77092
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.238    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          FORT BEND COUNTY TAX                                       Check all that apply.
          ASSESSOR                                                      Contingent
          TAX ASSESSOR-COLLECTOR                                        Unliquidated
          P.O. BOX 1028
                                                                        Disputed
          SUGARLAND, TX 77487-1028
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 60 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 177 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.239    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          GALVESTON CO TAX                                           Check all that apply.
          COLLECTOR                                                     Contingent
          P.O. BOX 4902                                                 Unliquidated
          HOUSTON, TX 77210-4902
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.240    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          GALVESTON COUNTY HEALTH                                    Check all that apply.
          DISTRICT                                                      Contingent
          9850-A EMMETT F LOWRY EXPY                                    Unliquidated
          A108
                                                                        Disputed
          TEXAS CITY, TX 77591
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.241    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HARRIS COUNTY ALARM DETAIL                                 Check all that apply.
          9418 JENSEN DR A                                              Contingent
          HOUSTON, TX 77093                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.242    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HARRIS COUNTY MUD #132                                     Check all that apply.
          11111 KATY FREEWAY, STE 725                                   Contingent
          HOUSTON, TX 77079-2197                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 61 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 178 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.243    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HARRIS COUNTY MUD #186                                     Check all that apply.
          11111 KATY FWY #725                                           Contingent
          HOUSTON, TX 77079-2197                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.244    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HARRIS COUNTY MUD #275 TAX                                 Check all that apply.
          P.O. BOX 73109                                                Contingent
          HOUSTON, TX 77273                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.245    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HARRIS COUNTY TAX                                          Check all that apply.
          ASSESSOR-COLLECTOR                                            Contingent
          P.O. BOX 4622                                                 Unliquidated
          HOUSTON, TX 77210-4622
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.246    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HARRIS COUNTY TREASURER                                    Check all that apply.
          PO BOX 4049                                                   Contingent
          HOUSTON, TX 77210-4049                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 62 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 179 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.247    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HARRIS COUNTY WCID #145                                    Check all that apply.
          11111 KATY FWY #725                                           Contingent
          HOUSTON, TX 77079-2197                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.248    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HAWAII STATE TAX COLLECTOR                                 Check all that apply.
          OAHU DISTRICT OFFICE                                          Contingent
          PO BOX 1425                                                   Unliquidated
          HONOLULU, HI 96806-1425
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.249    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          HOUSTON DEPT OF HEALTH &                                   Check all that apply.
          HUMAN SERVICES                                                Contingent
          P.O. BOX 300008                                               Unliquidated
          HOUSTON, TX 77230-0008
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.250    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          JEFFERSON COUNTY                                           Check all that apply.
          TREASURER                                                     Contingent
          100 JEFFERSON COUNTY PKWY.                                    Unliquidated
          P.O. BOX 4007
                                                                        Disputed
          GOLDEN, CO 80401-0007
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 63 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 180 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.251    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          JERSEY CITY                                                Check all that apply.
          DR MARTIN LUTHER KING JR                                      Contingent
          CITY HALL ANNEX                                               Unliquidated
          JERSEY CITY, NJ 07305
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.252    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          KANSAS SECRETARY OF STATE                                  Check all that apply.
          120 SW 10TH AVENUE                                            Contingent
          TOPEKA, KS 66612-1240                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.253    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          KERN COUNTY                                                Check all that apply.
          PAYMENT CENTER                                                Contingent
          PO BOX 541004                                                 Unliquidated
          LOS ANGELES, CA 90054-1004
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.254    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          KERN, COUNTY OF                                            Check all that apply.
          2700 M STREET, SUITE 300                                      Contingent
          BAKERSFIELD, CA 93301                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 64 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 181 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.255    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          KIMZAY OF FLORIDA INC                                      Check all that apply.
          P.O. BOX 62045                                                Contingent
          NEWARK, NJ 07101                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.256    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          KING COUNTY TREASURY                                       Check all that apply.
          500 4TH AVENUE, #600                                          Contingent
          SEATTLE, WA 98104-2340                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.257    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          L.A. COUNTY AGRIC.                                         Check all that apply.
          P.O. BOX 512399                                               Contingent
          LOS ANGELES, CA 90051-0399                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.258    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          L.A. COUNTY TREASURER                                      Check all that apply.
          KENNETH HAHN HALL OF                                          Contingent
          ADMINISTRATION                                                Unliquidated
          LOS ANGELES, CA 90054
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 65 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 182 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.259    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          LARIMER COUNTY TREASURER                                   Check all that apply.
          200 W OAK STREET FLOOR #2                                     Contingent
          PO BOX 1250                                                   Unliquidated
          FORT COLLINS, CO 80522
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.260    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          LOS ANGELES COUNTY FIRE                                    Check all that apply.
          DEPARTMENT                                                    Contingent
          1320 N EASTERN AVE                                            Unliquidated
          LOS ANGELES, CA 90063
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.261    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          LOS ANGELES COUNTY TAX                                     Check all that apply.
          COLLECTOR                                                     Contingent
          P.O. BOX 513191                                               Unliquidated
          LOS ANGELES, CA 90051-1191
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.262    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MARIN COUNTY TAX COLLECTOR                                 Check all that apply.
          P.O. BOX 4220                                                 Contingent
          SAN RAFAEL, CA 94913-4220                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 66 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 183 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.263    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MARION COUNTY                                              Check all that apply.
          3180 CENTER STREET NE # 2274                                  Contingent
          SALEM, OR 97301                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.264    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MARION COUNTY SHERIFF'S                                    Check all that apply.
          OFFICE                                                        Contingent
          P.O. BOX 14500                                                Unliquidated
          SALEM, OR 97309
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.265    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MARION COUNTY TAX                                          Check all that apply.
          COLLECTOR                                                     Contingent
          P.O. BOX 3416                                                 Unliquidated
          PORTLAND, OR 97208-3416
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.266    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MARYLAND SECRETARY OF                                      Check all that apply.
          STATE                                                         Contingent
          16 FRANCIS STREET                                             Unliquidated
          ANNAPOLIS, MD 21401
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 67 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 184 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.267    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MIAMI DADE COUNTY                                          Check all that apply.
          FINANCE UNIT BOILER SECTION                                   Contingent
          11805 SW 26TH STREET                                          Unliquidated
          MIAMI, FL 33175-2474
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.268    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MONTGOMERY CO. TAX                                         Check all that apply.
          COLLECTOR                                                     Contingent
          P.O. BOX 4798                                                 Unliquidated
          HOUSTON, TX 77210-4798
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.269    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MONTGOMERY COUNTY ALARM                                    Check all that apply.
          DETAIL                                                        Contingent
          1ST FLOOR                                                     Unliquidated
          CONROE, TX 77301
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.270    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MONTGOMERY COUNTY MUD #60                                  Check all that apply.
          PO BOX 4901                                                   Contingent
          HOUSTON, TX 77210-4901                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 68 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 185 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.271    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MORAGA ORINDA FIRE DISTRICT                                Check all that apply.
          1280 MORAGA WAY                                               Contingent
          MORAGA, CA 94556                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.272    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MULTNOMAH COUNTY                                           Check all that apply.
          847 NE 19TH AVE SUITE 350                                     Contingent
          PORTLAND, OR 97232                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.273    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MULTNOMAH COUNTY TAX                                       Check all that apply.
          COLLECTOR                                                     Contingent
          PO BOX 2716                                                   Unliquidated
          PORTLAND, OR 97208-2716
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.274    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          MURRAY CITY                                                Check all that apply.
          4646 SOUTH 500 WEST                                           Contingent
          MURRAY, UT 84123                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 69 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 186 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.275    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          N.W. HARRIS COUNTY MUD #21                                 Check all that apply.
          11111 KATY FREEWAY #725                                       Contingent
          HOUSTON, TX 77079-2197                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.276    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NASSAU COUNTY DEPARTMENT                                   Check all that apply.
          OF HEALTH                                                     Contingent
          200 COUNTY SEAT DR                                            Unliquidated
          MINEOLA, NY 11501
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.277    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NASSAU COUNTY TREASURER                                    Check all that apply.
          1194 PROSPECT AVENUE                                          Contingent
          WESTBURY, NY 11590                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.278    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NEVADA DEPARTMENT OF                                       Check all that apply.
          TAXATION                                                      Contingent
          P.O. BOX 52609                                                Unliquidated
          PHOENIX, AZ 85072-2609
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 70 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 187 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.279    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NEVADA STATE FIRE MARSHAL                                  Check all that apply.
          107 JACOBSEN WAY                                              Contingent
          CARSON CITY, NV 89711                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.280    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NEW YORK CITY DEPARTMENT                                   Check all that apply.
          OF HEALTH AND                                                 Contingent
          PO BOX 4081                                                   Unliquidated
          NEW YORK, NY 10261-4081
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.281    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NEW YORK STATE                                             Check all that apply.
          DEPT OF TAXATION AND                                          Contingent
          FINANCE                                                       Unliquidated
          P.O. BOX 22076
                                                                        Disputed
          ALBANY, NY 12201-2076
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.282    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NEW YORK STATE SALES TAX                                   Check all that apply.
          NYS SALES TAX PROCESSING                                      Contingent
          PO BOX 1205                                                   Unliquidated
          NEW YORK, NY 10116-1205
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 71 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 188 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.283    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NORTH COUNTY FAIR LP                                       Check all that apply.
          C/O NORTH COUNTY FAIR                                         Contingent
          PO BOX 55697                                                  Unliquidated
          LOS ANGELES, CA 90074-5697
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.284    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NYC DEPARTMENT OF FINANCE                                  Check all that apply.
          C/O FIRST DATA                                                Contingent
          1150 SOUTH AVENUE                                             Unliquidated
          STATEN ISLAND, NY 10314-3404
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.285    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NYC DEPT . OF BUILDING                                     Check all that apply.
          280 BROADWAY                                                  Contingent
          NEW YORK, NY 10007                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.286    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NYC FIRE DEPARTMENT                                        Check all that apply.
          9 METROTECH CENTER                                            Contingent
          BROOKLYN, NY 11201                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 72 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 189 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.287    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          NYS DEPARTMENT OF LAW                                      Check all that apply.
          CHARITIES BUREAU                                              Contingent
          REGISTRATION SECTION                                          Unliquidated
          NEW YORK, NY 10005
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.288    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          OFFICE OF THE SECRETARY OF                                 Check all that apply.
          STATE                                                         Contingent
          P.O. BOX 40234                                                Unliquidated
          OLYMPIA, WA 98504-0234
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.289    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ORANGE COUNTY FIRE                                         Check all that apply.
          AUTHORITY                                                     Contingent
          ACCOUNTS RECEIVABLE                                           Unliquidated
          PO BOX 51985
                                                                        Disputed
          IRVINE, CA 92619
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.290    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ORANGE COUNTY TAX                                          Check all that apply.
          COLLECTOR                                                     Contingent
          625 N ROSS STREET                                             Unliquidated
          BLDG 11 RM G58
                                                                        Disputed
          SANTA ANA, CA 92702-1438
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 73 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 190 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.291    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ORANGE COUNTY TREASURER                                    Check all that apply.
          601 N ROSS ST                                                 Contingent
          SANTA ANA, CA 92701                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.292    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ORANGE COUNTY, HEALTH CARE                                 Check all that apply.
          AGENCY                                                        Contingent
          405 W 5TH ST                                                  Unliquidated
          SANTA ANA, CA 92701
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.293    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          OREGON DEPARTMENT OF                                       Check all that apply.
          JUSTICE                                                       Contingent
          100 SW MARKET STREET                                          Unliquidated
          PORTLAND, OR 97201-5702
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.294    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          OREGON DEPT. OF REVENUE                                    Check all that apply.
          PO # 14725                                                    Contingent
          SALEM, OR 97309-5018                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 74 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 191 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.295    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          OSCEOLA COUNTY TAX                                         Check all that apply.
          COLLECTOR                                                     Contingent
          PO BOX 422105                                                 Unliquidated
          KISSIMMEE, FL 34742
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.296    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PALM BEACH COUNTY                                          Check all that apply.
          ATTN: ALARM UNIT                                              Contingent
          WEST PALM BEACH, FL                                           Unliquidated
          33416-4681
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.297    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PALM BEACH COUNTY HEALTH                                   Check all that apply.
          DEPARTMENT                                                    Contingent
          800 CLEMATIS ST                                               Unliquidated
          WEST PALM BEACH, FL 33401
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.298    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PALM BEACH COUNTY TAX                                      Check all that apply.
          COLLECTOR                                                     Contingent
          PO BOX 3353                                                   Unliquidated
          WEST PALM BEACH, FL
                                                                        Disputed
          33402-3353
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 75 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 192 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.299    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PASADENA INDEPENDENT                                       Check all that apply.
          SCHOOL DISTRICT                                               Contingent
          PO BOX 1318                                                   Unliquidated
          2223 STRAWBERRY
                                                                        Disputed
          PASADENA, TX 77501-1318
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.300    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PIERCE COUNTY BUDGET &                                     Check all that apply.
          FINANCE                                                       Contingent
          P.O. BOX 11621                                                Unliquidated
          TACOMA, WA 98411-6621
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.301    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PISCATAWAY TOWNSHIP                                        Check all that apply.
          455 HOES LANE                                                 Contingent
          PISCATAWAY, NJ 08854                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.302    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PLACER COUNTY                                              Check all that apply.
          ENVIRONMENTAL HEALTH                                          Contingent
          3091 COUNTY CENTER DR # 180                                   Unliquidated
          AUBURN, CA 95603
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 76 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 193 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.303    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PLACER COUNTY TAX                                          Check all that apply.
          COLLECTOR                                                     Contingent
          FINANCE ADMINISTRATION BLDG                                   Unliquidated
          2976 RICHARDSON DRIVE, 2ND
                                                                        Disputed
          FLOOR
          AUBURN, CA 95603
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.304    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          POUDRE FIRE AUTHORITY                                      Check all that apply.
          102 REMINGTON STREET                                          Contingent
          FORT COLLINS, CO 80524                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.305    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PRINCE GEORGES COUNTY                                      Check all that apply.
          DEPT. OF PERMITTING AND                                       Contingent
          HEALTH DEPT                                                   Unliquidated
          9400 PEPPERCORN PLACE
                                                                        Disputed
          LARGO, MD 20774
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.306    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          PRP COMMERCIAL REAL STATE                                  Check all that apply.
          SERVICES INC                                                  Contingent
          MADISON                                                       Unliquidated
          417 29TH STREET
                                                                        Disputed
          NEWPORT BEACH, CA 92663
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 77 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 194 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.307    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          RENTON REGIONAL FIRE                                       Check all that apply.
          AUTHORITY                                                     Contingent
          18002 108TH AVE SE                                            Unliquidated
          RENTON, WA 98055
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.308    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          RIVERSIDE COUNTY TREASURER                                 Check all that apply.
          PO BOX 12005                                                  Contingent
          RIVERSIDE, CA 92502-2205                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.309    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ROCKLAND COUNTY                                            Check all that apply.
          DEPARTMENT OF HEALTH                                          Contingent
          50 SANATORIUM ROAD-BUILDING                                   Unliquidated
          D
                                                                        Disputed
          POMONA, NY 10970
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.310    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ROCKWALL CENTRAL                                           Check all that apply.
          APPRAISAL DISTRICT                                            Contingent
          841 JUSTIN ROAD                                               Unliquidated
          ROCKWALL, TX 75087
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 78 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 195 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.311    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          ROSEVILLE FIRE DEPARTMENT                                  Check all that apply.
          80 LINCOLN ST                                                 Contingent
          ROSEVILLE, CA 95678                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.312    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SACRAMENTO COUNTY TAX                                      Check all that apply.
          COLLECTOR                                                     Contingent
          700 H STREET                                                  Unliquidated
          ROOM 1710
                                                                        Disputed
          SACRAMENTO, CA 95814-1205
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.313    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SALT LAKE CITY CORPORATION                                 Check all that apply.
          1530 S W TEMPLE                                               Contingent
          SALT LAKE CITY, UT 84115                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.314    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SALT LAKE COUNTY ASSESSOR                                  Check all that apply.
          2001 S STATE ST, SUITE N2300A                                 Contingent
          SALT LAKE CITY, UT 84190-1300                                 Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 79 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 196 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.315    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SALT LAKE COUNTY TREASURER                                 Check all that apply.
          2001 S. STATE STREET, N1200                                   Contingent
          SALT LAKE CITY, UT 84190-1250                                 Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.316    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SALT LAKE VALLEY HEALTH                                    Check all that apply.
          DEPT                                                          Contingent
          PO BOX 144575                                                 Unliquidated
          SALT LAKE CITY, UT 84114-4575
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.317    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN BERNARDINO COUNTY                                      Check all that apply.
          TAX COLLECTOR                                                 Contingent
          268 WEST HOSPITALITY LANE                                     Unliquidated
          SAN BERNARDINO, CA
                                                                        Disputed
          92415-0360
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.318    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN DIEGO COUNTY                                           Check all that apply.
          TREASURER- TAX COLLECTOR                                      Contingent
          P.O.BOX 129009                                                Unliquidated
          SAN DIEGO, CA 92112
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 80 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 197 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.319    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN FRANCISCO DEPT OF                                      Check all that apply.
          PUBLIC HEALTH                                                 Contingent
          101 GROVE ST                                                  Unliquidated
          SAN FRANCISCO, CA 94102
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.320    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN FRANCISCO TAX                                          Check all that apply.
          COLLECTOR                                                     Contingent
          TAX COLLECTOR'S OFFICE                                        Unliquidated
          P.O. BOX 7427
                                                                        Disputed
          SAN FRANCISCO, CA 94120-7427
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.321    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN JOAQUIN COUNTY PUBLIC                                  Check all that apply.
          HEALTH                                                        Contingent
          1868 E HAZELTON AVE                                           Unliquidated
          STOCKTON, CA 95205
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.322    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN JOAQUIN COUNTY TAX                                     Check all that apply.
          COLLECTOR                                                     Contingent
          P.O. BOX 2169                                                 Unliquidated
          STOCKTON, CA 95201-2169
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 81 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 198 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.323    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN MATEO COUNTY                                           Check all that apply.
          ENVIRONMENTAL                                                 Contingent
          2000 ALAMEDA DE LAS PULGAS                                    Unliquidated
          STE 100
                                                                        Disputed
          SAN MATEO, CA 94403-1269
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.324    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN MATEO COUNTY TAX                                       Check all that apply.
          COLLECTOR                                                     Contingent
          LEE BUFFINGTON, TAX                                           Unliquidated
          COLLECTOR
                                                                        Disputed
          555 COUNTY CENTER, 1ST
          FLOOR
          REDWOOD CITY, CA 94063
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.325    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SAN MIGUEL FIRE PROTECTION                                 Check all that apply.
          DISTRICT                                                      Contingent
          2850 VIA ORANGE WAY                                           Unliquidated
          SPRING VALLEY, CA 91978
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.326    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SANTA BARBARA COUNTY TAX                                   Check all that apply.
          COLLECTOR                                                     Contingent
          P.O. BOX 579                                                  Unliquidated
          SANTA BARBARA, CA 93102-0579
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 82 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 199 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.327    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SANTA CLARA COUNTY                                         Check all that apply.
          TAX COLLECTOR                                                 Contingent
          70 W. HEDDING ST., EAST WING                                  Unliquidated
          SAN JOSE, CA 95110-1767
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.328    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SANTA CRUZ COUNTY TAX                                      Check all that apply.
          COLLECTOR                                                     Contingent
          PO BOX 1817                                                   Unliquidated
          SANTA CRUZ, CA 95061
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.329    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SEATTLE-KING COUNTY                                        Check all that apply.
          401 FIFTH AVE SUITE 1100E                                     Contingent
          SEATTLE, WA 98104                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.330    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SECRETARY OF STATE -                                       Check all that apply.
          SACRAMENTO                                                    Contingent
          P.O. BOX 944230                                               Unliquidated
          SACRAMENTO, CA 94244-2300
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 83 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 200 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.331    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SECRETARY OF STATE - TEXAS                                 Check all that apply.
          PO BOX 13550                                                  Contingent
          AUSTIN, TX 78711-3550                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.332    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SEMINOLE COUNTY TAX                                        Check all that apply.
          COLLECTOR                                                     Contingent
          PO BOX 630                                                    Unliquidated
          SANFORD, FL 32772-0630
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.333    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SNOHOMISH COUNTY                                           Check all that apply.
          TREASURER                                                     Contingent
          P.O. BOX 34171                                                Unliquidated
          SEATTLE, WA 98124-1171
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.334    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SNOHOMISH HEALTH DISTRICT                                  Check all that apply.
          3020 RUCKER AVENUE, SUITE 104                                 Contingent
          EVERETT, WA 98201-3900                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 84 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 201 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.335    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SOLANO COUNTY                                              Check all that apply.
          675 TEXAS STREET, SUITE 5500                                  Contingent
          FAIRFIELD, CA 94533                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.336    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SONOMA COUNTY                                              Check all that apply.
          TREASURER / TAX COLLECTOR                                     Contingent
          585 FISCAL DRIVE, RM 100F                                     Unliquidated
          SANTA ROSA, CA 95403
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.337    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SOUTHERN NEVADA HEALTH                                     Check all that apply.
          DISTRICT                                                      Contingent
          280 S DECATUR BLVD                                            Unliquidated
          LAS VEGAS, NV 89107
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.338    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SOUTHLAKE DEPARTMENT OF                                    Check all that apply.
          PUBLIC SAFETY                                                 Contingent
          1400 MAIN STREET                                              Unliquidated
          SOUTHLAKE, TX 76092
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 85 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 202 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.339    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE BOARD OF EQUALIZATION                                Check all that apply.
          P.O. BOX 942879                                               Contingent
          SACRAMENTO, CA 94279-8064                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.340    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF DELAWARE                                          Check all that apply.
          DEPARTMENT OF STATE                                           Contingent
          DIVISION OF CORPORATIONS                                      Unliquidated
          PO BOX 898
                                                                        Disputed
          DOVER, DE 19903
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.341    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF FLORIDA DEPT. OF                                  Check all that apply.
          HEALTH                                                        Contingent
          4052 BALD CYPRESS WAY                                         Unliquidated
          TALLAHASSEE, FL 32399
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.342    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF FLORIDA,                                          Check all that apply.
          DEPARTMENT OF HEALTH                                          Contingent
          1725 NW 167 ST                                                Unliquidated
          MIAMI, FL 33056
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 86 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 203 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.343    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF HAWAII SANITATION                                 Check all that apply.
          BRANCH                                                        Contingent
          99-945 HALAWA VALLEY ST                                       Unliquidated
          AIEA, HI 96701
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.344    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF MARYLAND                                          Check all that apply.
          301 WEST PRESTON STREET                                       Contingent
          BALTIMORE, MD 21201-2395                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.345    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF NEVADA                                            Check all that apply.
          3360 W. SAHARA AVENUE                                         Contingent
          LAS VEGAS, NV 89102                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.346    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF NEW JERSEY                                        Check all that apply.
          DEPT. OF LABOR AND                                            Contingent
          WORKFORCE DEV.                                                Unliquidated
          BUREAU OF BOILER AND
                                                                        Disputed
          PRESSURE VESSELS
          TRENTON, NJ 08625-0392
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 87 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 204 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.347    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF UTAH                                              Check all that apply.
          DIVISION OF CONSUMER                                          Contingent
          PROTECTION                                                    Unliquidated
          SALT LAKE CITY, UT 84114-6704
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.348    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          STATE OF WASHINGTON                                        Check all that apply.
          PO BOX 44410                                                  Contingent
          OLYMPIA, WA 98504-4410                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.349    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          SUGAR LAND CITY HALL                                       Check all that apply.
          2700 TOWN CENTER BLVD N                                       Contingent
          SUGAR LAND, TX 77479                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.350    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TACOMA - PIERCE COUNTY                                     Check all that apply.
          3629 SOUTH D. STREET                                          Contingent
          TACOMA, WA 98418-6813                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 88 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 205 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.351    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TARRANT COUNTY HEALTH                                      Check all that apply.
          DEPARTMENT                                                    Contingent
          SUITE 2300                                                    Unliquidated
          FORT WORTH, TX 76104-4802
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.352    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TARRANT COUNTY TAX                                         Check all that apply.
          COLLECTOR                                                     Contingent
          P.O. BOX 961018                                               Unliquidated
          FORT WORTH, TX 76161-0018
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.353    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TAX ASSESSOR-COLLECTOR,                                    Check all that apply.
          COLLIN COUNTY                                                 Contingent
          2300 BLOOMDALE ROAD                                           Unliquidated
          STE 2324
                                                                        Disputed
          MCKINNEY, TX 75071
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.354    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TAX COLLECTOR - ALAMEDA                                    Check all that apply.
          COUNTY                                                        Contingent
          1221 OAK STREET                                               Unliquidated
          SUITE 536
                                                                        Disputed
          OAKLAND, CA 94612
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 89 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 206 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.355    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TEXAS DEPARTMENT OF                                        Check all that apply.
          LICENSING                                                     Contingent
          P.O. BOX 12157                                                Unliquidated
          AUSTIN, TX 78711
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.356    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TEXAS STATE CONTROLLER OF                                  Check all that apply.
          PUBLIC ACCTS.                                                 Contingent
          REVENUE REFUNDS DIVISION                                      Unliquidated
          P.O. BOX 12019
                                                                        Disputed
          AUSTIN, TX 78711-2019
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.357    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          THE CITY OF BUENA PARK                                     Check all that apply.
          6640 BEACH BLVD                                               Contingent
          BUENA PARK, CA 90622                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.358    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          THE CITY OF HAWAIIAN                                       Check all that apply.
          GARDENS                                                       Contingent
          21815 PIONEER BOULEVARD                                       Unliquidated
          HAWAIIAN GARDENS, CA 90716
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 90 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 207 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.359    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          THE COUNTY OF CONTRA COSTA                                 Check all that apply.
          651 PINE STREET                                               Contingent
          MARTINEZ, CA 94553                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.360    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          THE COUNTY OF ORANGE                                       Check all that apply.
          HALL OF ADMINISTRATION                                        Contingent
          333 W. SANTA ANA BLVD.                                        Unliquidated
          SANTA ANA, CA 92701
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.361    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          THURSTON COUNTY PUBLIC                                     Check all that apply.
          HEALTH &                                                      Contingent
          412 LILY ROAD NE                                              Unliquidated
          OLYMPIA, WA 98506-5132
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.362    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          THURSTON COUNTY TREASURER                                  Check all that apply.
          2000 LAKERIDGE DRIVE SW                                       Contingent
          OLYMPIA, WA 98502-6080                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 91 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 208 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.363    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWN OF ADDISON                                            Check all that apply.
          5300 BELT LINE RD.                                            Contingent
          DALLAS, TX 75254                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.364    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWN OF ADDISON                                            Check all that apply.
          ENVIROMENTAL SERVICES                                         Contingent
          PO BOX 9010                                                   Unliquidated
          ADDISON, TX 75001-9010
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.365    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWN OF APPLE VALLEY                                       Check all that apply.
          14955 DALE EVANS PKWY                                         Contingent
          APPLE VALLEY, CA 92307                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.366    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWN OF CLARKSTOWN                                         Check all that apply.
          10 MAPLE AVE #5013                                            Contingent
          NEW CITY, NY 10956                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 92 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 209 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.367    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWN OF HEMPSTEAD                                          Check all that apply.
          1 WASHINGTON ST                                               Contingent
          HEMPSTEAD, NY 11550                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.368    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWN OF LITTLE ELM                                         Check all that apply.
          100 W. ELDORADO PARKWAY                                       Contingent
          LITTLE ELM, TX 75068                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.369    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWN OF PARKER                                             Check all that apply.
          20120 MAINSTREET                                              Contingent
          PARKER, CO 80138                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.370    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWNSHIP OF CLARK                                          Check all that apply.
          430 WESTFIELD AVENUE                                          Contingent
          CLARK, NJ 07066                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 93 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 210 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.371    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWNSHIP OF HANOVER                                        Check all that apply.
          P.O. BOX 250                                                  Contingent
          WHIPPANY, NJ 07981                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.372    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TOWNSHIP OF SADDLE BROOK                                   Check all that apply.
          540 SADDLE RIVER RD                                           Contingent
          SADDLE BROOK, NJ 07663                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.373    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TRAVIS COUNTY TAX                                          Check all that apply.
          COLLECTOR                                                     Contingent
          P.O. BOX 149328                                               Unliquidated
          AUSTIN, TX 78714-9328
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.374    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TREASURER OF VIRGINIA                                      Check all that apply.
          101 N 14TH ST                                                 Contingent
          RICHMOND, VA 23219                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 94 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 211 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.375    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TREASURER, CITY & COUNTY OF                                Check all that apply.
          DENVER                                                        Contingent
          144 W. COLFAX                                                 Unliquidated
          P.O. BOX 17420
                                                                        Disputed
          DENVER, CO 80217-0420
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.376    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          TRI-COUNTY HEALTH                                          Check all that apply.
          DEPARTMENT                                                    Contingent
          4201 E 72ND AVE SUITE D                                       Unliquidated
          COMMERCE CITY, CO 80022
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.377    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          UNITED FIRE AUTHORITY                                      Check all that apply.
          3380 S. 900 W                                                 Contingent
          SALT LAKE CITY, UT 84119                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.378    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          UNITED STATES TREASURY                                     Check all that apply.
          P.O. BOX 145566                                               Contingent
          CINCINNATI, OH 45250-5566                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 95 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 212 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.379    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          UTAH STATE TAX COMMISSION                                  Check all that apply.
          SALES TAX - M                                                 Contingent
          210 N. 1950 W.                                                Unliquidated
          SALT LAKE CITY, UT 84134-0400
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.380    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          VENTURA COUNTY                                             Check all that apply.
          TAX COLLECTOR                                                 Contingent
          LAWRENCE L. MATHENEY                                          Unliquidated
          VENTURA, CA 93009-1290
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.381    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          VIRGINIA DEPT OF TAXATION                                  Check all that apply.
          VIRGINIA RETAIL SALES & USE                                   Contingent
          TAX                                                           Unliquidated
          PO BOX 26626
                                                                        Disputed
          RICHMOND, VA 23261-6626
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.382    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WA STATE DEPT OF LABOR &                                   Check all that apply.
          INDUSTRIES                                                    Contingent
          7273 LINDERSON WAY SW                                         Unliquidated
          TUMWATER, WA 98501
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 96 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 213 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.383    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WASHINGTON COUNTY                                          Check all that apply.
          PR0PERTY TAX PAYMENT                                          Contingent
          CENTER                                                        Unliquidated
          PO BOX 3587
                                                                        Disputed
          PORTLAND, OR 97208-3587
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.384    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WASHINGTON COUNTY HEALTH                                   Check all that apply.
          155 N FIRST AVENUE, MS-5                                      Contingent
          HILLSBORO, OR 97124-3072                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.385    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WASHINGTON STATE DEPT OF                                   Check all that apply.
          REVENUE                                                       Contingent
          P.O. BOX 34053                                                Unliquidated
          SEATTLE, WA 98124-1053
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.386    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WASHOE COUNTY HEALTH                                       Check all that apply.
          DEPARTMENT                                                    Contingent
          1001 EAST NINTH STREET,                                       Unliquidated
          BUILDING B
                                                                        Disputed
          RENO, NV 89512
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 97 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20              Page 214 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)   20-11561
              Name

 2.387    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WASHOE COUNTY TREASURER                                    Check all that apply.
          P.O. BOX 30039                                                Contingent
          RENO, NV 89520-3039                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.388    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WAYNE TOWNSHIP HEALTH                                      Check all that apply.
          DEPARTMENT                                                    Contingent
          475 VALLEY ROAD                                               Unliquidated
          WAYNE, NJ 07470
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.389    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WEST COVINA FIRE                                           Check all that apply.
          DEPARTMENT                                                    Contingent
          1444 W. GARVEY AVE, ROOM 218                                  Unliquidated
          WEST COVINA, CA 91790
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.390    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown    Unknown
          WESTCHESTER COUNTY HEALTH                                  Check all that apply.
          DEPARTMENT                                                    Contingent
          25 MOORE AVE                                                  Unliquidated
          MOUNT KISCO, NY 10549
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 98 of 524
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                                 Case 20-11561-KBO                            Doc 6           Filed 08/28/20                 Page 215 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                                       Case number (if known)          20-11561
              Name

 2.391     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    Unknown
           WILLIAMSON COUNTY TAX                                     Check all that apply.
           COLLECTOR                                                    Contingent
           904 SOUTH MAIN STREET                                        Unliquidated
           GEORGETOWN, TX 78626-5829
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.392     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    Unknown
           WOODBRIDGE TOWNSHIP                                       Check all that apply.
           ONE MAIN STREET                                              Contingent
           WOODBRIDGE, NJ 07095                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $396,103.82
           100 CALIFORNIA STREET LLC                                                   Contingent
           29786 NETWORK PLACE                                                         Unliquidated
           CHICAGO, IL 60673-1297                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Related
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No      Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $86,999.05
           100 CALIFORNIA STREET LLC                                                   Contingent
           29786 NETWORK PLACE                                                         Unliquidated
           CHICAGO, IL 60673-1297
                                                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Real Property Tax
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No      Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $11,262.68
           100 CALIFORNIA STREET LLC                                                   Contingent
           29786 NETWORK PLACE                                                         Unliquidated
           CHICAGO, IL 60673-1297
                                                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Utilities
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 99 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 216 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,893.15
          1000BULBS.COM                                                         Contingent
          ATTN: JUDY BARSOUM                                                    Unliquidated
          2140 MERRITT DRIVE                                                    Disputed
          GARLAND, TX 75041
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $223,020.98
          111 SUTTER STREET OWNER LP
          ATTN: TAIRA HALL                                                      Contingent
          1633 BROADWAY                                                         Unliquidated
          SUITE 1801                                                            Disputed
          NEW YORK, NY 10019
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $60,112.87
          111 SUTTER STREET OWNER LP                                            Contingent
          PO BOX 399176                                                         Unliquidated
          SAN FRANCISCO, CA 94139-9176
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $121,890.41
          1211 E ARQUES LP                                                      Contingent
          ATTN: JAMES LINDSEY                                                   Unliquidated
          18 CYPRESS AVE                                                        Disputed
          KENTFIELD, CA 94904
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $160,159.41
          1301 EAST GLADSTONE STREET
          INVESTORS LLC
          ATTN: JULIE FENNESSEY                                                 Contingent
          C/O VESTAR PROPERTY MANAGEMENT                                        Unliquidated
          P.O. BOX 60051                                                        Disputed
          CITY OF INDUSTRY, CA 91716
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,055.51
          1301 EAST GLADSTONE STREET
          INVESTORS LLC                                                         Contingent
          C/O VESTAR PROPERTY MANAGEMENT                                        Unliquidated
          P.O. BOX 60051                                                        Disputed
          CITY OF INDUSTRY, CA 91716
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $305,848.20
          13395 BEACH BLVD LLC                                                  Contingent
          1100 SOUTH HOPE STREET                                                Unliquidated
          SUITE 809                                                             Disputed
          LOS ANGELES, CA 90015
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 100 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 217 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,299.69
          13395 BEACH BLVD LLC                                                  Contingent
          1100 SOUTH HOPE STREET                                                Unliquidated
          SUITE 809
                                                                                Disputed
          LOS ANGELES, CA 90015
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $172,562.33
          147 METRO LLC
          C/O METRO COMMERCIAL REALTY                                           Contingent
          CORPORATION                                                           Unliquidated
          227 20TH STREET, SUITE 100                                            Disputed
          NEWPORT BEACH, CA 92663
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,416.97
          147 METRO LLC
          C/O METRO COMMERCIAL REALTY                                           Contingent
          CORPORATION                                                           Unliquidated
          227 20TH STREET, SUITE 100                                            Disputed
          NEWPORT BEACH, CA 92663
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $227,425.80
          150 SYLVAN AVENUE LLC                                                 Contingent
          C/O JOSEPH KLYDE                                                      Unliquidated
          10 VAN WAGONER DRIVE                                                  Disputed
          ENGLEWOOD CLIFFS, NJ 07632-2111
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,561.81
          150 SYLVAN AVENUE LLC                                                 Contingent
          C/O JOSEPH KLYDE                                                      Unliquidated
          10 VAN WAGONER DRIVE
                                                                                Disputed
          ENGLEWOOD CLIFFS, NJ 07632-2111
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $405,661.70
          1601 PCH LP                                                           Contingent
          201 WILSHIRE BLVD., STE. A-28                                         Unliquidated
          SANTA MONICA, CA 90401                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $51,929.64
          1601 PCH LP                                                           Contingent
          201 WILSHIRE BLVD., STE. A-28                                         Unliquidated
          SANTA MONICA, CA 90401
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 101 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 218 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $736,207.25
          1680 KAPIOLANI LLC                                                    Contingent
          3810 KATELLA AVENUE                                                   Unliquidated
          LOS ALAMITOS, CA 94583                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $189,624.04
          1680 KAPIOLANI LLC                                                    Contingent
          3810 KATELLA AVENUE                                                   Unliquidated
          LOS ALAMITOS, CA 94583
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,977.47
          1680 KAPIOLANI LLC                                                    Contingent
          3810 KATELLA AVENUE                                                   Unliquidated
          LOS ALAMITOS, CA 94583
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,600.00
          1680 KAPIOLANI LLC                                                    Contingent
          3810 KATELLA AVENUE                                                   Unliquidated
          LOS ALAMITOS, CA 94583
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Parking
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,094.89
          1800 GOT JUNK COMMERCIAL SERVICES                                     Contingent
          LLC                                                                   Unliquidated
          DEPT 3419 PO BOX 123419,                                              Disputed
          DALLAS, TX 75312-3419
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $310,098.63
          1830-1850 OCEAN AVENUE LLC                                            Contingent
          ONE TOWNE SQUARE                                                      Unliquidated
          SUITE 1913                                                            Disputed
          SOUTHFIELD, MI 48076
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,857.02
          1830-1850 OCEAN AVENUE LLC                                            Contingent
          P.O. BOX 398273                                                       Unliquidated
          SAN FRANCISCO, CA 94139-8273
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 102 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 219 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $345,930.27
          21515 HAWTHORNE OWNER LLC                                             Contingent
          18881 VON KARMAN AVENUE                                               Unliquidated
          SUITE 400                                                             Disputed
          IRVINE, CA 92612
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $114,400.97
          21515 HAWTHORNE OWNER LLC                                             Contingent
          18881 VON KARMAN AVENUE                                               Unliquidated
          SUITE 400
                                                                                Disputed
          IRVINE, CA 92612
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $188,173.98
          21614 TOMBALL LLC                                                     Contingent
          832 SOUTHAMPTON DRIVE                                                 Unliquidated
          PALO ALTO, CA 94303                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $753,344.19
          225 5TH AVENUE NY LLC                                                 Contingent
          4700 WILSHIRE BLVD.                                                   Unliquidated
          LOS ANGELES, CA 90010                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $97,205.62
          225 5TH AVENUE NY LLC                                                 Contingent
          4700 WILSHIRE BLVD.                                                   Unliquidated
          LOS ANGELES, CA 90010
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $65,860.77
          225 5TH AVENUE NY LLC                                                 Contingent
          4700 WILSHIRE BLVD.                                                   Unliquidated
          LOS ANGELES, CA 90010
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $293,928.28
          24 HOUR ARVADA LLLP
          ATTN: LETICIA MURILLO                                                 Contingent
          11300 W. OLYMPIC BLVD                                                 Unliquidated
          # 620                                                                 Disputed
          LOS ANGELES, CA 90064
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 103 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 220 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $63,987.66
          24 HOUR ARVADA LLLP                                                   Contingent
          11300 W. OLYMPIC BLVD                                                 Unliquidated
          # 620
                                                                                Disputed
          LOS ANGELES, CA 90064
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,067.25
          24 HOUR ARVADA LLLP                                                   Contingent
          11300 W. OLYMPIC BLVD                                                 Unliquidated
          # 620
                                                                                Disputed
          LOS ANGELES, CA 90064
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.13
          24 HOUR FITNESS HELPING HANDS                                         Contingent
          FOUNDATION                                                            Unliquidated
          12647 ALCOSTA BLVD                                                    Disputed
          SAN RAMON, CA 94583
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $189,123.92
          24 HOUR TROPICANA LLC
          ATTN: STACY BLATTNER                                                  Contingent
          C/O COMMUNITY VISION INC                                              Unliquidated
          6440 SKY POINTE DR #140-104                                           Disputed
          LAS VEGAS, NV 89131
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $198,567.84
          24 RETAIL HUNTER PLAZA LLC                                            Contingent
          4683 CHABOT DRIVE                                                     Unliquidated
          SUITE 220                                                             Disputed
          PLEASANTON, CA 94588
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $72,047.66
          24 RETAIL HUNTER PLAZA LLC                                            Contingent
          4683 CHABOT DRIVE                                                     Unliquidated
          SUITE 220
                                                                                Disputed
          PLEASANTON, CA 94588
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $62,390.19
          24 SALEM PARTNERS LLC                                                 Contingent
          ATTN: TOM DALKE                                                       Unliquidated
          54659 SILVER FOX DRIVE                                                Disputed
          SUNRIVER, OR 97707
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 104 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 221 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,080.85
          24 SALEM PARTNERS LLC                                                 Contingent
          RUDY NODAR                                                            Unliquidated
          11300 W OLYMPIC BLVD
                                                                                Disputed
          LOS ANGELES, CA 90064
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $53,648.40
          24 SEVEN LLC                                                          Contingent
          ATTN: ACCOUNTS RECEIVABLE                                             Unliquidated
          PO BOX 71305                                                          Disputed
          PHILADELPHIA, PA 19176-1305
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $400,443.07
          2500 DUNSTAN LLC
          ATTN: KATHY HAMMAN                                                    Contingent
          RICE VILLAGE MANAGEMENT OFFICE                                        Unliquidated
          5516 CHAUCER                                                          Disputed
          HOUSTON, TX 77005
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $333,085.83
          2500 DUNSTAN LLC
          ATTN: KATHY HAMMAN                                                    Contingent
          RICE VILLAGE MANAGEMENT OFFICE                                        Unliquidated
          5516 CHAUCER                                                          Disputed
          HOUSTON, TX 77005
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,138.39
          2500 DUNSTAN LLC
          ATTN: KATHY HAMMAN                                                    Contingent
          RICE VILLAGE MANAGEMENT OFFICE                                        Unliquidated
          5516 CHAUCER                                                          Disputed
          HOUSTON, TX 77005
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $170,341.03
          2ML ATASCOCITA LLC
          ATTN: COLLIN TADLOCK                                                  Contingent
          C/O 2ML REAL ESTATE INTERESTS INC                                     Unliquidated
          952 ECHO LANE SUITE 314                                               Disputed
          HOUSTON, TX 77024
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 105 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 222 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $133,486.58
          2ML ATASCOCITA LLC
          ATTN: COLLIN TADLOCK                                                  Contingent
          C/O 2ML REAL ESTATE INTERESTS INC                                     Unliquidated
          952 ECHO LANE SUITE 314                                               Disputed
          HOUSTON, TX 77024
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $343,508.81
          3201 LOUISIANA LLC
          ATTN: KRISTEN ZAKARIAN                                                Contingent
          20333 STATE HIGHWAY 249                                               Unliquidated
          SUITE 520                                                             Disputed
          HOUSTON, TX 77070
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $222,415.88
          3201 LOUISIANA LP                                                     Contingent
          C/O CROSSPOINT PROPERTIES                                             Unliquidated
          2101 SMITH STREET #200
                                                                                Disputed
          HOUSTON, TX 77002
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,682.00
          3201 LOUISIANA LP                                                     Contingent
          C/O CROSSPOINT PROPERTIES                                             Unliquidated
          2101 SMITH STREET #200
                                                                                Disputed
          HOUSTON, TX 77002
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $195,401.94
          33 JOURNAL SQUARE OWNER LLC                                           Contingent
          ATTN PROPERTY MANAGER                                                 Unliquidated
          3 EAST 44TH ST STE B-1                                                Disputed
          NEW YORK, NY 10017
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $117,290.67
          3501 E CHAPMAN LLC                                                    Contingent
          C/O PLATINUM REALTY MANAGEMENT                                        Unliquidated
          201 WILSHIRE BLVD, SUITE A-28                                         Disputed
          SANTA MONICA, CA 90401
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,725.26
          3501 E CHAPMAN LLC                                                    Contingent
          C/O PLATINUM REALTY MANAGEMENT                                        Unliquidated
          201 WILSHIRE BLVD, SUITE A-28
                                                                                Disputed
          SANTA MONICA, CA 90401
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 106 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 223 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,909.81
          3501 E CHAPMAN LLC                                                    Contingent
          C/O PLATINUM REALTY MANAGEMENT                                        Unliquidated
          201 WILSHIRE BLVD, SUITE A-28
                                                                                Disputed
          SANTA MONICA, CA 90401
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $104,420.75
          3699 WILSHIRE LLC                                                     Contingent
          P.O. BOX 80560                                                        Unliquidated
          CITY OF INDUSTRY, CA 91716-8560                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $229.95
          3699 WILSHIRE LLC                                                     Contingent
          P.O. BOX 80560                                                        Unliquidated
          CITY OF INDUSTRY, CA 91716-8560
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $211,447.38
          460 SOUTH COLLEGE AVENUE LLC
          ATTN: BLAINE RAPPE                                                    Contingent
          C/O LC REAL ESTATE GROUP                                              Unliquidated
          1712 TOPAZ DRIVE                                                      Disputed
          LOVELAND, CO 80537
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $159,207.78
          5 POINTS PARTNERS LP                                                  Contingent
          C/O COLLIERS INTERNATIONAL                                            Unliquidated
          301 UNIVERSITY AVE, SUITE 100                                         Disputed
          SACRAMENTO, CA 95825
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,501.01
          5 POINTS PARTNERS LP                                                  Contingent
          C/O COLLIERS INTERNATIONAL                                            Unliquidated
          301 UNIVERSITY AVE, SUITE 100
                                                                                Disputed
          SACRAMENTO, CA 95825
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $123,270.56
          507 NORTHGATE LLC                                                     Contingent
          PO BOX 4184                                                           Unliquidated
          BELLEVUE, WA 98009                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 107 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 224 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,025.16
          507 NORTHGATE LLC                                                     Contingent
          PO BOX 4184                                                           Unliquidated
          BELLEVUE, WA 98009
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,963.56
          507 NORTHGATE LLC                                                     Contingent
          PO BOX 4184                                                           Unliquidated
          BELLEVUE, WA 98009
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $214,694.80
          5100 BELT LINE ROAD INVESTORS LLC                                     Contingent
          C/O UBS REALTY INVESTORS LLC                                          Unliquidated
          10 STATE HOUSE SQUARE                                                 Disputed
          HARTFORD, CT 06103-3604
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $39,646.89
          5100 BELT LINE ROAD INVESTORS LLC                                     Contingent
          C/O VESTAR PROPERTY MANAGEMENT                                        Unliquidated
          P.O. BOX 60051
                                                                                Disputed
          CITY OF INDUSTRY, CA 91716
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $143,596.14
          525 COLORADO LLC                                                      Contingent
          P.O. BOX 31001-2124                                                   Unliquidated
          PASADENA, CA 91110-2124                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $90,905.30
          5307 SEPULVEDA BOULEVARD LLC
          ATTN: SHUMAN YANG                                                     Contingent
          9045 CORBIN AVENUE                                                    Unliquidated
          SUITE 270                                                             Disputed
          NORTHRIDGE, CA 91324
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,209.27
          5307 SEPULVEDA BOULEVARD LLC                                          Contingent
          9045 CORBIN AVENUE                                                    Unliquidated
          SUITE 270
                                                                                Disputed
          NORTHRIDGE, CA 91324
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 108 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 225 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $42,851.00
          6 PACK BAGS LLC                                                       Contingent
          ATTN: KRIS CRAM                                                       Unliquidated
          99 SOUTH 700 EAST                                                     Disputed
          AMERICAN FORK, UT 84003
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $16,112,427.28
          600 BROADWAY PARTNERS LLC                                             Contingent
          1412 BROADWAY                                                         Unliquidated
          3RD FLOOR
                                                                                Disputed
          NEW YORK, NY 10018
          Date(s) debt was incurred
                                                                             Basis for the claim:    SoHo Lease Termination Fee
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $166,941.36
          80-02 LEASEHOLD COMPANY L P                                           Contingent
          80-02 KEW GARDENS ROAD                                                Unliquidated
          KEW GARDENS, NY 11415
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $115,926.65
          80-02 LEASEHOLD COMPANY L P                                           Contingent
          80-02 KEW GARDENS ROAD                                                Unliquidated
          KEW GARDENS, NY 11415                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $104,907.39
          80-02 LEASEHOLD COMPANY L P                                           Contingent
          80-02 KEW GARDENS ROAD                                                Unliquidated
          KEW GARDENS, NY 11415
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $472,572.21
          93 BOVET LEASE PARTNERS LLC                                           Contingent
          ATTN: JULIA M. BAIGENT                                                Unliquidated
          C/O RABBIT'S FOOT INVESTOR I, LLC,                                    Disputed
          WOODSIDE, CA 94062
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $228,139.35
          93 BOVET LEASE PARTNERS LLC                                           Contingent
          ATTN: JULIA M. BAIGENT                                                Unliquidated
          C/O RABBIT'S FOOT INVESTOR I, LLC,
                                                                                Disputed
          WOODSIDE, CA 94062
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 109 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 226 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $314,633.59
          A & J PROPERTIES LLC                                                  Contingent
          ATTN: JOHN FERRANTI                                                   Unliquidated
          2630 NATIONAL DRIVE                                                   Disputed
          BROOKLYN, NY 11234
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $846.42
          A & J PROPERTIES LLC                                                  Contingent
          ATTN: JOHN FERRANTI                                                   Unliquidated
          2630 NATIONAL DRIVE
                                                                                Disputed
          BROOKLYN, NY 11234
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300.00
          A ALLIANCE MOVING AND STORAGE
          ATTN: DIANE GILLEY                                                    Contingent
          4350 KEARNEY ST                                                       Unliquidated
          UNIT A                                                                Disputed
          DENVER, CO 80216
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,000.00
          A&Y MAINTENANCE SERVICE INC                                           Contingent
          ATTN: AL LOPEZ                                                        Unliquidated
          31 PRAIRIE DRIVE
                                                                                Disputed
          NORTH BABYLON, NY 11703
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,900.00
          A&Y MAINTENANCE SERVICE INC                                           Contingent
          ATTN: AL LOPEZ                                                        Unliquidated
          31 PRAIRIE DRIVE                                                      Disputed
          NORTH BABYLON, NY 11703
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $158,111.17
          A-S 108 FRIENDSWOOD CROSSING LP                                       Contingent
          8827 W SAM HOUSTON PKWY N                                             Unliquidated
          SUITE 200                                                             Disputed
          HOUSTON, TX 77040
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,168.65
          A-S 108 FRIENDSWOOD CROSSING LP                                       Contingent
          8827 W SAM HOUSTON PKWY N                                             Unliquidated
          SUITE 200
                                                                                Disputed
          HOUSTON, TX 77040
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 110 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 227 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $140,491.27
          A-S 117 SHOPS AT THE RESERVE LP
          ATTN: THERESA VISCUSO                                                 Contingent
          8827 W SAM HOUSTON PKWAY N                                            Unliquidated
          SUITE 200                                                             Disputed
          HOUSTON, TX 77040
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $129,115.92
          A-S 117 SHOPS AT THE RESERVE LP
          ATTN: THERESA VISCUSO                                                 Contingent
          8827 W SAM HOUSTON PKWAY N                                            Unliquidated
          SUITE 200                                                             Disputed
          HOUSTON, TX 77040
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $88,033.58
          A-S 117 SHOPS AT THE RESERVE LP
          ATTN: THERESA VISCUSO                                                 Contingent
          8827 W SAM HOUSTON PKWAY N                                            Unliquidated
          SUITE 200                                                             Disputed
          HOUSTON, TX 77040
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $156,789.28
          A-S 76 HIGHWAY 290-BINGLE LP                                          Contingent
          C/O NEWQUEST PROPERTIES                                               Unliquidated
          8827 W SAM HOUSTON PARKWAY N                                          Disputed
          HOUSTON, TX 77040
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,864.10
          A-S 76 HIGHWAY 290-BINGLE LP                                          Contingent
          C/O NEWQUEST PROPERTIES                                               Unliquidated
          8827 W SAM HOUSTON PARKWAY N
                                                                                Disputed
          HOUSTON, TX 77040
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $135,178.92
          A-S 86 FM 1960-VETERANS MEMORIAL LP                                   Contingent
          C/O NEW QUEST PROPERTIES                                              Unliquidated
          8807 W. SAM HOUSTON PKWY. N. # 200                                    Disputed
          HOUSTON, TX 77040
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,157.94
          A-S 86 FM 1960-VETERANS MEMORIAL LP                                   Contingent
          C/O NEW QUEST PROPERTIES                                              Unliquidated
          8807 W. SAM HOUSTON PKWY. N. # 200
                                                                                Disputed
          HOUSTON, TX 77040
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 111 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 228 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,420.05
          A-S 86 FM 1960-VETERANS MEMORIAL LP                                   Contingent
          C/O NEW QUEST PROPERTIES                                              Unliquidated
          8807 W. SAM HOUSTON PKWY. N. # 200
                                                                                Disputed
          HOUSTON, TX 77040
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $162,252.21
          A-S 93 SH 130 - SH 45 LP                                              Contingent
          8827 W SAM HOUSTON PKWY N                                             Unliquidated
          SUITE 200
                                                                                Disputed
          HOUSTON, TX 77040
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $110,626.50
          A-S 93 SH 130 - SH 45 LP                                              Contingent
          8827 W SAM HOUSTON PKWY N                                             Unliquidated
          SUITE 200                                                             Disputed
          HOUSTON, TX 77040
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,766.82
          AAA PLUMBERS CORP.                                                    Contingent
          ATTN: DEBRA REED                                                      Unliquidated
          PO BOX 40291                                                          Disputed
          HOUSTON, TX 77240
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,006.00
          AAA STEAM & SAUNA INC.                                                Contingent
          ATTN: CAROL                                                           Unliquidated
          8476 PEARL STREET
                                                                                Disputed
          THORNTON, CO 80229
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,817.96
          AAA STEAM & SAUNA INC.                                                Contingent
          ATTN: CAROL                                                           Unliquidated
          8476 PEARL STREET                                                     Disputed
          THORNTON, CO 80229
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $989.00
          ABC LOCKSMITHS INC                                                    Contingent
          9684 FOOTHILL BLVD                                                    Unliquidated
          RANCHO CUCAMONGA, CA 91730                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 112 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 229 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,600.00
          ABM ONSITE SERVICES- WEST INC                                         Contingent
          ATTN: SUSAN KIM                                                       Unliquidated
          1150 S OLIVE STREET FLOOR 19
                                                                                Disputed
          LOS ANGELES, CA 90015
          Date(s) debt was incurred
                                                                             Basis for the claim:    Parking
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $70,056.67
          ABM PARKING SERVICES                                                  Contingent
          ATTN: SHAMELA DACOSTA                                                 Unliquidated
          14201 FRANKLIN AVE                                                    Disputed
          TUSTIN, CA 92780
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,171.00
          ABM PARKING SERVICES                                                  Contingent
          ATTN: SHAMELA DACOSTA                                                 Unliquidated
          14201 FRANKLIN AVE
                                                                                Disputed
          TUSTIN, CA 92780
          Date(s) debt was incurred
                                                                             Basis for the claim:    Parking
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $160,794.21
          ABORN SQUARE SHOPPING CENTER                                          Contingent
          C/O:PORTFOLIO REALTY MGMT                                             Unliquidated
          4020 MOORPARK AVENUE                                                  Disputed
          SAN JOSE, CA 95117
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $123,572.83
          ABORN SQUARE SHOPPING CENTER                                          Contingent
          C/O:PORTFOLIO REALTY MGMT                                             Unliquidated
          4020 MOORPARK AVENUE
                                                                                Disputed
          SAN JOSE, CA 95117
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $524,024.84
          ABP PEARL HIGHLANDS LLC
          ATTN: A/R INBOX                                                       Contingent
          MSC 61428                                                             Unliquidated
          P.O. BOX 1300                                                         Disputed
          HONOLULU, HI 96807-1300
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $89,764.00
          ABP PEARL HIGHLANDS LLC                                               Contingent
          MSC 61428                                                             Unliquidated
          P.O. BOX 1300
                                                                                Disputed
          HONOLULU, HI 96807-1300
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 113 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 230 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $64,421.54
          ABP PEARL HIGHLANDS LLC                                               Contingent
          MSC 61428                                                             Unliquidated
          P.O. BOX 1300
                                                                                Disputed
          HONOLULU, HI 96807-1300
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $475,316.05
          ABS RM LEASE OWNER LLC                                                Contingent
          ATTN: TRISTA EATON                                                    Unliquidated
          4834 COLLECTIONS CENTER DR                                            Disputed
          CHICAGO, IL 60693
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $58,272.04
          ABS RM LEASE OWNER LLC                                                Contingent
          BANK OF AMERICA/LOCKBOX SERVICES                                      Unliquidated
          4834 COLLECTIONS CENTER DR
                                                                                Disputed
          CHICAGO, IL 60693
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,539.67
          ACADEMY GLASS COMPANY INC                                             Contingent
          5070 SO. ARVILLE, STE #10                                             Unliquidated
          LAS VEGAS, NV 89118                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $998.35
          ACCESS ABLE DESIGNS                                                   Contingent
          ATTN: ALLEN GARRETT                                                   Unliquidated
          1260 LEXINGTON SQ SW                                                  Disputed
          VERO BEACH, FL 32962
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,886.59
          ACCESS LIFTS OF HAWAII                                                Contingent
          1525 YOUNG STREET                                                     Unliquidated
          HONOLULU, HI 96826                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,845.36
          ACCOUNTEMPS                                                           Contingent
          ATTN: GIRLIE FORTUNO                                                  Unliquidated
          PO BOX 743295                                                         Disputed
          LOS ANGELES, CA 90074-3295
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 114 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 231 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $261,960.69
          ACD ENTERPRISES LLC                                                   Contingent
          4633 OLD IRONSIDES DRIVE                                              Unliquidated
          SUITE 100                                                             Disputed
          SANTA CLARA, CA 95054
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,560.47
          ACD ENTERPRISES LLC                                                   Contingent
          4633 OLD IRONSIDES DRIVE                                              Unliquidated
          SUITE 100
                                                                                Disputed
          SANTA CLARA, CA 95054
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,120.50
          ACE PARKING III LLC                                                   Contingent
          ACE PARKING MANAGEMENT INC                                            Unliquidated
          ATTN: ZACH WILCOX                                                     Disputed
          BELLEVUE, WA 98004
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,990.00
          ACE PARKING INC.                                                      Contingent
          ATTN: ASHLEY                                                          Unliquidated
          645 ASH STREET                                                        Disputed
          SAN DIEGO, CA 92101-3211
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,673.19
          ACI - SAN RAMON                                                       Contingent
          610 ALADDIN AVENUE                                                    Unliquidated
          SAN LEANDRO, CA 94577                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,257.40
          ACS SOLAR LLC                                                         Contingent
          P.O. BOX 399179                                                       Unliquidated
          SAN FRANCISCO, CA 94139-9179
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,577.39
          ACTION CARTING                                                        Contingent
          PO BOX 2698                                                           Unliquidated
          NEWARK, NJ 07114                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 115 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 232 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $169.60
          ACTION CARTING                                                        Contingent
          PO BOX 2698                                                           Unliquidated
          NEWARK, NJ 07114
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.98
          ACTION FIRE PROS                                                      Contingent
          PO BOX 797                                                            Unliquidated
          WAXAHACHIE, TX 75168                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,551.00
          ACTIVE DISPOSAL SERVICE INC                                           Contingent
          PO BOX 1115                                                           Unliquidated
          SOMERVILLE, NJ 08876                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ADAM R VANDERYACHT                                                    Contingent
          1889 MILL SPRINGS CMN                                                 Unliquidated
          APT 111                                                               Disputed
          LIVERMORE, CA 94550
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,391.91
          ADAMAX INC                                                            Contingent
          ATTN: FEROUN KHAN                                                     Unliquidated
          2360 ALVARADO STREET                                                  Disputed
          SAN LEANDRO, CA 94577
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $184,029.98
          ADAMS COUNTY TREASURER                                                Contingent
          1879 MORRIS AVE                                                       Unliquidated
          UNION, NJ 07083                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,770.00
          ADAMS COUNTY TREASURER                                                Contingent
          P.O. BOX 869                                                          Unliquidated
          BRIGHTON, CO 80601-0869
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 116 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 233 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $59.00
          ADKINS NICHOLAS                                                       Contingent
          4270 DUCK CREEK DR                                                    Unliquidated
          BUILDING 13 APT 103
                                                                                Disputed
          GARLAND, TX 75043
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $260,774.67
          ADOBE SYSTEMS INCORPORATED
          ATTN: BECI HUNTING                                                    Contingent
          75 REMITTANCE DRIVE                                                   Unliquidated
          STE 1025                                                              Disputed
          CHICAGO, IL 60675-1025
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,047.26
          ADOBE SYSTEMS INCORPORATED
          ATTN: BECI HUNTING                                                    Contingent
          75 REMITTANCE DRIVE                                                   Unliquidated
          STE 1025                                                              Disputed
          CHICAGO, IL 60675-1025
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,717,368.39
          ADP CLIENT TRUST                                                      Contingent
          PO BOX 31001-1874                                                     Unliquidated
          PASADENA, CA 91110-1874                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CARES Act - FICA tax deferral
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $329,928.72
          ADP CLIENT TRUST                                                      Contingent
          ATTN: ADP SALES                                                       Unliquidated
          PO BOX 31001-1874                                                     Disputed
          PASADENA, CA 91110-1874
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $109,194.52
          ADP CLIENT TRUST                                                      Contingent
          PO BOX 31001-1874                                                     Unliquidated
          PASADENA, CA 91110-1874
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $63,777.80
          ADP CLIENT TRUST                                                      Contingent
          PO BOX 31001-1874                                                     Unliquidated
          PASADENA, CA 91110-1874
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    2020 W-2 Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 117 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 234 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $51,893.50
          ADP SCREENING AND SELECTION
          SERVICES INC                                                          Contingent
          ATTN: KRISTYN MCQUEEN                                                 Unliquidated
          301 REMINGTON STREET                                                  Disputed
          FORT COLLINS, CO 80524
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,564.22
          ADPRO IMPRINT INC                                                     Contingent
          ATTN: PETER DEMAREE                                                   Unliquidated
          1206 RT 35 SOUTH                                                      Disputed
          OCEAN, NJ 07712
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,166.48
          ADSTREAM NORTH AMERICAN INC                                           Contingent
          ATTN: DANILO CAMPOS                                                   Unliquidated
          PO BOX 74008348                                                       Disputed
          CHICAGO, IL 60674-8348
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,897.00
          ADT SECURITY SERVICES                                                 Contingent
          ACCOUNTS PAYABLE                                                      Unliquidated
          PO BOX 371878                                                         Disputed
          PITTSBURGH, PA 15250-7878
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,884.33
          ADVANCE DISPLAYS                                                      Contingent
          ATTN: CHAD LUCKING                                                    Unliquidated
          139 E 3900 S                                                          Disputed
          SALT LAKE CITY, UT 84107-1528
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $576.48
          ADVANCED DISPOSAL                                                     Contingent
          PO BOX 6484                                                           Unliquidated
          CAROL STREAM, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60.62
          ADVANCED DISPOSAL                                                     Contingent
          PO BOX 6484                                                           Unliquidated
          CAROL STREAM, IL 60197
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 118 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 235 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $353.10
          ADVANCED FIRE AND SECURITY INC                                        Contingent
          2780 GATEWAY DRIVE                                                    Unliquidated
          POMPANO BEACH, FL 33069                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,500.00
          AEA INVESTORS LP                                                      Contingent
          666 FIFTH AVENUE                                                      Unliquidated
          36TH FLOOR
                                                                                Disputed
          NEW YORK, NY 10103
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $167,069.58
          AG UPLAND LLC                                                         Contingent
          9595 WILSHIRE BLVD                                                    Unliquidated
          STE 700                                                               Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,986.11
          AG UPLAND LLC                                                         Contingent
          9595 WILSHIRE BLVD                                                    Unliquidated
          STE 700
                                                                                Disputed
          BEVERLY HILLS, CA 90212
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $297.00
          AGGDATA
          ATTN: AMY O'CONNOR                                                    Contingent
          310 EAST SHORE ROAD                                                   Unliquidated
          SUITE 302                                                             Disputed
          GREAT NECK, NY 11023
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $168,986.52
          AGRE RIVER BRIDGE OWNER LLC
          ATTN: CATHY YODER                                                     Contingent
          C/O AGRE SPRINGS PLAZA OWNER LLC                                      Unliquidated
          PO BOX 865803                                                         Disputed
          ORLANDO, FL 32886-5803
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $182,856.46
          AGREE LITTLETON CO LLC                                                Contingent
          70 EAST LONG LAKE ROAD                                                Unliquidated
          BLOOMFIELD HILLS, MI 48304                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 119 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 236 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $133,962.25
          AGREE LITTLETON CO LLC                                                Contingent
          70 EAST LONG LAKE ROAD                                                Unliquidated
          BLOOMFIELD HILLS, MI 48304
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,119.06
          AHERN RENTAL CENTERS INC.                                             Contingent
          PO BOX 271390                                                         Unliquidated
          LAS VEGAS, NV 89127-1390                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $297,131.64
          AIR PERFORMANCE HVAC INC                                              Contingent
          ATTN: RICHARD STRLE                                                   Unliquidated
          38625 6TH STREET EAST
                                                                                Disputed
          PALMDALE, CA 93550
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $217,304.29
          AIR PERFORMANCE HVAC INC                                              Contingent
          ATTN: RICHARD STRLE                                                   Unliquidated
          38625 6TH STREET EAST                                                 Disputed
          PALMDALE, CA 93550
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,441.40
          AIR PERFORMANCE HVAC INC                                              Contingent
          ATTN: RICHARD STRLE                                                   Unliquidated
          38625 6TH STREET EAST
                                                                                Disputed
          PALMDALE, CA 93550
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $48,661.20
          AKAMAI TECHNOLOGIES INC                                               Contingent
          ATTN: BILLING SUPPORT CENTER                                          Unliquidated
          PO BOX 26590                                                          Disputed
          NEW YORK, NY 10087-6590
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $154.17
          ALAMEDA COUNTY WATER DISTRICT                                         Contingent
          P.O. BOX 45676                                                        Unliquidated
          SAN FRANCISCO, CA 94145-0676
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 120 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 237 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32.67
          ALARMCO INC                                                           Contingent
          2007 LAS VEGAS BLVD. SOUTH                                            Unliquidated
          LAS VEGAS, NV 89104-2555                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $120,526.09
          ALBEE PROPERTIES LLC
          ATTN: KEVIN SYMONS                                                    Contingent
          CAPS PROPERTY SERVICES                                                Unliquidated
          26741 PORTOLA PKWY                                                    Disputed
          FOOTHILL RANCH, CA 92610
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,167.75
          ALBEE PROPERTIES LLC
          ATTN: KEVIN SYMONS                                                    Contingent
          CAPS PROPERTY SERVICES                                                Unliquidated
          26741 PORTOLA PKWY                                                    Disputed
          FOOTHILL RANCH, CA 92610
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57.29
          ALERT ALARM HAWAII                                                    Contingent
          ATTN: GERRY WONDRASEK                                                 Unliquidated
          2668 WAIWAI LOOP                                                      Disputed
          HONOLULU, HI 96819
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $82,464.79
          ALESSANDRO GROUP LLC                                                  Contingent
          730 EL CAMINO WAY                                                     Unliquidated
          SUITE 200                                                             Disputed
          TUSTIN, CA 92780
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $67,786.37
          ALESSANDRO GROUP LLC                                                  Contingent
          3070 MYERS ST                                                         Unliquidated
          RIVERSIDE, CA 92503
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,069.63
          ALKITSA INVESTMENTS LIMITED INC                                       Contingent
          C/O PALICO INC                                                        Unliquidated
          11811 NORTH FREEWAY                                                   Disputed
          HOUSTON, TX 77060
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 121 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 238 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,873.58
          ALKITSA INVESTMENTS LIMITED INC                                       Contingent
          C/O PALICO INC                                                        Unliquidated
          11811 NORTH FREEWAY
                                                                                Disputed
          HOUSTON, TX 77060
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,995.20
          ALL CAL GLASS                                                         Contingent
          ATTN: HEATHER LARA                                                    Unliquidated
          PO BOX 1440
                                                                                Disputed
          LINDEN, CA 95236
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $131.98
          ALL STATES BUENA PARK SERVICES                                        Contingent
          C/O PROCESSING CENTER                                                 Unliquidated
          PO BOX 900
                                                                                Disputed
          NORTH SCITUATE, RI 02857
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54.55
          ALL STATES BUENA PARK SERVICES                                        Contingent
          C/O PROCESSING CENTER PO BOX 900,                                     Unliquidated
          NORTH SCITUATE, RI 02857                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $163,434.23
          ALLEN FITNESS LP                                                      Contingent
          C/O TITUS PROPERTIES                                                  Unliquidated
          1748 W. KATELLA AVE. # 206                                            Disputed
          ORANGE, CA 92867
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $142,285.98
          ALLEN FITNESS LP                                                      Contingent
          C/O TITUS PROPERTIES                                                  Unliquidated
          1748 W. KATELLA AVE. # 206
                                                                                Disputed
          ORANGE, CA 92867
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unbilled CIP Increases
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $83,635.24
          ALLEN FITNESS LP                                                      Contingent
          C/O TITUS PROPERTIES                                                  Unliquidated
          1748 W. KATELLA AVE. # 206
                                                                                Disputed
          ORANGE, CA 92867
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 122 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 239 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,250.31
          ALLEN,DONALD E                                                        Contingent
          9437 DANBURY ST                                                       Unliquidated
          CYPRESS, CA 90630
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,876.74
          ALLTEX GLASS CO. INC.
          ATTN: DEE BOKEMEYER                                                   Contingent
          15047 TALLSHADOWS DR                                                  Unliquidated
          SUITE G                                                               Disputed
          HOUSTON, TX 77032-2815
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,900.00
          ALLTEX GLASS CO. INC.
          ATTN: DEE BOKEMEYER                                                   Contingent
          15047 TALLSHADOWS DR                                                  Unliquidated
          SUITE G                                                               Disputed
          HOUSTON, TX 77032-2815
                                                                             Basis for the claim:    Purchase of fixed assets
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,877.75
          ALMADEN                                                               Contingent
          ATTN: ANDREAS QUVANG JPSON                                            Unliquidated
          2549 SCOTT BOULEVARD                                                  Disputed
          SANTA CLARA, CA 95050
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,532.93
          ALMADEN FITNESS LP                                                    Contingent
          C/O TITUS PROPERTIES LLC                                              Unliquidated
          1748 W KATELLA AVE SUITE 206                                          Disputed
          ORANGE, CA 92867
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $275,292.84
          ALORICA INC
          ATTN: TOM SILZELL                                                     Contingent
          5161 CALIFORNIA AVE                                                   Unliquidated
          SUITE 100                                                             Disputed
          IRVINE, CA 92617
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $177,310.10
          ALORICA INC
          ATTN: TOM SILZELL                                                     Contingent
          5161 CALIFORNIA AVE                                                   Unliquidated
          SUITE 100                                                             Disputed
          IRVINE, CA 92617
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 123 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 240 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $761.08
          ALPHA GLASS AND MIRROR COMPANY INC                                    Contingent
          ATTN: MICKEY                                                          Unliquidated
          8901 SOVEREIGN ROW                                                    Disputed
          DALLAS, TX 75247
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,295.02
          ALTADENA LINCOLN CROSSING LLC                                         Contingent
          210 S ORANGE GROVE BLVD                                               Unliquidated
          PASADENA, CA 91105
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,676.97
          AMBIUS                                                                Contingent
          PO BOX 14086                                                          Unliquidated
          READING, PA 19612                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $260,154.83
          AMCAP AUSTIN BLUFFS LLC
          ATTN: BRENDA SOPER                                                    Contingent
          C/O AMCAP INC.                                                        Unliquidated
          333 LUDLOW STREET 8TH FLOOR                                           Disputed
          STAMFORD, CT 06902
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $166,915.38
          AMCAP DENVER LIMITED PARTNERSHIP                                      Contingent
          JP MORGAN CHASE                                                       Unliquidated
          ATTN: LBX ADLP-U&A LL #915072                                         Disputed
          DALLAS, TX 75391-5072
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,767.75
          AMCAP DENVER LIMITED PARTNERSHIP                                      Contingent
          JP MORGAN CHASE                                                       Unliquidated
          ATTN: LBX ADLP-U&A LL #915072
                                                                                Disputed
          DALLAS, TX 75391-5072
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,305.86
          AMCAP DENVER LIMITED PARTNERSHIP                                      Contingent
          JP MORGAN CHASE                                                       Unliquidated
          ATTN: LBX ADLP-U&A LL #915072
                                                                                Disputed
          DALLAS, TX 75391-5072
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 124 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 241 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $361,799.70
          AMCAP TIFFANY LLC                                                     Contingent
          950 SOUTH CHERRY STREET                                               Unliquidated
          SUITE 1120                                                            Disputed
          DENVER, CO 80246
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $98,701.38
          AMCAP TIFFANY LLC                                                     Contingent
          950 SOUTH CHERRY STREET                                               Unliquidated
          SUITE 1120
                                                                                Disputed
          DENVER, CO 80246
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,873.33
          AMCAP TIFFANY LLC                                                     Contingent
          950 SOUTH CHERRY STREET                                               Unliquidated
          SUITE 1120
                                                                                Disputed
          DENVER, CO 80246
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $154,310.40
          AMERICAN DAWN, INC.                                                   Contingent
          ATTN: ELSIE BEN                                                       Unliquidated
          P.O. BOX 513295                                                       Disputed
          LOS ANGELES, CA 90051-3295
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $187,180.64
          AMERICAN WHOLESALE LIGHTING, INC.                                     Contingent
          ATTN: DAISY QUESDA                                                    Unliquidated
          1725 RUTAN DR.                                                        Disputed
          LIVERMORE, CA 94551
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,432.88
          AMERIT CONSULTING INC                                                 Contingent
          4000 EXECUTIVE PARKWAY                                                Unliquidated
          SUITE 240                                                             Disputed
          SAN RAMON, CA 94583
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          AMIE M BORING                                                         Contingent
          3308 BELLE LN                                                         Unliquidated
          CARLSBAD, CA 92008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 125 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 242 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $59,802.26
          AMP PRINTING INC                                                      Contingent
          ATTN: CATHY ROBISON                                                   Unliquidated
          P.O. BOX 8411                                                         Disputed
          PASADENA, CA 91109-8411
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,853.28
          AMPLITUDE INC
          ATTN: HENRY LUO                                                       Contingent
          631 HOWARD STREET                                                     Unliquidated
          FLOOR 5                                                               Disputed
          SAN FRANCISCO, CA 94105-3934
                                                                             Basis for the claim:    Repairs & Maintenance
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          AMY B WAGNER                                                          Contingent
          833 YORK STREET APT 2                                                 Unliquidated
          OAKLAND, CA 94610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,971.00
          AN ALLIED UNIVERSAL COMPANY
          ATTN: ANDREW TRINGALI                                                 Contingent
          1731 TECHNOLOGY DRIVE                                                 Unliquidated
          SUITE 800                                                             Disputed
          SAN JOSE, CA 95110
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $657.00
          AN ALLIED UNIVERSAL COMPANY
          ATTN: ANDREW TRINGALI                                                 Contingent
          1731 TECHNOLOGY DRIVE                                                 Unliquidated
          SUITE 800                                                             Disputed
          SAN JOSE, CA 95110
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $216,132.93
          ANAHEIM GATEWAY LLC
          ATTN: LEAH KORNICKEY                                                  Contingent
          C/O ROBERTSON PROPERTIES GROUP                                        Unliquidated
          120 N. ROBERTSON BLVD.                                                Disputed
          LOS ANGELES, CA 90048
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 126 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 243 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,359.55
          ANAHEIM GATEWAY LLC
          ATTN: LEAH KORNICKEY                                                  Contingent
          C/O ROBERTSON PROPERTIES GROUP                                        Unliquidated
          120 N. ROBERTSON BLVD.                                                Disputed
          LOS ANGELES, CA 90048
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $69,000.00
          ANAPLAN INC                                                           Contingent
          50 HAWTHORNE ST                                                       Unliquidated
          SAN FRANCISCO, CA 94105
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ANDRAS P DALLOS                                                       Contingent
          3112 CAMDON CT                                                        Unliquidated
          PLEASANTON, CA 94588                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ANDREW G DEWEY                                                        Contingent
          4817 ALGONQUIN CT                                                     Unliquidated
          SAN DIEGO, CA 92130                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ANG LI                                                                Contingent
          4413 SHOREPOINTE WAY                                                  Unliquidated
          SAN DIEGO, CA 92130                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $46.37
          ANGULO DANIEL                                                         Contingent
          3007 GEHLAR RD NW APT 1010                                            Unliquidated
          SALEM, OR 97304
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $92.80
          ANKENY RYAN                                                           Contingent
          79918 SWANSEA                                                         Unliquidated
          INDIO, CA 92203
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 127 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 244 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $467.50
          ANKURA CONSULTING GROUP LLC                                           Contingent
          ATTN: DONALD LEHMAN                                                   Unliquidated
          P.O. BOX 74007073                                                     Disputed
          CHICAGO, IL 60674-7043
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $649,343.56
          ANNAPOLIS TOWNE CENTER AT PAROLE
          LLC                                                                   Contingent
          PRLHCANNAPOLIS TWNCNTR PAROLE                                         Unliquidated
          162302                                                                Disputed
          NEW YORK, NY 10087
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,453.00
          ANTELLOPE VALLEY HOSPITAL                                             Contingent
          P.O. BOX 512869                                                       Unliquidated
          LOS ANGELES, CA 90051                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $196,562.66
          ANTELOPE MARKETPLACE STATION LLC                                      Contingent
          ATTN: KIMBERLY KINMAN                                                 Unliquidated
          PO BOX 851314                                                         Disputed
          MINNEAPOLIS, MN 55485-1314
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,731.93
          ANTELOPE MARKETPLACE STATION LLC                                      Contingent
          PO BOX 851314                                                         Unliquidated
          MINNEAPOLIS, MN 55485-1314
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,066.97
          ANTELOPE VALLEY MALL LLC
          ATTN: CARLA BOHN                                                      Contingent
          222 N. SEPULVEDA BLVD                                                 Unliquidated
          SUITE 2350                                                            Disputed
          EL SEGUNDO, CA 90245
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ANTHONY J UEBER                                                       Contingent
          2207 HARTLAND ROAD                                                    Unliquidated
          FRANKLIN, TN 37069                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 128 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 245 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $199,469.66
          ANTHONY M FERNICOLA                                                   Contingent
          C/O FERNICOLA DELEWARE, LLC                                           Unliquidated
          801 ARNOLD AVENUE                                                     Disputed
          POINT PLEASANT BEACH, NJ 08742
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $65,487.77
          ANTHONY M FERNICOLA                                                   Contingent
          C/O FERNICOLA DELEWARE, LLC                                           Unliquidated
          801 ARNOLD AVENUE
                                                                                Disputed
          POINT PLEASANT BEACH, NJ 08742
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $856.27
          APPCAST INC                                                           Contingent
          ATTN: ROSE BROWN                                                      Unliquidated
          PO BOX 392472                                                         Disputed
          PITTSBURGH, PA 15251-9472
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,186.89
          APPLE VALLEY RANCHOS WATER                                            Contingent
          COMPANY                                                               Unliquidated
          PO BOX 7005
                                                                                Disputed
          APPLE VALLEY, CA 92307
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,904.68
          APRIVA LLC
          ATTN: MARIA HARGRAVE                                                  Contingent
          7600 N 16TH ST                                                        Unliquidated
          STE 230                                                               Disputed
          PHOENIX, AZ 85020
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,426.03
          APRIVA LLC                                                            Contingent
          7600 N 16TH ST                                                        Unliquidated
          STE 230
                                                                                Disputed
          PHOENIX, AZ 85020
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vending Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $153,332.30
          ARAPAHOE COUNTY TREASURER                                             Contingent
          ATTN: CHARLOTTE WELLS                                                 Unliquidated
          P.O. BOX 571                                                          Disputed
          LITTLETON, CO 80160-0571
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 129 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 246 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $58,164.00
          ARAPAHOE COUNTY TREASURER                                             Contingent
          P.O. BOX 571                                                          Unliquidated
          LITTLETON, CO 80160-0571
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $289,378.98
          ARC HRPWOTX001 LP
          ATTN: TERESA HUFFAKER                                                 Contingent
          ID: 065737                                                            Unliquidated
          P O BOX 847390                                                        Disputed
          DALLAS, TX 75284-7390
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,981.35
          ARC PTSCHIL001 LLC                                                    Contingent
          38 WASHINGTON SQUARE                                                  Unliquidated
          NEWPORT, RI 02840
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,067.86
          ARC PTSCHIL001 LLC                                                    Contingent
          ATTN: KATIE DAVIS                                                     Unliquidated
          38 WASHINGTON SQUARE                                                  Disputed
          NEWPORT, RI 02840
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,625.00
          ARC PTSCHIL001 LLC                                                    Contingent
          38 WASHINGTON SQUARE                                                  Unliquidated
          NEWPORT, RI 02840
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent accrual
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $206.22
          ARC PTSCHIL001 LLC                                                    Contingent
          38 WASHINGTON SQUARE                                                  Unliquidated
          NEWPORT, RI 02840
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $744.76
          ARCADIA ROOFING COMPANY LLC                                           Contingent
          ATTN: PATTY HERNANDEZ                                                 Unliquidated
          2632 CHALK HILL ROAD                                                  Disputed
          DALLAS, TX 75212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 130 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 247 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $155.00
          ARENS ELECTRIC INC.                                                   Contingent
          ATTN: AMY ARENS                                                       Unliquidated
          4735 SO. SANTA FE CR.                                                 Disputed
          ENGLEWOOD, CO 80110-6468
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $174.19
          ARIAS LUGO JOHANNY                                                    Contingent
          3618 IRWIN AVE                                                        Unliquidated
          BRONX, NY 10463
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ARIZONA DEPARTMENT OF REVENUE                                         Contingent
          P.O. BOX 29079
                                                                                Unliquidated
          PHOENIX, AZ 85038-9079
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    State of Arizona Income Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,349.63
          ARK LOCK & KEY                                                        Contingent
          ATTN: MICHAEL HURSH                                                   Unliquidated
          PO BOX 4661                                                           Disputed
          ANTIOCH, CA 94509
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,364.79
          ARLINGTON UTILITIES                                                   Contingent
          P.O. BOX 90020                                                        Unliquidated
          ARLINGTON, TX 76004-3020                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $772.50
          ARLINGTON UTILITIES                                                   Contingent
          P.O. BOX 90020                                                        Unliquidated
          ARLINGTON, TX 76004-3020
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $155,200.87
          ARNOLD SCHLESINGER                                                    Contingent
          9595 WILSHIRE BLVD                                                    Unliquidated
          SUITE 710                                                             Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 131 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 248 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,262.35
          ARROWHEAD MOUNTAIN SPRING WATER                                       Contingent
          375 PARAMOUNT DRIVE                                                   Unliquidated
          RAYNHAM, MA 02767                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $655.00
          ARROYO PLUMBING AND DRAIN INC
          ATTN: MATT PATRICK                                                    Contingent
          650 LINCOLN AVE                                                       Unliquidated
          SUITE D                                                               Disputed
          SAN JOSE, CA 95126
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $181.08
          ASAP SECURITY SERVICES                                                Contingent
          ATTN: JEFF ENLOW                                                      Unliquidated
          8713 FALLBROOK DR.                                                    Disputed
          HOUSTON, TX 77064
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $70,611.00
          ASCAP                                                                 Contingent
          21678 NETWORK PLACE                                                   Unliquidated
          CHICAGO, IL 60673-1216
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    License fee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,523,776.60
          AT KEARNEY INC                                                        Contingent
          ATTN: JOHN FIORENTINO                                                 Unliquidated
          227 WEST MONROE STREET                                                Disputed
          CHICAGO, IL 60606
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,773.72
          AT&T                                                                  Contingent
          P.O. BOX 22111                                                        Unliquidated
          TULSA, OK 74121-2111
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telecom
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $890.99
          AT&T                                                                  Contingent
          P.O. BOX 22111                                                        Unliquidated
          TULSA, OK 74121-2111
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telecom
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 132 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 249 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,705.88
          AT&T SUMMARY                                                          Contingent
          PAYMENT CENTER                                                        Unliquidated
          SACRAMENTO, CA 95887-0001
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,125.76
          AT&T WI FI SERVICES                                                   Contingent
          PO BOX 5005                                                           Unliquidated
          CAROL STREAM, IL 60197-5005
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,615.52
          ATHENS SERVICES, CA                                                   Contingent
          14048 VALLEY BLVD.                                                    Unliquidated
          CITY OF INDUSTRY, CA 91716-0009                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,095.97
          ATHENS SERVICES, CA                                                   Contingent
          14048 VALLEY BLVD.                                                    Unliquidated
          CITY OF INDUSTRY, CA 91716-0009
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $474.52
          ATHENS SERVICES, CA                                                   Contingent
          14048 VALLEY BLVD.                                                    Unliquidated
          CITY OF INDUSTRY, CA 91716-0009
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $235,778.19
          ATLANTIC TIMES SQUARE II LLC
          ATTN: VICTORIA LAM                                                    Contingent
          411 E. HUNTINGTON DRIVE                                               Unliquidated
          UNIT 305                                                              Disputed
          ARCADIA, CA 91006
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,807.51
          ATLANTIC TIMES SQUARE II LLC
          ATTN: VICTORIA LAM                                                    Contingent
          411 E. HUNTINGTON DRIVE                                               Unliquidated
          UNIT 305                                                              Disputed
          ARCADIA, CA 91006
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 133 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 250 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $800.00
          ATLAS CRANE INC                                                       Contingent
          ATTN: ERIC LARIVIERE                                                  Unliquidated
          3120 N NELLIS BLVD
                                                                                Disputed
          LAS VEGAS, NV 89115
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $420.00
          ATLAS CRANE INC                                                       Contingent
          ATTN: ERIC LARIVIERE                                                  Unliquidated
          3120 N NELLIS BLVD                                                    Disputed
          LAS VEGAS, NV 89115
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,803.39
          ATLASSIAN PTY LTD                                                     Contingent
          32151 COLLECTIONS CENTER DRIVE                                        Unliquidated
          CHICAGO, IL 60693-0321                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,663.73
          ATMOS ENERGY/78108                                                    Contingent
          1820 E. SKYHARBOR CIRCLE S.                                           Unliquidated
          PHOENIX, AZ 85034
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,436.86
          ATMOS ENERGY/78108                                                    Contingent
          1820 E. SKYHARBOR CIRCLE S.                                           Unliquidated
          PHOENIX, AZ 85034                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $91.45
          ATMOS ENERGY/78108                                                    Contingent
          1820 E. SKYHARBOR CIRCLE S.                                           Unliquidated
          PHOENIX, AZ 85034
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $136,988.35
          ATOMIC INVESTMENTS INC.                                               Contingent
          3200 B4-2 HIGHLAND AVENUE                                             Unliquidated
          NATIONAL CITY, CA 91950                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 134 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 251 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,305.33
          ATOMIC INVESTMENTS INC.                                               Contingent
          3200 B4-2 HIGHLAND AVENUE                                             Unliquidated
          NATIONAL CITY, CA 91950
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,114.01
          AURORA WATER                                                          Contingent
          15151 E. ALAMEDA PARKWAY                                              Unliquidated
          AURORA, CO 80012                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,744.79
          AURORA WATER                                                          Contingent
          P.O. BOX 719117                                                       Unliquidated
          DENVER, CO 80271-9117
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $110.00
          AUSTIN POLICE DEPARTMENT                                              Contingent
          P.O. BOX 684279                                                       Unliquidated
          AUSTIN, TX 78768-4279
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.90
          AUSTIN POLICE DEPARTMENT                                              Contingent
          P.O. BOX 684279                                                       Unliquidated
          AUSTIN, TX 78768-4279                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $302.52
          AUSTIN-TRAVIS COUNTY HEALTH
          HUMAN SERVICES DEPARTMENT                                             Contingent
          ENVIRONMENTAL HEALTH SERVICES                                         Unliquidated
          DIVISION                                                              Disputed
          AUSTIN, TX 78714
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $336,562.84
          AV NOW INC
          ATTN: KEN LYON                                                        Contingent
          100 PIONEER ST                                                        Unliquidated
          SUITE B                                                               Disputed
          SANTA CRUZ, CA 95060
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 135 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 252 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,166.84
          AV NOW INC                                                            Contingent
          100 PIONEER ST                                                        Unliquidated
          SUITE B
                                                                                Disputed
          SANTA CRUZ, CA 95060
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,344.04
          AVERTIUM LLC                                                          Contingent
          ATTN: CAROLYN VASKO                                                   Unliquidated
          P.O. BOX 45756                                                        Disputed
          BALTIMORE, MD 21297-5756
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $196,762.72
          AVG - AUSTIN LP                                                       Contingent
          9595 WILSHIRE BOULEVARD STE 700                                       Unliquidated
          BEVERLY HILLS, CA 90212                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $82,172.64
          AVG - AUSTIN LP                                                       Contingent
          9595 WILSHIRE BOULEVARD STE 700                                       Unliquidated
          BEVERLY HILLS, CA 90212
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $144,198.50
          AVG CHULA VISTA LLC                                                   Contingent
          9595 WILSHIRE BLVD #700                                               Unliquidated
          BEVERLY HILLS, CA 90212                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $366,777.35
          AVG CYPRESS LP                                                        Contingent
          ATTN: LAURA GAY                                                       Unliquidated
          PO BOX 844088                                                         Disputed
          LOS ANGELES, CA 90084-4088
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,919.93
          AVG CYPRESS LP                                                        Contingent
          9595 WILSHIRE BLVD                                                    Unliquidated
          STE 700
                                                                                Disputed
          BEVERLY HILLS, CA 90212
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 136 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 253 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $82,471.96
          AVG LAGUNA LLC                                                        Contingent
          9595 WILSHIRE BLVD                                                    Unliquidated
          SUITE 700                                                             Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $243,441.50
          AVG OAKLAND LLC                                                       Contingent
          9595 WILSHIRE BLVD #700                                               Unliquidated
          BEVERLY HILLS, CA 90212                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $57,813.45
          AVG OAKLAND LLC                                                       Contingent
          9595 WILSHIRE BLVD #700                                               Unliquidated
          BEVERLY HILLS, CA 90212
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $151,895.90
          AVG PARTNERS                                                          Contingent
          ATTN: ARNOLD SCHLESINGER                                              Unliquidated
          9595 WILSHIRE BLVD #700                                               Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $151,494.45
          AVG PARTNERS                                                          Contingent
          9595 WILSHIRE BL. STE 710                                             Unliquidated
          BEVERLY HILLS, CA 90212                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,753.06
          AVG PARTNERS                                                          Contingent
          9595 WILSHIRE BL. STE 710                                             Unliquidated
          BEVERLY HILLS, CA 90212
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,593.52
          AVG PARTNERS                                                          Contingent
          9595 WILSHIRE BL. STE 710                                             Unliquidated
          BEVERLY HILLS, CA 90212
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 137 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 254 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,065.57
          AVG PARTNERS                                                          Contingent
          9595 WILSHIRE BL. STE 710                                             Unliquidated
          BEVERLY HILLS, CA 90212
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $244,343.04
          AVG PARTNERS I LLC                                                    Contingent
          9595 WILSHIRE BLVD                                                    Unliquidated
          STE 700                                                               Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $169,522.11
          AVG PARTNERS I LLC
          ATTN: LAURA GAY                                                       Contingent
          9595 WILSHIRE BLVD                                                    Unliquidated
          STE 700                                                               Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $64,310.91
          AVG PARTNERS I LLC                                                    Contingent
          9595 WILSHIRE BLVD                                                    Unliquidated
          STE 700
                                                                                Disputed
          BEVERLY HILLS, CA 90212
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,650.21
          AVG PARTNERS I LLC                                                    Contingent
          9595 WILSHIRE BLVD                                                    Unliquidated
          STE 700
                                                                                Disputed
          BEVERLY HILLS, CA 90212
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $97,567.67
          AVG PUYALLUP LLC                                                      Contingent
          ATTN: LAMMIE HERTZ                                                    Unliquidated
          9595 WILSHIRE BLVD                                                    Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,398.81
          AVG PUYALLUP LLC                                                      Contingent
          9595 WILSHIRE BLVD                                                    Unliquidated
          BEVERLY HILLS, CA 90212
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 138 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 255 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $285,956.90
          AVI RESTORATION
          ATTN: JERRY RODRIGUEZ                                                 Contingent
          1439 W. CHAPMAN AVE                                                   Unliquidated
          # 52                                                                  Disputed
          ORANGE, CA 92868
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $54,000.00
          AVI RESTORATION                                                       Contingent
          1439 W. CHAPMAN AVE                                                   Unliquidated
          # 52
                                                                                Disputed
          ORANGE, CA 92868
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,175.00
          AVI RESTORATION                                                       Contingent
          1439 W. CHAPMAN AVE                                                   Unliquidated
          # 52
                                                                                Disputed
          ORANGE, CA 92868
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $4,210,514.08
          AXIOM CONSTRUCTION COMPANY LLC                                        Contingent
          ATTN: BRIAN MELTON                                                    Unliquidated
          1219 WUNSCHE LOOP                                                     Disputed
          SPRING, TX 77373
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,470.40
          AXIOM CONSTRUCTION COMPANY LLC                                        Contingent
          ATTN: BRIAN MELTON                                                    Unliquidated
          1219 WUNSCHE LOOP
                                                                                Disputed
          SPRING, TX 77373
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,260.00
          AXIOM CONSTRUCTION COMPANY LLC                                        Contingent
          ATTN: BRIAN MELTON                                                    Unliquidated
          1219 WUNSCHE LOOP
                                                                                Disputed
          SPRING, TX 77373
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,146,011.40
          AXIOM CONSTRUCTION COMPANY, LLC                                       Contingent
          1219 WUNSCHE LOOP
                                                                                Unliquidated
          SPRING, TX 77373
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 139 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 256 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,384.00
          AYOOB AND PEERY PLUMBING CO., INC                                     Contingent
          ATTN: JOHN MCHUGH                                                     Unliquidated
          975 INDIANA STREET                                                    Disputed
          SAN FRANCISCO, CA 94107
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $105,349.50
          BAI PARK PLACE LP                                                     Contingent
          C/O BON AVIV INVESTMENTS LLC                                          Unliquidated
          720 E. PALISADE AVENUE                                                Disputed
          ENGLEWOOD CLIFFS, NJ 07632
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,960.33
          BAI PARK PLACE LP                                                     Contingent
          PO BOX 713641                                                         Unliquidated
          CINCINNATI, OH 45271
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,252.23
          BALAZS FITNESS                                                        Contingent
          ATTN: BRIAN DEMARIS                                                   Unliquidated
          625 TODD ROAD                                                         Disputed
          HONEY BROOK, PA 19344
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $756,669.29
          BALLY TOTAL FITNESS CORPORATION                                       Contingent
          8700 WEST BRYN MAWR AVENUE                                            Unliquidated
          CHICAGO, IL 60631
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Bally's Certificate of Occupancy
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,563.01
          BALLY TOTAL FITNESS CORPORATION                                       Contingent
          8700 WEST BRYN MAWR AVENUE                                            Unliquidated
          CHICAGO, IL 60631
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $239,229.64
          BALLYBRACK GROUP LLC                                                  Contingent
          1050 RALSTON AVENUE                                                   Unliquidated
          BELMONT, CA 94002                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 140 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 257 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,586.70
          BALLYBRACK GROUP LLC                                                  Contingent
          C/O WOODMONT REAL STATE SERVICES                                      Unliquidated
          1000 RALSTON AVE
                                                                                Disputed
          BELMONT, CA 94002
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $984.39
          BALTIMORE GAS AND ELECTRIC                                            Contingent
          PO BOX 13070                                                          Unliquidated
          C/O CONSTELLATION ENERGY GROUP
                                                                                Disputed
          PHILADELPHIA, PA 19101-3070
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          BARTER HOUSE PRODUCTIONS INC                                          Contingent
          ATTN: NICOLE HAVRE                                                    Unliquidated
          1026 E ELMWOOD AVE                                                    Disputed
          BURBANK, CA 91501
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $205,118.84
          BASSER KAUFMAN REAL ESTATE PTRS                                       Contingent
          LLC                                                                   Unliquidated
          151 IRVING PLACE                                                      Disputed
          WOODMERE, NY 11598
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,081.18
          BASSER KAUFMAN REAL ESTATE PTRS                                       Contingent
          LLC                                                                   Unliquidated
          151 IRVING PLACE
                                                                                Disputed
          WOODMERE, NY 11598
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,210.99
          BASSER KAUFMAN REAL ESTATE PTRS                                       Contingent
          LLC                                                                   Unliquidated
          151 IRVING PLACE
                                                                                Disputed
          WOODMERE, NY 11598
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,725.00
          BAY AREA BIN SUPPORT                                                  Contingent
          PO BOX 5593                                                           Unliquidated
          SOUTH SAN FRANCISCO, CA 94083-5593                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 141 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 258 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,026.33
          BAY WIDE GLASS, INC                                                   Contingent
          ATTN: DANIEL BONVIC                                                   Unliquidated
          P.O. BOX 2089                                                         Disputed
          SAN RAMON, CA 94583
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          BEDFORD POLICE DEPARTMENT                                             Contingent
          RECORDS DIVISION                                                      Unliquidated
          2121 L DON DODSON DR
                                                                                Disputed
          BEDFORD, TX 76021
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33.08
          BEKHALO ALEXANDER                                                     Contingent
          1271 BOYNTON ST                                                       Unliquidated
          APT 12
                                                                                Disputed
          GLENDALE, CA 91205
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,861.32
          BELLEVUE PACIFIC LLC                                                  Contingent
          C/O JSH PROPERTIES INC                                                Unliquidated
          10655 NE 4TH STREET
                                                                                Disputed
          BELLEVUE, WA 98004
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $202,846.68
          BELMAR COMMERCIAL OWNER L P
          ATTN: LARY HERKAL                                                     Contingent
          LOCKBOX SERVICES 912904                                               Unliquidated
          MAC C7301-L25                                                         Disputed
          DENVER, CO 80274
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,318.08
          BELMAR COMMERCIAL OWNER L P
          ATTN: LARY HERKAL                                                     Contingent
          LOCKBOX SERVICES 912904                                               Unliquidated
          MAC C7301-L25                                                         Disputed
          DENVER, CO 80274
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $616.45
          BELMAR COMMERCIAL OWNER L P
          ATTN: LARY HERKAL                                                     Contingent
          LOCKBOX SERVICES 912904                                               Unliquidated
          MAC C7301-L25                                                         Disputed
          DENVER, CO 80274
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 142 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 259 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          BENJAMIN C RANDALL                                                    Contingent
          3069 TAHOE PL                                                         Unliquidated
          SAN RAMON, CA 94582                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          BENJAMIN J CAMPER                                                     Contingent
          727 LONGFELLOW AVE                                                    Unliquidated
          HERMOSA BEACH, CA 90254                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $268,514.65
          BERKADIA COMMERCIAL MORTGAGE LLC                                      Contingent
          521 FIFTH AVENUE                                                      Unliquidated
          20TH FLOOR                                                            Disputed
          NEW YORK, NY 10175
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $101,471.72
          BERKADIA COMMERCIAL MORTGAGE LLC                                      Contingent
          521 FIFTH AVENUE                                                      Unliquidated
          20TH FLOOR
                                                                                Disputed
          NEW YORK, NY 10175
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $89,194.67
          BETTY JEAN LOUIE III LIMITED                                          Contingent
          PARTNERSHIP                                                           Unliquidated
          667 GRANT AVE                                                         Disputed
          SAN FRANCISCO, CA 94108
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $91,430.70
          BHF A CALIFORNIA LIMITED PARTNERSHIP                                  Contingent
          C/O TITUS PROPERTIES, LLC                                             Unliquidated
          1748 W. KATELLA AVE., STE. 206                                        Disputed
          ORANGE, CA 92867
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,439.32
          BHF A CALIFORNIA LIMITED PARTNERSHIP                                  Contingent
          C/O TITUS PROPERTIES, LLC                                             Unliquidated
          1748 W. KATELLA AVE., STE. 206
                                                                                Disputed
          ORANGE, CA 92867
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 143 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 260 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,606.88
          BINSWANGER GLASS                                                      Contingent
          ATTN: JIMMY HANCZOR                                                   Unliquidated
          PO BOX 679331                                                         Disputed
          DALLAS, TX 75267-9331
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $123,544.90
          BIO-ENGINEERED SUPPLEMENTS &
          NUTRITION                                                             Contingent
          ATTN: PAUL LISIECKI                                                   Unliquidated
          PO BOX 934667                                                         Disputed
          ATLANTA, GA 31193-4667
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $42,336.00
          BIONUTRITIONAL RESEARCH GROUP
          ATTN: JENNIFER PERA                                                   Contingent
          6 MORGAN                                                              Unliquidated
          SUITE 100                                                             Disputed
          IRVINE, CA 92618
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $138,704.21
          BLACK CHERRY LLC                                                      Contingent
          DEPT 101010-20560-210                                                 Unliquidated
          P.O. BOX 532614                                                       Disputed
          ATLANTA, GA 30353-2614
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $422.71
          BLACK HILLS ENERGY                                                    Contingent
          PO BOX 6001                                                           Unliquidated
          RAPID CITY, SD 57709-6001
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          BLAISDELL CURTIS                                                      Contingent
          4209 BLACKTON DR                                                      Unliquidated
          LA MESA, CA 91941
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38.37
          BLANCO SAMANTHA                                                       Contingent
          659 N HELIOTROPE DR #4                                                Unliquidated
          LOS ANGELES, CA 90004
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 144 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 261 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,746.66
          BLUE SHIELD OF CALIFORNIA                                             Contingent
          P.O. BOX 272560                                                       Unliquidated
          CHICO, CA 95927-2560                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,938.92
          BLUIP INC                                                             Contingent
          410 S RAMPART BLVD                                                    Unliquidated
          SUITE 460
                                                                                Disputed
          LAS VEGAS, NV 89145
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telecom
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $127,444.45
          BMS REALTY COMPANY LLC                                                Contingent
          100 CEDAR AVE                                                         Unliquidated
          HEWLETT BAY PARK, NY 11557                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $79.89
          BOARD OF WATER SUPPLY                                                 Contingent
          CITY AND COUNTY OF HONOLULU                                           Unliquidated
          630 SOUTH BERETANIA STREET
                                                                                Disputed
          HONOLULU, HI 96813
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300.00
          BOROUGH OF HASBROUCK HEIGHTS                                          Contingent
          ATTN: FIRE PREVENTION BUREAU                                          Unliquidated
          248 HAMILTON AVE
                                                                                Disputed
          HASBROUCK HEIGHTS, NJ 07604
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,330.16
          BOROWIDE RECYCLING                                                    Contingent
          3 RAILROAD PLACE                                                      Unliquidated
          MASPETH, NY 11378                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23.56
          BOSSANO DANIEL                                                        Contingent
          2030 S OCEAN DR                                                       Unliquidated
          APT 417
                                                                                Disputed
          HALLANDALE BEACH, FL 33009-6606
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 145 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 262 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,342.00
          BOULDER COUNTY TREASURER                                              Contingent
          P.O. BOX 471                                                          Unliquidated
          BOULDER, CO 80306
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,483.82
          BOULDER COUNTY TREASURER                                              Contingent
          P.O. BOX 471                                                          Unliquidated
          BOULDER, CO 80306                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,000.00
          BOX 24 STUDIO                                                         Contingent
          ATTN: DAN SPITZ                                                       Unliquidated
          945 LAKE STREET                                                       Disputed
          VENICE, CA 90291
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $647,686.35
          BP-CGCENTER I LLC                                                     Contingent
          P.O.BOX 419003                                                        Unliquidated
          BOSTON, MA 02241-9003                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $70,907.03
          BP-CGCENTER I LLC                                                     Contingent
          P.O.BOX 419003                                                        Unliquidated
          BOSTON, MA 02241-9003
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $44,280.00
          BPI SPORTS LLC
          ATTN: CHRIS MACKENZIE                                                 Contingent
          3149 SW 42ND ST                                                       Unliquidated
          SUITE 200                                                             Disputed
          HOLLYWOOD, FL 33312
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16.10
          BRACERO KRISTIAN                                                      Contingent
          910 SPRING HARVEST CT                                                 Unliquidated
          ORLANDO, FL 32828
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 146 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 263 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $110,405.68
          BRADSHAW CORPORATE PLAZA                                              Contingent
          9857 HORN ROAD                                                        Unliquidated
          SACRAMENTO, CA 95827                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,122.08
          BRADSHAW CORPORATE PLAZA                                              Contingent
          9857 HORN ROAD                                                        Unliquidated
          SACRAMENTO, CA 95827
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,354.00
          BRAZORIA COUNTY TAX
          ASSESSOR-COLLECTOR                                                    Contingent
          RO'VIN GARRETT RTA                                                    Unliquidated
          PO BOX 1586                                                           Disputed
          LAKE JACKSON, TX 77566
                                                                             Basis for the claim:    Personal Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $138,455.42
          BRAZOS TC SOUTH-PARTNERSHIP D LP
          ATTN: CASSANDRA BODO                                                  Contingent
          8827 W SAM HOUSTON PARKWAY N                                          Unliquidated
          SUITE 200                                                             Disputed
          HOUSTON, TX 77040
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $94,401.42
          BRAZOS TC SOUTH-PARTNERSHIP D LP
          ATTN: CASSANDRA BODO                                                  Contingent
          8827 W SAM HOUSTON PARKWAY N                                          Unliquidated
          SUITE 200                                                             Disputed
          HOUSTON, TX 77040
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $65,228.76
          BRAZOS TC SOUTH-PARTNERSHIP D LP
          ATTN: CASSANDRA BODO                                                  Contingent
          8827 W SAM HOUSTON PARKWAY N                                          Unliquidated
          SUITE 200                                                             Disputed
          HOUSTON, TX 77040
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $555,940.35
          BRE DDR BR CORNERSTAR CO LLC                                          Contingent
          DEPT # 342012 - 25125 - 57742                                         Unliquidated
          P.O. BOX 205387                                                       Disputed
          DALLAS, TX 75320-5387
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 147 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 264 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,298.94
          BRE DDR BR CORNERSTAR CO LLC                                          Contingent
          DEPT # 342012 - 25125 - 57742                                         Unliquidated
          P.O. BOX 205387
                                                                                Disputed
          DALLAS, TX 75320-5387
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $296,184.06
          BRE DDR CROCODILE FALCON RIDGE
          ATTN: DEBBIE FULTZ                                                    Contingent
          TWO CENTER II LLC                                                     Unliquidated
          DEPT. 101010 21453 58890                                              Disputed
          CLEVELAND, OH 44193
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,626.97
          BRE DDR CROCODILE FALCON RIDGE
          ATTN: DEBBIE FULTZ                                                    Contingent
          TWO CENTER II LLC                                                     Unliquidated
          DEPT. 101010 21453 58890                                              Disputed
          CLEVELAND, OH 44193
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $54,113.60
          BRE DDR FLATACRES MARKERPLACE LLC                                     Contingent
          ATTN: ANTHONY SASSANO                                                 Unliquidated
          3300 ENTERPRISE PARKWAY                                               Disputed
          BEACHWOOD, OH 44122
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,449.33
          BRE DDR FLATACRES MARKERPLACE LLC                                     Contingent
          ATTN: ANTHONY SASSANO                                                 Unliquidated
          3300 ENTERPRISE PARKWAY
                                                                                Disputed
          BEACHWOOD, OH 44122
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,867.77
          BRE DDR FLATACRES MARKERPLACE LLC                                     Contingent
          ATTN: ANTHONY SASSANO                                                 Unliquidated
          3300 ENTERPRISE PARKWAY
                                                                                Disputed
          BEACHWOOD, OH 44122
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,748.91
          BRE RETAIL RESIDUAL OWNER 1, LLC                                      Contingent
          C/O BRIXMOR PROPERTY GROUP, INC.                                      Unliquidated
          3901 BELLAIRE BOULEVARD
                                                                                Disputed
          HOUSTON, TX 77025
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 148 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 265 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $86,957.72
          BRENTWOOD HOLDING COMPANY                                             Contingent
          180 SOUTH SPRUCE AVENUE, #160                                         Unliquidated
          SOUTH SAN FRANCISCO, CA 94080
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $82,392.17
          BRENTWOOD HOLDING COMPANY                                             Contingent
          180 SOUTH SPRUCE AVENUE, #160                                         Unliquidated
          SOUTH SAN FRANCISCO, CA 94080                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          BRIAN L LOW                                                           Contingent
          19304 MT. LASSEN DR                                                   Unliquidated
          CASTRO VALLEY, CA 94552                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $434.78
          BRICOR ANALYTICAL, INCORPORATED                                       Contingent
          P.O. BOX 7333                                                         Unliquidated
          PETALUMA, CA 94955                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12.33
          BRIGHT HOUSE NETWORKS - PASADENA                                      Contingent
          3849 SOLUTIONS CENTER                                                 Unliquidated
          PASADENA, CA 91109-7174
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36.80
          BRIGHT TORREY                                                         Contingent
          8815 CORBIN AVE                                                       Unliquidated
          NORTHRIDGE, CA 91324-3310
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $360,756.87
          BRIGHTVIEW ENTERPRISES SOLUTIONS
          LLC                                                                   Contingent
          ATTN: JEN MURRAY                                                      Unliquidated
          3849 SOLUTIONS CENTER                                                 Disputed
          CHICAGO, IL 60677-3008
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 149 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 266 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,516.61
          BRINKS INCORPORATED                                                   Contingent
          ATTN: KIM MEUSHAW                                                     Unliquidated
          7373 SOLUTIONS CENTER                                                 Disputed
          CHICAGO, IL 60677-7003
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,298.17
          BRINKS INCORPORATED                                                   Contingent
          ATTN: KIM MEUSHAW                                                     Unliquidated
          7373 SOLUTIONS CENTER
                                                                                Disputed
          CHICAGO, IL 60677-7003
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          BRIONES, JUSTIN                                                       Contingent
          1589 ORCHARD AVE                                                      Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $68,320.80
          BRITE FUTURE PLUMBING INC                                             Contingent
          ATTN: CANDY CORDERO                                                   Unliquidated
          2041 SW 70TH AVENUE #D15                                              Disputed
          DAVIE, FL 33317
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $224,145.77
          BRIXMOR GA APOLLO III TX LP                                           Contingent
          C/O BRIXMOR PROPERTY GROUP                                            Unliquidated
          PO BOX 645341                                                         Disputed
          CINCINNATI, OH 45264-5341
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,219.92
          BRIXMOR GA APOLLO III TX LP                                           Contingent
          C/O BRIXMOR PROPERTY GROUP                                            Unliquidated
          PO BOX 645341
                                                                                Disputed
          CINCINNATI, OH 45264-5341
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $161,346.08
          BRIXMOR HOLDINGS 1 SPE LLC
          ATTN: JENNIFER THURSTON                                               Contingent
          ONE FAYETTE STREET                                                    Unliquidated
          SUITE 150                                                             Disputed
          CONSHOHOCKEN, PA 19428
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 150 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 267 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,379.60
          BRIXMOR HOLDINGS 1 SPE LLC
          ATTN: JENNIFER THURSTON                                               Contingent
          ONE FAYETTE STREET                                                    Unliquidated
          SUITE 150                                                             Disputed
          CONSHOHOCKEN, PA 19428
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $127,136.37
          BRIXMOR HOLDINGS 12 SPE LLC                                           Contingent
          C/O BRIXMOR PROPERTY GROUP                                            Unliquidated
          PO BOX 645341                                                         Disputed
          CINCINNATI, OH 45264-5341
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $114,354.67
          BRIXMOR HOLDINGS 12 SPE LLC
          ATTN: STEVEN SIEGAL                                                   Contingent
          ONE FAYETTE STREET                                                    Unliquidated
          SUITE 150                                                             Disputed
          CONSHOHOCKEN, PA 19428
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,843.90
          BRIXMOR HOLDINGS 12 SPE LLC                                           Contingent
          C/O BRIXMOR PROPERTY GROUP                                            Unliquidated
          PO BOX 645341
                                                                                Disputed
          CINCINNATI, OH 45264-5341
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,087.24
          BRIXMOR SPE 2 LLC                                                     Contingent
          C/O BRIXMOR PROPERTY GROUP                                            Unliquidated
          PO BOX 645341
                                                                                Disputed
          CINCINNATI, OH 45264-5341
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,904.00
          BROADWAY MEDICAL CLINIC LLP                                           Contingent
          4212 NE BROADWAY                                                      Unliquidated
          PORTLAND, OR 97213
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Parking
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,832.02
          BROOKLYN YARD RETAIL                                                  Contingent
          C/O KIDDER MATHEWS -16170                                             Unliquidated
          PO BOX 34860 DEPARTMENT 16190
                                                                                Disputed
          SEATTLE, WA 98124-1860
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 151 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 268 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $320,751.52
          BROOKLYN YARD WATUMULL LLC                                            Contingent
          C/O KIDDER MATHEWS - DEPT-16170                                       Unliquidated
          PO BOX 34860                                                          Disputed
          SEATTLE, WA 98124
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $181,045.82
          BROOKLYN YARD WATUMULL LLC                                            Contingent
          C/O KIDDER MATHEWS - DEPT-16170                                       Unliquidated
          PO BOX 34860
                                                                                Disputed
          SEATTLE, WA 98124
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,298.00
          BROWARD COUNTY REVENUE                                                Contingent
          COLLECTION                                                            Unliquidated
          115 S ANDREWS AVENUE #A100
                                                                                Disputed
          FT LAUDERDALE, FL 33301-1895
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,069.50
          BROWN LARRY                                                           Contingent
          8022 DURHAM RUN LN                                                    Unliquidated
          RICHMOND, TX 77407
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,994.69
          BROWN SIMS PC                                                         Contingent
          1177 WEST LOOP SOUTH, 10TH FLOOR                                      Unliquidated
          HOUSTON, TX 77027-9007
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          BRYAN BURKE
          ATTN: BRYAN BURKE                                                     Contingent
          6551 WARNER AVE                                                       Unliquidated
          # 201                                                                 Disputed
          HUNTINGTON BEACH, CA 92647
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $46,945.14
          BT CARROLLTON LP
          ATTN: JENNIFER ENNIS                                                  Contingent
          200 DRYDEN ROAD                                                       Unliquidated
          SUITE 2000                                                            Disputed
          DRESHER, PA 19025
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 152 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 269 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,184.62
          BT CARROLLTON LP
          ATTN: JENNIFER ENNIS                                                  Contingent
          200 DRYDEN ROAD                                                       Unliquidated
          SUITE 2000                                                            Disputed
          DRESHER, PA 19025
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,109.69
          BT CARROLLTON LP                                                      Contingent
          200 DRYDEN ROAD                                                       Unliquidated
          SUITE 2000
                                                                                Disputed
          DRESHER, PA 19025
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent accrual
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10.93
          BUEHLER KIMBERLY                                                      Contingent
          2135 CROSSHAIR CIR                                                    Unliquidated
          ORLANDO, FL 32837
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $153,767.32
          BUILDERS ASSOCIATES                                                   Contingent
          C/O AVG PARTNERS                                                      Unliquidated
          9595 WILSHIRE BLVD                                                    Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $215,833.33
          BUILDERS ASSOCIATES 3
          ATTN: CHARLENE ALVAREZ                                                Contingent
          ATTN: ARNOLD SCHLESINGER                                              Unliquidated
          9595 WILSHIRE BLVD                                                    Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,511.38
          BUILDERS ASSOCIATES 3
          ATTN: CHARLENE ALVAREZ                                                Contingent
          ATTN: ARNOLD SCHLESINGER                                              Unliquidated
          9595 WILSHIRE BLVD                                                    Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $104,603.90
          BUILDING TECHNOLOGY SYSTEMS INC                                       Contingent
          ATTN: JACK LANN                                                       Unliquidated
          P.O. BOX 29609                                                        Disputed
          DENVER, CO 80229
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 153 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 270 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,198.00
          BUILDING TECHNOLOGY SYSTEMS INC                                       Contingent
          ATTN: JACK LANN                                                       Unliquidated
          P.O. BOX 29609
                                                                                Disputed
          DENVER, CO 80229
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,888.27
          BUNCH,DAVE L                                                          Contingent
          6252 POWELL ROAD                                                      Unliquidated
          PARKER, CO 80134
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,979.15
          BURBANK WATER AND POWER                                               Contingent
          PO BOX 631                                                            Unliquidated
          BURBANK, CA 91503-0631
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,605.23
          BURRTEC WASTE INDUSTRIES                                              Contingent
          15310 SUMMIT AVENUE                                                   Unliquidated
          FONTANA, CA 92336                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $521.86
          BURRTEC WASTE INDUSTRIES                                              Contingent
          P.O. BOX 5550                                                         Unliquidated
          BUENA PARK, CA 90622
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $335.94
          BURRTEC WASTE INDUSTRIES                                              Contingent
          15310 SUMMIT AVENUE                                                   Unliquidated
          FONTANA, CA 92336
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $289.24
          BURRTEC WASTE INDUSTRIES                                              Contingent
          P.O. BOX 5550                                                         Unliquidated
          BUENA PARK, CA 90622
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 154 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 271 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $225.99
          BURRTEC WASTE INDUSTRIES                                              Contingent
          P.O. BOX 5550                                                         Unliquidated
          BUENA PARK, CA 90622
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $173.51
          BURRTEC WASTE INDUSTRIES                                              Contingent
          P.O. BOX 5550                                                         Unliquidated
          BUENA PARK, CA 90622
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $170.22
          BURRTEC WASTE INDUSTRIES                                              Contingent
          P.O. BOX 5550                                                         Unliquidated
          BUENA PARK, CA 90622
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,586.85
          BYTE TECHNOLOGY
          ATTN: MATTHEW BAUGHMAN                                                Contingent
          101 GLACIER POINT                                                     Unliquidated
          SUITE A                                                               Disputed
          SAN RAFAEL, CA 94901
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $641.33
          C.P. DELIVERY                                                         Contingent
          ATTN: RON POTTER                                                      Unliquidated
          3541 KINGS CANYON COURT                                               Disputed
          PLEASANTON, CA 94588
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $60,894.24
          CAGWIN & DORWARD                                                      Contingent
          ATTN: JUDY ADAME                                                      Unliquidated
          PO BOX 1600                                                           Disputed
          NOVATO, CA 94948
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,732,327.55
          CAL SELECT BUILDERS, INC.                                             Contingent
          ATTN: GAIL NEWTON                                                     Unliquidated
          23253 LA PALMA AVE                                                    Disputed
          YORBA LINDA, CA 92887
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 155 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 272 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $190,132.57
          CAL SELECT BUILDERS, INC.                                             Contingent
          ATTN: GAIL NEWTON
                                                                                Unliquidated
          23253 LA PALMA AVE
          YORBA LINDA, CA 92887                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Construction
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,685.00
          CAL SELECT BUILDERS, INC.                                             Contingent
          ATTN: GAIL NEWTON                                                     Unliquidated
          23253 LA PALMA AVE
                                                                                Disputed
          YORBA LINDA, CA 92887
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,799.90
          CALIFORNIA PLUMBING PARTS
          ATTN: DAYANA PANTALEON                                                Contingent
          1912 N BATAVIA ST                                                     Unliquidated
          STE F                                                                 Disputed
          ORANGE, CA 92865
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,525.32
          CALIFORNIA WATER SERVICE                                              Contingent
          P.O. BOX 940001                                                       Unliquidated
          SAN JOSE, CA 95194-0001
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $281.06
          CALIFORNIA WATER SERVICE                                              Contingent
          P.O. BOX 940001                                                       Unliquidated
          SAN JOSE, CA 95194-0001
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $157,300.95
          CALITHO                                                               Contingent
          ATTN: GEORGE ARREOLA                                                  Unliquidated
          P.O. BOX 5698                                                         Disputed
          CONCORD, CA 94524
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,344.74
          CALITHO                                                               Contingent
          ATTN: GEORGE ARREOLA                                                  Unliquidated
          P.O. BOX 5698
          CONCORD, CA 94524                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Printing costs of Costco Certificates
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 156 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 273 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $177,918.98
          CAMINO VERDE ASSOCIATES                                               Contingent
          C/O DUCKETT-WILSON DEVELOPMENT CO                                     Unliquidated
          11150 SANTA MONICA BLVD., #760                                        Disputed
          LOS ANGELES, CA 90025
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,105.54
          CAMINO VERDE ASSOCIATES                                               Contingent
          C/O DUCKETT-WILSON DEVELOPMENT CO                                     Unliquidated
          11150 SANTA MONICA BLVD., #760
                                                                                Disputed
          LOS ANGELES, CA 90025
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,395.00
          CAPISTRANO CRANE SERVICE                                              Contingent
          P O BOX 2265                                                          Unliquidated
          CAPISTRANO BEACH, CA 92624                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,300.00
          CAPISTRANO CRANE SERVICE                                              Contingent
          P O BOX 2265                                                          Unliquidated
          CAPISTRANO BEACH, CA 92624
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $153,291.91
          CAPITAL MALL LAND LLC                                                 Contingent
          1 EAST WACKER DRIVE                                                   Unliquidated
          SUITE 3600                                                            Disputed
          CHICAGO, IL 60601
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $91,642.87
          CAPITAL MALL LAND LLC                                                 Contingent
          1 EAST WACKER DRIVE                                                   Unliquidated
          SUITE 3600
                                                                                Disputed
          CHICAGO, IL 60601
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $246,646.92
          CAPLOW DENVER LLC
          ATTN: YANINA ZAJDMAN                                                  Contingent
          C/O E.M. CAPLOW & ASSOCIATES                                          Unliquidated
          9533 PICO BLVD 2ND FLOOR                                              Disputed
          LOS ANGELES, CA 90035
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 157 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 274 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $69,991.43
          CAPLOW DENVER LLC                                                     Contingent
          C/O E.M. CAPLOW & ASSOCIATES                                          Unliquidated
          9533 PICO BLVD 2ND FLOOR
                                                                                Disputed
          LOS ANGELES, CA 90035
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $46.98
          CARANDANG ANTHONY GLEN                                                Contingent
          1402 JOYERIN CT.                                                      Unliquidated
          SAN JOSE, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $374,634.77
          CARBRIJAR LLC
          ATTN: ROBERT ZELMAN
          C/O GALAXY PROPERTY MANAGMENT                                         Contingent
          CORP                                                                  Unliquidated
          50 JACKSON AVENUE SUITE 301                                           Disputed
          SYOSSET, NY 11791
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          CAROLINA Y MARZAGAO                                                   Contingent
          241 JASMINE WAY                                                       Unliquidated
          DANVILLE, CA 94506                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $271,732.09
          CARRIER CORPORATION
          ATTN: PATTY SMITH                                                     Contingent
          CARRIER PARKWAY, A & R BLDG.                                          Unliquidated
          P.O. BOX 4808                                                         Disputed
          SYRACUSE, NY 13221
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,386.12
          CARRIER ENTERPRISE LLC
          ATTN: NATASHA CEASER                                                  Contingent
          1401 ERIE BOULEVARD EAST                                              Unliquidated
          SUITE 2                                                               Disputed
          SYRACUSE, NY 13210
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 158 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 275 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,688.19
          CARRIER ENTERPRISE LLC
          ATTN: NATASHA CEASER                                                  Contingent
          1401 ERIE BOULEVARD EAST                                              Unliquidated
          SUITE 2                                                               Disputed
          SYRACUSE, NY 13210
                                                                             Basis for the claim:    Purchase of fixed assets
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $61.74
          CARTER JERRY                                                          Contingent
          16369 SE DEER MEADOW LOOP                                             Unliquidated
          DAMASCUS, OR 97089
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          CASTER KEVIN                                                          Contingent
          1257 VIA CONTESSA                                                     Unliquidated
          SAN MARCOS, CA 92069
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          CASTILLO, JESUS                                                       Contingent
          7821 ARTESIA BLVD                                                     Unliquidated
          BUENA PARK, CA 90621
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $381,649.91
          CATALINA SHOPPES FLA LLC                                              Contingent
          4 EAST 80TH ST                                                        Unliquidated
          NEW YORK, NY 10021                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,735.00
          CATALINA SHOPPES FLA LLC                                              Contingent
          4 EAST 80TH ST                                                        Unliquidated
          NEW YORK, NY 10021
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          CATHY L BENSON                                                        Contingent
          7151 JOHNSTON RD                                                      Unliquidated
          PLEASANTON, CA 94588-9465                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 159 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 276 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $589.00
          CBF INC                                                               Contingent
          ATTN: ERICK SONDENO                                                   Unliquidated
          45 BROADWAY                                                           Disputed
          SAN FRANCISCO, CA 94111
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $866.50
          CCH INCORPORATED                                                      Contingent
          2700 LAKE COOK ROAD                                                   Unliquidated
          RIVERWOODS, IL 60015-3867                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $197,193.39
          CDW COMPUTER CENTERS, INC.                                            Contingent
          200 N. MILWAUKEE AVENUE                                               Unliquidated
          VERNON HILLS, IL 60061                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,071.24
          CDW COMPUTER CENTERS, INC.                                            Contingent
          200 N. MILWAUKEE AVENUE                                               Unliquidated
          VERNON HILLS, IL 60061
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,488.62
          CEDAR CARMANS LLC
          ATTN: SUDEEP KAUR
          C/O CEDAR REALTY TRUST PARTNERSHIP                                    Contingent
          LP                                                                    Unliquidated
          44 SOUTH BAYLES AVE SUITE 304                                         Disputed
          PORT WASHINGTON, NY 11050
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $83,012.58
          CEDAR CARMANS LLC
          ATTN: SUDEEP KAUR
          C/O CEDAR REALTY TRUST PARTNERSHIP                                    Contingent
          LP                                                                    Unliquidated
          44 SOUTH BAYLES AVE SUITE 304                                         Disputed
          PORT WASHINGTON, NY 11050
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,584.00
          CELERATIVE INC                                                        Contingent
          655 MONTGOMERY ST                                                     Unliquidated
          7TH FLOOR
                                                                                Disputed
          SAN FRANCISCO, CA 94111
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 160 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 277 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,125.00
          CELIA SHATZMAN ENTERPRISE INC
          ATTN: CELIA SHATZMAN                                                  Contingent
          19 DIAMOND ST.                                                        Unliquidated
          #1                                                                    Disputed
          BROOKLYN, NY 11222
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,793.53
          CEN-CAL GLASS                                                         Contingent
          PO BOX 925                                                            Unliquidated
          LINDEN, CA 95236                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,346.11
          CEN-CAL GLASS                                                         Contingent
          PO BOX 925                                                            Unliquidated
          LINDEN, CA 95236
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $169,155.42
          CENTENNIAL PROPERTIES INC                                             Contingent
          999 W RIVERSIDE AVE                                                   Unliquidated
          SPOKANE, WA 99201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $75,622.42
          CENTENNIAL PROPERTIES INC                                             Contingent
          999 W RIVERSIDE AVE                                                   Unliquidated
          SPOKANE, WA 99201
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $165,062.99
          CENTENNIAL SQUARE LLC                                                 Contingent
          ATTN: MICAHEL GARTENBERG                                              Unliquidated
          820 MORRIS TURNPIKE                                                   Disputed
          SHORT HILLS, NJ 07078
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,823.72
          CENTENNIAL SQUARE LLC                                                 Contingent
          820 MORRIS TURNPIKE                                                   Unliquidated
          SHORT HILLS, NJ 07078
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 161 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 278 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,647.48
          CENTER POINT ENERGY SERVICES INC                                      Contingent
          PO BOX 301149                                                         Unliquidated
          DALLAS, TX 75303-1149
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $790.37
          CENTER POINT ENERGY SERVICES INC                                      Contingent
          PO BOX 301149                                                         Unliquidated
          DALLAS, TX 75303-1149                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $207,718.49
          CENTIMARK CORPORATION                                                 Contingent
          ATTN: ROBERT WALKER                                                   Unliquidated
          PO BOX 536254                                                         Disputed
          PITTSBURGH, PA 15253-5904
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,045.80
          CENTURY PARK CENTER LLC                                               Contingent
          ATTN: BLDG ID : 24360                                                 Unliquidated
          P.O. BOX 209259
                                                                                Disputed
          AUSTIN, TX 78720-9259
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54.40
          CENTURYLINK SERVICES GROUP LLC                                        Contingent
          P.O. BOX 2961                                                         Unliquidated
          PHOENIX, AZ 85062-2961
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $197,246.74
          CEP INVESTORS XII LLC                                                 Contingent
          ATTN: ATTN: JILL PASSMANN/111 SUTTER                                  Unliquidated
          333 WEST WACKER DRIVE
                                                                                Disputed
          CHICAGO, IL 60606
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $230,979.22
          CERRITOS RETAIL CENTERCAL LLC                                         Contingent
          ATTN: GRETA WORTMAN                                                   Unliquidated
          1600 E. FRANKLIN AVENUE                                               Disputed
          EL SEGUNDO, CA 90245
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 162 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 279 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $124,280.13
          CERRITOS RETAIL CENTERCAL LLC                                         Contingent
          ATTN: GRETA WORTMAN                                                   Unliquidated
          1600 E. FRANKLIN AVENUE
                                                                                Disputed
          EL SEGUNDO, CA 90245
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          CHAMBERS, TROY                                                        Contingent
          1704 BRIARPATH LN.                                                    Unliquidated
          ARLINGTON, TX 76018
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,654.73
          CHANDLER SIGNS LLC
          ATTN: CARMEN CHAPMAN                                                  Contingent
          14201 SOVEREIGN RD                                                    Unliquidated
          STE 101                                                               Disputed
          FORT WORTH, TX 76155-2644
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          CHARLES T HUFF                                                        Contingent
          802 CAMINO RAMON                                                      Unliquidated
          APT 106                                                               Disputed
          DANVILLE, CA 94526
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          CHARLES T ORTEZ                                                       Contingent
          21 ROSEMARY COURT                                                     Unliquidated
          ROSEVILLE, CA 95678                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          CHARLES W MORIN                                                       Contingent
          40484 AMESBURY LANE                                                   Unliquidated
          TEMECULA, CA 92591                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,135.81
          CHARLESTON INVESTMENT GROUP                                           Contingent
          222 EAST PICO BLVD.                                                   Unliquidated
          LOS ANGELES, CA 90015
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 163 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 280 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,934.23
          CHARLIES PLUMBING INC                                                 Contingent
          ATTN: CATERA CERVANTES                                                Unliquidated
          10114 THERMON STREET                                                  Disputed
          HOUSTON, TX 77075
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $642.47
          CHARTER COMMUNICATIONS                                                Contingent
          P.O. BOX 78154                                                        Unliquidated
          PHOENIX, AZ 85062-8154
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,812.66
          CHARTERWOOD MUD                                                       Contingent
          11111 KATY FWY #725                                                   Unliquidated
          HOUSTON, TX 77079-2197
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51.35
          CHAU MARK                                                             Contingent
          2040 OAK PARK BLVD                                                    Unliquidated
          PLEASANT HILL, CA 94523
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $187,877.76
          CHE CHEN LIU & SHU FEN LIU                                            Contingent
          ATTN: ANDY LIU                                                        Unliquidated
          4076 OAK MANOR COURT                                                  Disputed
          HAYWARD, CA 94542
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $710.06
          CHEM AQUA INC                                                         Contingent
          2727 CHEMSEARCH BLVD                                                  Unliquidated
          IRVING, TX 75062                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,405.00
          CHEM DRY CORPORATE SERVICES
          ATTN: MARK SIEGEL                                                     Contingent
          124 12TH AVE SOUTH                                                    Unliquidated
          SUITE # 300                                                           Disputed
          NASHVILLE, TN 37203
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 164 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 281 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $59,230.26
          CHI CHIU LO TRUST                                                     Contingent
          PO BOX 5161                                                           Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $262,721.02
          CHINO CENTRAL GROUP LLC
          ATTN: AIMEE SANDEN                                                    Contingent
          730 EL CAMINO WAY                                                     Unliquidated
          SUITE 200                                                             Disputed
          TUSTIN, CA 92780
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,233.70
          CHINO CENTRAL GROUP LLC                                               Contingent
          730 EL CAMINO WAY                                                     Unliquidated
          SUITE 200
                                                                                Disputed
          TUSTIN, CA 92780
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $88,836.01
          CHISHOLM BASS ROUND ROCK KC LTD                                       Contingent
          C/O CENCOR REALTY SERVICES                                            Unliquidated
          P.O. BOX 660394                                                       Disputed
          DALLAS, TX 75266-0394
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $705.00
          CHLORINE GENIE INC                                                    Contingent
          ATTN: KEN DELUNAS                                                     Unliquidated
          1610 N REFUGIO RD
                                                                                Disputed
          SANTA YNEZ, CA 94360
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          CHRISTOPHER P RIORDAN                                                 Contingent
          6796 CORTE ADALINA                                                    Unliquidated
          CARLSBAD, CA 92009                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          CINEBODY                                                              Contingent
          ATTN: GAVIN ANSTEY                                                    Unliquidated
          3839 JACKSON STREET                                                   Disputed
          DENVER, CO 80205
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 165 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 282 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $922.81
          CINGULAR WIRELESS SUMMARY - 650553                                    Contingent
          P.O. BOX 650553                                                       Unliquidated
          DALLAS, TX 75265-0553
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,896.27
          CINTAS CORPORATION                                                    Contingent
          P.O. BOX631025                                                        Unliquidated
          CINCINNATI, OH 45263-1025
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $95,642.13
          CINTAS CORPORATION NO 2                                               Contingent
          ATTN: LYNA NGUYEN                                                     Unliquidated
          PO BOX 3086                                                           Disputed
          COPPELL, TX 75019
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,619.96
          CINTAS CORPORATION NO 2                                               Contingent
          ATTN: LYNA NGUYEN                                                     Unliquidated
          PO BOX 3086
                                                                                Disputed
          COPPELL, TX 75019
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50.00
          CINTAS CORPORATION NO 2                                               Contingent
          ATTN: LYNA NGUYEN                                                     Unliquidated
          PO BOX 3086
                                                                                Disputed
          COPPELL, TX 75019
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,800.00
          CIPHER SOLUTIONS INC                                                  Contingent
          ATTN: PHILIP SUMAMPOW                                                 Unliquidated
          1869 BALSAM WILLOW TRL                                                Disputed
          ORLANDO, FL 32825
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,659.18
          CIRCLE CITY ROOFING INC                                               Contingent
          ATTN: CINDY KLEPPE                                                    Unliquidated
          454 SIXTH STREET                                                      Disputed
          NORCO, CA 92860
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 166 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 283 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,165.34
          CITIZENS UTILITIES COMPANY                                            Contingent
          PO BOX 78357                                                          Unliquidated
          PHOENIX, AZ 85062
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.28
          CITIZENS UTILITIES COMPANY                                            Contingent
          PO BOX 78357                                                          Unliquidated
          PHOENIX, AZ 85062                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11.94
          CITIZENS UTILITIES COMPANY                                            Contingent
          PO BOX 78357                                                          Unliquidated
          PHOENIX, AZ 85062
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $608.50
          CITY OF ORANGE                                                        Contingent
          FINANCE DEPARTMENT                                                    Unliquidated
          P.O. BOX 11024
                                                                                Disputed
          ORANGE, CA 92668-8124
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $76.71
          CITY & COUNTY OF DENVER                                               Contingent
          MANAGER OF FINANCE                                                    Unliquidated
          201 W. COLFAX AVE                                                     Disputed
          DENVER, CO 80202
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,278.72
          CITY AND COUNTY OF DENVER, CO                                         Contingent
          P.O. BOX 17827                                                        Unliquidated
          WASTE MANAGEMENT DIVISION
                                                                                Disputed
          DENVER, CO 80217
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $921.19
          CITY OF LAKEWOOD                                                      Contingent
          5050 CLARK AVE                                                        Unliquidated
          LAKEWOOD, CA 90712                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 167 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 284 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $138.59
          CITY OF LAKEWOOD                                                      Contingent
          5050 CLARK AVE                                                        Unliquidated
          LAKEWOOD, CA 90712
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,103.65
          CITY OF PLEASANTON                                                    Contingent
          P.O.BOX 520                                                           Unliquidated
          PLEASANTON, CA 94566-0802
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,421.92
          CITY OF SUNNYVALE                                                     Contingent
          P.O. BOX 4000                                                         Unliquidated
          SUNNYVALE, CA 94088
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,239.53
          CITY OF SUNNYVALE                                                     Contingent
          P.O. BOX 4000                                                         Unliquidated
          SUNNYVALE, CA 94088                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,043.54
          CITY OF ALLEN
          ATTN: BRIAN                                                           Contingent
          UTILITY DEPARTMENT                                                    Unliquidated
          305 CENTURY PARKWAY                                                   Disputed
          ALLEN, TX 75013
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $195.01
          CITY OF ALLEN                                                         Contingent
          UTILITY DEPARTMENT                                                    Unliquidated
          305 CENTURY PARKWAY
                                                                                Disputed
          ALLEN, TX 75013
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7.67
          CITY OF ALLEN ALARM PROGRAM                                           Contingent
          PO BOX 141209                                                         Unliquidated
          IRVING, TX 75014-1209
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 168 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 285 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,895.21
          CITY OF ANAHEIM                                                       Contingent
          BUSINESS LICENSE DIVISION                                             Unliquidated
          PO BOX 61042
                                                                                Disputed
          ANAHEIM, CA 92803-6142
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,958.22
          CITY OF ANAHEIM                                                       Contingent
          BUSINESS LICENSE DIVISION                                             Unliquidated
          PO BOX 61042
                                                                                Disputed
          ANAHEIM, CA 92803-6142
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $78.83
          CITY OF ANTIOCH                                                       Contingent
          FINANCE DEPARTMENT                                                    Unliquidated
          P.O. BOX 5008
                                                                                Disputed
          ANTIOCH, CA 94531-5008
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $517.60
          CITY OF APOPKA                                                        Contingent
          120 E MAIN STREET                                                     Unliquidated
          APOPKA, FL 32703                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $279.72
          CITY OF ARCADIA                                                       Contingent
          BUSINESS LICENSE OFFICE                                               Unliquidated
          PO BOX 60021
                                                                                Disputed
          ARCADIA, CA 91066-6021
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $253.28
          CITY OF ARLINGTON                                                     Contingent
          MAIL STOP 63-0700                                                     Unliquidated
          NEIGHBORHOOD SERVICES DEPT                                            Disputed
          ARLINGTON, TX 76004-0321
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4.95
          CITY OF ARVADA                                                        Contingent
          8101 RALSTON ROAD                                                     Unliquidated
          ARVADA, CO 80002                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 169 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 286 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $384.26
          CITY OF AUBURN                                                        Contingent
          25 W MAIN STREET                                                      Unliquidated
          AUBURN, WA 98001                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $173.53
          CITY OF AUBURN                                                        Contingent
          25 WEST MAIN STREET                                                   Unliquidated
          AUBURN, WA 98001
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3.71
          CITY OF AURORA                                                        Contingent
          1470 S. HAVANA STREET                                                 Unliquidated
          ROOM 120                                                              Disputed
          AURORA, CO 80012
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,217.14
          CITY OF AUSTIN                                                        Contingent
          721 BARTON SPRINGS                                                    Unliquidated
          PLUGERVILLE, TX 78704-1145
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,109.98
          CITY OF AUSTIN                                                        Contingent
          721 BARTON SPRINGS                                                    Unliquidated
          PLUGERVILLE, TX 78704-1145
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,043.92
          CITY OF BAKERSFIELD                                                   Contingent
          P.O. BOX 2057                                                         Unliquidated
          BAKERSFIELD, CA 93303                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $110.00
          CITY OF BAKERSFIELD                                                   Contingent
          P.O. BOX 2057                                                         Unliquidated
          BAKERSFIELD, CA 93303
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 170 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 287 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CITY OF BAKERSFIELD                                                   Contingent
          P.O. BOX 2057                                                         Unliquidated
          BAKERSFIELD, CA 93303
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $665.09
          CITY OF BAYTOWN                                                       Contingent
          2505 MARKET ST                                                        Unliquidated
          BAYTOWN, TX 77520
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $536.09
          CITY OF BAYTOWN                                                       Contingent
          2505 MARKET ST                                                        Unliquidated
          BAYTOWN, TX 77520
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19.41
          CITY OF BAYTOWN                                                       Contingent
          2505 MARKET ST                                                        Unliquidated
          ATTN: PERMIT COUNTER                                                  Disputed
          BAYTOWN, TX 77520
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,859.96
          CITY OF BEAVERTON                                                     Contingent
          P.O. BOX 4755                                                         Unliquidated
          BEAVERTON, OR 97076
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16.00
          CITY OF BEAVERTON                                                     Contingent
          P.O. BOX 4755                                                         Unliquidated
          BEAVERTON, OR 97076                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11.04
          CITY OF BEAVERTON-BEAVERTON                                           Contingent
          CENTRAL PLAN                                                          Unliquidated
          4755 SW GRIFFITH
                                                                                Disputed
          BEAVERTON, OR 97005
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 171 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 288 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $973.80
          CITY OF BEDFORD                                                       Contingent
          P.O. BOX 327                                                          Unliquidated
          BEDFORD, TX 76095-0327                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $366.48
          CITY OF BEDFORD                                                       Contingent
          PUBLIC WORKS DEPARTMENT                                               Unliquidated
          1813 RELIANCE PARKWAY
                                                                                Disputed
          BEDFORD, TX 76021
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $430.44
          CITY OF BERKELEY                                                      Contingent
          CUSTOMER SERVICE DIVISION DIVISION                                    Unliquidated
          2020 CENTER STREET                                                    Disputed
          BERKELEY, CA 94704
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.12
          CITY OF BERKELEY                                                      Contingent
          CUSTOMER SERVICE DIVISION                                             Unliquidated
          DIVISION 2020 CENTER STREET
                                                                                Disputed
          BERKELEY, CA 94704
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,366.00
          CITY OF BOTHELL                                                       Contingent
          ATTN: LIZ SCANLON                                                     Unliquidated
          P.O. BOX 24927                                                        Disputed
          SEATTLE, WA 98124-0927
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,474.93
          CITY OF BOTHELL                                                       Contingent
          P.O. BOX 24927                                                        Unliquidated
          SEATTLE, WA 98124-0927
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $208.69
          CITY OF BOULDER                                                       Contingent
          1777 BROADWAY                                                         Unliquidated
          BOULDER, CO 80302
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 172 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 289 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $248.87
          CITY OF BOYNTON BEACH                                                 Contingent
          ATTN: CASHIER / FIRE INSPECTION FEES                                  Unliquidated
          P.O. BOX 310
                                                                                Disputed
          BOYNTON BEACH, FL 33425-0310
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $313.18
          CITY OF BREA                                                          Contingent
          P.O. BOX 2237                                                         Unliquidated
          BREA, CA 92822-2237
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,790.23
          CITY OF BUENA PARK                                                    Contingent
          FINANCE DEPARTMENT                                                    Unliquidated
          P.O. BOX 5009
                                                                                Disputed
          BUENA PARK, CA 90622-5009
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $377.35
          CITY OF CAMARILLO                                                     Contingent
          601 CARMEN DRIVE                                                      Unliquidated
          CAMARILLO, CA 93011
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $296.90
          CITY OF CAMARILLO                                                     Contingent
          601 CARMEN DRIVE                                                      Unliquidated
          CAMARILLO, CA 93011
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,255.63
          CITY OF CARLSBAD                                                      Contingent
          MUNICIPAL WATER DISTRICT                                              Unliquidated
          5950 EL CAMINO REAL
                                                                                Disputed
          CARLSBAD, CA 92008
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $754.84
          CITY OF CARLSBAD                                                      Contingent
          MUNICIPAL WATER DISTRICT                                              Unliquidated
          5950 EL CAMINO REAL
                                                                                Disputed
          CARLSBAD, CA 92008
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 173 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 290 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41.62
          CITY OF CARROLLTON                                                    Contingent
          ENVIRONMENTAL SERVICE DEPARTMENT                                      Unliquidated
          1945 E. JACKSON ROAD
                                                                                Disputed
          CARROLLTON, TX 75006
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37.27
          CITY OF CEDAR HILL, TX                                                Contingent
          P.O. BOX 96                                                           Unliquidated
          CEDAR HILL, TX 75104
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $629.45
          CITY OF CERRITOS                                                      Contingent
          CIVIC CENTER                                                          Unliquidated
          18125 BLOOMFIELD AVENUE
                                                                                Disputed
          CERRITOS, CA 90703-3130
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $274.75
          CITY OF CHINO HILLS                                                   Contingent
          14000 CITY CENTER DRIVE                                               Unliquidated
          CHINO HILLS, CA 91709                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $254.75
          CITY OF CHINO HILLS                                                   Contingent
          BUSINESS LICENSE DIVISION                                             Unliquidated
          14000 CITY CENTER DRIVE
                                                                                Disputed
          CHINO HILLS, CA 91709
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $73.27
          CITY OF CHINO HILLS                                                   Contingent
          BUSINESS LICENSE DIVISION                                             Unliquidated
          14000 CITY CENTER DRIVE
                                                                                Disputed
          CHINO HILLS, CA 91709
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $308.73
          CITY OF CHULA VISTA                                                   Contingent
          PLANNING & BUILDING DEPT.                                             Unliquidated
          ATTN: MAUREEN CASPER
                                                                                Disputed
          CHULA VISTA, CA 91910
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 174 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 291 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $227.96
          CITY OF CORONA                                                        Contingent
          815 W 6TH ST                                                          Unliquidated
          CORONA, CA 91720
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,272.47
          CITY OF DALY CITY                                                     Contingent
          UTILITY BILLING                                                       Unliquidated
          PO BOX 840                                                            Disputed
          DALY CITY, CA 94017-0840
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $793.71
          CITY OF DALY CITY                                                     Contingent
          UTILITY BILLING DIVISION                                              Unliquidated
          333 - 90TH STREET
                                                                                Disputed
          DALY CITY, CA 94015-1895
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $310.39
          CITY OF DALY CITY                                                     Contingent
          UTILITY BILLING DIVISION                                              Unliquidated
          333 - 90TH STREET
                                                                                Disputed
          DALY CITY, CA 94015-1895
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $201.46
          CITY OF DOWNEY                                                        Contingent
          11111 BROOKSHIRE AVE                                                  Unliquidated
          DOWNEY, CA 90241
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50.00
          CITY OF DURHAM                                                        Contingent
          101 CITY HALL PLAZA                                                   Unliquidated
          DURHAM, NC 27701
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,869.42
          CITY OF EL CAJON, CA                                                  Contingent
          200 CIVIC CENTER WAY                                                  Unliquidated
          EL CAJON, CA 92020-3916
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 175 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 292 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $88.71
          CITY OF EL CAJON, CA                                                  Contingent
          200 CIVIC CENTER WAY                                                  Unliquidated
          EL CAJON, CA 92020-3916
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,616.59
          CITY OF ENGLEWOOD                                                     Contingent
          REVENUE DIVISION                                                      Unliquidated
          1000 ENGLEWOOD PARKWAY
                                                                                Disputed
          ENGLEWOOD, CO 80110
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $876.50
          CITY OF ESCONDIDO                                                     Contingent
          UTILITY BILLING                                                       Unliquidated
          PO BOX 460009
                                                                                Disputed
          ESCONDIDO, CA 92046
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $98.07
          CITY OF EULESS                                                        Contingent
          PO BOX 1545                                                           Unliquidated
          EULESS, TX 76039
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $429.76
          CITY OF FAIRVIEW                                                      Contingent
          500 STATE HWY 5                                                       Unliquidated
          FAIRVIEW, TX 75069                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $263.40
          CITY OF FAIRVIEW                                                      Contingent
          500 STATE HWY 5                                                       Unliquidated
          FAIRVIEW, TX 75069
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $122,810.76
          CITY OF FALLS CHURCH                                                  Contingent
          300 PARK AVENUE                                                       Unliquidated
          FALLS CHURCH, VA 22046                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 176 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 293 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,418.00
          CITY OF FALLS CHURCH                                                  Contingent
          300 PARK AVENUE                                                       Unliquidated
          FALLS CHURCH, VA 22046
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,927.87
          CITY OF FOLSOM                                                        Contingent
          P.O. BOX 2140                                                         Unliquidated
          FOLSOM, CA 95763-2140
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,456.67
          CITY OF FONTANA                                                       Contingent
          8353 SIERRA AVENUE                                                    Unliquidated
          FONTANA, CA 92335
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44.25
          CITY OF FONTANA - BUSINESS LICENSE                                    Contingent
          8353 SIERRA AVENUE                                                    Unliquidated
          FONTANA, CA 92335                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $933.55
          CITY OF FOUNTAIN VALLEY                                               Contingent
          10200 SLATER AVENUE                                                   Unliquidated
          FOUNTAIN VALLEY, CA 92708
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5.39
          CITY OF FOUNTAIN VALLEY                                               Contingent
          10200 SLATER AVENUE                                                   Unliquidated
          FOUNTAIN VALLEY, CA 92708                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $303.08
          CITY OF FRISCO                                                        Contingent
          6891 MAIN STREET                                                      Unliquidated
          FRISCO, TX 75034
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 177 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 294 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2.20
          CITY OF FRISCO                                                        Contingent
          6891 MAIN STREET                                                      Unliquidated
          FRISCO, TX 75034
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,135.57
          CITY OF FULLERTON                                                     Contingent
          303 W. COMMONWEALTH AVE                                               Unliquidated
          FULLERTON, CA 92832
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $841.23
          CITY OF FULLERTON                                                     Contingent
          303 W. COMMONWEALTH AVE                                               Unliquidated
          FULLERTON, CA 92832
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $395.60
          CITY OF GLADSTONE                                                     Contingent
          525 PORTLAND AVENUE                                                   Unliquidated
          GLADSTONE, OR 97027
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,298.81
          CITY OF GLENDALE                                                      Contingent
          141 NORTH GLENDALE AVENUE                                             Unliquidated
          ROOM 114
                                                                                Disputed
          GLENDALE, CA 91206-4996
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,834.69
          CITY OF GLENDALE                                                      Contingent
          141 NORTH GLENDALE AVENUE                                             Unliquidated
          ROOM 114
                                                                                Disputed
          GLENDALE, CA 91206-4996
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $385.85
          CITY OF GLENDORA                                                      Contingent
          116 EAST FOOTHILL BLVD.                                               Unliquidated
          GLENDORA, CA 91741
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 178 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 295 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $148.42
          CITY OF GRAND PRAIRIE                                                 Contingent
          317 COLLEGE ST                                                        Unliquidated
          GRAND PRAIRIE, TX 75050
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $900.71
          CITY OF GREELEY                                                       Contingent
          1100 10TH STREET                                                      Unliquidated
          SUITE 114
                                                                                Disputed
          GREELEY, CO 80631
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $107.00
          CITY OF HAWTHORNE                                                     Contingent
          4455 W. 126TH STREET                                                  Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $256.86
          CITY OF HENDERSON - UTILITY SERVICES                                  Contingent
          PO BOX 95011                                                          Unliquidated
          HENDERSON, NV 89009
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $255.35
          CITY OF HENDERSON - UTILITY SERVICES                                  Contingent
          PO BOX 95011                                                          Unliquidated
          HENDERSON, NV 89009
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,807.99
          CITY OF HILLSBORO                                                     Contingent
          UTILITIES COMMISSION 123 W. MAIN ST,                                  Unliquidated
          HILLSBORO, OR 97123-3999                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $489.91
          CITY OF HILLSBORO                                                     Contingent
          150 E. MAIN STREET                                                    Unliquidated
          HILLSBORO, OR 97213
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 179 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 296 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,370.41
          CITY OF HOMESTEAD                                                     Contingent
          DEVELOPMENT SERVICES DEPARTMENT                                       Unliquidated
          100 CIVIC COURT
                                                                                Disputed
          HOMESTEAD, FL 33030
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,683.97
          CITY OF HOMESTEAD                                                     Contingent
          DEVELOPMENT SERVICES DEPARTMENT                                       Unliquidated
          100 CIVIC COURT
                                                                                Disputed
          HOMESTEAD, FL 33030
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60.80
          CITY OF HOUSTON                                                       Contingent
          SIGN ADMINISTRATION                                                   Unliquidated
          PO BOX 61167                                                          Disputed
          HOUSTON, TX 77208-1167
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $605.05
          CITY OF HOUSTON FIRE DEPARTMENT                                       Contingent
          PO BOX 3625                                                           Unliquidated
          HOUSTON, TX 77253                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $88.92
          CITY OF HOUSTON FIRE DEPARTMENT                                       Contingent
          PO BOX 3625                                                           Unliquidated
          HOUSTON, TX 77253
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,501.24
          CITY OF HOUSTON, WATER DEPARTMENT                                     Contingent
          P.O. BOX 1560                                                         Unliquidated
          HOUSTON, TX 77251
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $139.85
          CITY OF HOUSTON, WATER DEPARTMENT                                     Contingent
          P.O. BOX 1560                                                         Unliquidated
          HOUSTON, TX 77251                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 180 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 297 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,041.56
          CITY OF HUNTINGTON BEACH                                              Contingent
          CITY TREASURER'S OFFICE                                               Unliquidated
          PO BOX 711                                                            Disputed
          HUNTINGTON BEACH, CA 92648-0711
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $609.59
          CITY OF HUNTINGTON BEACH                                              Contingent
          2000 MAIN STREET                                                      Unliquidated
          HUNTINGTON BEACH, CA 92648
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $194.82
          CITY OF HUNTINGTON BEACH                                              Contingent
          2000 MAIN STREET                                                      Unliquidated
          HUNTINGTON BEACH, CA 92648
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,077.26
          CITY OF INDUSTRY                                                      Contingent
          PO BOX 3366                                                           Unliquidated
          CITY OF INDUSTRY, CA 91744-0366                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $195.52
          CITY OF INDUSTRY                                                      Contingent
          PO BOX 3366                                                           Unliquidated
          CITY OF INDUSTRY, CA 91744-0366
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,467.55
          CITY OF IRVING                                                        Contingent
          REVENUE COLLECTIONS PO BOX 152288,                                    Unliquidated
          IRVING, TX 75015-2288                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,166.16
          CITY OF IRVING                                                        Contingent
          INSPECTIONS DEPARTMENT                                                Unliquidated
          P.O. BOX 152288
                                                                                Disputed
          IRVING, TX 75015-2288
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 181 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 298 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43.86
          CITY OF JACINTO CITY                                                  Contingent
          1301 MERCURY DR                                                       Unliquidated
          JACINTO CITY, TX 77029-2538
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $308.93
          CITY OF KATY                                                          Contingent
          PO BOX 617                                                            Unliquidated
          KATY, TX 77492-0617
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,146.03
          CITY OF LAFAYETTE                                                     Contingent
          1290 S. PUBLIC RD                                                     Unliquidated
          LAFAYETTE, CO 80026
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6.00
          CITY OF LAKEWOOD                                                      Contingent
          SALES/USE TAX RETURN                                                  Unliquidated
          P.O. BOX 261450                                                       Disputed
          LAKEWOOD, CO 80226-9450
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CITY OF LAS VEGAS ANNUAL SEWER
          SERV FEES                                                             Contingent
          DEPT. OF FINANCE & BUSINESS SERVICES                                  Unliquidated
          P.O. BOX 52794                                                        Disputed
          PHOENIX, AZ 85072-2794
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47.05
          CITY OF LEAGUE CITY                                                   Contingent
          330 WEST WALKER                                                       Unliquidated
          LEAGUE CITY, TX 77573
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $383.94
          CITY OF LEWISVILLE                                                    Contingent
          PO BOX 299002                                                         Unliquidated
          LEWISVILLE, TX 75029-9002
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 182 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 299 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $588.35
          CITY OF LIVERMORE                                                     Contingent
          1052 S. LIVERMORE AVE                                                 Unliquidated
          LIVEMORE, CA 94550-4899
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $584.38
          CITY OF LIVERMORE                                                     Contingent
          1052 S. LIVERMORE AVE                                                 Unliquidated
          LIVEMORE, CA 94550-4899
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,207.87
          CITY OF LONG BEACH                                                    Contingent
          UTILITY BILLING DEPARTMENT                                            Unliquidated
          P.O. BOX 630
                                                                                Disputed
          LONG BEACH, CA 90842-0001
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $433.12
          CITY OF LONG BEACH                                                    Contingent
          UTILITY BILLING DEPARTMENT                                            Unliquidated
          P.O. BOX 630
                                                                                Disputed
          LONG BEACH, CA 90842-0001
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22.32
          CITY OF LONG BEACH                                                    Contingent
          UTILITY BILLING DEPARTMENT                                            Unliquidated
          P.O. BOX 630
                                                                                Disputed
          LONG BEACH, CA 90842-0001
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $330.63
          CITY OF LOS ANGELES
          DEPT OF BUILDING & SAFETY                                             Contingent
          6262 VAN NUYS BLVD 2ND FLOOR ROON                                     Unliquidated
          251                                                                   Disputed
          VAN NUYS, CA 91401
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,278.88
          CITY OF LYNNWOOD                                                      Contingent
          BUSINESS LICENSE/REGISTRATION                                         Unliquidated
          19100 44TH AVENUE WEST
                                                                                Disputed
          LYNNWOOD, WA 98046-5008
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 183 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 300 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $258.92
          CITY OF MANSFIELD                                                     Contingent
          1101 N WALNUT CREEK DR                                                Unliquidated
          MANSFIELD, TX 76063
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $277.72
          CITY OF MANTECA                                                       Contingent
          1001 W. CENTER ST.                                                    Unliquidated
          MANTECA, CA 95336                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21.35
          CITY OF MANTECA                                                       Contingent
          1001 W CENTER STREET                                                  Unliquidated
          MANTECA, CA 95337-4390
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,300.62
          CITY OF MCKINNEY                                                      Contingent
          PO BOX 8000                                                           Unliquidated
          MCKINNEY, TX 75070-8000
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,353.30
          CITY OF MESQUITE UTILITIES                                            Contingent
          ATTN: DELETA HATHAWAY                                                 Unliquidated
          P.O. BOX 850287                                                       Disputed
          MESQUITE, TX 75185-0287
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,588.63
          CITY OF MESQUITE UTILITIES                                            Contingent
          P.O. BOX 850287                                                       Unliquidated
          MESQUITE, TX 75185-0287
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $753.43
          CITY OF MILPITAS, CA                                                  Contingent
          455 EAST CALAVERAS BLVD.                                              Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 184 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 301 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,571.24
          CITY OF MIRAMAR,FL                                                    Contingent
          2300 CIVIC CENTER PLACE                                               Unliquidated
          MIRAMAR, FL 33025                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $664.50
          CITY OF MIRAMAR,FL                                                    Contingent
          2300 CIVIC CENTER PLACE                                               Unliquidated
          MIRAMAR, FL 33025
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $110.35
          CITY OF MONROVIA                                                      Contingent
          PERMITS & LICENSE DEPT.                                               Unliquidated
          415 S. IVY AVE.
                                                                                Disputed
          MONROVIA, CA 91016
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13.33
          CITY OF MONTCLAIR                                                     Contingent
          P.O. BOX 2308                                                         Unliquidated
          MONTCLAIR, CA 91763
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $181.50
          CITY OF MONTEREY PARK                                                 Contingent
          PO BOX 269110                                                         Unliquidated
          SACRAMENTO, CA 95826-9110                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,325.43
          CITY OF MONTEREY PARK CA                                              Contingent
          320 WEST MEWMARK AVE                                                  Unliquidated
          MONTEREY PARK, CA 91754-2896
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $278.89
          CITY OF MORGAN HILL                                                   Contingent
          495 ALKIRE AVENUE                                                     Unliquidated
          MORGAN HILL, CA 95037-4129                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 185 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 302 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $130.15
          CITY OF MORGAN HILL                                                   Contingent
          495 ALKIRE AVENUE                                                     Unliquidated
          MORGAN HILL, CA 95037-4129
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $938.85
          CITY OF MOUNTAIN VIEW                                                 Contingent
          FILE NO. 73015                                                        Unliquidated
          P.O. BOX 60000
                                                                                Disputed
          SAN FRANCSICO, CA 94160-3015
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $279.23
          CITY OF MURPHY                                                        Contingent
          206 N MURPHY RD                                                       Unliquidated
          MURPHY, TX 75094
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,807.93
          CITY OF NORTH LAS VEGAS                                               Contingent
          FINANCE DEPARTMENT                                                    Unliquidated
          P.O. BOX 4146
                                                                                Disputed
          NORTH LAS VEGAS, NV 89036-4146
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $364.86
          CITY OF NORTH MIAMI BEACH                                             Contingent
          P.O. BOX 600427                                                       Unliquidated
          NORTH MIAMI BEACH, FL 33160-0427
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25.00
          CITY OF NORTH RICHLAND HILLS                                          Contingent
          P.O. BOX 820609                                                       Unliquidated
          NORTH RICHLAND HILLS, TX 76182
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $901.15
          CITY OF OCEANSIDE                                                     Contingent
          300 NORTH COAST HIGHWAY                                               Unliquidated
          OCEANSIDE, CA 92054
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 186 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 303 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $101.08
          CITY OF OLYMPIA, WA                                                   Contingent
          621 BLACK LAKE BLVD SW                                                Unliquidated
          OLYMPIA, WA 98502
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,654.84
          CITY OF ONTARIO                                                       Contingent
          ATTN: RUBEN CASTANEDA                                                 Unliquidated
          303 EAST B STREET                                                     Disputed
          ONTARIO, CA 91764
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,192.06
          CITY OF ONTARIO                                                       Contingent
          303 EAST B STREET                                                     Unliquidated
          ONTARIO, CA 91764
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,380.96
          CITY OF OXNARD                                                        Contingent
          214 SOUTH C STREET                                                    Unliquidated
          OXNARD, CA 93030-5712                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,758.03
          CITY OF OXNARD                                                        Contingent
          UTILITY BILLING                                                       Unliquidated
          305 W. THIRD
                                                                                Disputed
          OXNARD, CA 93030
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $278.56
          CITY OF OXNARD                                                        Contingent
          UTILITY BILLING                                                       Unliquidated
          305 W. THIRD
                                                                                Disputed
          OXNARD, CA 93030
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $350.00
          CITY OF PASADENA                                                      Contingent
          ATTN: ALARM PERMIT                                                    Unliquidated
          1149 ELLSWORTH ST
                                                                                Disputed
          PASADENA, TX 77506
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 187 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 304 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,293.66
          CITY OF PASADENA - MUNICIPAL
          SERVICES                                                              Contingent
          BUSINESS SERVICE SECTION                                              Unliquidated
          100 N. GARFIELD AVE RM 121                                            Disputed
          PASADENA, CA 91109-7220
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $98.59
          CITY OF PASADENA, TEXAS                                               Contingent
          WATER DEPARTMENT                                                      Unliquidated
          P.O. BOX 1337
                                                                                Disputed
          PASADENA, TX 77501
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,964.34
          CITY OF PEARLAND, TX                                                  Contingent
          3519 LIBERTY DRIVE                                                    Unliquidated
          PEARLAND, TX 77581
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $422.37
          CITY OF PEARLAND, TX                                                  Contingent
          3519 LIBERTY DRIVE                                                    Unliquidated
          PEARLAND, TX 77581
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,887.73
          CITY OF PEMBROKE, FL                                                  Contingent
          13975 PEMBROKE ROAD                                                   Unliquidated
          PEMBROKE PINES, FL 33027                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,209.52
          CITY OF PEMBROKE, FL                                                  Contingent
          13975 PEMBROKE ROAD                                                   Unliquidated
          PEMBROKE PINES, FL 33027
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60.55
          CITY OF PETALUMA                                                      Contingent
          P.O. BOX 61                                                           Unliquidated
          PETALUMA, CA 94953
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 188 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 305 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,190.75
          CITY OF PFLUGERVILLE                                                  Contingent
          PO BOX 589                                                            Unliquidated
          PFLUGERVILLE, TX 78691-0589
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $787.13
          CITY OF PLANO                                                         Contingent
          ENVIRONMENTAL HEALTH                                                  Unliquidated
          1520 KAYE AVE., STE 210
                                                                                Disputed
          PLANO, TX 94063
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $568.81
          CITY OF PLANTATION                                                    Contingent
          LICENSE & PERMIT RENEWAL                                              Unliquidated
          P.O. BOX 189044
                                                                                Disputed
          PLANTATION, FL 33318-9044
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $786.04
          CITY OF PORTLAND - WATER                                              Contingent
          BUREAU OF WATER WORKS                                                 Unliquidated
          BUREAU OF ENVIRONMENTAL SERVICES
                                                                                Disputed
          PORTLAND, OR 97204
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $628.31
          CITY OF PUYALLUP                                                      Contingent
          333 S MERIDIAN                                                        Unliquidated
          2ND FL.
                                                                                Disputed
          PUYALLUP, WA 98371
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $68.51
          CITY OF REDLANDS                                                      Contingent
          FINANCE - REVENUE DIVISION                                            Unliquidated
          35 CAJON ST. SUITE 15B
                                                                                Disputed
          REDLANDS, CA 92373
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $245.98
          CITY OF REDMOND                                                       Contingent
          BUSINESS LICENSES                                                     Unliquidated
          PO BOX 3745
                                                                                Disputed
          SEATTLE, WA 98124-3745
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 189 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 306 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $864.06
          CITY OF REDWOOD CITY                                                  Contingent
          1017 MIDDLEFIELD RD                                                   Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $122.00
          CITY OF RENO                                                          Contingent
          ALARM PROGRAM                                                         Unliquidated
          PO BOX 142857
                                                                                Disputed
          IRVING, TX 75014
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $961.95
          CITY OF RENTON WA                                                     Contingent
          1055 SOUTH GRADY WAY                                                  Unliquidated
          RENTON, WA 98055
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $666.53
          CITY OF RICHARDSON                                                    Contingent
          411 W ARAPAHO RD                                                      Unliquidated
          RICHARDSON, TX 75080                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $213.85
          CITY OF RICHARDSON                                                    Contingent
          PO BOX 831907                                                         Unliquidated
          RICHARDSON, TX 75083
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $101.67
          CITY OF ROCKTOWN                                                      Contingent
          3885 SOUTH GOLIAD ST                                                  Unliquidated
          ROCKWALL, TX 75087
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,203.59
          CITY OF ROHNERT PARK                                                  Contingent
          CITY OF ROHNERT PARK                                                  Unliquidated
          130 AVRAM AVENUE
                                                                                Disputed
          ROHNERT PARK, CA 94928
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 190 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 307 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $696.13
          CITY OF ROSENBERG                                                     Contingent
          PO BOX 631                                                            Unliquidated
          ROSENBERG, TX 77471-0631
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $972.67
          CITY OF ROSEVILLE                                                     Contingent
          311 VERNON STREET                                                     Unliquidated
          ROSEVILLE, CA 75678-2634
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $255.31
          CITY OF ROUND ROCK, TX                                                Contingent
          211 EAST MAIN                                                         Unliquidated
          ROUND ROCK, TX 78664-5299
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.641    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $243.15
          CITY OF ROUND ROCK, TX                                                Contingent
          211 EAST MAIN                                                         Unliquidated
          ROUND ROCK, TX 78664-5299                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.642    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $533.44
          CITY OF SALEM                                                         Contingent
          PO BOX 555                                                            Unliquidated
          SALEM, OR 97308
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.643    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,022.39
          CITY OF SAN BERNARDINO                                                Contingent
          CITY CLERK                                                            Unliquidated
          P.O. BOX 1318
                                                                                Disputed
          SAN BERNARDINO, CA 92418
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.644    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $712.13
          CITY OF SAN CLEMENTE                                                  Contingent
          910 CALLE NEGOCIO                                                     Unliquidated
          SAN CLEMENTE, CA 92673
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 191 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 308 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.645    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1.53
          CITY OF SAN CLEMENTE                                                  Contingent
          910 CALLE NEGOCIO                                                     Unliquidated
          SAN CLEMENTE, CA 92673                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.646    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,621.04
          CITY OF SAN JOSE                                                      Contingent
          FIRE DEPARTMENT                                                       Unliquidated
          BUREAU OF FIRE PREVENTION DEPT 34347                                  Disputed
          SAN FRANCISCO, CA 94139
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.647    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,589.62
          CITY OF SAN JOSE                                                      Contingent
          P.O. BOX 80032                                                        Unliquidated
          PRESCOTT, AZ 86304-8032
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.648    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $321.48
          CITY OF SAN JUAN CAPISTRANO                                           Contingent
          CUSTOMER SERVICE                                                      Unliquidated
          PO BOX 7000
                                                                                Disputed
          ARTESIA, CA 90702-7000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.649    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,034.04
          CITY OF SANTA ANA                                                     Contingent
          PLANNING AND BUILDING AGENCY                                          Unliquidated
          20 CIVIC CENTER PLAZA
                                                                                Disputed
          SANTA ANA, CA 92702
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.650    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $804.00
          CITY OF SANTA BARBARA                                                 Contingent
          P.O. BOX 1990                                                         Unliquidated
          SANTA BARBARA, CA 93102                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.651    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $243.00
          CITY OF SANTA FE SPRINGS                                              Contingent
          11710 TELEGRAPH ROAD                                                  Unliquidated
          SANTA FE SPRINGS, CA 90670-3679
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 192 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 309 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.652    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $713.68
          CITY OF SANTA FE SPRINGS, CA                                          Contingent
          ATTN: WATER UTILITY                                                   Unliquidated
          11710 TELGRAPH RD.
                                                                                Disputed
          SANTA FE, CA 90670
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.653    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $665.17
          CITY OF SANTA MONICA                                                  Contingent
          UTILITIES DIVISION P O BOX 2200,                                      Unliquidated
          SANTA MONICA, CA 90407-2200                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.654    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $484.22
          CITY OF SANTA MONICA                                                  Contingent
          1685 MAIN ST.                                                         Unliquidated
          SANTA MONICA, CA 90401                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.655    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $136.79
          CITY OF SANTA MONICA                                                  Contingent
          UTILITIES DIVISION                                                    Unliquidated
          P O BOX 2200
                                                                                Disputed
          SANTA MONICA, CA 90407-2200
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.656    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,340.72
          CITY OF SEATTLE                                                       Contingent
          DEPARTMENT OF FINANCE                                                 Unliquidated
          P.O. BOX 34905
                                                                                Disputed
          SEATTLE, WA 98124-1905
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.657    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,101.41
          CITY OF SEATTLE                                                       Contingent
          DEPARTMENT OF FINANCE                                                 Unliquidated
          P.O. BOX 34905
                                                                                Disputed
          SEATTLE, WA 98124-1905
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.658    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,552.96
          CITY OF SIMI VALLEY                                                   Contingent
          PO BOX 1680                                                           Unliquidated
          SIMI VALLEY, CA 93062
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 193 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 310 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.659    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $244.88
          CITY OF SOUTHLAKE, TX                                                 Contingent
          1400 MAIN STREET, SUITE 200                                           Unliquidated
          SOUTHLAKE, TX 76092
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.660    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $781.36
          CITY OF STOCKTON                                                      Contingent
          REVENUE SERVICES-BUSINESS LICENSE                                     Unliquidated
          P.O. BOX 1570
                                                                                Disputed
          STOCKTON, CA 95201-1570
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.661    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16.48
          CITY OF STOCKTON                                                      Contingent
          REVENUE SERVICES-BUSINESS LICENSE                                     Unliquidated
          P.O. BOX 1570
                                                                                Disputed
          STOCKTON, CA 95201-1570
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.662    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $95.78
          CITY OF SUGAR LAND                                                    Contingent
          P.O. BOX 5029                                                         Unliquidated
          SUGAR LAND, TX 77487-5029
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.663    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,107.73
          CITY OF SUNRISE                                                       Contingent
          PO BOX 31432                                                          Unliquidated
          TAMPA, FL 33631                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.664    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,363.91
          CITY OF SUNRISE                                                       Contingent
          10770 W OAKLAND PARK BLVD                                             Unliquidated
          SUNRISE, FL 33351
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.665    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,099.77
          CITY OF TAMARAC                                                       Contingent
          P.O. BOX 24641                                                        Unliquidated
          WEST PALM BEACH, FL 33416-4641
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 194 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 311 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.666    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,167.79
          CITY OF THOUSAND OAKS                                                 Contingent
          ATTN: MAGGIE - COMM. DEV.                                             Unliquidated
          2100 THOUSAND OAKS BLVD
                                                                                Disputed
          THOUSAND OAKS, CA 91362-2903
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.667    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $198.64
          CITY OF TORRANCE                                                      Contingent
          3031 TORRANCE BLVD.                                                   Unliquidated
          TORRANCE, CA 90503
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.668    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,972.97
          CITY OF TUALATIN, OR                                                  Contingent
          18880 SW MARTINAZZI AVENUE                                            Unliquidated
          TUALATIN, OR 97062-7099
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.669    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,294.47
          CITY OF UPLAND                                                        Contingent
          PAYMENT PROCESSING CENTER P.O. BOX                                    Unliquidated
          5909,                                                                 Disputed
          BUENA PARK, CA 90622-5909
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.670    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $239.72
          CITY OF UPLAND, CA                                                    Contingent
          685 W FOOTHILL BLVD                                                   Unliquidated
          UPLAND, CA 91785
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.671    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $144.38
          CITY OF UPLAND, CA                                                    Contingent
          685 W FOOTHILL BLVD                                                   Unliquidated
          UPLAND, CA 91785
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.672    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,849.94
          CITY OF VANCOUVER                                                     Contingent
          2323 GENERAL ANDERSON AVENUE                                          Unliquidated
          PO BOX 8875
                                                                                Disputed
          VANCOUVER, WA 98666
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 195 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 312 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.673    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $590.86
          CITY OF VANCOUVER                                                     Contingent
          2323 GENERAL ANDERSON AVENUE                                          Unliquidated
          PO BOX 8875
                                                                                Disputed
          VANCOUVER, WA 98666
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.674    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8.48
          CITY OF WESTMINSTER                                                   Contingent
          8200 WESTMINSTER BLVD                                                 Unliquidated
          WESTMINSTER, CA 92683
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.675    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6.27
          CITY OF WESTMINSTER                                                   Contingent
          FINANCE DEPT SALES TAX DIVISION                                       Unliquidated
          4800 WEST 92ND AVENUE                                                 Disputed
          WESTMINISTER, CO 80031-6387
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.676    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,447.59
          CITY OF YONKERS                                                       Contingent
          CITY CLERK'S OFFICE                                                   Unliquidated
          40 SOUTH BROADWAY                                                     Disputed
          YONKERS, NY 10701
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.677    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,926.04
          CITY OF YONKERS                                                       Contingent
          40 SOUTH BROADWAY                                                     Unliquidated
          ROOM 210
                                                                                Disputed
          YONKERS, NY 10701
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.678    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,385.53
          CITY TREASURER                                                        Contingent
          P.O. BOX 11367                                                        Unliquidated
          TACOMA, WA 98411-0367
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.679    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $321.45
          CITY TREASURER                                                        Contingent
          WATER UTILITIES DEPARTMENT                                            Unliquidated
          SAN DIEGO, CA 92187-0001                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 196 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 313 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.680    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,585.95
          CITY TREASURER - TACOMA                                               Contingent
          P.O. BOX 11010                                                        Unliquidated
          TACOMA, WA 98411-1010
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.681    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $135.38
          CITY TREASURER - TACOMA                                               Contingent
          P.O. BOX 11010                                                        Unliquidated
          TACOMA, WA 98411-1010
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.682    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,045.24
          CITY WASTE SERVICES OF NEW YORK INC                                   Contingent
          14727 175TH ST                                                        Unliquidated
          STE 1A                                                                Disputed
          JAMAICA, NY 11434-5462
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.683    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $523.97
          CITY WASTE SERVICES OF NEW YORK INC                                   Contingent
          167-33 PORTER ROAD                                                    Unliquidated
          JAMAICA, NY 11434
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.684    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,501.14
          CJ SEGERSTROMS & SONS
          ATTN: KAMAL SINGH                                                     Contingent
          TENANT #159002                                                        Unliquidated
          FILE NUMBER 54859                                                     Disputed
          LOS ANGELES, CA 90074-4859
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.685    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $686.00
          CKI LOCKER LLC
          ATTN: CHERYL COVINGTON                                                Contingent
          DEPT # 10417                                                          Unliquidated
          PO BOX 87618                                                          Disputed
          CHICAGO, IL 60680-0618
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.686    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,273.36
          CLARK 1712 LLC                                                        Contingent
          P.O. BOX 62045                                                        Unliquidated
          ACCOUNT # 117120-007115                                               Disputed
          NEWARK, NJ 07101
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 197 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 314 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.687    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CLARK COUNTY SANITATION DISTRICT                                      Contingent
          P.O. BOX 98526                                                        Unliquidated
          LAS VEGAS, NV 89193-8526
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.688    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $51,129.39
          CLARK COUNTY TREASURER                                                Contingent
          500 S. GRAND CENTRAL PKWY                                             Unliquidated
          LAS VEGAS, NV 89155                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.689    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,744.00
          CLARK COUNTY TREASURER                                                Contingent
          P.O. BOX 9808                                                         Unliquidated
          VANCOUVER, WA 98666-8808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.690    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,252.56
          CLARK PUBLIC UTILITIES                                                Contingent
          PO BOX 8989                                                           Unliquidated
          VANCOUVER, WA 98668
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.691    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $557.79
          CLARK PUBLIC UTILITIES                                                Contingent
          PO BOX 8989                                                           Unliquidated
          VANCOUVER, WA 98668                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.692    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $671.50
          CLASSIC PROTECTION SYSTEMS                                            Contingent
          ATTN: CATHY CARSEY                                                    Unliquidated
          1648 W. SAM HOUSTON PARKWAY NORTH                                     Disputed
          HOUSTON, TX 77043
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.693    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,355.00
          CLASSIC VALET PARKING INC
          ATTN: ERVIN MELENDEZ                                                  Contingent
          92 NORTH AVE                                                          Unliquidated
          # 200                                                                 Disputed
          NEW ROCHELLE, NY 10801-7413
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 198 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 315 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.694    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,269.66
          CLEANSCAPES                                                           Contingent
          PO BOX 34260                                                          Unliquidated
          SEATTLE, WA 98124-1260                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.695    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,251.73
          CLEANSCAPES                                                           Contingent
          PO BOX 34260                                                          Unliquidated
          SEATTLE, WA 98124-1260
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.696    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7.47
          CLEAR LAKE CITY WATER, TX                                             Contingent
          900 BAY AREA BLVD.                                                    Unliquidated
          HOUSTON, TX 77058-2691
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.697    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $269.10
          CLEAVER-BROOKS SALES AND SERVICES
          INC                                                                   Contingent
          ATTN: KATHY EVANS                                                     Unliquidated
          P.O. BOX 226865                                                       Disputed
          DALLAS, TX 75212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.698    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $225,524.28
          CLPF GATEWAY TOWNE CENTER LP
          ATTN: NICOLE FULTON                                                   Contingent
          230 PARK AVENUE                                                       Unliquidated
          12TH FLOOR                                                            Disputed
          NEW YORK, NY 10169
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.699    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $120,474.13
          CLPF GATEWAY TOWNE CENTER LP                                          Contingent
          P.O. BOX 101909                                                       Unliquidated
          PASADENA, CA 91189-1909
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.700    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,554,250.47
          CLUB RESOURCE GROUP INC.                                              Contingent
          ATTN: JENNIFER                                                        Unliquidated
          1875 N. MACARTHUR DRIVE                                               Disputed
          TRACY, CA 95376
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 199 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 316 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.701    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $244,148.01
          CLUB RESOURCE GROUP INC.                                              Contingent
          1875 N. MACARTHUR DRIVE                                               Unliquidated
          TRACY, CA 95376
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.702    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,344.00
          CLUB RESOURCE GROUP INC.                                              Contingent
          ATTN: JENNIFER                                                        Unliquidated
          1875 N. MACARTHUR DRIVE
                                                                                Disputed
          TRACY, CA 95376
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.703    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,000.00
          CLUBCOM LLC
          ATTN: PAM PASKO                                                       Contingent
          8 PENN CENTER WEST                                                    Unliquidated
          STE 100                                                               Disputed
          PITTSBURGH, PA 15276
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.704    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,800.00
          CLUBCOM LLC                                                           Contingent
          8 PENN CENTER WEST                                                    Unliquidated
          STE 100
                                                                                Disputed
          PITTSBURGH, PA 15276
          Date(s) debt was incurred
                                                                             Basis for the claim:    Advertising services
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.705    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          CLUBCOM LLC
          ATTN: PAM PASKO                                                       Contingent
          8 PENN CENTER WEST                                                    Unliquidated
          STE 100                                                               Disputed
          PITTSBURGH, PA 15276
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.706    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $119,388.00
          CLUBCONNECT LLC
          ATTN: MORGAN WILLIAMS, SHANA                                          Contingent
          JOHNSON                                                               Unliquidated
          P.O. BOX 74007662                                                     Disputed
          CHICAGO, IL 60674-7662
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.707    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $309,377.80
          CMF MP SOUTH LLC                                                      Contingent
          ATTN: JONATHAN MAHER                                                  Unliquidated
          P.O. BOX 101780                                                       Disputed
          PASADENA, CA 91189-1780
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 200 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 317 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.708    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,623.63
          CMF MP SOUTH LLC                                                      Contingent
          ATTN: JONATHAN MAHER                                                  Unliquidated
          P.O. BOX 101780
                                                                                Disputed
          PASADENA, CA 91189-1780
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.709    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $494.12
          CMJN AVT                                                              Contingent
          ATTN: CHRIS BURBANO                                                   Unliquidated
          1314 BALBOA WAY
                                                                                Disputed
          LIVERMORE, CA 94550-5515
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.710    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $420.00
          CMJN AVT                                                              Contingent
          ATTN: CHRIS BURBANO                                                   Unliquidated
          1314 BALBOA WAY                                                       Disputed
          LIVERMORE, CA 94550-5515
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.711    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $159,459.54
          COASTAL SERHOE                                                        Contingent
          PO BOX 1393                                                           Unliquidated
          YAKIMA, WA 98907-1393                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.712    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,725.14
          COASTAL SERHOE                                                        Contingent
          PO BOX 1393                                                           Unliquidated
          YAKIMA, WA 98907-1393
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.713    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,235.00
          COBALT LLP                                                            Contingent
          1912 BONITA AVE                                                       Unliquidated
          BERKELEY, CA 94704                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.714    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,464.78
          COBBLESTONE SYSTEMS CORP                                              Contingent
          ATTN: MARK NASTASI                                                    Unliquidated
          428 S WHITE HORSE PIKE                                                Disputed
          LINDENWOLD, NJ 08021
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 201 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 318 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.715    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          COFFREY, CHERYL                                                       Contingent
          2010 N FUNSTON AVE                                                    Unliquidated
          STOCKTON, CA 95205
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.716    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $306,406.87
          COJAMA 2 LP                                                           Contingent
          ATTN: JASON HAMMERMANN                                                Unliquidated
          1232 ROSE LANE                                                        Disputed
          LAFAYETTE, CA 94549
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.717    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,476.35
          COJAMA 2 LP                                                           Contingent
          1232 ROSE LANE                                                        Unliquidated
          LAFAYETTE, CA 94549
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.718    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,081.25
          COJAMA 2 LP                                                           Contingent
          1232 ROSE LANE                                                        Unliquidated
          LAFAYETTE, CA 94549
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.719    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,545.16
          COLE 24 FORT WORTH TX LLC                                             Contingent
          C/O COLE REAL ESTATE INVESTMENTS                                      Unliquidated
          2325 EAST CAMELBACK ROAD
                                                                                Disputed
          PHOENIX, AZ 85016
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.720    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $177,616.93
          COLE 24 ORLANDO FL LLC
          ATTN: CLELIA ABRUZZI                                                  Contingent
          DEPT# 880046/ID C10176                                                Unliquidated
          P.O. BOX 29650                                                        Disputed
          PHOENIX, AZ 85038-9650
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.721    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $83,648.92
          COLE 24 ORLANDO FL LLC                                                Contingent
          DEPT# 880046/ID C10176                                                Unliquidated
          P.O. BOX 29650
                                                                                Disputed
          PHOENIX, AZ 85038-9650
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 202 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 319 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.722    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $165,240.83
          COLLIERS INTERNATIONAL                                                Contingent
          ATTN: BETH FARRELL                                                    Unliquidated
          301 UNIVERSITY AVE #100                                               Disputed
          SACRAMENTO, CA 95825
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.723    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,796.32
          COLLIERS INTERNATIONAL                                                Contingent
          301 UNIVERSITY AVE #100                                               Unliquidated
          SACRAMENTO, CA 95825
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.724    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          COLORADO DEPARTMENT OF REVENUE                                        Contingent
                                                                                Unliquidated
          DENVER, CO 80261-0005
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    State of Colorado Income Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.725    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          COLORADO DEPARTMENT OF REVENUE                                        Contingent
          STATE OF COLORADO                                                     Unliquidated
          DEPARTMENT OF REVENUE                                                 Disputed
          DENVER, CO 80261-0013
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.726    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $861,768.00
          COLORADO POOL SYSTEMS
          ATTN: PATRICK KITOWSKI                                                Contingent
          2801 YOUNGFIELD STREET                                                Unliquidated
          SUITE 260                                                             Disputed
          GOLDEN, CO 80401
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.727    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $97,433.33
          COLORADO SPRINGS FITNESS LP                                           Contingent
          1748 W KATELLA AVE SUITE 206                                          Unliquidated
          ORANGE, CA 92867                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.728    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $52,848.22
          COLORADO SPRINGS FITNESS LP                                           Contingent
          1748 W KATELLA AVE SUITE 206                                          Unliquidated
          ORANGE, CA 92867
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 203 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 320 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.729    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,247.44
          COLORADO SPRINGS UTILITIES                                            Contingent
          P.O. BOX 1103                                                         Unliquidated
          COLORADO SPRINGS, CO 80947-0010
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.730    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,010.97
          COLORADO SPRINGS UTILITIES                                            Contingent
          P.O. BOX 1103                                                         Unliquidated
          COLORADO SPRINGS, CO 80947-0010                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.731    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          COLSON MICHELE                                                        Contingent
          40620 VIA RANCHITOS                                                   Unliquidated
          FALLBROOK, CA 92028
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.732    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $162,467.67
          COLUMBIA TECH CENTER LLC                                              Contingent
          C/O PACTRUST                                                          Unliquidated
          P.O. BOX 4800                                                         Disputed
          PORTLAND, OR 97208-4800
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.733    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300.97
          COLUMBIA TECH CENTER LLC                                              Contingent
          C/O PACTRUST                                                          Unliquidated
          P.O. BOX 4800
                                                                                Disputed
          PORTLAND, OR 97208-4800
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.734    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $299,591.47
          COLUMBUS AVENUE II LLC                                                Contingent
          ATTN: LELAND CHAN                                                     Unliquidated
          5214-F DIAMOND HEIGHTS BLVD., STE. 828                                Disputed
          SAN FRANCISCO, CA 94131
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.735    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,162.15
          COLUMBUS AVENUE II LLC                                                Contingent
          5214-F DIAMOND HEIGHTS BLVD., STE. 828                                Unliquidated
          SAN FRANCISCO, CA 94131
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 204 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 321 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.736    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,467.92
          COMCAST                                                               Contingent
          P.O. BOX 530098                                                       Unliquidated
          ATLANTA, GA 30353-0098
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telecom
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.737    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,285.28
          COMCAST CORPORATION                                                   Contingent
          ONE COMCAST CENTER 32ND FLOOR,                                        Unliquidated
          PHILADELPHIA, PA 19103
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.738    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $936.56
          COMED                                                                 Contingent
          P.O. BOX 6111                                                         Unliquidated
          CAROL STREAM, IL 60197-6111
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.739    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $314,940.64
          COMM-WORKS LLC
          ATTN: DAVID TILLMAN                                                   Contingent
          1405 XENIUM LANE N                                                    Unliquidated
          SUITE 120                                                             Disputed
          PLYMOUNTH, MN 55441
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.740    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $126,612.13
          COMMERCIAL FACILITIES INC
          ATTN: MICHELLE BURNS                                                  Contingent
          10951 SORRENTO VALLEY RD                                              Unliquidated
          #2A                                                                   Disputed
          SAN DIEGO, CA 92121
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.741    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $98,689.79
          COMMERCIAL FACILITIES INC
          ATTN: MICHELLE BURNS                                                  Contingent
          10951 SORRENTO VALLEY RD                                              Unliquidated
          #2A                                                                   Disputed
          SAN DIEGO, CA 92121
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.742    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,365.36
          COMMERCIAL WASTE SERVICES                                             Contingent
          PO BOX 820                                                            Unliquidated
          MONTEBELLO, CA 90640-0820
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 205 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 322 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.743    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,199.80
          COMMUNITY WASTE DISPOSAL INC                                          Contingent
          ATTN: DAVID DALRYMPLE                                                 Unliquidated
          2010 CALIFORNIA CROSSING                                              Disputed
          DALLAS, TX 75220-2310
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.744    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $79.56
          COMMUNITY WASTE DISPOSAL INC                                          Contingent
          2010 CALIFORNIA CROSSING                                              Unliquidated
          DALLAS, TX 75220-2310
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.745    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,408.63
          COMPTON MUNICIPAL WATER DEPT                                          Contingent
          205 SOUTH WILLOWBROOK AVENUE                                          Unliquidated
          COMPTON, CA 90051
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.746    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $62.98
          COMPTON MUNICIPAL WATER DEPT                                          Contingent
          205 SOUTH WILLOWBROOK AVENUE                                          Unliquidated
          COMPTON, CA 90051
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.747    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          COMPTROLLER OF MARYLAND                                               Contingent
          110 CARROLL STREET
                                                                                Unliquidated
          ANNAPOLIS, MD 21411-0001
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    State of Maryland Income Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.748    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $39,031.61
          CON EDISON                                                            Contingent
          COOPER STATION                                                        Unliquidated
          P.O. BOX 138
                                                                                Disputed
          NEW YORK, NY 10276-0138
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.749    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $307.50
          CON EDISON                                                            Contingent
          4 IRVING PLACE RM 1875                                                Unliquidated
          NEW YORK, NY 10003                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 206 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 323 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.750    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,980.36
          CONCEPT2 INC                                                          Contingent
          ATTN: CHRISTINE GLOVER                                                Unliquidated
          105A INDUSTRIAL PARK DRIVE                                            Disputed
          MORRISVILLE, VT 05661
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.751    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $83.87
          CONNER WILLIAM                                                        Contingent
          2905 COLUMBIA DR                                                      Unliquidated
          OCEANSIDE, CA 92056
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.752    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,495.25
          CONSERVICE                                                            Contingent
          507 NORTHGATE COMMERCIAL                                              Unliquidated
          507 NE NORTHGATE WAY
                                                                                Disputed
          SEATTLE, WA 98125
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.753    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $72,970.29
          CONSTELLATION NEWENERGY GAS                                           Contingent
          DIVISION LLC                                                          Unliquidated
          10 S DEARBORN STREET 51ST FLOOR
                                                                                Disputed
          CHICAGO, IL 60603
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.754    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,534.45
          CONSTELLATION NEWENERGY GAS                                           Contingent
          DIVISION LLC                                                          Unliquidated
          10 S DEARBORN STREET 51ST FLOOR
                                                                                Disputed
          CHICAGO, IL 60603
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.755    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,914.66
          CONSTELLATION NEWENERGY GAS                                           Contingent
          DIVISION LLC                                                          Unliquidated
          10 S DEARBORN STREET 51ST FLOOR                                       Disputed
          CHICAGO, IL 60603
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.756    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $240,792.36
          CONTINENTAL 1500 ROSECRANS LLC                                        Contingent
          ATTN: ADRIENNE ADELSPERGER                                            Unliquidated
          P.O. BOX 840964                                                       Disputed
          LOS ANGELES, CA 90084-0964
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 207 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 324 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.757    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,739.09
          CONTINENTAL 1500 ROSECRANS LLC                                        Contingent
          P.O. BOX 840964                                                       Unliquidated
          LOS ANGELES, CA 90084-0964
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.758    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $76.40
          CONTRA COSTA COUNTY                                                   Contingent
          651 PINE STREET                                                       Unliquidated
          MARTINEZ, CA 94553                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.759    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $217,174.53
          CONTRA COSTA COUNTY TAX COLLECTOR                                     Contingent
          P.O. BOX 631                                                          Unliquidated
          MARTINEZ, CA 94553                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.760    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $101.80
          CONTROLLED KEY SYSTEMS, INC                                           Contingent
          ATTN: PAUL                                                            Unliquidated
          17248 RED HILL AVENUE                                                 Disputed
          IRVINE, CA 92614
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.761    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $109.86
          COOK RONALD                                                           Contingent
          2679 MICHELANGELO CRT                                                 Unliquidated
          SPARKS, NV 89434
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.762    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $156,394.92
          COPPERWOOD SQUARE IA LLC                                              Contingent
          ATTN: STEPHANIE SODERBERG                                             Unliquidated
          PO BOX 3329                                                           Disputed
          SEAL BEACH, CA 90740
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.763    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,900.93
          COPPERWOOD SQUARE IA LLC                                              Contingent
          ATTN: STEPHANIE SODERBERG                                             Unliquidated
          PO BOX 3329
                                                                                Disputed
          SEAL BEACH, CA 90740
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 208 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 325 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.764    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,114.75
          COPPERWOOD SQUARE IA LLC                                              Contingent
          ATTN: STEPHANIE SODERBERG                                             Unliquidated
          PO BOX 3329
                                                                                Disputed
          SEAL BEACH, CA 90740
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.765    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $628,745.16
          CORE HEALTH & FITNESS LLC
          ATTN: DONNA SIX                                                       Contingent
          4400 NE 77TH AVE                                                      Unliquidated
          STE 300                                                               Disputed
          VANCOUVER, WA 98662
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.766    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $175.00
          CORE HEALTH & FITNESS LLC                                             Contingent
          P.O. BOX 31001-2177                                                   Unliquidated
          PASADENA, CA 91110-2177
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.767    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $46,937.97
          CORODATA RECORDS MANAGEMENT INC                                       Contingent
          ATTN: PAOLA PASCUAL                                                   Unliquidated
          PO BOX 842638                                                         Disputed
          LOS ANGELES, CA 90084-2638
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.768    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,871.36
          CORODATA SHREDDING INC                                                Contingent
          ATTN: BRIAN CHUTE                                                     Unliquidated
          12375 KERRAN ST                                                       Disputed
          POWAY, CA 92064
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.769    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $673.36
          CORODATA SHREDDING INC                                                Contingent
          ATTN: BRIAN CHUTE                                                     Unliquidated
          12375 KERRAN ST
                                                                                Disputed
          POWAY, CA 92064
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.770    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,338.01
          CORPORATE FURNITURE SOLUTIONS                                         Contingent
          ATTN: CAROL YANZ                                                      Unliquidated
          2025 GATEWAY PL # 310                                                 Disputed
          SAN JOSE, CA 95110
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 209 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 326 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.771    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,034.73
          CORPORATE SERVICES CONSULTANTS                                        Contingent
          LLC                                                                   Unliquidated
          PO BOX 1048                                                           Disputed
          DANDRIDGE, TN 37725
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.772    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $699.17
          CORPORATE SERVICES CONSULTANTS                                        Contingent
          LLC                                                                   Unliquidated
          PO BOX 1048
                                                                                Disputed
          DANDRIDGE, TN 37725
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.773    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,297.27
          CORPORATION SERVICE COMPANY                                           Contingent
          251 LITTLE FALLS DRIVE                                                Unliquidated
          WILMINGTON, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.774    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,220.65
          COSERV                                                                Contingent
          7701 SOUTH STEMMONS                                                   Unliquidated
          CORINTH, TX 76210
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.775    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,992.81
          COSERV                                                                Contingent
          7701 SOUTH STEMMONS                                                   Unliquidated
          CORINTH, TX 76210                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.776    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $6,848,604.89
          COSTCO WHOLESALE                                                      Contingent
          ATTN: REAL ESTATE ACCOUNTING
                                                                                Unliquidated
          999 LAKE DRIVE
          ISSAQUAH, WA 98027                                                    Disputed

          Date(s) debt was incurred                                                          24 Hour two year limited term memberships sold to
                                                                             Basis for the claim:
                                                                             Costco that are sitting in Costco warehouse for sale to customers.
          Last 4 digits of account number
                                                                             Costco has right to return unsold certificates.
                                                                             Is the claim subject to offset?     No       Yes

 3.777    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $246.67
          COSTCO WHOLESALE                                                      Contingent
          ATTN: REAL ESTATE ACCOUNTING                                          Unliquidated
          999 LAKE DRIVE                                                        Disputed
          ISSAQUAH, WA 98027
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 210 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 327 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.778    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,210.35
          COTTONWOOD IMPROVEMENT DISTRICT                                       Contingent
          8620 HIGHLAND DRIVE                                                   Unliquidated
          SANDY, UT 84093
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.779    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,616.00
          COUNTY OF ALAMEDA
          ATTN: J. JACOBS                                                       Contingent
          ENVIRONMENTAL SERVICES                                                Unliquidated
          P.O. BOX N                                                            Disputed
          ALAMEDA, CA 94501-0108
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.780    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $90.00
          COUNTY OF RIVERSIDE                                                   Contingent
          DIVISION OF WEIGHTS & MEASURES                                        Unliquidated
          P.O. BOX 1089
                                                                                Disputed
          RIVERSIDE, CA 92502-3012
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.781    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,237.72
          COUNTY OF SACRAMENTO
          ENVIRONMENTAL MANAGEMENT                                              Contingent
          DEPARTMENT                                                            Unliquidated
          10590 ARMSTRONG AVENUE                                                Disputed
          MATHER, CA 95655
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.782    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          COUNTY OF SAN BERNARDINO                                              Contingent
          385 N ARROWHEAD AVE                                                   Unliquidated
          1ST FLOOR
                                                                                Disputed
          SAN BERNARDINO, CA 92415-0187
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.783    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          COUNTY OF SAN BERNARDINO                                              Contingent
          385 N ARROWHEAD AVE                                                   Unliquidated
          1ST FLOOR                                                             Disputed
          SAN BERNARDINO, CA 92415-0187
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.784    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $772.00
          COUNTY OF SAN DIEGO                                                   Contingent
          AIR POLLUTION CONTROL DISTRICT                                        Unliquidated
          10124 OLD GROVE ROAD                                                  Disputed
          SAN DIEGO, CA 92131
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 211 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 328 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.785    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $715.00
          COUNTY OF SAN DIEGO                                                   Contingent
          DEPT. OF AGRICULTURE,                                                 Unliquidated
          WEIGHTS & MEASURES                                                    Disputed
          SAN DIEGO, CA 92123
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.786    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,637.99
          COUNTY ROAD PROPERTIES                                                Contingent
          975 HIGH STREET                                                       Unliquidated
          PALO ALTO, CA 94301
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.787    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,450.32
          COX BUSINESS                                                          Contingent
          P.O. BOX 53280                                                        Unliquidated
          PHOENIX, AZ 85072-3280
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.788    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,626.56
          COX,CASEY ANDREW                                                      Contingent
          30211 THORSBY DRIVE                                                   Unliquidated
          SPRING, TX 77386
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.789    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $57,466.34
          COYOTE LOGISTICS LLC                                                  Contingent
          ATTN: JENNIFER AL-AMIN                                                Unliquidated
          PO BOX 535244                                                         Disputed
          ATLANTA, GA 30353-5244
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.790    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $149,121.36
          CP BOOKS INC                                                          Contingent
          PO BOX 222096                                                         Unliquidated
          CARMEL, CA 93922                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.791    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,400.50
          CP BOOKS INC                                                          Contingent
          PO BOX 222096                                                         Unliquidated
          CARMEL, CA 93922
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 212 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 329 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.792    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,387.92
          CR & R INC.                                                           Contingent
          P.O. BOX 125                                                          Unliquidated
          STANTON, CA 90680                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.793    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.84
          CR & R INC.                                                           Contingent
          P.O. BOX 125                                                          Unliquidated
          STANTON, CA 90680
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.794    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $713.92
          CR & R INC.                                                           Contingent
          P.O. BOX 125                                                          Unliquidated
          STANTON, CA 90680
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.795    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $614.91
          CR & R INC.                                                           Contingent
          P.O. BOX 125                                                          Unliquidated
          STANTON, CA 90680
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.796    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,480.00
          CRACIUN PALMS LLC                                                     Contingent
          9411 NE 25TH CT                                                       Unliquidated
          VANCOUVER, WA 98665                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.797    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          CRAIG HARDY                                                           Contingent
          PO BOX 497                                                            Unliquidated
          ALAMO, CA 94507                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.798    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $374,421.60
          CRANE COURT LLC                                                       Contingent
          800 SOUTH B STREET                                                    Unliquidated
          SUITE 100                                                             Disputed
          SAN MATEO, CA 94401
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 213 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 330 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.799    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,068.78
          CRANE COURT LLC                                                       Contingent
          800 SOUTH B STREET                                                    Unliquidated
          SUITE 100
                                                                                Disputed
          SAN MATEO, CA 94401
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.800    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,051.26
          CRANE RENTAL DIVISION INC                                             Contingent
          ATTN: HERSCHEL CRONIN                                                 Unliquidated
          5902 ALLISON RD
                                                                                Disputed
          HOUSTON, TX 77048
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.801    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $617.50
          CREATIVE COVERS INC                                                   Contingent
          7508 W 90TH STREET                                                    Unliquidated
          BRIDGEVIEW, IL 68455                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.802    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,739.15
          CREMER SPINA SHAUGHNESSY JANSEN &
          ATTN: SURMA ROJAS
          SIEGERT LLC                                                           Contingent
          ONE NORTH FRANKLIN STREET, 10TH                                       Unliquidated
          FLOOR                                                                 Disputed
          CHICAGO, IL 60606
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.803    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $162.00
          CREMER SPINA SHAUGHNESSY JANSEN &
          ATTN: SURMA ROJAS
          SIEGERT LLC                                                           Contingent
          ONE NORTH FRANKLIN STREET, 10TH                                       Unliquidated
          FLOOR                                                                 Disputed
          CHICAGO, IL 60606
                                                                             Basis for the claim:    Legal Fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.804    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $160,333.33
          CRICQ ARLINGTON TRUST
          ATTN: PRISCILLA CERVANTES                                             Contingent
          200 N. WESTLAKE BLVD                                                  Unliquidated
          STE 100                                                               Disputed
          THOUSAND OAKS, CA 91362
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 214 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 331 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.805    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $73,967.01
          CRICQ ARLINGTON TRUST
          ATTN: PRISCILLA CERVANTES                                             Contingent
          200 N. WESTLAKE BLVD                                                  Unliquidated
          STE 100                                                               Disputed
          THOUSAND OAKS, CA 91362
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.806    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $163,096.00
          CRICQ PLANO TRUST                                                     Contingent
          ATTN: JACK HYSLIP                                                     Unliquidated
          PO BOX 1169                                                           Disputed
          CENTER HARBOR, NH 03226
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.807    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $90,896.24
          CRICQ PLANO TRUST                                                     Contingent
          PO BOX 1169                                                           Unliquidated
          CENTER HARBOR, NH 03226
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.808    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          CRIDDLE,BOSE H                                                        Contingent
          21801 NORTHCREST BLVD. #335                                           Unliquidated
          SPRING, TX 77388
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.809    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $144,837.34
          CRIMSON 1031 PORTFOLIO LLC
          ATTN: MIKE RISO                                                       Contingent
          149 SOUTH BARRINGTON AVE                                              Unliquidated
          # 803                                                                 Disputed
          LOS ANGELES, CA 90049
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.810    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,669.45
          CRIMSON RELP SPRINGWOODS 24HFP LLC
          ATTN: NATALIE BURNAMAN                                                Contingent
          1980 POST OAK BLVD                                                    Unliquidated
          SUITE 1600                                                            Disputed
          HOUSTON, TX 77056
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.811    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $53,607.46
          CRIMSON/RELP/SPRINGWOODS 24HFP,
          LLC                                                                   Contingent
          1980 POST OAK BLVD                                                    Unliquidated
          SUITE 1600                                                            Disputed
          HOUSTON, TX 77056
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 215 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 332 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.812    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,006.00
          CROCKER CRANE                                                         Contingent
          ATTN: AVERY MINYARD                                                   Unliquidated
          P.O. BOX 141539
                                                                                Disputed
          IRVING, TX 75014
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.813    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,773.10
          CROCKER CRANE                                                         Contingent
          ATTN: AVERY MINYARD                                                   Unliquidated
          P.O. BOX 141539                                                       Disputed
          IRVING, TX 75014
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.814    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $48,626.37
          CROWDTWIST INC
          ATTN: JOE MONTI                                                       Contingent
          110 E 23RD ST                                                         Unliquidated
          7TH FLR                                                               Disputed
          NEW YORK, NY 10010
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.815    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,605.92
          CRP SANITATION INC                                                    Contingent
          2 BAYVIEW RD                                                          Unliquidated
          CORTLAND MANOR, NY 10567                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.816    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $482.63
          CRP SANITATION INC                                                    Contingent
          2 BAYVIEW RD                                                          Unliquidated
          CORTLAND MANOR, NY 10567
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.817    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,408.78
          CRYSTAL LAKE SHOPPING CENTER LLC                                      Contingent
          18610 NW 87 AVENUE                                                    Unliquidated
          SUITE 204
                                                                                Disputed
          HIALEAH, FL 33015
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.818    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,450.81
          CSG INTERACTIVE MESSAGING INC                                         Contingent
          ATTN: KIM CHANDLER                                                    Unliquidated
          9555 MAROON CIRCLE                                                    Disputed
          ENGLEWOOD, CO 80112
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 216 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 333 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.819    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,010.50
          CSG INTERACTIVE MESSAGING INC                                         Contingent
          9555 MAROON CIRCLE                                                    Unliquidated
          ENGLEWOOD, CO 80112
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Collection Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.820    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $248,429.05
          CSRA 5901 GOLDEN TRIANGLE MASTER
          LESSEE
          ATTN: JEFFREY A. GREGOR
          C/O CAPITAL SQUARE REALTY ADVISORS,                                   Contingent
          LLC.                                                                  Unliquidated
          10900 NUCKOLS ROAD, SUITE 200                                         Disputed
          GLEN ALLEN, VA 23060
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.821    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $86,656.12
          CSRA 5901 GOLDEN TRIANGLE MASTER
          LESSEE
          ATTN: JEFFREY A. GREGOR
          C/O CAPITAL SQUARE REALTY ADVISORS,                                   Contingent
          LLC.                                                                  Unliquidated
          10900 NUCKOLS ROAD, SUITE 200                                         Disputed
          GLEN ALLEN, VA 23060
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.822    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51.41
          CT CORPORATION                                                        Contingent
          PO BOX 4349                                                           Unliquidated
          CAROL STREAM, IL 60197-4349                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.823    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $118,258.95
          CUB SQUARE CENTRE LLC
          ATTN: JOHN CAHILL                                                     Contingent
          C/O RRI MANAGEMENT LLC                                                Unliquidated
          6025 S QUEBEC ST. #250                                                Disputed
          CENTENNIAL, CO 80111
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.824    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,442.78
          CUB SQUARE CENTRE LLC
          ATTN: JOHN CAHILL                                                     Contingent
          C/O RRI MANAGEMENT LLC                                                Unliquidated
          6025 S QUEBEC ST. #250                                                Disputed
          CENTENNIAL, CO 80111
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 217 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 334 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.825    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $137.43
          CUCAMONGA COUNTY WATER DIST.                                          Contingent
          P.O. BOX 638                                                          Unliquidated
          RANCHO CUCAMONGA, CA 91729
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.826    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $436.96
          CULLIGAN - NEVADA                                                     Contingent
          50 EAST GREG ST. #106                                                 Unliquidated
          SPARKS, NV 89431                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.827    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,867.14
          CULLIGAN / US FILTER - LAS VEGAS                                      Contingent
          4513 N. LAMB BLVD                                                     Unliquidated
          STE 92                                                                Disputed
          LAS VEGAS, NV 89115
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.828    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,310.49
          CULLIGAN OF DFW AND HOUSTON
          ATTN: KAMRAN VAHDANI                                                  Contingent
          3201 PREMIER DR                                                       Unliquidated
          STE 300                                                               Disputed
          IRVING, TX 75063
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.829    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $325.72
          CULLIGAN OF SANTA ANA                                                 Contingent
          502 S. LYON STREET                                                    Unliquidated
          SANTA ANA, CA 92701                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.830    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $458.59
          CULLIGAN OF SYLMAR                                                    Contingent
          ATTN: KAREN MCLEOD                                                    Unliquidated
          15580 ROXFORD ST                                                      Disputed
          SYLMAR, CA 91342
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.831    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $144.80
          CULLIGAN OF SYLMAR                                                    Contingent
          ATTN: KAREN MCLEOD                                                    Unliquidated
          15580 ROXFORD ST
                                                                                Disputed
          SYLMAR, CA 91342
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 218 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 335 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.832    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $46.00
          CULLIGAN WATER CONDITIONING
          BAKERSFIELD                                                           Contingent
          ATTN: CURTIS ROBINSON                                                 Unliquidated
          116 BAKER STREET                                                      Disputed
          BAKERSFIELD, CA 93305
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.833    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $648.95
          CULLIGAN WATER CONDITIONING SANTA                                     Contingent
          CLARA                                                                 Unliquidated
          1785 RUSSELL AVE                                                      Disputed
          SANTA CLARA, CA 95054
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.834    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,439.64
          CULLIGAN WATER CONDITIONING-SACTO                                     Contingent
          ATTN: DON FELTON                                                      Unliquidated
          1200 ARDEN WAY                                                        Disputed
          SACRAMENTO, CA 95815-3302
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.835    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,125.00
          CULTURE FOUNDRY LLC
          ATTN: HANS BJORDAHI                                                   Contingent
          600 N 36TH ST                                                         Unliquidated
          # 200                                                                 Disputed
          SEATTLE, WA 98103
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.836    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,191,606.52
          CUMMING CONSTRUCTION COMPANY INC                                      Contingent
          ATTN: ADAM LOPES                                                      Unliquidated
          1483 EAST 3850 SOUTH                                                  Disputed
          ST. GEORGE, UT 84790
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.837    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $539,526.32
          CUMMING CONSTRUCTION COMPANY INC                                      Contingent
          1483 EAST 3850 SOUTH
                                                                                Unliquidated
          ST. GEORGE, UT 84790
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.838    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,120.00
          CUMMING CONSTRUCTION COMPANY INC                                      Contingent
          ATTN: ADAM LOPES                                                      Unliquidated
          1483 EAST 3850 SOUTH
                                                                                Disputed
          ST. GEORGE, UT 84790
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 219 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 336 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.839    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $435.17
          CUNDIFF ALAN                                                          Contingent
          3500 TANGLE BRUSH DR                                                  Unliquidated
          APT 172
                                                                                Disputed
          SPRING, TX 77381
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.840    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42.92
          CURRY SHYEE                                                           Contingent
          43923 VINTAGE ST                                                      Unliquidated
          LANCASTER, CA 93536
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.841    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,148.01
          CURVATURE LLC
          ATTN: ERIC JEPSEN                                                     Contingent
          6500 HOLLISTER AVE                                                    Unliquidated
          STE 210                                                               Disputed
          SANTA BARBARA, CA 93117
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.842    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $154,166.66
          CUSTOM LOCATIONS LLC
          ATTN: LLOYED PUTTER                                                   Contingent
          200 NORTH OCEAN BLVD                                                  Unliquidated
          UNIT 4N                                                               Disputed
          DELRAY BEACH, FL 33483
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.843    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $79,117.29
          CUSTOM LOCATIONS LLC
          ATTN: LLOYED PUTTER                                                   Contingent
          200 NORTH OCEAN BLVD                                                  Unliquidated
          UNIT 4N                                                               Disputed
          DELRAY BEACH, FL 33483
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.844    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,397.95
          CUSTOM LOGOS INC                                                      Contingent
          ATTN: RENE DEVITO                                                     Unliquidated
          7889 CLAIREMONT MESA BLVD                                             Disputed
          SAN DIEGO, CA 92111
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.845    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          CYNTHIA A RUNGE                                                       Contingent
          916 WEST STREET                                                       Unliquidated
          OCEANSIDE, CA 92054                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 220 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 337 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.846    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,630.00
          CYNTHIA WHEELER                                                       Contingent
          430 W. WEBSTER                                                        Unliquidated
          UNIT A                                                                Disputed
          CHICAGO, IL 60614
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.847    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $511.71
          D&D CARTING CO INC                                                    Contingent
          107 8TH STREET                                                        Unliquidated
          BROOKLYN NY, NY 11215                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.848    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47.42
          D&D CARTING CO INC                                                    Contingent
          107 8TH STREET                                                        Unliquidated
          BROOKLYN NY, NY 11215
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.849    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,524.24
          D&D PLUMBING INC                                                      Contingent
          ATTN: STACY RITTEL                                                    Unliquidated
          1655 GREG ST                                                          Disputed
          SPARKS, NV 89431
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.850    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,025.39
          DAIJOGO & PEDERSEN LLP
          ATTN: MAKI DAIJOGO                                                    Contingent
          21 TAMAL VISTA BLVD                                                   Unliquidated
          SUITE 295                                                             Disputed
          CORTE MADERA, CA 94925
                                                                             Basis for the claim:    Legal Fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.851    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $875.00
          DAILY BURN INC
          ATTN: LEE LEVITAN                                                     Contingent
          30 WEST 26TH STREET                                                   Unliquidated
          2ND FLOOR                                                             Disputed
          NEW YORK, NY 10010
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.852    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,456.50
          DALLAS COUNTY TAX COLLECTOR                                           Contingent
          P.O. BOX 139006                                                       Unliquidated
          DALLAS, TX 75313-9066
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 221 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 338 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.853    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $141,833.34
          DALLAS KESSLER PARK LTD                                               Contingent
          2000 MCKINNEY AVENUE                                                  Unliquidated
          SUITE 1000
                                                                                Disputed
          DALLAS, TX 75201
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent accrual
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.854    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $124,695.41
          DALLAS KESSLER PARK LTD                                               Contingent
          2000 MCKINNEY AVENUE                                                  Unliquidated
          SUITE 1000
                                                                                Disputed
          DALLAS, TX 75201
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.855    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,730.00
          DALLAS KESSLER PARK LTD                                               Contingent
          2000 MCKINNEY AVENUE                                                  Unliquidated
          SUITE 1000
                                                                                Disputed
          DALLAS, TX 75201
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.856    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $690.95
          DALLAS WATER UTILITIES                                                Contingent
          CITY HALL 1 AN                                                        Unliquidated
          DALLAS, TX 75277
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.857    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,286.29
          DARBY GLASS LLC                                                       Contingent
          ATTN: FRANK SPIZZIRRI                                                 Unliquidated
          27 R WEST MONTAUK HWY                                                 Disputed
          LINDENHURST, NY 11757
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.858    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,230.00
          DARBY GLASS LLC                                                       Contingent
          ATTN: FRANK SPIZZIRRI                                                 Unliquidated
          27 R WEST MONTAUK HWY
                                                                                Disputed
          LINDENHURST, NY 11757
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.859    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          DAVENPORT WENDY                                                       Contingent
          3840 KELTON DRIVE                                                     Unliquidated
          OCEANSIDE, CA 92056
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 222 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 339 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.860    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          DAVID C ROTH                                                          Contingent
          13 CALLE SALTAMONTES                                                  Unliquidated
          SAN CLEMENTE, CA 92673-7004                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.861    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          DAVID D DURO                                                          Contingent
          24616 MOONFIRE DR                                                     Unliquidated
          DANA POINT, CA 92629                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.862    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          DAVID SILVAS                                                          Contingent
          13377 WYNGATE POINT                                                   Unliquidated
          SAN DIEGO, CA 92130                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.863    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,258.06
          DAWSON, BILL                                                          Contingent
          1733 ELM STREET                                                       Unliquidated
          LIVERMORE, CA 94551
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.864    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,768.89
          DB DIPPERT                                                            Contingent
          ATTN: DUSTIN DIPPERT                                                  Unliquidated
          8262 BEEHIVE CT                                                       Disputed
          FAIR OAKS, CA 95628
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.865    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,409.35
          DCC, INC                                                              Contingent
          ATTN: JUSTIN MONROE                                                   Unliquidated
          2929 STOREY LANE                                                      Disputed
          DALLAS, TX 75220
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.866    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $176,907.89
          DDR MCH WEST LLC                                                      Contingent
          DEPT 340218 21152 56847                                               Unliquidated
          P.O. BOX 931650                                                       Disputed
          CLEVELAND, OH 44193
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 223 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 340 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.867    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $76.58
          DE LA CRUZ GEORDAN                                                    Contingent
          2368 DAVIDSON AVE                                                     Unliquidated
          APT 3
                                                                                Disputed
          BRONX, NY 10468
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.868    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          DE LAM                                                                Contingent
          3601 LAKESHORE AVE                                                    Unliquidated
          OAKLAND, CA 94610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.869    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          DEAN J MYATT                                                          Contingent
          289 BIRCHWOOD DR                                                      Unliquidated
          MORAGA, CA 94556                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.870    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $151,000.00
          DELOITTE CONSULTING LLP                                               Contingent
          ATTN: LIZA BOBROW                                                     Unliquidated
          4022 SELLIS DRIVE
                                                                                Disputed
          HERMITAGE, TN 37076
          Date(s) debt was incurred
                                                                             Basis for the claim:    Software development
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.871    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $46,666.67
          DELOITTE CONSULTING LLP                                               Contingent
          4022 SELLIS DRIVE                                                     Unliquidated
          HERMITAGE, TN 37076
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.872    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,663.00
          DELOITTE TAX LLP                                                      Contingent
          P.O BOX 844736                                                        Unliquidated
          DALLAS, TX 75284-4736
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tax Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.873    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,175.60
          DELTA DENTAL PLAN                                                     Contingent
          ATTN: RAYMOND MILES                                                   Unliquidated
          P.O. BOX 44460                                                        Disputed
          SAN FRANCISCO, CA 94142
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 224 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 341 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.874    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          DENDAS,ANDREW C                                                       Contingent
          517 28TH ST                                                           Unliquidated
          SACRAMENTO, CA 95816
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.875    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          DENISE K BEDNAR                                                       Contingent
          1339 SKY RIDGE CT.                                                    Unliquidated
          SAN MARCOS, CA 92078                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.876    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14.04
          DENTON BRADLEY                                                        Contingent
          1969 LAVENDER AVE                                                     Unliquidated
          SIMI VALLEY, CA 93065
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.877    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,705.00
          DENTON COUNTY                                                         Contingent
          DEPT OF EMERGENCY SERVICES                                            Unliquidated
          9060 TEASLEY LANE
                                                                                Disputed
          DENTON, TX 76210
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.878    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $168.81
          DENTON COUNTY FRESH WATER SUPPLY                                      Contingent
          2540 KING ARTHUR                                                      Unliquidated
          STE 220
                                                                                Disputed
          LEWISVILLE, TX 75056
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.879    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,085.02
          DENVER GLASS INTERIORS INC
          ATTN: M. SCHREIBER                                                    Contingent
          1600 W. EVANS AVE                                                     Unliquidated
          SUITE A                                                               Disputed
          ENGLEWOOD, CO 80110
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.880    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $190,367.48
          DENVER MANAGER OF FINANCE                                             Contingent
          TREASURY DIVISION                                                     Unliquidated
          201 W. COLFAX AVENUE                                                  Disputed
          DENVER, CO 80202
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 225 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 342 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.881    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $659.30
          DENVER WATER                                                          Contingent
          P.O. BOX 173343                                                       Unliquidated
          DENVER, CO 80217-3343
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.882    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          DEPARTMENT OF FINANCE                                                 Contingent
          P.O. BOX 5564
                                                                                Unliquidated
          BINGHAMTON, NY 78714-9348
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    New York City Income Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.883    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          DEPARTMENT OF TAXATION                                                Contingent
          P.O. BOX 3559
                                                                                Unliquidated
          HONOLULU, HI 96811-3559
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    State of Hawaii Income Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.884    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          DEPARTMENT OF TAXATION                                                Contingent
          P.O. BOX 1500
                                                                                Unliquidated
          RICHMOND, VA 23218-1500
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    State of Virginia Income Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.885    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          DEPARTMENT OF TAXATION AND FINANCE                                    Contingent
          NYS CORPORATION TAX
                                                                                Unliquidated
          P.O. BOX 15181
          ALBANY, NY 12212-5181                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    State of New York Income Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.886    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $160.00
          DEPAUW SUSAN                                                          Contingent
          3800 LAKE COUNTRY DR                                                  Unliquidated
          DENTON, TX 76210
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.887    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          DEREK BERES
          ATTN: DEREK BERES                                                     Contingent
          3735 KEYSTONE AVE                                                     Unliquidated
          # 302                                                                 Disputed
          LOS ANGELES, CA 90034
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 226 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 343 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.888    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $93.00
          DESCO INDUSTRIAL GROUP INC                                            Contingent
          ATTN: BOB BRIEDE                                                      Unliquidated
          1327 SE TACOMA STREET, #308                                           Disputed
          PORTLAND, OR 97202
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.889    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,074.70
          DEX IMAGING LLC                                                       Contingent
          P.O. BOX 17454                                                        Unliquidated
          CLEARWATER, FL 33762                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.890    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,641,503.88
          DGC CAPITAL CONTRACTING                                               Contingent
          ATTN: MAUREEN MCFADDEN                                                Unliquidated
          506 SOUTH 9TH AVE                                                     Disputed
          MOUNT VERNON, NY 10550
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.891    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,344,440.82
          DGC CAPITAL CONTRACTING                                               Contingent
          ATTN: MAUREEN MCFADDEN
                                                                                Unliquidated
          506 SOUTH 9TH AVE
          MOUNT VERNON, NY 10550                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Construction
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.892    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $120,218.80
          DGC CAPITAL CONTRACTING                                               Contingent
          ATTN: MAUREEN MCFADDEN                                                Unliquidated
          506 SOUTH 9TH AVE
                                                                                Disputed
          MOUNT VERNON, NY 10550
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.893    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $44,231.00
          DGC CAPITAL CONTRACTING                                               Contingent
          506 SOUTH 9TH AVE                                                     Unliquidated
          MOUNT VERNON, NY 10550
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Moving Costs
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.894    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,076.92
          DIAMOND FITNESS                                                       Contingent
          ATTN: ANURAG CHAUDHARY                                                Unliquidated
          7600 BENBROOK PKWY, STE. 5/12                                         Disputed
          BENBROOK, TX 76126
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 227 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 344 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.895    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,101.91
          DIAMOND FITNESS                                                       Contingent
          ATTN: ANURAG CHAUDHARY                                                Unliquidated
          7600 BENBROOK PKWY, STE. 5/12
                                                                                Disputed
          BENBROOK, TX 76126
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.896    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,000.00
          DIGITAL ENVOY INC                                                     Contingent
          ATTN: JUSTIN SKOGEN                                                   Unliquidated
          155 TECHNOLOGY PARKWAY SUIET 800                                      Disputed
          NORCROSS, GA 30092
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.897    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          DIJONNE MARCELINO                                                     Contingent
          ATTN: DIJONNE MARCELINO                                               Unliquidated
          9052 WINTHROP SPRINGS RD                                              Disputed
          LAS VEGAS, NV 89139
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.898    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $560.00
          DIJONNE MARCELINO                                                     Contingent
          ATTN: DIJONNE MARCELINO                                               Unliquidated
          9052 WINTHROP SPRINGS RD
                                                                                Disputed
          LAS VEGAS, NV 89139
          Date(s) debt was incurred
                                                                             Basis for the claim:    Public relations contractor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.899    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $81,481.88
          DIMENSION DATA NORTH AMERICA
          ATTN: MATTHEW TAYLOR                                                  Contingent
          11006 RUSHMORE DRIVE                                                  Unliquidated
          STE 300                                                               Disputed
          CHARLOTTE, NC 28277
                                                                             Basis for the claim:    Repairs & Maintenance
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.900    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,663.00
          DINA MICHELLE CHENEY                                                  Contingent
          ATTN: DINA CHENEY                                                     Unliquidated
          76 COGNEWAUGH ROAD                                                    Disputed
          COS COB, CT 06807
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.901    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,247.80
          DIRECT ENERGY BUSINESS                                                Contingent
          P.O. BOX 905243                                                       Unliquidated
          CHARLOTTE, NC 28290-5243
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 228 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 345 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.902    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,479.62
          DIRECT WASTE SERVICES INC                                             Contingent
          P.O. BOX 384                                                          Unliquidated
          EAST HANOVER, NJ 07936-0384                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.903    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $358.15
          DIRECT WASTE SERVICES INC                                             Contingent
          P.O. BOX 384                                                          Unliquidated
          EAST HANOVER, NJ 07936-0384
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.904    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $66,939.32
          DIRECTV LLC                                                           Contingent
          PO BOX 410347                                                         Unliquidated
          CHARLOTTE, NC 28241                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.905    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,643.70
          DIRECTV LLC                                                           Contingent
          PO BOX 410347                                                         Unliquidated
          CHARLOTTE, NC 28241
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.906    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          DITOMASSO,ELIZABETH A                                                 Contingent
          306 LAKE AVENUE                                                       Unliquidated
          APT 320
                                                                                Disputed
          MAITLAND, FL 32751
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.907    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,450.00
          DIVISION OF ENVIRONMENTAL HEALTH                                      Contingent
          3 HARRY S. TRUMAN PARKWAY                                             Unliquidated
          ANNAPOLIS, MD 21401
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.908    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          DIVISION OF TAXATION                                                  Contingent
          REVENUE PROCESS CENTER
                                                                                Unliquidated
          P.O. BOX 666
          TRENTON, NJ 08646-0666                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    State of New Jersey Income Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 229 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 346 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.909    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $193.23
          DIXIE SAFE & LOCK                                                     Contingent
          7920 GULF FREEWAY                                                     Unliquidated
          HOUSTON, TX 77017-3018                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.910    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,500.00
          DJH MECHANICAL CORP                                                   Contingent
          ATTN: DAVID HARVEY                                                    Unliquidated
          124 RYAN PLACE
                                                                                Disputed
          STATEN ISLAND, NY 10312
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.911    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,781.27
          DJH MECHANICAL CORP                                                   Contingent
          ATTN: DAVID HARVEY                                                    Unliquidated
          124 RYAN PLACE                                                        Disputed
          STATEN ISLAND, NY 10312
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.912    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $876.04
          DMX - ORANGE COUNTY O&O LLC                                           Contingent
          3152 RED HILL AVE #270                                                Unliquidated
          COSTA MESA, CA 92626                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.913    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $413,476.24
          DOME CENTER LLC                                                       Contingent
          RPG - DOME CENTER                                                     Unliquidated
          DEPT. 3151                                                            Disputed
          LOS ANGELES, CA 90084-3151
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.914    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $92,405.51
          DOME CENTER LLC                                                       Contingent
          RPG - DOME CENTER                                                     Unliquidated
          DEPT. 3151
                                                                                Disputed
          LOS ANGELES, CA 90084-3151
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.915    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,750.00
          DOME GARAGE                                                           Contingent
          ATTN: REBECCA DORNIDON                                                Unliquidated
          1400 IVAR AVENUE
                                                                                Disputed
          HOLLYWOOD, CA 90028
          Date(s) debt was incurred
                                                                             Basis for the claim:    Parking
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 230 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 347 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.916    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,459.68
          DOME GARAGE                                                           Contingent
          ATTN: REBECCA DORNIDON                                                Unliquidated
          1400 IVAR AVENUE                                                      Disputed
          HOLLYWOOD, CA 90028
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.917    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,971.87
          DOMINION VIRGINIA POWER                                               Contingent
          PO BOX 26543                                                          Unliquidated
          RICHMOND, VA 23290-0001
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.918    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,091.43
          DOONWOOD ENGINEERING INC                                              Contingent
          PO BOX 1267                                                           Unliquidated
          KAILUA, HI 96734                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.919    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $932.88
          DOOR-MAN INC.                                                         Contingent
          ATTN: RAUL                                                            Unliquidated
          910 HOOVER AVE                                                        Disputed
          NATIONAL CITY, CA 91950
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.920    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $525,863.38
          DOUGLAS COUNTY TREASURER                                              Contingent
          PO BOX 1208                                                           Unliquidated
          100 THIRD STREE, SUITE 120                                            Disputed
          CASTLE ROCK, CO 90104
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.921    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $66,718.00
          DOUGLAS COUNTY TREASURER                                              Contingent
          PO BOX 1208                                                           Unliquidated
          100 THIRD STREE, SUITE 120
                                                                                Disputed
          CASTLE ROCK, CO 90104
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.922    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $514,276.12
          DOUGLAS EMMETT 2016 LLC
          ATTN: JULIE UBER                                                      Contingent
          808 WILSHIRE BOULEVARD                                                Unliquidated
          2ND FLOOR                                                             Disputed
          SANTA MONICA, CA 90401
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 231 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 348 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.923    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,465.23
          DOUGLAS EMMETT 2016 LLC                                               Contingent
          15301 VENTURA BELVD BLDG B                                            Unliquidated
          SUITE 360
                                                                                Disputed
          SHERMAN OAKS, CA 91403
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.924    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $239.91
          DRAINBUSTERS INC                                                      Contingent
          P.O. BOX 455                                                          Unliquidated
          GARFIELD, NJ 07026                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.925    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $69,277.70
          DS FOUNTAIN VALLEY LP
          ATTN: THOMAS SCHIRBER JR                                              Contingent
          FOUNTAIN VALLEY PROMENADE                                             Unliquidated
          PO BOX 6157                                                           Disputed
          HICKSVILLE, NY 11802-6157
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.926    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $265.62
          DS FOUNTAIN VALLEY LP                                                 Contingent
          FOUNTAIN VALLEY PROMENADE                                             Unliquidated
          PO BOX 6157
                                                                                Disputed
          HICKSVILLE, NY 11802-6157
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.927    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $68,817.74
          DS NATURALS LLC                                                       Contingent
          ATTN: CHRIS HICKEY                                                    Unliquidated
          PO BOX 173939                                                         Disputed
          DENVER, CO 80217-3939
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.928    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $120,893.76
          DS PROPERTIES 17 LP                                                   Contingent
          200 E. BAKER STREET                                                   Unliquidated
          SUITE 100                                                             Disputed
          COSTA MESA, CA 92626
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.929    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,124.57
          DS PROPERTIES 17 LP                                                   Contingent
          P.O. BOX 6157                                                         Unliquidated
          HICKSVILLE, NY 11802
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 232 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 349 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.930    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $387.63
          DS PROPERTIES 17 LP                                                   Contingent
          P.O. BOX 6157                                                         Unliquidated
          HICKSVILLE, NY 11802
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.931    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48.14
          DS PROPERTIES 17 LP                                                   Contingent
          P.O. BOX 6157                                                         Unliquidated
          HICKSVILLE, NY 11802
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.932    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $197.45
          DUFF CAMERON                                                          Contingent
          110 1ST ST                                                            Unliquidated
          14L
                                                                                Disputed
          JERSEY CITY, NJ 07302
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.933    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,056.15
          DUKE ENERGY                                                           Contingent
          PO BOX 1004                                                           Unliquidated
          CHARLOTTE, NC 28201-1004
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.934    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45.65
          DUKE ENERGY                                                           Contingent
          PO BOX 1004                                                           Unliquidated
          CHARLOTTE, NC 28201-1004
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.935    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,966.35
          DUMPSTERS R US                                                        Contingent
          131 NW 43RD ST                                                        Unliquidated
          BOCA RATON, FL 33431                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.936    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,019.20
          DUPAGE COUNTY HEALTH DEPARTMENT                                       Contingent
          ENVIRONMENTAL HEALTH SERVICES                                         Unliquidated
          111 N. COUNTY FARM ROAD
                                                                                Disputed
          WHEATON, IL 60187
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 233 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 350 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.937    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,554.80
          DURHAM BUSINESS PROPERTIES LLC
          ATTN: KRISTI EBERT                                                    Contingent
          C/O WYSE INVESTMENT SERVICES CO.                                      Unliquidated
          810 SE BELMONT ST                                                     Disputed
          PORTLAND, OR 97214
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.938    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,322.99
          DURHAM BUSINESS PROPERTIES LLC
          ATTN: KRISTI EBERT                                                    Contingent
          C/O WYSE INVESTMENT SERVICES CO.                                      Unliquidated
          810 SE BELMONT ST                                                     Disputed
          PORTLAND, OR 97214
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.939    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,616.90
          DWF IV 465 HALSTEAD LLC                                               Contingent
          P.O. BOX 7673                                                         Unliquidated
          SAN FRANCISCO, CA 94120-7673
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.940    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,899.86
          DWYER-CURLETT & CO                                                    Contingent
          1880 CENTURY PARK EAST, SUITE 400                                     Unliquidated
          LOS ANGELES, CA 90067
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.941    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          DWYER-CURLETT & CO                                                    Contingent
          1880 CENTURY PARK EAST, SUITE 400                                     Unliquidated
          LOS ANGELES, CA 90067
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Parking
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.942    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $120,270.00
          DYMATIZE ENTERPRISES LLC                                              Contingent
          ATTN: CHRIS RICCIO                                                    Unliquidated
          111 LESLIE ST                                                         Disputed
          DALLAS, TX 75207-7105
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.943    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,326.00
          DYNAMIX MUSIC
          ATTN: MARK HOFFMAN                                                    Contingent
          6400 FRANKFORD AVENUE                                                 Unliquidated
          SUITE 26                                                              Disputed
          BALTIMORE, MD 21206
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 234 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 351 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.944    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,482.00
          E. SAM JONES DISTRIBUTOR, INC.                                        Contingent
          601 S. STATE COLLEGE BLVD.                                            Unliquidated
          FULLERTON, CA 92831                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.945    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,016.29
          E.J. HARRISON & SONS, INC.                                            Contingent
          541 N POST OAK                                                        Unliquidated
          HOUSTON, TX 77024                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.946    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $503.14
          E.J. HARRISON & SONS, INC.                                            Contingent
          P.O. BOX 4009                                                         Unliquidated
          VENTURA, CA 93007-4009
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.947    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,855.18
          EAST BAY MUNICIPAL UTILITY                                            Contingent
          EBMUND PAYMENT CENTER                                                 Unliquidated
          PO BOX 1000
                                                                                Disputed
          OAKLAND, CA 94649-0001
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.948    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,867.40
          EAST BAY MUNICIPAL UTILITY                                            Contingent
          EBMUND PAYMENT CENTER                                                 Unliquidated
          PO BOX 1000
                                                                                Disputed
          OAKLAND, CA 94649-0001
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.949    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,384.12
          EAST BAY MUNICIPAL UTILITY                                            Contingent
          EBMUND PAYMENT CENTER PO BOX 1000,                                    Unliquidated
          OAKLAND, CA 94649-0001                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.950    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,902.52
          EAST BAY SANITARY CO                                                  Contingent
          PO BOX 1316                                                           Unliquidated
          EL CERRITO, CA 94530-1316                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 235 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 352 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.951    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,027.80
          EAST BAY SANITARY CO                                                  Contingent
          PO BOX 1316                                                           Unliquidated
          EL CERRITO, CA 94530-1316
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.952    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,837.14
          EAST BROAD STREET LLC                                                 Contingent
          PO BOX 288                                                            Unliquidated
          FALLS CHURCH, VA 22040
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.953    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $220,032.54
          EAST WEST BANK
          ATTN: EZEQUIEL VAZQUEZ
          C/O CHARLES DUNN REAL ESTATE                                          Contingent
          SERVICES                                                              Unliquidated
          800 W. SIXTH STREET 6TH FLOOR                                         Disputed
          LOS ANGELES, CA 90017
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.954    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,007.34
          EASTERN MUNICIPAL WATER DIST.                                         Contingent
          P.O. BOX 8300                                                         Unliquidated
          PERRIS, CA 92572-8300
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.955    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $61,287.30
          EASTRIDGE WORKFORCE SOLUTIONS                                         Contingent
          ATTN: CJ INGARGIOLA                                                   Unliquidated
          P.O. BOX 843209                                                       Disputed
          LOS ANGELES, CA 90084-3209
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.956    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,250.00
          EBIX INC                                                              Contingent
          DEPT# 40346                                                           Unliquidated
          PO BOX 2153                                                           Disputed
          BIRMINGHAM, AL 35287-9394
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.957    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,882.00
          ECOFIT NETWORKS INC.                                                  Contingent
          ATTN: DAVID JOHNSON                                                   Unliquidated
          3375 WHITTIER AVE, UNIT 100                                           Disputed
          VICTORIA BC, V8Z 3R1 CANADA
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 236 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 353 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.958    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,513.46
          ECOFIT NETWORKS INC.                                                  Contingent
          UNIT 100                                                              Unliquidated
          3375 WHITTIER AVE
                                                                                Disputed
          VICTORIA BC, V8Z 3R1 CANADA
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.959    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71.30
          ED BROWN DISTRIBUTORS                                                 Contingent
          ATTN: PEGGY DAVID OR BRUCE                                            Unliquidated
          3236 IRVING BLVD                                                      Disputed
          DALLAS, TX 75247
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.960    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,052.04
          EDCO DISPOSAL CORP.                                                   Contingent
          P.O. BOX 6568                                                         Unliquidated
          BUENA PARK, CA 90622-6568                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.961    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $144.68
          EDCO DISPOSAL CORP.                                                   Contingent
          P.O. BOX 6568                                                         Unliquidated
          BUENA PARK, CA 90622-6568
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.962    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $133.39
          EDCO DISPOSAL CORP.                                                   Contingent
          P.O. BOX 6568                                                         Unliquidated
          BUENA PARK, CA 90622-6568
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.963    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $93.20
          EDCO DISPOSAL CORP.                                                   Contingent
          P.O. BOX 6568                                                         Unliquidated
          BUENA PARK, CA 90622-6568
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.964    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $523.58
          EDCO WASTE & RECYCLING SERVICES,                                      Contingent
          INC.                                                                  Unliquidated
          P.O. BOX 5488
                                                                                Disputed
          BUENA PARK, CA 90622-5488
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 237 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 354 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.965    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $104.78
          EDCO WASTE & RECYCLING SERVICES,                                      Contingent
          INC.                                                                  Unliquidated
          P.O. BOX 5488
                                                                                Disputed
          BUENA PARK, CA 90622-5488
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.966    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $216.39
          EDCO WASTE SERVICES                                                   Contingent
          6254 PARAMOUNT BLVD                                                   Unliquidated
          BUENA PARK, CA 90620
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.967    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,782.18
          EDELMAN
          ATTN: DAN WEBBER                                                      Contingent
          C/O JP MORGAN CHASE, N.A.                                             Unliquidated
          21992 NETWORK PLACE                                                   Disputed
          CHICAGO, IL 60673-1219
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.968    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $161,458.92
          EDWARD F PLANT                                                        Contingent
          HARMAN ASSET MANAGEMENT, AMO                                          Unliquidated
          C/O EDWARD PLANT                                                      Disputed
          LA JOLLA, CA 92037
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.969    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,820.10
          EDWARD F PLANT                                                        Contingent
          HARMAN ASSET MANAGEMENT, AMO                                          Unliquidated
          C/O EDWARD PLANT
                                                                                Disputed
          LA JOLLA, CA 92037
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.970    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33.05
          EL AMIN BILAL                                                         Contingent
          5188 PICKFORD ST                                                      Unliquidated
          APT 6
                                                                                Disputed
          LOS ANGELES, CA 90019
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.971    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,738.46
          EL PASEO VALET                                                        Contingent
          ATTN: IRENE ELIAS                                                     Unliquidated
          5 MINGUS MOUNTAIN ROAD
                                                                                Disputed
          SEDONA, AZ 86336
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 238 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 355 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.972    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,375.00
          EL PASEO VALET                                                        Contingent
          ATTN: IRENE ELIAS                                                     Unliquidated
          5 MINGUS MOUNTAIN ROAD                                                Disputed
          SEDONA, AZ 86336
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.973    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $242.00
          EL PASO COUNTY
          PUBLIC HEALTH                                                         Contingent
          1675 W. GARDEN OF THE GODS ROAD                                       Unliquidated
          SUITE 2044                                                            Disputed
          COLORADO SPRINGS, CO 80907
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.974    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45.08
          EL PASO COUNTY
          PUBLIC HEALTH                                                         Contingent
          1675 W. GARDEN OF THE GODS ROAD                                       Unliquidated
          SUITE 2044                                                            Disputed
          COLORADO SPRINGS, CO 80907
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.975    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,318.86
          EL PASO COUNTY TREASURER                                              Contingent
          P.O. BOX 2018                                                         Unliquidated
          COLORADO SPRINGS, CO 80901-2018                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.976    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,974.00
          EL PASO COUNTY TREASURER                                              Contingent
          P.O. BOX 2018                                                         Unliquidated
          COLORADO SPRINGS, CO 80901-2018
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.977    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $119,687.58
          ELEIKO SPORT INC
          ATTN: ALEX MURRAY                                                     Contingent
          318 W GRAND AVE                                                       Unliquidated
          301                                                                   Disputed
          CHICAGO, IL 60654
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.978    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,734.10
          ELEIKO SPORT INC
          ATTN: ALEX MURRAY                                                     Contingent
          318 W GRAND AVE                                                       Unliquidated
          301                                                                   Disputed
          CHICAGO, IL 60654
                                                                             Basis for the claim:    Purchase of fixed assets
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 239 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 356 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.979    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,584.54
          ELITE MECHANICAL INC
          ATTN: JENNIFER FUJIMOTO                                               Contingent
          98-055 KAMEHAMEHA HWY                                                 Unliquidated
          C-6                                                                   Disputed
          AIEA, HI 96701
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.980    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $81,603.86
          ELIVATE                                                               Contingent
          ATTN: GREG RIEGSECKER                                                 Unliquidated
          6333 HUDSON CROSSING PKWY                                             Disputed
          HUDSON, OH 44236
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.981    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,056.80
          ELIVATE                                                               Contingent
          ATTN: GREG RIEGSECKER                                                 Unliquidated
          6333 HUDSON CROSSING PKWY
                                                                                Disputed
          HUDSON, OH 44236
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.982    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $225.73
          ELIZABETHTOWN GAS                                                     Contingent
          P.O. BOX 11811                                                        Unliquidated
          NEWARK, NJ 07101-8111
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.983    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $226,474.54
          ELLA PASEO LLC                                                        Contingent
          428 POLI STREET                                                       Unliquidated
          SUITE 2D                                                              Disputed
          VENTURA, CA 93001
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.984    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,006.67
          ELLA PASEO LLC                                                        Contingent
          428 POLI STREET                                                       Unliquidated
          SUITE 2D
                                                                                Disputed
          VENTURA, CA 93001
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.985    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.01
          ELYTUS LTD                                                            Contingent
          601 S. HIGH STREET                                                    Unliquidated
          COLUMBUS, OH 43215                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 240 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 357 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.986    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $39,540.39
          EMERGENCY RESTORATION & CLEANING
          INC                                                                   Contingent
          ATTN: MOLLY ANDERSON                                                  Unliquidated
          3073 KILGORE ROAD                                                     Disputed
          RANCHO CORDOVA, CA 95670
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.987    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $435.90
          ENGLEWOOD LOCK AND SAFE INC.                                          Contingent
          ATTN: MAGGIE LANDRY                                                   Unliquidated
          PO BOX 1513                                                           Disputed
          ENGLEWOOD, CO 80150-1513
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.988    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          ENHANCING, MIND, BODY, AND SPIRIT,                                    Contingent
          INC.                                                                  Unliquidated
          700 S. PINE ISLAND ROAD
                                                                                Disputed
          PLANTATION, FL 33324
          Date(s) debt was incurred
                                                                             Basis for the claim:    Deposit from Sub-lessee
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.989    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,666.55
          ENI-JR286, INC                                                        Contingent
          4000 REDONDO BEACH AVE                                                Unliquidated
          SUITE 101                                                             Disputed
          REDONDO BEACH, CA 90278
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.990    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,712.54
          ENTERGY GULF STATES, INC.                                             Contingent
          639 LOYOLA AVENUE                                                     Unliquidated
          NEW ORLEANS, LA 70113
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.991    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $482,034.43
          ENTOUCH CONTROLS INC
          ATTN: LINDA DRES                                                      Contingent
          661 N. PLANO ROAD                                                     Unliquidated
          STE 323                                                               Disputed
          RICHARDSON, TX 75081
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.992    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,890.67
          ENTOUCH CONTROLS INC
          ATTN: LINDA DRES                                                      Contingent
          661 N. PLANO ROAD                                                     Unliquidated
          STE 323                                                               Disputed
          RICHARDSON, TX 75081
                                                                             Basis for the claim:    Purchase of fixed assets
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 241 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 358 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.993    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $350.00
          ENVIRONMENTAL DATA RESOURCES, INC.                                    Contingent
          P.O. BOX 414176                                                       Unliquidated
          BOSTON, MA 02241-4176
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.994    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $139,288.99
          EPR FITNESS LLC
          ATTN: ALISON GRIFFIN                                                  Contingent
          909 WALNUT STREET                                                     Unliquidated
          SUITE 200                                                             Disputed
          KANSAS CITY, MO 64106
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.995    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,058.97
          EPR FITNESS LLC
          ATTN: ALISON GRIFFIN                                                  Contingent
          909 WALNUT STREET                                                     Unliquidated
          SUITE 200                                                             Disputed
          KANSAS CITY, MO 64106
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.996    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,654.27
          EPS DOUBLET                                                           Contingent
          ATTN: ARA JAGGER                                                      Unliquidated
          4690 JOLIE ST                                                         Disputed
          DENVER, CO 80239
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.997    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,854,279.44
          EPSILON AGENCY LLC                                                    Contingent
          ATTN: SEKINAT FAKOYA                                                  Unliquidated
          3787 MOMENTUM PLACE                                                   Disputed
          CHICAGO, IL 60689-5337
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.998    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $334,405.93
          EPSILON AGENCY LLC                                                    Contingent
          ATTN: SEKINAT FAKOYA                                                  Unliquidated
          3787 MOMENTUM PLACE
                                                                                Disputed
          CHICAGO, IL 60689-5337
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.999    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $64,500.00
          EPSILON AGENCY LLC                                                    Contingent
          ATTN: SEKINAT FAKOYA                                                  Unliquidated
          3787 MOMENTUM PLACE
          CHICAGO, IL 60689-5337                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Marketing retainer fee
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 242 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 359 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.100
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,900.00
          EPSILON AGENCY LLC                                                    Contingent
          ATTN: SEKINAT FAKOYA                                                  Unliquidated
          3787 MOMENTUM PLACE
          CHICAGO, IL 60689-5337                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Marketing services - new club opening
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.100
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,550.00
          EPSILON AGENCY LLC                                                    Contingent
          ATTN: SEKINAT FAKOYA                                                  Unliquidated
          3787 MOMENTUM PLACE
          CHICAGO, IL 60689-5337                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Marketing services - new club opening
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.100
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,310.00
          EPSILON AGENCY LLC                                                    Contingent
          ATTN: SEKINAT FAKOYA                                                  Unliquidated
          3787 MOMENTUM PLACE
          CHICAGO, IL 60689-5337                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Marketing services - new club opening
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.100
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,996.70
          EPSILON AGENCY LLC                                                    Contingent
          ATTN: SEKINAT FAKOYA                                                  Unliquidated
          3787 MOMENTUM PLACE
          CHICAGO, IL 60689-5337                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Marketing services - new club opening
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.100
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,798.21
          EPSILON AGENCY LLC                                                    Contingent
          ATTN: SEKINAT FAKOYA                                                  Unliquidated
          3787 MOMENTUM PLACE
          CHICAGO, IL 60689-5337                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Marketing services - new club opening
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.100
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,480.00
          EPSILON AGENCY LLC                                                    Contingent
          ATTN: SEKINAT FAKOYA                                                  Unliquidated
          3787 MOMENTUM PLACE
          CHICAGO, IL 60689-5337                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Marketing services - new club opening
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 243 of 524
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 360 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.100
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,173.12
          EPSILON AGENCY LLC                                                    Contingent
          ATTN: SEKINAT FAKOYA                                                  Unliquidated
          3787 MOMENTUM PLACE
          CHICAGO, IL 60689-5337                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Marketing services - new club opening
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.100
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,108.60
          EPSILON AGENCY LLC                                                    Contingent
          ATTN: SEKINAT FAKOYA                                                  Unliquidated
          3787 MOMENTUM PLACE
          CHICAGO, IL 60689-5337                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Marketing services - new club opening
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.100
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $112,446.88
          EQYINVEST OWNER II LTD LLP                                            Contingent
          JP MORGAN CHASE BANK                                                  Unliquidated
          P.O. BOX 730373                                                       Disputed
          DALLAS, TX 75373-0373
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.100
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,016.91
          EQYINVEST OWNER II LTD LLP                                            Contingent
          JP MORGAN CHASE BANK                                                  Unliquidated
          P.O. BOX 730373
                                                                                Disputed
          DALLAS, TX 75373-0373
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.101
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,104.67
          EQYINVEST OWNER II LTD LLP                                            Contingent
          JP MORGAN CHASE BANK                                                  Unliquidated
          P.O. BOX 730373
                                                                                Disputed
          DALLAS, TX 75373-0373
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.101
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,040.68
          ESCAPE FITNESS USA LLC                                                Contingent
          ATTN: JAIMESON ADAM                                                   Unliquidated
          4434 MUHLHAUSER ROAD                                                  Disputed
          WEST CHESTER, OH 45011
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.101
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $694.11
          ESCONDIDO DISPOSAL INC.                                               Contingent
          1044 W WASHINGTON AVE PO BOX 1818,                                    Unliquidated
          ESCONDIDO, CA 92033-1818                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 244 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 361 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.101
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $93.82
          ESCONDIDO DISPOSAL INC.                                               Contingent
          1044 W WASHINGTON AVE                                                 Unliquidated
          PO BOX 1818
                                                                                Disputed
          ESCONDIDO, CA 92033-1818
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.101
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ESKEDAR BEKELE                                                        Contingent
          3437 RICH FIELD DR                                                    Unliquidated
          CARLSBAD, CA 92010                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,021.51
          ESPEJEL MIGUEL                                                        Contingent
          18215 AVENUE D                                                        Unliquidated
          PERRIS, CA 92570
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $97,433.33
          EVERETT WASHINGTON FITNESS LP                                         Contingent
          1748 W KATELLA AVE SUITE 206                                          Unliquidated
          ORANGE, CA 92867                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,965.63
          EVERETT WASHINGTON FITNESS LP                                         Contingent
          1748 W KATELLA AVE SUITE 206                                          Unliquidated
          ORANGE, CA 92867
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,000.00
          EXCELLENT PARKING SOLUTIONS INC                                       Contingent
          ATTN: ABRAHAM SBEITI                                                  Unliquidated
          13138 GEORGE TOWN DR
                                                                                Disputed
          SUGAR LAND, TX 77478
          Date(s) debt was incurred
                                                                             Basis for the claim:    Parking
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.101
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,996.53
          EXPRESS PIPE & SUPPLY                                                 Contingent
          ATTN: RENEE ABHOLD                                                    Unliquidated
          1235 SOUTH LEWIS STREET                                               Disputed
          ANAHEIM, CA 92805
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 245 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 362 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.102
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,552.78
          EXPRESS PIPE & SUPPLY CO LLC                                          Contingent
          ATTN: RENE ABHOLD                                                     Unliquidated
          1235 SOUTH LEWIS STREET
                                                                                Disputed
          ANAHEIM, CA 92805
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.102
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,698.40
          EXTRACTOR CORPORATION                                                 Contingent
          ATTN: JENNIFER HUNTER                                                 Unliquidated
          PO BOX 99                                                             Disputed
          SOUTH ELGIN, IL 60177
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.102
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,695.00
          EXTRACTOR CORPORATION                                                 Contingent
          ATTN: JENNIFER HUNTER                                                 Unliquidated
          PO BOX 99
                                                                                Disputed
          SOUTH ELGIN, IL 60177
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.102
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,762.50
          EZZI SIGNS INC                                                        Contingent
          ATTN: BATUL TYEBBHOY                                                  Unliquidated
          16611 WEST LITTLE YORK RD                                             Disputed
          HOUSTON, TX 77084
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.102
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,480.00
          EZZI SIGNS INC                                                        Contingent
          ATTN: BATUL TYEBBHOY                                                  Unliquidated
          16611 WEST LITTLE YORK RD
                                                                                Disputed
          HOUSTON, TX 77084
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.102
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $90,465.99
          FACCHINO LABARBERA TENNANT                                            Contingent
          STATION LLC                                                           Unliquidated
          873 BLOSSOM HILL ROAD                                                 Disputed
          SAN JOSE, CA 95123
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.102
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $698,493.64
          FACEBOOK INC                                                          Contingent
          ATTN: KRISTAL BERRY                                                   Unliquidated
          15161 COLLECTIONS CENTER DRIVE                                        Disputed
          CHICAGO, IL 60693
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 246 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 363 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.102
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,489.00
          FACILITY SOLUTIONS GROUP                                              Contingent
          PO BOX 952143                                                         Unliquidated
          DALLAS, TX 75395-2143
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,233.59
          FACILITY SOLUTIONS GROUP                                              Contingent
          PO BOX 952143                                                         Unliquidated
          DALLAS, TX 75395-2143                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,028.97
          FACTOR ONE INC                                                        Contingent
          ATTN: ANNE CAWOOD                                                     Unliquidated
          P.O. BOX 1772                                                         Disputed
          SAN LEANDRO, CA 94577-0177
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.103
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,282.00
          FAIRFAX COUNTY                                                        Contingent
          FALSE ALARM REDUCTION UNIT                                            Unliquidated
          4100 CHAIN BRIDGE ROAD
                                                                                Disputed
          FAIRFAX, VA 22030
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.103
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,031.25
          FAIRFAX WATER                                                         Contingent
          P.O. BOX 71076                                                        Unliquidated
          CHARLOTTE, NC 28272-1076
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $551.73
          FAIRFIELD MUNICIPAL UTILITIES                                         Contingent
          1000 WEBSTER STREET                                                   Unliquidated
          FAIRFIELD, CA 94533-4883
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          FALCIS TINO                                                           Contingent
          38 CHICKADEE LN                                                       Unliquidated
          ALISO VIEJO, CA 92656
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 247 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 364 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.103
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          FALK AMY                                                              Contingent
          2130 S. SANTA FE AVE #139                                             Unliquidated
          VISTA, CA 92084
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13.34
          FARFAN ALISHA                                                         Contingent
          356 VIA MIRAMONTE                                                     Unliquidated
          MONTEBELLO, CA 90640
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,312.46
          FARMERS ELECTRIC COOPERATIVE,TX                                       Contingent
          2000 EAST I 30                                                        Unliquidated
          GREENVILLE, TX 75403                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,161.24
          FARMERS ELECTRIC COOPERATIVE,TX                                       Contingent
          2000 EAST I 30                                                        Unliquidated
          GREENVILLE, TX 75403
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,277.88
          FEDERAL EXPRESS CORPORATION                                           Contingent
          ATTN: NEIL FRANCIS MAGTOTO                                            Unliquidated
          P.O. BOX 94515                                                        Disputed
          PALATINE, IL 60094-4515
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.103
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          FENN P HALL                                                           Contingent
          308 IRON HORSE CT                                                     Unliquidated
          ALAMO, CA 94507                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,976.65
          FERGUSON FACILITIES SUPPLY                                            Contingent
          ATTN: SEREN ALTMANN                                                   Unliquidated
          835 N. W.W. WHITE ROAD                                                Disputed
          SAN ANTONIO, TX 78219
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 248 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 365 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.104
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,921.32
          FERGUSON FACILITIES SUPPLY                                            Contingent
          ATTN: SEREN ALTMANN                                                   Unliquidated
          835 N. W.W. WHITE ROAD
                                                                                Disputed
          SAN ANTONIO, TX 78219
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.104
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $261,462.08
          FHR COMMUNITY CENTER LLC
          ATTN: DONNA DARDON                                                    Contingent
          C/O FAIRBOURNE PROPERTIES LLC                                         Unliquidated
          1 EAST WACKER DRIVE                                                   Disputed
          CHICAGO, IL 60601
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.104
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,793.00
          FINLANDIA SAUNA - PORTLAND                                            Contingent
          ATTN: TERRI TARKIAINEN                                                Unliquidated
          14010-B S.W. 72ND AVENUE
                                                                                Disputed
          PORTLAND, OR 97224-0088
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.104
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,735.96
          FINLANDIA SAUNA - PORTLAND                                            Contingent
          ATTN: TERRI TARKIAINEN                                                Unliquidated
          14010-B S.W. 72ND AVENUE                                              Disputed
          PORTLAND, OR 97224-0088
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.104
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $271.17
          FIRE COM NW LLC                                                       Contingent
          ATTN: JEFFREY M. DUNLAP                                               Unliquidated
          PO BOX 23700                                                          Disputed
          FEDERAL WAY, WA 98093
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.104
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $955.66
          FIRE KING COMMERCIAL SERVICES LLC                                     Contingent
          ATTN: MELLISA KING                                                    Unliquidated
          2789 SOLUTION CENTER                                                  Disputed
          CHICAGO, IL 60677-2007
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 249 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 366 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.104
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,321.77
          FIRE SAFE PROTECTION SERVICES LP                                      Contingent
          P.O. BOX 1759 DEPT 620                                                Unliquidated
          HOUSTON, TX 77251                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,804.00
          FIRE SAFE PROTECTION SERVICES LP                                      Contingent
          P.O. BOX 1759 DEPT 620                                                Unliquidated
          HOUSTON, TX 77251
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $780.85
          FIRE SYSTEMS WEST, INC.                                               Contingent
          ATTN: LORI SANDOR                                                     Unliquidated
          206 FRONTAGE ROAD NORTH SUITE C                                       Disputed
          PACIFIC, WA 98047
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.105
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.85
          FIRETROL PROTECTION SYSTEMS                                           Contingent
          4360 W. CHANDLER BLVD                                                 Unliquidated
          SUITE 1                                                               Disputed
          CHANDLER, AZ 85226
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.105
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49.00
          FIRST CHOICE COFFEE SERVICE                                           Contingent
          ATTN: DEBBIE                                                          Unliquidated
          313 SE YAMHILL ST
                                                                                Disputed
          PORTLAND, OR 97214
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.105
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,046.41
          FIRST CHOICE SERVICES INC
          ATTN: DANIELLE PEGGY DARLING                                          Contingent
          LINA RAMIREZ                                                          Unliquidated
          4471 E SANTA ANA ST #A                                                Disputed
          ONTARIO, CA 91761
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 250 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 367 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.105
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $102,909.14
          FIRST SERVICE                                                         Contingent
          ATTN: DAN GOLDBLATT                                                   Unliquidated
          737 SOUTHPOINT BLVD., STE. D                                          Disputed
          PETALUMA, CA 94954
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.105
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,576.77
          FIRST SERVICE                                                         Contingent
          737 SOUTHPOINT BLVD., STE. D                                          Unliquidated
          PETALUMA, CA 94954
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $730.00
          FIRST SERVICE                                                         Contingent
          737 SOUTHPOINT BLVD., STE. D                                          Unliquidated
          PETALUMA, CA 94954
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $115,104.78
          FIT FOR LIFE LLC
          ATTN: AUDRA ASHU                                                      Contingent
          75 REMITTANCE DRIVE                                                   Unliquidated
          DEPT 6154                                                             Disputed
          CHICAGO, IL 60675-6154
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.105
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $168,108.98
          FIT TX LP
          ATTN: CAMILE LEVY                                                     Contingent
          50 ROCKEFELLER PLAZA                                                  Unliquidated
          2ND FLOOR                                                             Disputed
          NEW YORK, NY 10020
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.105
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $132,131.46
          FIT TX LP
          ATTN: CAMILE LEVY                                                     Contingent
          50 ROCKEFELLER PLAZA                                                  Unliquidated
          2ND FLOOR                                                             Disputed
          NEW YORK, NY 10020
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 251 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 368 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.105
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,699.70
          FITNESS ANYWHERE LLC                                                  Contingent
          ATTN: MARTHA CARR                                                     Unliquidated
          DEPT LA 24914                                                         Disputed
          PASADENA, CA 91185-4914
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.106
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,447.70
          FITNESS FIRST LLC                                                     Contingent
          608 ELYSIAN FIELDS                                                    Unliquidated
          LAFAYETTE, LA 70508                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,597.03
          FIVE STAR TRANSPORT                                                   Contingent
          ATTN: DAN LAPP                                                        Unliquidated
          18530 DAMON DRIVE
                                                                                Disputed
          HESPERIA, CA 92345
          Date(s) debt was incurred
                                                                             Basis for the claim:    Moving Costs
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.106
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,133.60
          FIVE STAR TRANSPORT                                                   Contingent
          ATTN: DAN LAPP                                                        Unliquidated
          18530 DAMON DRIVE                                                     Disputed
          HESPERIA, CA 92345
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.106
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,150.00
          FIVE STAR TRANSPORT                                                   Contingent
          ATTN: DAN LAPP                                                        Unliquidated
          18530 DAMON DRIVE
                                                                                Disputed
          HESPERIA, CA 92345
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.106
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,453.00
          FL-1 MEDICAL SERVICES LLC                                             Contingent
          P.O. BOX 80169                                                        Unliquidated
          PHILADELPHIA, PA 19101
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $145,136.67
          FLATBUSH DELAWARE HOLDING LLC                                         Contingent
          C/O ACHS MANAGEMENT CORP                                              Unliquidated
          1412 BROADWAY, 3RD FLOOR                                              Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 252 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 369 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.106
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $338.58
          FLATBUSH DELAWARE HOLDING LLC                                         Contingent
          C/O ACHS MANAGEMENT CORP                                              Unliquidated
          1412 BROADWAY, 3RD FLOOR
                                                                                Disputed
          NEW YORK, NY 10018
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.106
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $53.33
          FLEMATE RAUDEL                                                        Contingent
          448 E FIFTH ST                                                        Unliquidated
          SAN JACINTO, CA 92583
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $188.26
          FLORIDA CITY GAS/1559                                                 Contingent
          12 W JERSEY                                                           Unliquidated
          ELIZABETH, NJ 07201
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,229.20
          FLORIDA DEPARTMENT OF FINANCIAL
          SERVICES                                                              Contingent
          UNCLAIMED PROPERTY SECTION                                            Unliquidated
          P.O. BOX 1990                                                         Disputed
          TALLAHASSEE, FL 32302-1990
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.107
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          FLORIDA DEPARTMENT OF REVENUE                                         Contingent
          5050 W. TENNESSEE ST
                                                                                Unliquidated
          TALLAHASSEE, FL 32399-0128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    State of Florida Income Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $161.55
          FLORIDA DEPARTMENT OF REVENUE                                         Contingent
          5050 W. TENNESSEE ST                                                  Unliquidated
          TALLAHASSEE, FL 32399-0128                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 253 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 370 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.107
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,551.50
          FLORIDA FIRE SAFETY INC                                               Contingent
          13605 SW 149 AVE                                                      Unliquidated
          SUITE #10                                                             Disputed
          MIAMI, FL 33196
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.107
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,884.23
          FLORIDA POWER & LIGHT CO                                              Contingent
          P.O. BOX 025576                                                       Unliquidated
          MIAMI, FL 33102
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.73
          FLORIDA PUBLIC UTILITIES CO WEST                                      Contingent
          PALM B                                                                Unliquidated
          401 S. DIXIE HWY
                                                                                Disputed
          WEST PALM BEACH, FL 33401
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.107
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $63,544.24
          FLOWATER INCORPORATED                                                 Contingent
          4045 PECOS ST STE 160                                                 Unliquidated
          DENVER, CO 80211-2562                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $218.00
          FLOWATER INCORPORATED                                                 Contingent
          1415 PARK AVE W                                                       Unliquidated
          DENVER, CO 80205
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commission
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $413.00
          FOLEY & LARDNER LLC                                                   Contingent
          777 EAST WISCONSIN AVE                                                Unliquidated
          MILWAUKEE, WI 53202
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38.04
          FONTANA WATER COMPANY                                                 Contingent
          PO BOX 5970                                                           Unliquidated
          EL MONTE, CA 91734-1970
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 254 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 371 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.107
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,350.00
          FOOTHILL FIRE PROTECTION INC                                          Contingent
          ATTN: BILLY STRONG                                                    Unliquidated
          5948 KING RD.                                                         Disputed
          LOOMIS, CA 95650
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.108
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,868.00
          FORCHELLI DEEGAN TERRANA LLP
          ATTN: MELISSA COHEN                                                   Contingent
          333 EARLE OVINGTON BLVD                                               Unliquidated
          SUITE 1010                                                            Disputed
          UNIONDALE, NY 11553
                                                                             Basis for the claim:    Legal Fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.108
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $148,616.67
          FORDHAM ASSOCIATES DE LLC                                             Contingent
          C/O JJ OPERATING INC                                                  Unliquidated
          112 WEST 34TH STREET                                                  Disputed
          NEW YORK, NY 10120
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.108
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,475.20
          FORDHAM ASSOCIATES DE LLC                                             Contingent
          C/O JJ OPERATING INC                                                  Unliquidated
          112 WEST 34TH STREET
                                                                                Disputed
          NEW YORK, NY 10120
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.108
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,492.95
          FORENSIC ANALYTICAL CONSULTING
          ATTN: ROBERT MCNEELY                                                  Contingent
          SERVICES INC                                                          Unliquidated
          ATTN: ACCOUNTS RECEIVABLE                                             Disputed
          HAYWARD, CA 94545
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.108
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,904.00
          FORT BEND COUNTY MUD # 161                                            Contingent
          12841 CAPRICORN STREET                                                Unliquidated
          STAFFORD, TX 77477
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 255 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 372 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.108
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,372.00
          FORT BEND COUNTY MUD # 167                                            Contingent
          11500 NW FREEWAY                                                      Unliquidated
          STE 465
                                                                                Disputed
          HOUSTON, TX 77092
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.108
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,594.00
          FORT BEND COUNTY TAX ASSESSOR                                         Contingent
          TAX ASSESSOR-COLLECTOR                                                Unliquidated
          P.O. BOX 1028
                                                                                Disputed
          SUGARLAND, TX 77487-1028
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.108
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,426.08
          FORT COLLINS UTILITIES                                                Contingent
          330 SOUTH COLLEGE                                                     Unliquidated
          FORT COLLINS, CO 80522
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,653.55
          FORT WORTH WATER DEPARTMENT                                           Contingent
          PO BOX 961003                                                         Unliquidated
          FORTWORTH, TX 76161-0003
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,040.79
          FORT WORTH WATER DEPARTMENT                                           Contingent
          PO BOX 961003                                                         Unliquidated
          FORTWORTH, TX 76161-0003
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $196,522.00
          FOURTH PLAIN PORTLAND
          ATTN: DARLENE ELIAS                                                   Contingent
          SHOPPING CENTER LLC                                                   Unliquidated
          C/O ARCADIA MANAGEMENT GROUP INC                                      Disputed
          SCOTTSDALE, AZ 85252
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 256 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 373 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.109
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,242.99
          FOURTH PLAIN PORTLAND
          ATTN: DARLENE ELIAS                                                   Contingent
          SHOPPING CENTER LLC                                                   Unliquidated
          C/O ARCADIA MANAGEMENT GROUP INC                                      Disputed
          SCOTTSDALE, AZ 85252
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.109
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $140,029.00
          FR SAN ANTONIO CENTER LLC                                             Contingent
          1626 EAST JEFFERSON STREET                                            Unliquidated
          ROCKVILLE, MD 20852                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $53.65
          FR SAN ANTONIO CENTER LLC                                             Contingent
          1626 EAST JEFFERSON STREET                                            Unliquidated
          ROCKVILLE, MD 20852
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          FRANCHISE TAX BOARD                                                   Contingent
          P.O. BOX 942857
                                                                                Unliquidated
          SACRAMENTO, CA 94257-0501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    State of California Income Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          FRANCINE G LOUDON                                                     Contingent
          37682 GLENMOOR DR                                                     Unliquidated
          FREMONT, CA 94536                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          FRANK BAVARO                                                          Contingent
          10656 BRIARLAKE WOODS DR                                              Unliquidated
          SAN DIEGO, CA 92130                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          FRANK NAPOLITANO                                                      Contingent
          920 CAMILLE LANE                                                      Unliquidated
          ALAMO, CA 94507                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 257 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 374 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.109
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $106,169.45
          FRED STRAUS INC                                                       Contingent
          P.O. BOX 656                                                          Unliquidated
          YONKERS, NY 10702-0656                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $144,443.45
          FREEMOTION FITNESS                                                    Contingent
          ATTN: DIANA SIDWELL                                                   Unliquidated
          1096 ELKTON DRIVE #600                                                Disputed
          COLORADO SPRINGS, CO 80907
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.110
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $66,238.57
          FREMONT PROPERTY LLC                                                  Contingent
          3808 GRAND AVE                                                        Unliquidated
          SUITE B                                                               Disputed
          CHINO, CA 91710-5496
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.110
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $408.48
          FREMONT PROPERTY LLC                                                  Contingent
          3808 GRAND AVE                                                        Unliquidated
          SUITE B
                                                                                Disputed
          CHINO, CA 91710-5496
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.110
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $194,790.25
          FRISCO FITNESS LP
          ATTN: KEVIN KELLEY                                                    Contingent
          C/O TITUS PROPERTIES, LLC                                             Unliquidated
          1748 W KATELLA AVE STE 206                                            Disputed
          ORANGE, CA 92867
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.110
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $71,458.19
          FRISCO FITNESS LP                                                     Contingent
          C/O TITUS PROPERTIES, LLC                                             Unliquidated
          1748 W KATELLA AVE STE 206
                                                                                Disputed
          ORANGE, CA 92867
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 258 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 375 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.110
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,955.23
          FRONTIER                                                              Contingent
          P.O. BOX 79146                                                        Unliquidated
          PHOENIX, AZ 85062-9146
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telecom
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $615.22
          FRONTIER                                                              Contingent
          P.O. BOX 79146                                                        Unliquidated
          PHOENIX, AZ 85062-9146
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $179.55
          FRUITLAND MUTUAL WATER CO                                             Contingent
          P.O. BOX 73759                                                        Unliquidated
          PUYALLUP, WA 98373
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $234,792.62
          FSP SOUTH FLOWER STREET ASSOCIATES                                    Contingent
          LLC                                                                   Unliquidated
          PO BOX 844689                                                         Disputed
          LOS ANGELES, CA 90084
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.110
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,787.70
          FSP SOUTH FLOWER STREET ASSOCIATES                                    Contingent
          LLC                                                                   Unliquidated
          PO BOX 844689
                                                                                Disputed
          LOS ANGELES, CA 90084
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.110
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,091.00
          FSP SOUTH FLOWER STREET ASSOCIATES                                    Contingent
          LLC                                                                   Unliquidated
          PO BOX 844689
                                                                                Disputed
          LOS ANGELES, CA 90084
          Date(s) debt was incurred
                                                                             Basis for the claim:    Parking
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.111
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,031.41
          FUSION WASTE AND RECYCLING                                            Contingent
          13601 PRESTON ROAD                                                    Unliquidated
          SUITE E470                                                            Disputed
          DALLAS, TX 75240
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 259 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 376 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.111
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $255,564.53
          FW CA-BREA MARKETPLACE LLC                                            Contingent
          DBA BREA MARKETPLACE                                                  Unliquidated
          P.O. BOX 31001-1054                                                   Disputed
          PASADENA, CA 91110-1054
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.111
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,411.12
          FW CA-BREA MARKETPLACE LLC                                            Contingent
          DBA BREA MARKETPLACE                                                  Unliquidated
          P.O. BOX 31001-1054
                                                                                Disputed
          PASADENA, CA 91110-1054
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.111
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $195,919.34
          FW CA-POINT LOMA PLAZA LLC                                            Contingent
          DBA POINT LOMA PLAZA                                                  Unliquidated
          P.O. BOX 31001-1087                                                   Disputed
          PASADENA, CA 91110-1087
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.111
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,829.57
          FW CA-POINT LOMA PLAZA LLC                                            Contingent
          DBA POINT LOMA PLAZA                                                  Unliquidated
          P.O. BOX 31001-1087
                                                                                Disputed
          PASADENA, CA 91110-1087
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.111
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,686.33
          FW CA-POINT LOMA PLAZA LLC                                            Contingent
          DBA POINT LOMA PLAZA                                                  Unliquidated
          P.O. BOX 31001-1087
                                                                                Disputed
          PASADENA, CA 91110-1087
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.111
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $151,959.66
          FW CA-RANCHO SAN DIEGO VILLAGE LLC                                    Contingent
          DBA RANCHO SAN DIEGO VILLAGE                                          Unliquidated
          P.O. BOX 31001-1090                                                   Disputed
          PASADENA, CA 91110-1090
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.111
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,170.18
          FW CA-RANCHO SAN DIEGO VILLAGE LLC                                    Contingent
          DBA RANCHO SAN DIEGO VILLAGE                                          Unliquidated
          P.O. BOX 31001-1090
                                                                                Disputed
          PASADENA, CA 91110-1090
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 260 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 377 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.111
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $185,147.48
          G&I VIII PIEDMONT PLAZA LLC
          ATTN: TRACY AMSTERDAM                                                 Contingent
          C/O DRA ADVISORS LLC                                                  Unliquidated
          220 EAST 42ND STREET                                                  Disputed
          NEW YORK, NY 10017
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.111
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,452.53
          G&I VIII PIEDMONT PLAZA LLC                                           Contingent
          C/O DRA ADVISORS LLC                                                  Unliquidated
          220 EAST 42ND STREET
                                                                                Disputed
          NEW YORK, NY 10017
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.112
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,801.41
          G&I VIII PIEDMONT PLAZA LLC                                           Contingent
          C/O DRA ADVISORS LLC                                                  Unliquidated
          220 EAST 42ND STREET
                                                                                Disputed
          NEW YORK, NY 10017
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.112
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $506.25
          GAETA INTERIOR DEMO                                                   Contingent
          25 VAN STREET                                                         Unliquidated
          STATEN ISLAND, NY 10310                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $399.74
          GAETA INTERIOR DEMO                                                   Contingent
          25 VAN STREET                                                         Unliquidated
          STATEN ISLAND, NY 10310
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,460.28
          GAGNON,DANIEL T                                                       Contingent
          868 MORTON WAY                                                        Unliquidated
          FOLSOM, CA 95630
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 261 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 378 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.112
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $179,169.27
          GAHRAHMAT FAMILY LTD PARTNERSHIP II
          LP
          ATTN: SHERIN GAHRAHMAT                                                Contingent
          3476 EDWARD AVENUE                                                    Unliquidated
          ATTN: PATTI LEVONYAK                                                  Disputed
          SANTA CLARA, CA 95054
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.112
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,733.45
          GAHRAHMAT FAMILY LTD PARTNERSHIP II
          LP
          ATTN: SHERIN GAHRAHMAT                                                Contingent
          3476 EDWARD AVENUE                                                    Unliquidated
          ATTN: PATTI LEVONYAK                                                  Disputed
          SANTA CLARA, CA 95054
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.112
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          GAIL M PERRY                                                          Contingent
          3822 CORNELL DR                                                       Unliquidated
          OCEANSIDE, CA 92056                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,164.41
          GALAN,GABRIEL G                                                       Contingent
          475 DOVER WAY #1                                                      Unliquidated
          CAMPBELL, CA 95008
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,053.47
          GALLAGHER BASSETT SERVICES, INC.                                      Contingent
          15763 COLLECTION CENTER DRIVE                                         Unliquidated
          CHICAGO, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $160.00
          GALLEGOS MICHEAL                                                      Contingent
          3530 AFTON FOREST LANE                                                Unliquidated
          KATY, TX 77449
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 262 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 379 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.113
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,052.00
          GALLEGOS SANITATION INC                                               Contingent
          P.O. BOX 1986                                                         Unliquidated
          FORT COLLINS, CO 80522                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $102.85
          GALLEGOS SANITATION INC                                               Contingent
          P.O. BOX 1986                                                         Unliquidated
          FORT COLLINS, CO 80522
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,319.94
          GALLUP INC                                                            Contingent
          ATTN: ALEX POWER                                                      Unliquidated
          P.O. BOX 310284                                                       Disputed
          DES MOINES, IA 50331-0284
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.113
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,342.00
          GALVESTON CO TAX COLLECTOR                                            Contingent
          P.O. BOX 4902                                                         Unliquidated
          HOUSTON, TX 77210-4902
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42.71
          GAMBOA JESUS                                                          Contingent
          13380 WENTWORTH ST                                                    Unliquidated
          ARLETA, CA 91331
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $211.60
          GANNON JENNIFER                                                       Contingent
          743 ARMONK RD                                                         Unliquidated
          MOUNT KISCO, NY 10549-4608
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $937.28
          GARDEN GROVE, CITY OF                                                 Contingent
          PO BOX 3070                                                           Unliquidated
          GARDEN GROVE, CA 92842-3070
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 263 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 380 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.113
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          GARDEN STATE LABORATORIES, INC                                        Contingent
          ATTN: JORDAN KLEIN                                                    Unliquidated
          410 HILLSIDE AVE                                                      Disputed
          HILLSIDE, NJ 07205
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.113
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $95,076.00
          GAT SPORT                                                             Contingent
          ATTN: JAY KLEIN                                                       Unliquidated
          578 PEPPER STREET                                                     Disputed
          MONROE, CT 06468
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.113
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $88,425.42
          GATEWAY COMPANY LLC                                                   Contingent
          3425 VIA LIDO                                                         Unliquidated
          SUITE 250
                                                                                Disputed
          NEWPORT BEACH, CA 92663
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.114
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,042.34
          GATEWAY COMPANY LLC
          ATTN: MATT FREDERICKSON                                               Contingent
          3425 VIA LIDO                                                         Unliquidated
          SUITE 250                                                             Disputed
          NEWPORT BEACH, CA 92663
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.114
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $95,492.26
          GENERAL CLOSED CLUB RESERVE                                           Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Real Property Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $136,134.95
          GENEVA CROSSING CAROL STREAM IL
          LLC
          ATTN: PAULA DETIENNE                                                  Contingent
          1551 SOUTH WASHINGTON AVENUE                                          Unliquidated
          SUITE 402A                                                            Disputed
          PISCATAWAY, NJ 08854
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 264 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 381 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.114
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,972.91
          GENEVA CROSSING CAROL STREAM IL
          LLC                                                                   Contingent
          1551 SOUTH WASHINGTON AVENUE                                          Unliquidated
          SUITE 402A                                                            Disputed
          PISCATAWAY, NJ 08854
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.114
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $452.15
          GI INDUSTRIES                                                         Contingent
          195 W LOS ANGELES AVE                                                 Unliquidated
          SIMI VALLEY, CA 93065
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $220,017.91
          GIAVISTA INVESTMENT LLC                                               Contingent
          8 GONDLOIERS BLUFF                                                    Unliquidated
          NEWPORT BEACH, CA 92657                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,902.29
          GIAVISTA INVESTMENT LLC                                               Contingent
          8 GONDLOIERS BLUFF                                                    Unliquidated
          NEWPORT BEACH, CA 92657
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          GIL,MICHAEL R                                                         Contingent
          1207 N. ORANGE DR. APT. 109                                           Unliquidated
          N/A
                                                                                Disputed
          LOS ANGELES, CA 90038
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.114
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,702.08
          GILDAN USA INC.                                                       Contingent
          ATTN: CORY WACHTEL                                                    Unliquidated
          1980 CLEMENTS FERRY ROAD                                              Disputed
          CHARLESTON, SC 29492
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 265 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 382 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.114
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          GILLIAM CAITLIN                                                       Contingent
          5721 WEST LAS POSITAS BLVD                                            Unliquidated
          #323
                                                                                Disputed
          PLEASANTON, CA 94588
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.115
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $161,637.77
          GLADE INLINE 2 LLC                                                    Contingent
          ATTN: KIM WINKLER                                                     Unliquidated
          P.O. BOX 841597                                                       Disputed
          DALLAS, TX 75284-1567
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.115
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $84,166.17
          GLADE INLINE 2 LLC                                                    Contingent
          ATTN: KIM WINKLER                                                     Unliquidated
          P.O. BOX 841597
                                                                                Disputed
          DALLAS, TX 75284-1567
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.115
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,263.68
          GLADSTONE DISPOSAL CO                                                 Contingent
          PO BOX 1838                                                           Unliquidated
          OREGON CITY, OR 97045-0838                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $144.37
          GLADSTONE DISPOSAL CO                                                 Contingent
          PO BOX 1838                                                           Unliquidated
          OREGON CITY, OR 97045-0838
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,020.00
          GLAZING CONCEPTS                                                      Contingent
          ATTN: PAMELA CARRERA                                                  Unliquidated
          158 BUSINESS CENTER DRIVE                                             Disputed
          CORONA, CA 92880
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.115
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,464.00
          GLAZING CONCEPTS                                                      Contingent
          ATTN: PAMELA CARRERA                                                  Unliquidated
          158 BUSINESS CENTER DRIVE
                                                                                Disputed
          CORONA, CA 92880
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 266 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 383 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.115
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,406.44
          GLIDE FITNESS PRODUCTS                                                Contingent
          1609 E. MCFADDEN AVE #F                                               Unliquidated
          SANTA ANA, CA 92705                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,022.20
          GLOBAL GEO-ENGINEERING INC                                            Contingent
          ATTN: ALLAN KAZEM                                                     Unliquidated
          3 CORPORATE PARK, SUITE 270                                           Disputed
          IRVINE, CA 92606
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.115
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $360.33
          GLOBAL LEISURE CAPITAL PARTNERS
          LLC                                                                   Contingent
          REGUS BUSINESS CENTER                                                 Unliquidated
          2054 VISTA PARKWAY                                                    Disputed
          WEST PALM BEACH, FL 33411
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.115
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $189,402.19
          GOLDEN SPRINGS DEVELOPMENT CO LLC                                     Contingent
          C/O FREDRIC ROLLMAN, DONFELD,                                         Unliquidated
          KELLY & ROLLMAN                                                       Disputed
          SANTA FE SPRINGS, CA 90670
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.116
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          GONZALES,NATHANIEL JESSE                                              Contingent
          4894 S BOUNTIFUL TRAIL                                                Unliquidated
          ONTARIO, CA 91762
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $366,973.10
          GOOGLE LLC                                                            Contingent
          ATTN: DERIC DEBENEDITTI                                               Unliquidated
          PO BOX 39000                                                          Disputed
          SAN FRANCISCO, CA 94139
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 267 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 384 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.116
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,377.78
          GOOGLE LLC                                                            Contingent
          ATTN: DERIC DEBENEDITTI                                               Unliquidated
          PO BOX 39000
                                                                                Disputed
          SAN FRANCISCO, CA 94139
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.116
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $311,805.51
          GRAINGER INC                                                          Contingent
          ATTN: RICHARD PEREIRA                                                 Unliquidated
          DEPT. 864990080                                                       Disputed
          PALATINE, IL 60038-0001
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.116
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,066.77
          GRAINGER INC                                                          Contingent
          ATTN: RICHARD PEREIRA                                                 Unliquidated
          DEPT. 864990080
                                                                                Disputed
          PALATINE, IL 60038-0001
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.116
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $358,183.26
          GRANDWAY CAPITAL HOLDINGS III LLC                                     Contingent
          55 S. LAKE AVENUE                                                     Unliquidated
          SUITE 600                                                             Disputed
          PASADENA, CA 91101
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.116
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,502.74
          GRANDWAY CAPITAL HOLDINGS III LLC                                     Contingent
          55 S. LAKE AVENUE                                                     Unliquidated
          SUITE 600
                                                                                Disputed
          PASADENA, CA 91101
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.116
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21.49
          GRANT BEN                                                             Contingent
          8030 WOODSTONE CT.                                                    Unliquidated
          SEBASTOPOL, CA 95472
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,450.00
          GRAPHETAL BRANDING DESIGN                                             Contingent
          ATTN: BRYAN SKITT                                                     Unliquidated
          11462 MADERA ROSA WAY                                                 Disputed
          SAN DIEGO, CA 92124
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 268 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 385 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.116
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $201.94
          GREAT OAKS WATER CO                                                   Contingent
          PO BOX 23490                                                          Unliquidated
          SAN JOSE, CA 95153
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $378,689.50
          GREEN ACRES ADJACENT LLC
          ATTN: REBECA LUGO                                                     Contingent
          401 WILSHIRE BLVD                                                     Unliquidated
          SUITE 700                                                             Disputed
          SANTA MONICA, CA 90401
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.117
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $280,181.57
          GREEN BANKER LLC                                                      Contingent
          STANLEY LO                                                            Unliquidated
          398 PRIMROSE RD                                                       Disputed
          BURLINGAME, CA 94010
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.117
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $65,812.76
          GREEN BANKER LLC                                                      Contingent
          STANLEY LO                                                            Unliquidated
          398 PRIMROSE RD
                                                                                Disputed
          BURLINGAME, CA 94010
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.117
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,469.95
          GREEN BANKER LLC                                                      Contingent
          STANLEY LO                                                            Unliquidated
          398 PRIMROSE RD
                                                                                Disputed
          BURLINGAME, CA 94010
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.117
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $109,456.41
          GREENBURGH RECEIVER OF TAXES                                          Contingent
          177 HILLSIDE AVE                                                      Unliquidated
          GREENBURGH, NY 10607
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 269 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 386 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.117
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38.48
          GREENE SCOTT                                                          Contingent
          5891 ARBOLES ST                                                       Unliquidated
          SAN DIEGO, CA 92120
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $468.54
          GREENLAWN WATER DISTRICT                                              Contingent
          45 RAILROAD STREET                                                    Unliquidated
          GREENLAWN, NY 11740-1297
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $279,902.23
          GRI WOODLANDS CROSSING LLC                                            Contingent
          P.O. BOX 664001                                                       Unliquidated
          SUITE 400                                                             Disputed
          DALLAS, TX 75266
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.117
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,290.58
          GRI WOODLANDS CROSSING LLC                                            Contingent
          P.O. BOX 664001                                                       Unliquidated
          SUITE 400
                                                                                Disputed
          DALLAS, TX 75266
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.117
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $209,895.00
          GRIFFIN FARM AT MIDTOWN LLC
          ATTN: KAREN ROMING                                                    Contingent
          7940 VIA DELLAGIO WAY                                                 Unliquidated
          SUITE 200                                                             Disputed
          ORLANDO, FL 32819
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.118
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,733.57
          GRIFFIN FARM AT MIDTOWN LLC
          ATTN: KAREN ROMING                                                    Contingent
          7940 VIA DELLAGIO WAY                                                 Unliquidated
          SUITE 200                                                             Disputed
          ORLANDO, FL 32819
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 270 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 387 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.118
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,624.64
          GRIMMER AUTO MALL ASSOCIATION
          ATTN: JENNIFER OLEDO                                                  Contingent
          C/O KOCAL PROPERTIES                                                  Unliquidated
          P.O.BOX 6718                                                          Disputed
          FOLSON, CA 95763
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.118
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,414.51
          GRIMMER AUTO MALL ASSOCIATION
          ATTN: JENNIFER OLEDO                                                  Contingent
          C/O KOCAL PROPERTIES                                                  Unliquidated
          P.O.BOX 6718                                                          Disputed
          FOLSON, CA 95763
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.118
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,536.13
          GROOS IV,GUS J                                                        Contingent
          2294 FOX CROSSING LN                                                  Unliquidated
          FRISCO, TX 75036
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $117,665.15
          GROVE AT WINTER PARK PROPERTY LLC                                     Contingent
          ATTN: WENDY M WILLIFORD                                               Unliquidated
          PO BOX 865800                                                         Disputed
          ORLANDO, FL 32886-5800
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.118
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $112,158.24
          GROVE AT WINTER PARK PROPERTY LLC                                     Contingent
          ATTN: WENDY M WILLIFORD                                               Unliquidated
          PO BOX 865800
                                                                                Disputed
          ORLANDO, FL 32886-5800
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.118
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $272,278.12
          GS PACIFIC ER LLC
          ATTN: JOHN PETERSEN                                                   Contingent
          100 N SEPULVEDA BOULEVARD                                             Unliquidated
          #1925                                                                 Disputed
          EL SEGUNDO, CA 90245
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 271 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 388 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.118
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,905.82
          GS PACIFIC ER LLC                                                     Contingent
          444 S. FLOWER STREET                                                  Unliquidated
          39TH FLOOR
                                                                                Disputed
          LOS ANGELES, CA 90071
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.118
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,447.88
          GS PACIFIC ER LLC                                                     Contingent
          444 S. FLOWER STREET                                                  Unliquidated
          39TH FLOOR
                                                                                Disputed
          LOS ANGELES, CA 90071
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.118
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          GUERRA JEANETTE                                                       Contingent
          1876 HILDING AVE                                                      Unliquidated
          SAN LEANDRO, CA 94577
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $131,201.51
          H & A PROPERTIES LP                                                   Contingent
          2603 MAIN STREET                                                      Unliquidated
          SUITE 210                                                             Disputed
          IRVINE, CA 92614
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.119
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.01
          HACIENDA BUSINESS PARK OWNERS                                         Contingent
          4305 HACIENDA DRIVE                                                   Unliquidated
          SUITE 330                                                             Disputed
          PLEASANTON, CA 94588-2738
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.119
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $168,954.26
          HAI MURRAY GYM LLC                                                    Contingent
          PO BOX 3309                                                           Unliquidated
          LOGAN, UT 84323                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,331.21
          HAI MURRAY GYM LLC                                                    Contingent
          PO BOX 3309                                                           Unliquidated
          LOGAN, UT 84323
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 272 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 389 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.119
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $196.68
          HAMILTON DETROY                                                       Contingent
          2667 PILLSBURY CT                                                     Unliquidated
          LIVERMORE, CA 94550
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $109.93
          HAMLET ODONNELL                                                       Contingent
          25-75 33RD STREET                                                     Unliquidated
          APT C1
                                                                                Disputed
          ASTORIA, NY 11102
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.119
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,374.12
          HAMLIN,TIFFANY                                                        Contingent
          435 HAWTHORNE STREET                                                  Unliquidated
          APT 203
                                                                                Disputed
          GLENDALE, CA 91204
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.119
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $63,775.25
          HAMPTON FITNESS PRODUCTS LTD                                          Contingent
          ATTN: PHIL LOPIANO                                                    Unliquidated
          1913 PORTOLA ROAD                                                     Disputed
          VENTURA, CA 93003
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.119
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $175,079.66
          HANCOCK CENTER                                                        Contingent
          DBA HANCOCK CENTER                                                    Unliquidated
          P.O. BOX 676473                                                       Disputed
          DALLAS, TX 75267-6473
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.119
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,332.43
          HANCOCK CENTER                                                        Contingent
          DBA HANCOCK CENTER                                                    Unliquidated
          P.O. BOX 676473
                                                                                Disputed
          DALLAS, TX 75267-6473
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.120
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $66,032.67
          HANCOCK FITNESS LP                                                    Contingent
          C/O TITUS PROPERTIES                                                  Unliquidated
          1748 W. KATELLA AVENUE, #206                                          Disputed
          ORANGE, CA 92867
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 273 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 390 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.120
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $278,090.96
          HANOVER 3201 REALTY LLC
          ATTN: ISABEL SAFFOLD                                                  Contingent
          101 HUDSON STREET                                                     Unliquidated
          SUITE 200                                                             Disputed
          JERSEY CITY, NJ 07302
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.120
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $307.43
          HANSEN PEST CONTROL LLC                                               Contingent
          ATTN: DENNIS HANSEN                                                   Unliquidated
          P.O. BOX 1075                                                         Disputed
          LITTLE ELM, TX 75068
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.120
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,581.03
          HAPPY SWIMMERS                                                        Contingent
          ATTN: JENN TYLER                                                      Unliquidated
          139 ROYAL DRIVE                                                       Disputed
          KAPAA, HI 96746
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.120
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39.45
          HARA BRYCE                                                            Contingent
          10 CAMPANERO E                                                        Unliquidated
          IRVINE, CA 92620
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $528.96
          HAROLD LEMAY ENTERPRISES                                              Contingent
          A WASTE CONNECTIONS COMPANY                                           Unliquidated
          PO BOX 60248
                                                                                Disputed
          LOS ANGELES, CA 90060-0248
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.120
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.74
          HARRIS COUNTY MUD #132                                                Contingent
          11111 KATY FREEWAY, STE 725                                           Unliquidated
          HOUSTON, TX 77079-2197
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 274 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 391 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.120
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28.00
          HARRIS COUNTY MUD #275                                                Contingent
          ECO-RESOURCES INC ATTN: RENEE,                                        Unliquidated
          SUGARLAND, TX 77478                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18.67
          HARRIS COUNTY MUD #275                                                Contingent
          ECO-RESOURCES INC                                                     Unliquidated
          ATTN: RENEE
                                                                                Disputed
          SUGARLAND, TX 77478
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.120
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $182,514.00
          HARRIS COUNTY TAX                                                     Contingent
          ASSESSOR-COLLECTOR                                                    Unliquidated
          P.O. BOX 4622
                                                                                Disputed
          HOUSTON, TX 77210-4622
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.121
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $154.06
          HARRIS WATER CONDITIONING, INC.                                       Contingent
          ATTN: KATHLEEN MANSELL                                                Unliquidated
          1025 S. ROSE AVE                                                      Disputed
          OXNARD, CA 93030-5180
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.121
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          HARWOOD QUINN                                                         Contingent
          2317 BILLY PAT RD                                                     Unliquidated
          LEANDER, TX 78641
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,161.68
          HAUL AWAY RUBBISH SERVICE CO INC                                      Contingent
          1205 DATE ST                                                          Unliquidated
          MONTEBELLO, CA 90640-6394
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $487.00
          HAULAWAY STORAGE CONTAINERS INC                                       Contingent
          11292 WESTERN AVENUE                                                  Unliquidated
          STANTON, CA 90680                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 275 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 392 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.121
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $79.03
          HAULAWAY STORAGE CONTAINERS INC                                       Contingent
          PO BOX 7183                                                           Unliquidated
          PASADENA, CA 91109-7183
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7.77
          HAWAII STATE TAX COLLECTOR                                            Contingent
          OAHU DISTRICT OFFICE                                                  Unliquidated
          PO BOX 1425                                                           Disputed
          HONOLULU, HI 96806-1425
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.121
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,238.55
          HAWAIIAN ELECTRIC CO INC                                              Contingent
          PO BOX 3978                                                           Unliquidated
          900 RICHARDS STREET
                                                                                Disputed
          HONOLULU, HI 96812
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.121
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $259,599.72
          HAWAIIAN GARDENS LAKEWOOD RETAIL
          LLC                                                                   Contingent
          C/O ATHENA PROPERTY MANAGEMENT                                        Unliquidated
          730 EL CAMINO WAY                                                     Disputed
          TUSTIN, CA 92780
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.121
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,134.18
          HAWAIIAN GARDENS LAKEWOOD RETAIL
          LLC                                                                   Contingent
          C/O ATHENA PROPERTY MANAGEMENT                                        Unliquidated
          730 EL CAMINO WAY                                                     Disputed
          TUSTIN, CA 92780
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.121
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $46.81
          HAWAIIAN TELECOM                                                      Contingent
          P.O. BOX 9688                                                         Unliquidated
          MISSION HILLS, CA 91346-9688
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 276 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 393 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.122
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $257,220.03
          HAWTHORNE X LLC                                                       Contingent
          2973 HARBOR BLVD                                                      Unliquidated
          #150                                                                  Disputed
          COSTA MESA, CA 92626
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.122
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $103,075.61
          HAWTHORNE X LLC                                                       Contingent
          2973 HARBOR BLVD                                                      Unliquidated
          #150
                                                                                Disputed
          COSTA MESA, CA 92626
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.122
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $215,522.33
          HAYWARD 880 LLC                                                       Contingent
          C/O GS MANAGEMENT                                                     Unliquidated
          5674 SONOMA DRIVE                                                     Disputed
          PLEASANTION, CA 94566
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.122
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,177.59
          HAYWARD 880 LLC                                                       Contingent
          C/O GS MANAGEMENT                                                     Unliquidated
          5674 SONOMA DRIVE
                                                                                Disputed
          PLEASANTION, CA 94566
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.122
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,699.76
          HAYWARD WATER SYSTEM                                                  Contingent
          P.O. BOX 6004                                                         Unliquidated
          HAYWARD, CA 94540
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,882.59
          HEALTH EQUITY INC                                                     Contingent
          ATTN: LANCE PARR                                                      Unliquidated
          15 WEST SCENIC POINTE DR SUITE 400                                    Disputed
          DRAPER, UT 84020
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.122
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $538,125.99
          HEIGHTS PLAZA LLC                                                     Contingent
          PO BOX 326                                                            Unliquidated
          PLAINFIELD, NJ 07061                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 277 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 394 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.122
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,817.16
          HEIGHTS PLAZA LLC                                                     Contingent
          PO BOX 326                                                            Unliquidated
          PLAINFIELD, NJ 07061
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,666.00
          HELIX COMPANY                                                         Contingent
          ATTN: BRIAN SWARTZ                                                    Unliquidated
          572 FREEPORT STREET, UNIT A                                           Disputed
          BOSTON, MA 02122
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.122
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54.52
          HELIX WATER DISTRICT                                                  Contingent
          7811 UNIVERSITY AVENUE                                                Unliquidated
          LA MESA, CA 91941-4927
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          HENCZ, CSABA                                                          Contingent
          6259 FOREST AVE APT. 1A                                               Unliquidated
          RIDGEWOOD, NY 11385
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $108,405.29
          HERMAN-STEWART CONSTRUCTION INC                                       Contingent
          4550 FORBES BLVD SUITE 200
                                                                                Unliquidated
          LANHAM, MD 20706
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,801.72
          HERNANDEZ CRISOFORO                                                   Contingent
          4004 MCLAUGHLIN AV                                                    Unliquidated
          SAN JOSE, CA 95121
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          HERNANDEZ DANNY                                                       Contingent
          6808 NW 179TH ST APT 304                                              Unliquidated
          HIALEAH, FL 33015
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 278 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 395 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.123
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $61.42
          HETTRICK LON                                                          Contingent
          4968 SNOW DR                                                          Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $184,959.47
          HGGA PROMENADE LP                                                     Contingent
          POST OFFICE BOX 8700                                                  Unliquidated
          NEWPORT BEACH, CA 92658-8700                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $208,437.85
          HGV COMMERCIAL LLC
          ATTN: RACHELLE KALKOFEN                                               Contingent
          4500 W. 38TH AVE                                                      Unliquidated
          SUITE 210                                                             Disputed
          DENVER, CO 80212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.123
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $58,071.63
          HGV COMMERCIAL LLC
          ATTN: RACHELLE KALKOFEN                                               Contingent
          4500 W. 38TH AVE                                                      Unliquidated
          SUITE 210                                                             Disputed
          DENVER, CO 80212
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.123
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $525,444.36
          HI TECH TILE & MARBLE                                                 Contingent
          ATTN: GRAHAM                                                          Unliquidated
          7315 CANOGA AVENUE                                                    Disputed
          CANOGA PARK, CA 91303
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.123
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,753.76
          HI TECH TILE & MARBLE                                                 Contingent
          ATTN: GRAHAM                                                          Unliquidated
          7315 CANOGA AVENUE
                                                                                Disputed
          CANOGA PARK, CA 91303
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 279 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 396 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.124
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14.95
          HICKS AUSTIN                                                          Contingent
          708 WOODVIEW DR                                                       Unliquidated
          APOPKA, FL 32712
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $172,666.67
          HIGHLAND FITNESS LTD                                                  Contingent
          C/O TITUS PROPERTIES                                                  Unliquidated
          1478 W. KATELLA AVE., # 206                                           Disputed
          ORANGE, CA 92867
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.124
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $44,047.12
          HIGHLAND FITNESS LTD                                                  Contingent
          C/O TITUS PROPERTIES                                                  Unliquidated
          1478 W. KATELLA AVE., # 206
                                                                                Disputed
          ORANGE, CA 92867
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.124
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $142,077.04
          HIGHLAND SHOPPING CENTER LLC
          ATTN: JAMES HAMM
          C/O COMMERCIAL DEVELOPMENT &                                          Contingent
          CONSULTING                                                            Unliquidated
          4957 LAKEMONT BLVD SE                                                 Disputed
          BELLEVUE, WA 98006
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.124
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,192.35
          HIGHLAND SHOPPING CENTER LLC
          C/O COMMERCIAL DEVELOPMENT &                                          Contingent
          CONSULTING                                                            Unliquidated
          4957 LAKEMONT BLVD SE                                                 Disputed
          BELLEVUE, WA 98006
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.124
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,661.61
          HIGHLAND SHOPPING CENTER LLC
          C/O COMMERCIAL DEVELOPMENT &                                          Contingent
          CONSULTING                                                            Unliquidated
          4957 LAKEMONT BLVD SE                                                 Disputed
          BELLEVUE, WA 98006
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 280 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 397 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.124
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $486.38
          HIGHLANDS RANCH METRO DISTRICTS                                       Contingent
          62 WEST PLAZA DRIVE                                                   Unliquidated
          HIGHLANDS RANCH, CO 80129
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75.00
          HILL AMANDA                                                           Contingent
          4701 PRESTON PARK BLVD                                                Unliquidated
          APT 1222
                                                                                Disputed
          PLANO, TX 75093
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.124
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          HILL AND KNOWLTON STRATEGIES                                          Contingent
          P.O. BOX 101264                                                       Unliquidated
          ATLANTA, GA 30392-1264
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          HILL AND KNOWLTON STRATEGIES                                          Contingent
          P.O. BOX 101264                                                       Unliquidated
          ATLANTA, GA 30392-1264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,660.00
          HIRSCHFELD KRAEMER LLP                                                Contingent
          505 MONTGOMERY STREET                                                 Unliquidated
          13TH FLOOR
                                                                                Disputed
          SAN FRANCISCO, CA 94111
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.125
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,080.00
          HIRSCHFELD KRAEMER LLP                                                Contingent
          505 MONTGOMERY STREET                                                 Unliquidated
          13TH FLOOR                                                            Disputed
          SAN FRANCISCO, CA 94111
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 281 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 398 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.125
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $101,092.94
          HMC LEWISVILLE TC LLC
          ATTN: LISA MCKIEL                                                     Contingent
          2100 THIRD AVENUE NORTH                                               Unliquidated
          SUITE 600                                                             Disputed
          BIRMINGHAM, AL 35203
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.125
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $81,358.75
          HMC LEWISVILLE TC LLC
          ATTN: LISA MCKIEL                                                     Contingent
          2100 THIRD AVENUE NORTH                                               Unliquidated
          SUITE 600                                                             Disputed
          BIRMINGHAM, AL 35203
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.125
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $749,820.01
          HOIST FITNESS SYSTEMS                                                 Contingent
          ATTN: JASON EVENSKAAS                                                 Unliquidated
          11900 COMMUNITY ROAD                                                  Disputed
          POWAY, CA 92064
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.125
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,955.53
          HOIST FITNESS SYSTEMS                                                 Contingent
          ATTN: JASON EVENSKAAS                                                 Unliquidated
          11900 COMMUNITY ROAD
                                                                                Disputed
          POWAY, CA 92064
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.125
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $359,273.53
          HOLLYWOOD STATION PARTNERS LLC                                        Contingent
          ATTN: GIL FITZPATRICK                                                 Unliquidated
          2114 PICO BLVD                                                        Disputed
          SANTA MONICA, CA 90405
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.125
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $306,362.83
          HOME DEPOT USA, INC.                                                  Contingent
          ATTN: LOCKBOX 7491                                                    Unliquidated
          400 WHITE CLAY CENTER DRIVE
                                                                                Disputed
          NEWARK, DE 19711
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 282 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 399 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.125
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,306.14
          HOME DEPOT USA, INC.                                                  Contingent
          ATTN: LOCKBOX 7491                                                    Unliquidated
          400 WHITE CLAY CENTER DRIVE                                           Disputed
          NEWARK, DE 19711
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.125
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,462.40
          HOUSE OF MARLEY LLC                                                   Contingent
          ATTN: RACHEL KAMINSKI                                                 Unliquidated
          3000 PONTIAC TRAIL                                                    Disputed
          COMMERCE TOWNSHIP, MI 48390
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.126
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $80,721.67
          HREH LLC                                                              Contingent
          6840 ORANGETHORPE AVE                                                 Unliquidated
          STE G                                                                 Disputed
          BUENA PARK, CA 90620-1368
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.126
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $88,875.29
          HSC LAFAYETTE LLC                                                     Contingent
          ATTN: ANGELA LEFTIS                                                   Unliquidated
          PO BOX 130                                                            Disputed
          DAPHNE, AL 36526
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.126
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $87,216.24
          HSC LAFAYETTE LLC                                                     Contingent
          ATTN: ANGELA LEFTIS                                                   Unliquidated
          PO BOX 130
                                                                                Disputed
          DAPHNE, AL 36526
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.126
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,997.75
          HUDSON & CALLEJA LLC                                                  Contingent
          8603 SOUTH DIXIE HIGHWAY                                              Unliquidated
          SUITE 315
                                                                                Disputed
          MIAMI, FL 33156
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.126
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $378,070.54
          HUDSON MET PARK NORTH LLC                                             Contingent
          PO BOX 45216                                                          Unliquidated
          SAN FRANCISCO, CA 94145-5216                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 283 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 400 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.126
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,792.36
          HUDSON MET PARK NORTH LLC                                             Contingent
          PO BOX 45216                                                          Unliquidated
          SAN FRANCISCO, CA 94145-5216
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,734.21
          HUDSON MET PARK NORTH LLC                                             Contingent
          PO BOX 45216                                                          Unliquidated
          SAN FRANCISCO, CA 94145-5216
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $168,695.90
          HUH DI OCP CINQUE TERRE LLC                                           Contingent
          ATTN: LYNN C RIFF                                                     Unliquidated
          22 MAPLE AVENUE                                                       Disputed
          MORRISTOWN, NJ 07960
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.126
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,589.14
          HUH DI OCP CINQUE TERRE LLC                                           Contingent
          ATTN: LYNN C RIFF                                                     Unliquidated
          22 MAPLE AVENUE
                                                                                Disputed
          MORRISTOWN, NJ 07960
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.126
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $164,603.76
          HUNTINGTON SOUTH CENTER LLC                                           Contingent
          ATTN: JOSEPH GOUDLOCK                                                 Unliquidated
          151 S. EL CAMINO DRIVE                                                Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.127
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $318,667.21
          HUSITE LP                                                             Contingent
          C/O BROWN ASSOCIATES, LLC                                             Unliquidated
          P.O. BOX 8287                                                         Disputed
          NEWPORT BEACH, CA 92658
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.127
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $66,602.48
          HYDRO FLASK                                                           Contingent
          ATTN: LAURA ACOSTA                                                    Unliquidated
          PO BOX 741037                                                         Disputed
          LOS ANGELES, CA 90074-1037
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 284 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 401 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.127
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,159.20
          HYDRO FLASK                                                           Contingent
          PO BOX 741037                                                         Unliquidated
          LOS ANGELES, CA 90074-1037
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Retail Inventory products
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,432.94
          HYLAND LLC                                                            Contingent
          ATTN: MARK BLANCHARD                                                  Unliquidated
          8900 RENNER BOULEVARD                                                 Disputed
          LENEXA, KS 66219
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.127
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $505,082.50
          HYPERICE INC
          ATTN: JOE CANNON                                                      Contingent
          15440 LAGUNA CANYON RD                                                Unliquidated
          STE 230                                                               Disputed
          IRVINE, CA 92618
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.127
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,850.00
          HYPERICE INC
          15440 LAGUNA CANYON RD                                                Contingent
          15440 LAGUNA CANYON RD                                                Unliquidated
          STE 230                                                               Disputed
          IRVINE, CA 92618
                                                                             Basis for the claim:    Retail Inventory products
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.127
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,350.00
          HYPERICE INC
          ATTN: JOE CANNON                                                      Contingent
          15440 LAGUNA CANYON RD                                                Unliquidated
          STE 230                                                               Disputed
          IRVINE, CA 92618
                                                                             Basis for the claim:    Hypervolt product for Spartan race
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.127
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,254.13
          I & G BELLEVUE LLC                                                    Contingent
          C/O UNICO PROPERTIES LLC                                              Unliquidated
          PO BOX 84058
                                                                                Disputed
          SEATTLE, WA 98124
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 285 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 402 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.127
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $145,314.54
          IA CYPRESS CYFAIR                                                     Contingent
          LIMITED PARTNERSHIP                                                   Unliquidated
          DEPT. 40107                                                           Disputed
          CHICAGO, IL 60693-0320
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.127
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,753.88
          IA CYPRESS CYFAIR                                                     Contingent
          LIMITED PARTNERSHIP                                                   Unliquidated
          DEPT. 40107
                                                                                Disputed
          CHICAGO, IL 60693-0320
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.128
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $224,667.94
          IA LEAGUE CITY BAY COLONY
          ATTN: JESSI RICHARDS                                                  Contingent
          LIMITED PARTNERSHIP                                                   Unliquidated
          DEPT 40106                                                            Disputed
          CHICAGO, IL 60693-0320
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.128
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,763.04
          ICON OWNER POOL 1 WEST SOUTHWEST                                      Contingent
          LLC                                                                   Unliquidated
          2 NORTH RIVERSIDE PLAZA #2350                                         Disputed
          CHICAGO, IL 60606
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.128
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,398.29
          ICON OWNER POOL 1 WEST SOUTHWEST
          LLC                                                                   Contingent
          ATTN: CRAIG HANSEN                                                    Unliquidated
          PO BOX 843944                                                         Disputed
          LOS ANGELES, CA 90084-3944
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.128
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,978.38
          ICON OWNER POOL 1 WEST SOUTHWEST
          LLC                                                                   Contingent
          BRE JUPITER WESTERN                                                   Unliquidated
          B WEST AZ/CA LLC                                                      Disputed
          DALLAS, TX 75320-8241
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 286 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 403 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.128
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $452,438.49
          ID ASSOCIATES                                                         Contingent
          ATTN: ROSALYN HOLDERFIELD                                             Unliquidated
          PO BOX 8068                                                           Disputed
          DOTHAN, AL 36304
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.128
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,592.40
          ID ASSOCIATES                                                         Contingent
          ATTN: ROSALYN HOLDERFIELD                                             Unliquidated
          PO BOX 8068
                                                                                Disputed
          DOTHAN, AL 36304
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.128
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,745.00
          ID ASSOCIATES                                                         Contingent
          ATTN: ROSALYN HOLDERFIELD                                             Unliquidated
          PO BOX 8068
                                                                                Disputed
          DOTHAN, AL 36304
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.128
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,918.34
          IDEMIA IDENTIY & SECURITY USA LLC
          ATTN: DEVANGI STRATMA                                                 Contingent
          ACCOUNTS RECEIVABLE                                                   Unliquidated
          5515 EAST LA PALMA AVE                                                Disputed
          ANAHEIM, CA 92807
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.128
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $319,124.68
          IGI19 FC VA LLC
          ATTN: STEVEN GREATHOUSE                                               Contingent
          1140 N. WILLIAMSON BLVD                                               Unliquidated
          SUITE 140                                                             Disputed
          DAYTONA BEACH, FL 32114
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.128
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,956.49
          IGS ENERGY                                                            Contingent
          6100 EMERALD PAKWAY                                                   Unliquidated
          DUBLIN, OH 43016
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 287 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 404 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.129
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $578.99
          IGS ENERGY                                                            Contingent
          6100 EMERALD PAKWAY                                                   Unliquidated
          DUBLIN, OH 43016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $550.00
          ILLINOIS DEPARTMENT OF PUBLIC
          HEALTH                                                                Contingent
          DIVISION OF ENVIRONMENTAL HEALTH                                      Unliquidated
          525 WEST JEFFERSON STREET                                             Disputed
          SPRINGFIELD, IL 62761
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.129
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ILLINOIS DEPARTMENT OF REVENUE                                        Contingent
          P.O. BOX 19048
                                                                                Unliquidated
          SPRINGFIELD, IL 62794-9048
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    State of Illinois Income Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49.00
          ILLINOIS DEPT OF REVENUE
          JAMES R. THOMPSON CENTER - 7TH                                        Contingent
          FLOOR                                                                 Unliquidated
          100 WEST RANDOLPH STREET                                              Disputed
          CHICAGO, IL 60601-3274
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.129
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $96.06
          ILLINOIS OFFICE OF THE STATE
          TREASURER                                                             Contingent
          UNCLAIMED PROPERTY DIVISION                                           Unliquidated
          P.O. BOX 19496                                                        Disputed
          SPRINGFIELD, IL 62794-9496
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.129
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,538.73
          IMG TECHNOLOGIES INC                                                  Contingent
          ATTN: JENNIFER MUHLBACH                                               Unliquidated
          PO BOX 206734                                                         Disputed
          DALLAS, TX 75320
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 288 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 405 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.129
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,703.28
          IMPERIAL IRRIGATION DISTRICT, CA                                      Contingent
          333 EAST BARIONI BLVD                                                 Unliquidated
          IMPERIAL, CA 92251
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,727.20
          IMPERIAL PARKING                                                      Contingent
          DEPT CH 19118                                                         Unliquidated
          PALATINE, IL 60055-9118                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,959.00
          IMPERIAL PARKING                                                      Contingent
          DEPT CH 19118                                                         Unliquidated
          PALATINE, IL 60055-9118
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Parking
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $61,388.40
          IMPLUS FOOTCARE LLC
          ATTN: AMANDA JOHNSON                                                  Contingent
          2001 T W ALEXANDER DRIVE                                              Unliquidated
          BOX 13925                                                             Disputed
          DURHAM, NC 27709
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.130
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $263.12
          INDIO WATER AUTHORITY                                                 Contingent
          83101 AVENUE 45                                                       Unliquidated
          INDIO, CA 99201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $118.40
          INDIO WATER AUTHORITY                                                 Contingent
          83101 AVENUE 45                                                       Unliquidated
          INDIO, CA 99201
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $301,110.62
          INDUSTRY EAST LAND RETAIL II LLC                                      Contingent
          13191 CROSSROADS PKWY NORTH 6TH                                       Unliquidated
          FLOOR                                                                 Disputed
          CITY OF INDUSTRY, CA 91746-3497
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 289 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 406 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.130
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,419.12
          INDUSTRY EAST LAND RETAIL II LLC                                      Contingent
          13191 CROSSROADS PKWY NORTH 6TH                                       Unliquidated
          FLOOR
                                                                                Disputed
          CITY OF INDUSTRY, CA 91746-3497
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.130
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $283,286.06
          INDUSTRY INVESTMENT COMPANY LLC                                       Contingent
          ATTN: KEVIN HAYES                                                     Unliquidated
          1306 CAMBRIDGE LANE                                                   Disputed
          NEWPORT BEACH, CA 92660
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.130
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $86,956.34
          INDUSTRY INVESTMENT COMPANY LLC                                       Contingent
          ATTN: KEVIN HAYES                                                     Unliquidated
          1306 CAMBRIDGE LANE
                                                                                Disputed
          NEWPORT BEACH, CA 92660
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.130
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,851.75
          INDUSTRY PUBLIC UTILITY COMMISSION                                    Contingent
          380 N. SAN JACINTO ST #202 ,                                          Unliquidated
          HEMET, CA 92545                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,616.85
          INDUSTRY PUBLIC UTILITY COMMISSION                                    Contingent
          380 N. SAN JACINTO ST #202 ,                                          Unliquidated
          HEMET, CA 92545
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,294.00
          INFORMATICA LLC                                                       Contingent
          ATTN: MIKE SHERMAN                                                    Unliquidated
          PO BOX 741089                                                         Disputed
          LOS ANGELES, CA 90074-1089
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.130
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,764.08
          INFORMATION RESOURCES INC                                             Contingent
          ATTN: ALYSSA FOSS                                                     Unliquidated
          150 N. CLINTON STREET                                                 Disputed
          CHICAGO, IL 60661
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 290 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 407 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.131
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $276,907.28
          INLAND IOWA PROPERTY LLC                                              Contingent
          ATTN: WENDY WONG                                                      Unliquidated
          2654 GREENWICH STREET                                                 Disputed
          SAN FRANCISCO, CA 94123
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.131
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,782.66
          INLAND IOWA PROPERTY LLC                                              Contingent
          2654 GREENWICH STREET                                                 Unliquidated
          SAN FRANCISCO, CA 94123
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,583.84
          INNOVATIVE COOLING TECHNOLOGIES
          LLC                                                                   Contingent
          ATTN: ERNESTO JUAREZ                                                  Unliquidated
          2825 SW 113TH CT                                                      Disputed
          FORT LAUDERDALE, FL 33312-2911
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.131
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,559.00
          INNOVATIVE COOLING TECHNOLOGIES
          LLC                                                                   Contingent
          ATTN: ERNESTO JUAREZ                                                  Unliquidated
          2825 SW 113TH CT                                                      Disputed
          FORT LAUDERDALE, FL 33312-2911
                                                                             Basis for the claim:    Purchase of fixed assets
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.131
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,889.93
          INNOVATIVE MERCHANDISING SERVICES
          INC
          ATTN: JUDY BOMMARITO                                                  Contingent
          PO BOX 609                                                            Unliquidated
          IMS                                                                   Disputed
          WILDOMAR, CA 92595
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.131
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,640.00
          INSIGHT GLOBAL LLC                                                    Contingent
          ATTN: GRACE PUKSTA                                                    Unliquidated
          PO BOX 198226                                                         Disputed
          ATLANTA, GA 30384-8226
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 291 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 408 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.131
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,177.71
          INSIGHT GLOBAL LLC                                                    Contingent
          PO BOX 198226                                                         Unliquidated
          ATLANTA, GA 30384-8226
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,087.22
          INSTAKEY                                                              Contingent
          7456 WEST 5TH AVENUE                                                  Unliquidated
          LAKEWOOD, CO 80226                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,000.00
          INSTITUTE OF MOTION
          ATTN: MICHOL DALCOURT                                                 Contingent
          827 DEL MAR                                                           Unliquidated
          DOWNS RD # B                                                          Disputed
          SOLANA BEACH, CA 92075
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.131
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,244.63
          INTEGRA                                                               Contingent
          P.O. BOX 2966                                                         Unliquidated
          MILWAUKEE, WI 53201-2966
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $179.71
          INTERCONN                                                             Contingent
          PO BOX 54158                                                          Unliquidated
          NEW ORLEANS, LA 70154
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,412.53
          INTERIOR PLANT DESIGN                                                 Contingent
          ATTN: PAUL SCHMIDT                                                    Unliquidated
          1950 MONTEREY RD                                                      Disputed
          SAN JOSE, CA 95112-6118
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 292 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 409 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.132
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,890.00
          INTERMOUNTAIN RURAL ELECTRIC                                          Contingent
          ASSOCIATION                                                           Unliquidated
          P.O. DRAWER A
                                                                                Disputed
          SEDALIA, CO 80135
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.132
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          INTERNAL REVENUE SERVICE                                              Contingent
          DEPARTMENT OF TREASURY
                                                                                Unliquidated
          OGDEN, UT 84201-0012
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Federal Income Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,075.64
          INTERNATIONAL ENVIRONMENTAL MGMT
          INC.                                                                  Contingent
          MANAGEMENT, INC.                                                      Unliquidated
          P.O. BOX 101398                                                       Disputed
          ATLANTA, GA 30392
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.132
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $487.31
          INTERNATIONAL ENVIRONMENTAL MGMT                                      Contingent
          INC.                                                                  Unliquidated
          MANAGEMENT, INC. P.O. BOX 101398,                                     Disputed
          ATLANTA, GA 30392
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.132
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,584.00
          INTERNATIONAL PARKING MANAGEMENT                                      Contingent
          505 5TH AVE SOUTH                                                     Unliquidated
          STE PI                                                                Disputed
          SEATTLE, WA 98104
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.132
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,150.15
          INTERSTATE WASTE SERVICES OF NEW                                      Contingent
          JERSEY                                                                Unliquidated
          PO BOX 554046                                                         Disputed
          DETROIT, MI 48255
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 293 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 410 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.132
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $138.13
          INTERSTATE WASTE SERVICES OF NEW                                      Contingent
          JERSEY                                                                Unliquidated
          PO BOX 554046
                                                                                Disputed
          DETROIT, MI 48255
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.132
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,803.00
          INTRALINKS                                                            Contingent
          PO BOX 392134                                                         Unliquidated
          PITTSBURGH, PA 15251-9134
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Special projects
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          IRINA AMINOVA                                                         Contingent
          1162 ERIN DRIVE                                                       Unliquidated
          EL CAJON, CA 92020                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $312,793.03
          IRON GRIP BARBELL COMPANY                                             Contingent
          ATTN: DEBBIE PIETROCK                                                 Unliquidated
          4012 W. GARRY AVENUE                                                  Disputed
          SANTA ANA, CA 92704
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.133
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,510.49
          IRON MOUNTAIN                                                         Contingent
          P.O. BOX 911862                                                       Unliquidated
          DALLAS, TX 75391-1892                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $822.00
          IRVINE RANCH WATER DISTRICT                                           Contingent
          P.O. BOX 57500                                                        Unliquidated
          IRVINE, CA 92719-7500
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 294 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 411 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.133
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $283,344.74
          IRVINE RETAIL PROPERTIES CO
          RETAIL CENTER
          THE COMMONS @ IRVINE                                                  Contingent
          SPECTRUM1-000013                                                      Unliquidated
          P.O. BOX 840977                                                       Disputed
          LOS ANGELES, CA 90084-0977
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.133
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,140.12
          IRVINE RETAIL PROPERTIES CO
          RETAIL CENTER
          THE COMMONS @ IRVINE                                                  Contingent
          SPECTRUM1-000013                                                      Unliquidated
          P.O. BOX 840977                                                       Disputed
          LOS ANGELES, CA 90084-0977
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.133
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $229,902.97
          IRVINE RETAIL PROPERTIES CO.                                          Contingent
          RETAIL CENTER: CULVER PLAZA - 000008                                  Unliquidated
          P.O. BOX 840361                                                       Disputed
          LOS ANGELES, CA 90084-0361
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.133
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,402.91
          IRVINE RETAIL PROPERTIES CO.                                          Contingent
          RETAIL CENTER: CULVER PLAZA - 000008                                  Unliquidated
          P.O. BOX 840361
                                                                                Disputed
          LOS ANGELES, CA 90084-0361
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.133
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $420,874.67
          IRVINE SPECTRUM CENTER                                                Contingent
          PO BOX 840368                                                         Unliquidated
          RETAIL CENTER ISC-010003                                              Disputed
          LOS ANGELES, CA 90084-0368
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.133
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,082.07
          IRVINE SPECTRUM CENTER                                                Contingent
          PO BOX 840368                                                         Unliquidated
          RETAIL CENTER ISC-010003
                                                                                Disputed
          LOS ANGELES, CA 90084-0368
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 295 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 412 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.134
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,625.55
          IRVINE VALLEY AIR CONDITIONING, INC                                   Contingent
          ATTN: BILL RICIGLIANO                                                 Unliquidated
          2961 EAST CORONADO STREET
                                                                                Disputed
          ANAHEIM, CA 92806
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.134
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ISAAC KIM                                                             Contingent
          105 WANDERER                                                          Unliquidated
          IRVINE, CA 92618                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $201,404.27
          ISCM GREAT AMERICA PARKWAY LLC
          ATTN: CHERYL DEEGAN                                                   Contingent
          C/O IMWALLE PROPERTIES                                                Unliquidated
          365 E. CAMPBELL AVENUE                                                Disputed
          CAMPBELL, CA 95008
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.134
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,550.00
          ISTRA ELECTRICAL CONTRACTORS CORP                                     Contingent
          ATTN: MARY RUNKO                                                      Unliquidated
          197-30 JAMAICA AVE                                                    Disputed
          HOLLIS, NY 11423
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.134
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,470.00
          JACK JAFFA & ASSOCIATES CORP                                          Contingent
          ATTN: LUCY HOLMES                                                     Unliquidated
          147 PRINCE STREET                                                     Disputed
          BROOKLYN, NY 11201
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.134
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $322.60
          JACK NADEL INTERNATIONAL                                              Contingent
          ATTN: KATI DICKHOLTZ                                                  Unliquidated
          8701 BELLANCA AVE                                                     Disputed
          LOS ANGELES, CA 90045
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 296 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 413 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.134
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $470.77
          JACK'S DISPOSAL SERVICE                                               Contingent
          PAYMENT PROCESSING CENTER                                             Unliquidated
          P.O.BOX 5910
                                                                                Disputed
          BUENA PARK, CA 90622-5910
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.134
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,817.70
          JACKSON LEWIS PC                                                      Contingent
          P.O. BOX 416019                                                       Unliquidated
          BOSTON, MA 02241
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $207.00
          JACKSON LEWIS PC                                                      Contingent
          P.O. BOX 416019                                                       Unliquidated
          BOSTON, MA 02241                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          JACKSON,CHRISTOPHER LEON                                              Contingent
          1235 S. SPRINGWOOD DR.                                                Unliquidated
          ANAHEIM, CA 92808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $71,949.87
          JAMES ALLYN PRINTING                                                  Contingent
          ATTN: CINDY ESZLINGER                                                 Unliquidated
          6575-B TRINITY COURT                                                  Disputed
          DUBLIN, CA 94568
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.135
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,887.88
          JAMES LINDSAY                                                         Contingent
          18 CYPRESS AVE                                                        Unliquidated
          KENTFIELD, CA 94904
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          JAMES WILEY                                                           Contingent
          1044 BLUE BIRD LN                                                     Unliquidated
          BRENTWOOD, CA 94513                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 297 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 414 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.135
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          JAMIE N TAJII                                                         Contingent
          5549 BALDWIN WAY                                                      Unliquidated
          PLEASANTON, CA 94588                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $138,206.82
          JAWS SUGARLAND LLC                                                    Contingent
          ATTN: BRYAN GROSSMAN                                                  Unliquidated
          315 NORTH FEDERAL HIGHWAY                                             Disputed
          HOLLYWOOD, FL 33020
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.135
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $134,877.08
          JBC SANTA ROSA LP
          ATTN: GARY MIRANDA                                                    Contingent
          88 KEARNY STREET                                                      Unliquidated
          SUITE 1400                                                            Disputed
          SAN FRANCISCO, CA 94108
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.135
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $95,051.84
          JBL ASSET MANAGEMENT LLC                                              Contingent
          2028 HARRISON STREET                                                  Unliquidated
          SUITE 202                                                             Disputed
          HOLLYWOOD, FL 33020
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.135
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $80,434.80
          JBL ASSET MANAGEMENT LLC                                              Contingent
          2028 HARRISON STREET                                                  Unliquidated
          SUITE 202
                                                                                Disputed
          HOLLYWOOD, FL 33020
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.135
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,829.87
          JEFFER MANGELS BUTLER & MITCHELL                                      Contingent
          LLP                                                                   Unliquidated
          TWO EMBARCADERO CENTER 5TH FLOOR
                                                                                Disputed
          SAN FRANCISCO, CA 94111
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 298 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 415 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.135
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $365,061.24
          JEFFERSON COUNTY TREASURER                                            Contingent
          100 JEFFERSON COUNTY PKWY.                                            Unliquidated
          P.O. BOX 4007                                                         Disputed
          GOLDEN, CO 80401-0007
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.136
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,764.00
          JEFFERSON COUNTY TREASURER                                            Contingent
          100 JEFFERSON COUNTY PKWY.                                            Unliquidated
          P.O. BOX 4007
                                                                                Disputed
          GOLDEN, CO 80401-0007
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.136
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          JEN VAL ELECTRIC INC                                                  Contingent
          ATTN: BOB ROSEN                                                       Unliquidated
          PO BOX 3658
                                                                                Disputed
          WAYNE, NJ 07470
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.136
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $948.97
          JENISSE LEISURE PRODUCTS INC                                          Contingent
          ATTN: RICHARD DEHART                                                  Unliquidated
          5 VAN DUYNE CT                                                        Disputed
          TOWACO, NJ 07082
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.136
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          JENNIFER GALARDI                                                      Contingent
          ATTN: JENNIFER GALARDI                                                Unliquidated
          1036 FERNWOOD PACIFIC DRIVE                                           Disputed
          TOPANGA, CA 90290
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.136
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          JENNIFER GARRETT                                                      Contingent
          6765 MALLEE ST.                                                       Unliquidated
          CARLSBAD, CA 92011                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          JEREMY L GOTTLIEB                                                     Contingent
          309 CAMARITAS WAY                                                     Unliquidated
          DANVILLE, CA 94526                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 299 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 416 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.136
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          JEREMY S FRANKE                                                       Contingent
          2311 CARINGA WAY                                                      Unliquidated
          UNIT 44                                                               Disputed
          CARLSBAD, CA 92009
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.136
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,815.37
          JERSEY CENTRAL POWER & LIGHT                                          Contingent
          PO BOX 16001                                                          Unliquidated
          READING, PA 19612-6001
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $302,930.32
          JESS RANCH BREA RETAIL XVI LLC
          ATTN: EMILY FRANKLIN                                                  Contingent
          C/O ATHENA MANAGEMENT INC                                             Unliquidated
          730 EL CAMINO WAY SUITE 200                                           Disputed
          TUSTIN, CA 92780
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.136
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $88,157.61
          JESS RANCH BREA RETAIL XVI LLC
          ATTN: EMILY FRANKLIN                                                  Contingent
          C/O ATHENA MANAGEMENT INC                                             Unliquidated
          730 EL CAMINO WAY SUITE 200                                           Disputed
          TUSTIN, CA 92780
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.137
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,598.75
          JESS RANCH BREA RETAIL XVI LLC
          ATTN: EMILY FRANKLIN                                                  Contingent
          C/O ATHENA MANAGEMENT INC                                             Unliquidated
          730 EL CAMINO WAY SUITE 200                                           Disputed
          TUSTIN, CA 92780
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.137
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,770.88
          JESS RANCH BREA RETAIL XVI LLC
          ATTN: EMILY FRANKLIN                                                  Contingent
          C/O ATHENA MANAGEMENT INC                                             Unliquidated
          730 EL CAMINO WAY SUITE 200                                           Disputed
          TUSTIN, CA 92780
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 300 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 417 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.137
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,488.48
          JET SANITATION SERVICE CORP.                                          Contingent
          228 BLYDENBURGH ROAD                                                  Unliquidated
          ISLANDIA, NY 11749                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $131.33
          JET SANITATION SERVICE CORP.                                          Contingent
          228 BLYDENBURGH ROAD                                                  Unliquidated
          ISLANDIA, NY 11749
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,786.11
          JET SERVICES INC.                                                     Contingent
          ATTN: CONNIE DOUGLAS                                                  Unliquidated
          1553 HYMER AVE.                                                       Disputed
          SPARKS, NV 89431
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.137
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35.84
          JEWETT ROBERT                                                         Contingent
          4609 FIR AVE                                                          Unliquidated
          SEAL BEACH, CA 90740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,932.89
          JG SERVICE COMPANY                                                    Contingent
          ATTN: GORDON BAKER                                                    Unliquidated
          15632 EL PRADO ROAD                                                   Disputed
          CHINO, CA 91710
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.137
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $227,924.32
          JGA TEXAS LEGACY PARTNERS LLC                                         Contingent
          9923 N UNITA DR                                                       Unliquidated
          KAMAS, UT 84036-5009                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $94,481.55
          JGA TEXAS LEGACY PARTNERS LLC                                         Contingent
          9923 N UNITA DR                                                       Unliquidated
          KAMAS, UT 84036-5009
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 301 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 418 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.137
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $108.44
          JJJ ENTERPRISES                                                       Contingent
          533 SOUTH VINEWOOD STREET                                             Unliquidated
          ESCONDIDO, CA 92029                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $146,185.04
          JK SPA STEAM AND SAUNA                                                Contingent
          ATTN: HOLLY WALLS                                                     Unliquidated
          PO BOX 483                                                            Disputed
          LOS GATOS, CA 95031
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.138
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $704.98
          JK SPA STEAM AND SAUNA                                                Contingent
          ATTN: HOLLY WALLS                                                     Unliquidated
          PO BOX 483
                                                                                Disputed
          LOS GATOS, CA 95031
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.138
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $85,063.00
          JLAB AUDIO
          ATTN: JACKIE TAYLOR                                                   Contingent
          17950 PRESTON RD                                                      Unliquidated
          SUITE 360                                                             Disputed
          DALLAS, TX 75252
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.138
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          JOHN D SELF                                                           Contingent
          9154 DRUMCLIFFE                                                       Unliquidated
          DALLAS, TX 75231                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          JOHN D ZAGARELLA                                                      Contingent
          2941 UNICORNIO ST                                                     Unliquidated
          UNIT D                                                                Disputed
          CARLSBAD, CA 92009
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.138
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          JOHN M SCHERFF                                                        Contingent
          4713 EDINBURGH DRIVE                                                  Unliquidated
          CARLSBAD, CA 92010                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 302 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 419 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.138
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          JOHN S OWEN                                                           Contingent
          25526 LEEWARD DR                                                      Unliquidated
          DANA POINT, CA 92629                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $356,621.67
          JOHNSON CONTROLS FIRE PROTECTION
          LP                                                                    Contingent
          ATTN: CHRIS GATES                                                     Unliquidated
          DEPT. CH 10320                                                        Disputed
          PALATINE, IL 60055-0320
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.138
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $53,406.96
          JOHNSON CONTROLS FIRE PROTECTION                                      Contingent
          LP                                                                    Unliquidated
          DEPT. CH 10320
                                                                                Disputed
          PALATINE, IL 60055-0320
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.138
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $531,807.53
          JOHNSON CONTROLS SECURITY
          SOLUTIONS                                                             Contingent
          ATTN: AMANDA GRISCHOTT                                                Unliquidated
          P.O. BOX 371967                                                       Disputed
          PITTSBURGH, PA 15250
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.139
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $63,261.16
          JOHNSON CONTROLS SECURITY
          SOLUTIONS                                                             Contingent
          ATTN: AMANDA GRISCHOTT                                                Unliquidated
          P.O. BOX 371967                                                       Disputed
          PITTSBURGH, PA 15250
                                                                             Basis for the claim:    Purchase of fixed assets
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.139
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,788.77
          JOHNSON CONTROLS SECURITY                                             Contingent
          SOLUTIONS                                                             Unliquidated
          P.O. BOX 371994
                                                                                Disputed
          PITTSBURGH, PA 15250-7994
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 303 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 420 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.139
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $121,721.84
          JOHNSON HEALTH TECH NORTH AMERICA                                     Contingent
          ATTN: JENNIFER KNUDTSON                                               Unliquidated
          1600 LANDMARK DRIVE                                                   Disputed
          COTTAGE GROVE, WI 53527
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.139
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          JOHNSON MEGAN                                                         Contingent
          15869 PASEO LARGAVISTA                                                Unliquidated
          SAN LORENZO, CA 94580
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          JONES, RICKY                                                          Contingent
          903 6TH STREET                                                        Unliquidated
          OREGON CITY, OR 97045
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $413.61
          JONNIE VEACH                                                          Contingent
          11160 BROOK DRIVE                                                     Unliquidated
          # 40413                                                               Disputed
          SAN DIEGO, CA 92126
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.139
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,194.67
          JOSE EDUARDO PADILLA                                                  Contingent
          AV. PROVIDENCIA #208 FRACC.                                           Unliquidated
          RANCHO SANTA MONICA INT.
                                                                                Disputed
          AGUASCALIENTES, AGS 20286-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.139
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,500.00
          JRM CARLSBAD I LLC                                                    Contingent
          330 ENCINITAS BLVD                                                    Unliquidated
          SUITE 201                                                             Disputed
          ENCINITAS, CA 92024
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.139
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,872.21
          JSW GREELEY LLC                                                       Contingent
          17277 VENTURA BLVD                                                    Unliquidated
          STE 205
                                                                                Disputed
          ENCINO, CA 91316-5030
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent accrual
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 304 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 421 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.139
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          JUDITH R WEINSTEIN
          ATTN: JUDY WEINSTEIN                                                  Contingent
          14029 OTSEGO STREET                                                   Unliquidated
          JUDY@JRWCOMP.COM                                                      Disputed
          SHERMAN OAKS, CA 91423
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.140
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,350.00
          JULIE MICHELLE HOLOP                                                  Contingent
          ATTN: JULIE HOLOP                                                     Unliquidated
          742 LOMA VISTA STREET                                                 Disputed
          EL SEGUNDO, CA 90245-2107
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.140
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $148.00
          JUNK KING FRANCHISE SYSTEMS                                           Contingent
          389 OYSTER POINT BLVD                                                 Unliquidated
          SOUTH SAN FRANCISCO, CA 94080                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $606.85
          JURUPA COMMUNITY SERVICES DISTRICT                                    Contingent
          11201 HARREL ST                                                       Unliquidated
          MIRA LOMA, CA 91752
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          JUVENTINO FALCIS                                                      Contingent
          38 CHICKADEE LN                                                       Unliquidated
          ALISO VIEJO, CA 92656                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $67,457.25
          JVCKENWOOD USA CORPORATION                                            Contingent
          ATTN: DEBBIE JOHNSON                                                  Unliquidated
          P.O. BOX 740524                                                       Disputed
          LOS ANGELES, CA 90074-0524
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.140
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,279.00
          JW QUALITY CONSTRUCTION INC                                           Contingent
          ATTN: VOYTEK JANDA                                                    Unliquidated
          3109 CAMDON CT                                                        Disputed
          PLEASANTON, CA 94588
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 305 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 422 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.140
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,300.00
          JW QUALITY CONSTRUCTION INC                                           Contingent
          ATTN: VOYTEK JANDA                                                    Unliquidated
          3109 CAMDON CT
                                                                                Disputed
          PLEASANTON, CA 94588
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.140
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,520.00
          K & B ENTERPRISE CORPORATION                                          Contingent
          ATTN: KAYE DAVIS                                                      Unliquidated
          1410 33RD AVENUE                                                      Disputed
          VERO BEACH, FL 32960
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.140
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $74,470.77
          K & K LUMBER COMPANY
          C/O CHARLES DUNN                                                      Contingent
          REAL ESTATE SERVICES INC.                                             Unliquidated
          8222 MELROSE AVENUE, STE. 200                                         Disputed
          LOS ANGELES, CA 90046
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.140
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $440.44
          K & K LUMBER COMPANY
          C/O CHARLES DUNN                                                      Contingent
          REAL ESTATE SERVICES INC.                                             Unliquidated
          8222 MELROSE AVENUE, STE. 200                                         Disputed
          LOS ANGELES, CA 90046
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.141
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $416.64
          K & K LUMBER COMPANY
          C/O CHARLES DUNN                                                      Contingent
          REAL ESTATE SERVICES INC.                                             Unliquidated
          8222 MELROSE AVENUE, STE. 200                                         Disputed
          LOS ANGELES, CA 90046
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.141
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $424,583.68
          K5 SIGNS AND GRAPHICS, INC
          ATTN: MIKE KEOUGH                                                     Contingent
          4590 QANTAS LANE                                                      Unliquidated
          SUITE A4                                                              Disputed
          STOCKTON, CA 95206
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 306 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 423 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.141
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,260.00
          K5 SIGNS AND GRAPHICS, INC                                            Contingent
          4590 QANTAS LANE                                                      Unliquidated
          SUITE A4
                                                                                Disputed
          STOCKTON, CA 95206
          Date(s) debt was incurred
                                                                             Basis for the claim:    Moving Costs
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.141
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,278.23
          K5 SIGNS AND GRAPHICS, INC                                            Contingent
          4590 QANTAS LANE                                                      Unliquidated
          SUITE A4
                                                                                Disputed
          STOCKTON, CA 95206
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.141
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $82,310.67
          KA&N INDUSTRIES                                                       Contingent
          35 BAYWOOD TERRACE                                                    Unliquidated
          SAN RAFEL, CA 94901                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $150.92
          KA&N INDUSTRIES                                                       Contingent
          35 BAYWOOD TERRACE                                                    Unliquidated
          SAN RAFEL, CA 94901
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,507.40
          KAGED MUSCLE LLC
          ATTN: JENNIFER HENNESSEY                                              Contingent
          101 MAIN STREET                                                       Unliquidated
          SUITE 360                                                             Disputed
          HUNTINGTON BEACH, CA 92648
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.141
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,058.43
          KAMPARTS INC                                                          Contingent
          ATTN: LAUREN                                                          Unliquidated
          5445 SCHAEFER AVE                                                     Disputed
          CHINO, CA 91710
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 307 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 424 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.141
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          KANSAS DEPARTMENT OF REVENUE                                          Contingent
          P.O. BOX 750260
                                                                                Unliquidated
          TOPEKA, KS 66699-0260
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    State of Kansas Income Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $202,975.30
          KAPOLEI HAWAII PROPERTY COMPANY
          LLC                                                                   Contingent
          C/O KAPOLEI HAWAII MEZZ LLC                                           Unliquidated
          PO BOX 865443                                                         Disputed
          ORLANDO, FL 32886-5443
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.142
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,706.27
          KAPOLEI HAWAII PROPERTY COMPANY
          LLC                                                                   Contingent
          C/O KAPOLEI HAWAII MEZZ LLC                                           Unliquidated
          PO BOX 865443                                                         Disputed
          ORLANDO, FL 32886-5443
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.142
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          KATHERYN J HEALON                                                     Contingent
          1677 GREEN BRIAR LN                                                   Unliquidated
          FALLBROOK, CA 92028                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,565.93
          KATIE NASH BEAUTY                                                     Contingent
          ATTN: KATIE NASH                                                      Unliquidated
          1694 PAGE ST.                                                         Disputed
          SAN FRANCISCO, CA 94117
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.142
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $46.75
          KAWAMOTO TRICIA                                                       Contingent
          52374 HAWTHORN COURT                                                  Unliquidated
          LA QUINTA, CA 92253
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 308 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 425 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.142
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,414.35
          KEEMER PLUMBING LLC
          ATTN: PATRICK CLARK                                                   Contingent
          2964 W 4700 S                                                         Unliquidated
          STE 117                                                               Disputed
          TAYLORSVILLE, UT 84129
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.142
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          KEITA PAKAWONGSE                                                      Contingent
          1823 CARLETON ST                                                      Unliquidated
          BERKELEY, CA 94703                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $8,822,197.76
          KELLERMEYER BERGENSONS SERVICES                                       Contingent
          ATTN: ELVA DE LA TORRE                                                Unliquidated
          1575 HENTHORNE DRIVE                                                  Disputed
          MAUMEE, OH 43537
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.142
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,543.66
          KELLERMEYER BERGENSONS SERVICES
          LLC                                                                   Contingent
          ATTN: AMY GARCIA                                                      Unliquidated
          25049 NETWORK PLACE                                                   Disputed
          CHICAGO, IL 60673-1250
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.142
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $600.00
          KENNEDY & COUVILLIER PLLC                                             Contingent
          ATTN: MAX COUVILLIER                                                  Unliquidated
          3271 E. WARM SPRINGS RD
                                                                                Disputed
          LAS VEGAS, NV 89120
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.142
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $380.00
          KENNEDY CHRISTOPHER                                                   Contingent
          1033 MEADOW BRIDGE DR                                                 Unliquidated
          FOLSOM, CA 95630
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 309 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 426 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.143
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,387.00
          KENNEDYS CMK LLP                                                      Contingent
          120 MOUNTAIN VIEW BOULEVARD                                           Unliquidated
          PO BOX 650
                                                                                Disputed
          BASKING RIDGE, NJ 07920
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.143
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          KENNETH A RAINES                                                      Contingent
          1324 LORENZO DR                                                       Unliquidated
          FALLBROOK, CA 92028                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,128,907.29
          KEONO
          ATTN: ERIKA DOBROTKA                                                  Contingent
          205 E. BUTTERFIELD RD                                                 Unliquidated
          # 166                                                                 Disputed
          ELMHURST, IL 60126
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.143
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $143,050.00
          KEONO
          ATTN: ERIKA DOBROTKA                                                  Contingent
          205 E. BUTTERFIELD RD                                                 Unliquidated
          # 166                                                                 Disputed
          ELMHURST, IL 60126
                                                                             Basis for the claim:    Email marketing services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.143
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,800.00
          KEONO
          ATTN: ERIKA DOBROTKA                                                  Contingent
          205 E. BUTTERFIELD RD                                                 Unliquidated
          # 166                                                                 Disputed
          ELMHURST, IL 60126
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.143
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,550.00
          KEONO
          ATTN: ERIKA DOBROTKA                                                  Contingent
          205 E. BUTTERFIELD RD                                                 Unliquidated
          # 166                                                                 Disputed
          ELMHURST, IL 60126
                                                                             Basis for the claim:    Email marketing services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 310 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 427 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.143
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,800.00
          KEONO
          ATTN: ERIKA DOBROTKA                                                  Contingent
          205 E. BUTTERFIELD RD                                                 Unliquidated
          # 166                                                                 Disputed
          ELMHURST, IL 60126
                                                                             Basis for the claim:    Email marketing services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.143
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,750.00
          KEONO
          ATTN: ERIKA DOBROTKA                                                  Contingent
          205 E. BUTTERFIELD RD                                                 Unliquidated
          # 166                                                                 Disputed
          ELMHURST, IL 60126
                                                                             Basis for the claim:    Email marketing services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.143
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,716.18
          KETER ENVIRONMENTAL SERVICES, INC.                                    Contingent
          P.O. BOX 417468                                                       Unliquidated
          BOSTON, MA 02241-7468                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,193.92
          KETER ENVIRONMENTAL SERVICES, INC.                                    Contingent
          P.O. BOX 417468                                                       Unliquidated
          BOSTON, MA 02241-7468
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $520.69
          KETER ENVIRONMENTAL SERVICES, INC.                                    Contingent
          P.O. BOX 417468                                                       Unliquidated
          BOSTON, MA 02241-7468
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          KEVIN BRADSHAW                                                        Contingent
          28004 WHITESTONE COURT                                                Unliquidated
          HAYWARD, CA 94542                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 311 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 428 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.144
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          KEVIN D CASTER                                                        Contingent
          1257 VIA CONTESSA                                                     Unliquidated
          SAN MARCOS, CA 92069                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $163.50
          KIDZPACE INTERACTIVE, INC.                                            Contingent
          ATTN: CHUCK PETERSEN                                                  Unliquidated
          BOX 550                                                               Disputed
          COLLINGWOOD, ON L9Y 4B2 CANADA
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.144
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,068.20
          KILROY REALTY 303 LLC                                                 Contingent
          12200 W. OLYMPIC BLVD                                                 Unliquidated
          SUITE 200
                                                                                Disputed
          LOS ANGELES, CA 90064
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.144
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,184.16
          KILROY REALTY 303 LLC                                                 Contingent
          12200 W. OLYMPIC BLVD                                                 Unliquidated
          SUITE 200
                                                                                Disputed
          LOS ANGELES, CA 90064
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.144
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6.95
          KIM KIP                                                               Contingent
          11540 MOORPARK ST                                                     Unliquidated
          UNIT 102
                                                                                Disputed
          STUDIO CITY, CA 91602
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.144
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          KIMBERLY D GRIFFIN                                                    Contingent
          2569 PARK BLVD                                                        Unliquidated
          APT T105                                                              Disputed
          PALO ALTO, CA 94306
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.144
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $110,024.26
          KIMCO EAST BANK 689 INC                                               Contingent
          ATTN: MICHELLE FISHER                                                 Unliquidated
          P.O. BOX 62045                                                        Disputed
          NEWARK, NJ 07101
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 312 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 429 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.144
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $101,708.10
          KIMCO EAST BANK 689 INC                                               Contingent
          ATTN: MICHELLE FISHER                                                 Unliquidated
          P.O. BOX 62045
                                                                                Disputed
          NEWARK, NJ 07101
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.145
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $232,663.95
          KIMCO LAKE PRAIRIE TC LP                                              Contingent
          P.O. BOX 62045                                                        Unliquidated
          NEWARK, NJ 07101
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $124,028.12
          KIMCO LAKE PRAIRIE TC LP                                              Contingent
          P.O. BOX 62045                                                        Unliquidated
          NEWARK, NJ 07101                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $99,658.85
          KIMRIDGE DEVELOPMENT LLC
          ATTN: JORDAN SHALOM                                                   Contingent
          2934 N. BEVERLY GLEN CIRCLE                                           Unliquidated
          # 357                                                                 Disputed
          LOS ANGELES, CA 90077
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.145
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $66,024.82
          KIMRIDGE DEVELOPMENT LLC
          ATTN: JORDAN SHALOM                                                   Contingent
          2934 N. BEVERLY GLEN CIRCLE                                           Unliquidated
          # 357                                                                 Disputed
          LOS ANGELES, CA 90077
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.145
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $465,191.17
          KIMZAY OF FLORIDA INC                                                 Contingent
          ATTN: MOLLY SIEGEL                                                    Unliquidated
          P.O. BOX 62045                                                        Disputed
          NEWARK, NY 07101
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 313 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 430 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.145
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $49,787.72
          KIMZAY OF FLORIDA INC                                                 Contingent
          P.O. BOX 62045                                                        Unliquidated
          NEWARK, NY 07101
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,245.57
          KIMZAY OF FLORIDA INC                                                 Contingent
          P.O. BOX 62045                                                        Unliquidated
          NEWARK, NY 07101
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $61,886.00
          KING COUNTY TREASURY                                                  Contingent
          500 4TH AVENUE, #600                                                  Unliquidated
          SEATTLE, WA 98104-2340
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $57,243.36
          KING COUNTY TREASURY                                                  Contingent
          500 4TH AVENUE, #600                                                  Unliquidated
          SEATTLE, WA 98104-2340                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $371,040.11
          KIR FAIRFAX LP                                                        Contingent
          P.O.BOX 6208                                                          Unliquidated
          HICKSVILLE, NY 11802-6208                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $63,569.57
          KIR FAIRFAX LP                                                        Contingent
          P.O.BOX 6208                                                          Unliquidated
          HICKSVILLE, NY 11802-6208
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $297,097.32
          KIR VISTA BALBOA LP                                                   Contingent
          3333 NEW HYDE PARK ROAD, SUITE 100                                    Unliquidated
          NEW HYDE PARK, NY 11042                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 314 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 431 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.146
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $83,310.91
          KIR VISTA BALBOA LP                                                   Contingent
          P.O. BOX 62045                                                        Unliquidated
          NEWARK, NJ 07101
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,929.01
          KISSIMMEE UTILITY AUTHORITY                                           Contingent
          PO BOX 423219                                                         Unliquidated
          KISSIMMEE, FL 34742-3219
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          KNECHT, KRIS                                                          Contingent
          60 LEXINGTON CT                                                       Unliquidated
          BRENTWOOD, CA 94513
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60.00
          KOH BRIAN                                                             Contingent
          231 N ISABEL ST                                                       Unliquidated
          APT 2
                                                                                Disputed
          GLENDALE, CA 91206
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.146
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $115,021.54
          KOKO MARINA SHOPPING CENTER                                           Contingent
          C/O SOFOS REALTY CORPORATION                                          Unliquidated
          600 KAPIOLANI BLVD., SUITE 200                                        Disputed
          HONOLULU, HI 96813
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.146
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,858.56
          KOKO MARINA SHOPPING CENTER                                           Contingent
          C/O SOFOS REALTY CORPORATION                                          Unliquidated
          600 KAPIOLANI BLVD., SUITE 200
                                                                                Disputed
          HONOLULU, HI 96813
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.146
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $64,572.92
          KONE INC                                                              Contingent
          ATTN: TREBIE SOLINA                                                   Unliquidated
          12150 TECH CENTER DRIVE                                               Disputed
          POWAY, CA 92064
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 315 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 432 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.146
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,340.67
          KONE INC                                                              Contingent
          PO BOX 894156                                                         Unliquidated
          LOS ANGELES, CA 90189-4156
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,299.97
          KORN FERRY US
          ATTN: CASSANDRA MOORE                                                 Contingent
          1900 AVENUE OF THE STARS                                              Unliquidated
          STE. 2600                                                             Disputed
          LOS ANGELES, CA 90067
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.147
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $112.50
          KOTOWSKI LAW FIRM
          ATTN: CHRISTINA KOTOWSKI                                              Contingent
          2601 BLANDING AVE                                                     Unliquidated
          #C386                                                                 Disputed
          ALAMEDA, CA 94501
                                                                             Basis for the claim:    Legal Fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.147
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $271,336.99
          KRG LAS VEGAS CENTENNIAL GATEWAY
          LLC                                                                   Contingent
          30 S. MERIDIAN STREET                                                 Unliquidated
          SUITE 1100                                                            Disputed
          INDIANAPOLOLIS, IN 46204
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.147
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $59,639.74
          KRG LAS VEGAS CENTENNIAL GATEWAY
          LLC                                                                   Contingent
          30 S. MERIDIAN STREET                                                 Unliquidated
          SUITE 1100                                                            Disputed
          INDIANAPOLOLIS, IN 46204
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.147
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,332.18
          KRG LAS VEGAS CENTENNIAL GATEWAY
          LLC                                                                   Contingent
          30 S. MERIDIAN STREET                                                 Unliquidated
          SUITE 1100                                                            Disputed
          INDIANAPOLOLIS, IN 46204
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 316 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 433 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.147
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,200.00
          KRISTI ELISE COALE                                                    Contingent
          ATTN: KRISTI E. COALE                                                 Unliquidated
          16 DELMAR STREET                                                      Disputed
          SAN FRANCISCO, CA 94117-0001
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.147
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          KRISTINA L STEBBINS                                                   Contingent
          1227 HOLMGROVE DR                                                     Unliquidated
          SAN MARCOS, CA 92078                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $104.08
          KRYUCHKOVA EVGENIA                                                    Contingent
          7664 DUNEIDEN LN                                                      Unliquidated
          MANASSAS, VA 20109
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $112,507.81
          KUK CHUNG                                                             Contingent
          1133 LITTLEOAK CIRCLE                                                 Unliquidated
          SAN JOSE, CA 95129                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,961.33
          KUK CHUNG                                                             Contingent
          1133 LITTLEOAK CIRCLE                                                 Unliquidated
          SAN JOSE, CA 95129
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $136,701.45
          KW FUND V BRAND LLC
          ATTN: JASIBY EVAN                                                     Contingent
          C/O CUSHMAN & WAKEFIELD OF CA INC                                     Unliquidated
          400 N. BRAND BOULEVARD                                                Disputed
          GLENDALE, CA 91203
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.148
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $65,097.77
          KW FUND V BRAND LLC                                                   Contingent
          C/O CUSHMAN & WAKEFIELD OF CA INC                                     Unliquidated
          400 N. BRAND BOULEVARD
                                                                                Disputed
          GLENDALE, CA 91203
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 317 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 434 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.148
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,734.15
          KW FUND V BRAND LLC                                                   Contingent
          C/O CUSHMAN & WAKEFIELD OF CA INC                                     Unliquidated
          400 N. BRAND BOULEVARD
                                                                                Disputed
          GLENDALE, CA 91203
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.148
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,248.00
          KW FUND V BRAND LLC                                                   Contingent
          151 S. EL CAMINO DRIVE                                                Unliquidated
          BEVERLY HILLS, CA 90212
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Parking
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,290.09
          L.A. MUNICIPAL SERVICES                                               Contingent
          P O BOX 10324                                                         Unliquidated
          VAN NUYS, CA 91410-0324
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,243.95
          L.A. MUNICIPAL SERVICES                                               Contingent
          P O BOX 10324                                                         Unliquidated
          VAN NUYS, CA 91410-0324
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $420,034.49
          LA COSTA TOWN CENTER LLC                                              Contingent
          4695 MACARTHUR COURT                                                  Unliquidated
          SUITE 700                                                             Disputed
          NEWPORT BEACH, CA 92660
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.148
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $133,635.71
          LA COSTA TOWN CENTER LLC                                              Contingent
          4695 MACARTHUR COURT                                                  Unliquidated
          SUITE 700
                                                                                Disputed
          NEWPORT BEACH, CA 92660
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.148
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,748.19
          LA COSTA TOWN CENTER LLC                                              Contingent
          PO BOX 848430                                                         Unliquidated
          LOS ANGELES, CA 90084-8430
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 318 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 435 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.148
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,714.84
          LA COSTA TOWN CENTER LLC                                              Contingent
          PO BOX 848430                                                         Unliquidated
          LOS ANGELES, CA 90084-8430
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,575.13
          LA PAZ SHOPPING CENTER LLC
          ATTN: KAREN SEARS                                                     Contingent
          C/O TIARNA REAL ESTATE SERVICES                                       Unliquidated
          2603 MAIN STREET                                                      Disputed
          IRVINE, CA 92614
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $149,482.26
          LA PAZ SHOPPING CENTER LP                                             Contingent
          2603 MAIN STREET                                                      Unliquidated
          SUITE 210                                                             Disputed
          IRVINE, CA 92614
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,869.13
          LA PAZ SHOPPING CENTER LP                                             Contingent
          2603 MAIN STREET                                                      Unliquidated
          SUITE 210
                                                                                Disputed
          IRVINE, CA 92614
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.149
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,400.00
          LABRADA BODYBUILDING NUTRITION                                        Contingent
          PO BOX 4356                                                           Unliquidated
          DEPT 1930                                                             Disputed
          HOUSTON, TX 77210-4356
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,457.62
          LAGUNA VILLAGE INVESTORS LLC                                          Contingent
          C/O HALL EQUITIES GROUP                                               Unliquidated
          1855 OLYMPIC BOULEVARD
                                                                                Disputed
          WALNUT CREEK, CA 94596
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 319 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 436 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.149
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $187,552.19
          LAKELINE AUSTIN FITNESS LP                                            Contingent
          C/O TITUS PROPERTIES                                                  Unliquidated
          1748 W. KATELLA AVENUE SUITE 206                                      Disputed
          ORANGE, CA 92867
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,413.50
          LAKELINE AUSTIN FITNESS LP                                            Contingent
          C/O TITUS PROPERTIES                                                  Unliquidated
          1748 W. KATELLA AVENUE SUITE 206
                                                                                Disputed
          ORANGE, CA 92867
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.149
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $540,154.25
          LAKESHORE LAND LESSEE PT LLC
          ATTN: PAMELA GONZALES                                                 Contingent
          18101 VON KARMAN AVENUE                                               Unliquidated
          SUITE 1220                                                            Disputed
          IRVINE, CA 92612
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,430.75
          LAKESHORE LEARNING MATERIALS                                          Contingent
          ATTN: JON BELL                                                        Unliquidated
          2695 EAST DOMINGUEZ STREET                                            Disputed
          CARSON, CA 90895
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $94,889.62
          LAKESHORE TOWERS LTD PARTNERSHIP                                      Contingent
          PH III                                                                Unliquidated
          18101 VON KARMAN AVENUE #1220
                                                                                Disputed
          IRVINE, CA 92612
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.150
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,086.91
          LAKESHORE TOWERS LTD PARTNERSHIP                                      Contingent
          PH III                                                                Unliquidated
          18101 VON KARMAN AVENUE #1220
                                                                                Disputed
          IRVINE, CA 92612
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 320 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 437 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.150
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $59.69
          LAKEWOOD WATER DISTRICT                                               Contingent
          P.O. BOX 99729                                                        Unliquidated
          LAKEWOOD, WA 98499
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $344,304.78
          LAKHA KENT PROPERTIES LLC                                             Contingent
          C/O PREMIER CENTERS MANAGEMENT                                        Unliquidated
          P.O. BOX 52668                                                        Disputed
          BELLEVUE, WA 98015
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.150
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,261.72
          LAKHA KENT PROPERTIES LLC                                             Contingent
          C/O PREMIER CENTERS MANAGEMENT                                        Unliquidated
          P.O. BOX 52668
                                                                                Disputed
          BELLEVUE, WA 98015
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.150
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,984.20
          LAKHA KENT PROPERTIES LLC                                             Contingent
          C/O PREMIER CENTERS MANAGEMENT                                        Unliquidated
          P.O. BOX 52668
                                                                                Disputed
          BELLEVUE, WA 98015
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.150
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          LANDEROS, JAVIER                                                      Contingent
          13124 MONTFORD ST.                                                    Unliquidated
          PACOIMA, CA 91331
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $380,379.87
          LAP EMPIRE AVENUE LLC                                                 Contingent
          141 SOUTH LINDEN DRIVE                                                Unliquidated
          # 305                                                                 Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.150
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,182.60
          LAP EMPIRE AVENUE LLC                                                 Contingent
          141 SOUTH LINDEN DRIVE                                                Unliquidated
          # 305
                                                                                Disputed
          BEVERLY HILLS, CA 90212
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 321 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 438 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.150
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $140,859.95
          LAPCEVIC, TOM                                                         Contingent
          363 GOLDEN GRASS DRIVE                                                Unliquidated
          ALAMO, CA 94507
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $127,856.96
          LARIMER COUNTY TREASURER                                              Contingent
          200 W OAK STREET FLOOR #2                                             Unliquidated
          PO BOX 1250                                                           Disputed
          FORT COLLINS, CO 80522
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.151
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,642.50
          LARIMER COUNTY TREASURER                                              Contingent
          200 W OAK STREET FLOOR #2                                             Unliquidated
          PO BOX 1250
                                                                                Disputed
          FORT COLLINS, CO 80522
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.151
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,279.12
          LAS VEGAS VALLEY                                                      Contingent
          WATER DISTRICT                                                        Unliquidated
          1001 SOUTH VALLEY VIEW BLVD.
                                                                                Disputed
          LAS VEGAS, NV 89153-0001
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.151
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          LATERRIAL A ORTIZ                                                     Contingent
          4256 ALTA VISTA COURT                                                 Unliquidated
          OCEANSIDE, CA 92057                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,006.28
          LATHAM & WATKINS LLP                                                  Contingent
          555 WEST FIFTH STREET                                                 Unliquidated
          SUITE 800
                                                                                Disputed
          LOS ANGELES, CA 90013-1010
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 322 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 439 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.151
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,058.12
          LATHAM & WATKINS LLP
          ATTN: AGNES LOPEZ                                                     Contingent
          555 WEST FIFTH STREET                                                 Unliquidated
          SUITE 800                                                             Disputed
          LOS ANGELES, CA 90013-1010
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.151
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,150.00
          LAUREN BONNEY                                                         Contingent
          ATTN: LAUREN BONNEY                                                   Unliquidated
          985 IROQUOIS DRIVE                                                    Disputed
          PLEASANT HILL, CA 94523
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.151
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $385.38
          LAWTON COMMERCIAL SERVICES LP                                         Contingent
          ATTN: LAURA SMITH                                                     Unliquidated
          P.O. BOX 1179                                                         Disputed
          MCKINNEY, TX 75070
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.151
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,404.92
          LAZ PARKING CALIFORNIA LLC                                            Contingent
          ATTN: MING ZHANG                                                      Unliquidated
          P.O. BOX 847370                                                       Disputed
          LOS ANGELES, CA 90084
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.151
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,893.00
          LAZ PARKING CALIFORNIA LLC                                            Contingent
          ATTN: MING ZHANG                                                      Unliquidated
          P.O. BOX 847370
                                                                                Disputed
          LOS ANGELES, CA 90084
          Date(s) debt was incurred
                                                                             Basis for the claim:    Parking
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.151
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $190,546.54
          LBG HILLTOP LLC                                                       Contingent
          C/O LBG MANAGEMENT COMPANY, INC.                                      Unliquidated
          2200 HILLTOP MALL RD.                                                 Disputed
          RICHMOND, CA 94806
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 323 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 440 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.152
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,062.24
          LBG HILLTOP LLC                                                       Contingent
          C/O LBG MANAGEMENT COMPANY, INC.                                      Unliquidated
          2200 HILLTOP MALL RD.
                                                                                Disputed
          RICHMOND, CA 94806
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.152
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $77.72
          LEAVY KENDALL                                                         Contingent
          1151 VERAMAR CT UNIT 103                                              Unliquidated
          CORONA, CA 92882-6423
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18.40
          LECHELER NICOLE                                                       Contingent
          114 KENBROOK CIRCLE                                                   Unliquidated
          SAN JOSE, CA 95111
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $970.86
          LEGACY MECHANICAL AND ENERGY
          SERVICES                                                              Contingent
          ATTN: SEAN LARKIN                                                     Unliquidated
          3130 CROW CANYON PLACE, SUITE 410                                     Disputed
          SAN RAMON, CA 94583
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.152
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,588.26
          LEGACY PARTNERS I LB OCEANGATE LLC                                    Contingent
          OCEANGATE - BU 29462                                                  Unliquidated
          PO BOX 100311
                                                                                Disputed
          PASADENA, CA 91189
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.152
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $145,339.58
          LEGACY RETAIL LLC
          ATTN: ALEXIS HARLAN                                                   Contingent
          C/O ODYSSEY REALTY                                                    Unliquidated
          PO BOX 34976                                                          Disputed
          LAS VEGAS, NV 89133
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 324 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 441 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.152
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,211.28
          LEGACY RETAIL LLC                                                     Contingent
          C/O ODYSSEY REALTY                                                    Unliquidated
          PO BOX 34976
                                                                                Disputed
          LAS VEGAS, NV 89133
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.152
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          LENAIN,HARMONY RENEE                                                  Contingent
          11718 MILANO DR                                                       Unliquidated
          RANCHO CUCAMONGA, CA 91701
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,873.90
          LENNOX NATIONAL ACCOUNT SERVICES                                      Contingent
          ATTN: ROBERT A BARNARD                                                Unliquidated
          P.O. BOX 731627                                                       Disputed
          DALLAS, TX 75373-1627
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.152
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,423.39
          LENNOX NATIONAL ACCOUNT SERVICES                                      Contingent
          ATTN: ROBERT A BARNARD                                                Unliquidated
          P.O. BOX 731627
                                                                                Disputed
          DALLAS, TX 75373-1627
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.153
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $72,451.50
          LENNY & LARRYS INC                                                    Contingent
          ATTN: BARRY TURNER                                                    Unliquidated
          14300 ARMINTA ST                                                      Disputed
          PANORAMA CITY, CA 91402
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.153
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,980.00
          LES MILLS INTERNATIONAL LIMITED                                       Contingent
          22 CENTRE STREET                                                      Unliquidated
          AUCKLAND 01010
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 325 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 442 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.153
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $495,624.07
          LES MILLS UNITED STATES TRADING INC
          ATTN: ERIN KELLY                                                      Contingent
          363 W ERIE ST                                                         Unliquidated
          SUITE 200                                                             Disputed
          CHICAGO, IL 60654
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.153
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $210,158.76
          LETC DUNHILL LLC                                                      Contingent
          P.O. BOX 204837                                                       Unliquidated
          DALLAS, TX 75320-4837
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          LEWIS, SETH                                                           Contingent
          7726 CAROLYN LN                                                       Unliquidated
          SANTA FE, TX 77517
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,729.92
          LHR RENAISSANCE MARKETPLACE SOUTH
          LLC                                                                   Contingent
          ATTN: GINNY FAWCETT                                                   Unliquidated
          P.O. BOX 670                                                          Disputed
          UPLAND, CA 91785-0670
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.153
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          LIANGGUI CHEN                                                         Contingent
          4267 CORTE LANGOSTINO                                                 Unliquidated
          SAN DIEGO, CA 92130                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $658.69
          LIBERTY ASHES INC                                                     Contingent
          94-02 150TH STREET                                                    Unliquidated
          JAMAICA, NY 11435                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 326 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 443 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.153
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $262.06
          LIBERTY MUTUAL INSURANCE GROUP                                        Contingent
          PO BOX 91012                                                          Unliquidated
          CHICAGO, IL 60680-1110                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $133,084.43
          LIFE FITNESS - CHICAGO                                                Contingent
          ATTN: SIMON LEE                                                       Unliquidated
          10601 W. BELMONT AVENUE                                               Disputed
          FRANKLIN PARK, IL 60131
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.154
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $493.33
          LILVAL PROPERTIES, LTD                                                Contingent
          C/O THE MARIPOSA COMPANY                                              Unliquidated
          3255 W MARCH LANE                                                     Disputed
          STOCKTON, CA 95219
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.154
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,250.00
          LINDA CHILDERS                                                        Contingent
          ATTN: LINDA CHILDERS                                                  Unliquidated
          2516 FERN LEAF LN                                                     Disputed
          MARTINEZ, CA 94553
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.154
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,335.00
          LINDA LEE                                                             Contingent
          ATTN: LINDA LEE                                                       Unliquidated
          9717 NE 106TH WAY                                                     Disputed
          VANCOUVER, WA 98662
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.154
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $248,334.55
          LINDLEY TERRACE LLC                                                   Contingent
          600 SPRING ROAD (RENTAL OFFICE)                                       Unliquidated
          MOORPARK, CA 93021                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $84,342.16
          LINDLEY TERRACE LLC                                                   Contingent
          600 SPRING ROAD (RENTAL OFFICE)                                       Unliquidated
          MOORPARK, CA 93021
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 327 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 444 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.154
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34.68
          LINGAO KRISTINA                                                       Contingent
          4654 FLATLICK BRANCH DRIVE                                            Unliquidated
          CHANTILLY, VA 20151
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,747.40
          LINKEDIN                                                              Contingent
          ATTN: FRANK SHERFEY                                                   Unliquidated
          2029 STIERLIN CT                                                      Disputed
          MOUNTAIN VIEW, CA 94043
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.154
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          LISA M GALLIANI                                                       Contingent
          1513 MORAGA WAY                                                       Unliquidated
          MORAGA, CA 94556                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $61,437.59
          LITTLE NECK COMMONS LLC                                               Contingent
          48 EAST OLD COUNTRY ROAD SUITE # 201,                                 Unliquidated
          MINEOLA, NY 11501
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $79.00
          LITTLER MENDELSON                                                     Contingent
          PO BOX 207137                                                         Unliquidated
          DALLAS, TX 75320-7137
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,425.20
          LIVERMORE SANITATION INC                                              Contingent
          7000 NATIONAL DR                                                      Unliquidated
          LIVERMORE, CA 94550                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,216.27
          LIVERMORE SANITATION INC                                              Contingent
          7000 NATIONAL DR                                                      Unliquidated
          LIVERMORE, CA 94550
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 328 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 445 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.155
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,128.85
          LOCK DOC                                                              Contingent
          P.O. BOX 550311                                                       Unliquidated
          FT. LAUDERDALE, FL 33355                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,956.68
          LOCKNER,LISA M                                                        Contingent
          32622 NW PEKIN FERRY RD                                               Unliquidated
          RIDGEFIELD, WA 98642
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,635.00
          LOCKTON COMPANIES
          ATTN: LISA BEAM                                                       Contingent
          SOUTHEAST SERIES OF LOCKTON CO. LLC                                   Unliquidated
          C/O BANK OF AMERICA                                                   Disputed
          ATLANTA, GA 30374-1732
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.155
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.18
          LOERA GABRIELA                                                        Contingent
          16439 HARVEY DR                                                       Unliquidated
          FONTANA, CA 92336-2553
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $106,218.50
          LOMELI'S & ASSOCIATES, INC.                                           Contingent
          ATTN: JAFET LOMELI                                                    Unliquidated
          26162 COTTONWOOD STREET                                               Disputed
          MURRIETA, CA 92563
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.155
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,180.47
          LONDON BBD                                                            Contingent
          ATTN: GABOR ZSAMBOKY                                                  Unliquidated
          92 GALES DR # 4                                                       Disputed
          NEW PROVIDENCE, NJ 07974
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 329 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 446 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.155
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,480.00
          LONDON BBD                                                            Contingent
          ATTN: GABOR ZSAMBOKY                                                  Unliquidated
          92 GALES DR # 4
                                                                                Disputed
          NEW PROVIDENCE, NJ 07974
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.155
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,125.82
          LONE STAR BADGE & SIGN INC.                                           Contingent
          PO BOX 387                                                            Unliquidated
          MARTINDALE, TX 78655-0387                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,190.70
          LOOMIS ARMORED                                                        Contingent
          PO BOX 1300                                                           Unliquidated
          HONOLULU, HI 96807-1300                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45.00
          LOPEZ MICHAEL                                                         Contingent
          845 AMELIA AVE                                                        Unliquidated
          GLENDORA, CA 91740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          LORI M VALENZUELA                                                     Contingent
          797 HOLLOWBROOK CT                                                    Unliquidated
          SAN MARCOS, CA 92078                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $215,833.98
          LOS ALTOS SCHOOL DISTRICT                                             Contingent
          201 COVINGTON ROAD                                                    Unliquidated
          LOS ALTOS, CA 94024                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $533,369.21
          LOS ANGELES COUNTY TAX COLLECTOR                                      Contingent
          P.O. BOX 513191                                                       Unliquidated
          LOS ANGELES, CA 90051-1191                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 330 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 447 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.156
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $829.67
          LOS ANGELES COUNTY TREASURER                                          Contingent
          DEPT. OF PUBLIC WORKS                                                 Unliquidated
          P.O. BOX 512150
                                                                                Disputed
          LOS ANGELES, CA 90051-0150
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.156
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,716.25
          LOUIS UPHOLSTERY SHOP                                                 Contingent
          ATTN: LARRY DARNELL                                                   Unliquidated
          1570 KAREN DRIVE                                                      Disputed
          ARGYLE, TX 76226
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.156
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $269.69
          LOVE ROY                                                              Contingent
          3326 SPRINDELTREE                                                     Unliquidated
          GRAPEVINE, TX 76051
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $173,148.58
          LOWRY DENVER FITNESS LP                                               Contingent
          C/O TITUS PROPERTIES, LLC                                             Unliquidated
          1748 W. KATELLA AVENUE, SUITE 206                                     Disputed
          ORANGE, CA 92867
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.156
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $79,981.60
          LOWRY DENVER FITNESS LP                                               Contingent
          C/O TITUS PROPERTIES, LLC                                             Unliquidated
          1748 W. KATELLA AVENUE, SUITE 206
                                                                                Disputed
          ORANGE, CA 92867
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.157
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $201,259.01
          LRIC LEWISVILLE LP
          ATTN: MELANIE CORSARO                                                 Contingent
          C/O WEITZMAN AT                                                       Unliquidated
          3102 MAPLE AVENUE SUITE 350                                           Disputed
          DALLAS, TX 75201
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 331 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 448 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.157
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $162,124.35
          LTG SOUTH HILLS LLC
          ATTN: MICHELLE LIN                                                    Contingent
          C/O LT MANAGEMENT GROUP                                               Unliquidated
          1414 S. AZUSA AVENUE                                                  Disputed
          WEST COVINA, CA 91791
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.157
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,750.66
          LTG SOUTH HILLS LLC
          ATTN: MICHELLE LIN                                                    Contingent
          C/O LT MANAGEMENT GROUP                                               Unliquidated
          1414 S. AZUSA AVENUE                                                  Disputed
          WEST COVINA, CA 91791
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.157
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $170.00
          LV SOLUTIONS INC                                                      Contingent
          ATTN: BARBARA VAZQUEZ                                                 Unliquidated
          781 BIG TREE DRIVE                                                    Disputed
          LONGWOOD, FL 32750
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.157
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $190,227.96
          LYONS MARKET STREET LLC                                               Contingent
          850 MONTGOMERY STREET                                                 Unliquidated
          SUITE 100                                                             Disputed
          SAN FRANCISCO, CA 94133
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.157
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $52,248.06
          LYONS MARKET STREET LLC                                               Contingent
          850 MONTGOMERY STREET                                                 Unliquidated
          SUITE 100
                                                                                Disputed
          SAN FRANCISCO, CA 94133
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.157
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,211.37
          M&M GLASS COMPANY                                                     Contingent
          ATTN: MAYOLA CUPA                                                     Unliquidated
          7327 WHITTIER AVE
                                                                                Disputed
          WHITTIER, CA 90602
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 332 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 449 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.157
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,207.73
          M&M GLASS COMPANY                                                     Contingent
          ATTN: MAYOLA CUPA                                                     Unliquidated
          7327 WHITTIER AVE                                                     Disputed
          WHITTIER, CA 90602
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.157
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $136,931.11
          M-4 LLC                                                               Contingent
          C/O GVA KIDDER MATHEWS                                                Unliquidated
          P.O. BOX 34860                                                        Disputed
          SEATTLE, WA 98124-1860
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.157
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,896.56
          M-4 LLC                                                               Contingent
          C/O GVA KIDDER MATHEWS                                                Unliquidated
          P.O. BOX 34860
                                                                                Disputed
          SEATTLE, WA 98124-1860
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.158
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $232,599.27
          MACERICH BUENAVENTURA LP
          ATTN: JENNIFER GRIFFIN                                                Contingent
          401 WILSHIRE BLVD                                                     Unliquidated
          STE 700                                                               Disputed
          SANTA MONICA, CA 90401
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.158
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $309,218.25
          MACERICH LAKEWOOD LLC                                                 Contingent
          401 WILSHIRE BLVD, STE. 700                                           Unliquidated
          SANTA MONICA, CA 90401                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,698.94
          MACERICH LAKEWOOD LLC                                                 Contingent
          401 WILSHIRE BLVD, STE. 700                                           Unliquidated
          SANTA MONICA, CA 90401
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $140,563.37
          MACKENZIE                                                             Contingent
          0690 SW BANCROFT STREET                                               Unliquidated
          PORTLAND, OR 97239                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 333 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 450 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.158
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,655.16
          MACVOLKS                                                              Contingent
          1381 FRANQUETTE AVENUE                                                Unliquidated
          SUITE D7                                                              Disputed
          CONCORD, CA 94520-5201
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.158
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $187,466.67
          MADISON 3721 LLC
          ATTN: DEVON THOMAS                                                    Contingent
          4340 VON KARMAN AVE                                                   Unliquidated
          STE 350                                                               Disputed
          NEWPORT BEACH, CA 92660
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.158
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $86,785.96
          MADISON 3721 LLC
          ATTN: DEVON THOMAS                                                    Contingent
          4340 VON KARMAN AVE                                                   Unliquidated
          STE 350                                                               Disputed
          NEWPORT BEACH, CA 92660
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.158
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          MAGANA, STEPHEN                                                       Contingent
          752 FOREST PARK BLVD APT J208                                         Unliquidated
          APT# J208
                                                                                Disputed
          OXNARD, CA 93036-5365
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.158
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $88,832.02
          MAGNA INVESTMENTS & DEVELOPMENT                                       Contingent
          LTD                                                                   Unliquidated
          PO BOX 65827                                                          Disputed
          SALT LAKE CITY, UT 84165-0827
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.158
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,096.66
          MAGNA INVESTMENTS & DEVELOPMENT                                       Contingent
          LTD                                                                   Unliquidated
          PO BOX 65827
                                                                                Disputed
          SALT LAKE CITY, UT 84165-0827
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 334 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 451 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.159
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,596.15
          MAGTEK INC                                                            Contingent
          ATTN: TRACI MCNAMEE                                                   Unliquidated
          1710 APOLLO COURT                                                     Disputed
          SEAL BEACH, CA 90740
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.159
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,875.08
          MAIOCHI LAUNDERLAND 24TH STREET
          FAMILY                                                                Contingent
          PARTNERSHIP, LP                                                       Unliquidated
          250 AVILA ST                                                          Disputed
          SAN FRANCISCO, CA 94123
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.159
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,417.59
          MAIOCHI LAUNDERLAND 24TH STREET
          FAMILY                                                                Contingent
          PARTNERSHIP, LP                                                       Unliquidated
          250 AVILA ST                                                          Disputed
          SAN FRANCISCO, CA 94123
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.159
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,490.96
          MAJ COMMERCIAL REAL ESTATE                                            Contingent
          PROPERTY MANAGEMENT DIVISION                                          Unliquidated
          300 W 15TH STREET SUITE 201
                                                                                Disputed
          VANCOUVER, WA 98660
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.159
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          MALCOLM PEREY                                                         Contingent
          6957 TANGLEWOOD RD                                                    Unliquidated
          SAN DIEGO, CA 92111                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $68.48
          MALDONADO MARIA LOLITA                                                Contingent
          432 EDGEHILL LANE                                                     Unliquidated
          UNIT 47
                                                                                Disputed
          OCEANSIDE, CA 92054
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 335 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 452 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.159
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $199,004.03
          MALL 205 GARP LLC                                                     Contingent
          P.O. BOX 843705                                                       Unliquidated
          REFERENCE # 613                                                       Disputed
          LOS ANGELES, CA 90084-3705
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.159
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,264.38
          MALL 205 GARP LLC                                                     Contingent
          P.O. BOX 843705                                                       Unliquidated
          REFERENCE # 613
                                                                                Disputed
          LOS ANGELES, CA 90084-3705
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.159
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,203.59
          MALL 205 GARP LLC                                                     Contingent
          P.O. BOX 843705                                                       Unliquidated
          REFERENCE # 613
                                                                                Disputed
          LOS ANGELES, CA 90084-3705
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.159
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,288.82
          MALL AT JEFFERSON VALLEY LLC
          ATTN: MICHAEL FLOHN                                                   Contingent
          650 LEE BLVD                                                          Unliquidated
          ATTN: MALL MANAGEMENT OFFICE                                          Disputed
          YORKTOWN HEIGHTS, NY 10598
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.160
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,324.36
          MALLORY ALEXANDER INTERNATIONAL                                       Contingent
          ATTN: LYDIA HOLLAND                                                   Unliquidated
          4294 SWINNER ROAD                                                     Disputed
          MEMPHIS, TN 38118
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.160
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13.00
          MANAGER OF FINANCE                                                    Contingent
          CITY & COUNTY OF DENVER                                               Unliquidated
          TREASURY DIVISION                                                     Disputed
          DENVER, CO 80217-0430
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 336 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 453 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.160
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $70,558.58
          MANI ANAND VJAY SAWH LLC                                              Contingent
          ATTN: ANAND SAWH                                                      Unliquidated
          15565 SLEEPY CREEK ROAD                                               Disputed
          EL CAJON, CA 92021
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.160
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $337,273.53
          MANN ENTERPRISES INC                                                  Contingent
          BANK OF AMERICA LOCKBOX                                               Unliquidated
          FILE 56692                                                            Disputed
          LOS ANGELES, CA 90074-6692
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.160
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          MAO WEI MING                                                          Contingent
          8949 DONAKER STR.                                                     Unliquidated
          SAN DIEGO, CA 92129
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $115,521.74
          MAPLELEAF INVESTMENTS LLC                                             Contingent
          1155 REDMOND AVE                                                      Unliquidated
          SAN JOSE, CA 95120                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,989.77
          MAPLELEAF INVESTMENTS LLC                                             Contingent
          1155 REDMOND AVE                                                      Unliquidated
          SAN JOSE, CA 95120
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $315,809.44
          MARC ITTAH
          ATTN: MICHAEL FAZE                                                    Contingent
          9538 BRIGHTON WAY                                                     Unliquidated
          # 314                                                                 Disputed
          BEVERLY HILLS, CA 90210
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 337 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 454 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.160
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,015.66
          MARC ITTAH                                                            Contingent
          9538 BRIGHTON WAY                                                     Unliquidated
          # 314
                                                                                Disputed
          BEVERLY HILLS, CA 90210
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.160
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $684.63
          MARCUS ESTRADA III                                                    Contingent
          4870 TRENT DRIVE                                                      Unliquidated
          SAN JOSE, CA 95124
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NQDC Penalty due to administrative error
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          MARGARET A WAYNICK                                                    Contingent
          382 APOLLO DR                                                         Unliquidated
          VISTA, CA 92084                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $269,698.04
          MARIN COUNTRY MART LLC
          ATTN: PAUL C. RICHARDS                                                Contingent
          FILE 1287                                                             Unliquidated
          1801 W. OLYMPIC BLVD                                                  Disputed
          PASADENA, CA 91199-1287
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.161
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $561.23
          MARIN COUNTRY MART LLC                                                Contingent
          FILE 1287                                                             Unliquidated
          1801 W. OLYMPIC BLVD
                                                                                Disputed
          PASADENA, CA 91199-1287
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.161
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31.70
          MARIN FRANCISCO                                                       Contingent
          3545 W 147TH ST                                                       Unliquidated
          HAWTHORNE, CA 90250
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 338 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 455 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.161
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,501.00
          MARIN H2O CULLIGAN                                                    Contingent
          ATTN: RICK WILLIAMS                                                   Unliquidated
          40 PAUL DRIVE                                                         Disputed
          SAN RAFAEL, CA 94903
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.161
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45.00
          MARIN H2O CULLIGAN                                                    Contingent
          ATTN: RICK WILLIAMS                                                   Unliquidated
          40 PAUL DRIVE
                                                                                Disputed
          SAN RAFAEL, CA 94903
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.161
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          MARJORIE L DICKINSON                                                  Contingent
          3049 PALM HILL DR                                                     Unliquidated
          VISTA, CA 92084                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $160,977.03
          MARK GROUP NO 6                                                       Contingent
          UNIT 120                                                              Unliquidated
          P.O. BOX 97208                                                        Disputed
          PORTLAND, OR 97208-4500
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.161
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,216.63
          MARK GROUP NO 6                                                       Contingent
          UNIT 120                                                              Unliquidated
          P.O. BOX 97208
                                                                                Disputed
          PORTLAND, OR 97208-4500
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.161
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,454.02
          MARK GROUP NO 6                                                       Contingent
          UNIT 120                                                              Unliquidated
          P.O. BOX 97208
                                                                                Disputed
          PORTLAND, OR 97208-4500
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 339 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 456 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.162
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,599.65
          MARK KURODA
          ATTN: MARK KURODA                                                     Contingent
          HOME OFFICE                                                           Unliquidated
          110 6TH AVENUE                                                        Disputed
          SAN FRANCISCO, CA 94118
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.162
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $70,230.71
          MARPO KINETICS INC                                                    Contingent
          ATTN: TETSU OKANO                                                     Unliquidated
          258 LINDBERGH AVENUE                                                  Disputed
          LIVERMORE, CA 94551
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.162
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65.06
          MARTINEZ NICHOLAS                                                     Contingent
          19 VIA PERICO                                                         Unliquidated
          RANCHO SANTA MARGARITA, CA 92688
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          MARTINEZ, ANTONIO TORRES                                              Contingent
          501 ANITA ST SPC 164                                                  Unliquidated
          CHULA VISTA, CA 91911
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          MARY SMITS                                                            Contingent
          37683 N BOULDER VIEW DR                                               Unliquidated
          SCOTTSDALE, AZ 85262-3929                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $132,418.39
          MASHA GRUPP TRUST TWO DTD 2 78                                        Contingent
          ATTN: JULIE BRENNER                                                   Unliquidated
          P.O. BOX 7824                                                         Disputed
          MENLO PARK, CA 94026-7824
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 340 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 457 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.162
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,070.30
          MASHA GRUPP TRUST TWO DTD 2 78                                        Contingent
          ATTN: JULIE BRENNER                                                   Unliquidated
          P.O. BOX 7824
                                                                                Disputed
          MENLO PARK, CA 94026-7824
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.162
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $155.26
          MASTROGIUSEPPE RAMON                                                  Contingent
          422 CENTER ST N                                                       Unliquidated
          VIENNA, VA 22180
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $67,068.00
          MASUE LLC
          ATTN: JENNIFER FOSTER                                                 Contingent
          185 NW SPANISH RIVER BLVD                                             Unliquidated
          SUITE 100                                                             Disputed
          BOCA RATON, FL 33431-4230
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.162
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,463.30
          MAUI ELECTRIC CO. LTD.                                                Contingent
          PO BOX 398                                                            Unliquidated
          KAHULUI, HI 96733
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $598.69
          MAUI ELECTRIC CO. LTD.                                                Contingent
          PO BOX 398                                                            Unliquidated
          KAHULUI, HI 96733                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $219.00
          MAXAIR HEATING AND AC INC                                             Contingent
          ATTN: JESSICA HUTT                                                    Unliquidated
          325 ROESLER RD                                                        Disputed
          GLEN BURNIE, MD 21060
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 341 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 458 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.163
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $64.24
          MAY JIMMY                                                             Contingent
          12410 W. LITTLE YORK RD                                               Unliquidated
          #1035
                                                                                Disputed
          HOUSTON, TX 77041
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.163
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $495.09
          MCCAINE RUSSELL                                                       Contingent
          1105 HERRING AVE                                                      Unliquidated
          WEST COVINA, CA 91790
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,187.50
          MCDOWELL RICE SMITH & BUCHANAN
          ATTN: LISA STOCKLEIN                                                  Contingent
          A PROFESSIONAL CORPORATION                                            Unliquidated
          605 W. 47TH STREET                                                    Disputed
          KANSAS CITY, MO 64112
                                                                             Basis for the claim:    Legal Fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.163
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,861.70
          MCI WORLDCOM                                                          Contingent
          P.O. BOX 371392                                                       Unliquidated
          PITTSBURGH, PA 15250-7392
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,080.00
          MCKINLEY ELEVATOR CORPORATION                                         Contingent
          ATTN: JIM MARTINEZ                                                    Unliquidated
          17611 ARMSTRONG AVE                                                   Disputed
          IRVINE, CA 92614
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.163
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $142,758.32
          MCKINNEY SH I LTD                                                     Contingent
          ATTN: ERIC SEITZ                                                      Unliquidated
          1110 COWAN ROAD                                                       Disputed
          CELINA, TX 75009
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 342 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 459 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.163
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $67,422.20
          MCKINNEY SH I LTD                                                     Contingent
          1110 COWAN ROAD                                                       Unliquidated
          CELINA, TX 75009
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,328.19
          MCMASTER-CARR SUPPLY COMPANY                                          Contingent
          P.O. BOX 7690                                                         Unliquidated
          CHICAGO, IL 60680-7690                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,291.16
          MCWILLIAMS,AIMEE EVANGELINE                                           Contingent
          25252 TURF AVE.                                                       Unliquidated
          MISSION VIEJO, CA 92691
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $317,187.75
          MDC COAST 21 LLC                                                      Contingent
          ATTN: KELSEY RODRIGUES                                                Unliquidated
          11995 EL CAMINO REAL                                                  Disputed
          SAN DIEGO, CA 92130
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.164
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,895.00
          MEAGAN MCCRARY
          ATTN: MEAGAN MCCRARY                                                  Contingent
          721 BUENA TIERRA WAY                                                  Unliquidated
          # 189                                                                 Disputed
          OCEANSIDE, CA 92057
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.164
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $266.23
          MEDINA BRANDON                                                        Contingent
          1084 REGINA WAY                                                       Unliquidated
          CORONA, CA 92882
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $92.66
          MEDINA RICHARD                                                        Contingent
          2304 ONONDAGA AVE                                                     Unliquidated
          PLACENTIA, CA 92870
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 343 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 460 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.164
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          MELANI,ROBERTO ENRICO                                                 Contingent
          900 CAMBRIDGE DR                                                      Unliquidated
          UNIT 133
                                                                                Disputed
          BENICIA, CA 94510
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.164
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,777.00
          MELINDA A FULMER                                                      Contingent
          ATTN: MELINDA FULMER                                                  Unliquidated
          1105 FAIRVIEW DR                                                      Disputed
          LA CA ADA FLINTRIDGE, CA 91011
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.164
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          MEMBER REFUNDS                                                        Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade Related
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          MEMBER REFUNDS                                                        Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Trade Related
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,557.86
          MEMPIN,CEDRIC                                                         Contingent
          2884 JOSEPHINE DR                                                     Unliquidated
          HENDERSON, NV 89044
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $123,116.29
          MEPT WESTWOOD VILLAGE LLC                                             Contingent
          NW 584318                                                             Unliquidated
          PO BOX 1450                                                           Disputed
          MINNEAPOLIS, MN 55485-6231
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 344 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 461 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.165
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $261,552.64
          MERCURY TIC LLC
          ATTN: THONG VAN                                                       Contingent
          13 SIERRA GATE PLAZA                                                  Unliquidated
          SUITE B                                                               Disputed
          ROSEVILLE, CA 95678
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.165
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $101,478.55
          MERCURY TIC LLC
          ATTN: THONG VAN                                                       Contingent
          13 SIERRA GATE PLAZA                                                  Unliquidated
          SUITE B                                                               Disputed
          ROSEVILLE, CA 95678
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.165
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,206.02
          MERIDIAN METROPOLITAN DISTRICT, CO                                    Contingent
          6399 SOUTH FIDDLER'S GREEN CIRCLE                                     Unliquidated
          SUITE 10
                                                                                Disputed
          GREENWOOD VILLAGE, CO 80111
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.165
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,894.94
          MESA CONSOLIDATED WATER DISTRICT                                      Contingent
          P.O. BOX 5019                                                         Unliquidated
          COSTA MESA, CA 92628
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $110,408.42
          MESA VERDE ASSOCIATES                                                 Contingent
          3315 FAIRVIEW ROAD                                                    Unliquidated
          COSTA MESA, CA 92626                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,054.17
          MESA VERDE ASSOCIATES                                                 Contingent
          3315 FAIRVIEW ROAD                                                    Unliquidated
          COSTA MESA, CA 92626
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 345 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 462 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.165
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,320.00
          MESQUITE TAX FUND                                                     Contingent
          PO BOX 850267                                                         Unliquidated
          MESQUITE, TX 75185-0627
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,480.94
          METLIFE                                                               Contingent
          PO BOX 8500-3895                                                      Unliquidated
          PHILADELPHIA, PA 19178-3895                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $290,253.99
          METRO ALP LLC                                                         Contingent
          227 20TH STREET SUITE 100                                             Unliquidated
          NEWPORT BEACH, CA 92663                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $99,896.22
          METRO ALP LLC                                                         Contingent
          227 20TH STREET SUITE 100                                             Unliquidated
          NEWPORT BEACH, CA 92663
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,677.22
          METRO FIRE & COMMUNICATIONS
          SYSTEMS                                                               Contingent
          ATTN: DENNIS DECARLO                                                  Unliquidated
          430 BROAD STREET                                                      Disputed
          BLOOMFIELD, NJ 07003
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.166
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $365.00
          METRO LOCKSMITHS INC                                                  Contingent
          2045 DIVISADERO ST.                                                   Unliquidated
          SAN FRANCISCO, CA 94115                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 346 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 463 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.166
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $203,528.78
          METROPLEX PLAZA LP
          C/O CNA ENTERPRISES, INC.                                             Contingent
          ATTN: ASSET MANAGEMENT                                                Unliquidated
          1901 AVENUE OF THE STARS, SUITE 855                                   Disputed
          LOS ANGELES, CA 90067
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.166
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,100.05
          METROPLEX PLAZA LP
          C/O CNA ENTERPRISES, INC.                                             Contingent
          ATTN: ASSET MANAGEMENT                                                Unliquidated
          1901 AVENUE OF THE STARS, SUITE 855                                   Disputed
          LOS ANGELES, CA 90067
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.166
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,346.57
          METTEL                                                                Contingent
          55 WATER STREET                                                       Unliquidated
          NEW YORK, NY 10041-3299                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $108.54
          METTEL                                                                Contingent
          P.O. BOX 9660                                                         Unliquidated
          MANCHESTER, NH 03108-9660
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telecom
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $193,250.96
          MEYERLAND RETAIL ASSOCIATES LLC                                       Contingent
          C/O FIDELIS REALTY PARTNERS                                           Unliquidated
          DEPT. C0501A                                                          Disputed
          HOUSTON, TX 77251
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.166
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,327.30
          MGP XI BALLINGER LLC
          ATTN: PATRICK HURLEY                                                  Contingent
          C/O MERLONE GEIER MANAGEMENT LLC                                      Unliquidated
          425 CALIFORNIA STREET 10TH FLOOR                                      Disputed
          SAN FRANCISCO, CA 94104
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 347 of 524
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 464 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.166
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $487.56
          MGP XI BALLINGER LLC
          ATTN: PATRICK HURLEY                                                  Contingent
          C/O MERLONE GEIER MANAGEMENT LLC                                      Unliquidated
          425 CALIFORNIA STREET 10TH FLOOR                                      Disputed
          SAN FRANCISCO, CA 94104
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.167
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,023.02
          MI9 INC                                                               Contingent
          ATTN: HANK KLOOTS                                                     Unliquidated
          PO BOX 645820
                                                                                Disputed
          PITTSBURGH, PA 33181
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.167
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,863.75
          MI9 INC                                                               Contingent
          ATTN: HANK KLOOTS                                                     Unliquidated
          PO BOX 645820                                                         Disputed
          PITTSBURGH, PA 33181
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.167
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,658.00
          MIAMI DADE COUNTY                                                     Contingent
          FINANCE UNIT BOILER SECTION                                           Unliquidated
          11805 SW 26TH STREET
                                                                                Disputed
          MIAMI, FL 33175-2474
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.167
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,901.74
          MIAMI-DADE WATER AND SEWER DEPT                                       Contingent
          3071 SW 38TH AVE                                                      Unliquidated
          MIAMI, FL 33133
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,673.19
          MIAMI-DADE WATER AND SEWER DEPT                                       Contingent
          3071 SW 38TH AVE                                                      Unliquidated
          MIAMI, FL 33133                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          MICHAEL TEESE                                                         Contingent
          11879 HICKORY LOOP                                                    Unliquidated
          THORNTON, TX 76687                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 348 of 524
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 465 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.167
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          MICKI D STARY                                                         Contingent
          101 E BOZEMAN LN                                                      Unliquidated
          FORT WORTH, TX 76108-9662                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $94,099.00
          MICROSOFT CORPORATION                                                 Contingent
          ATTN: WW CREDIT SERVICES                                              Unliquidated
          6100 NEIL ROAD                                                        Disputed
          RENO, NV 89511-1137
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.167
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,527.43
          MICROSOFT CORPORATION                                                 Contingent
          1950 N. STEMMONS FWY                                                  Unliquidated
          STE 5010
                                                                                Disputed
          DALLAS, TX 75207
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.167
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $39,773.60
          MILE HIGH DRAIN CLEANING, INC.                                        Contingent
          ATTN: CHRIS EDDY                                                      Unliquidated
          P.O. BOX 430                                                          Disputed
          LITTLETON, CO 80160-0430
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.168
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $254,618.86
          MILILANI SHOPPING CENTER LLC                                          Contingent
          P.O. BOX 741483                                                       Unliquidated
          LOS ANGELES, CA 90074-1483                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,527.79
          MILILANI SHOPPING CENTER LLC                                          Contingent
          P.O. BOX 741483                                                       Unliquidated
          LOS ANGELES, CA 90074-1483
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $182.40
          MILILANI SHOPPING CENTER LLC                                          Contingent
          P.O. BOX 741483                                                       Unliquidated
          LOS ANGELES, CA 90074-1483
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 349 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 466 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.168
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,203.68
          MILPITAS SANITATION                                                   Contingent
          1080 WALSH AVENUE                                                     Unliquidated
          SANTA CLARA, CA 95050
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $995.04
          MILPITAS SANITATION                                                   Contingent
          1080 WALSH AVENUE                                                     Unliquidated
          SANTA CLARA, CA 95050                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $214,462.18
          MIRACLE MILE PROPERTIES LP                                            Contingent
          4221 WILSHIRE BLVD                                                    Unliquidated
          SUITE 480
                                                                                Disputed
          LOS ANGELES, CA 90010
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.168
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $188,980.32
          MIRACLE MILE PROPERTIES LP                                            Contingent
          4221 WILSHIRE BLVD                                                    Unliquidated
          SUITE 480                                                             Disputed
          LOS ANGELES, CA 90010
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.168
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $288,567.71
          MIRAMAR EQUITY I LLC                                                  Contingent
          ATTN: RIGO RUIZ                                                       Unliquidated
          696 N.E. 125TH STREET                                                 Disputed
          NORTH MIAMI, FL 33161
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.168
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $53,316.95
          MIRAMAR EQUITY I LLC                                                  Contingent
          696 N.E. 125TH STREET                                                 Unliquidated
          NORTH MIAMI, FL 33161
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,959.11
          MISSION ELECTRIC COMPANY INC.                                         Contingent
          ATTN: KEN WILLIAMS                                                    Unliquidated
          5700 BOSCELL COMMON
                                                                                Disputed
          FREMONT, CA 94538
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 350 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 467 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.169
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,305.74
          MISSION ELECTRIC COMPANY INC.                                         Contingent
          ATTN: KEN WILLIAMS                                                    Unliquidated
          5700 BOSCELL COMMON                                                   Disputed
          FREMONT, CA 94538
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.169
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $145,107.64
          MISSION VALLEY SHOPPINGTOWN LLC
          ATTN: MICHAEL TABANYI                                                 Contingent
          2049 CENTRURY PARK EAST                                               Unliquidated
          41ST FLOOR                                                            Disputed
          LOS ANGELES, CA 90067
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.169
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,613.39
          MISSION VALLEY SHOPPINGTOWN LLC                                       Contingent
          2049 CENTRURY PARK EAST                                               Unliquidated
          41ST FLOOR
                                                                                Disputed
          LOS ANGELES, CA 90067
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.169
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,692.65
          MISSION VALLEY SHOPPINGTOWN LLC                                       Contingent
          2049 CENTRURY PARK EAST                                               Unliquidated
          41ST FLOOR
                                                                                Disputed
          LOS ANGELES, CA 90067
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.169
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $169,756.00
          MISSION VALLEY SHOPPINGTOWN, LLC                                      Contingent
          C/O WESTFIELD CORPORATION, INC                                        Unliquidated
          11601 WILSHIRE BOULEVARD, 12TH FLOOR
                                                                                Disputed
          LOS ANGELES, CA 90025-1748
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unbilled CIP Increases
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.169
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          MISSOURI DEPARTMENT OF REVENUE                                        Contingent
          P.O. BOX 700
                                                                                Unliquidated
          JEFFERSON CITY, MO 65105-0700
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    State of Missouri Income Tax
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 351 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 468 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.169
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $154,266.98
          MKD GREAT PETALUMA MILL LLC                                           Contingent
          C/O VERITAS PROPERTY MANAGEMENT                                       Unliquidated
          1001 CANAL BOULEVARD                                                  Disputed
          RICHMOND, CA 94804
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.169
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,696.02
          MKD GREAT PETALUMA MILL LLC                                           Contingent
          C/O VERITAS PROPERTY MANAGEMENT                                       Unliquidated
          1001 CANAL BOULEVARD
                                                                                Disputed
          RICHMOND, CA 94804
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.169
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $459,843.44
          MM PG BAYFAIR PROPERTIES LLC                                          Contingent
          C/O WELLS FARGO BANK N.A.                                             Unliquidated
          NW 5849
                                                                                Disputed
          MINNEAPOLIS, MN 55485-4305
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent accrual
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.169
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $163,778.39
          MM PG BAYFAIR PROPERTIES LLC
          ATTN: DARREN HEDGES                                                   Contingent
          C/O WELLS FARGO BANK N.A.                                             Unliquidated
          NW 5849                                                               Disputed
          MINNEAPOLIS, MN 55485-4305
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.170
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,150.04
          MM PG BAYFAIR PROPERTIES LLC
          ATTN: DARREN HEDGES                                                   Contingent
          C/O WELLS FARGO BANK N.A.                                             Unliquidated
          NW 5849                                                               Disputed
          MINNEAPOLIS, MN 55485-4305
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.170
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $73,575.00
          MOBILE REPAIR SERVICES                                                Contingent
          ATTN: TOMMY MEKERES                                                   Unliquidated
          5930 RUNNING HILLS AVENUE                                             Disputed
          LIVERMORE, CA 94551
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 352 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 469 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.170
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $124,414.88
          MOCKINGBIRD PARK LTD
          C/O HARKINSON INVESTMENT                                              Contingent
          CORPORATION                                                           Unliquidated
          4560 BELTLINE ROAD                                                    Disputed
          ADDISON, TX 75001
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.170
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $60,514.35
          MOCKINGBIRD PARK LTD
          C/O HARKINSON INVESTMENT                                              Contingent
          CORPORATION                                                           Unliquidated
          4560 BELTLINE ROAD                                                    Disputed
          ADDISON, TX 75001
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.170
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,083.22
          MOCKINGBIRD PARK LTD
          C/O HARKINSON INVESTMENT                                              Contingent
          CORPORATION                                                           Unliquidated
          4560 BELTLINE ROAD                                                    Disputed
          ADDISON, TX 75001
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.170
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $78.00
          MOFFETT DIANE                                                         Contingent
          5846 ZILEMAN COURT                                                    Unliquidated
          SAN JOSE, CA 95123
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,299.15
          MONROVIA LANDING LLC                                                  Contingent
          ATTN: CHELSEA STEVENS                                                 Unliquidated
          PO BOX 754                                                            Disputed
          MONTROSE, CA 91021
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.170
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,492.46
          MONROVIA LANDING LLC                                                  Contingent
          PO BOX 754                                                            Unliquidated
          MONTROSE, CA 91021
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 353 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 470 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.170
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $157.43
          MONTA VISTA WATER DISTRICT                                            Contingent
          ACCOUNT #9750 CENTRAL AVENUE                                          Unliquidated
          P.O. BOX 71
                                                                                Disputed
          MONTCLAIR, CA 91763
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.170
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $276,813.82
          MONTEREY PROPERTY ASSOCIATES
          ANAHEIM LLC
          ATTN: HOLLY LEONHARD                                                  Contingent
          C/O ATHENA PROPERTY MANAGEMENT                                        Unliquidated
          730 EL CAMINO WAY                                                     Disputed
          TUSTIN, CA 92780
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.171
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,541.82
          MONTEREY PROPERTY ASSOCIATES
          ANAHEIM LLC                                                           Contingent
          C/O ATHENA PROPERTY MANAGEMENT                                        Unliquidated
          730 EL CAMINO WAY                                                     Disputed
          TUSTIN, CA 92780
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.171
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,996.00
          MONTGOMERY CO. TAX COLLECTOR                                          Contingent
          P.O. BOX 4798                                                         Unliquidated
          HOUSTON, TX 77210-4798
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $404.51
          MOODY OWEN                                                            Contingent
          2822 NW LACAMAS DR                                                    Unliquidated
          CAMAS, WA 98607
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,667.00
          MOODYS INVESTORS SERVICE                                              Contingent
          P.O. BOX 102597                                                       Unliquidated
          ATLANTA, GA 30368-0597
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Annual fee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 354 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 471 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.171
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          MOORE, ZACHARY                                                        Contingent
          533 W WILSON ST                                                       Unliquidated
          APT 66
                                                                                Disputed
          COSTA MESA, CA 92627
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.171
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,040.16
          MOORE,SHELLEY A                                                       Contingent
          47 411 HUI IWA ST                                                     Unliquidated
          APT 3
                                                                                Disputed
          KANEOHE, HI 96744
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.171
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,114.75
          MORGAN LEWIS & BOCKIUS LLP                                            Contingent
          ATTN: DEBORAH KRAVETZ                                                 Unliquidated
          1701 MARKET STREET
                                                                                Disputed
          PHILADELPHIA, PA 19103-2921
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.171
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,584.10
          MORRISON & FOERSTER LLP                                               Contingent
          425 MARKET STREET, 2ND FLOOR                                          Unliquidated
          SAN FRANCISCO, CA 94105-5819
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $200.14
          MOULTAN NIGEL WATER                                                   Contingent
          23954 ALISO CREEK RD                                                  Unliquidated
          LAGUNA NIGUEL, CA 92677
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $253,037.18
          MOUNTAIN GROVE PARTNERS LLC
          ATTN: SARA BOMBARDIER                                                 Contingent
          C/O MAJESTIC REALTY CO                                                Unliquidated
          13191 CROSSROADS PARKWAY NORTH                                        Disputed
          CITY OF INDUSTRY, CA 91746
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 355 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 472 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.172
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $188.81
          MOUNTAIN GROVE PARTNERS LLC
          ATTN: SARA BOMBARDIER                                                 Contingent
          C/O MAJESTIC REALTY CO                                                Unliquidated
          13191 CROSSROADS PARKWAY NORTH                                        Disputed
          CITY OF INDUSTRY, CA 91746
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.172
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,038.76
          MP PLUMBING CO.                                                       Contingent
          15330 SE 82ND DRIVE                                                   Unliquidated
          CLACKAMAS, OR 97015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,927.15
          MRE COMMERCIAL REAL ESTATE                                            Contingent
          6001 SHELLMOUND STREET, SUITE 825                                     Unliquidated
          EMERYVILLE, CA 94608
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,674.65
          MRE COMMERCIAL REAL ESTATE                                            Contingent
          6001 SHELLMOUND STREET, SUITE 825                                     Unliquidated
          EMERYVILLE, CA 94608                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $212,321.44
          MS SHOPPING CENTER LLC                                                Contingent
          845 NE 79TH STREET                                                    Unliquidated
          MIAMI, FL 33138                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $158,696.11
          MS SHOPPING CENTER LLC                                                Contingent
          845 NE 79TH STREET                                                    Unliquidated
          MIAMI, FL 33138
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,186.20
          MSKP RIVERBRIDGE LLC                                                  Contingent
          4500 PGA BLVD                                                         Unliquidated
          STE 400
                                                                                Disputed
          PALM BEACH GARDENS, FL 33418
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 356 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 473 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.172
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $556.93
          MUD #60                                                               Contingent
          PO BOX 7580                                                           Unliquidated
          THE WOODLANDS, TX 77387-7580
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          MUIR, STEVE                                                           Contingent
          7036 VAN MAREN LANE                                                   Unliquidated
          CITRUS HEIGHTS, CA 95621
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $893.48
          MULTNOMAH HEATING INC.                                                Contingent
          ATTN: JOE INNOCENTI                                                   Unliquidated
          PO BOX 1830                                                           Disputed
          GRESHAM, OR 97030
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.173
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $254,071.08
          MURPHY MARKETPLACE STATION LLC                                        Contingent
          ATTN: KERY CLAY                                                       Unliquidated
          PO BOX 645414                                                         Disputed
          PITTSBURGH, PA 15264-5414
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.173
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,173.05
          MURPHY MARKETPLACE STATION LLC                                        Contingent
          PO BOX 645414                                                         Unliquidated
          PITTSBURGH, PA 15264-5414
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,724.53
          MURRAY CITY UTILITIES, UT                                             Contingent
          P.O. BOX 57919/UTILITY BILLING                                        Unliquidated
          MURRAY, UT 84157-0919
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $189,271.13
          MURRAY SCHOLLS LLC                                                    Contingent
          UNIT 1177                                                             Unliquidated
          P.O. BOX 2369                                                         Disputed
          PORTLAND, OR 97208-2369
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 357 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 474 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.173
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,431,967.41
          MUSCLE FOODS USA                                                      Contingent
          ATTN: MIKE BANISCH                                                    Unliquidated
          P.O. BOX 791126                                                       Disputed
          BALTIMORE, MD 21279-1126
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.173
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $101,170.70
          MUSCLE PHARM                                                          Contingent
          ATTN: DEBBIE ADAMS                                                    Unliquidated
          3005 PARKFIELD LOOP SOUTH                                             Disputed
          SPING HILL, TN 37174-2879
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.173
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $98.90
          MYERS ERIC                                                            Contingent
          370 W BROADWAY                                                        Unliquidated
          APT 4T
                                                                                Disputed
          LONG BEACH, NY 11561
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.173
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $160.00
          NA JEFF                                                               Contingent
          710 N GUADALUPE AVE                                                   Unliquidated
          UNIT 1
                                                                                Disputed
          REDONDO BEACH, CA 90277
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.173
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,991.24
          NATIONAL ELEVATOR INSPECTION SERV                                     Contingent
          INC                                                                   Unliquidated
          PO BOX 503067                                                         Disputed
          ST LOUIS, MO 63150-3067
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.173
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $53,706.00
          NATIONAL GLASS & MIRROR
          ATTN: CHARLIE SCHLEIGER                                               Contingent
          5715 KEARNY VILLA ROAD                                                Unliquidated
          STE 116                                                               Disputed
          SAN DIEGO, CA 92123-1167
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 358 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 475 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.174
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,837.00
          NATIONAL GLASS & MIRROR
          ATTN: CHARLIE SCHLEIGER                                               Contingent
          5715 KEARNY VILLA ROAD                                                Unliquidated
          STE 116                                                               Disputed
          SAN DIEGO, CA 92123-1167
                                                                             Basis for the claim:    Purchase of fixed assets
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.174
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,586.32
          NATIONAL GRID                                                         Contingent
          PO BOX 11791                                                          Unliquidated
          NEWARK, NJ 07101-4791
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,547.80
          NATIONAL GRID                                                         Contingent
          PO BOX 11791                                                          Unliquidated
          NEWARK, NJ 07101-4791
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $70,979.90
          NATIONAL GYM SUPPLY, INC.                                             Contingent
          ATTN: JON WEBSTER                                                     Unliquidated
          PO BOX 748735                                                         Disputed
          LOS ANGELES, CA 90074-8735
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.174
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,908.82
          NAVEX GLOBAL INC                                                      Contingent
          ATTN: KIMBERLY FAUS                                                   Unliquidated
          P.O. BOX 60941                                                        Disputed
          CHARLOTTE, NC 28260-0941
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.174
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $351,787.39
          NAZARETH RETAIL HOLDINGS LLC
          ATTN: MICHAEL OHAYON                                                  Contingent
          800 S. B STREET                                                       Unliquidated
          SUITE 100                                                             Disputed
          SAN MATEO, CA 94401
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 359 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 476 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.174
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $221,463.73
          NAZARETH RETAIL HOLDINGS LLC                                          Contingent
          800 S. B STREET                                                       Unliquidated
          SUITE 100
                                                                                Disputed
          SAN MATEO, CA 94401
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.174
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $277,316.09
          NBC PARTNERS LLC                                                      Contingent
          101 LARKSPUR LANDING CIRCLE                                           Unliquidated
          # 120                                                                 Disputed
          LARKSPUR, CA 94939
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.174
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,685.36
          NBC PARTNERS LLC                                                      Contingent
          101 LARKSPUR LANDING CIRCLE                                           Unliquidated
          # 120
                                                                                Disputed
          LARKSPUR, CA 94939
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.174
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NEBRASKA DEPARTMENT OF REVENUE                                        Contingent
          PO BOX 94818
                                                                                Unliquidated
          LINCOLN, NE 68509-4818
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    State of Nebraska Income Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $76,425.51
          NEI GLOBAL RELOCATION                                                 Contingent
          ATTN: TIM RODDY                                                       Unliquidated
          PO BOX 241886                                                         Disputed
          OMAHA, NE 68124
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.175
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,232.20
          NEI GLOBAL RELOCATION                                                 Contingent
          PO BOX 241886                                                         Unliquidated
          OMAHA, NE 68124
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Relocating Employees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $107.67
          NEISWENTER ERIC                                                       Contingent
          1600 TEA LEAF DR                                                      Unliquidated
          PFLUGERVILLE, TX 78660
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 360 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 477 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.175
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NELSON WILLIAMS IV                                                    Contingent
          3066 HOLYROOD DRIVE                                                   Unliquidated
          OAKLAND, CA 94611                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $104.69
          NEVADA DEPARTMENT OF TAXATION                                         Contingent
          P.O. BOX 52609                                                        Unliquidated
          PHOENIX, AZ 85072-2609                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,054.44
          NEVADA POWER COMPANY                                                  Contingent
          P.O. BOX 98855                                                        Unliquidated
          LAS VEGAS, NV 89193-8855
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,146.66
          NEVADA POWER COMPANY                                                  Contingent
          P.O. BOX 98855                                                        Unliquidated
          LAS VEGAS, NV 89193-8855                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $168,267.73
          NEW HAVEN WG LLC                                                      Contingent
          P.O. BOX 24169                                                        Unliquidated
          OMAHA, NE 68124-0169                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $60,754.33
          NEW HAVEN WG LLC                                                      Contingent
          P.O. BOX 24169                                                        Unliquidated
          OMAHA, NE 68124-0169
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $645.74
          NEW JERSEY AMERICAN WATER                                             Contingent
          BOX 371331                                                            Unliquidated
          PITTSBURGH, PA 15250-7331
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 361 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 478 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.176
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $59.42
          NEW YORK AMERICAN WATER                                               Contingent
          PO BOX 371332                                                         Unliquidated
          PITTSBURGH, PA 15250-7332                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17.21
          NEW YORK AMERICAN WATER                                               Contingent
          PO BOX 371332                                                         Unliquidated
          PITTSBURGH, PA 15250-7332
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $331,042.31
          NEWAGE PHM LLC                                                        Contingent
          411 E. HUNTINGTON DRIVE                                               Unliquidated
          UNIT 305                                                              Disputed
          ARCADIA, CA 91006
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.176
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $161,097.72
          NEWAGE PHM LLC                                                        Contingent
          411 E. HUNTINGTON DRIVE                                               Unliquidated
          UNIT 305
                                                                                Disputed
          ARCADIA, CA 91006
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.176
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,151.05
          NEWAGE PHM LLC                                                        Contingent
          411 E. HUNTINGTON DRIVE                                               Unliquidated
          UNIT 305
                                                                                Disputed
          ARCADIA, CA 91006
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.176
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $164,366.44
          NEWKOA LLC                                                            Contingent
          ATTN: JANICE SCOTT                                                    Unliquidated
          P.O. BOX 601328                                                       Disputed
          LOS ANGELES, CA 90060
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.176
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $299,537.35
          NEWPARK MALL LP                                                       Contingent
          ATTN: EMILY MARTIN                                                    Unliquidated
          PO BOX 639702                                                         Disputed
          CINCINNATI, OH 45263-9702
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 362 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 479 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.176
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $59,446.87
          NEWPARK MALL LP                                                       Contingent
          PO BOX 639702                                                         Unliquidated
          CINCINNATI, OH 45263-9702
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,000.00
          NEXT LEVEL RESOURCES INC                                              Contingent
          ATTN: PAUL GOULD                                                      Unliquidated
          3146 TIGER RUN COURT STE. 108                                         Disputed
          CARLSBAD, CA 92010
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.176
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $350.00
          NEXTCARE URGENT CARE                                                  Contingent
          P.O. BOX 952271                                                       Unliquidated
          DALLAS, TX 75395-2271                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $296,662.98
          NFF IMPERIAL LLC                                                      Contingent
          C/O TIARNA REAL ESTATE SERVICES INC                                   Unliquidated
          2603 MAIN STREET                                                      Disputed
          IRVINE, CA 92614
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.177
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,188.84
          NFF IMPERIAL LLC                                                      Contingent
          C/O TIARNA REAL ESTATE SERVICES INC                                   Unliquidated
          2603 MAIN STREET
                                                                                Disputed
          IRVINE, CA 92614
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.177
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $164,979.89
          NIBS MANAGEMENT INC                                                   Contingent
          14310 VENTURA BLVD #300                                               Unliquidated
          SHERMAN OAKS, CA 91423                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,212.93
          NIBS MANAGEMENT INC                                                   Contingent
          14310 VENTURA BLVD #300                                               Unliquidated
          SHERMAN OAKS, CA 91423
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 363 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 480 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.177
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          NICHOLAS FIRCHAU                                                      Contingent
          ATTN: NICHILAS FIRCHAU                                                Unliquidated
          750 8TH AVE                                                           Disputed
          LONGMONT, CO 80501
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.177
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $92,468.30
          NICKIE INVESTMENTS, INC.                                              Contingent
          C/O PARKSTONE COMPANIES                                               Unliquidated
          PO BOX 503934                                                         Disputed
          SAN DIEGO, CA 92150
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.177
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $332.18
          NICKIE INVESTMENTS, INC.                                              Contingent
          C/O PARKSTONE COMPANIES                                               Unliquidated
          PO BOX 503934
                                                                                Disputed
          SAN DIEGO, CA 92150
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.177
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NICOLAS DROHOJOWSKI                                                   Contingent
          ATTN: NICOLAS DROHOJOWSKI                                             Unliquidated
          115 WEST 73RD ST APR 8A                                               Disputed
          NEW YORK, NY 10023
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.177
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NICOLE GANJANI                                                        Contingent
          5157 STEINBECK CT                                                     Unliquidated
          CARLSBAD, CA 92008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $484.34
          NICOR GAS                                                             Contingent
          PO BOX 5407                                                           Unliquidated
          CAROL STREAM, IL 60197-5407
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $46,137.90
          NIKE USA, INC                                                         Contingent
          ATTN: ALLISON BROCK                                                   Unliquidated
          ONE BOWERMAN DRIVE                                                    Disputed
          BEAVERTON, OR 97005
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 364 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 481 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.178
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.00
          NIKOL ELAINE
          ATTN: NIKOL ELAINE                                                    Contingent
          621 E. 21ST ST.                                                       Unliquidated
          UNIT 4                                                                Disputed
          OAKLAND, CA 94606
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.178
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $383,669.97
          NOHO MEADOWRIDGE RETAIL IX LLC
          ATTN: ASHLEY OLSON                                                    Contingent
          C/O ATHENA PROPERTY MANAGEMENT                                        Unliquidated
          ATTN: ASHLEY OLSON                                                    Disputed
          TUSTIN, CA 92780
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.178
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,201.87
          NOHO MEADOWRIDGE RETAIL IX LLC
          ATTN: ASHLEY OLSON                                                    Contingent
          C/O ATHENA PROPERTY MANAGEMENT                                        Unliquidated
          ATTN: ASHLEY OLSON                                                    Disputed
          TUSTIN, CA 92780
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.178
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,531.86
          NOHO MEADOWRIDGE RETAIL IX LLC
          ATTN: ASHLEY OLSON                                                    Contingent
          C/O ATHENA PROPERTY MANAGEMENT                                        Unliquidated
          ATTN: ASHLEY OLSON                                                    Disputed
          TUSTIN, CA 92780
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.178
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NOLY L ABLAO                                                          Contingent
          1397 OLD JANAL RANCH RD.                                              Unliquidated
          CHULA VISTA, CA 91915                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,214.00
          NOR-CAL MOVING SERVICES                                               Contingent
          3129 CORPORATE PLACE                                                  Unliquidated
          HAYWARD, CA 94545-3915                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 365 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 482 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.178
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $124,209.57
          NORMAN H SCHEINER                                                     Contingent
          CITIBANK (WEST) FSB                                                   Unliquidated
          ATTN: BANK BY MAIL PROCESSING                                         Disputed
          SAN FRANCISCO, CA 94126-6901
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.178
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,813.21
          NORMAN H SCHEINER                                                     Contingent
          CITIBANK (WEST) FSB                                                   Unliquidated
          ATTN: BANK BY MAIL PROCESSING
                                                                                Disputed
          SAN FRANCISCO, CA 94126-6901
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.178
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $530.17
          NORTH COAST COUNTY WATER DISTRICT                                     Contingent
          2400 FRANCISCO BLVD                                                   Unliquidated
          PACIFICA, CA 94044
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,146.34
          NORTH COAST ELECTRIC COMPANY                                          Contingent
          ATTN: MARISA HOWARD                                                   Unliquidated
          2450 8TH AVE SOUTH #200                                               Disputed
          SEATTLE, WA 98134-2005
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.179
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $236,374.26
          NORTH COUNTY FAIR LP
          ATTN: JENNIFERMULL                                                    Contingent
          C/O NORTH COUNTY FAIR                                                 Unliquidated
          PO BOX 55697                                                          Disputed
          LOS ANGELES, CA 90074-5697
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.179
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $151,487.13
          NORTH COUNTY FAIR LP                                                  Contingent
          C/O NORTH COUNTY FAIR                                                 Unliquidated
          PO BOX 55697
                                                                                Disputed
          LOS ANGELES, CA 90074-5697
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 366 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 483 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.179
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,606.35
          NORTH COUNTY FAIR LP                                                  Contingent
          C/O NORTH COUNTY FAIR                                                 Unliquidated
          PO BOX 55697
                                                                                Disputed
          LOS ANGELES, CA 90074-5697
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.179
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $161,688.73
          NORTH HALSTEAD ASSOCIATES LLC
          ATTN: SHELDON BEVERLY
          C/O EVER WEST REAL STATE PARTNERS                                     Contingent
          LLC                                                                   Unliquidated
          1099 18TH STREET                                                      Disputed
          DENVER, CO 80202
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.179
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,867.21
          NORTH HALSTEAD ASSOCIATES LLC
          ATTN: SHELDON BEVERLY
          C/O EVER WEST REAL STATE PARTNERS                                     Contingent
          LLC                                                                   Unliquidated
          1099 18TH STREET                                                      Disputed
          DENVER, CO 80202
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.179
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,747.00
          NORTH HALSTEAD ASSOCIATES LLC
          ATTN: SHELDON BEVERLY
          C/O EVER WEST REAL STATE PARTNERS                                     Contingent
          LLC                                                                   Unliquidated
          1099 18TH STREET                                                      Disputed
          DENVER, CO 80202
                                                                             Basis for the claim:    Security Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.179
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,383.19
          NORTH HALSTEAD ASSOCIATES LLC
          ATTN: SHELDON BEVERLY
          C/O EVER WEST REAL STATE PARTNERS                                     Contingent
          LLC                                                                   Unliquidated
          1099 18TH STREET                                                      Disputed
          DENVER, CO 80202
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.179
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $162,891.71
          NORTH RICHLAND FITNESS LP                                             Contingent
          C/O TITUS PROPERTIES, LLC                                             Unliquidated
          1748 W. KATELLA AVENUE, SUITE 206                                     Disputed
          ORANGE, CA 92867
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 367 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 484 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.179
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $68,862.89
          NORTH RICHLAND FITNESS LP                                             Contingent
          C/O TITUS PROPERTIES, LLC                                             Unliquidated
          1748 W. KATELLA AVENUE, SUITE 206
                                                                                Disputed
          ORANGE, CA 92867
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.180
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $896.40
          NORTH RICHLAND HILLS UTILITY                                          Contingent
          P.O. BOX 961092                                                       Unliquidated
          FORT WORTH, TX 76161-1092                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $184.93
          NORTH RICHLAND HILLS UTILITY                                          Contingent
          P.O. BOX 961092                                                       Unliquidated
          FORT WORTH, TX 76161-1092
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $110.20
          NORTH RICHLAND HILLS UTILITY                                          Contingent
          P.O. BOX 961092                                                       Unliquidated
          FORT WORTH, TX 76161-1092
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $394,756.10
          NORTHEAST FITNESS SOLUTIONS INC                                       Contingent
          ATTN: MONIQUE BOYER                                                   Unliquidated
          1370 WELSH ROAD                                                       Disputed
          NORTH WALES, PA 19454
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.180
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,996.88
          NORTHEAST FITNESS SOLUTIONS INC                                       Contingent
          ATTN: MONIQUE BOYER                                                   Unliquidated
          1370 WELSH ROAD
                                                                                Disputed
          NORTH WALES, PA 19454
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.180
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,231.67
          NORTHGATE MALL PARTNERSHIP                                            Contingent
          401 NE NORTHGATE WAY                                                  Unliquidated
          SUITE 210                                                             Disputed
          SEATTLE, WA 98125
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 368 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 485 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.180
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $257,000.83
          NORTHPOINT INVESTORS
          ATTN: ALINE ESTOUTNES                                                 Contingent
          C/O NPA LEASING OFFICE                                                Unliquidated
          2211 STOCKTON STREET                                                  Disputed
          SAN FRANCISCO, CA 94133
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.180
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,121.88
          NORTHPOINT INVESTORS
          ATTN: ALINE ESTOUTNES                                                 Contingent
          C/O NPA LEASING OFFICE                                                Unliquidated
          2211 STOCKTON STREET                                                  Disputed
          SAN FRANCISCO, CA 94133
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.180
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,589.16
          NORTHPOINT INVESTORS
          ATTN: ALINE ESTOUTNES                                                 Contingent
          C/O NPA LEASING OFFICE                                                Unliquidated
          2211 STOCKTON STREET                                                  Disputed
          SAN FRANCISCO, CA 94133
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.180
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,227.40
          NORTHPOINT INVESTORS
          ATTN: ALINE ESTOUTNES                                                 Contingent
          C/O NPA LEASING OFFICE                                                Unliquidated
          2211 STOCKTON STREET                                                  Disputed
          SAN FRANCISCO, CA 94133
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.181
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,293.68
          NORTHWEST REFRIGERATION                                               Contingent
          ATTN: VAUGHN MURPHIE                                                  Unliquidated
          6111 ESTHER STREET SW                                                 Disputed
          TUMWATER, WA 98501-5221
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.181
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $81,104.18
          NTCONSULT US INC
          ATTN: DENISE KIRCHOF                                                  Contingent
          9920 PACIFIC HEIGHTS BLVD                                             Unliquidated
          SUITE 150                                                             Disputed
          SAN DIEGO, CA 92121-4361
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 369 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 486 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.181
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $76.01
          NUNEZ CHELSEA                                                         Contingent
          12254 WEST EXPOSITION DRIVE                                           Unliquidated
          LAKEWOOD, CO 80228
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $196,438.00
          NUTRABOLT NUTRITIONAL LIFE SCIENCES                                   Contingent
          ATTN: CHRIS EVERS                                                     Unliquidated
          715 NORTH MAIN STREET                                                 Disputed
          BRYAN, TX 77803
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.181
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,497.90
          NW NATURAL                                                            Contingent
          P.O. BOX 8905                                                         Unliquidated
          PORTLAND, OR 97255-0001
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,154.75
          NYC WATER BOARD                                                       Contingent
          PO BOX 11863                                                          Unliquidated
          NEWARK, NJ 07101-8163
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $340,683.40
          OB FRANK PROPERTIES LLC                                               Contingent
          C/O HANSEN REAL ESTATE, LLC                                           Unliquidated
          5712 E. LK SAMMAMISH PKWY SE, #100                                    Disputed
          ISSAQUAH, WA 98029
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.181
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $67,087.64
          OB FRANK PROPERTIES LLC                                               Contingent
          C/O HANSEN REAL ESTATE, LLC                                           Unliquidated
          5712 E. LK SAMMAMISH PKWY SE, #100
                                                                                Disputed
          ISSAQUAH, WA 98029
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.181
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,365.42
          OCEAN ICE PALACE                                                      Contingent
          197 CHAMBERS BRIDGE RD                                                Unliquidated
          BRICK, NJ 08723-3492                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 370 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 487 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.181
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $266.59
          OCEAN ICE PALACE                                                      Contingent
          197 CHAMBERS BRIDGE RD                                                Unliquidated
          BRICK, NJ 08723-3492
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $137,785.57
          OCEAN RANCH II LLC                                                    Contingent
          OCEAN RANCH II OFFICE                                                 Unliquidated
          DEPT LA 23736                                                         Disputed
          PASADENA, CA 91185-3736
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.182
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,783.47
          OCEAN RANCH II LLC                                                    Contingent
          OCEAN RANCH II OFFICE                                                 Unliquidated
          DEPT LA 23736
                                                                                Disputed
          PASADENA, CA 91185-3736
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.182
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,296.22
          OCEAN RANCH II LLC                                                    Contingent
          OCEAN RANCH II OFFICE                                                 Unliquidated
          DEPT LA 23736
                                                                                Disputed
          PASADENA, CA 91185-3736
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.182
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $247,202.25
          OCEANVIEW 1 LLC                                                       Contingent
          ATTN: JENNIFER ASKELAND                                               Unliquidated
          252 CLAYTON STREET                                                    Disputed
          DENVER, CO 80206
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.182
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,183.85
          OCEANVIEW 1 LLC                                                       Contingent
          ATTN: JENNIFER ASKELAND                                               Unliquidated
          252 CLAYTON STREET
                                                                                Disputed
          DENVER, CO 80206
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.182
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,868.47
          OCEANVIEW 1 LLC                                                       Contingent
          ATTN: JENNIFER ASKELAND                                               Unliquidated
          252 CLAYTON STREET
                                                                                Disputed
          DENVER, CO 80206
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 371 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 488 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.182
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,808.72
          OCEANVIEW 1 LLC                                                       Contingent
          ATTN: JENNIFER ASKELAND                                               Unliquidated
          252 CLAYTON STREET
                                                                                Disputed
          DENVER, CO 80206
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.182
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $216,059.50
          OCHOYUNO INVESTMENT COMPANY                                           Contingent
          C/O DUCKETT-WILSON DEVELOPEMENT                                       Unliquidated
          11150 SANTA MONICA BLVD., STE. 760                                    Disputed
          LOS ANGELES, CA 90025-3392
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.182
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,421.93
          OCHOYUNO INVESTMENT COMPANY                                           Contingent
          C/O DUCKETT-WILSON DEVELOPEMENT                                       Unliquidated
          11150 SANTA MONICA BLVD., STE. 760
                                                                                Disputed
          LOS ANGELES, CA 90025-3392
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.182
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $76,890.32
          OCTANE FITNESS                                                        Contingent
          ATTN: DAVE ZACHRY                                                     Unliquidated
          P.O. BOX 101830                                                       Disputed
          PASADENA, CA 91189-1830
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.183
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $400.62
          ODONALD CRAIG                                                         Contingent
          5382 FELICIA ST                                                       Unliquidated
          CAMARILLO, CA 93012
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          OFFICE OF MANAGEMENT & FINANCE -                                      Contingent
          REV
                                                                                Unliquidated
          111 SW COLUMBIA STREET, # 600
          PORTLAND, OR 97201                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Portland/Multnomah City and County Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.183
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,661.78
          OFFICETEAM                                                            Contingent
          P.O. BOX 743295                                                       Unliquidated
          LOS ANGELES, CA 90074-3295                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 372 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 489 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.183
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,195.48
          OGLETREE DEAKINS NASH SMOAK &                                         Contingent
          STEWART                                                               Unliquidated
          P.O. BOX 89
                                                                                Disputed
          COLUMBIA, SC 29202
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.183
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,636.26
          OGORGEOUS INC                                                         Contingent
          ATTN: CHARLIE HO                                                      Unliquidated
          3125 OSGOOD CT                                                        Disputed
          FREMONT, CA 94539
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.183
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $113,601.60
          OLIVE DRIVE PARTNERS                                                  Contingent
          3939 BERNARD ST.,SUITE 1                                              Unliquidated
          BAKERSFIELD, CA 93306                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,407.43
          OLIVE DRIVE PARTNERS                                                  Contingent
          3939 BERNARD ST.,SUITE 1                                              Unliquidated
          BAKERSFIELD, CA 93306
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,806.26
          OLIVE DRIVE PARTNERS                                                  Contingent
          3939 BERNARD ST.,SUITE 1                                              Unliquidated
          BAKERSFIELD, CA 93306
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,262.72
          ONE BRANDS LLC                                                        Contingent
          ATTN: TINA TAYLOR                                                     Unliquidated
          P.O. BOX 744687                                                       Disputed
          ATLANTA, GA 30384-4687
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.183
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,474.45
          ONE RING NETWORKS INC                                                 Contingent
          P.O. BOX 1360                                                         Unliquidated
          ATHENS, TX 75751
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 373 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 490 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.184
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,881.00
          ONSITE GENERAL ENGINEERING INC                                        Contingent
          ATTN: ALLIE MCEWEN                                                    Unliquidated
          699 ENTERPRISE COURT                                                  Disputed
          LIVERMORE, CA 94550
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.184
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $368,045.85
          ONTARIO RETAIL PARTNERS                                               Contingent
          227 20TH ST #100                                                      Unliquidated
          NEWPORT BEACH, CA 92663                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $63,516.17
          ONTARIO RETAIL PARTNERS                                               Contingent
          227 20TH ST #100                                                      Unliquidated
          NEWPORT BEACH, CA 92663
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          ONTARIO TEACHERS PENSION PLAN                                         Contingent
          5650 YONGE STREET                                                     Unliquidated
          TORONTO, ON M2M 4H5 CANADA
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,227.43
          ONTARIO TEACHERS PENSION PLAN                                         Contingent
          5650 YONGE STREET                                                     Unliquidated
          TORONTO, ON M2M 4H5 CANADA                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          OPPEDISANO,GERALD R                                                   Contingent
          29 N 2ND STREET                                                       Unliquidated
          CORTLANDT MANOR, NY 10567
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $436,970.18
          OPTIMUM NUTRITION INC                                                 Contingent
          ATTN: YUKI PHIPPS                                                     Unliquidated
          BUSINESS SERVICES INC DEPT 3331                                       Disputed
          CAROL STREAM, IL 60132-3331
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 374 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 491 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.184
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $526,114.96
          ORACLE AMERICA INC                                                    Contingent
          ATTN: JEFFREY BROWN                                                   Unliquidated
          500 ORACLE PARKWAY
                                                                                Disputed
          REDWOOD SHORES, CA 94065
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.184
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $58,442.72
          ORACLE AMERICA INC                                                    Contingent
          ATTN: JEFFREY BROWN                                                   Unliquidated
          500 ORACLE PARKWAY                                                    Disputed
          REDWOOD SHORES, CA 94065
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.184
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,464.42
          ORANGE & ROCKLAND                                                     Contingent
          390 WEST ROUTE 59                                                     Unliquidated
          SPRING VALLEY, NY 10977-5300
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $281,308.09
          ORANGE CENTER TOWER OWNER LLC
          ATTN: RACHEL WALTON                                                   Contingent
          C/O LPC WEST INC                                                      Unliquidated
          500 N STATE COLLEGE BLVD                                              Disputed
          ORANGE, CA 92868
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.185
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,679.88
          ORANGE CENTER TOWER OWNER LLC                                         Contingent
          C/O LPC WEST INC                                                      Unliquidated
          500 N STATE COLLEGE BLVD
                                                                                Disputed
          ORANGE, CA 92868
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.185
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $185,080.75
          ORANGE COUNTY TAX COLLECTOR                                           Contingent
          312 SOUTHWEST 76 TERRACE                                              Unliquidated
          NORTH LAUDERDALE, FL 33068                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 375 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 492 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.185
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,075.48
          ORANGE COUNTY TAX COLLECTOR                                           Contingent
          312 SOUTHWEST 76 TERRACE                                              Unliquidated
          NORTH LAUDERDALE, FL 33068
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $44,666.00
          ORANGE COUNTY TAX COLLECTOR                                           Contingent
          PO BOX 545100                                                         Unliquidated
          ORLANDO, FL 32854-5100
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $646.75
          ORANGE COUNTY, HEALTH CARE AGENCY                                     Contingent
          1241 EAST DYER ROAD, SUITE 120                                        Unliquidated
          SANTA ANA, CA 92705-5611                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $133.00
          ORANGE COUNTY, HEALTH CARE AGENCY                                     Contingent
          1241 EAST DYER ROAD, SUITE 120                                        Unliquidated
          SANTA ANA, CA 92705-5611
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          OREGON DEPT. OF REVENUE                                               Contingent
          P.O. BOX 14790
                                                                                Unliquidated
          SALEM, OR 97309-0470
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    State of Oregon Income Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $548,659.26
          OREGON METRO LLC
          ATTN: BILL TOMPKINS                                                   Contingent
          227 20TH STREET                                                       Unliquidated
          SUITE 100                                                             Disputed
          NEWPORT BEACH, CA 92663
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 376 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 493 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.185
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $118,081.55
          OREGON METRO LLC
          ATTN: BILL TOMPKINS                                                   Contingent
          227 20TH STREET                                                       Unliquidated
          SUITE 100                                                             Disputed
          NEWPORT BEACH, CA 92663
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.186
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23.00
          ORINA ALEX                                                            Contingent
          8538 THUNDERBIRD DR.                                                  Unliquidated
          NORTH HILLS, CA 91343
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,526.08
          ORLANDO UTILITIES COMMISSION                                          Contingent
          44 WEST JEFFERSON ST                                                  Unliquidated
          ORLANDO, FL 32801
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $876.64
          ORLANDO WASTE PAPER CO IN                                             Contingent
          PO BOX 547874                                                         Unliquidated
          ORLANDO, FL 32854-7874                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $102.53
          ORLANDO WASTE PAPER CO IN                                             Contingent
          PO BOX 547874                                                         Unliquidated
          ORLANDO, FL 32854-7874
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $267,861.70
          ORRIS FAMILY LLC
          ATTN: JASON ORRIS                                                     Contingent
          6295 GREENWOOD PLAZA BLVD                                             Unliquidated
          SUITE 120                                                             Disputed
          GREENWOOD VILLAGE, CO 80111-4979
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 377 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 494 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.186
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,840.08
          ORRIS FAMILY LLC                                                      Contingent
          6295 GREENWOOD PLAZA BLVD                                             Unliquidated
          SUITE 120
                                                                                Disputed
          GREENWOOD VILLAGE, CO 80111-4979
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.186
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,106.00
          OSCEOLA COUNTY TAX COLLECTOR                                          Contingent
          PO BOX 422105                                                         Unliquidated
          KISSIMMEE, FL 34742
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,194.87
          OTAY WATER DISTRICT                                                   Contingent
          2554 SWEETWATER SPRINGS BLVD.                                         Unliquidated
          SPRING VALLEY, CA 91977-7299
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          OTIS ELEVATOR COMPANY                                                 Contingent
          PO BOX 13898                                                          Unliquidated
          NEWARK, NJ 07188-0898
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $227,438.19
          OTR - ANAHEIM HILLS FESTIVAL                                          Contingent
          ATTN: KIM WAIPA                                                       Unliquidated
          P.O. BOX 633276                                                       Disputed
          CINCINNATI, OH 45263-3276
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.187
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,419.44
          OTR - ANAHEIM HILLS FESTIVAL                                          Contingent
          ATTN: KIM WAIPA                                                       Unliquidated
          P.O. BOX 633276
                                                                                Disputed
          CINCINNATI, OH 45263-3276
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 378 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 495 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.187
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $296,045.10
          OUTERSTUFF LTD
          ATTN: CARMELA M                                                       Contingent
          WELLS FARGO BANK # 168803                                             Unliquidated
          PO BOX 403058                                                         Disputed
          ATLANTA, GA 30384-3058
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.187
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,376.00
          OXFORD PLUMBING LLC                                                   Contingent
          ATTN: FRANCO BERLINGERIO                                              Unliquidated
          171 DWIGHT STREET
                                                                                Disputed
          BROOKLYN, NY 11231
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.187
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,119.05
          OXFORD PLUMBING LLC                                                   Contingent
          ATTN: FRANCO BERLINGERIO                                              Unliquidated
          171 DWIGHT STREET                                                     Disputed
          BROOKLYN, NY 11231
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.187
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,165.00
          OXFORD PLUMBING LLC                                                   Contingent
          ATTN: FRANCO BERLINGERIO                                              Unliquidated
          171 DWIGHT STREET
                                                                                Disputed
          BROOKLYN, NY 11231
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.187
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $104,595.74
          OXFORD SPECTRUM WILSON LLC
          ATTN: KARLA FOX                                                       Contingent
          ATTN LEANN LUU                                                        Unliquidated
          18012 SKY PARK CIRCLE                                                 Disputed
          IRVINE, CA 92614
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.187
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,724.64
          OXFORD SPECTRUM WILSON LLC
          ATTN: KARLA FOX                                                       Contingent
          ATTN LEANN LUU                                                        Unliquidated
          18012 SKY PARK CIRCLE                                                 Disputed
          IRVINE, CA 92614
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 379 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 496 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.187
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $232.26
          OXFORD SPECTRUM WILSON LLC
          ATTN: KARLA FOX                                                       Contingent
          ATTN LEANN LUU                                                        Unliquidated
          18012 SKY PARK CIRCLE                                                 Disputed
          IRVINE, CA 92614
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.187
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,940.04
          P.U.D. NO. 1 OF SNOHOMISH COUNTY                                      Contingent
          P.O. BOX 1100                                                         Unliquidated
          EVERETT, WA 98206-1100
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $71,537.55
          PAC TRUST - UNIT 72                                                   Contingent
          1480 9TH AVENUE                                                       Unliquidated
          SAN FRANCISCO, CA 94122                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $814.88
          PAC TRUST - UNIT 72                                                   Contingent
          UNIT 98                                                               Unliquidated
          P.O. BOX 4500
                                                                                Disputed
          PORTLAND, OR 97208-4500
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.188
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $95,095.32
          PACIFIC GAS & ELECTRIC                                                Contingent
          885 EMBARCADERO DR                                                    Unliquidated
          WEST SACRAMENTO, CA 95605
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,523.69
          PACIFIC GAS & ELECTRIC                                                Contingent
          885 EMBARCADERO DR                                                    Unliquidated
          WEST SACRAMENTO, CA 95605                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,068.99
          PACIFIC GAS & ELECTRIC                                                Contingent
          885 EMBARCADERO DR                                                    Unliquidated
          WEST SACRAMENTO, CA 95605
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 380 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 497 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.188
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,988.17
          PACIFIC POWER                                                         Contingent
          1033 NE 6TH AVE                                                       Unliquidated
          PORTLAND, OR 97256
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,585.92
          PACIFIC POWER                                                         Contingent
          1033 NE 6TH AVE                                                       Unliquidated
          PORTLAND, OR 97256
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $59,094.19
          PACIFIC SOLANA BEACH HOLDINGS LLC                                     Contingent
          11455 EL CAMINO REAL, STE. 200                                        Unliquidated
          SAN DIEGO, CA 92130                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,949.31
          PACIFIC SOLANA BEACH HOLDINGS LLC                                     Contingent
          11455 EL CAMINO REAL, STE. 200                                        Unliquidated
          SAN DIEGO, CA 92130
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $388,514.97
          PACWAL LLC
          ATTN: GABRIELLE BOUTON                                                Contingent
          12100 WILSHIRE BOULEVARD                                              Unliquidated
          1025                                                                  Disputed
          LOS ANGELES, CA 90025
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.188
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,019.92
          PACWAL LLC
          ATTN: GABRIELLE BOUTON                                                Contingent
          12100 WILSHIRE BOULEVARD                                              Unliquidated
          1025                                                                  Disputed
          LOS ANGELES, CA 90025
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 381 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 498 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.189
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,502.01
          PADRE DAM MUNICIPAL                                                   Contingent
          WATER DISTRICT                                                        Unliquidated
          P.O. BOX 719003
                                                                                Disputed
          SANTEE, CA 92072-9003
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.189
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $375.00
          PALM BEACH COUNTY HEALTH                                              Contingent
          DEPARTMENT                                                            Unliquidated
          800 CLEMATIS ST
                                                                                Disputed
          WEST PALM BEACH, FL 33401
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.189
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,560.00
          PALM BEACH COUNTY TAX COLLECTOR                                       Contingent
          PO BOX 3353                                                           Unliquidated
          WEST PALM BEACH, FL 33402-3353
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $272.28
          PALM BEACH COUNTY WATER UTILITIES                                     Contingent
          DEPT                                                                  Unliquidated
          9045 JOG RD
                                                                                Disputed
          WEST PALM BEACH, FL 33416-4740
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.189
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $673,229.24
          PALOMAR FITNESS PARTNER LP
          ATTN: JANET TANASUGARN                                                Contingent
          11601 WILSHIRE BLVD.                                                  Unliquidated
          SUITE 2110                                                            Disputed
          LOS ANGELES, CA 90025
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.189
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,000.00
          PALOMAR FITNESS PARTNER LP                                            Contingent
          C/O TIARNA REAL ESTATE SERVICES INC                                   Unliquidated
          2603 MAIN STREET
                                                                                Disputed
          IRVINE, CA 92614
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent accrual
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 382 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 499 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.189
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,816.88
          PALOMAR FITNESS PARTNER LP                                            Contingent
          C/O TIARNA REAL ESTATE SERVICES INC                                   Unliquidated
          2603 MAIN STREET
                                                                                Disputed
          IRVINE, CA 92614
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.189
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,472.60
          PALOMAR FITNESS PARTNER LP                                            Contingent
          C/O TIARNA REAL ESTATE SERVICES INC                                   Unliquidated
          2603 MAIN STREET
                                                                                Disputed
          IRVINE, CA 92614
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.189
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $103,015.61
          PANORAMA CAPITAL LP                                                   Contingent
          C/O SAFECO CAPITAL CORP.                                              Unliquidated
          1850 SEPULVEDA BLVD., #200                                            Disputed
          LOS ANGELES, CA 90025
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.189
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $575.00
          PANZARELLA WASTE                                                      Contingent
          4581 WESTON RD # 314,                                                 Unliquidated
          WESTON, FL 33331                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51.94
          PANZARELLA WASTE                                                      Contingent
          4581 WESTON RD                                                        Unliquidated
          # 314
                                                                                Disputed
          WESTON, FL 33331
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.190
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,476.25
          PARADISE PARKING SYSTEMS LLC
          ATTN: ANDREW FALSETTO                                                 Contingent
          1717 N. BAYSHORE DRIVE                                                Unliquidated
          STE 250                                                               Disputed
          MIAMI, FL 33132
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 383 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 500 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.190
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,273.33
          PARK SQUARE UCF LLC
          ATTN: ROBERT MICK                                                     Contingent
          5200 VINELAND ROAD                                                    Unliquidated
          SUITE 200                                                             Disputed
          ORLANDO, FL 32811
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.190
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,926.47
          PARK SQUARE UCF LLC
          ATTN: ROBERT MICK                                                     Contingent
          5200 VINELAND ROAD                                                    Unliquidated
          SUITE 200                                                             Disputed
          ORLANDO, FL 32811
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.190
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,254.86
          PARK SQUARE UCF LLC
          ATTN: ROBERT MICK                                                     Contingent
          5200 VINELAND ROAD                                                    Unliquidated
          SUITE 200                                                             Disputed
          ORLANDO, FL 32811
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.190
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,317.20
          PARK SQUARE UCF, LLC                                                  Contingent
          5200 VINELAND ROAD                                                    Unliquidated
          SUITE 200
                                                                                Disputed
          ORLANDO, FL 32811
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent accrual
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.190
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $117,673.79
          PARKER CENTRAL PLAZA LTD                                              Contingent
          ATTN: SUSAN BRADLEY                                                   Unliquidated
          2001 PRESTON ROAD                                                     Disputed
          PLANO, TX 75093
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.190
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $48,988.86
          PARKER CENTRAL PLAZA LTD                                              Contingent
          ATTN: SUSAN BRADLEY                                                   Unliquidated
          2001 PRESTON ROAD
                                                                                Disputed
          PLANO, TX 75093
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 384 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 501 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.190
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26.90
          PARKER JEREMY                                                         Contingent
          108 DIGGINS DR                                                        Unliquidated
          FOLSOM, CA 95630
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $80,609.67
          PARKING CONCEPTS, INC.                                                Contingent
          ATTN: JANNETTE SOTELO                                                 Unliquidated
          1400 IVAR AVE                                                         Disputed
          HOLLYWOOD, CA 90028
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.191
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,713.00
          PARKING NETWORK INC
          ATTN: EVA ORTIZ                                                       Contingent
          330 N BRAND BLVD                                                      Unliquidated
          SUITE 450                                                             Disputed
          GLENDALE, CA 91203
                                                                             Basis for the claim:    Parking
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.191
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,275.00
          PARKING NETWORK INC
          ATTN: EVA ORTIZ                                                       Contingent
          330 N BRAND BLVD                                                      Unliquidated
          SUITE 450                                                             Disputed
          GLENDALE, CA 91203
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.191
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $164.45
          PARKS GLENN                                                           Contingent
          28375 HWY 1                                                           Unliquidated
          TOMALES, CA 94971
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $114,056.55
          PARKWAY CENTER LLC                                                    Contingent
          100 N. CITY PARKWAY                                                   Unliquidated
          SUITE 140                                                             Disputed
          LAS VEGAS, NV 89106
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 385 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 502 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.191
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $57,875.00
          PARKWAY CENTER LLC                                                    Contingent
          100 N. CITY PARKWAY                                                   Unliquidated
          SUITE 140
                                                                                Disputed
          LAS VEGAS, NV 89106
          Date(s) debt was incurred
                                                                             Basis for the claim:    Parking
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.191
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,182.90
          PARKWAY CENTER LLC                                                    Contingent
          100 N. CITY PARKWAY                                                   Unliquidated
          SUITE 140
                                                                                Disputed
          LAS VEGAS, NV 89106
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.191
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,381.35
          PAROLE HOLDING LLC
          C/O ANNAPOLIS TOWNE CENTRE AT                                         Contingent
          PAROLE LLC                                                            Unliquidated
          10096 RED RUN BROADWAY SUITE 100                                      Disputed
          OWINGS MILLS, MD 21117
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.191
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $281.89
          PATEL NEEL                                                            Contingent
          2685 JOHN F KENNEDY BLVD                                              Unliquidated
          APT 2E
                                                                                Disputed
          JERSEY CITY, NJ 07306
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.191
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,233.33
          PATROL SPECIAL POLICE INC                                             Contingent
          ATTN: CODY CLEMENTS                                                   Unliquidated
          584 CASTRO # 606                                                      Disputed
          SAN FRANCISCO, CA 94114
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.191
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          PATTON,KRISTEN                                                        Contingent
          85 S AMHERST ST                                                       Unliquidated
          CASTLE ROCK, CO 80104
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 386 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 503 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.192
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,297.82
          PAVECON, LTD.                                                         Contingent
          ATTN: ROBERT HARRIS                                                   Unliquidated
          P.O. BOX 535457                                                       Disputed
          GRAND PRAIRIE, TX 75053
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.192
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $162,738.20
          PAVILLION WEST LTD                                                    Contingent
          1221 WEST CAMPBELL ROAD                                               Unliquidated
          SUITE 221                                                             Disputed
          RICHARDSON, TX 75080
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.192
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,899.95
          PAVILLION WEST LTD                                                    Contingent
          1221 WEST CAMPBELL ROAD                                               Unliquidated
          SUITE 221
                                                                                Disputed
          RICHARDSON, TX 75080
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.192
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,574.93
          PAYSCALE INC
          ATTN: CAROL SPENCER                                                   Contingent
          75 REMITTANCE DR.                                                     Unliquidated
          DEPT 1343                                                             Disputed
          CHICAGO, IL 60675-1343
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.192
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,124,519.39
          PCM SALES INC                                                         Contingent
          ATTN: HILLARIE RUBIN                                                  Unliquidated
          4995 MURPHY CANYON RD., STE. 300                                      Disputed
          SAN DIEGO, CA 92123
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.192
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,615.89
          PCM SALES INC                                                         Contingent
          ATTN: HILLARIE RUBIN                                                  Unliquidated
          4995 MURPHY CANYON RD., STE. 300
                                                                                Disputed
          SAN DIEGO, CA 92123
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 387 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 504 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.192
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,264.92
          PCM SALES INC                                                         Contingent
          FILE 55327                                                            Unliquidated
          LOS ANGELES, CA 90074-5327
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $331,608.36
          PCW PROPERTIES LLC                                                    Contingent
          P.O. BOX 511487                                                       Unliquidated
          LOS ANGELES, CA 90051-8042                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,016.09
          PCW PROPERTIES LLC                                                    Contingent
          P.O. BOX 511487                                                       Unliquidated
          LOS ANGELES, CA 90051-8042
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,040.33
          PDO VENTURE LLC                                                       Contingent
          2122 SHADE CREST DRIVE                                                Unliquidated
          RICHMOND, TX 77406                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $208,941.86
          PEAK HOLDINGS LLC                                                     Contingent
          8383 WILSHIRE BLVD., STE. 724                                         Unliquidated
          BEVERLY HILLS, CA 90211                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,263.09
          PEARL CITY GLASS SHOP, INC.                                           Contingent
          ATTN: DEAN                                                            Unliquidated
          659 KAMEHAMEHA HIGHWAY                                                Disputed
          PEARL CITY, HI 96782
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.193
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,869.31
          PEARL CITY GLASS SHOP, INC.                                           Contingent
          ATTN: DEAN                                                            Unliquidated
          659 KAMEHAMEHA HIGHWAY
                                                                                Disputed
          PEARL CITY, HI 96782
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 388 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 505 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.193
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $79,458.88
          PEMBROKE MIAMI FITNESS LTD                                            Contingent
          1748 W. KATELLA AVE., STE.206                                         Unliquidated
          ORANGE, CA 92867                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          PENNER MEDIA INC                                                      Contingent
          ATTN: LAURA ELLE PENNER                                               Unliquidated
          3483 NW DENALI LANE                                                   Disputed
          BEND, OR 97703
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.193
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,344.80
          PENNSYLVANIA DEPARTMENT OF                                            Contingent
          TREASURY                                                              Unliquidated
          129 FINANCE BUILDING                                                  Disputed
          HARRISBURG, PA 17120
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.193
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $703.79
          PEPCO                                                                 Contingent
          PO BOX 13608                                                          Unliquidated
          PHILADELPHIA, PA 19101
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $395,277.79
          PEPSI BEVERAGES COMPANY
          ATTN: GREG COPELAND                                                   Contingent
          75 REMITTANCE DRIVE                                                   Unliquidated
          SUITE 1884                                                            Disputed
          CHICAGO, IL 60675-1884
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.193
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,000.00
          PEREION SOLUTIONS LLC                                                 Contingent
          ATTN: STEVEN PERRY                                                    Unliquidated
          40 BEAVER ROAD                                                        Disputed
          READING, MA 01867
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 389 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 506 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.193
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,400.00
          PEREION SOLUTIONS LLC                                                 Contingent
          ATTN: STEVEN PERRY                                                    Unliquidated
          40 BEAVER ROAD
                                                                                Disputed
          READING, MA 01867
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.194
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          PEREZ,JANELL L                                                        Contingent
          2108 GRAND AVE.                                                       Unliquidated
          EVERETT, WA 98201
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $920.16
          PERFECTSHAKER INC                                                     Contingent
          ATTN: TRACY DESJARLAIS                                                Unliquidated
          2-505 IROQUOIS SHORE ROAD                                             Disputed
          OAKVILLE, ON L6H 2R3 CANADA
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.194
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,034.30
          PERFORMIX LLC
          ATTN: DIANNA GALLEGOS                                                 Contingent
          2255 SHERIDAN BLVD                                                    Unliquidated
          UNIT C-#108                                                           Disputed
          EDGEWATER, CO 80214
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.194
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,058.06
          PERFORMIX LLC                                                         Contingent
          2255 SHERIDAN BLVD                                                    Unliquidated
          UNIT C-#108                                                           Disputed
          EDGEWATER, CO 80214
                                                                             Basis for the claim:    Retail Inventory products
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.194
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $677.12
          PERKINS GLASS & MIRROR CO, INC                                        Contingent
          ATTN: L PHILIP PERKINS                                                Unliquidated
          1420 BROADWAY                                                         Disputed
          SEATTLE, WA 98122
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 390 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 507 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.194
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $42,735.00
          PERKVILLE INC
          ATTN: ELIZABETH NUSON                                                 Contingent
          344 THOMAS L. BERKLEY WAY                                             Unliquidated
          C/O PORT                                                              Disputed
          OAKLAND, CA 94612-3577
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.194
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $880.00
          PERRY GAIL                                                            Contingent
          3822 CORNELL DR                                                       Unliquidated
          OCEANSIDE, CA 92056
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $75,270.60
          PERVINE FOODS LLC
          ATTN: MATT CRUNY                                                      Contingent
          3900 VETERANS MEMORIAL HWY                                            Unliquidated
          SUITE 371                                                             Disputed
          BOHEMIA, NY 11716
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.194
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,181.16
          PETALUMA REFUSE AND RECYCLING INC                                     Contingent
          PO BOX 1300                                                           Unliquidated
          SUISUN, CA 94585
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $96.31
          PHILYAW ROBERT                                                        Contingent
          92-1524 ALIINUI DR #1                                                 Unliquidated
          KAPOLEI, HI 96707
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          PICKETT SCOTT                                                         Contingent
          7813 COSTIGAN AVE                                                     Unliquidated
          FORT COLLINS, CO 80525-4252
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 391 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 508 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.195
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $451.94
          PIERCE COUNTY                                                         Contingent
          P.O. BOX 11620                                                        Unliquidated
          TACOMA, WA 98411-6620
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,431.59
          PIERCE COUNTY BUDGET & FINANCE                                        Contingent
          P.O. BOX 11621                                                        Unliquidated
          TACOMA, WA 98411-6621                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,134.00
          PIERCE COUNTY BUDGET & FINANCE                                        Contingent
          P.O. BOX 11621                                                        Unliquidated
          TACOMA, WA 98411-6621
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,335.09
          PIERCE COUNTY REFUSE A WASTE                                          Contingent
          CONNECTIONS                                                           Unliquidated
          4111 192ND ST EAST                                                    Disputed
          TACOMA, WA 98446-2745
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.195
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $345,333.33
          PINE CASTLE NV                                                        Contingent
          ATTN: SARAH DIAZ                                                      Unliquidated
          72 BEVERLY PARK                                                       Disputed
          BEVERLY HILLS, CA 90210
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.195
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $81,155.99
          PINE CASTLE NV                                                        Contingent
          ATTN: SARAH DIAZ                                                      Unliquidated
          72 BEVERLY PARK
                                                                                Disputed
          BEVERLY HILLS, CA 90210
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.195
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $301,001.97
          PINECREST DIAMOND LLC                                                 Contingent
          ATTN : DAVID CHANG                                                    Unliquidated
          1440 N. HARBOR BLVD                                                   Disputed
          FULLERTON, CA 92835
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 392 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 509 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.195
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,354.11
          PINECREST DIAMOND LLC                                                 Contingent
          ATTN : DAVID CHANG                                                    Unliquidated
          1440 N. HARBOR BLVD
                                                                                Disputed
          FULLERTON, CA 92835
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.195
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $833,395.59
          PIRANHA INDUSTRIES
          ATTN: GAIL SPENCER                                                    Contingent
          2801 YOUNGFIELD ST                                                    Unliquidated
          SUITE 260                                                             Disputed
          GOLDEN, CO 80401
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.196
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,280.95
          PIRANHA INDUSTRIES
          ATTN: GAIL SPENCER                                                    Contingent
          2801 YOUNGFIELD ST                                                    Unliquidated
          SUITE 260                                                             Disputed
          GOLDEN, CO 80401
                                                                             Basis for the claim:    Purchase of fixed assets
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.196
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $162.97
          PIRANHA INDUSTRIES
          ATTN: GAIL SPENCER                                                    Contingent
          2801 YOUNGFIELD ST                                                    Unliquidated
          SUITE 260                                                             Disputed
          GOLDEN, CO 80401
                                                                             Basis for the claim:    Repairs & Maintenance
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.196
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,721.31
          PITNEY BOWES SOFTWARE INC                                             Contingent
          PO BOX 911304                                                         Unliquidated
          DALLAS, TX 75391-1304                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $114,735.81
          PK I BELAIR VILLAGE II LP                                             Contingent
          P.O. BOX 62045                                                        Unliquidated
          NEWARK, NJ 07101                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 393 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 510 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.196
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,670.40
          PK I BELAIR VILLAGE II LP                                             Contingent
          P.O. BOX 62045                                                        Unliquidated
          NEWARK, NJ 07101
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $134,151.97
          PKII BROOKVALE SC LP
          ATTN: SHARON DAVIS                                                    Contingent
          333 NEW HYDE PARK ROAD                                                Unliquidated
          SUITE 100                                                             Disputed
          NEW HYDE PARK, NY 11042
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.196
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $877.89
          PKII BROOKVALE SC LP                                                  Contingent
          P.O. BOX 62045                                                        Unliquidated
          NEWARK, NJ 07101
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $42,112.21
          PLACER COUNTY TAX COLLECTOR                                           Contingent
          FINANCE ADMINISTRATION BLDG                                           Unliquidated
          2976 RICHARDSON DRIVE, 2ND FLOOR                                      Disputed
          AUBURN, CA 95603
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.196
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $124,515.14
          PLATFORM CEDAR MT LLC
          ATTN: KYLE SINER                                                      Contingent
          4220 SHAWNEE MISSION PARKWAY                                          Unliquidated
          SUITE 200-B                                                           Disputed
          FAIRWAY, KS 66205
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.196
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $76,806.23
          PLATFORM CEDAR MT LLC
          ATTN: KYLE SINER                                                      Contingent
          4220 SHAWNEE MISSION PARKWAY                                          Unliquidated
          SUITE 200-B                                                           Disputed
          FAIRWAY, KS 66205
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 394 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 511 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.197
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $225,624.42
          PLATFORM MANSFIELD MT LLC
          ATTN: BRUCE PARRISH                                                   Contingent
          4220 SHAWNEE MISSION PARKWAY                                          Unliquidated
          SUITE 200 B                                                           Disputed
          FAIRWAY, KS 66205
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.197
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,341.50
          PLATFORM MANSFIELD MT LLC
          ATTN: BRUCE PARRISH                                                   Contingent
          4220 SHAWNEE MISSION PARKWAY                                          Unliquidated
          SUITE 200 B                                                           Disputed
          FAIRWAY, KS 66205
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.197
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $185,000.00
          PLAZA EDINGER LLC                                                     Contingent
          ATTN: AARON KIN                                                       Unliquidated
          336 N ALTA VISTA BLVD                                                 Disputed
          LOS ANGELES, CA 90036
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.197
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $171,964.55
          PLAZA EDINGER LLC                                                     Contingent
          336 N ALTA VISTA BLVD                                                 Unliquidated
          LOS ANGELES, CA 90036
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,826.24
          PLEASANTON GARBAGE SERVICE                                            Contingent
          PO BOX 399                                                            Unliquidated
          PLEASANTON, CA 94566-0399                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $651.31
          PLEASANTON GARBAGE SERVICE                                            Contingent
          PO BOX 399                                                            Unliquidated
          PLEASANTON, CA 94566-0399
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 395 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 512 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.197
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          PMC FITNESS SOLUTIONS LLC                                             Contingent
          ATTN: PETER MCCALL                                                    Unliquidated
          3475 CALLE CANCUNA                                                    Disputed
          CARLSBAD, CA 92009
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.197
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,190.58
          POOLS N MORE FACTORY OUTLET                                           Contingent
          ATTN: SCOTT CIELO                                                     Unliquidated
          4408 PETERS RD                                                        Disputed
          PLANTATION, FL 33317
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.197
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,595.00
          POOLS N MORE FACTORY OUTLET                                           Contingent
          ATTN: SCOTT CIELO                                                     Unliquidated
          4408 PETERS RD
                                                                                Disputed
          PLANTATION, FL 33317
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.197
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $455.00
          POOLS N MORE FACTORY OUTLET                                           Contingent
          ATTN: SCOTT CIELO                                                     Unliquidated
          4408 PETERS RD
                                                                                Disputed
          PLANTATION, FL 33317
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.198
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,250.00
          POPPULO INC
          ATTN: MATT LANGLOIS                                                   Contingent
          RESERVOIR PLACE                                                       Unliquidated
          1601 TRAPELO ROAD                                                     Disputed
          WALTHAM, MA 02451
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.198
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $337,833.06
          POR LP                                                                Contingent
          5177 RICHMOND AVE.                                                    Unliquidated
          SUITE 610                                                             Disputed
          HOUSTON, TX 77056
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 396 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 513 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.198
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,465.30
          POR LP                                                                Contingent
          5177 RICHMOND AVE.                                                    Unliquidated
          SUITE 610
                                                                                Disputed
          HOUSTON, TX 77056
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.198
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,528.81
          PORTLAND GENERAL ELECTRIC                                             Contingent
          PO. BOX 4438                                                          Unliquidated
          PORTLAND, OR 97208
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $267,571.74
          POST ROAD PLAZA LEASEHOLD LLC                                         Contingent
          ATTN: JOHN VESSIE                                                     Unliquidated
          P.O. BOX 326                                                          Disputed
          PLAINFIELD, NJ 07061-0326
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.198
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $95,224.93
          POST ROAD PLAZA LEASEHOLD LLC                                         Contingent
          P.O. BOX 326                                                          Unliquidated
          PLAINFIELD, NJ 07061-0326
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,683.99
          POST ROAD PLAZA LEASEHOLD LLC                                         Contingent
          P.O. BOX 326                                                          Unliquidated
          PLAINFIELD, NJ 07061-0326
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $309,549.58
          PR II MCC SOUTH COAST PROPERTY
          OWNER LLC                                                             Contingent
          ATTN: SANDRA BAKER                                                    Unliquidated
          P.O. BOX 51731                                                        Disputed
          LOS ANGELES, CA 90051-0060
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 397 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 514 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.198
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,040.22
          PR II MCC SOUTH COAST PROPERTY
          OWNER LLC                                                             Contingent
          ATTN: SANDRA BAKER                                                    Unliquidated
          P.O. BOX 51731                                                        Disputed
          LOS ANGELES, CA 90051-0060
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.198
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,084,902.90
          PRECOR INC.                                                           Contingent
          ATTN: JANINE                                                          Unliquidated
          20031 142ND AVE. NE                                                   Disputed
          WOODINVILLE, WA 98072-4002
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.199
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          PRECOR INC.                                                           Contingent
          ATTN: JANINE                                                          Unliquidated
          20031 142ND AVE. NE
                                                                                Disputed
          WOODINVILLE, WA 98072-4002
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.199
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,620.58
          PREFERRED PLUMBING AND DRAIN                                          Contingent
          48890 MILMONT DR                                                      Unliquidated
          STE 105D                                                              Disputed
          FREMONT, CA 94538-7362
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.199
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,872.12
          PRESTON PARK SOUTH POA                                                Contingent
          4975 PRESTON PARK BLVD STE #15                                        Unliquidated
          PLANO, TX 75093                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,785.00
          PRICEMANAGER                                                          Contingent
          300 FRANK W. BURR BLVD                                                Unliquidated
          SUITE 40                                                              Disputed
          TEANECK, NJ 07666
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 398 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 515 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.199
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,237.50
          PRIDE DISPOSAL COMPANY                                                Contingent
          ATTN: CUSTOMER SERVICE                                                Unliquidated
          PO BOX 820                                                            Disputed
          SHERWOOD, OR 97140
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.199
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $377,621.46
          PRIME FRIT MISSION HILLS LLC                                          Contingent
          ATTN: MICHELLE BECKWITH                                               Unliquidated
          1626 EAST JEFFERSON STREET                                            Disputed
          ROCKVILLE, MD 20852
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.199
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,033.99
          PRIME FRIT MISSION HILLS LLC                                          Contingent
          ATTN: MICHELLE BECKWITH                                               Unliquidated
          1626 EAST JEFFERSON STREET
                                                                                Disputed
          ROCKVILLE, MD 20852
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.199
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $221,040.28
          PRINCE DEL REY PARTNERS                                               Contingent
          ATTN: JERRY PRINCE                                                    Unliquidated
          3450 BONITA ROAD, STE. 110                                            Disputed
          CHULA VISTA, CA 91910-3249
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.199
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,492.11
          PRINCE DEL REY PARTNERS                                               Contingent
          ATTN: JERRY PRINCE                                                    Unliquidated
          3450 BONITA ROAD, STE. 110
                                                                                Disputed
          CHULA VISTA, CA 91910-3249
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.199
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,112.00
          PRINCE GEORGES COUNTY                                                 Contingent
          DEPT. OF PERMITTING AND HEALTH DEPT                                   Unliquidated
          9400 PEPPERCORN PLACE
                                                                                Disputed
          LARGO, MD 20774
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 399 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 516 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.200
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,480.40
          PRINDLE GOETZ BARNES & REINHOLTZ
          LLP
          ATTN: ARMANDO SANDOVAL                                                Contingent
          310 GOLDEN SHORE                                                      Unliquidated
          4TH FLOOR                                                             Disputed
          LONG BEACH, CA 90802
                                                                             Basis for the claim:    Legal Fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.200
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,309.29
          PRISM ELECTRIC                                                        Contingent
          ATTN: CAROLINE GUERRERO                                               Unliquidated
          2985 MARKET STREET                                                    Disputed
          GARLAND, TX 75041
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.200
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,601.29
          PRISM ELECTRIC                                                        Contingent
          ATTN: CAROLINE GUERRERO                                               Unliquidated
          2985 MARKET STREET
                                                                                Disputed
          GARLAND, TX 75041
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.200
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $496,188.67
          PROAVCOMM INC
          ATTN: RACHEL BAILEY                                                   Contingent
          130 MCCORMICK AVENUE                                                  Unliquidated
          SUITE 109                                                             Disputed
          COSTA MESA, CA 92626
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.200
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,318.93
          PROAVCOMM INC
          ATTN: RACHEL BAILEY                                                   Contingent
          130 MCCORMICK AVENUE                                                  Unliquidated
          SUITE 109                                                             Disputed
          COSTA MESA, CA 92626
                                                                             Basis for the claim:    Purchase of fixed assets
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.200
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $950.00
          PROCAM SERVICES                                                       Contingent
          ATTN: LOUIE CAMPOS                                                    Unliquidated
          16049 E BERRY DR                                                      Disputed
          CENTENNIAL, CO 80015
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 400 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 517 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.200
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,561.25
          PRODIGY PROMOS                                                        Contingent
          123 SOUTH 1380 WEST                                                   Unliquidated
          LINDON, UT 84042                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54.40
          PROGRESSIVE WASTE SOLUTIONS OF TX                                     Contingent
          INC                                                                   Unliquidated
          PO BOX 660036
                                                                                Disputed
          DALLAS, TX 75266-0036
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.200
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,695.13
          PRONTO DELIVERY SERVICE LLC                                           Contingent
          ATTN: KENNY MEALY                                                     Unliquidated
          7420 S COOPER ST                                                      Disputed
          ARLINGTON, TX 76001
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.200
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,910.95
          PROPERTY TAX SOLUTIONS LLC                                            Contingent
          1620 S FRIENDSWOOD DRIVE                                              Unliquidated
          SUITE 183                                                             Disputed
          FRIENDSWOOD, TX 77546
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.201
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $68,352.00
          PROSUPPS USA LLC                                                      Contingent
          ATTN: BRANDYN ALEJOS                                                  Unliquidated
          2801 EAST PLANO PARKWAY                                               Disputed
          PLANO, TX 75074
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.201
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $136,832.57
          PROTEA PACIFIC BEACH LLC                                              Contingent
          3262 HOLIDAY COURT                                                    Unliquidated
          SUITE 100                                                             Disputed
          LA JOLLA, CA 92037
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.201
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,146.24
          PROTEA PACIFIC BEACH LLC                                              Contingent
          3262 HOLIDAY COURT                                                    Unliquidated
          SUITE 100
                                                                                Disputed
          LA JOLLA, CA 92037
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 401 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 518 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.201
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,014.33
          PROTECTION ONE ALARM MONITORING,
          INC                                                                   Contingent
          ATTN: TRACI TORRES                                                    Unliquidated
          PO BOX 5714                                                           Disputed
          CAROL STREAM, IL 60197-5714
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.201
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,550.76
          PRP COMMERCIAL REAL STATE SERVICES
          INC
          ATTN: DEVON THOMAS                                                    Contingent
          MADISON                                                               Unliquidated
          417 29TH STREET                                                       Disputed
          NEWPORT BEACH, CA 92663
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.201
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,532.82
          PSE&G                                                                 Contingent
          PO BOX 14444                                                          Unliquidated
          NEW BRUNSWICK, NJ 08906-4444
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,554.52
          PSE&G                                                                 Contingent
          P.O. BOX 888                                                          Unliquidated
          HICKSVILLE, NY 11802                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $273.36
          PSE&G                                                                 Contingent
          PO BOX 14444                                                          Unliquidated
          NEW BRUNSWICK, NJ 08906-4444
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,589.91
          PSEGLI                                                                Contingent
          PO BOX 9039                                                           Unliquidated
          HICKSVILLE, NY 11802-9039                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 402 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 519 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.201
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,840.55
          PSEGLI                                                                Contingent
          PO BOX 9039                                                           Unliquidated
          HICKSVILLE, NY 11802-9039
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,304.00
          PTA GLOBAL
          ATTN: BETH MCHENRY                                                    Contingent
          32107 LINDERO CANYON ROAD                                             Unliquidated
          SUITE 233                                                             Disputed
          WESTLAKE VILLAGE, CA 91361
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.202
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,919.63
          PUGET SOUND ENERGY                                                    Contingent
          PAYMENT PROCESSNG, GEN-02W                                            Unliquidated
          PO BOX 91269
                                                                                Disputed
          BELLEVUE, WA 98009-9269
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.202
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,941.43
          PUGET SOUND ENERGY                                                    Contingent
          355 110TH AVENUE NE                                                   Unliquidated
          BELLEVUE, WA 98004                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,216.80
          PUMA UNITED NORTH AMERICA LLC                                         Contingent
          PO BOX 842674                                                         Unliquidated
          BOSTON, MA 02284-2674                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,241.18
          PUMPMAN LLC                                                           Contingent
          5020 BLEECKER STREET                                                  Unliquidated
          BALDWIN PARK, CA 91706-1706                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 403 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 520 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.202
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,328.38
          PUR WATER LLC
          ATTN: JESSE KERR                                                      Contingent
          PMB 389 5055 BUSINESS CENTER DR.                                      Unliquidated
          STE 108                                                               Disputed
          FAIRFIELD, CA 94534
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.202
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,586.44
          PUROSERVE WATER OF LA COUNTY                                          Contingent
          ATTN: DORA ROJAS                                                      Unliquidated
          6953 CANOGA AVE                                                       Disputed
          CANOGA PARK, CA 90069
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.202
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $83,896.27
          PWR17- 691 W HAMPDEN AVE LLC
          ATTN: VAL FURSOVA                                                     Contingent
          C/O MDC REALTY ADVISORS                                               Unliquidated
          1700 BROADWAY SUITE 650                                               Disputed
          DENVER, CO 80290
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.202
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $77,917.45
          PWR17- 691 W HAMPDEN AVE LLC
          ATTN: VAL FURSOVA                                                     Contingent
          C/O MDC REALTY ADVISORS                                               Unliquidated
          1700 BROADWAY SUITE 650                                               Disputed
          DENVER, CO 80290
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.202
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $142,493.87
          PWRP KENT LLC
          ATTN: BRITTANY SNYDER                                                 Contingent
          5743 CORSA AVE                                                        Unliquidated
          # 200                                                                 Disputed
          WESTLAKE VILLAGE, CA 91362
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.203
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $183.58
          QUADIENT INC                                                          Contingent
          478 WHEELERS FARMS RD                                                 Unliquidated
          MILFORD, CT 06461                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 404 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 521 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.203
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,897.72
          QUAKER SALES & DISTRIBUTION INC
          ATTN: LANELL TILLEY                                                   Contingent
          PNC BANK C/O PEPSICO INC.                                             Unliquidated
          QUAKER FOODS & BEVERAGE                                               Disputed
          PITTSBURGH, PA 15264-4926
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.203
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $275,329.01
          QUEST NUTRITION LLC
          ATTN: HARUN SIMBIRDI                                                  Contingent
          777 SOUTH AVIATION BLVD                                               Unliquidated
          SUITE 100                                                             Disputed
          EL SEGUNDO, CA 90245
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.203
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,836.50
          QUEST SOFTWARE INC                                                    Contingent
          4 POLARIS WAY                                                         Unliquidated
          ALISO VIEJO, CA 92656                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $434.03
          QUESTAR GAS                                                           Contingent
          PO BOX 45841                                                          Unliquidated
          SALT LAKE CITY, UT 84139-0001
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $257.20
          QWEST                                                                 Contingent
          P.O. BOX 12480                                                        Unliquidated
          SEATTLE, WA 98111-4480
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20.78
          QWEST                                                                 Contingent
          P.O. BOX 12480                                                        Unliquidated
          SEATTLE, WA 98111-4480
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telecom
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 405 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 522 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.203
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $848,149.48
          RADIUS GLOBAL SOLUTIONS LLC                                           Contingent
          ATTN: ERICA DOSHI                                                     Unliquidated
          7831 GLENROY RD                                                       Disputed
          EDINA, MN 55439
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.203
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,103.28
          RADIUS GLOBAL SOLUTIONS LLC                                           Contingent
          PO BOX 56704                                                          Unliquidated
          PHILADELPHIA, PA 19111-6704
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,262.87
          RAINBOW DISPOSAL CO. INC.                                             Contingent
          P.O. BOX 1026                                                         Unliquidated
          HUNTINGTON BEACH, CA 92647                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,124.92
          RAINBOW INVESTMENT CO                                                 Contingent
          PROPERTY ID # FWS001                                                  Unliquidated
          P.O. BOX 82551                                                        Disputed
          GOLETA, CA 93118
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.204
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $278,607.19
          RAINIER PACIFIC EQUITY LLC                                            Contingent
          WELLS FARGO, NATIONAL ASSOCIATION                                     Unliquidated
          ATTN: CMS CASH MANAGEMENT                                             Disputed
          OAKLAND, CA 94612
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.204
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,265.81
          RAINIER PACIFIC EQUITY LLC                                            Contingent
          WELLS FARGO, NATIONAL ASSOCIATION                                     Unliquidated
          ATTN: CMS CASH MANAGEMENT
                                                                                Disputed
          OAKLAND, CA 94612
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.204
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,377.05
          RAINIER PACIFIC EQUITY LLC                                            Contingent
          WELLS FARGO, NATIONAL ASSOCIATION                                     Unliquidated
          ATTN: CMS CASH MANAGEMENT
                                                                                Disputed
          OAKLAND, CA 94612
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 406 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 523 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.204
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          RAJEEV YEDDANAPUDI                                                    Contingent
          12081 WORLD TRADE DR                                                  Unliquidated
          UNIT 3                                                                Disputed
          SAN DIEGO, CA 92128
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.204
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $117,264.86
          RALPHS GROCERY COMPANY                                                Contingent
          P.O. BOX 842283                                                       Unliquidated
          BOSTON, MA 02284-2283                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,101.74
          RALPHS GROCERY COMPANY                                                Contingent
          P.O. BOX 842283                                                       Unliquidated
          BOSTON, MA 02284-2283
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,392.00
          RAMSEY BOARD OF PUBLIC WORKS                                          Contingent
          WATER AND SEWER DEPARTMENT                                            Unliquidated
          33 NORTH CENTRAL AVENUE
                                                                                Disputed
          RAMSEY, NJ 07446
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.204
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $986.67
          RANCHO COURIER SERVICE                                                Contingent
          1901 S. DITMAR                                                        Unliquidated
          OCEANSIDE, CA 92054                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $195,106.89
          RAND INDUSTRIES INC                                                   Contingent
          C/O ROSS REALTY INVESTMENSTS, INC.                                    Unliquidated
          3325 SOUTH UNIVERSITY DRIVE, STE. 210                                 Disputed
          DAVIE, FL 33328-2020
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.205
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,698.32
          RAND INDUSTRIES INC                                                   Contingent
          C/O ROSS REALTY INVESTMENSTS, INC.                                    Unliquidated
          3325 SOUTH UNIVERSITY DRIVE, STE. 210
                                                                                Disputed
          DAVIE, FL 33328-2020
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 407 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 524 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.205
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,973.30
          RAPID TECHNOLOGIES INC
          ATTN: BILL MELL                                                       Contingent
          9362 TEDDY LN                                                         Unliquidated
          STE 203                                                               Disputed
          LONE TREE, CO 80124-2871
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.205
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.00
          RAW DATA INC                                                          Contingent
          ATTN: SUDA MILLER                                                     Unliquidated
          400 37TH AVE                                                          Disputed
          SAN MATEO, CA 94403
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.205
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          RAWSON, JEREMY                                                        Contingent
          40 EL PASO BLVD                                                       Unliquidated
          MANITOU SPRINGS, CO 80829
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,756,803.78
          RAYMOND CONSTRUCTION INC.                                             Contingent
          ATTN: DAWN QUIN                                                       Unliquidated
          4407 N. BELTWOOD PARKWAY # 106                                        Disputed
          DALLAS, TX 75244
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.205
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $152,193.60
          RAYMOND CONSTRUCTION INC.                                             Contingent
          4407 N. BELTWOOD PARKWAY # 106
                                                                                Unliquidated
          DALLAS, TX 75244
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          RAYMOND D DEWHIRST                                                    Contingent
          3 BAILEY AVE                                                          Unliquidated
          MILTON, MA 02186                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 408 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 525 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.205
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $244.20
          RAYNE OF THE HIGH DESERT                                              Contingent
          ATTN: JAY SISSON                                                      Unliquidated
          9480 HESPERIA RD                                                      Disputed
          HESPERIA, CA 92345
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.205
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,316.88
          RAYNE WATER
          ATTN: JOSE PADILIA                                                    Contingent
          SYSTEM-IRVING                                                         Unliquidated
          17835 SKY PARK CIRCLE #M                                              Disputed
          IRVINE, CA 92714
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.205
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,536.00
          RAYNE WATER                                                           Contingent
          ATTN: RUSTY WALLIS                                                    Unliquidated
          2011 W. VISTA WAY                                                     Disputed
          VISTA, CA 92083
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.206
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $768.00
          RAYNE WATER                                                           Contingent
          ATTN: RUSTY WALLIS                                                    Unliquidated
          2011 W. VISTA WAY
                                                                                Disputed
          VISTA, CA 92083
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.206
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $650.54
          RAYNE WATER CONDITIONING                                              Contingent
          939 W. REECE STREET                                                   Unliquidated
          SAN BERNADINO, CA 92411                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,965.75
          RAYNE WATER CONDITIONING,                                             Contingent
          INC.-COVINA                                                           Unliquidated
          1018 EAST CYPRESS                                                     Disputed
          COVINA, CA 91724
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 409 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 526 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.206
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $564.37
          RAYNE WATER CONDITIONING,                                             Contingent
          INC.-FULLERTON                                                        Unliquidated
          1702 E. ROSSLYNN AVENUE                                               Disputed
          FULLERTON, CA 92831
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.206
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $814.10
          RAYNE WATER CONDITIONING-SAN DIEGO                                    Contingent
          4635 RUFFNER ST.                                                      Unliquidated
          SAN DIEGO, CA 92111                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,632.50
          REAGAN ELECTRIC LLC                                                   Contingent
          ATTN: JOHN R. SMITH                                                   Unliquidated
          8743 DOVES FLY WAY                                                    Disputed
          LAUREL, MD 20723-1247
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.206
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $84,229.69
          REALTY INCOME CORPORATION                                             Contingent
          ATTN: HOLLY HEE                                                       Unliquidated
          P.O. BOX 910079                                                       Disputed
          SAN DIEGO, CA 92191
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.206
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,973.01
          REALTY INCOME CORPORATION                                             Contingent
          P.O. BOX 910079                                                       Unliquidated
          SAN DIEGO, CA 92191
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $149,132.62
          REALTY INCOME PROPERTIES 4 LLC                                        Contingent
          11995 EL CAMINO REAL                                                  Unliquidated
          SUITE 101                                                             Disputed
          SAN DIEGO, CA 92130-2565
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.206
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $95,829.90
          REALTY INCOME PROPERTIES 4 LLC                                        Contingent
          11995 EL CAMINO REAL                                                  Unliquidated
          SUITE 101
                                                                                Disputed
          SAN DIEGO, CA 92130-2565
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 410 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 527 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.207
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $165,016.68
          REALTY INCOME TEXAS PROPERTIES 1,
          LLC                                                                   Contingent
          ATTN: HOLLY POINDEXTER                                                Unliquidated
          600 LA TERRAZA BLVD                                                   Disputed
          ESCONDIDO, CA 92025-3873
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.207
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $98,695.91
          REALTY INCOME TEXAS PROPERTIES 1,                                     Contingent
          LLC                                                                   Unliquidated
          600 LA TERRAZA BLVD
                                                                                Disputed
          ESCONDIDO, CA 92025-3873
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.207
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,820.24
          RECOLOGY GOLDEN GATE                                                  Contingent
          900 SEVENTH STREET                                                    Unliquidated
          SAN FRANCISCO, CA 94107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $627.67
          RECOLOGY GOLDEN GATE                                                  Contingent
          P.O. BOX 60846                                                        Unliquidated
          LOS ANGELES, CA 90060-0846
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,361.89
          RECOLOGY OF THE COAST                                                 Contingent
          PO BOX 60648                                                          Unliquidated
          LOS ANGELES, CA 90060-0648                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $574.19
          RECOLOGY OF THE COAST                                                 Contingent
          PO BOX 60648                                                          Unliquidated
          LOS ANGELES, CA 90060-0648
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,714.13
          RECOLOGY SAN MATEO COUNTY                                             Contingent
          PO BOX 514230                                                         Unliquidated
          LOS ANGELES, CA 90051-4230                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 411 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 528 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.207
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,487.68
          RECOLOGY SAN MATEO COUNTY                                             Contingent
          PO BOX 514230                                                         Unliquidated
          LOS ANGELES, CA 90051-4230
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,830.42
          RECOLOGY SUNSET SCAVENGER                                             Contingent
          P.O. BOX 60846                                                        Unliquidated
          LOS ANGELES, CA 90060-0846                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,623.56
          RECOLOGY SUNSET SCAVENGER                                             Contingent
          P.O. BOX 60846                                                        Unliquidated
          LOS ANGELES, CA 90060-0846
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,642.86
          RECRUIT ROOSTER
          ATTN: DONNA CAMPBELL                                                  Contingent
          7602 WOODLAND DRIVE                                                   Unliquidated
          SUITE 200                                                             Disputed
          INDIANAPOLIS, IN 46278-2714
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.208
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $412.68
          RED HAWK FIRE & SECURITY                                              Contingent
          ATTN: TOM DIMARINO                                                    Unliquidated
          P.O. BOX 842895                                                       Disputed
          BOSTON, MA 02284-2895
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.208
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $590.73
          RED HAWK FIRE AND SECURITY                                            Contingent
          ATTN: JAMIE ZINKE                                                     Unliquidated
          PO BOX 512250                                                         Disputed
          LOS ANGELES, CA 90051
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 412 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 529 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.208
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $126,566.26
          REDDY PARTNERSHIP-PARKAIR &
          CYPRESSWOOD                                                           Contingent
          C/O MJ REDDY                                                          Unliquidated
          730 N POST OAK RD. #330                                               Disputed
          HOUSTON, TX 77024
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.208
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $90.09
          REDDY PARTNERSHIP-PARKAIR &
          CYPRESSWOOD                                                           Contingent
          C/O MJ REDDY                                                          Unliquidated
          730 N POST OAK RD. #330                                               Disputed
          HOUSTON, TX 77024
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.208
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,135.25
          REED BUSINESS INFORMATION INC                                         Contingent
          ATTN: ADAM KAZANSKY                                                   Unliquidated
          28428 NETWORK PLACE                                                   Disputed
          CHICAGO, IL 60673-1284
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.208
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,700.00
          REED ENGINEERING GROUP                                                Contingent
          ATTN: JANICE HYMAN                                                    Unliquidated
          2424 STUTZ DR SUITE 400                                               Disputed
          DALLAS, TX 75235
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.208
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $300,315.19
          REGENCY CENTERS LP
          ATTN: JACKIE WALLACE                                                  Contingent
          POTRERO CENTER                                                        Unliquidated
          P.O. BOX 31001-0725                                                   Disputed
          PASADENA, CA 91110-0725
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.208
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $180,497.81
          REGENCY CENTERS LP
          ATTN: JACKIE WALLACE                                                  Contingent
          POTRERO CENTER                                                        Unliquidated
          P.O. BOX 31001-0725                                                   Disputed
          PASADENA, CA 91110-0725
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 413 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 530 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.208
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,061.35
          REGENCY CENTERS LP
          ATTN: JACKIE WALLACE                                                  Contingent
          POTRERO CENTER                                                        Unliquidated
          P.O. BOX 31001-0725                                                   Disputed
          PASADENA, CA 91110-0725
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.209
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $67,141.95
          RELIANT                                                               Contingent
          PO BOX 650475                                                         Unliquidated
          DALLAS, TX 75265-0475
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,842.59
          RELIANT                                                               Contingent
          PO BOX 650475                                                         Unliquidated
          DALLAS, TX 75265-0475
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,755.16
          RELIANT                                                               Contingent
          4 ROBERT COURT                                                        Unliquidated
          BETHPAGE, NY 11714                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,758.71
          RELIANT                                                               Contingent
          PO BOX 650475                                                         Unliquidated
          DALLAS, TX 75265-0475
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,112.91
          RELIANT ENERGY - ENTEX                                                Contingent
          P.O. BOX 1325                                                         Unliquidated
          HOUSTON, TX 77251-1325
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $893.22
          RELIANT ENERGY - ENTEX                                                Contingent
          P.O. BOX 1325                                                         Unliquidated
          HOUSTON, TX 77251-1325                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 414 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 531 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.209
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26.91
          RELIANT ENERGY - ENTEX                                                Contingent
          P.O. BOX 1325                                                         Unliquidated
          HOUSTON, TX 77251-1325
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $179,508.34
          RENAISSANCE COMMERCIAL PROPERTY
          LLC                                                                   Contingent
          3808 GRAND AVE                                                        Unliquidated
          SUITE B                                                               Disputed
          CHINO, CA 91710-5496
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.209
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $58,764.85
          RENAISSANCE COMMERCIAL PROPERTY
          LLC                                                                   Contingent
          C/O 1ST COMMERCIAL REALTY GROUP INC                                   Unliquidated
          2009 PORTERFIELD WAY SUITE P                                          Disputed
          UPLAND, CA 91786
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.209
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,770.00
          RENOVISTA RIDGE ASSOCIATION                                           Contingent
          C/O OPUS 1 COMMUNITY MANAGEMENT                                       Unliquidated
          P.O. BOX 18963                                                        Disputed
          RENO, NV 89511
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.210
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $255,329.33
          REPUBLIC SERVICE NASSC                                                Contingent
          P.O. BOX 99917                                                        Unliquidated
          CHICAGO, IL 60696                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $53,616.34
          REPUBLIC SERVICE NASSC                                                Contingent
          P.O. BOX 99917                                                        Unliquidated
          CHICAGO, IL 60696
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 415 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 532 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.210
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,419.18
          REPUBLIC SERVICE NASSC                                                Contingent
          P.O. BOX 99917                                                        Unliquidated
          CHICAGO, IL 60696
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,393.69
          REPUBLIC SERVICE NASSC                                                Contingent
          P.O. BOX 99917                                                        Unliquidated
          CHICAGO, IL 60696
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,259.67
          REPUBLIC SERVICE NASSC                                                Contingent
          P.O. BOX 99917                                                        Unliquidated
          CHICAGO, IL 60696
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,201.62
          REPUBLIC SERVICE NASSC                                                Contingent
          P.O. BOX 99917                                                        Unliquidated
          CHICAGO, IL 60696
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $86.13
          REPUBLIC SERVICE NASSC                                                Contingent
          P.O. BOX 99917                                                        Unliquidated
          CHICAGO, IL 60696
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,390.00
          RESCUE ROOTER                                                         Contingent
          ATTN: CHRIS PETERSON                                                  Unliquidated
          1618 DOOLITTLE DRIVE                                                  Disputed
          SAN LEANDRO, CA 94577
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.210
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,791.95
          RETAIL ZIPLINE INC                                                    Contingent
          2370 MARKET STREET                                                    Unliquidated
          SUITE 436
                                                                                Disputed
          SAN FRANCISCO, CA 94114
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 416 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 533 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.210
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $48,124.04
          RETURN PATH INC                                                       Contingent
          ATTN: DAVIS SCHWARTZ                                                  Unliquidated
          PO BOX 200079                                                         Disputed
          PITTSBURGH, PA 15251-0079
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.211
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $236,881.24
          REVESCO USA PROP OF FORT COLLINS
          LLLP                                                                  Contingent
          C/O REVESCO PROPERTY SERVICES LLC                                     Unliquidated
          2731 17TH STREET                                                      Disputed
          DENVER, CO 80211
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.211
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,702.56
          REVESCO USA PROP OF FORT COLLINS
          LLLP                                                                  Contingent
          C/O REVESCO PROPERTY SERVICES LLC                                     Unliquidated
          2731 17TH STREET                                                      Disputed
          DENVER, CO 80211
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.211
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $77.83
          REYNOLDS JASON                                                        Contingent
          3772 S UINTA ST                                                       Unliquidated
          DENVER, CO 80237
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $201.27
          REZAEI KIANOOSH                                                       Contingent
          13625 FOREST POND CT                                                  Unliquidated
          CENTREVILLE, VA 20121
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,706.25
          RG TILE                                                               Contingent
          ATTN: RAUL GONZALES                                                   Unliquidated
          7122 CHESHIRE PARK RD                                                 Disputed
          HOUSTON, TX 77088
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 417 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 534 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.211
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $145.00
          RGIS LLC                                                              Contingent
          ATTN: CHRIS TURNER                                                    Unliquidated
          P.O. BOX 77631                                                        Disputed
          DETROIT, MI 48277
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.211
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $168.95
          RIALTO WATER SERVICES                                                 Contingent
          PO BOX 60450                                                          Unliquidated
          LOS ANGELES, CA 90060-0450
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $185,143.71
          RICH UNCLES NNN OPERATING
          PARTNERSHIP LP
          ATTN: RENEE LUDWIG                                                    Contingent
          3090 BRISTOL STREET                                                   Unliquidated
          SUITE 550                                                             Disputed
          COSTA MESA, CA 92626
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.211
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,743.58
          RICH UNCLES NNN OPERATING
          PARTNERSHIP LP
          ATTN: RENEE LUDWIG                                                    Contingent
          3090 BRISTOL STREET                                                   Unliquidated
          SUITE 550                                                             Disputed
          COSTA MESA, CA 92626
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.211
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          RICHARD B WESTBROCK                                                   Contingent
          733 VISTA GRANDE WAY #300                                             Unliquidated
          OCEANSIDE, CA 92057                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $374.00
          RICHARDS LABORATORIES OF UTAH INC                                     Contingent
          ATTN: ANGELA RICHARDS                                                 Unliquidated
          45 NORTH 100 EAST                                                     Disputed
          PLEASANT GROVE, UT 84062
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 418 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 535 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.212
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,674.00
          RICHARDSON I.S.D.
          ATTN: JERRY DAVIS                                                     Contingent
          TAX OFFICE                                                            Unliquidated
          P.O. BOX 650316                                                       Disputed
          DALLAS, TX 75265-0316
                                                                             Basis for the claim:    Personal Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.212
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,975.00
          RIGHT MANAGEMENT INC                                                  Contingent
          ATTN: CHRISTINA NIMICK                                                Unliquidated
          100 MANPOWER PLACE                                                    Disputed
          MILWAUKEE, WI 53212-4030
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.212
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          RILEY, JOSEPH                                                         Contingent
          6600 MCKINNEY RANCH PARKWAY                                           Unliquidated
          APT 2206
                                                                                Disputed
          MCKINNEY, TX 75070
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.212
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $163,144.81
          RISING SAIL WESTLAKE LLC                                              Contingent
          PO BOX 95569                                                          Unliquidated
          GRAPEVINE, TX 76099-9708                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,530.41
          RISING SAIL WESTLAKE LLC                                              Contingent
          PO BOX 95569                                                          Unliquidated
          GRAPEVINE, TX 76099-9708
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,280.85
          RIVERSIDE PUBLIC UTILITIES                                            Contingent
          3901 ORANGE ST                                                        Unliquidated
          RIVERSIDE, CA 92501
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 419 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 536 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.212
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $354,762.85
          RNB PARTNERS LLC
          ATTN: NICK BOCCI                                                      Contingent
          C/O RICHARD J. BOCCI REALTY                                           Unliquidated
          194 SCHOOL STREET                                                     Disputed
          DALY CITY, CA 94014
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.212
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,238.85
          RNB PARTNERS LLC                                                      Contingent
          C/O RICHARD J. BOCCI REALTY                                           Unliquidated
          194 SCHOOL STREET
                                                                                Disputed
          DALY CITY, CA 94014
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.212
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,273.75
          ROBERT HALF INTERNATIONAL INC                                         Contingent
          ATTN: KIM CASTRO                                                      Unliquidated
          PO BOX 743295                                                         Disputed
          LOS ANGELES, CA 90074-3295
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.213
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $110,657.92
          ROBERT N RUGGLES                                                      Contingent
          220 MONTGOMERY STREET #421                                            Unliquidated
          SAN FRANCISCO, CA 94104                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,981.14
          ROBERT SWIGART                                                        Contingent
          4118 CLARINBRIDGE CIRCLE                                              Unliquidated
          DUBLIN, CA 94568
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NQDC Penalty due to administrative error
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          ROBERTS MOORE,ANJULI                                                  Contingent
          397 PARK HILL DR                                                      Unliquidated
          MILPITAS, CA 95035
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 420 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 537 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.213
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,199.50
          ROCKHILL ELECTRICAL SYSTEMS INC.                                      Contingent
          ATTN: DAN ROCKHILL                                                    Unliquidated
          PO BOX 996                                                            Disputed
          COLORADO SPRINGS, CO 80901
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.213
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,210.00
          ROCKWALL CENTRAL APPRAISAL                                            Contingent
          DISTRICT                                                              Unliquidated
          841 JUSTIN ROAD
                                                                                Disputed
          ROCKWALL, TX 75087
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.213
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          RODGER G MEADS                                                        Contingent
          42 SEA WAY                                                            Unliquidated
          SAN RAFAEL, CA 94901-2409                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $759.72
          ROHNERT PARK DISPOSAL                                                 Contingent
          PO BOX 1300                                                           Unliquidated
          SUISUN, CA 94585
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $260,434.71
          ROIC CALIFORNIA LLC                                                   Contingent
          11250 EL CAMINO REAL                                                  Unliquidated
          # 200                                                                 Disputed
          SAN DIEGO, CA 92130
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.213
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $129,466.67
          ROIC CALIFORNIA LLC
          ATTN: FRANCESCA BUSALACCHI                                            Contingent
          11250 EL CAMINO REAL                                                  Unliquidated
          SUITE 200                                                             Disputed
          SAN DIEGO, CA 92130
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 421 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 538 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.213
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $48,917.42
          ROIC CALIFORNIA LLC                                                   Contingent
          11250 EL CAMINO REAL                                                  Unliquidated
          # 200
                                                                                Disputed
          SAN DIEGO, CA 92130
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.214
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $774.14
          ROIC CALIFORNIA LLC                                                   Contingent
          11250 EL CAMINO REAL                                                  Unliquidated
          # 200
                                                                                Disputed
          SAN DIEGO, CA 92130
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.214
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $99,872.57
          ROIC OREGON LLC                                                       Contingent
          11250 EL CAMINO REAL                                                  Unliquidated
          SUITE 200                                                             Disputed
          SAN DIEGO, CA 92130
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.214
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,225.42
          ROIC OREGON LLC                                                       Contingent
          PO BOX 749814                                                         Unliquidated
          LOS ANGELES, CA 90074-9814
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $217,867.49
          ROLLING HILLS PLAZA LLC
          ATTN: JOHN MASTANDREA                                                 Contingent
          SITUS ASSET MANAGEMENT LLC                                            Unliquidated
          AIG LOCKBOX                                                           Disputed
          DALLAS, TX 75320-7225
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.214
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $240.27
          ROLLING HILLS PLAZA LLC                                               Contingent
          SITUS ASSET MANAGEMENT LLC                                            Unliquidated
          AIG LOCKBOX
                                                                                Disputed
          DALLAS, TX 75320-7225
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 422 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 539 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.214
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          RONALD WASTEWATER DISTRICT                                            Contingent
          17505 LINDEN AVE N                                                    Unliquidated
          PO BOX 33490
                                                                                Disputed
          SHORELINE, WA 98133-0490
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.214
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,461.68
          ROOFCONNECT                                                           Contingent
          ATTN: DAVE KOUMELIS                                                   Unliquidated
          PO BOX 908                                                            Disputed
          SHERIDAN, AR 72150
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.214
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,461.70
          ROR PARTNERS INC                                                      Contingent
          ATTN: GREG DOWD                                                       Unliquidated
          973 PEARL DR
                                                                                Disputed
          SAN MARCOS, CA 92078
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.214
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $141.88
          ROSE III EDWARD                                                       Contingent
          10400 CAMINITO CUERVO                                                 Unliquidated
          UNIT 239
                                                                                Disputed
          SAN DIEGO, CA 92108
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.214
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $143,983.66
          ROSEN INVESTMENT CO HOLDINGS LLC                                      Contingent
          ALDERWOOD EAST SHOPPING CENTER                                        Unliquidated
          C/O ROSEN PROPERTIES                                                  Disputed
          BELLEVUE, WA 98009-5003
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.215
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,119.31
          ROSEN INVESTMENT CO HOLDINGS LLC                                      Contingent
          ALDERWOOD EAST SHOPPING CENTER                                        Unliquidated
          C/O ROSEN PROPERTIES
                                                                                Disputed
          BELLEVUE, WA 98009-5003
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.215
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,409.48
          ROTO-ROOTER (CHICAGO)                                                 Contingent
          5672 COLLECTIONS CENTER DRIVE                                         Unliquidated
          CHICAGO, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 423 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 540 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.215
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $62,145.20
          ROUND ROCK FITNESS LP                                                 Contingent
          C/O TITUS PROPERTIES                                                  Unliquidated
          1748 W. KATELLA AVENUE #206                                           Disputed
          ORANGE, CA 92867
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.215
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,604.60
          ROYAL PUMP SERVICE INC                                                Contingent
          ATTN: PAUL PACHAI                                                     Unliquidated
          104 JAMAICA AVE                                                       Disputed
          BROOKLYN, NY 11207
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.215
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,601.64
          ROYAL WASTE SERVICES INC                                              Contingent
          187-40 HOLLIS AVENUE                                                  Unliquidated
          HOLLIS, NY 11423                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,149.24
          ROYAL WASTE SERVICES INC                                              Contingent
          187-40 HOLLIS AVENUE                                                  Unliquidated
          HOLLIS, NY 11423
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $77,576.84
          RPAI US MANAGEMENT LLC                                                Contingent
          2901 BUTTERFIELD ROAD                                                 Unliquidated
          OAK BROOK, IL 60523                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,782.42
          RPAI US MANAGEMENT LLC                                                Contingent
          2901 BUTTERFIELD ROAD                                                 Unliquidated
          OAK BROOK, IL 60523
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $90,573.48
          RPG, LLC                                                              Contingent
          275 ROUTE 22 EAST                                                     Unliquidated
          SPRINGFIELD, NJ 07081
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent accrual
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 424 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 541 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.215
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,093.77
          RPG, LLC                                                              Contingent
          275 ROUTE 22 EAST                                                     Unliquidated
          SPRINGFIELD, NJ 07081
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $343,113.48
          RPI CARLSBAD LP                                                       Contingent
          PO BOX 639700                                                         Unliquidated
          CINCINNATI, OH 45263-9700
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $327,864.82
          RPI CARLSBAD LP                                                       Contingent
          ATTN: CASSIDY LARKIN                                                  Unliquidated
          PO BOX 639700                                                         Disputed
          CINCINNATI, OH 45263-9700
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.216
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,794.21
          RPI CARLSBAD LP                                                       Contingent
          PO BOX 639700                                                         Unliquidated
          CINCINNATI, OH 45263-9700
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $213,808.93
          RPI MANAGEMENT COMPANY LLC                                            Contingent
          5333 GULFTON STREET                                                   Unliquidated
          HOUSTON, TX 77081                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,366.61
          RPI MANAGEMENT COMPANY LLC                                            Contingent
          5333 GULFTON STREET                                                   Unliquidated
          HOUSTON, TX 77081
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $334,772.47
          RS PARTNERS LP                                                        Contingent
          170 LEAFY PASS                                                        Unliquidated
          IRVINE, CA 92602                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 425 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 542 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.216
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $186,632.35
          RSD PARTNERS LLC
          ATTN: GAIL QUAN                                                       Contingent
          2150 WEST 29TH AVE                                                    Unliquidated
          SUITE 410                                                             Disputed
          DENVER, CO 80211
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.216
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,711.86
          RSD PARTNERS LLC                                                      Contingent
          C/O LCP MANAGEMENT LLC                                                Unliquidated
          2150 WEST 29TH AVENUE
                                                                                Disputed
          DENVER, CO 80211
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.216
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $186,554.00
          RU OLD DENTON FORT WORTH TX LLC
          ATTN: RENEE LUDWIG                                                    Contingent
          3090 BRISTOL STREET                                                   Unliquidated
          SUITE 550                                                             Disputed
          COSTA MESA, CA 92626
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.216
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $84,441.30
          RU OLD DENTON FORT WORTH TX LLC                                       Contingent
          C/O NEXBANK SSB ATTN: LOAN DEPT                                       Unliquidated
          2515 MCKINNEY AVE SUITE 1100
                                                                                Disputed
          COSTA MESA, CA 75201
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.217
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,016.00
          RUBICON GLOBAL LLC
          ATTN: CHAD WONDERLING                                                 Contingent
          950 EAST PACES FERRY ROAD                                             Unliquidated
          SUITE 1900                                                            Disputed
          ATLANTA, GA 30326
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.217
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,741.60
          RUBICON GLOBAL LLC                                                    Contingent
          950 EAST PACES FERRY ROAD                                             Unliquidated
          SUITE 1900
                                                                                Disputed
          ATLANTA, GA 30326
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fee
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 426 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 543 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.217
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $154,166.67
          RUDETH REALTY COMPANY LLC                                             Contingent
          ATTN: STEVEN LANDSMAN                                                 Unliquidated
          66 SOUTH TYSON AVENUE                                                 Disputed
          FLORAL PARK, NY 11101
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.217
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $59,812.25
          RUDETH REALTY COMPANY LLC                                             Contingent
          ATTN: STEVEN LANDSMAN                                                 Unliquidated
          66 SOUTH TYSON AVENUE
                                                                                Disputed
          FLORAL PARK, NY 11101
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.217
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55.00
          RUDOW JUSTIN                                                          Contingent
          6200 DE SOTO AVE                                                      Unliquidated
          APT 31106
                                                                                Disputed
          WOODLAND HLS, CA 91367-2684
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.217
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $138,761.65
          S & C VENTURE                                                         Contingent
          1261 20TH STREET                                                      Unliquidated
          MIAMI BEACH, FL 33139                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $49,361.32
          S & C VENTURE                                                         Contingent
          1261 20TH STREET                                                      Unliquidated
          MIAMI BEACH, FL 33139
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $199.32
          S/VIIB BEACON LAKES LLC                                               Contingent
          C/O STILES CORPORATION                                                Unliquidated
          301 EAST LAS OLAS BOULEVARD
                                                                                Disputed
          FORT LAUDERDALE, FL 33301
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.217
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,015.63
          SABRE REALTY MANAGEMENT INC                                           Contingent
          16475 DALLAS PARKWAY SUITE 800                                        Unliquidated
          ADDISON, TX 75001-6856
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 427 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 544 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.217
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $123.33
          SABRE REALTY MANAGEMENT INC                                           Contingent
          16475 DALLAS PARKWAY SUITE 800                                        Unliquidated
          ADDISON, TX 75001-6856                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $73,502.56
          SACRAMENTO COUNTY TAX COLLECTOR                                       Contingent
          700 H STREET                                                          Unliquidated
          ROOM 1710                                                             Disputed
          SACRAMENTO, CA 95814-1205
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.218
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,541.93
          SACRAMENTO MUNICIPAL UTILITY                                          Contingent
          DISTRICT                                                              Unliquidated
          6301 S ST
                                                                                Disputed
          SACRAMENTO, CA 95817
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.218
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,387.21
          SACRAMENTO MUNICIPAL UTILITY                                          Contingent
          DISTRICT                                                              Unliquidated
          6301 S ST                                                             Disputed
          SACRAMENTO, CA 95817
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.218
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $214.49
          SACRAMENTO SUBURBAN WATER                                             Contingent
          DISTRICT                                                              Unliquidated
          3701 MARCONI AVENUE                                                   Disputed
          SACRAMENTO, CA 95821-5303
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.218
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $201.54
          SACRAMENTO SUBURBAN WATER                                             Contingent
          DISTRICT                                                              Unliquidated
          3701 MARCONI AVENUE
                                                                                Disputed
          SACRAMENTO, CA 95821-5303
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 428 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 545 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.218
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.28
          SACRAMENTO VALLEY ALARM SECURITY
          SYSTEMS                                                               Contingent
          6803 S IVY WAY                                                        Unliquidated
          UNIT 4-108                                                            Disputed
          CENTENNIAL, CO 80112
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.218
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $49,415.24
          SAEZ DISTRIBUTORS                                                     Contingent
          ATTN: JORGE SAEZ                                                      Unliquidated
          8290 NW 25TH STREET                                                   Disputed
          MIAMI, FL 33122
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.218
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $205,220.25
          SAFEWAY INC
          ATTN: MELINDA MARINO                                                  Contingent
          ALBERTSONS COMPANIES LLC                                              Unliquidated
          PO BOX 742255                                                         Disputed
          LOS ANGELES, CA 90074-2255
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.218
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,228.47
          SAFEWAY INC                                                           Contingent
          C/O ALBERTSONS COMPANIES LLC                                          Unliquidated
          PO BOX 742255
                                                                                Disputed
          LOS ANGELES, CA 90074-2255
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.218
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,539.23
          SAFEWAY INC
          ATTN: TARA EMERY                                                      Contingent
          TAX DIVISION                                                          Unliquidated
          5918 STONERIDGE MALL ROAD                                             Disputed
          PLEASANTON, CA 94588-3229
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.219
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,500.00
          SALARYCOM LLC                                                         Contingent
          ATTN: MIKE CUMMINGS                                                   Unliquidated
          P.O. BOX 844048
                                                                                Disputed
          BOSTON, MA 02284-4048
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 429 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 546 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.219
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,463.01
          SALESFORCE.COM, INC.
          ATTN: KEN BURKE                                                       Contingent
          THE LANDMARK @ ONE MARKET, SUITE                                      Unliquidated
          300                                                                   Disputed
          SAN FRANCISCO, CA 94105
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.219
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $120.00
          SALLY ORTMAN                                                          Contingent
          CLUB - 711                                                            Unliquidated
           60194                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,175.93
          SALT LAKE CITY CORP - PUBLIC UTILITES                                 Contingent
          1530 S. WEST TEMPLE                                                   Unliquidated
          SALT LAKE CITY, UT 84115                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $481.13
          SALT LAKE CITY CORP - PUBLIC UTILITES                                 Contingent
          PO BOX 30881                                                          Unliquidated
          SALT LAKE CITY, UT 84130-0881
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $137,484.06
          SALVATORE LLC                                                         Contingent
          P.O. BOX 5908                                                         Unliquidated
          SAN JOSE, CA 95150                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,058.29
          SALVATORE LLC                                                         Contingent
          P.O. BOX 5908                                                         Unliquidated
          SAN JOSE, CA 95150
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $135.72
          SAMMAMISH PLATEAU                                                     Contingent
          1510 228TH AVE SE                                                     Unliquidated
          ISSAQUAH, WA 98029
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 430 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 547 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.219
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,083.08
          SAN ANTONIO CENTER II LLC                                             Contingent
          1626 EAST JEFFERSON STREET                                            Unliquidated
          ROCKVILLE, MD 20852
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,981.19
          SAN BERNARDINO COUNTY                                                 Contingent
          TAX COLLECTOR                                                         Unliquidated
          268 WEST HOSPITALITY LANE                                             Disputed
          SAN BERNARDINO, CA 92415-0360
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.220
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $140,580.49
          SAN DIEGO COUNTY                                                      Contingent
          TREASURER- TAX COLLECTOR                                              Unliquidated
          P.O.BOX 129009                                                        Disputed
          SAN DIEGO, CA 92112
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.220
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,308.00
          SAN DIEGO COUNTY                                                      Contingent
          TREASURER- TAX COLLECTOR                                              Unliquidated
          P.O.BOX 129009
                                                                                Disputed
          SAN DIEGO, CA 92112
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.220
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $82,074.83
          SAN DIEGO GAS & ELECTRIC                                              Contingent
          P.O. BOX 25110                                                        Unliquidated
          SANTA ANA, CA 92799-5110
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,816.48
          SAN DIEGO GAS & ELECTRIC                                              Contingent
          P.O. BOX 25110                                                        Unliquidated
          SANTA ANA, CA 92799-5110
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,125.79
          SAN DIEGO GAS & ELECTRIC                                              Contingent
          ATTN: MR. SEDLACK                                                     Unliquidated
          P.O. BOX 25110                                                        Disputed
          SANTA ANA, CA 92799-5110
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 431 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 548 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.220
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $306,070.29
          SAN DIEGO GROVE LP
          C/O CORNERSTONE PROPERTY                                              Contingent
          MANAGEMENT                                                            Unliquidated
          8525 GIBBS DR SUITE 200                                               Disputed
          SAN DIEGO, CA 92123
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.220
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,094.31
          SAN DIEGO GROVE LP
          C/O CORNERSTONE PROPERTY                                              Contingent
          MANAGEMENT                                                            Unliquidated
          8525 GIBBS DR SUITE 200                                               Disputed
          SAN DIEGO, CA 92123
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.220
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,096.41
          SAN DIEGUITO WATER DISTRICT                                           Contingent
          505 S VULCAN                                                          Unliquidated
          PO BOX 231010
                                                                                Disputed
          ENCINITAS, CA 92023
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.220
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $129.92
          SAN FRANCISCO WATER DEPT                                              Contingent
          P.O. BOX 7369                                                         Unliquidated
          SAN FRANCISCO, CA 94120-7369
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,187.06
          SAN JOAQUIN COUNTY TAX COLLECTOR                                      Contingent
          P.O. BOX 2169                                                         Unliquidated
          STOCKTON, CA 95201-2169                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $233,476.71
          SAN JOSE CENTRAL TRAVEL INC
          ATTN: BRIAN H. SONG                                                   Contingent
          C/O HYE K. LIM                                                        Unliquidated
          5681 LA SEYNE PLACE                                                   Disputed
          SAN JOSE, CA 95138
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 432 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 549 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.221
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,432.06
          SAN JOSE CENTRAL TRAVEL INC
          ATTN: BRIAN H. SONG                                                   Contingent
          C/O HYE K. LIM                                                        Unliquidated
          5681 LA SEYNE PLACE                                                   Disputed
          SAN JOSE, CA 95138
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.221
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,214.99
          SAN JOSE WATER COMPANY                                                Contingent
          374 WEST SANTA CLARA STREET                                           Unliquidated
          P.O. BOX 229
                                                                                Disputed
          SAN JOSE, CA 95196
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.221
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $283,872.46
          SAN MATEO COUNTY TAX COLLECTOR                                        Contingent
          LEE BUFFINGTON, TAX COLLECTOR                                         Unliquidated
          555 COUNTY CENTER, 1ST FLOOR                                          Disputed
          REDWOOD CITY, CA 94063
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.221
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $149,983.88
          SANCALS GROUP LLC                                                     Contingent
          8885 VENICE BLVD                                                      Unliquidated
          STE 200                                                               Disputed
          LOS ANGELES, CA 90034
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.221
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,357.00
          SANCALS GROUP LLC                                                     Contingent
          8885 VENICE BLVD                                                      Unliquidated
          STE 200
                                                                                Disputed
          LOS ANGELES, CA 90034
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.221
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          SANDOVAL, FRANCISCO                                                   Contingent
          2711 WHITE PINE COURT                                                 Unliquidated
          CHULA VISTA, CA 91915
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 433 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 550 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.221
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $651.63
          SANDWICH ISLES COMMUNICATIONS INC                                     Contingent
          PO BOX 893370                                                         Unliquidated
          MILILANI, HI 96789-0370
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $433.15
          SANDY SUBURBAN IMPROVEMENT                                            Contingent
          DISTRICT                                                              Unliquidated
          8855 SOUTH 700 EAST                                                   Disputed
          SANDY, UT 84070
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.221
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $99.41
          SANDY SUBURBAN IMPROVEMENT                                            Contingent
          DISTRICT                                                              Unliquidated
          P.O. BOX 7
                                                                                Disputed
          SANDY, UT 84091-0007
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.222
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $384,664.24
          SANTA CLARA COUNTY                                                    Contingent
          TAX COLLECTOR                                                         Unliquidated
          70 W. HEDDING ST., EAST WING                                          Disputed
          SAN JOSE, CA 95110-1767
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.222
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $214.44
          SANTA CLARITA WATER DIVISION                                          Contingent
          22722 SOLEDAD CANYON ROAD                                             Unliquidated
          SANTA CLARITA, CA 91350
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $648.17
          SANTA CRUZ MUNICIPAL UTILITIES                                        Contingent
          P.O. BOX 682                                                          Unliquidated
          SANTA CRUZ, CA 95061
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50.55
          SANTA CRUZ MUNICIPAL UTILITIES                                        Contingent
          P.O. BOX 682                                                          Unliquidated
          SANTA CRUZ, CA 95061                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 434 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 551 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.222
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,674.53
          SANTA MARGARITA WATER DISTRICT                                        Contingent
          P.O. BOX 3549                                                         Unliquidated
          MISSION VIEJO, CA 92690-1549
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $384.21
          SANTA MARGARITA WATER DISTRICT                                        Contingent
          P.O. BOX 3549                                                         Unliquidated
          MISSION VIEJO, CA 92690-1549                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $622.99
          SANTA ROSA RECYCLING & WASTE                                          Contingent
          PO BOX 4299                                                           Unliquidated
          SANTA ROSA, CA 95402-4299
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $344.99
          SANTA ROSA, CITY OF                                                   Contingent
          P.O. BOX 1658                                                         Unliquidated
          90 SANTA ROSA AVE.
                                                                                Disputed
          SANTA ROSA, CA 95402
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.222
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $312.62
          SANTA ROSA, CITY OF                                                   Contingent
          P.O. BOX 1658                                                         Unliquidated
          90 SANTA ROSA AVE.
                                                                                Disputed
          SANTA ROSA, CA 95402
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.222
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $124,100.64
          SANTA SUSANA GARP LLC                                                 Contingent
          P.O. BOX 743455                                                       Unliquidated
          LOS ANGELES, CA 90074-3455                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,640.71
          SANTA SUSANA GARP LLC                                                 Contingent
          P.O. BOX 743455                                                       Unliquidated
          LOS ANGELES, CA 90074-3455
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 435 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 552 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.223
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $244,600.73
          SANTEE TROLLEY SQUARE 991 LP                                          Contingent
          P.O. BOX 62045                                                        Unliquidated
          NEWARK, NJ 07101                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $95,938.27
          SANTEE TROLLEY SQUARE 991 LP                                          Contingent
          P.O. BOX 62045                                                        Unliquidated
          NEWARK, NJ 07101
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $95.00
          SANTIAGO DEANNA                                                       Contingent
          410 DEAUVILLE PARKWAY                                                 Unliquidated
          LINDENHURST, NY 11757
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,562.06
          SASKAWAY SIX LP                                                       Contingent
          5485 BELT LINE ROAD                                                   Unliquidated
          SUITE 125                                                             Disputed
          DALLAS, TX 75254
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.223
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,740.98
          SASKAWAY SIX LP                                                       Contingent
          5485 BELT LINE ROAD                                                   Unliquidated
          SUITE 125
                                                                                Disputed
          DALLAS, TX 75254
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.223
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,054.64
          SASKAWAY SIX LP                                                       Contingent
          5485 BELT LINE ROAD                                                   Unliquidated
          SUITE 125
                                                                                Disputed
          DALLAS, TX 75254
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.223
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $311.40
          SASKAWAY SIX LP                                                       Contingent
          5485 BELT LINE ROAD                                                   Unliquidated
          SUITE 125
                                                                                Disputed
          DALLAS, TX 75254
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 436 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 553 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.223
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,091.57
          SAUNAWORKZ                                                            Contingent
          ATTN: MANNY OROZCO                                                    Unliquidated
          10322 TRASK AVENUE, UNIT A                                            Disputed
          GARDEN GROVE, CA 92843
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.223
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,037.20
          SAUNAWORKZ                                                            Contingent
          ATTN: MANNY OROZCO                                                    Unliquidated
          10322 TRASK AVENUE, UNIT A
                                                                                Disputed
          GARDEN GROVE, CA 92843
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.224
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,000.00
          SAYVA SOLUTIONS INC
          ATTN: LORI RICCARDI                                                   Contingent
          4225 EXECUTIVE SQUARE DRIVE                                           Unliquidated
          SUITE 600                                                             Disputed
          LA JOLLA, CA 92037
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.224
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $179,878.82
          SCHIRALDI, PAUL                                                       Contingent
          360 FURMAN STREET                                                     Unliquidated
          APT 422
                                                                                Disputed
          BROOKLYN, NY 11201
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.224
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          SCOTT R CLEMENT                                                       Contingent
          1642 AVE OCEANO                                                       Unliquidated
          OCEANSIDE, CA 92056                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $195,085.32
          SCOTTI AND ASSOCIATES INC                                             Contingent
          ATTN: MICHAEL SCOTTI                                                  Unliquidated
          P.O. BOX 5917                                                         Disputed
          FULLERTON, CA 92838-0917
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 437 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 554 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.224
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,060.20
          SCOTTI AND ASSOCIATES INC                                             Contingent
          ATTN: MICHAEL SCOTTI                                                  Unliquidated
          P.O. BOX 5917
                                                                                Disputed
          FULLERTON, CA 92838-0917
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.224
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,502.04
          SCP HORTON OWNER 1 LLC
          ATTN: JENNIFER GATTEY                                                 Contingent
          10850 WILSHIRE BLVD                                                   Unliquidated
          SUITE 1050                                                            Disputed
          LOS ANGELES, CA 90024
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.224
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,540.00
          SCS ENGINEERS                                                         Contingent
          ATTN: RODNEY MARSH                                                    Unliquidated
          3900 KILROY AIRPORT WAY SUITE 100                                     Disputed
          LONG BEACH, CA 90806-6816
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.224
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,866.89
          SDC 7 LLC                                                             Contingent
          P.O. BOX 640                                                          Unliquidated
          SAN RAMON, CA 94583
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,217.56
          SDC 7 LLC                                                             Contingent
          P.O. BOX 640                                                          Unliquidated
          SAN RAMON, CA 94583
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,829.80
          SDC 7 LLC                                                             Contingent
          207 NORTH STAFFORD AVE                                                Unliquidated
          APT B                                                                 Disputed
          RICHMOND, VA 23220
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 438 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 555 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.225
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $191,827.26
          SEABRIDGE PARTNERS LP                                                 Contingent
          PO BOX 15928                                                          Unliquidated
          BEVERLY HILLS, CA 90209                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,566.79
          SEARS, ROEBUCK AND COMPANY                                            Contingent
          12670 COLLECTIONS DRIVE                                               Unliquidated
          CHICAGO, IL 60693
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,619.44
          SECA CORPORATION                                                      Contingent
          ATTN: EMILY LARKIN                                                    Unliquidated
          13601 BENSON AVE                                                      Disputed
          CHINO, CA 91710
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.225
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $134,996.69
          SECOND & SANTA MONICA BLVD
          ASSOCIATES                                                            Contingent
          12381 WILSHIRE BLVD                                                   Unliquidated
          STE 201                                                               Disputed
          LOS ANGELES, CA 90025
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.225
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,214.15
          SECOND & SANTA MONICA BLVD
          ASSOCIATES                                                            Contingent
          12381 WILSHIRE BLVD                                                   Unliquidated
          STE 201                                                               Disputed
          LOS ANGELES, CA 90025
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.225
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,151.54
          SECOND & SANTA MONICA BLVD
          ASSOCIATES                                                            Contingent
          12381 WILSHIRE BLVD                                                   Unliquidated
          STE 201                                                               Disputed
          LOS ANGELES, CA 90025
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 439 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 556 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.225
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $421.88
          SECOND & SANTA MONICA BLVD
          ASSOCIATES                                                            Contingent
          12381 WILSHIRE BLVD                                                   Unliquidated
          STE 201                                                               Disputed
          LOS ANGELES, CA 90025
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.225
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300.00
          SECRETARY OF STATE - TEXAS                                            Contingent
          REGISTRATIONS UNIT                                                    Unliquidated
          PO BOX 13550
                                                                                Disputed
          AUSTIN, TX 78711-3550
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.225
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70.26
          SECRETARY OF STATE - TEXAS                                            Contingent
          REGISTRATIONS UNIT                                                    Unliquidated
          PO BOX 13550                                                          Disputed
          AUSTIN, TX 78711-3550
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.225
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $151,531.16
          SECURITAS SECURITY SERVICES USA INC                                   Contingent
          ATTN: WENDY MEJIA                                                     Unliquidated
          FILE 57220                                                            Disputed
          LOS ANGELES, CA 90074-7220
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.226
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $104,089.00
          SECURITAS SECURITY SERVICES USA INC                                   Contingent
          ATTN: WENDY MEJIA                                                     Unliquidated
          FILE 57220
                                                                                Disputed
          LOS ANGELES, CA 90074-7220
          Date(s) debt was incurred
                                                                             Basis for the claim:    Security Services
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.226
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $133,200.00
          SELV ENTERPRISES LLC                                                  Contingent
          920 E 17TH ST                                                         Unliquidated
          APT 512                                                               Disputed
          BROOKLYN, NY 11230-3779
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 440 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 557 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.226
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $106.20
          SEMINOLE COUNTY                                                       Contingent
          WATER & SEWER UTILITY                                                 Unliquidated
          PO BOX 958443
                                                                                Disputed
          LAKE MARY, FL 32795-8443
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.226
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,886.00
          SEMINOLE COUNTY TAX COLLECTOR                                         Contingent
          PO BOX 630                                                            Unliquidated
          SANFORD, FL 32772-0630
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $195,458.69
          SERITAGE SRC FINANCE LLC                                              Contingent
          500 FIFTH AVENUE                                                      Unliquidated
          SUITE 1530
                                                                                Disputed
          NEW YORK, NY 10110
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent accrual
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.226
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,598.20
          SERITAGE SRC FINANCE LLC                                              Contingent
          500 FIFTH AVENUE                                                      Unliquidated
          SUITE 1530
                                                                                Disputed
          NEW YORK, NY 10110
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent accrual
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.226
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,290.41
          SERITAGE SRC FINANCE LLC                                              Contingent
          500 FIFTH AVENUE                                                      Unliquidated
          SUITE 1530
                                                                                Disputed
          NEW YORK, NY 10110
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.226
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $350.00
          SERVICE RESPONSE TEAM INC                                             Contingent
          ATTN: VICKIE GAMBLE                                                   Unliquidated
          PO BOX 226433                                                         Disputed
          DALLAS, TX 75222-6433
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.226
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $53,430.00
          SERVICECHANNEL.COM INC                                                Contingent
          ATTN: AMELIA MEDINA                                                   Unliquidated
          P.O. BOX 419223                                                       Disputed
          BOSTON, MA 02241-9223
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 441 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 558 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.226
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $185,705.47
          SEVEN HILLS PROPERTIES 31 LLC
          ATTN: MATT WENNBLOM                                                   Contingent
          88 PERRY STREET                                                       Unliquidated
          # 800                                                                 Disputed
          SAN FRANCISCO, CA 94107
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.227
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $65,465.14
          SF TX LP
          C/O W.P. CAREY INC.                                                   Contingent
          50 ROCKEFELLER PLAZA,                                                 Unliquidated
          2ND FLOOR                                                             Disputed
          NEW YORK, NY 10020
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.227
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,528.94
          SF TX LP
          C/O W.P. CAREY INC.                                                   Contingent
          50 ROCKEFELLER PLAZA,                                                 Unliquidated
          2ND FLOOR                                                             Disputed
          NEW YORK, NY 10020
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.227
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $145,781.49
          SFP 24 HOUR TAYLORSVILLE LLC
          ATTN: JENNIFER SNOW
          C/O NEWMARK GRUBB ACRES ASSET                                         Contingent
          SERVICES                                                              Unliquidated
          376 EAST 400 SOUTH                                                    Disputed
          SALT LAKE CITY, UT 84111
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.227
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $139,279.96
          SG DOWNTOWN LLC                                                       Contingent
          ATTN: COLLETTE WARNER                                                 Unliquidated
          1 SPORTS PARKWAY
                                                                                Disputed
          SACRAMENTO, CA 95834
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.227
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $327,299.98
          SGD RETAIL LLC
          C/O DOCO MANAGEMENT - CBRE/                                           Contingent
          ATTN: JAMIE ADAO                                                      Unliquidated
          405 K STREET, SUITE 125                                               Disputed
          SACRAMENTO, CA 95814
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 442 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 559 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.227
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,338.67
          SHAKLEE CORPORATION
          ATTN: SALES AND BONUS ACCOUNTING                                      Contingent
          P-310                                                                 Unliquidated
          4747 WILLOW ROAD                                                      Disputed
          PLEASANTON, CA 94588
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.227
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          SHANNON M WALPOLE                                                     Contingent
          47 LIBERTA CT                                                         Unliquidated
          DANVILLE, CA 94526                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $233,057.99
          SHAPELL CALAVERAS LLC
          ATTN: YOLANDA D. DAWAN                                                Contingent
          C/O SHAPELL PROPERTIES                                                Unliquidated
          1990 S. BUNDY DRIVE                                                   Disputed
          LOS ANGELES, CA 90025
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.227
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $125,844.78
          SHAPELL CALAVERAS LLC
          ATTN: YOLANDA D. DAWAN                                                Contingent
          C/O SHAPELL PROPERTIES                                                Unliquidated
          1990 S. BUNDY DRIVE                                                   Disputed
          LOS ANGELES, CA 90025
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.227
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $141,475.84
          SHAPELL NORCAL RENTAL PROPERTIES
          LLC
          ATTN: YOLANDA DAWAN                                                   Contingent
          1990 SOUTH BUNDY DR                                                   Unliquidated
          SUITE 500                                                             Disputed
          LOS ANGELES, CA 90025
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.228
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,036.17
          SHAPELL NORCAL RENTAL PROPERTIES
          LLC                                                                   Contingent
          1990 SOUTH BUNDY DR                                                   Unliquidated
          SUITE 500                                                             Disputed
          LOS ANGELES, CA 90025
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 443 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 560 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.228
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31.00
          SHAYLI BRINK                                                          Contingent
          2677 HONOLULU AVE                                                     Unliquidated
          MONTROSE, CA 91020                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          SHELIA WILSON                                                         Contingent
          6531 BASALTO ST.                                                      Unliquidated
          CARLSBAD, CA 92009
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Retirement Benefits
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,166.67
          SHELIA WILSON                                                         Contingent
          6531 BASALTO ST.                                                      Unliquidated
          CARLSBAD, CA 92009                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60.00
          SHINSKY AUDREY                                                        Contingent
          6185 MONTEZUMA RD                                                     Unliquidated
          SAN DIEGO, CA 92115
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          SHIRLEY M ROWE                                                        Contingent
          1054 EL PAISANO DR                                                    Unliquidated
          FALLBROOK, CA 92028                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $262,524.77
          SHOPS AT BELLA TERRA OWNER LP
          ATTN: SABRINA BURGER                                                  Contingent
          C/O STREAM RETAIL DIVISION                                            Unliquidated
          515 POST OAK BLVD                                                     Disputed
          HOUSTON, TX 77027
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 444 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 561 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.228
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $101,848.23
          SHOPS AT BELLA TERRA OWNER LP
          ATTN: SABRINA BURGER                                                  Contingent
          C/O STREAM RETAIL DIVISION                                            Unliquidated
          515 POST OAK BLVD                                                     Disputed
          HOUSTON, TX 77027
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.228
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,851.28
          SHORELINE BROKERAGE CO.
          ATTN: CHRIS CHOWNING                                                  Contingent
          C/O COR-O-VAN WAREHOUSE                                               Unliquidated
          12455 KERRAN STREET                                                   Disputed
          POWAY, CA 92064
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.228
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,119.55
          SHORELINE WATER DISTRICT                                              Contingent
          P.O. BOX 55367                                                        Unliquidated
          SHORELINE, WA 98155-0367
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $119,087.72
          SHRED-IT USA INC                                                      Contingent
          PO BOX 101007                                                         Unliquidated
          PASADENA, CA 91189-1007
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $67,064.00
          SHUBH SOLUTIONS LLC
          ATTN: ACCOUNTING TEAM                                                 Contingent
          10225 BARNES CANYON RD                                                Unliquidated
          A206                                                                  Disputed
          SAN DIEGO, CA 92121-2734
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.229
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $175,549.32
          SIC-LAKESIDE DRIVE LLC                                                Contingent
          ACCOUNT #432730883                                                    Unliquidated
          P.O. BOX 7656                                                         Disputed
          SAN FRANCISCO, CA 94120-7656
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 445 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 562 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.229
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,134.71
          SIC-LAKESIDE DRIVE LLC                                                Contingent
          ACCOUNT #432730883                                                    Unliquidated
          P.O. BOX 7656
                                                                                Disputed
          SAN FRANCISCO, CA 94120-7656
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.229
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $561.58
          SIC-LAKESIDE DRIVE LLC                                                Contingent
          ACCOUNT #432730883                                                    Unliquidated
          P.O. BOX 7656
                                                                                Disputed
          SAN FRANCISCO, CA 94120-7656
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.229
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,648.52
          SIEMENS INDUSTRY INC                                                  Contingent
          ATTN: JENNIFER THORNE                                                 Unliquidated
          100 TECHNOLOGY DRIVE                                                  Disputed
          ALPHARETTA, GA 30005
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.229
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,554.70
          SIEMENS INDUSTRY, INC.                                                Contingent
          BUILDING TECHNOLOGIES                                                 Unliquidated
          PO BOX 2134                                                           Disputed
          CAROL STREAM, IL 60132-2134
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.229
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $375.83
          SIERRA SPRINGS                                                        Contingent
          DS WATERS OF AMERICA                                                  Unliquidated
          PO BOX 660579                                                         Disputed
          DALLAS, TX 75266-0579
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.229
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,666.10
          SIERRA TOWN CENTER HOLDINGS LLC                                       Contingent
          ATTN: SHARYN BRIESE                                                   Unliquidated
          4755 DEAN MARTIN DRIVE                                                Disputed
          LAS VEGAS, NV 89103
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.229
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,367.37
          SIERRA VINEYARD LLC                                                   Contingent
          P.O. BOX 86216                                                        Unliquidated
          LOAN #45385-46142
                                                                                Disputed
          LOS ANGELES, CA 90012
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 446 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 563 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.230
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $44,076.33
          SIGLER WHOLESALE DISTRIBUTORS                                         Contingent
          ATTN: ANDREA TERAN                                                    Unliquidated
          P.O. BOX 749472                                                       Disputed
          LOS ANGELES, CA 90074-9472
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.230
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,909.41
          SIGLER WHOLESALE DISTRIBUTORS                                         Contingent
          ATTN: ANDREA TERAN                                                    Unliquidated
          P.O. BOX 749472
                                                                                Disputed
          LOS ANGELES, CA 90074-9472
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.230
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $53,391.35
          SIGNMANAGER INC                                                       Contingent
          123 CENTER PARK DRIVE                                                 Unliquidated
          SUITE 203                                                             Disputed
          KNOXVILLE, TN 37922
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.230
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,383.99
          SIGNMANAGER INC                                                       Contingent
          123 CENTER PARK DRIVE                                                 Unliquidated
          SUITE 203
                                                                                Disputed
          KNOXVILLE, TN 37922
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.230
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $192,311.22
          SILVERADO RANCH CENTER II LLC
          ATTN: CARMEN ZELLER                                                   Contingent
          10655 PARK RUN DR                                                     Unliquidated
          SUITE 160                                                             Disputed
          LAS VEGAS, NV 89144-4590
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.230
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          SILVERADO RANCH CENTER II LLC
          ATTN: CARMEN ZELLER                                                   Contingent
          10655 PARK RUN DR                                                     Unliquidated
          SUITE 160                                                             Disputed
          LAS VEGAS, NV 89144-4590
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 447 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 564 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.230
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,060.11
          SINCH AMERICA INC                                                     Contingent
          ATTN: BARRY SNOWER                                                    Unliquidated
          PO BOX 392159                                                         Disputed
          PITTSBURGH, PA 15251-9159
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.230
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.44
          SINCH AMERICA INC                                                     Contingent
          ATTN: BARRY SNOWER                                                    Unliquidated
          PO BOX 392159
                                                                                Disputed
          PITTSBURGH, PA 15251-9159
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing software
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.230
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $871.23
          SINCH AMERICA INC                                                     Contingent
          ATTN: BARRY SNOWER                                                    Unliquidated
          PO BOX 392159
                                                                                Disputed
          PITTSBURGH, PA 15251-9159
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.230
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,839.94
          SIRVA MOVE MANAGEMENT INC
          ATTN: BRAD HANNA                                                      Contingent
          101 E. WASHINGTON BLVD                                                Unliquidated
          SUITE 1100                                                            Disputed
          FORT WAYNE, IN 46802
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.231
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,945.21
          SITKO BRUNO LLC                                                       Contingent
          2740 SMALLMAN STREET                                                  Unliquidated
          SUITE 300
                                                                                Disputed
          PITTSBURGH, PA 15222
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.231
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $678.80
          SIUS ELECTRIC CORPORATION                                             Contingent
          ATTN: DANIEL SIU                                                      Unliquidated
          500 ALA KAWA STREET #116A                                             Disputed
          HONOLULU, HI 96817
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 448 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 565 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.231
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $315.12
          SKAU TIM                                                              Contingent
          731 OWEN DRIVE APT C                                                  Unliquidated
          HUNTINGTON BEACH, CA 92648
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $102,486.43
          SKOLEM GROUP LLC
          ATTN: ANGELA WONG                                                     Contingent
          BP INTERNATIONAL INC                                                  Unliquidated
          650 W. DUARTE ROAD                                                    Disputed
          ARCADIA, CA 91007
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.231
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $59,306.07
          SKULLCANDY INC                                                        Contingent
          ATTN: ROB LEO                                                         Unliquidated
          PO BOX 677974                                                         Disputed
          DALLAS, TX 75267-7974
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.231
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,304.10
          SLACK TECHNOLOGIES INC                                                Contingent
          ATTN: KYLE SHACKLEY                                                   Unliquidated
          500 HOWARD ST                                                         Disputed
          SAN FRANCISCO, CA 94105
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.231
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,333.33
          SLI SYSTEMS INC                                                       Contingent
          401 CONGRESS AVE                                                      Unliquidated
          SUITE # 2650
                                                                                Disputed
          AUSTIN, TX 78701
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing software
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.231
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,610.79
          SLI SYSTEMS INC
          ATTN: TY FITZPATRICK                                                  Contingent
          268 BUSH STREET                                                       Unliquidated
          #3900                                                                 Disputed
          SAN FRANCISCO, CA 94104
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 449 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 566 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.231
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,496,710.89
          SMA ARCHITECTS PC                                                     Contingent
          ATTN: NACY MEIER                                                      Unliquidated
          115 W MAIN ST                                                         Disputed
          ALLEN, TX 75013
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.231
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,020.00
          SMART PLUMBING AND DRAIN INC
          ATTN: MAR LABONETE                                                    Contingent
          2268 WESTBOROUGH BLVD                                                 Unliquidated
          # 302255                                                              Disputed
          SOUTH SAN FRANCISCO, CA 94080
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.232
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,121.49
          SMARTBEAR SOFTWARE INC
          ATTN: LEAB EM                                                         Contingent
          450 ARTISAN WAY                                                       Unliquidated
          4TH FLOOR                                                             Disputed
          SOMERVILLE, MA 02145
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.232
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $432,071.80
          SMBP LLC
          ATTN: ALLEN MORLA                                                     Contingent
          800 BOYLSTON STREET                                                   Unliquidated
          SUITE 1900                                                            Disputed
          BOSTON, MA 02199
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.232
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,498.66
          SMBP LLC                                                              Contingent
          P.O. BOX 102171                                                       Unliquidated
          PASADENA, CA 91189-2171
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,838.73
          SNOHOMISH COUNTY TREASURER                                            Contingent
          P.O. BOX 34171                                                        Unliquidated
          SEATTLE, WA 98124-1171                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 450 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 567 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.232
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,680.00
          SNOHOMISH COUNTY TREASURER                                            Contingent
          P.O. BOX 34171                                                        Unliquidated
          SEATTLE, WA 98124-1171
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,003.24
          SO - MCKINLEY LLC                                                     Contingent
          SHOPONE CENTERS OPERATING                                             Unliquidated
          P.O. BOX 74895                                                        Disputed
          CHICAGO, IL 60694-4895
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.232
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $251,160.10
          SOCM I LLC                                                            Contingent
          1600 E FRANKLIN AVENUE                                                Unliquidated
          EL SEGUNDO, CA 90245                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,441.38
          SOCM I LLC                                                            Contingent
          1600 E FRANKLIN AVENUE                                                Unliquidated
          EL SEGUNDO, CA 90245
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,543.12
          SOFTCHOICE CORPORATION                                                Contingent
          5120 SHOREHAM PLACE, SUITE 270                                        Unliquidated
          SAN DIEGO, CA 92122                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,699,391.29
          SOFTTEK INTEGRATION SYSTEMS INC
          ATTN: EVELYN SILVA                                                    Contingent
          2002 SUMMIT BLVD                                                      Unliquidated
          SUITE 300                                                             Disputed
          ATLANTA, GA 30319
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.233
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $127,209.60
          SOFTTEK INTEGRATION SYSTEMS INC                                       Contingent
          2002 SUMMIT BLVD                                                      Unliquidated
          SUITE 300
                                                                                Disputed
          ATLANTA, GA 30319
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 451 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 568 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.233
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $61,120.00
          SOFTTEK INTEGRATION SYSTEMS INC
          ATTN: EVELYN SILVA                                                    Contingent
          2002 SUMMIT BLVD                                                      Unliquidated
          SUITE 300                                                             Disputed
          ATLANTA, GA 30319
                                                                             Basis for the claim:    Software development
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.233
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          SOLIS,JOSE A                                                          Contingent
          971 BROOKWOOD AVE                                                     Unliquidated
          SAN JOSE, CA 95116
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,628.69
          SOOS CREEK WATER & SEWER DISTRICT                                     Contingent
          PO BOX 34677                                                          Unliquidated
          SEATTLE, WA 98124-1677
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $802.27
          SOUTH FARMINGDALE WATER DISTRICT                                      Contingent
          P.O. BOX 71420                                                        Unliquidated
          PHILADELPHIA, PA 19176-1420
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,260.92
          SOUTH SAN FRANCISCO SCAVENGER CO                                      Contingent
          INC                                                                   Unliquidated
          500 EAST JAMIE COURT                                                  Disputed
          SOUTH SAN FRANCISCO, CA 94080
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.233
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $613.77
          SOUTH SAN FRANCISCO SCAVENGER CO                                      Contingent
          INC                                                                   Unliquidated
          500 EAST JAMIE COURT
                                                                                Disputed
          SOUTH SAN FRANCISCO, CA 94080
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 452 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 569 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.233
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $108,357.77
          SOUTHERN CALIFORNIA EDISON                                            Contingent
          P.O. BOX 600                                                          Unliquidated
          ROSEMEAD, CA 91771-0001
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,996.59
          SOUTHERN CALIFORNIA EDISON                                            Contingent
          ATTN: CHARLIE LUCERO                                                  Unliquidated
          P.O. BOX 600                                                          Disputed
          ROSEMEAD, CA 91771-0001
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.233
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,122.72
          SOUTHERN CALIFORNIA GAS COMPANY                                       Contingent
          PO BOX C                                                              Unliquidated
          MONTEREY PARK, CA 91756
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,005.33
          SOUTHERN CALIFORNIA GAS COMPANY                                       Contingent
          PO BOX C                                                              Unliquidated
          MONTEREY PARK, CA 91756
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $404.19
          SOUTHERN CALIFORNIA GAS COMPANY                                       Contingent
          PO BOX C                                                              Unliquidated
          MONTEREY PARK, CA 91756                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $445.95
          SOUTHERN CALIFORNIA WATER                                             Contingent
          10852 S. CHERRY STREET                                                Unliquidated
          LOS ALAMITOS, CA 90720
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $207.00
          SOUTHERN CALIFORNIA WATER                                             Contingent
          10852 S. CHERRY STREET                                                Unliquidated
          LOS ALAMITOS, CA 90720
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 453 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 570 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.234
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40.49
          SOUTHERN CALIFORNIA WATER                                             Contingent
          10852 S. CHERRY STREET                                                Unliquidated
          LOS ALAMITOS, CA 90720                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $437.50
          SOUTHERN UNION GAS                                                    Contingent
          PO BOX 981041                                                         Unliquidated
          ELPASO, TX 79998-1041
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $415,411.07
          SOUTHGLENN PROPERTY HOLDINGS LLC                                      Contingent
          PO BOX 843524                                                         Unliquidated
          LOS ANGELES, CA 90084                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $86,971.75
          SOUTHGLENN PROPERTY HOLDINGS LLC                                      Contingent
          PO BOX 843524                                                         Unliquidated
          LOS ANGELES, CA 90084
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,455.77
          SOUTHPORT MARKETING INC
          ATTN: COLUM RUSSI                                                     Contingent
          3233 MISSION OAKS BOULEVARD                                           Unliquidated
          UNIT J                                                                Disputed
          CAMARILLO, CA 93012
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.234
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $216.47
          SOUTHWEST GAS CORPORATION                                             Contingent
          P.O. BOX 98890                                                        Unliquidated
          LAS VEGAS, NV 89150-0101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,170.67
          SP PLUS CORPORATION                                                   Contingent
          MONTHLY PARKER TLM                                                    Unliquidated
          8391 COLLECTION CENTER DRIVE                                          Disputed
          CHICAGO, IL 60693-0083
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 454 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 571 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.235
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24.13
          SPARKLETTS DRINKING WATER                                             Contingent
          DS WATERS OF AMERICA LP                                               Unliquidated
          PO BOX 660579                                                         Disputed
          DALLAS, TX 75266-0579
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.235
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $53,100.88
          SPARTAN RACE INC
          ATTN: ZAC BIESIADA                                                    Contingent
          234 CONGRESS ST                                                       Unliquidated
          5TH FLOOR                                                             Disputed
          BOSTON, MA 02110
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.235
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,544.60
          SPARTAN RACE INC                                                      Contingent
          234 CONGRESS ST                                                       Unliquidated
          5TH FLOOR
                                                                                Disputed
          BOSTON, MA 02110
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.235
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,574.00
          SPECIALTY FITNESS SYSTEMS LLC                                         Contingent
          ATTN: ROD GRIFFIN                                                     Unliquidated
          PO BOX 790                                                            Disputed
          FRANKLIN, PA 16323-6209
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.235
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7.09
          SPECTRUM MOBILE INC                                                   Contingent
          2474 WALNUT STREET, # 216                                             Unliquidated
          CARY, NC 27518
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telecom
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $73,270.00
          SPENCER STUART                                                        Contingent
          ATTN: SPENCER STUART                                                  Unliquidated
          P.O. BOX 98991                                                        Disputed
          CHICAGO, IL 60693
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 455 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 572 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.235
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $73,380.82
          SPIEGEL & SPIEGEL                                                     Contingent
          MONEY PURCHASE PENSION                                                Unliquidated
          C/O SAMCO PROPERTIES
                                                                                Disputed
          DEERFIELD BEACH, FL 33441
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.235
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $152,821.52
          SPIRIT CC AURORA CO LLC                                               Contingent
          ATTN: RAYNA SMALL                                                     Unliquidated
          P.O. BOX 206453                                                       Disputed
          DALLLAS, TX 75320-6453
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.235
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $307,178.29
          SPIRIT MASTER FUNDING X LLC                                           Contingent
          SPIRIT REALTY LP                                                      Unliquidated
          P.O.BOX 206453                                                        Disputed
          DALLAS, TX 75320
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.236
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,850.82
          SPIRIT MASTER FUNDING X LLC                                           Contingent
          SPIRIT REALTY LP                                                      Unliquidated
          P.O.BOX 206453
                                                                                Disputed
          DALLAS, TX 75320
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.236
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $122,596.00
          SPORT TECH CORPORATION                                                Contingent
          ATTN: NANCY SUTTON                                                    Unliquidated
          12264 BOULDER PASS                                                    Disputed
          MILFORD, MI 48380
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.236
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $67,327.20
          SPORTS RESEARCH CORPORATION                                           Contingent
          ATTN: MARIE PEDERSEN                                                  Unliquidated
          784 W CHANNEL ST                                                      Disputed
          SAN PEDRO, CA 90731-1443
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.236
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $128.51
          SPRING CYPRESS UTILITY TX                                             Contingent
          13518 ALDINE WEST FIELD                                               Unliquidated
          HOUSTON, TX 77039
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 456 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 573 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.236
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $207,381.16
          SPRING SHOPPING CENTER LLC                                            Contingent
          ATTN: WADE WEIMAN                                                     Unliquidated
          P.O. BOX 34486                                                        Disputed
          LOS ANGELES, CA 90035
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.236
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $116,010.13
          SPRING SHOPPING CENTER LLC                                            Contingent
          P.O. BOX 34486                                                        Unliquidated
          LOS ANGELES, CA 90035
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,319.28
          SPRINKLR INC
          ATTN: ALEX JANIN                                                      Contingent
          29 WEST 35 ST                                                         Unliquidated
          8TH FLOOR                                                             Disputed
          NEW YORK, NY 10001
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.236
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,187.50
          SPRINKLR INC                                                          Contingent
          29 WEST 35 ST                                                         Unliquidated
          8TH FLOOR
                                                                                Disputed
          NEW YORK, NY 10001
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.236
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $286.27
          SPRINT-NATIONAL ACCOUNTS                                              Contingent
          P.O. BOX 79255                                                        Unliquidated
          CITY OF INDUSTRY, CA 91716-9260
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $61,600.00
          SPROSTY NETWORK LLC                                                   Contingent
          ATTN: CARRIE                                                          Unliquidated
          2625 CASTILLA ISLE                                                    Disputed
          FORT LAUDERDALE, FL 33301
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 457 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 574 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.237
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,584.34
          SPS COMMERCE INC                                                      Contingent
          333 SOUTH SEVENTH STREET                                              Unliquidated
          SUITE 1000                                                            Disputed
          MINNEAPOLIS, MN 55402
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.237
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $146,909.93
          SR19 MARK II PORTFOLIO LLC                                            Contingent
          SR COMMERCIAL                                                         Unliquidated
          315 S. COAST HWY 101                                                  Disputed
          ENCINITAS, CA 92024
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.237
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,675.37
          SR19 MARK II PORTFOLIO LLC                                            Contingent
          SR COMMERCIAL                                                         Unliquidated
          315 S. COAST HWY 101
                                                                                Disputed
          ENCINITAS, CA 92024
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.237
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $216,591.27
          SSS HIGHLAND PLAZA LLC                                                Contingent
          3657 BRIARPARK DRIVE                                                  Unliquidated
          SUITE 188                                                             Disputed
          HOUSTON, TX 77042
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.237
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $121,538.38
          SSS HIGHLAND PLAZA LLC                                                Contingent
          3657 BRIARPARK DRIVE                                                  Unliquidated
          SUITE 188
                                                                                Disputed
          HOUSTON, TX 77042
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.237
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,096.18
          SSS HIGHLAND PLAZA LLC                                                Contingent
          3657 BRIARPARK DRIVE                                                  Unliquidated
          SUITE 188
                                                                                Disputed
          HOUSTON, TX 77042
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.237
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          STACEY WENDELL ERVIN                                                  Contingent
          ATTN: STACEY ERVIN JR.                                                Unliquidated
          2568 PASSAMONTE DRIVE                                                 Disputed
          WINTER PARK, FL 32792
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 458 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 575 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.237
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $219,780.11
          STAHL INVESTMENTS                                                     Contingent
          ATTN: KATIE PANARRA                                                   Unliquidated
          105 2ND ST                                                            Disputed
          OAKLAND, CA 94607
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.237
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $225.00
          STANDARD PARKING, INC.                                                Contingent
          3699 WILSHIRE BLVD, SUITE 880                                         Unliquidated
          LOS ANGELES, CA 90010                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $193,266.00
          STANDARD REGISTER                                                     Contingent
          P.O. BOX 840655                                                       Unliquidated
          DALLAS, TX 75284-0655
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Product held at Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $314,946.17
          STANDARD REGISTER INC                                                 Contingent
          ATTN: KAREN THOMPSON                                                  Unliquidated
          600 ALBANY STREET                                                     Disputed
          DAYTON, OH 45417
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.238
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,282.35
          STANDARD WASTE SERVICE                                                Contingent
          21 EDGEBORO RD                                                        Unliquidated
          EAST BRUNSWICK, NJ 08816                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,684.21
          STANLEY CONVERGENT SECURITY
          SOLUTIONS                                                             Contingent
          ATTN: JAMIE SANCHEZ                                                   Unliquidated
          DEPT CH 10651                                                         Disputed
          PALATINE, IL 60055
                                                                             Basis for the claim:    Purchase of fixed assets
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 459 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 576 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.238
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,162.44
          STANLEY CONVERGENT SECURITY
          SOLUTIONS                                                             Contingent
          ATTN: JAMIE SANCHEZ                                                   Unliquidated
          DEPT CH 10651                                                         Disputed
          PALATINE, IL 60055
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.238
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,356.94
          STANLEY CONVERGENT SECURITY
          SOLUTIONS                                                             Contingent
          ATTN: JAMIE SANCHEZ                                                   Unliquidated
          DEPT CH 10651                                                         Disputed
          PALATINE, IL 60055
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.238
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,845,178.41
          STAPLES CONTRACT & COMMERCIAL LLC                                     Contingent
          ATTN: STEVE SEIGNIOUS                                                 Unliquidated
          PO BOX 70242                                                          Disputed
          PHILADELPHIA, PA 19176-0242
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.238
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $144,727.00
          STAPLES CONTRACT & COMMERCIAL LLC
          STAPLES PROMOTIONAL PRODUCTS BIN                                      Contingent
          150003                                                                Unliquidated
          PO BOX 88003                                                          Disputed
          MILWAUKEE, WI 53288-8003
                                                                             Basis for the claim:    Employee uniforms inventory held at vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.238
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,899.85
          STAPLES CONTRACT & COMMERCIAL LLC                                     Contingent
          ATTN: STEVE SEIGNIOUS                                                 Unliquidated
          PO BOX 70242
                                                                                Disputed
          PHILADELPHIA, PA 19176-0242
          Date(s) debt was incurred
                                                                             Basis for the claim:    Janitorial supplies
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.238
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,358.90
          STAR FIRE PROTECTION COMPANY
          ATTN: JOHN MA                                                         Contingent
          & INFINITY MONITORING CO                                              Unliquidated
          224-50 BRADDOCK AVENUE                                                Disputed
          QUEENS VILLAGE, NY 11428
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 460 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 577 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.238
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,200.00
          STAR FIRE PROTECTION COMPANY
          ATTN: JOHN MA                                                         Contingent
          & INFINITY MONITORING CO                                              Unliquidated
          224-50 BRADDOCK AVENUE                                                Disputed
          QUEENS VILLAGE, NY 11428
                                                                             Basis for the claim:    Repairs & Maintenance
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.239
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $162,082.30
          STAR-WEST SOLANO, LLC                                                 Contingent
          591 WEST PUTNAM AVENUE                                                Unliquidated
          GREENWICH, CT 06830                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $103,986.94
          STAR-WEST SOLANO, LLC                                                 Contingent
          PO BOX 398001                                                         Unliquidated
          SAN FRANCISCO, CA 94139-8001
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $168,349.61
          STARBOARD MANAGEMENT SERVICES
          LLC
          ATTN: RYAN DIXON                                                      Contingent
          19100 VON KARMAN AVENUE                                               Unliquidated
          SUITE 340                                                             Disputed
          IRVINE, CA 92612
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.239
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,638.92
          STARBOARD MANAGEMENT SERVICES
          LLC                                                                   Contingent
          C/O CBC ADVISORS                                                      Unliquidated
          PO BOX 712139                                                         Disputed
          COTTONWOOD, UT 84171
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.239
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,031.00
          STATE BOARD OF EQUALIZATION                                           Contingent
          P.O. BOX 942879                                                       Unliquidated
          SACRAMENTO, CA 94279-8064                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 461 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 578 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.239
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $171.33
          STATE OF CONNECTICUT                                                  Contingent
          DEPARTMENT OF REVENUE SERVICES                                        Unliquidated
          P.O. BOX 5089                                                         Disputed
          HARTFORD, CT 06102-5089
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.239
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300.00
          STATE OF NEW JERSEY
          DEPT. OF LABOR AND WORKFORCE DEV.                                     Contingent
          BUREAU OF BOILER AND PRESSURE                                         Unliquidated
          VESSELS                                                               Disputed
          TRENTON, NJ 08625-0392
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.239
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $99,516.24
          STATE STREET                                                          Contingent
          ATTN: CHRISTY RENN                                                    Unliquidated
          200 CLARENDON ST., 14TH FLOOR                                         Disputed
          BOSTON, MA 02116
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.239
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $165,197.45
          STC GARDENWALK LLC
          ATTN: ERIC YANG                                                       Contingent
          C/O STC MANAGEMENT                                                    Unliquidated
          10722 BEVERLY BOULEVARD                                               Disputed
          WHITTIER, CA 90601
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.239
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,444.71
          STC GARDENWALK LLC
          ATTN: ERIC YANG                                                       Contingent
          C/O STC MANAGEMENT                                                    Unliquidated
          10722 BEVERLY BOULEVARD                                               Disputed
          WHITTIER, CA 90601
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.240
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,700.00
          STC GARDENWALK LLC
          ATTN: ERIC YANG                                                       Contingent
          C/O STC MANAGEMENT                                                    Unliquidated
          10722 BEVERLY BOULEVARD                                               Disputed
          WHITTIER, CA 90601
                                                                             Basis for the claim:    Parking
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 462 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 579 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.240
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,111.00
          STEP FITNESS & RECREATION, INC.                                       Contingent
          ATTN: LYLE RAY IRWIN                                                  Unliquidated
          2130 NEWMARKET PARKWAY                                                Disputed
          MARIETTA, GA 30067
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.240
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $142,654.74
          STEVE PADIS JEWELRY PLUS
          ENTERPRISES INC
          ATTN: SCOTT MILLER                                                    Contingent
          888 BRANNAN STREET                                                    Unliquidated
          SUITE 128                                                             Disputed
          SAN FRANCISCO, CA 94103
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.240
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $70,973.27
          STEVE PADIS JEWELRY PLUS
          ENTERPRISES INC                                                       Contingent
          888 BRANNAN STREET                                                    Unliquidated
          SUITE 128                                                             Disputed
          SAN FRANCISCO, CA 94103
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.240
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,712.35
          STONER ELECTRIC INC                                                   Contingent
          ATTN: KIM MATTESON                                                    Unliquidated
          1904 SE OCHOCO ST                                                     Disputed
          MILWAUKIE, OR 97222
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.240
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $128,266.67
          STRATA FITNESS CENTER LP
          ATTN: ANDREW GORDON                                                   Contingent
          4370 LA JOLLA VILLAGE DRIVE                                           Unliquidated
          SUITE 960                                                             Disputed
          SAN DIEGO, CA 92122
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.240
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $70,465.93
          STRATA FITNESS CENTER LP
          ATTN: ANDREW GORDON                                                   Contingent
          4370 LA JOLLA VILLAGE DRIVE                                           Unliquidated
          SUITE 960                                                             Disputed
          SAN DIEGO, CA 92122
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 463 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 580 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.240
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,489.75
          STRIPE SPECIALIST LLC                                                 Contingent
          ATTN: FARHAD MADANI                                                   Unliquidated
          P.O. BOX 92484                                                        Disputed
          AUSTIN, TX 78709-2484
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.240
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $138.18
          SUBURBAN EAST SALEM WATER DISTRICT                                    Contingent
          3805 LABRANCH ST. SE                                                  Unliquidated
          SALEM, OR 97301
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $695.56
          SUBURBAN GARBAGE SERVICE
          ATTN: ART KUENZI                                                      Contingent
          BGL INC.                                                              Unliquidated
          6075 STATE STREET                                                     Disputed
          SALEM, OR 97301
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.241
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $162.30
          SUBURBAN GARBAGE SERVICE                                              Contingent
          BGL INC.                                                              Unliquidated
          6075 STATE STREET
                                                                                Disputed
          SALEM, OR 97301
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.241
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $786.33
          SUBURBAN WATER SYSTEMS                                                Contingent
          1211 E. CENTER COURT DR.                                              Unliquidated
          COVINA, CA 91724
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $302.05
          SUBURBAN WATER SYSTEMS                                                Contingent
          ATTN: LISA HIGGINS                                                    Unliquidated
          1211 E. CENTER COURT DR.                                              Disputed
          COVINA, CA 91724
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 464 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 581 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.241
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,752.28
          SUN SEASON PRODUCTS, INC.                                             Contingent
          ATTN: BEN BONDS                                                       Unliquidated
          P.O. BOX 4890                                                         Disputed
          WALNUT CREEK, CA 94596
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.241
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,357.39
          SUN WEST PLUMBING
          ATTN: HEDDA EVANS                                                     Contingent
          9889 HIBERT ST.                                                       Unliquidated
          SUITE D                                                               Disputed
          SAN DIEGO, CA 92131
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.241
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $222,522.01
          SUNBREWER PARTNERS LP                                                 Contingent
          PLAZA RANCHO PENASQUITOS                                              Unliquidated
          P.O. BOX 848520                                                       Disputed
          LOS ANGELES, CA 90084-8520
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.241
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,267.24
          SUNBREWER PARTNERS LP                                                 Contingent
          PLAZA RANCHO PENASQUITOS                                              Unliquidated
          P.O. BOX 848520
                                                                                Disputed
          LOS ANGELES, CA 90084-8520
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.241
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $271.60
          SUNBREWER PARTNERS LP                                                 Contingent
          PLAZA RANCHO PENASQUITOS                                              Unliquidated
          P.O. BOX 848520
                                                                                Disputed
          LOS ANGELES, CA 90084-8520
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.241
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $277,734.54
          SUNNYBROOK RIDGE OWNERS CARE OF
          DOUG
          ATTN: AMIE CALHOUM                                                    Contingent
          C/O DOUG BEAN & ASSOCIATES INC                                        Unliquidated
          PO BOX 2519                                                           Disputed
          PORTLAND, OR 97208
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 465 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 582 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.241
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,085.50
          SUNNYBROOK RIDGE OWNERS CARE OF
          DOUG
          ATTN: AMIE CALHOUM                                                    Contingent
          C/O DOUG BEAN & ASSOCIATES INC                                        Unliquidated
          PO BOX 2519                                                           Disputed
          PORTLAND, OR 97208
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.242
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $451,969.74
          SUNNYVALE SHOPPING CENTER                                             Contingent
          PO BOX 398217                                                         Unliquidated
          SAN FRANCISCO, CA 94139-8217                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,136.88
          SUNNYVALE SHOPPING CENTER                                             Contingent
          PO BOX 398217                                                         Unliquidated
          SAN FRANCISCO, CA 94139-8217
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $59,145.25
          SUNSET POOL, INC                                                      Contingent
          ATTN: BOB KIANI                                                       Unliquidated
          1808-1 I STREET N.W. SUITE 201                                        Disputed
          WASHINGTON, DC 20006
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.242
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $227,019.02
          SUNSHINE MZL LLC
          ATTN: DAVID MCFARLANE                                                 Contingent
          C/O KATZ PROPERTIES                                                   Unliquidated
          254 WEST 31ST STREET                                                  Disputed
          NEW YORK, NY 10001
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.242
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,783.81
          SUNSHINE MZL LLC
          ATTN: DAVID MCFARLANE                                                 Contingent
          C/O KATZ PROPERTIES                                                   Unliquidated
          254 WEST 31ST STREET                                                  Disputed
          NEW YORK, NY 10001
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 466 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 583 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.242
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $588.22
          SUNSHINE RECYCLING OF SWFL LLC                                        Contingent
          5235 RAMSEY WAY SUITE 18,                                             Unliquidated
          FORT MYERS, FL 33907                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $336.50
          SUNSHINE RECYCLING OF SWFL LLC                                        Contingent
          5235 RAMSEY WAY                                                       Unliquidated
          SUITE 18
                                                                                Disputed
          FORT MYERS, FL 33907
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.242
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $485.66
          SUNSHINE WATER SOFTENERS AND MORE                                     Contingent
          ATTN: TAMI GRIFFIN                                                    Unliquidated
          4635 RUFFNER ST                                                       Disputed
          SAN DIEGO, CA 92111-2217
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.242
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $99.02
          SUNSHINE WATER SOFTENERS AND MORE                                     Contingent
          ATTN: TAMI GRIFFIN                                                    Unliquidated
          4635 RUFFNER ST
                                                                                Disputed
          SAN DIEGO, CA 92111-2217
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.242
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $337,107.48
          SUNVALLEY SHOPPING CENTER LLC                                         Contingent
          DEPARTMENT 57901                                                      Unliquidated
          P.O. BOX 67000                                                        Disputed
          DETROIT, MI 48267-0579
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.243
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $303,500.44
          SUNVALLEY SHOPPING CENTER LLC                                         Contingent
          DEPARTMENT 57901                                                      Unliquidated
          P.O. BOX 67000
                                                                                Disputed
          DETROIT, MI 48267-0579
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.243
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,198.56
          SUPREME SECURITY SYSTEMS INC                                          Contingent
          ATTN: JOAN BRANCH                                                     Unliquidated
          PO BOX 3878                                                           Disputed
          UNION, NJ 07083-1890
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 467 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 584 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.243
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $107.93
          SURPRENANT DREW                                                       Contingent
          2600 W 7TH ST                                                         Unliquidated
          APT 1307
                                                                                Disputed
          FORT WORTH, TX 76107
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.243
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          SUSAN M LEARY                                                         Contingent
          261 BALCETA CT                                                        Unliquidated
          DANVILLE, CA 94526                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $266,403.53
          SW3LH LLC                                                             Contingent
          9595 WILSHIRE BLVD                                                    Unliquidated
          SUITE 710                                                             Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.243
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $134,783.27
          SW3LH LLC                                                             Contingent
          9595 WILSHIRE BLVD                                                    Unliquidated
          SUITE 710
                                                                                Disputed
          BEVERLY HILLS, CA 90212
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.243
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,211.20
          SW3LH LLC                                                             Contingent
          9595 WILSHIRE BLVD                                                    Unliquidated
          SUITE 710
                                                                                Disputed
          BEVERLY HILLS, CA 90212
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.243
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,076.84
          SW3LH LLC                                                             Contingent
          9595 WILSHIRE BLVD                                                    Unliquidated
          SUITE 710
                                                                                Disputed
          BEVERLY HILLS, CA 90212
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.243
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,157.25
          SWEETWATER AUTHORITY                                                  Contingent
          505 GARRETT AVENUE                                                    Unliquidated
          CHULA VISTA, CA 91910
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 468 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 585 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.243
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $116.62
          SWEETWATER AUTHORITY                                                  Contingent
          505 GARRETT AVENUE                                                    Unliquidated
          CHULA VISTA, CA 91910                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $127,744.95
          SWITCH COMMUNICATIONS GROUP LLC                                       Contingent
          ATTN: LESLEY MCVAY                                                    Unliquidated
          PO BOX 400850                                                         Disputed
          LAS VEGAS, NV 89140
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.244
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,272.86
          SWITCH COMMUNICATIONS GROUP LLC                                       Contingent
          PO BOX 400850                                                         Unliquidated
          LAS VEGAS, NV 89140
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,987.50
          SYNDIGO LLC                                                           Contingent
          ATTN: HEATHER SEEGO                                                   Unliquidated
          2200 WESTERN CT # 110                                                 Disputed
          LISLE, IL 60532
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.244
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40.03
          T FARESE & SONS                                                       Contingent
          PO BOX 23                                                             Unliquidated
          BELLEVILLE, NJ 07109
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $191,441.21
          T24 LLC
          ATTN: ALAN JOHANSEN                                                   Contingent
          2602 SOUTH 38TH STREET                                                Unliquidated
          SUITE # 101                                                           Disputed
          TACOMA, WA 98409
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 469 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 586 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.244
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $54,573.73
          T24 LLC
          ATTN: ALAN JOHANSEN                                                   Contingent
          2602 SOUTH 38TH STREET                                                Unliquidated
          SUITE # 101                                                           Disputed
          TACOMA, WA 98409
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.244
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          TABLER,MARIA L                                                        Contingent
          11816 GREENBRIER LN                                                   Unliquidated
          GRAND TERRACE, CA 92313
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,752.00
          TALX UC EXPRESS                                                       Contingent
          4076 PAYSPHERE CIRCLE                                                 Unliquidated
          CHICAGO, IL 60674
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $118,350.00
          TARRANT COUNTY TAX COLLECTOR                                          Contingent
          P.O. BOX 961018                                                       Unliquidated
          FORT WORTH, TX 76161-0018
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $78,935.50
          TAX ASSESSOR-COLLECTOR, COLLIN
          COUNTY                                                                Contingent
          2300 BLOOMDALE ROAD                                                   Unliquidated
          STE 2324                                                              Disputed
          MCKINNEY, TX 75071
                                                                             Basis for the claim:    Personal Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.245
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $332,754.74
          TAX COLLECTOR - ALAMEDA COUNTY                                        Contingent
          1221 OAK STREET                                                       Unliquidated
          SUITE 536                                                             Disputed
          OAKLAND, CA 94612
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 470 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 587 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.245
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,442.00
          TAX COLLECTOR - ALAMEDA COUNTY                                        Contingent
          1221 OAK STREET                                                       Unliquidated
          SUITE 536
                                                                                Disputed
          OAKLAND, CA 94612
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.245
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,147.87
          TAX COMPLIANCE, INC
          ATTN: HARRY DEAN BILLIPS                                              Contingent
          13500 EVENING CREEK DRIVE N.                                          Unliquidated
          SUITE 500                                                             Disputed
          SAN DIEGO, CA 92128
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.245
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $467.91
          TAYLOR COMMUNICATIONS INC                                             Contingent
          ATTN: JOYCE CORDIE                                                    Unliquidated
          PO BOX 95074
                                                                                Disputed
          CHICAGO, IL 60694
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.245
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $341.22
          TAYLORSVILLE-BENNION IMPROVEMENT                                      Contingent
          DIST.                                                                 Unliquidated
          P.O. BOX 27513
                                                                                Disputed
          SALT LAKE CITY, UT 84127-0513
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.245
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,797.96
          TCS PLUMBING
          ATTN: AMBER STUFFT                                                    Contingent
          TCS PLUMBING                                                          Unliquidated
          700 BUSINESS PARKWAY                                                  Disputed
          RICHARDSON, TX 75081-5017
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.245
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,047.72
          TECHNOGYM USA CORP.
          ATTN: CLAUDIA BELLINI AND                                             Contingent
          FRANCESCO BORGHEAL                                                    Unliquidated
          830 FOURTH AVENUE SOUTH STE.300                                       Disputed
          SEATTLE, WA 98134
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 471 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 588 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.245
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $482.49
          TECO PEOPLES GAS                                                      Contingent
          P.O. BOX 31017                                                        Unliquidated
          TAMPA, FL 33631-3017
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,328.22
          TELECOMMUNICATION SYSTEMS IN                                          Contingent
          ATTN: LINDA HEATH                                                     Unliquidated
          275 WEST ST                                                           Disputed
          ANNAPOLIS, MD 21401-3463
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.245
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $283,360.37
          TEMECULA TOWN CENTER OWNER LLC
          ATTN: IVETTE BARNETT                                                  Contingent
          4340 VON KARMAN AVENUE                                                Unliquidated
          SUITE 110                                                             Disputed
          NEWPORT BEACH, CA 92660
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.246
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,640.09
          TEMECULA TOWN CENTER OWNER LLC
          ATTN: IVETTE BARNETT                                                  Contingent
          4340 VON KARMAN AVENUE                                                Unliquidated
          SUITE 110                                                             Disputed
          NEWPORT BEACH, CA 92660
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.246
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $90,475.88
          TENCOM ASSOCIATES LLC
          ATTN: KELIANN SALADO                                                  Contingent
          C/O COLLIERS INTERNATIONAL                                            Unliquidated
          301 UNIVERSITY AVENUE                                                 Disputed
          SACRAMENTO, CA 95825
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.246
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $296.58
          TENCOM ASSOCIATES LLC                                                 Contingent
          C/O COLLIERS INTERNATIONAL                                            Unliquidated
          301 UNIVERSITY AVENUE
                                                                                Disputed
          SACRAMENTO, CA 95825
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 472 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 589 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.246
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          TERESA M AWAA                                                         Contingent
          344 COVERED BRIDGE DR                                                 Unliquidated
          FORT WORTH, TX 76108                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $157.53
          TERI A BREWER                                                         Contingent
          409 SYCAMORE CIRCLE                                                   Unliquidated
          DANVILLE, CA 94526
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NQDC Penalty due to administrative error
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,492.42
          TERMINIX INTERNATIONAL                                                Contingent
          ATTN: ANITA JOHNSON                                                   Unliquidated
          860 RIDGE LAKE BLVD.                                                  Disputed
          MEMPHIS, TN 38120
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.246
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,273.75
          TERRACON CONSULTANTS INC
          ATTN: BJ PACKARD                                                      Contingent
          18001 W 106TH STREET                                                  Unliquidated
          SUITE 300                                                             Disputed
          OLATHE, KS 66061
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.246
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,350.50
          TESTING ENGINEERS INC                                                 Contingent
          ATTN: BEN ONG                                                         Unliquidated
          2811 TEAGARDEN STREET                                                 Disputed
          SAN LEANDRO, CA 94577
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.246
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,272.52
          TETER'S FAUCET PARTS CORP.                                            Contingent
          PO BOX 141075                                                         Unliquidated
          DALLAS, TX 75214                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,259.61
          TEX AIR FILTERS                                                       Contingent
          ATTN: BENNY AYCOTH                                                    Unliquidated
          11251 LEO LN                                                          Disputed
          DALLAS, TX 76262
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 473 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 590 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.247
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $206,070.00
          TEXAS AIRSYSTEMS LLC
          ATTN: LAURA ROCKETT                                                   Contingent
          6029 W. CAMPUS CIRCLE                                                 Unliquidated
          STE 100                                                               Disputed
          IRVING, TX 75063
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.247
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          TEXAS STATE CONTROLLER OF PUBLIC                                      Contingent
          ACCTS.
                                                                                Unliquidated
          P.O. BOX 149348
          AUSTIN, TX 78714-9348                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    State of Texas Income Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.247
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $178.62
          TEXAS STATE CONTROLLER OF PUBLIC
          ACCTS.                                                                Contingent
          REVENUE REFUNDS DIVISION                                              Unliquidated
          P.O. BOX 12019                                                        Disputed
          AUSTIN, TX 78711-2019
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.247
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,224.31
          THE ABS COMPANY                                                       Contingent
          ATTN: ELENI GAGNON                                                    Unliquidated
          PO BOX 9                                                              Disputed
          CHESTER, NJ 07930
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.247
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,600.00
          THE FRENCH QUARTER                                                    Contingent
          ATTN: FRANK DITRANI                                                   Unliquidated
          98 ELMWOOD RD                                                         Disputed
          VERONA, NJ 07044
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.247
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $855.40
          THE GAS COMPANY                                                       Contingent
          P.O. BOX 3000                                                         Unliquidated
          HONOLULU, HI 96802-3000
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 474 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 591 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.247
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $229.76
          THE GAS COMPANY                                                       Contingent
          ATTN: LEE STRUNK                                                      Unliquidated
          515 KAMAKEE STREET                                                    Disputed
          HONOLULU, HI 96814
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.247
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $92,269.91
          THE HAGERS LP                                                         Contingent
          2880 LAKE RIDGE SHRS E                                                Unliquidated
          RENO, NV 89519-5781                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $110,924.82
          THE HARRY AND JEANETTE WEINBERG                                       Contingent
          3660 WAIALAE AVENUE                                                   Unliquidated
          SUITE 400                                                             Disputed
          HONOLULU, HI 96816
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.247
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,617.33
          THE HARRY AND JEANETTE WEINBERG                                       Contingent
          3660 WAIALAE AVENUE                                                   Unliquidated
          SUITE 400
                                                                                Disputed
          HONOLULU, HI 96816
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.248
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $326,539.46
          THE IRVINE COMPANY LLC                                                Contingent
          ATTN: THE MARKET PLACE 622451                                         Unliquidated
          DEPT. 2568 - S44363                                                   Disputed
          LOS ANGELES, CA 90084-2568
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.248
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,149.34
          THE IRVINE COMPANY LLC                                                Contingent
          ATTN: THE MARKET PLACE 622451                                         Unliquidated
          DEPT. 2568 - S44363
                                                                                Disputed
          LOS ANGELES, CA 90084-2568
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.248
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $363,110.35
          THE RETAIL PROPERTY TRUST                                             Contingent
          1065 BREA MALL                                                        Unliquidated
          BREA, CA 92821                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 475 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 592 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.248
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,003.17
          THE RETAIL PROPERTY TRUST                                             Contingent
          PO BOX 772860                                                         Unliquidated
          CHICAGO, IL 60677-2860
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,170.54
          THE RETAIL PROPERTY TRUST                                             Contingent
          PO BOX 772860                                                         Unliquidated
          CHICAGO, IL 60677-2860
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $283,154.10
          THE ROUND OWNER LLC                                                   Contingent
          ATTN: CHRISTINA ROUSH                                                 Unliquidated
          PO BOX 84761                                                          Disputed
          SEATTLE, WA 98124-6061
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.248
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,605.81
          THE ROUND OWNER LLC                                                   Contingent
          PO BOX 84761                                                          Unliquidated
          SEATTLE, WA 98124-6061
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          THE TOWN OF APPLE VALLEY                                              Contingent
          14955 DALE EVANS PKWY                                                 Unliquidated
          APPLE VALLEY, CA 92307
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $71,974.27
          THINK ARCHITECTURE INC                                                Contingent
          ATTN: CORALIE CHRISTENSEN                                             Unliquidated
          5151 SOUTH 900 EAST                                                   Disputed
          SALT LAKE CITY, UT 84117
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.248
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,402.00
          THOMSON REUTERS                                                       Contingent
          2395 MIDWAY ROAD                                                      Unliquidated
          CARROLLTON, TX 75006                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 476 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 593 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.249
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,402.00
          THOMSON REUTERS - WEST                                                Contingent
          P.O. BOX 6292                                                         Unliquidated
          CAROL STREAM, IL 60197-6292
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,402.00
          THOMSON REUTERS - WEST                                                Contingent
          P.O. BOX 6292                                                         Unliquidated
          CAROL STREAM, IL 60197-6292                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,055.00
          THREE WAY LOGISTICS INC                                               Contingent
          ATTN: KERI PAPE                                                       Unliquidated
          PO BOX 1806                                                           Disputed
          FREMONT, CA 94538
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.249
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,922.43
          THROTLE INC
          ATTN: LAUREN RISKALLA                                                 Contingent
          141 W FRONT STREET                                                    Unliquidated
          SUITE 410                                                             Disputed
          RED BANK, NJ 07701
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.249
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,333.33
          THROTLE INC
          ATTN: LAUREN RISKALLA                                                 Contingent
          141 W FRONT STREET                                                    Unliquidated
          SUITE 410                                                             Disputed
          RED BANK, NJ 07701
                                                                             Basis for the claim:    Marketing software
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.249
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,367.41
          THROWDOWN INDUSTRIES HOLDINGS LLC                                     Contingent
          ATTN: DENNIS DUMAS                                                    Unliquidated
          25731 COMMERCENTRE DRIVE                                              Disputed
          LAKE FOREST, CA 92630
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 477 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 594 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.249
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,700.00
          THROWDOWN INDUSTRIES HOLDINGS LLC                                     Contingent
          25731 COMMERCENTRE DRIVE                                              Unliquidated
          LAKE FOREST, CA 92630
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,997.71
          THURSTON COUNTY TREASURER                                             Contingent
          2000 LAKERIDGE DRIVE SW                                               Unliquidated
          OLYMPIA, WA 98502-6080                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,314.00
          THURSTON COUNTY TREASURER                                             Contingent
          2000 LAKERIDGE DRIVE SW                                               Unliquidated
          OLYMPIA, WA 98502-6080
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,992.10
          THYSSENKRUPP ELEVATOR                                                 Contingent
          4145 W. ALI BABA, SUITE A                                             Unliquidated
          LAS VEGAS, NV 89118                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $206.97
          TIME WARNER CABLE                                                     Contingent
          P.O. BOX 60074                                                        Unliquidated
          CITY OF INDUSTRY, CA 91716-0074
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telecom
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75.33
          TIME WARNER CABLE                                                     Contingent
          P.O. BOX 60074                                                        Unliquidated
          CITY OF INDUSTRY, CA 91716-0074
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,740.60
          TIME WARNER CABLE ENTERPRISES                                         Contingent
          PO BOX 223085                                                         Unliquidated
          #N/A
                                                                                Disputed
          PITTSBURGH, PA 15251
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 478 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 595 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.250
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20.31
          TIME WARNER CABLE OCEANIC                                             Contingent
          74-5605 LUHIA ST STE B-1                                              Unliquidated
          KAILUA-KONA, HI 96740                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          TIMOTHY J PAYNE                                                       Contingent
          2821 TURNBULL STREET                                                  Unliquidated
          OCEANSIDE, CA 92054                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          TIMOTHY P SEGNERI                                                     Contingent
          3890 HIGHLAND DR                                                      Unliquidated
          CARLSBAD, CA 92008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.00
          TINA NGUYEN
          ATTN: TINA NGUYEN                                                     Contingent
          2660 N HASKELL AVE                                                    Unliquidated
          # 1161                                                                Disputed
          DALLAS, TX 75204
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.250
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $94.05
          TK STAR DESIGN INC                                                    Contingent
          ATTN: TOM KINNEY                                                      Unliquidated
          220 DUPONT AVE                                                        Disputed
          NEWBURGH, NY 12550
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.250
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $126,994.50
          TKG MURRIETTA PLAZA LLC                                               Contingent
          211 NORTH STADIUM BLVD SUITE 201                                      Unliquidated
          COLUMBIA, MD 65203                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,688.43
          TKG MURRIETTA PLAZA LLC                                               Contingent
          211 NORTH STADIUM BLVD SUITE 201                                      Unliquidated
          COLUMBIA, MD 65203
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 479 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 596 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.251
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $402,770.08
          TKG NORDHOFF-TAMPA PLAZA LLC                                          Contingent
          C/O TKG MANAGEMENT                                                    Unliquidated
          211 N. STADIUM BOULEVARD                                              Disputed
          COLUMBIA, MO 65203
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.251
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,226.31
          TKG NORDHOFF-TAMPA PLAZA LLC                                          Contingent
          C/O TKG MANAGEMENT                                                    Unliquidated
          211 N. STADIUM BOULEVARD
                                                                                Disputed
          COLUMBIA, MO 65203
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.251
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,932.26
          TNG UTILITY                                                           Contingent
          P.O. BOX 2749                                                         Unliquidated
          SPRING, TX 77383
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,887.91
          TNG UTILITY                                                           Contingent
          P.O. BOX 2749                                                         Unliquidated
          SPRING, TX 77383
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          TODD E MCWILLIAMS                                                     Contingent
          700 GIBSON DR                                                         Unliquidated
          APT 3114                                                              Disputed
          ROSEVILLE, CA 95678
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.251
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,060.85
          TODD HARRIS CO INC                                                    Contingent
          ATTN: CECILIA KEH                                                     Unliquidated
          PO BOX 682                                                            Disputed
          EDISON, NJ 08818
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.251
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $84.16
          TOHO WATER AUTHORITY                                                  Contingent
          P.O. BOX 30527                                                        Unliquidated
          TAMPA, FL 33630-3527
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 480 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 597 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.251
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $650.00
          TOLE ELECTRIC INCORPORATED                                            Contingent
          ATTN: ANNA BROYLES                                                    Unliquidated
          320 NE 44TH STREET                                                    Disputed
          OAKLAND PARK, FL 33334
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.251
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          TOLKIN BRIAN                                                          Contingent
          1433 70TH STREET                                                      Unliquidated
          BROOKLYN, NY 11228
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,709.48
          TORQUE FITNESS LLC                                                    Contingent
          ATTN: JENNY GERMANN                                                   Unliquidated
          9365 HOLLY ST NW                                                      Disputed
          COON RAPIDS, MN 55433
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.252
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $98.34
          TORRES SUSAN                                                          Contingent
          17346 CREST HEIGHTS DR                                                Unliquidated
          CANYON COUNTRY, CA 91387
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $98.00
          TOTAL EXTERMINATING INC                                               Contingent
          268 N. LINCOLN AVE                                                    Unliquidated
          #2                                                                    Disputed
          CORONA, CA 92882
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.252
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $440.90
          TOTAL GYM COMMERCIAL LLC
          ATTN: JESSE CAMPANARO                                                 Contingent
          5225 AVENIDA ENCINAS                                                  Unliquidated
          SUITE C                                                               Disputed
          CARLSBAD, CA 92008
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 481 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 598 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.252
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,828.33
          TOWN OF APPLE VALLEY                                                  Contingent
          14955 DALE EVANS PKWY                                                 Unliquidated
          APPLE VALLEY, CA 92307
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $521.82
          TOWN OF CASTLE ROCK                                                   Contingent
          100 N. WILCOX STREET                                                  Unliquidated
          CASTLE ROCK, CO 80104
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $78.24
          TOWN OF GREENBURGH                                                    Contingent
          BUILDING DEPARTMENT                                                   Unliquidated
          177 HILLSIDE AVENUE
                                                                                Disputed
          GREENBURGH, NY 10607
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.252
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $183.50
          TOWN OF LITTLE ELM                                                    Contingent
          100 W ELDORADO PKWY                                                   Unliquidated
          LITTLE ELM, TX 75068-5060
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          TOWNSHIP OF HANOVER                                                   Contingent
          HEALTH DEPARTMENT                                                     Unliquidated
          P.O. BOX 250
                                                                                Disputed
          WHIPPANY, NJ 07981
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.252
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $156.18
          TOWNSHIP OF SADDLE BROOK                                              Contingent
          93 MARKET STREET                                                      Unliquidated
          SADDLE BROOK, NJ 07663
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,684.45
          TOWNSHIP OF WAYNE                                                     Contingent
          UTILITY BILLING DEPT                                                  Unliquidated
          475 VALLEY ROAD
                                                                                Disputed
          WAYNE, NJ 07470
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 482 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 599 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.253
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $283,089.84
          TR COSTA MESA COURTYARDS LLC                                          Contingent
          C/O VESTAR PROPERTY MANAGEMENT                                        Unliquidated
          2425 E. CAMELBACK ROAD                                                Disputed
          PHOENIX, AZ 85016
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.253
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,385.34
          TR COSTA MESA COURTYARDS LLC                                          Contingent
          C/O VESTAR PROPERTY MANAGEMENT                                        Unliquidated
          2425 E. CAMELBACK ROAD
                                                                                Disputed
          PHOENIX, AZ 85016
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.253
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,827.60
          TR COSTA MESA COURTYARDS LLC                                          Contingent
          C/O VESTAR PROPERTY MANAGEMENT                                        Unliquidated
          2425 E. CAMELBACK ROAD
                                                                                Disputed
          PHOENIX, AZ 85016
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.253
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $52,144.20
          TR WATERIDGE LLC                                                      Contingent
          ATTN: VICKY LYONS                                                     Unliquidated
          P.O. BOX 74008511                                                     Disputed
          CHICAGO, IL 60674-8511
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.253
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,025.97
          TR WATERIDGE LLC                                                      Contingent
          P.O. BOX 74008511                                                     Unliquidated
          CHICAGO, IL 60674-8511
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,161.67
          TRACE3 LLC                                                            Contingent
          ATTN: JARED MARTINEZ                                                  Unliquidated
          P.O. BOX 847467                                                       Disputed
          LOS ANGELES, CA 90084-7467
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.253
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $189.75
          TRACY JOSHUA                                                          Contingent
          3730 VENOSA COURT                                                     Unliquidated
          MISSOURI CITY, TX 77459
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 483 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 600 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.253
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $173,948.40
          TRANSFORM HOLDCO LLC                                                  Contingent
          ATTN: ANGELA LIPOVETSKY                                               Unliquidated
          12670 COLLECTION CENTER DRIVE                                         Disputed
          CHICAGO, IL 60693
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.253
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,151.21
          TRANSFORM HOLDCO LLC                                                  Contingent
          12670 COLLECTION CENTER DRIVE                                         Unliquidated
          CHICAGO, IL 60693
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,216.94
          TRANSOURCE FORMS
          ATTN: MARY ELLEN METCALS                                              Contingent
          HARLAND CLARKE                                                        Unliquidated
          PO BOX 931898                                                         Disputed
          ATLANTA, GA 31193
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.254
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,664.00
          TRAVIS COUNTY TAX COLLECTOR                                           Contingent
          P.O. BOX 149328                                                       Unliquidated
          AUSTIN, TX 78714-9328
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $85.38
          TREASURER STATE OF TENNESSEE                                          Contingent
          UNCLAIMED PROPERTY DIVISION                                           Unliquidated
          P.O. BOX 198649
                                                                                Disputed
          NASHVILLE, TN 37219-8649
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.254
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,579.38
          TREASURER, CITY & COUNTY OF DENVER                                    Contingent
          144 W. COLFAX                                                         Unliquidated
          P.O. BOX 17420                                                        Disputed
          DENVER, CO 80217-0420
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 484 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 601 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.254
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,484.00
          TREASURER, CITY & COUNTY OF DENVER                                    Contingent
          144 W. COLFAX                                                         Unliquidated
          P.O. BOX 17420
                                                                                Disputed
          DENVER, CO 80217-0420
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.254
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $165.00
          TREND SYSTEMS INTEGRATION INC.                                        Contingent
          2246 NEWPORT BLVD., #A                                                Unliquidated
          COSTA MESA, CA 92627-6745                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $133,967.63
          TRI CITIES HARRIMAN LLC
          ATTN: BRIEN STRONACH                                                  Contingent
          9250 WILSHIRE BLVD                                                    Unliquidated
          SUITE 200                                                             Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.254
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,426.81
          TRI CITIES HARRIMAN LLC                                               Contingent
          REMIT                                                                 Unliquidated
          PO BOX 847347
                                                                                Disputed
          LOS ANGELES, CA 90084-7347
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.254
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $274.68
          TRI COUNTY COMMUNICATIONS                                             Contingent
          LIC 616060 925 PLYMOUTH DR,                                           Unliquidated
          GILROY, CA 95020
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,913.26
          TRI COUNTY ELECTRIC COOPERATIVE                                       Contingent
          301 N NOLEN DR                                                        Unliquidated
          SOUTHLAKE, TX 76092
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 485 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 602 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.254
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,201.02
          TRI COUNTY ELECTRIC COOPERATIVE                                       Contingent
          301 N NOLEN DR                                                        Unliquidated
          SOUTHLAKE, TX 76092
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $42,914.24
          TRI-DIM FILTER CORPORATION                                            Contingent
          ATTN: CRYSTAL ROBINSON                                                Unliquidated
          7036 SNOWDRIFT ROAD                                                   Disputed
          ALLENTOWN, PA 18106
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.255
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $213,956.68
          TRI-STATE COMMERCIAL REALTY LLC                                       Contingent
          429 SYLVAN AVE                                                        Unliquidated
          ENGLEWOOD CLIFFS, NJ 07632                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,924.69
          TRI-STATE COMMERCIAL REALTY LLC                                       Contingent
          429 SYLVAN AVE                                                        Unliquidated
          ENGLEWOOD CLIFFS, NJ 07632
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $244,729.13
          TRIANGLE 17 CENTER LLC
          ATTN: SWATI PATEL                                                     Contingent
          150 EAST 58TH STREET                                                  Unliquidated
          39TH FLOOR                                                            Disputed
          NEW YORK, NY 10155
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.255
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,362.17
          TRIANGLE 17 CENTER LLC                                                Contingent
          150 EAST 58TH STREET                                                  Unliquidated
          39TH FLOOR
                                                                                Disputed
          NEW YORK, NY 10155
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 486 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 603 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.255
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,968.70
          TRIANGLE 17 CENTER LLC                                                Contingent
          150 EAST 58TH STREET                                                  Unliquidated
          39TH FLOOR
                                                                                Disputed
          NEW YORK, NY 10155
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.255
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $343,316.78
          TRIANGLE CENTER LLC
          ATTN: KIMBERLY LOW                                                    Contingent
          10850 WILSHIRE BLVD                                                   Unliquidated
          SUITE 1000                                                            Disputed
          LOS ANGELES, CA 90024
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.255
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $97,137.63
          TRIANGLE CENTER LLC                                                   Contingent
          BUILDING ID: TRI001                                                   Unliquidated
          PO BOX 847269
                                                                                Disputed
          LOS ANGELES, CA 90084-7269
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.255
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,240.56
          TRIFECTA INC                                                          Contingent
          ATTN: BRET BARRIE                                                     Unliquidated
          428 J STREET # 800                                                    Disputed
          SACRAMENTO, CA 95814
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.255
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,310.45
          TRISIGNAL INTEGRATION INC                                             Contingent
          15853 MONTE STREET                                                    Unliquidated
          STE 101                                                               Disputed
          SYLMAR, CA 91342-3576
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.256
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,349.51
          TROLLEY CORNERS CENTER LLC                                            Contingent
          C/O CAPSTONE PROPERTY MANAGEMENT                                      Unliquidated
          4422 S CENTURY DRIVE
                                                                                Disputed
          MURRAY, UT 84123
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 487 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 604 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.256
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $146,401.47
          TROP 2015 HOLDING LLC
          ATTN: MATTHEW HUSS                                                    Contingent
          C/O GREAT AMERICAN CAPITAL                                            Unliquidated
          8350 W. SAHARA AVENUE                                                 Disputed
          LAS VEGAS, NV 89117
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.256
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,113.20
          TROPICANA 4440 LP                                                     Contingent
          C/O COMMUNITY VISION INC.                                             Unliquidated
          6440 SKY POINTE DR # 140-104
                                                                                Disputed
          LAS VEGAS, NV 89131
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.256
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $295.36
          TRUCKEE MEADOWS WATER AUTHORITY,                                      Contingent
          NV                                                                    Unliquidated
          1155 CORPORATE BLVD.
                                                                                Disputed
          RENO, NV 89520
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.256
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          TRUDY WILSON                                                          Contingent
          188 SANTA MARIA CT                                                    Unliquidated
          VISTA, CA 92083                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $103,265.56
          TRUE FITNESS TECHNOLOGY, INC.                                         Contingent
          ATTN: TOM KURLONDSKI                                                  Unliquidated
          PO BOX 419161                                                         Disputed
          CREVE COEUR, MO 63141
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.256
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,944.68
          TRUSTWAVE HOLDINGS INC                                                Contingent
          ATTN: DONNIE OTTERNESS                                                Unliquidated
          75 REMITTANCE DRIVE, SUITE 6000                                       Disputed
          CHICAGO, IL 60675-6000
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 488 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 605 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.256
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $57,332.61
          TUMBLEWEED DEVELOPMENT
          ATTN: TOD MARRS                                                       Contingent
          4185 W POST RD                                                        Unliquidated
          SUITE G                                                               Disputed
          LAS VEGAS, NV 89118
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.256
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $607.88
          TWP OF PARSIPPANY-TROY HILLS                                          Contingent
          1001 PARSIPPANY BOULEVERD                                             Unliquidated
          PARSIPPANY, NJ 07054
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $238.53
          TXU COMMUNICATIONS                                                    Contingent
          P.O. BOX 660034                                                       Unliquidated
          DALLAS, TX 75266-0034
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $342,286.03
          TYSONS WEST RETAIL LLC                                                Contingent
          P.O. BOX 412078                                                       Unliquidated
          BOSTON, MA 02241-2078                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $252,676.99
          TYSONS WEST RETAIL LLC                                                Contingent
          P.O. BOX 412078                                                       Unliquidated
          BOSTON, MA 02241-2078
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,998.84
          TYSONS WEST RETAIL LLC                                                Contingent
          P.O. BOX 412078                                                       Unliquidated
          BOSTON, MA 02241-2078
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $568,976.06
          UE BERGEN EAST LLC                                                    Contingent
          URBAN EDGE PROPERTIES                                                 Unliquidated
          P.O. BOX 645308                                                       Disputed
          PITTSBURGH, PA 15264-5308
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 489 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 606 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.257
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $159,776.86
          UE BERGEN EAST LLC                                                    Contingent
          URBAN EDGE PROPERTIES                                                 Unliquidated
          P.O. BOX 645308
                                                                                Disputed
          PITTSBURGH, PA 15264-5308
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.257
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,200.00
          UK 2 CONSTRUCTION CORP                                                Contingent
          ATTN: SURJIT SINGH                                                    Unliquidated
          130-43 135TH RD
                                                                                Disputed
          S. OZONE PARK, NY 11420
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.257
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,106.08
          ULINE, INC.                                                           Contingent
          PO BOX 88741                                                          Unliquidated
          CHICAGO, IL 60680-1741                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $366.77
          UMANZOR ROBERTO                                                       Contingent
          11539 BELLE SPRING                                                    Unliquidated
          HOUSTON, TX 77072
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,536.64
          UNITED LAUNDRY AND LINEN CORP                                         Contingent
          ATTN: MAYRA M.                                                        Unliquidated
          PO BOX 143                                                            Disputed
          CLIFFSIDE PARK, NJ 07010
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.257
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $163,522.24
          UNITED PARCEL SERVICE                                                 Contingent
          ATTN: MARQUETA JONES                                                  Unliquidated
          P.O. BOX 894820                                                       Disputed
          LOS ANGELES, CA 90189-4820
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.258
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,531.89
          UNITED PARCEL SERVICE                                                 Contingent
          ATTN: MARQUETA JONES                                                  Unliquidated
          P.O. BOX 894820
                                                                                Disputed
          LOS ANGELES, CA 90189-4820
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 490 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 607 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.258
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $207,309.66
          UNITED PARCEL SERVICE, INC.
          ATTN: SHARON TINKER                                                   Contingent
          ATTN : REAL ESTATE DEPARTMENT                                         Unliquidated
          55 GLENLAKE PARKWAY , NE                                              Disputed
          ATLANTA, GA 30328
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.258
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,217.49
          UNITED PARCEL SERVICE, INC.                                           Contingent
          ATTN: MARQUETA JONES                                                  Unliquidated
          P.O. BOX 894820
                                                                                Disputed
          LOS ANGELES, CA 90189-4820
          Date(s) debt was incurred
                                                                             Basis for the claim:    Postage/Shipping costs
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.258
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,627.03
          UNITED RENTALS INC.                                                   Contingent
          PO BOX 100711                                                         Unliquidated
          ATLANTA, GA 30384-0711                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,840.74
          UNITED STATES BUILDING CLEANING LLC
          ATTN: ICK SOO PANG                                                    Contingent
          10200 EAST GIRARD AVENUE                                              Unliquidated
          B-400                                                                 Disputed
          DENVER, CO 80231
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.258
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,135.01
          UNITED WATER NEW                                                      Contingent
          JERSEY/HARRINGTON PARK                                                Unliquidated
          190 MOORE ST
                                                                                Disputed
          HACKENSACK, NJ 07601
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.258
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $542.08
          UNITED WATER NEW                                                      Contingent
          JERSEY/HARRINGTON PARK                                                Unliquidated
          190 MOORE ST
                                                                                Disputed
          HACKENSACK, NJ 07601
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 491 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 608 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.258
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $258.60
          UNITED WATER NEW                                                      Contingent
          JERSEY/HARRINGTON PARK                                                Unliquidated
          190 MOORE ST
                                                                                Disputed
          HACKENSACK, NJ 07601
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.258
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $379,595.97
          UNIVERSITY TOWNE CENTRE LLC                                           Contingent
          A DELAWARE LIMITED LIABILITY CO.                                      Unliquidated
          FILE #55976                                                           Disputed
          LOS ANGELES, CA 90074-5976
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.258
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $295,182.95
          UNIVERSITY TOWNE CENTRE LLC                                           Contingent
          A DELAWARE LIMITED LIABILITY CO.                                      Unliquidated
          FILE #55976
                                                                                Disputed
          LOS ANGELES, CA 90074-5976
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.259
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          UNKNOWN                                                               Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Unredeemed gift cards
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $366,061.89
          UPS SUPPLY CHAIN SOLUTIONS, INC.                                      Contingent
          ATTN: SHARON TINKER                                                   Unliquidated
          PO BOX 730900                                                         Disputed
          DALLAS, TX 75373-0900
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.259
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $111,755.19
          UPS SUPPLY CHAIN SOLUTIONS, INC.                                      Contingent
          ATTN: SHARON TINKER                                                   Unliquidated
          PO BOX 730900
                                                                                Disputed
          DALLAS, TX 75373-0900
          Date(s) debt was incurred
                                                                             Basis for the claim:    SCS penalty and late fee
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.259
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,267.01
          UPS SUPPLY CHAIN SOLUTIONS, INC.                                      Contingent
          ATTN: SHARON TINKER                                                   Unliquidated
          PO BOX 730900
                                                                                Disputed
          DALLAS, TX 75373-0900
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 492 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 609 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.259
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,576.00
          UPTOP121 LLC                                                          Contingent
          ATTN: MAHDI TALEBNEJAD                                                Unliquidated
          11802 ROCKAWAY LA
                                                                                Disputed
          FAIRFAX, VA 22030
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.259
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $310,273.93
          US VI DOWNEY LLC                                                      Contingent
          ATTN: MARK SENSTAD                                                    Unliquidated
          P.O. BOX 21807                                                        Disputed
          NEW YORK, NY 10087
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.259
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $306,745.65
          US VI DOWNEY LLC                                                      Contingent
          ATTN: MARK SENSTAD                                                    Unliquidated
          P.O. BOX 21807
                                                                                Disputed
          NEW YORK, NY 10087
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.259
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          UTAH STATE TAX COMMISSION                                             Contingent
          210 NORTH 1950 WEST
                                                                                Unliquidated
          SALT LAKE CITY, UT 84134-0300
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    State of Utah Income Tax
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $284.88
          UTAH STATE TAX COMMISSION                                             Contingent
          SALES TAX - M                                                         Unliquidated
          210 N. 1950 W.                                                        Disputed
          SALT LAKE CITY, UT 84134-0400
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.259
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $293.83
          VALLECITOS WATER DISTRICT                                             Contingent
          201 VALLECITOS DE ORO                                                 Unliquidated
          SAN MARCOS, CA 92069-1453                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $235.07
          VALLECITOS WATER DISTRICT                                             Contingent
          201 VALLECITOS DE ORO                                                 Unliquidated
          SAN MARCOS, CA 92069-1453
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 493 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 610 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.260
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $226,780.25
          VALLEJO CC LLC
          ATTN: MIKE CAMPBELL                                                   Contingent
          C/O PANORAMA PROPERTY MANAGEMENT                                      Unliquidated
          5500 EAST YALE AVE                                                    Disputed
          DENVER, CO 80222
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.260
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,506.44
          VALLEJO CC LLC
          ATTN: MIKE CAMPBELL                                                   Contingent
          C/O PANORAMA PROPERTY MANAGEMENT                                      Unliquidated
          5500 EAST YALE AVE                                                    Disputed
          DENVER, CO 80222
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.260
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $186.29
          VALLEY WEST REFUSE                                                    Contingent
          PO BOX 5187                                                           Unliquidated
          ALOHA, OR 97006
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $261,274.23
          VAN NESS POST CENTER LLC
          ATTN: NORMAN DITO                                                     Contingent
          EAST WEST BANK                                                        Unliquidated
          ITF COLLIERS INTERNATIONAL                                            Disputed
          SAN FRANCISCO, CA 94133
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.260
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,874.01
          VAN NESS POST CENTER LLC
          ATTN: NORMAN DITO                                                     Contingent
          EAST WEST BANK                                                        Unliquidated
          ITF COLLIERS INTERNATIONAL                                            Disputed
          SAN FRANCISCO, CA 94133
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.260
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $189,934.89
          VANN INVESTMENTS GENERAL
          PARTNERSHIP                                                           Contingent
          ATTN: EILEEN RANDELL                                                  Unliquidated
          14814 GILES ROAD                                                      Disputed
          OMAHA, NE 68138
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 494 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 611 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.260
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $112,892.84
          VANN INVESTMENTS GENERAL
          PARTNERSHIP                                                           Contingent
          ATTN: EILEEN RANDELL                                                  Unliquidated
          14814 GILES ROAD                                                      Disputed
          OMAHA, NE 68138
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.260
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,345.77
          VANN REALTY CO                                                        Contingent
          14814 GILES ROAD                                                      Unliquidated
          OMAHA, NE 68138                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,374.58
          VANTAGE CONSTRUCTION COMPANY                                          Contingent
          ATTN: DIANE NEUROTH                                                   Unliquidated
          507 FEE FEE ROAD                                                      Disputed
          MARYLAND HEIGHTS, MO 63043
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.261
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,204.24
          VANTAGE CONSTRUCTION COMPANY                                          Contingent
          ATTN: DIANE NEUROTH
                                                                                Unliquidated
          507 FEE FEE ROAD
          MARYLAND HEIGHTS, MO 63043                                            Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Construction
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.261
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,758.30
          VANTAGE LAW GROUP PLLC                                                Contingent
          125 SE MAIN STREET                                                    Unliquidated
          SUITE 250
                                                                                Disputed
          MINNEAPOLIS, MN 55414
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.261
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $87,842.45
          VARIOUS MEMBERS                                                       Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Refunds to members to be paid by check
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 495 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 612 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.261
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          VEACH,JONNIE NORMAN                                                   Contingent
          11160 BROOKE DRIVE #40413                                             Unliquidated
          SAN DIEGO, CA 92126
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,663.55
          VEGA US LLC                                                           Contingent
          ATTN: DWAYNE JORDAN                                                   Unliquidated
          101-3001 WAYBURNE DRIVE                                               Disputed
          BURNABY, BC V5G 4WE CANADA
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.261
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,257.90
          VENABLE LLP                                                           Contingent
          750 E. PRATT STREET                                                   Unliquidated
          SUITE 900
                                                                                Disputed
          BALTIMORE, MD 21202
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.261
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,907.82
          VENTURA COUNTY                                                        Contingent
          TAX COLLECTOR                                                         Unliquidated
          LAWRENCE L. MATHENEY                                                  Disputed
          VENTURA, CA 93009-1290
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.261
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,068.11
          VENTURA WATER                                                         Contingent
          PO BOX 612770                                                         Unliquidated
          SAN JOSE, CA 95161-2770
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $337,973.76
          VEREIT REAL ESTATE LP
          ATTN: ALEX OLLDASHI                                                   Contingent
          ID: VR0080 CCPT III LOCKBOX 3                                         Unliquidated
          P.O. BOX 732931                                                       Disputed
          DALLAS, TX 75373-2931
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 496 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 613 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.261
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $64,088.83
          VEREIT REAL ESTATE LP                                                 Contingent
          ID: VR0080 CCPT III LOCKBOX 3                                         Unliquidated
          P.O. BOX 732931
                                                                                Disputed
          DALLAS, TX 75373-2931
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.262
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $6,126,025.36
          VERITAS MEDIA GROUP LLC
          ATTN: JASON BALLANCE                                                  Contingent
          1111 BROADWAY                                                         Unliquidated
          3RD FLOOR                                                             Disputed
          OAKLAND, CA 94607
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.262
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,593.50
          VERITAS MEDIA GROUP LLC
          ATTN: JASON BALLANCE                                                  Contingent
          1111 BROADWAY                                                         Unliquidated
          3RD FLOOR                                                             Disputed
          OAKLAND, CA 94607
                                                                             Basis for the claim:    Marketing services - new club opening
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.262
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,897.75
          VERITAS MEDIA GROUP LLC
          ATTN: JASON BALLANCE                                                  Contingent
          1111 BROADWAY                                                         Unliquidated
          3RD FLOOR                                                             Disputed
          OAKLAND, CA 94607
                                                                             Basis for the claim:    Marketing services - new club opening
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.262
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,540.00
          VERITAS MEDIA GROUP LLC
          ATTN: JASON BALLANCE                                                  Contingent
          1111 BROADWAY                                                         Unliquidated
          3RD FLOOR                                                             Disputed
          OAKLAND, CA 94607
                                                                             Basis for the claim:    Marketing services - new club opening
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.262
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,968.86
          VERITAS MEDIA GROUP LLC
          ATTN: JASON BALLANCE                                                  Contingent
          1111 BROADWAY                                                         Unliquidated
          3RD FLOOR                                                             Disputed
          OAKLAND, CA 94607
                                                                             Basis for the claim:    Marketing services - new club opening
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 497 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 614 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.262
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,858.00
          VERITAS MEDIA GROUP LLC
          ATTN: JASON BALLANCE                                                  Contingent
          1111 BROADWAY                                                         Unliquidated
          3RD FLOOR                                                             Disputed
          OAKLAND, CA 94607
                                                                             Basis for the claim:    Marketing services - new club opening
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.262
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,480.00
          VERITAS MEDIA GROUP LLC
          ATTN: JASON BALLANCE                                                  Contingent
          1111 BROADWAY                                                         Unliquidated
          3RD FLOOR                                                             Disputed
          OAKLAND, CA 94607
                                                                             Basis for the claim:    Marketing services - new club opening
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.262
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,520.90
          VERITAS MEDIA GROUP LLC
          ATTN: JASON BALLANCE                                                  Contingent
          1111 BROADWAY                                                         Unliquidated
          3RD FLOOR                                                             Disputed
          OAKLAND, CA 94607
                                                                             Basis for the claim:    Marketing services - new club opening
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.262
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,123.10
          VERITAS MEDIA GROUP LLC
          ATTN: JASON BALLANCE                                                  Contingent
          1111 BROADWAY                                                         Unliquidated
          3RD FLOOR                                                             Disputed
          OAKLAND, CA 94607
                                                                             Basis for the claim:    Marketing services - new club opening
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.262
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $99,095.41
          VERIZON                                                               Contingent
          PO BOX 2450                                                           Unliquidated
          SPOKANE, WA 99210-2450
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60.68
          VERIZON                                                               Contingent
          PO BOX 2450                                                           Unliquidated
          SPOKANE, WA 99210-2450
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telecom
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 498 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 615 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.263
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,933.43
          VERIZON BUSINESS                                                      Contingent
          P.O. BOX 660072                                                       Unliquidated
          DALLAS, TX 75266-0072
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telecom
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,113.48
          VERIZON BUSINESS                                                      Contingent
          P.O. BOX 660072                                                       Unliquidated
          DALLAS, TX 75266-0072
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $63,608.69
          VERIZON COMMUNICATIONS INC
          ATTN: DALE MILLER                                                     Contingent
          1095 AVENUE OF THE AMERICAS                                           Unliquidated
          8TH FLOOR                                                             Disputed
          NEW YORK, NY 10036
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.263
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $477.84
          VERIZON WIRELESS                                                      Contingent
          P.O. BOX 4001                                                         Unliquidated
          INGLEWOOD, CA 90313-4001
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5.25
          VERMONT STATE TREASURER                                               Contingent
          UNCLAIMED PROPERTY DIVISION                                           Unliquidated
          PAVILION BUILDING                                                     Disputed
          MONTPELIER, VT 05609-6200
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.263
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $785.34
          VERTICAL TECHNOLOGIES
          ATTN: CHRISTINA DRUMMOND                                              Contingent
          1024-D KIKOWAENA PLACE                                                Unliquidated
          STE D                                                                 Disputed
          HONOLULU, HI 96819
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 499 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 616 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.263
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $280.00
          VERTICAL TECHNOLOGIES
          ATTN: CHRISTINA DRUMMOND                                              Contingent
          1024-D KIKOWAENA PLACE                                                Unliquidated
          STE D                                                                 Disputed
          HONOLULU, HI 96819
                                                                             Basis for the claim:    Purchase of fixed assets
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.263
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $112,430.96
          VESTAR CA XXI LLC
          ATTN: DAN DUNCAN                                                      Contingent
          2425 E CAMELBACK RD                                                   Unliquidated
          STE 750                                                               Disputed
          PHOENIX, AZ 85016
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.263
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $88,388.01
          VESTAR CA XXI LLC
          ATTN: DAN DUNCAN                                                      Contingent
          2425 E CAMELBACK RD                                                   Unliquidated
          STE 750                                                               Disputed
          PHOENIX, AZ 85016
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.264
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,312.25
          VESTAR CA XXI LLC
          ATTN: DAN DUNCAN                                                      Contingent
          2425 E CAMELBACK RD                                                   Unliquidated
          STE 750                                                               Disputed
          PHOENIX, AZ 85016
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.264
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $141,212.43
          VF4 CRYSTAL LAKE LLC
          ATTN: CRYSTAL GRIMES                                                  Contingent
          C/O HORIZON PROPERTIES AS AGENT                                       Unliquidated
          18610 NW 87TH AVENUE                                                  Disputed
          HIALEAH, FL 33015
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.264
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $69,391.85
          VF4 CRYSTAL LAKE, LLC
          C/O HORIZON PROPERTIES, AS AGENT                                      Contingent
          18610 NW 87TH AVENUE                                                  Unliquidated
          SUITE 204                                                             Disputed
          HIALEAH, FL 33015
                                                                             Basis for the claim:    Rent accrual
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 500 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 617 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.264
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $57,035.00
          VIA TECHNICAL LLC
          ATTN: JAMES PRICE                                                     Contingent
          591 CAMINO DE LA REINA                                                Unliquidated
          # 929                                                                 Disputed
          SAN DIEGO, CA 92108
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.264
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,155.00
          VIA TECHNICAL LLC                                                     Contingent
          591 CAMINO DE LA REINA                                                Unliquidated
          # 929
                                                                                Disputed
          SAN DIEGO, CA 92108
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.264
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $66.97
          VICTOR VALLEY WATER DISTRICT                                          Contingent
          17185 YUMA STREET                                                     Unliquidated
          VICTORVILLE, CA 92392
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,919.26
          VICTORY PEST SOLUTIONS
          ATTN: JILL VENTURINI                                                  Contingent
          315 WOOTTON STREET                                                    Unliquidated
          SUITE B                                                               Disputed
          BOONTON, NJ 07005
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.264
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,822.58
          VILLAGE FV LTD
          ATTN: KYLE WILLIAMS                                                   Contingent
          2000 MCKINNEY AVE                                                     Unliquidated
          SUITE 1000                                                            Disputed
          DALLAS, TX 75201
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.264
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $173,743.42
          VILLAGE HILLCREST PARTNERS LP                                         Contingent
          SPECTRUM PROPERTIES-                                                  Unliquidated
          VILLAGE HILLCREST                                                     Disputed
          LOS ANGELES, CA 90051-5678
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 501 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 618 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.264
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $173,590.84
          VILLAGE HILLCREST PARTNERS LP                                         Contingent
          SPECTRUM PROPERTIES-                                                  Unliquidated
          VILLAGE HILLCREST
                                                                                Disputed
          LOS ANGELES, CA 90051-5678
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.265
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,622.00
          VILLAGE HILLCREST PARTNERS LP                                         Contingent
          SPECTRUM PROPERTIES-                                                  Unliquidated
          VILLAGE HILLCREST
                                                                                Disputed
          LOS ANGELES, CA 90051-5678
          Date(s) debt was incurred
                                                                             Basis for the claim:    Parking
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.265
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,908.77
          VILLAGE HILLCREST PARTNERS LP                                         Contingent
          SPECTRUM PROPERTIES-                                                  Unliquidated
          VILLAGE HILLCREST
                                                                                Disputed
          LOS ANGELES, CA 90051-5678
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.265
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $306.23
          VILLAGE OF CAROL STREAM                                               Contingent
          500 N. GARY AVENUE                                                    Unliquidated
          CAROL STREAM, IL 60188-1899
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $915.00
          VILLAGE OF SCHAUMBURG                                                 Contingent
          FINANCE DEPARTMENT                                                    Unliquidated
          101 SCHAUMBURG COURT
                                                                                Disputed
          SCHAUMBURG, IL 60193
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.265
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,343.20
          VIRTUAL WINDOW                                                        Contingent
          ATTN: ANDREW SHERMAN                                                  Unliquidated
          6401 HILLMEAD RD                                                      Disputed
          BETHESDA, MD 20817
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.265
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,734.08
          VISION SERVICE PLAN - (CA)                                            Contingent
          PO BOX 45210                                                          Unliquidated
          SAN FRANCISCO, CA 94145-5210                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 502 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 619 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.265
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,856.93
          VISTA IRRIGATION DISTRICT                                             Contingent
          1391 ENGINEER STREET                                                  Unliquidated
          VISTA, CA 92083
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,440.69
          VITAL MECHANICAL SERVICE, INC                                         Contingent
          ATTN: LORI CLINE                                                      Unliquidated
          1420 MAPLE AVE SW                                                     Disputed
          RENTON, WA 98057
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.265
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,723.68
          VMI SPORTS                                                            Contingent
          ATTN: FRANK FENIMORE                                                  Unliquidated
          100 B TEC STREET                                                      Disputed
          HICKSVILLE, NY 11801
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.265
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $403,039.25
          VNO WAYNE TOWNE CENTER LLC                                            Contingent
          ATTN: VIVIANA QUINTANA                                                Unliquidated
          210 ROUTE 4 EAST                                                      Disputed
          PARAMUS, NJ 07652
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.266
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $138,892.89
          VNO WAYNE TOWNE CENTER LLC                                            Contingent
          P.O. BOX 416412                                                       Unliquidated
          BOSTON, MA 02241-6412
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $262.86
          VOGT NATHAN                                                           Contingent
          19314 E PURDUE CIR                                                    Unliquidated
          AURORA, CO 80013-4512
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 503 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 620 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.266
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,114.41
          VOORAY INTERNATIONAL INC
          ATTN: BRAD STAPLES                                                    Contingent
          VOORAY OFFICES                                                        Unliquidated
          990 SOUTH MAIN STREET                                                 Disputed
          LOGAN, UT 84321
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.266
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $64,239.56
          VOP LP
          C/O CONNECTED MANAGEMENT                                              Contingent
          SERVICES, LLC                                                         Unliquidated
          P.O. BOX 847630                                                       Disputed
          DALLAS, TX 75284-7630
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.266
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,933.35
          VOP LP
          C/O CONNECTED MANAGEMENT                                              Contingent
          SERVICES, LLC                                                         Unliquidated
          P.O. BOX 847630                                                       Disputed
          DALLAS, TX 75284-7630
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.266
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,291.29
          VORTEX INDUSTRIES, INC.
          ATTN: ANDREA HILBERS;MEREDITH
          BROWN                                                                 Contingent
          FILE 1095                                                             Unliquidated
          1801 W OLYMPIC BLVD                                                   Disputed
          PASADENA, CA 91199-1095
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.266
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,778.00
          VORTEX INDUSTRIES, INC.
          ATTN: ANDREA HILBERS;MEREDITH
          BROWN                                                                 Contingent
          FILE 1095                                                             Unliquidated
          1801 W OLYMPIC BLVD                                                   Disputed
          PASADENA, CA 91199-1095
                                                                             Basis for the claim:    Purchase of fixed assets
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.266
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $913.30
          VORTEX INDUSTRIES, INC.
          ATTN: ANDREA HILBERS;MEREDITH
          BROWN                                                                 Contingent
          FILE 1095                                                             Unliquidated
          1801 W OLYMPIC BLVD                                                   Disputed
          PASADENA, CA 91199-1095
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 504 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 621 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.266
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $722,627.99
          VPX SPORTS                                                            Contingent
          ATTN: MICHAEL FABIANO                                                 Unliquidated
          P.O. BOX 740930                                                       Disputed
          ATLANTA, GA 30374-0930
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.266
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,380.19
          W FRITZ CONSULTING                                                    Contingent
          ATTN: WENDY FRITZ                                                     Unliquidated
          836 KIT LANE                                                          Disputed
          HUDSON, WI 54013
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.267
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $314,609.69
          W GL OCEAN AVENUE LB HOLDINGS VII
          LLC
          ATTN: JAMIE DEIDRICH                                                  Contingent
          P.O. BOX 60247-0247                                                   Unliquidated
          ATTN: ONE WORLD TRADE CENTER                                          Disputed
          LOS ANGELES, CA 90060-0247
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.267
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $89,434.01
          W GL OCEAN AVENUE LB HOLDINGS VII
          LLC
          ATTN: JAMIE DEIDRICH                                                  Contingent
          P.O. BOX 60247-0247                                                   Unliquidated
          ATTN: ONE WORLD TRADE CENTER                                          Disputed
          LOS ANGELES, CA 90060-0247
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.267
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,351.61
          W GL OCEAN AVENUE LB HOLDINGS VII
          LLC
          ATTN: JAMIE DEIDRICH                                                  Contingent
          P.O. BOX 60247-0247                                                   Unliquidated
          ATTN: ONE WORLD TRADE CENTER                                          Disputed
          LOS ANGELES, CA 90060-0247
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.267
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71.97
          WALKER TIMOTHY                                                        Contingent
          8925 SUNVIEW DR.                                                      Unliquidated
          FORT WORTH, TX 76108
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 505 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 622 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.267
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,672.60
          WALNUT CREEK 2890 LLC                                                 Contingent
          ATTN: MARIA NUNEZ                                                     Unliquidated
          P.O. BOX 1148                                                         Disputed
          MILL VALLEY, CA 94942-1148
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.267
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $183,531.24
          WALNUT CREEK HOLDINGS INC
          ATTN: REBECCA HALL                                                    Contingent
          FBO LAGUNA VILLAGE INVESTORS LLC                                      Unliquidated
          P.O. BOX 905                                                          Disputed
          CONCORD, CA 94522
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.267
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $82.53
          WALNUT VALLEY WATER DISTRICT                                          Contingent
          271 SOUTH BREA CANYON RD                                              Unliquidated
          WALNUT, CA 91789
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,200.00
          WALT DISNEY PARKS & RESORTS US INC                                    Contingent
          ATTN: MAGDIEL REYES                                                   Unliquidated
          P.O. BOX 733121                                                       Disputed
          DALLAS, TX 75373-3121
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.267
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,659.44
          WASHINGTON GAS                                                        Contingent
          101 CONSTITUTION AVENUE                                               Unliquidated
          WASHINGTON, DC 20080
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $409.67
          WASHINGTON GAS                                                        Contingent
          101 CONSTITUTION AVENUE                                               Unliquidated
          WASHINGTON, DC 20080
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 506 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 623 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.268
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $438.72
          WASHINGTON STATE DEPT OF REVENUE                                      Contingent
          20292 AVE PUESTA DEL SOL                                              Unliquidated
          YORBA LINDA, CA 92886                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,794.41
          WASHOE COUNTY TREASURER                                               Contingent
          P.O. BOX 30039                                                        Unliquidated
          RENO, NV 89520-3039                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $144.15
          WASHOE COUNTY TREASURER                                               Contingent
          P.O. BOX 30039                                                        Unliquidated
          RENO, NV 89520-3039
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,838.87
          WASTE CONNECTIONS, INC. - VANCOUVER
          ATTN: SHARON SWANSON                                                  Contingent
          VANCOVER DISTRICT 2010                                                Unliquidated
          PO BOX 60248                                                          Disputed
          LOS ANGELES, CA 90060-0248
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.268
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,453.36
          WASTE CONNECTIONS, INC. - VANCOUVER                                   Contingent
          VANCOVER DISTRICT 2010                                                Unliquidated
          PO BOX 60248
                                                                                Disputed
          LOS ANGELES, CA 90060-0248
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.268
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $280.04
          WASTE CONNECTIONS, INC. - VANCOUVER                                   Contingent
          VANCOVER DISTRICT 2010                                                Unliquidated
          PO BOX 60248
                                                                                Disputed
          LOS ANGELES, CA 90060-0248
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.268
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,165.17
          WASTE CONNECTIONS, INC.-VANCOUVER                                     Contingent
          VANCOVER DISTRICT 2010                                                Unliquidated
          PO BOX 60248
                                                                                Disputed
          LOS ANGELES, CA 90060-0248
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 507 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 624 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name


 3.268
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $107.88
          WASTE MANAGEMENT                                                      Contingent
          DEFFENBAUGH INDUSTRIES                                                Unliquidated
          PO BOX 9001054
                                                                                Disputed
          LOUISVILLE, KY 40290-1054
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.268
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $116,233.16
          WASTE MANAGEMENT - LA DISTRICT                                        Contingent
          P.O. BOX 980968 ,                                                     Unliquidated
          W. SACRAMENTO, CA 95798-0968                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,744.24
          WASTE MANAGEMENT - LA DISTRICT                                        Contingent
          P.O. BOX 980968                                                       Unliquidated
          W. SACRAMENTO, CA 95798-0968
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $670.53
          WASTE MANAGEMENT - LA DISTRICT                                        Contingent
          P.O. BOX 980968                                                       Unliquidated
          W. SACRAMENTO, CA 95798-0968
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,332.95
          WASTE MANAGEMENT OF NEBRASKA                                          Contingent
          PO BOX 9001054                                                        Unliquidated
          LOUISVILLE, KY 40290-1054                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,606.29
          WASTE MANAGEMENT OF NEBRASKA                                          Contingent
          PO BOX 9001054                                                        Unliquidated
          LOUISVILLE, KY 40290-1054
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $255.43
          WASTE MANAGEMENT-TEXAS                                                Contingent
          PO BOX 660345                                                         Unliquidated
          DALLAS, TX 75266
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 508 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 625 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.269
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,074.44
          WATCHLIGHT CORPORATION                                                Contingent
          ATTN: APRIL WOZNIAK                                                   Unliquidated
          111 S. MARSHALL AVENUE                                                Disputed
          EL CAJON, CA 92020
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.269
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $96.60
          WATCHLIGHT CORPORATION                                                Contingent
          ATTN: APRIL WOZNIAK                                                   Unliquidated
          111 S. MARSHALL AVENUE
                                                                                Disputed
          EL CAJON, CA 92020
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.269
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,870.00
          WATERINMOTION                                                         Contingent
          ATTN: SANDRA DISCEPOLO                                                Unliquidated
          3675 COMMERCIAL AVE                                                   Disputed
          NORTHBROOK, IL 60062
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.269
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $96,451.00
          WATERTIGHT PLUMBING, INC.                                             Contingent
          ATTN: MARK MCVAY                                                      Unliquidated
          16462 GOTHARD STREET, SUITE D                                         Disputed
          HUNTINGTON BEACH, CA 92647
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.269
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $705.00
          WATERTIGHT PLUMBING, INC.                                             Contingent
          ATTN: MARK MCVAY                                                      Unliquidated
          16462 GOTHARD STREET, SUITE D
                                                                                Disputed
          HUNTINGTON BEACH, CA 92647
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.269
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $123,399.12
          WATUMULL PROPERTIES CORP.                                             Contingent
          307 LEWERS STREET, SIXTH FLOOR                                        Unliquidated
          HONOLULU, HI 96815                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $450.00
          WAYNE TOWNSHIP HEALTH DEPARTMENT                                      Contingent
          475 VALLEY ROAD                                                       Unliquidated
          WAYNE, NJ 07470
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 509 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 626 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.270
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $286,301.80
          WCH PRECISION COLOR INC                                               Contingent
          ATTN: SUSAN HAYNIE                                                    Unliquidated
          1916 VAL VERDE DR.                                                    Disputed
          AUSTIN, TX 78732
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.270
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,850.00
          WCH PRECISION COLOR INC                                               Contingent
          ATTN: SUSAN HAYNIE                                                    Unliquidated
          1916 VAL VERDE DR.
                                                                                Disputed
          AUSTIN, TX 78732
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.270
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $213,884.76
          WCSC LLC                                                              Contingent
          MSC 61461                                                             Unliquidated
          P.O. BOX 1300                                                         Disputed
          HONOLULU, HI 96807-1300
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.270
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,939.20
          WCSC LLC                                                              Contingent
          MSC 61461                                                             Unliquidated
          P.O. BOX 1300
                                                                                Disputed
          HONOLULU, HI 96807-1300
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.270
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $251,484.93
          WEATHERBY REALTY INC                                                  Contingent
          PO BOX 49289                                                          Unliquidated
          LOS ANGELES, CA 90025                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $69,282.17
          WEATHERBY REALTY INC                                                  Contingent
          PO BOX 49289                                                          Unliquidated
          LOS ANGELES, CA 90025
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 510 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 627 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.270
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          WEBTONE PRODUCTIONS
          ATTN: GREG WEBER                                                      Contingent
          PROCESSING CENTER                                                     Unliquidated
          1840 41ST AVE #102-269                                                Disputed
          CAPITOLA, CA 95010
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.270
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          WEIMING MAO                                                           Contingent
          8949 DONAKER STR.                                                     Unliquidated
          SAN DIEGO, CA 92129                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $226,621.38
          WEINGARTEN NOSTAT INC                                                 Contingent
          PO BOX 924133                                                         Unliquidated
          HOUSTON, TX 77292-4133                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $87,507.56
          WEINGARTEN NOSTAT INC                                                 Contingent
          P.O. BOX 301074                                                       Unliquidated
          DALLAS, TX 75303-1074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $39,930.07
          WEINGARTEN NOSTAT INC                                                 Contingent
          PO BOX 301074                                                         Unliquidated
          DALLAS, TX 75303-1074
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,352.18
          WEINGARTEN NOSTAT INC                                                 Contingent
          PO BOX 301074                                                         Unliquidated
          DALLAS, TX 75303-1074
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $338,983.49
          WEINGARTEN REALTY INVESTORS                                           Contingent
          ATTN: BETH WILLIAMSON                                                 Unliquidated
          P.O. BOX 924133                                                       Disputed
          HOUSTON, TX 77292
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 511 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 628 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.271
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $20,252.37
          WEINGARTEN REALTY INVESTORS                                           Contingent
          P.O. BOX 301074                                                       Unliquidated
          DALLAS, TX 75303-1074
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $25,777.00
          WELD COUNTY TREASURER                                                 Contingent
          1400 N. 17TH AVENUE                                                   Unliquidated
          GREELEY, CO 80632
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $52,630.86
          WELLS FARGO BANK 24HF - COMMERCIAL                                    Contingent
          CARD                                                                  Unliquidated
          333 MARKET STREET, 14TH FLOOR                                         Disputed
          SAN FRANCISCO, CA 94105-2102
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.271
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $521,555,555.50
          WELLS FARGO, NATIONAL ASSOCIATION
          ATTN: CORPORATE TRUST SERVICES -                                      Contingent
          ADMINIS                                                               Unliquidated
          150 EAST 42ND ST                                                      Disputed
          NEW YORK, NY 10017
                                                                             Basis for the claim:    8.000% Senior Unsecured Notes due 2022
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.271
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $45,680.01
          WENDEL ROSEN BLACK AND DEAN LLP                                       Contingent
          1111 BROADWAY, 24TH FLOOR                                             Unliquidated
          OAKLAND, CA 94607
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,175.60
          WENDEL ROSEN BLACK AND DEAN LLP                                       Contingent
          ATTN: E. ALEXANDER X307                                               Unliquidated
          1111 BROADWAY, 24TH FLOOR                                             Disputed
          OAKLAND, CA 94607
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 512 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 629 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.272
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $59,975.00
          WEST COAST COMMERCIAL POOLS INC                                       Contingent
          2491 N COTTAGE HILL DR                                                Unliquidated
          ORANGE, CA 92867                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $148.67
          WEST COAST FIRE & INTEGRATION INC
          ATTN: BRANDON VINCENT                                                 Contingent
          COLTON                                                                Unliquidated
          1474 N. MILLER DR.                                                    Disputed
          COLTON, CA 92324
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.272
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $475,624.34
          WEST VALLEY OWNER LLC
          ATTN: PATRICIA                                                        Contingent
          2049 CENTURY PARK EAST                                                Unliquidated
          41ST FLOOR                                                            Disputed
          LOS ANGELES, CA 90067
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.272
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $293,270.56
          WEST VALLEY OWNER LLC
          ATTN: PATRICIA                                                        Contingent
          2049 CENTURY PARK EAST                                                Unliquidated
          41ST FLOOR                                                            Disputed
          LOS ANGELES, CA 90067
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.272
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,395.41
          WEST VALLEY OWNER LLC
          ATTN: PATRICIA                                                        Contingent
          2049 CENTURY PARK EAST                                                Unliquidated
          41ST FLOOR                                                            Disputed
          LOS ANGELES, CA 90067
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.272
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $215.28
          WEST VALLEY WATER DISTRICT                                            Contingent
          855 WEST BASELINE                                                     Unliquidated
          RIALTO, CA 92377-0920                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 513 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 630 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.272
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $93.29
          WEST VALLEY WATER DISTRICT                                            Contingent
          855 WEST BASELINE                                                     Unliquidated
          RIALTO, CA 92377-0920
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $205,922.26
          WESTLAKE DMD LLC                                                      Contingent
          520 S. EL CAMINO REAL 9TH FLOOR                                       Unliquidated
          SAN MATEO, CA 94402                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,137.08
          WESTLAKE DMD LLC                                                      Contingent
          520 S. EL CAMINO REAL 9TH FLOOR                                       Unliquidated
          SAN MATEO, CA 94402
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,541.00
          WESTLAKE DMD LLC                                                      Contingent
          520 S. EL CAMINO REAL 9TH FLOOR                                       Unliquidated
          SAN MATEO, CA 94402
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Security Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $315.92
          WESTLAKE MUD #1                                                       Contingent
          BARBARA WHEELER, TAX A/C                                              Unliquidated
          6935 BARNEY ROAD, SUITE 110
                                                                                Disputed
          HOUSTON, TX 77092-4443
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.273
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $184,537.50
          WESTMAR I DFW LLC
          ATTN: RUDY NODAR                                                      Contingent
          C/O MCGINITY & NODAR LLP                                              Unliquidated
          11300 WEST OLYMPIC BOULEVARD                                          Disputed
          LOS ANGELES, CA 90064
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 514 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 631 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.273
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $91,881.93
          WESTMAR I DFW LLC
          ATTN: RUDY NODAR                                                      Contingent
          C/O MCGINITY & NODAR LLP                                              Unliquidated
          11300 WEST OLYMPIC BOULEVARD                                          Disputed
          LOS ANGELES, CA 90064
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.273
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $415,924.40
          WESTMAR II LP
          ATTN: KATE HSU                                                        Contingent
          11300 WEST OLYMPIC BLVD                                               Unliquidated
          SUITE 620                                                             Disputed
          LOS ANGELES, CA 90064
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.273
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,434.23
          WESTMAR II LP                                                         Contingent
          11300 WEST OLYMPIC BLVD                                               Unliquidated
          SUITE 620
                                                                                Disputed
          LOS ANGELES, CA 90064
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.273
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $507.23
          WESTMINSTER                                                           Contingent
          FINANCE                                                               Unliquidated
          4800 W 92ND AVENUE
                                                                                Disputed
          WESTMINSTER, CO 80030-6399
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.273
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $115,527.00
          WEXER HOLDING LLC
          ATTN: KIM NAPOLITANO                                                  Contingent
          3477 CORPORATE PARKWAY                                                Unliquidated
          SUITE 100                                                             Disputed
          CENTER VALLEY, PA 18034
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.273
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,192.40
          WHALEN,CHERYL                                                         Contingent
          3-17 SUMMIT AVENUE                                                    Unliquidated
          FAIR LAWN, NJ 07410
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Severance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 515 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 632 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.273
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $207.47
          WHEELER DOUGLAS                                                       Contingent
          1619 LEATHERWOOD DR                                                   Unliquidated
          KATY, TX 77450
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $167.97
          WHITE CITY WATER IMPROVEMENT                                          Contingent
          DISTRICT                                                              Unliquidated
          999 EAST 9800 SOUTH
                                                                                Disputed
          SANDY, UT 84094-4066
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.274
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $575.92
          WHITTLE SIGNS                                                         Contingent
          ATTN: CHRISTY HA                                                      Unliquidated
          287 KALIHI STREET                                                     Disputed
          HONOLULU, HI 96819
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.274
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,335.02
          WHITTWOOD 1768 INC
          ATTN: ALLISON ALLEN                                                   Contingent
          500 NORTH BROADWAY SUITE 201                                          Unliquidated
          PO BOX 9010                                                           Disputed
          JERICHO, NY 11753
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.274
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,872.03
          WHITTWOOD 1768 INC
          ATTN: ALLISON ALLEN                                                   Contingent
          500 NORTH BROADWAY SUITE 201                                          Unliquidated
          PO BOX 9010                                                           Disputed
          JERICHO, NY 11753
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.274
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,066.36
          WHITTWOOD 1768, INC.                                                  Contingent
          500 NORTH BROADWAY                                                    Unliquidated
          STE 210, PO BOX 9010
                                                                                Disputed
          JERICHO, NY 11753
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unbilled CIP Increases
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 516 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 633 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.274
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $832,785.40
          WIEDENBACH-BROWN CO., INC.                                            Contingent
          ATTN: SCOTT KING                                                      Unliquidated
          22901 LA PALMA AVENUE                                                 Disputed
          YORBA LINDA, CA 92887
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.274
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $75,196.46
          WILLIAMS CONSTRUCTION CORP                                            Contingent
          ATTN: CARRIE MARKLE                                                   Unliquidated
          2701 W MANSFIELD AVE                                                  Disputed
          ENGLEWOOD, CO 80110
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.274
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,058.00
          WILLIAMSON COUNTY TAX COLLECTOR                                       Contingent
          904 SOUTH MAIN STREET                                                 Unliquidated
          GEORGETOWN, TX 78626-5829
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $87,279.81
          WILMINGTON VICTORVILLE LLC
          ATTN: FREDERICK J. MENO                                               Contingent
          3511 W OLYMPIC BLVD                                                   Unliquidated
          SUITE 301                                                             Disputed
          LOS ANGELES, CA 90019
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.274
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,487.70
          WILMINGTON VICTORVILLE LLC                                            Contingent
          C/O THE WOODMONT COMPANY                                              Unliquidated
          2100 W. 7TH STREET
                                                                                Disputed
          FORT WORTH, TX 76107
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.274
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65.96
          WILMINGTON VICTORVILLE LLC                                            Contingent
          C/O THE WOODMONT COMPANY                                              Unliquidated
          2100 W. 7TH STREET
                                                                                Disputed
          FORT WORTH, TX 76107
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 517 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 634 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.275
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $143,168.68
          WILSON SIGN ART INC                                                   Contingent
          ATTN: MARK WILSON                                                     Unliquidated
          5848 VARNA AVE                                                        Disputed
          VALLEY GLEN, CA 91401
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.275
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,448.38
          WILSON SIGN ART INC                                                   Contingent
          ATTN: MARK WILSON                                                     Unliquidated
          5848 VARNA AVE
                                                                                Disputed
          VALLEY GLEN, CA 91401
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.275
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $194,343.83
          WKF, INC.                                                             Contingent
          P.O. BOX 31000                                                        Unliquidated
          HONOLULU, HI 96894-5484                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,670.07
          WKF, INC.                                                             Contingent
          P.O. BOX 31000                                                        Unliquidated
          HONOLULU, HI 96894-5484
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $227,110.34
          WMC FUND LLC
          ATTN: BRIANA VU                                                       Contingent
          1990 NE 163RD STREET                                                  Unliquidated
          STE 209                                                               Disputed
          NORTH MIAMI BEACH, FL 33162
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.275
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $340,603.73
          WOODBRIDGE AVENEL LLC
          ATTN: ANA GRULLON                                                     Contingent
          112 WEST 34TH STREET                                                  Unliquidated
          SUITE 2106                                                            Disputed
          NEW YORK, NY 10120
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 518 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 635 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.275
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $39,501.16
          WOODBRIDGE AVENEL LLC
          ATTN: ANA GRULLON                                                     Contingent
          112 WEST 34TH STREET                                                  Unliquidated
          SUITE 2106                                                            Disputed
          NEW YORK, NY 10120
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.275
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,574.00
          WOODLANDS METRO CENTER MUD                                            Contingent
          P.O. BOX 4901                                                         Unliquidated
          HOUSTON, TX 77210-4901
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $346,324.96
          WOODMORE TOWN CENTRE LLC                                              Contingent
          1919 WEST STREET                                                      Unliquidated
          SUITE 100                                                             Disputed
          ANNAPOLIS, MD 21401
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.275
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,712.41
          WOODMORE TOWN CENTRE LLC                                              Contingent
          1919 WEST STREET                                                      Unliquidated
          SUITE 100
                                                                                Disputed
          ANNAPOLIS, MD 21401
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.276
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,147.02
          WOODWAY USA                                                           Contingent
          ATTN: DAVID T. RUTLEDGE                                               Unliquidated
          W229 N591 FOSTER COURT                                                Disputed
          WAUKESHA, WI 53186
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.276
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,687.68
          WORLD AND MAIN CRANBURY LLC                                           Contingent
          ATTN: LESLIE DICKERT                                                  Unliquidated
          PO BOX 775843                                                         Disputed
          CHICAGO, IL 60677-5843
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 519 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 636 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.276
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $440,477.63
          WPC HOLDCO LLC
          ATTN: RAJ PRASHAD                                                     Contingent
          50 ROCKEFELLER PLAZA                                                  Unliquidated
          2ND FLOOR                                                             Disputed
          NEW YORK, NY 10020
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.276
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $75,514.70
          WPC HOLDCO LLC
          ATTN: RAJ PRASHAD                                                     Contingent
          50 ROCKEFELLER PLAZA                                                  Unliquidated
          2ND FLOOR                                                             Disputed
          NEW YORK, NY 10020
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.276
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,940.75
          WPC HOLDCO LLC
          ATTN: RAJ PRASHAD                                                     Contingent
          50 ROCKEFELLER PLAZA                                                  Unliquidated
          2ND FLOOR                                                             Disputed
          NEW YORK, NY 10020
                                                                             Basis for the claim:    Real Property Tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.276
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $130,183.33
          WRI SOUTHERN INDUSTRIAL POOL LLC                                      Contingent
          ATTN: BARBARA ZEYADA                                                  Unliquidated
          P.O. BOX 924133                                                       Disputed
          HOUSTON, TX 77292
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.276
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $279,697.14
          WRI WEST GATE SOUTH LP                                                Contingent
          PO BOX 301074                                                         Unliquidated
          DALLAS, TX 75303-1074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          WYNER CHIU                                                            Contingent
          2195 E 22ND ST #2J                                                    Unliquidated
          BROOKLYN, NY 11229                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Non-Qualififed Deferred Compensation Plan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 520 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 637 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.276
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,799.73
          XCEL ENERGY                                                           Contingent
          PO BOX 9477                                                           Unliquidated
          MINNEAPOLIS, MN 55484-9477
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $685.26
          XCEL ENERGY                                                           Contingent
          PO BOX 9477                                                           Unliquidated
          MINNEAPOLIS, MN 55484-9477
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $654.98
          XCEL ENERGY                                                           Contingent
          414 NICOLLET MALL                                                     Unliquidated
          MINNEAPOLIS, MN 55401                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $552.24
          XCEL ENERGY                                                           Contingent
          PO BOX 9477                                                           Unliquidated
          MINNEAPOLIS, MN 55484-9477
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,457.09
          XO COMMUNICATIONS SERVICES LLC                                        Contingent
          8871 S. SANDY PKWY, STE. 200                                          Unliquidated
          SANDY, UT 84070
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telecom
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,769.58
          XO COMMUNICATIONS SERVICES LLC                                        Contingent
          8871 S. SANDY PKWY, STE. 200                                          Unliquidated
          SANDY, UT 84070
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $39,748.33
          YELP INC                                                              Contingent
          ATTN: VANESSA SALVIEJO                                                Unliquidated
          PO BOX 204393
                                                                                Disputed
          DALLAS, TX 75320-4393
          Date(s) debt was incurred
                                                                             Basis for the claim:    Yelp social platform service fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 521 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 638 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.277
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,205.00
          YELP INC                                                              Contingent
          ATTN: VANESSA SALVIEJO                                                Unliquidated
          PO BOX 204393                                                         Disputed
          DALLAS, TX 75320-4393
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.277
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,935.40
          YESCO                                                                 Contingent
          6725 WEST CHICAGO STREET                                              Unliquidated
          CHANDLER, AZ 85226                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,043.20
          YESCO                                                                 Contingent
          6725 WEST CHICAGO STREET                                              Unliquidated
          CHANDLER, AZ 85226
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase of fixed assets
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $188,120.64
          YGNACIO CENTER OWNER LLC
          ATTN: KARI AYCOCK                                                     Contingent
          2800 POST OAK BLVD                                                    Unliquidated
          SUITE 4800                                                            Disputed
          HOUSTON, TX 77056
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.277
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $83,507.78
          YGNACIO CENTER OWNER LLC
          ATTN: KARI AYCOCK                                                     Contingent
          2800 POST OAK BLVD                                                    Unliquidated
          SUITE 4800                                                            Disputed
          HOUSTON, TX 77056
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.278
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $92,268.31
          YIP HOLDINGS TWO LLC                                                  Contingent
          PO BOX 5161                                                           Unliquidated
          REDWOOD CITY, CA 94063                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 522 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                 Page 639 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.278
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,224.34
          YIP HOLDINGS TWO LLC                                                  Contingent
          PO BOX 5161                                                           Unliquidated
          REDWOOD CITY, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $230,795.23
          YNS ENTERPRISE NO 1 LLC                                               Contingent
          11799 SEBASTIAN WAY                                                   Unliquidated
          SUITE 105                                                             Disputed
          RANCHO CUCAMONGA, CA 91730
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.278
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,479.17
          YNS ENTERPRISE NO 1 LLC                                               Contingent
          11799 SEBASTIAN WAY                                                   Unliquidated
          SUITE 105
                                                                                Disputed
          RANCHO CUCAMONGA, CA 91730
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.278
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $196.51
          YORBA LINDA WATER DISTRICT                                            Contingent
          PO BOX 54348                                                          Unliquidated
          LOS ANGELES, CA 90054-0348
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49.60
          YOUNKER RIAN                                                          Contingent
          535 HICKORY LN                                                        Unliquidated
          PASADENA, CA 91103
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,540.69
          YOUR TRAINER INC                                                      Contingent
          ATTN: TIM SWETT                                                       Unliquidated
          1514 ROBERTS DRIVE                                                    Disputed
          JACKSONVILLE BEACH, FL 32250
                                                                             Basis for the claim:    Trade Related
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.278
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,872.64
          YOUR TRAINER INC                                                      Contingent
          1514 ROBERTS DRIVE                                                    Unliquidated
          JACKSONVILLE BEACH, FL 32250
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repairs & Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 523 of 524
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                                 Case 20-11561-KBO                       Doc 6         Filed 08/28/20                   Page 640 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                               Case number (if known)            20-11561
              Name

 3.278
 8         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $230.01
           ZIMBALDI ALPHONSO                                                    Contingent
           31 LAKEVIEW DR                                                       Unliquidated
           PUTNAM VALLEY, NY 10579
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.278
 9         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $113,568.30
           ZONE AIRE SYSTEMS INC                                                Contingent
           ATTN: MIKEAL JOSEPH                                                  Unliquidated
           140-18 FOCH BLVD                                                     Disputed
           JAMAICA, NY 11436
                                                                             Basis for the claim:    Trade Related
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.279
 0         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $100,000.00
           ZUORA INC
           ATTN: AN NGUYEN                                                      Contingent
           3050 S. DELAWARE STREET                                              Unliquidated
           SUITE 301                                                            Disputed
           SAN MATEO, CA 94403
                                                                             Basis for the claim:    Trade Related
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                           0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                 758,829,863.35

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                    758,829,863.35




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 524 of 524
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                                 Case 20-11561-KBO                    Doc 6         Filed 08/28/20      Page 641 of 976

 Fill in this information to identify the case:

 Debtor name         24 Hour Fitness USA, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         20-11561
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Lease Agreement for
             lease is for and the nature of               California Street Sport
             the debtor's interest                        dated 09/01/1994

                  State the term remaining                Undetermined
                                                                                        100 California Street LLC
             List the contract number of any                                            100 California Street, Suite 250
                   government contract                                                  San Francisco, CA 94111


 2.2.        State what the contract or                   Lessee for location at
             lease is for and the nature of               521 California Street
             the debtor's interest                        Sport dated 09/01/1994

                  State the term remaining                8/31/2024
                                                                                        100 California Street LLC
             List the contract number of any                                            100 California Street
                   government contract                                                  San Francisco, CA 94111-4505


 2.3.        State what the contract or                   Lease Agreement for
             lease is for and the nature of               Sutter-Montgomery
             the debtor's interest                        Sport dated 09/14/2005
                                                                                        111 Sutter Street Owner LP
                  State the term remaining                Undetermined                  c/o Paramount Group, Inc.
                                                                                        Attn: Property Manager
             List the contract number of any                                            111 Sutter Street Suite 350
                   government contract                                                  San Francisco, CA 94104


 2.4.        State what the contract or                   Lessee for location at
             lease is for and the nature of               435 Sutter/Montgomery
             the debtor's interest                        Sport dated 08/02/2005

                  State the term remaining                1/31/2031
                                                                                        111 Sutter Street Owner LP
             List the contract number of any                                            45 Montgomery Street
                   government contract                                                  San Francisco, CA 94104-4522




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 1 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 642 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   Lessee for location at
             lease is for and the nature of               594 East Arques Active
             the debtor's interest                        dated 11/01/1998

                  State the term remaining                5/31/2023
                                                                                         1211 E. Arques LP
             List the contract number of any                                             1211 E. Arques Avenue
                   government contract                                                   Sunnyvale, CA 94085-4702


 2.6.        State what the contract or                   Lease Agreement for
             lease is for and the nature of               Glendora Sport dated
             the debtor's interest                        06/29/2007

                  State the term remaining                Undetermined                   1301 East Gladstone Street Investors LLC
                                                                                         c/o Vestar, Attn: Property Manager
             List the contract number of any                                             7575 Carson Blvd.
                   government contract                                                   Long Beach, CA 90808


 2.7.        State what the contract or                   Lessee for location at
             lease is for and the nature of               910 Glendora Sport
             the debtor's interest                        dated 07/02/2007

                  State the term remaining                6/30/2022
                                                                                         1301 East Gladstone Street Investors LLC
             List the contract number of any                                             1357 E. Gladstone Avenue
                   government contract                                                   Glendora, CA 91740-5368


 2.8.        State what the contract or                   Lease Agreement for
             lease is for and the nature of               La Mirada Sport dated
             the debtor's interest                        02/01/2002

                  State the term remaining                Undetermined                   13395 Beach Blvd, LLC
                                                                                         Attn: Joy Lee
             List the contract number of any                                             22500 S. Tubeway Ave
                   government contract                                                   Commerce, CA 90040


 2.9.        State what the contract or                   Lessee for location at
             lease is for and the nature of               077 La Mirada Sport
             the debtor's interest                        dated 09/01/2002

                  State the term remaining                1/31/2022
                                                                                         13395 Beach Blvd, LLC
             List the contract number of any                                             13395 Beach Blvd.
                   government contract                                                   La Mirada, CA 90638-3553


 2.10.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Buffalo Grove
             the debtor's interest                        (Pipeline) dated               14 Dundee Rd LLC
                                                          12/31/2019                     Attn: Lew Kornberg
                  State the term remaining                Undetermined                   1 West Dundee Road
                                                                                         Suite 200
             List the contract number of any                                             Buffalo, IL 60089
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 2 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 643 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.11.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Ladera Ranch Sport
             the debtor's interest                        dated 06/15/2005
                                                                                         147 Metro, LLC
                  State the term remaining                Undetermined                   c/o Metro Commercial Realty Corporation
                                                                                         227 20th Street
             List the contract number of any                                             Suite 100
                   government contract                                                   Newport Beach, CA 92663


 2.12.       State what the contract or                   Lessee for location at
             lease is for and the nature of               053 Ladera Ranch
             the debtor's interest                        Sport dated 07/18/2005

                  State the term remaining                6/30/2025
                                                                                         147 Metro, LLC
             List the contract number of any                                             200 Corporate Drive
                   government contract                                                   Ladera Ranch, CA 92694-1275


 2.13.       State what the contract or                   Lessee for location at
             lease is for and the nature of               642 Englewood Cliffs
             the debtor's interest                        Super Sport dated
                                                          11/22/2014
                  State the term remaining                1/31/2030
                                                                                         150 SYLVAN AVENUE LLC - V0000413775
             List the contract number of any                                             150 Sylvan Avenue
                   government contract                                                   Englewood Cliffs, NJ 07632-2549


 2.14.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Englewood Cliffs Super
             the debtor's interest                        Sport dated 01/28/2015

                  State the term remaining                Undetermined                   150 Sylvan Avenue, LLC
                                                                                         c/o Joseph Klyde, Managing Memer
             List the contract number of any                                             10 Van Wagoner Drive
                   government contract                                                   Englewood Cliffs, NJ 07632-2111


 2.15.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Pembroke Pines
             the debtor's interest                        (Pipeline) dated Based
                                                          on LL/Permit Delivery          16000 PINES RETAIL INVESTMENTS, LLC
                  State the term remaining                Undetermined                   Attn: David Martin and Adam Adler
                                                                                         2665 South Bayshore Drive
             List the contract number of any                                             Suite 1020
                   government contract                                                   Coconut Grove, FL 33133


 2.16.       State what the contract or                   Lessee for location at         1601 PCH, LP
             lease is for and the nature of               097 Hermosa Beach              1601 Pacific Coast Highway
             the debtor's interest                        dated 07/25/2005               Suite 100
                                                                                         Hermosa Beach, CA 90254-3243
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 3 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 644 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                7/31/2025

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Hermosa Beach Super
             the debtor's interest                        Sport dated 07/26/2005

                  State the term remaining                Undetermined                   1601 PCH, LP
                                                                                         201 Wilshire Blvd
             List the contract number of any                                             2nd Floor
                   government contract                                                   Santa Monica, CA 90401


 2.18.       State what the contract or                   Lessee for location at
             lease is for and the nature of               540 Honolulu Super
             the debtor's interest                        Sport dated 04/01/1996

                  State the term remaining                12/31/2025
                                                                                         1680 Kapiolani, LLC
             List the contract number of any                                             1680 Kapiolani Blvd.
                   government contract                                                   Honolulu, HI 96814-3794


 2.19.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Honolulu Super Sport
             the debtor's interest                        dated 05/01/1999

                  State the term remaining                Undetermined
                                                                                         1680 Kapiolani, LLC
             List the contract number of any                                             3810 Katella Avenue
                   government contract                                                   Los Angeles, CA 90720


 2.20.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Encino Ventura
             the debtor's interest                        (Pipeline) dated Based
                                                          on LL/Permit Delivery          17017 Ventura, LLC
                  State the term remaining                Undetermined                   c/o TriStar Realty Group
                                                                                         17027 Ventura Blvd
             List the contract number of any                                             2nd Floor
                   government contract                                                   Encino, CA 91316


 2.21.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Ocean Avenue Sport
             the debtor's interest                        dated 12/08/1999

                  State the term remaining                Undetermined                   1830-1850 OCEAN AVENUE LLC
                                                                                         c/o Seligman Western Enterprises Ltd. II
             List the contract number of any                                             One Town Square, Suite 1913
                   government contract                                                   Southfield, MI 48076




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 4 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 645 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.22.       State what the contract or                   Lessee for location at
             lease is for and the nature of               539 Ocean Avenue
             the debtor's interest                        Sport dated 01/01/1996

                  State the term remaining                12/7/2029
                                                                                         1830-1850 OCEAN AVENUE LLC
             List the contract number of any                                             1850 Ocean Avenue
                   government contract                                                   San Francisco, CA 94112-1768


 2.23.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Torrance Del Amo
             the debtor's interest                        Super Sport dated
                                                          04/17/2019                     21515 Hawthorne Owner LLC
                  State the term remaining                Undetermined                   c/o The Muller Company
                                                                                         Attn: Brandon Muller
             List the contract number of any                                             18881 Von Karman Avenue
                   government contract                                                   Irvine, CA 92612


 2.24.       State what the contract or                   Lessee for location at
             lease is for and the nature of               397 Torrance Del Amo
             the debtor's interest                        Super Sport dated
                                                          04/20/2019
                  State the term remaining                4/30/2034
                                                                                         21515 Hawthorne Owner LLC
             List the contract number of any                                             21501 Torrance Blvd
                   government contract                                                   Torrance, CA 90503


 2.25.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Highway 249 (Compaq)
             the debtor's interest                        Sport dated 01/01/2001

                  State the term remaining                Undetermined
                                                                                         21614 Tomball LLC
             List the contract number of any                                             832 Southampton Drive
                   government contract                                                   Palo Alto, CA 94303


 2.26.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Valley Ranch Sport
             the debtor's interest                        dated 02/23/2007
                                                                                         24 BB Investments Partners LLP
                  State the term remaining                Undetermined                   18002280 Market Pl Boulevard Holdings LP
                                                                                         c/o The Woodmont Company
             List the contract number of any                                             2100 W. 7th Street
                   government contract                                                   Fort Worth, TX 76107


 2.27.       State what the contract or                   Lessee for location at
             lease is for and the nature of               687 Valley Ranch Sport
             the debtor's interest                        dated 02/23/2007

                  State the term remaining                5/31/2037                      24 BB Investments Partners, LLP
                                                                                         2280 Market Place Drive
             List the contract number of any                                             Irving, TX 75063-8073
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 5 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 646 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.28.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Carson Sport dated
             the debtor's interest                        12/03/2006
                                                                                         24 FIT, LLC
                  State the term remaining                Undetermined                   c/o NIBS Management, Inc.
                                                                                         Attn: Yakov Shuchatowitz
             List the contract number of any                                             14310 Ventura Blvd.
                   government contract                                                   Sherman Oaks, CA 91423


 2.29.       State what the contract or                   Lessee for location at
             lease is for and the nature of               192 Carson Sport dated
             the debtor's interest                        01/17/2007

                  State the term remaining                12/31/2021
                                                                                         24 FIT, LLC
             List the contract number of any                                             945 E. Dominguez Street
                   government contract                                                   Carson, CA 90746-7260


 2.30.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Arvada West 64th Ave
             the debtor's interest                        Super Sport dated
                                                          10/01/2018                     24 Hour Arvada LLLP
                  State the term remaining                Undetermined                   Gabe Arechaederra Acre Investment Co LLC
                                                                                         4683 Chabot Drive
             List the contract number of any                                             Suite 220
                   government contract                                                   Pleasanton, CA 94588


 2.31.       State what the contract or                   Lessee for location at
             lease is for and the nature of               386 Arvada West 64th
             the debtor's interest                        Ave SS dated
                                                          12/23/2017
                  State the term remaining                9/30/2038
                                                                                         24 Hour Arvada LLLP
             List the contract number of any                                             12680 West 64th Avenue
                   government contract                                                   Arvada, CO 80004-3806


 2.32.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Lee's Summit Sport
             the debtor's interest                        (Assigned) dated
                                                          12/07/2007
                  State the term remaining                2,755 Days                     24 LLC
                                                                                         c/o Armand Behpour
             List the contract number of any                                             427 Portluck Road
                   government contract                                                   Honolulu, HI 96825


 2.33.       State what the contract or                   Lessee for location at
             lease is for and the nature of               698 Lee's Summit Sport         24 LLC - V0000411285
             the debtor's interest                        (CLOSED) dated                 900 NE Deerbrook Street
                                                          12/07/2007                     Lee's Summit, MO 64086-8411
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 6 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 647 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                12/31/2027

             List the contract number of any
                   government contract


 2.34.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Mt. Prospect (Pipeline)
             the debtor's interest                        dated Based on
                                                          LL/Permit Delivery             24 Mount Prospect LLLP
                  State the term remaining                Undetermined                   Allan Chandler
                                                                                         4683 Chabot Drive
             List the contract number of any                                             Suite 220
                   government contract                                                   Pleasanton, CA 94588


 2.35.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Salem Sport dated
             the debtor's interest                        04/29/1995
                                                                                         24 Salem Partners LLC
                  State the term remaining                Undetermined                   Gabe Arechaederra
                                                                                         Acre Investment Company LLC
             List the contract number of any                                             4683 Chabot Drive Suite 220
                   government contract                                                   Pleasanton, CA 94588


 2.36.       State what the contract or                   Lessee for location at
             lease is for and the nature of               573 Salem Sport dated
             the debtor's interest                        02/01/1998

                  State the term remaining                4/30/2028
                                                                                         24 Salem Partners LLC
             List the contract number of any                                             451 Lancaster Drive NE
                   government contract                                                   Salem, OR 97301-4784


 2.37.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Atascocita Sport dated
             the debtor's interest                        07/21/2000

                  State the term remaining                Undetermined                   2ML Atascocita, LLC
                                                                                         Attn: Heather Goodman
             List the contract number of any                                             952 Echo Ln.
                   government contract                                                   Houston, TX 77024


 2.38.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Elgin & Louisiana
             the debtor's interest                        Super Sport dated
                                                          06/27/2008
                  State the term remaining                Undetermined                   3201 Louisiana LP
                                                                                         3201 Louisiana LLC
             List the contract number of any                                             PO Box 1328
                   government contract                                                   Houston, TX 77251




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 7 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 648 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.39.       State what the contract or                   Lessee for location at
             lease is for and the nature of               696 Elgin & Louisiana
             the debtor's interest                        Super Sport dated
                                                          06/27/2008
                  State the term remaining                6/30/2023
                                                                                         3201 Louisiana, L.P.
             List the contract number of any                                             3201 Louisiana Street
                   government contract                                                   Houston, TX 77006-6644


 2.40.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Orange Active dated
             the debtor's interest                        01/17/1990

                  State the term remaining                Undetermined                   3501 E. Chapman, LLC
                                                                                         201 Wilshire Blvd.
             List the contract number of any                                             2nd Floor
                   government contract                                                   Santa Monica, CA 90401


 2.41.       State what the contract or                   Lessee for location at
             lease is for and the nature of               127 Orange Active
             the debtor's interest                        dated 02/01/1988

                  State the term remaining                1/31/2025
                                                                                         3501 E. Chapman, LLC
             List the contract number of any                                             3521 E. Chapman Avenue
                   government contract                                                   Orange, CA 92869-3814


 2.42.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Mid Wilshire Active
             the debtor's interest                        dated 03/09/1998
                                                                                         3699 Wilshire Blvd, LLC
                  State the term remaining                Undetermined                   c/o Jamison Services, Inc.
                                                                                         Attn: Julie Yi, Senior Vice President
             List the contract number of any                                             3699 Wilshire Blvd
                   government contract                                                   Los Angeles, CA 90010


 2.43.       State what the contract or                   Lessee for location at
             lease is for and the nature of               118 Mid Wilshire Active
             the debtor's interest                        dated 11/01/1998

                  State the term remaining                1/31/2033                      3699 Wilshire Blvd, LLC
                                                                                         3699 Wilshire Blvd, Suite #110
             List the contract number of any                                             #110
                   government contract                                                   Los Angeles, CA 90010-2720


 2.44.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Fort Collins North
             the debtor's interest                        Super Sport dated
                                                          09/12/2019                     460 South College Avenue LLC
                  State the term remaining                Undetermined                   c/o LC Real Estate Group
                                                                                         1712 Topaz Drive
             List the contract number of any                                             Loveland, CO 80537
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 8 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 649 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.45.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Carmichael Active
             the debtor's interest                        dated 12/30/2005

                  State the term remaining                Undetermined                   5 POINTS PARTNERS LP
                                                                                         C/O COLLIERS INTERNATIONAL
             List the contract number of any                                             301 UNIVERSITY AVE, SUITE 100
                   government contract                                                   SACRAMENTO, CA 95825


 2.46.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Northgate Fifth Ave
             the debtor's interest                        SuperSport dated
                                                          01/01/2011                     507 Northgate LLC
                  State the term remaining                Undetermined                   c/o Wallace Properties Inc.
                                                                                         330 112th Avenue NE
             List the contract number of any                                             Suite 200
                   government contract                                                   Bellevue, WA 98004


 2.47.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Addison (Dallas) Sport
             the debtor's interest                        dated 06/01/2000
                                                                                         5100 Belt Line Road Investors LLC
                  State the term remaining                Undetermined                   c/o UBS Realty Investors LLC
                                                                                         Attn: Alan Green
             List the contract number of any                                             Ten State House Square 15th Floor
                   government contract                                                   Hartford, CT 06103-3604


 2.48.       State what the contract or                   Lessee for location at
             lease is for and the nature of               341 Addison Sport
             the debtor's interest                        (CLOSED) dated
                                                          05/01/2001
                  State the term remaining                5/31/2020                      5100 Belt Line Road Investors LLC
                                                                                         5100 Belt Line Road
             List the contract number of any                                             #600
                   government contract                                                   Dallas, TX 75254-7559


 2.49.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Pasadena Downtown
             the debtor's interest                        Sport dated 10/04/1999
                                                                                         525 Colorado LLC
                  State the term remaining                Undetermined                   c/o Greenbridge Management Company, Inc.
                                                                                         9595 Wilshire Blvd
             List the contract number of any                                             Ste 711
                   government contract                                                   Beverly Hills, CA 90212


 2.50.       State what the contract or                   Lessee for location at
             lease is for and the nature of               179 Pasadena                   525 Colorado LLC
             the debtor's interest                        Downtown dated                 525 Colorado Blvd.
                                                          10/01/1999                     Pasadena, CA 91101-5229
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 9 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 650 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                12/31/2023

             List the contract number of any
                   government contract


 2.51.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Palmdale West Active
             the debtor's interest                        dated 02/15/1998

                  State the term remaining                Undetermined                   5307 Sepulveda Boulevard LLC
                                                                                         9045 Corbin Avenue
             List the contract number of any                                             Ste 270
                   government contract                                                   Northridge, CA 91324


 2.52.       State what the contract or                   Lessee for location at
             lease is for and the nature of               290 Kew Gardens Sport
             the debtor's interest                        dated 12/20/2014

                  State the term remaining                8/31/2023
                                                                                         80-02 LEASEHOLD COMPANY L P - V000041410
             List the contract number of any                                             8002 Kew Gardens Road
                   government contract                                                   Kew Gardens, NY 11415-3600


 2.53.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               San Mateo Super Sport
             the debtor's interest                        dated 01/28/2008
                                                                                         93 Bovet Lease Partners LLC
                  State the term remaining                Undetermined                   c/o Orchard Commercial, Inc.
                                                                                         c/o Orchard Commercial, Inc.
             List the contract number of any                                             3350 Thomas Road, Suite 201
                   government contract                                                   Santa Clara, CA 95054


 2.54.       State what the contract or                   Sublessee for location
             lease is for and the nature of               at 813 San Mateo Super
             the debtor's interest                        Sport dated 07/26/2008

                  State the term remaining                1/28/2023
                                                                                         93 BOVET LEASE PARTNERS LLC - V000041315
             List the contract number of any                                             93 Bovet Road
                   government contract                                                   San Mateo, CA 94402-3104


 2.55.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Friendswood Sport
             the debtor's interest                        dated 10/01/2000
                                                                                         A-S 108 Friendswood Crossing, LP
                  State the term remaining                Undetermined                   c/o NewQuest Properties
                                                                                         8827 W Sam Houston Parkway N
             List the contract number of any                                             Suite 200
                   government contract                                                   Houston, TX 77040




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 10 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 651 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.56.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Firethorne Super Sport
             the debtor's interest                        dated 11/26/2016
                                                                                         A-S 117 Shops at the Reserve, LP
                  State the term remaining                Undetermined                   c/o NewQuest Properties
                                                                                         Attn: Property Management
             List the contract number of any                                             8827 W Sam Houston Parkway N
                   government contract                                                   Houston, TX 77040


 2.57.       State what the contract or                   Lessee for location at
             lease is for and the nature of               673 Firethorne Super
             the debtor's interest                        Sport dated 11/26/2016

                  State the term remaining                5/31/2032
                                                                                         A-S 117 Shops at the Reserve, LP
             List the contract number of any                                             1719 Spring Green Blvd
                   government contract                                                   Katy, TX 77494


 2.58.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Richmond Grand
             the debtor's interest                        Parkway (Pipeline)
                                                          dated Based on
                                                          LL/Permit Delivery             A-S 144 Grand Parkway-W. Airport, LP
                  State the term remaining                Undetermined                   c/o NewQuest Properties
                                                                                         Attn: Property Manager
             List the contract number of any                                             8827 W Sam Houston Parkway N
                   government contract                                                   Houston, TX 77040


 2.59.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Bingle Active dated
             the debtor's interest                        12/16/2005
                                                                                         A-S 76 Hwy 290-Bingle, L.P.
                  State the term remaining                Undetermined                   c/o NewQuest Properties
                                                                                         8827 W Sam Houston Parkway N
             List the contract number of any                                             Suite 200
                   government contract                                                   Houston, TX 77040


 2.60.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Fry Road & Saums Rd
             the debtor's interest                        Sport dated 12/30/2005
                                                                                         A-S 79 Fry-Saums LP
                  State the term remaining                Undetermined                   Rising Sail Westlake, LLC
                                                                                         c/o NewQuest Properties
             List the contract number of any                                             Attn: Property Management
                   government contract                                                   Houston, TX 77040


 2.61.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Houston FM 1960                A-S 86 FM 1960-Veterans Memorial LP
             the debtor's interest                        Active dated 09/08/2006        c/o NewQuest Properties
                                                                                         8827 W Sam Houston Parkway N
                  State the term remaining                Undetermined                   Ste. 200
                                                                                         Houston, TX 77040
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 11 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 652 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.62.       State what the contract or                   Lessee for location at
             lease is for and the nature of               658 Pflugerville Super
             the debtor's interest                        Sport dated 03/26/2011

                  State the term remaining                3/31/2026
                                                                                         A-S 93 SH 130 - SH 45 LP - V0000411030
             List the contract number of any                                             1401 Town Center Drive
                   government contract                                                   Pflugerville, TX 78660-7599


 2.63.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Pflugerville Super
             the debtor's interest                        Sport dated 03/26/2011
                                                                                         A-S 93 SH 130-SH 45, L.P.
                  State the term remaining                Undetermined                   c/o NewQuest Properties
                                                                                         Attn: General Counsel
             List the contract number of any                                             8827 W Sam Houston Parkway N
                   government contract                                                   Houston, TX 77040


 2.64.       State what the contract or                   Agreement for 2014
             lease is for and the nature of               Cardio Equip. dated
             the debtor's interest                        11/03/2014

                  State the term remaining                Potentially Expired            A1 Fitness Logistics
                                                                                         Attn: General Counsel
             List the contract number of any                                             12822 Monarch Street
                   government contract                                                   Garden Grove, CA 92841


 2.65.       State what the contract or                   Master Services dated
             lease is for and the nature of               10/14/2011
             the debtor's interest
                                                                                         ABF Data Systems Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         9020 Kenamar Drive
             List the contract number of any                                             Suite 201
                   government contract                                                   San Diego, CA 92121


 2.66.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Pearl City Super Sport
             the debtor's interest                        dated 11/06/2009
                                                                                         ABP Pearl Highlands LLC
                  State the term remaining                Undetermined                   c/o A&B Properties Hawaii LLC
                                                                                         Attn: Vice President Property Management
             List the contract number of any                                             PO Box 135032
                   government contract                                                   Honolulu, HI 96801-5032




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 12 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 653 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.67.       State what the contract or                   Lessee for location at
             lease is for and the nature of               496 Pearl City Super
             the debtor's interest                        Sport dated 11/06/2009

                  State the term remaining                12/31/2024
                                                                                         ABP Pearl Highlands LLC
             List the contract number of any                                             1000 Kamehameha Highway
                   government contract                                                   Pearl City, HI 96782-2881


 2.68.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Boulder Iris Street
             the debtor's interest                        SuperSport dated
                                                          01/28/2008                     ABS RM Lease Owner LLC
                  State the term remaining                Undetermined                   c/o Klaff Realty LP
                                                                                         122 South Michigan Avenue
             List the contract number of any                                             10th Floor
                   government contract                                                   Chicago, IL 60603


 2.69.       State what the contract or                   Sublessee for location
             lease is for and the nature of               at 668 Boulder Iris
             the debtor's interest                        Street dated 12/21/2007

                  State the term remaining                1/28/2023
                                                                                         ABS RM Lease Owner LLC
             List the contract number of any                                             2900 Iris Street
                   government contract                                                   Boulder, CO 80301-1413


 2.70.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Las Vegas Mountain
             the debtor's interest                        Vista Super Sport dated
                                                          11/16/2018                     ACRE Investment Co, LLC
                  State the term remaining                Undetermined                   c/o Acre Investment Company, LLC
                                                                                         4683 Chabot Dr.
             List the contract number of any                                             Suite 220
                   government contract                                                   Pleasanton, CA 94588


 2.71.       State what the contract or                   Sales Order dated
             lease is for and the nature of               10/01/2018
             the debtor's interest

                  State the term remaining                Potentially Expired            Adobe Systems Incorporated
                                                                                         Attn: General Counsel
             List the contract number of any                                             345 Park Avenue
                   government contract                                                   San Jose, CA 95110


 2.72.       State what the contract or                   Sales Order dated
             lease is for and the nature of               10/01/2019
             the debtor's interest
                                                                                         Adobe, Inc.
                  State the term remaining                107 Days                       Attn: Contract Operations Group
                                                                                         345 Park Avenue
             List the contract number of any                                             San Jose, CA 95110
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 13 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 654 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.73.       State what the contract or                   Sales Order dated
             lease is for and the nature of               12/01/2019
             the debtor's interest

                  State the term remaining                168 Days                       Adobe, Inc.
                                                                                         Attn: Contract Operations Group
             List the contract number of any                                             345 Park Avenue
                   government contract                                                   San Jose, CA 95110


 2.74.       State what the contract or                   Adobe Addendum
             lease is for and the nature of               Sales Order dated
             the debtor's interest                        12/01/2019

                  State the term remaining                168 Days                       Adobe, Inc.
                                                                                         Attn: Contract Operations Group
             List the contract number of any                                             345 Park Avenue
                   government contract                                                   San Jose, CA 95110


 2.75.       State what the contract or                   Adobe Addendum
             lease is for and the nature of               Sales Order dated
             the debtor's interest                        12/01/2019

                  State the term remaining                168 Days                       Adobe, Inc.
                                                                                         Attn: Contract Operations Group
             List the contract number of any                                             345 Park Avenue
                   government contract                                                   San Jose, CA 95110


 2.76.       State what the contract or                   Sales Order dated
             lease is for and the nature of               08/15/2017
             the debtor's interest

                  State the term remaining                Undetermined                   Adobe, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             345 Park Avenue
                   government contract                                                   San Jose, CA 95110


 2.77.       State what the contract or                   Sales Order dated
             lease is for and the nature of               10/10/2019
             the debtor's interest

                  State the term remaining                Undetermined                   Adobe, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             345 Park Avenue
                   government contract                                                   San Jose, CA 95110




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 14 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 655 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.78.       State what the contract or                   Human Capital
             lease is for and the nature of               Management, Time and
             the debtor's interest                        Labor, Payroll
                                                          Implementation dated
                                                          02/09/2016
                  State the term remaining                238 Days                       ADP
                                                                                         Attn: General Counsel
             List the contract number of any                                             One ADP Boulevard
                   government contract                                                   Roseland, NJ 07068


 2.79.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/22/2016

                  State the term remaining                Undetermined                   ADP, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             400 West Covina Boulevard
                   government contract                                                   San Dimas, CA 91773


 2.80.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/22/2016

                  State the term remaining                Undetermined                   ADP, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             400 West Covina Boulevard
                   government contract                                                   San Dimas, CA 91773


 2.81.       State what the contract or                   Service and Software
             lease is for and the nature of               License Agreement -
             the debtor's interest                        Not Dated

                  State the term remaining                Undetermined                   ADP, Inc.
                                                                                         Attn: Contracts Department
             List the contract number of any                                             4125 Hopyard Road
                   government contract                                                   Pleasanton, CA 94588


 2.82.       State what the contract or                   Service and Software
             lease is for and the nature of               License Agreement -
             the debtor's interest                        Not Dated

                  State the term remaining                Undetermined                   ADP, Inc.
                                                                                         Attn: Contracts Department
             List the contract number of any                                             4125 Hopyard Road
                   government contract                                                   Pleasanton, CA 94588


 2.83.       State what the contract or                   Memorandum of
             lease is for and the nature of               Understanding - Not
             the debtor's interest                        Dated                          ADP, Inc.
                                                                                         Attn: General Counsel
                  State the term remaining                Undetermined                   4125 Hopyard Road
                                                                                         Pleasanton, CA 94588
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 15 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 656 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.84.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement Seventh
             the debtor's interest                        Amendment dated
                                                          06/23/2017
                  State the term remaining                Undetermined                   ADP, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             One ADP Boulevard
                   government contract                                                   Roseland, NJ 07068


 2.85.       State what the contract or                   Master Purchasing
             lease is for and the nature of               Agreement for
             the debtor's interest                        Equipment dated
                                                          11/09/2017
                  State the term remaining                Undetermined                   Advance Displays and Store Fixtures, Inc
                                                                                         Attn: General Counsel
             List the contract number of any                                             139 E 3900 S
                   government contract                                                   Salt Lake City, UT 84107


 2.86.       State what the contract or                   Master Purchasing
             lease is for and the nature of               Agreement for
             the debtor's interest                        Equipment dated
                                                          11/09/2017
                  State the term remaining                Undetermined                   Advance Displays and Store Fixtures, Inc
                                                                                         Attn: General Counsel
             List the contract number of any                                             139 E 3900 S
                   government contract                                                   Salt Lake City, UT 84107


 2.87.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Upland Sport dated
             the debtor's interest                        03/11/2006

                  State the term remaining                Undetermined                   AG Upland, LLC
                                                                                         9595 Wilshire Blvd
             List the contract number of any                                             Suite 700
                   government contract                                                   Beverly Hills, CA 90212


 2.88.       State what the contract or                   Sublessee for location
             lease is for and the nature of               at 165 Upland Sport
             the debtor's interest                        dated 03/11/2006

                  State the term remaining                3/31/2026
                                                                                         AG Upland, LLC
             List the contract number of any                                             685 West Foothill Blvd.
                   government contract                                                   Upland, CA 91786-3859




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 16 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 657 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.89.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Greenacres Active
             the debtor's interest                        dated 03/10/2008
                                                                                         AGRE River Bridge Owner, LLC
                  State the term remaining                Undetermined                   Matthew Buehler
                                                                                         Kitson & Partners (Realty) LLC
             List the contract number of any                                             4500 PGA Boulevard Suite 400
                   government contract                                                   Palm Beach Gardens, FL 33418


 2.90.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Fort Worth Western
             the debtor's interest                        Center Sport dated
                                                          03/16/2007                     Agree Fort Worth TX LLC
                  State the term remaining                Undetermined                   RU Old Denton Fort Worth TX LLC
                                                                                         c/o BRIX REIT
             List the contract number of any                                             Attn: Asset Management
                   government contract                                                   Costa Mesa, CA 92626


 2.91.       State what the contract or                   Lessee for location at
             lease is for and the nature of               329 Kipling Sport dated
             the debtor's interest                        04/01/1999

                  State the term remaining                12/31/2028
                                                                                         Agree Realty Corporation
             List the contract number of any                                             6044 South Kipling Parkway
                   government contract                                                   Littleton, CO 80127-2514


 2.92.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Kipling Sport dated
             the debtor's interest                        10/01/2013

                  State the term remaining                Undetermined
                                                                                         Agree Realty Corporation
             List the contract number of any                                             31850 Northwestern Highway
                   government contract                                                   Farmington Hills, MI 48334


 2.93.       State what the contract or                   Reseller Agreement
             lease is for and the nature of               dated 12/15/2016
             the debtor's interest

                  State the term remaining                Potentially Expired            Alacrinet Consulting Services, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             530 Lytton Ave., 2nd Floor
                   government contract                                                   Palo Alto, CA 94301


 2.94.       State what the contract or                   Reseller Agreement
             lease is for and the nature of               dated 01/19/2018
             the debtor's interest
                                                                                         Alacrinet Consulting Services, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         530 Lytton Ave., 2nd Floor
             List the contract number of any                                             Palo Alto, CA 94301
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 17 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 658 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.95.       State what the contract or                   Reseller Agreement
             lease is for and the nature of               dated 01/19/2018
             the debtor's interest

                  State the term remaining                Undetermined                   Alacrinet Consulting Services, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             530 Lytton Ave., 2nd Floor
                   government contract                                                   Palo Alto, CA 94301


 2.96.       State what the contract or                   Software Renewal
             lease is for and the nature of               dated 12/15/2016
             the debtor's interest

                  State the term remaining                Potentially Expired            Alacrinet Consulting Services, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             530 Lytton Ave., 2nd Floor
                   government contract                                                   Palo Alto, CA 94301


 2.97.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Rancho Santa
             the debtor's interest                        Margarita Active dated
                                                          06/01/2015
                  State the term remaining                Undetermined                   Albee Properties, LLC
                                                                                         4533 Macarthur Boulevard
             List the contract number of any                                             #926
                   government contract                                                   Newport Beach, CA 92660-2059


 2.98.       State what the contract or                   Lessee for location at
             lease is for and the nature of               171 Rancho Santa
             the debtor's interest                        Margarita Active dated
                                                          07/01/1993
                  State the term remaining                5/31/2025
                                                                                         Albee Properties, LLC
             List the contract number of any                                             22331 El Paseo
                   government contract                                                   Rancho Santa Margarita, CA 92688-2822


 2.99.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               Richmond I Active
             the debtor's interest                        dated 09/12/2005
                                                                                         Alkitsa Investments Ltd Inc
                  State the term remaining                Undetermined                   c/o Palico, Inc
                                                                                         11811 North Freeway
             List the contract number of any                                             Suite 202
                   government contract                                                   Houston, TX 77060


 2.100.      State what the contract or                   Lease Agreement for       Allen Fitness, LP
             lease is for and the nature of               Allen Sport (Closed)      Titus Properties Attn: J Michael Moore
             the debtor's interest                        dated 06/08/2001          1748 W Katella Avenue
                                                                                    Suite 206
Official Form 206G                               Schedule G: Executory Contracts andOrange,  CA
                                                                                     Unexpired   92867
                                                                                               Leases                                   Page 18 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 659 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                776 Days

             List the contract number of any
                   government contract


 2.101.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Willow Glen Super
             the debtor's interest                        Sport dated 02/22/2008

                  State the term remaining                Undetermined                   ALMADEN FITNESS LP
                                                                                         C/O TITUS PROPERTIES LLC
             List the contract number of any                                             1748 W KATELLA AVE SUITE 206
                   government contract                                                   ORANGE, CA 92867


 2.102.      State what the contract or                   Sublessee for location
             lease is for and the nature of               at 810 Willow Glen
             the debtor's interest                        Super Sport dated
                                                          02/22/2008
                  State the term remaining                2/21/2028                      Almaden Fitness, LP
                                                                                         2306 Almaden Road
             List the contract number of any                                             Suite140
                   government contract                                                   San Jose, CA 95125-2168


 2.103.      State what the contract or                   Sublessee for location
             lease is for and the nature of               at 810 Willow Glen
             the debtor's interest                        Super Sport dated
                                                          02/22/2008
                  State the term remaining                2/21/2028                      Almaden Fitness, LP
                                                                                         2306 Almaden Road
             List the contract number of any                                             Suite140
                   government contract                                                   San Jose, CA 95125-2168


 2.104.      State what the contract or                   Service Agreement
             lease is for and the nature of               dated 11/18/2015
             the debtor's interest
                                                                                         Alorica Inc
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         5 Park Plaza
             List the contract number of any                                             Suite 1100
                   government contract                                                   Irvine, CA 92614


 2.105.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Alta Dena Sport dated
             the debtor's interest                        03/22/2006
                                                                                         Altadena Lincoln Crossing LLC
                  State the term remaining                Undetermined                   Charles Dunn Real Estate Services, Inc
                                                                                         Grace Kong, Senior Property Manager
             List the contract number of any                                             800 W. 6th Street
                   government contract                                                   Los Angeles, CA 90017




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 19 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 660 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.106.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Colorado Springs dated
             the debtor's interest                        03/15/1999
                                                                                         AmCap Austin Bluffs, LLC
                  State the term remaining                Undetermined                   Attn: Lease Administrator
                                                                                         333 Ludlow Street
             List the contract number of any                                             South Tower, 8th Floor
                   government contract                                                   Stamford, CT 06902


 2.107.      State what the contract or                   Lessee for location at
             lease is for and the nature of               324 Colorado Springs
             the debtor's interest                        dated 06/01/1999

                  State the term remaining                12/31/2021                     AmCap Austin Bluffs, LLC
                                                                                         3650 Austin Bluff Parkway
             List the contract number of any                                             #197
                   government contract                                                   Colorado Springs, CO 80918-6684


 2.108.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Lakewood Sport dated
             the debtor's interest                        05/15/1999
                                                                                         Amcap Denver Limited Partnership
                  State the term remaining                Undetermined                   ADLP-U&A LLC
                                                                                         Attn: Lease Administrator
             List the contract number of any                                             333 Ludlow Street
                   government contract                                                   Stamford, CT 06902


 2.109.      State what the contract or                   Lessee for location at
             lease is for and the nature of               326 Lakewood Sport
             the debtor's interest                        dated 06/01/1999

                  State the term remaining                1/31/2025                      AMCAP DENVER LIMITED PARTNERSHIP - V1376
                                                                                         12039 W. Alameda Parkway
             List the contract number of any                                             #Z-3
                   government contract                                                   Lakewood, CO 80228-2701


 2.110.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Tiffany Plaza (Denver)
             the debtor's interest                        Sport dated 05/16/2001

                  State the term remaining                Undetermined                   AmCap Tiffany LLC
                                                                                         333 Ludlow Street
             List the contract number of any                                             South Tower, 8th Floor
                   government contract                                                   Stamford, CT 06902


 2.111.      State what the contract or                   Lessee for location at
             lease is for and the nature of               352 Tiffany Plaza Sport
             the debtor's interest                        dated 05/01/2001

                  State the term remaining                5/15/2021                      AmCap Tiffany LLC
                                                                                         7400 E. Hampden Avenue
             List the contract number of any                                             Denver, CO 80231-4884
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 20 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 661 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.112.      State what the contract or                   Master Servies
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09/29/2016

                  State the term remaining                Undetermined                   American Wholesale Ligthing
                                                                                         Attn: Mark Jensen
             List the contract number of any                                             1725 Rutan Drive
                   government contract                                                   Livermore, CA 94551


 2.113.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Anaheim Gateway
             the debtor's interest                        Sport dated 05/11/2003
                                                                                         Anaheim Gateway, LLC
                  State the term remaining                Undetermined                   c/o Robertson Properties Group
                                                                                         Attn: Property Manager
             List the contract number of any                                             120 North Robertson Boulevard
                   government contract                                                   Los Angeles, CA 90048


 2.114.      State what the contract or                   Lessee for location at
             lease is for and the nature of               064 Anaheim Gateway
             the debtor's interest                        Sport dated 05/01/2003

                  State the term remaining                3/10/2022
                                                                                         Anaheim Gateway, LLC
             List the contract number of any                                             1430 North Lemon Street
                   government contract                                                   Anaheim, CA 92801-1200


 2.115.      State what the contract or                   Software and
             lease is for and the nature of               Maintenance
             the debtor's interest                        Agreement dated
                                                          06/19/2015
                  State the term remaining                Undetermined                   ANT USA, Inc.
                                                                                         Attn: Dmitry Goykhman
             List the contract number of any                                             PO Box 2634
                   government contract                                                   Acton, MA 01720


 2.116.      State what the contract or                   Service Level
             lease is for and the nature of               Agreement dated
             the debtor's interest                        07/08/2015

                  State the term remaining                Undetermined                   ANT USA, Inc.
                                                                                         Attn: Dmitry Goykhman
             List the contract number of any                                             PO Box 2634
                   government contract                                                   Acton, MA 01720


 2.117.      State what the contract or                   Service Level                  ANT USA, Inc.
             lease is for and the nature of               Agreement - Not Dated          Attn: Dmitry Goykhman
             the debtor's interest                                                       PO Box 2634
                                                                                         Acton, MA 01720
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 21 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 662 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.118.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Antelope Marketplace
             the debtor's interest                        Sport dated 08/23/2000

                  State the term remaining                Undetermined                   Antelope Marketplace Station LLC
                                                                                         c/o Robert F. Myers, COO
             List the contract number of any                                             11501 Northlake Drive
                   government contract                                                   Cincinnati, OH 45249


 2.119.      State what the contract or                   Lessee for location at
             lease is for and the nature of               498 Antelope Sport
             the debtor's interest                        dated 03/01/2001

                  State the term remaining                8/31/2025
                                                                                         Antelope Marketplace Station LLC
             List the contract number of any                                             7905 Walerga Road
                   government contract                                                   Antelope, CA 95843-5722


 2.120.      State what the contract or                   Lessee for location at
             lease is for and the nature of               362 Woodlands Sport
             the debtor's interest                        dated 07/01/2002

                  State the term remaining                9/30/2028
                                                                                         ARC HRPWOTX001 LP
             List the contract number of any                                             1800 Lake Woodlands Drive
                   government contract                                                   The Woodlands, TX 77380-1009


 2.121.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Woodlands Sport dated
             the debtor's interest                        06/16/2002
                                                                                         ARC HRPWOTX001, LP
                  State the term remaining                Undetermined                   c/o American Realty Capital
                                                                                         Attn: Russ Winget, Property Manager
             List the contract number of any                                             7621 Little Avenue
                   government contract                                                   Charlotte, NC 28226


 2.122.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Schaumburg (Pipeline)
             the debtor's interest                        dated Based on
                                                          LL/Permit Delivery             ARC PTSCHIL001 LLC
                  State the term remaining                Undetermined                   Attn: GC American Finance Trust
                                                                                         650 5th Avenue
             List the contract number of any                                             30th Floor
                   government contract                                                   New York, NY 10019




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 22 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 663 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.123.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               OFC Facility Annex
             the debtor's interest                        2234 dated 01/01/1998
                                                                                         AREP LO Research Center Plaza LLC
                  State the term remaining                Undetermined                   c/o LPC West, Inc.
                                                                                         Attn: Deborah Valdivia
             List the contract number of any                                             600 B Street, Suite 2480
                   government contract                                                   San Diego, CA 92101


 2.124.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               West Roseville
             the debtor's interest                        (Pipeline) dated Based
                                                          on LL/Permit Delivery
                  State the term remaining                Undetermined                   ARMSTRONG CO ROSEVILLE, LLC
                                                                                         Attn: Douglas J. Kyle
             List the contract number of any                                             One Armstrong Place
                   government contract                                                   Butler, PA 16001


 2.125.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               North Las Vegas Active
             the debtor's interest                        dated 01/01/2000
                                                                                         Arnold Schlesinger
                  State the term remaining                Undetermined                   SIERRA TOWN CENTER HOLDINGS LLC
                                                                                         Sierra Town Center III, LLC
             List the contract number of any                                             8735 W. Flamingo Rd.
                   government contract                                                   Las Vegas, NV 89147


 2.126.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Fort Totten (Pipeline)
             the debtor's interest                        dated Based on
                                                          LL/Permit Delivery
                  State the term remaining                Undetermined                   Art Place at Ft. Totten, LLC
                                                                                         1825 K Street, NW
             List the contract number of any                                             Suite 1400
                   government contract                                                   Washington, DC 20006


 2.127.      State what the contract or                   License Agreement -
             lease is for and the nature of               Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   Articulate Global, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             244 5th Avenue, Suite 2960
                   government contract                                                   New York, NY 10001


 2.128.      State what the contract or                   Parade Float
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10/10/2017
                                                                                         Artistic Entertainment Services, LLC
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         120 N. Aspan Avenue
             List the contract number of any                                             Azusa, CA 91702
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 23 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 664 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.129.      State what the contract or                   Parade Float
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10/13/2017

                  State the term remaining                Potentially Expired            Artistic Entertainment Services, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             120 N. Aspan Avenue
                   government contract                                                   Azusa, CA 91702


 2.130.      State what the contract or                   Parade Float
             lease is for and the nature of               Agreement dated
             the debtor's interest                        08/08/2018

                  State the term remaining                Potentially Expired            Artistic Entertainment Services, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             120 N. Aspan Avenue
                   government contract                                                   Azusa, CA 91702


 2.131.      State what the contract or                   Parade Float
             lease is for and the nature of               Agreement dated
             the debtor's interest                        08/20/2018

                  State the term remaining                Potentially Expired            Artistic Entertainment Services, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             120 N. Aspan Avenue
                   government contract                                                   Azusa, CA 91702


 2.132.      State what the contract or                   Pasadena Tournament
             lease is for and the nature of               of Roses Parade Float
             the debtor's interest                        Agreement dated
                                                          10/01/2016
                  State the term remaining                Undetermined                   Artistic Entertainment Services, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             120 N Aspan Ave
                   government contract                                                   Azusa, CA 91702


 2.133.      State what the contract or                   AT&T Service Order
             lease is for and the nature of               dated 04/30/2013
             the debtor's interest

                  State the term remaining                Undetermined                   AT&T
                                                                                         Attn: General Counsel
             List the contract number of any                                             5732 Pacific Center Blvd.
                   government contract                                                   San Diego, CA 92121


 2.134.      State what the contract or                   AT&T Service Order             AT&T
             lease is for and the nature of               dated 04/30/2013               Attn: General Counsel
             the debtor's interest                                                       5732 Pacific Center Blvd.
                                                                                         San Diego, CA 92121
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 24 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 665 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.135.      State what the contract or                   AT&T Service Order
             lease is for and the nature of               dated 05/03/2013
             the debtor's interest

                  State the term remaining                Undetermined                   AT&T
                                                                                         Attn: General Counsel
             List the contract number of any                                             5732 Pacific Center Blvd.
                   government contract                                                   San Diego, CA 92121


 2.136.      State what the contract or                   AT&T Service Order
             lease is for and the nature of               dated 06/10/2013
             the debtor's interest

                  State the term remaining                Undetermined                   AT&T
                                                                                         Attn: General Counsel
             List the contract number of any                                             5732 Pacific Center Blvd.
                   government contract                                                   San Diego, CA 92121


 2.137.      State what the contract or                   AT&T Service Order
             lease is for and the nature of               dated 08/14/2013
             the debtor's interest

                  State the term remaining                Undetermined                   AT&T
                                                                                         Attn: General Counsel
             List the contract number of any                                             5732 Pacific Center Blvd.
                   government contract                                                   San Diego, CA 92121


 2.138.      State what the contract or                   Business Network
             lease is for and the nature of               Service dated
             the debtor's interest                        02/24/2011

                  State the term remaining                Undetermined                   AT&T Corp.
                                                                                         Attn: Nancy Klein
             List the contract number of any                                             5732 Pacific Center Blvd.
                   government contract                                                   San Diego, CA 92121


 2.139.      State what the contract or                   Master Agreement
             lease is for and the nature of               dated 03/11/2008
             the debtor's interest

                  State the term remaining                Undetermined                   AT&T Corp.
                                                                                         Attn: Master Agreement Support Team
             List the contract number of any                                             One AT&T Way
                   government contract                                                   Bedminster, NJ 07921-0752




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 25 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 666 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.140.      State what the contract or                   Business Network
             lease is for and the nature of               Service dated
             the debtor's interest                        06/28/2010

                  State the term remaining                Undetermined                   AT&T Corp.
                                                                                         Attn: Master Agreement Support Team
             List the contract number of any                                             One AT&T Way
                   government contract                                                   Bedminster, NJ 07921-0752


 2.141.      State what the contract or                   Business Network
             lease is for and the nature of               Service dated
             the debtor's interest                        02/24/2011

                  State the term remaining                290 Days                       AT&T Corp.
                                                                                         Attn: Master Agreement Support Team
             List the contract number of any                                             One AT&T Way
                   government contract                                                   Bedminster, NJ 07921-0752


 2.142.      State what the contract or                   Corporate Digital
             lease is for and the nature of               Advantage Agreement
             the debtor's interest                        dated 09/24/2008

                  State the term remaining                Undetermined                   AT&T Mobility National Accounts LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             7229 Parkway Dr
                   government contract                                                   Hanover, MD 21076


 2.143.      State what the contract or                   Corporate Digital
             lease is for and the nature of               Advantage Agreement
             the debtor's interest                        dated 06/19/2017

                  State the term remaining                Undetermined                   AT&T Mobility National Accounts LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             7229 Parkway Dr
                   government contract                                                   Hanover, MD 21076


 2.144.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Monterey Park Sport
             the debtor's interest                        dated 09/01/2010

                  State the term remaining                Undetermined                   Atlantic Times Square X, LLC
                                                                                         Law Office of Jeffrey E. Strauss
             List the contract number of any                                             PO Box 1431, Guasti
                   government contract                                                   Guasti, CA 91743


 2.145.      State what the contract or                   Lessee for location at
             lease is for and the nature of               867 Monterey Park
             the debtor's interest                        Sport dated 05/21/2010
                                                                                         Atlantic Times Square X, LLC
                  State the term remaining                8/31/2025                      500 N. Atlantic Blvd.
                                                                                         Suite A-102-1
             List the contract number of any                                             Monterey Park, CA 91754-1079
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 26 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 667 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.146.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Stadium Active dated
             the debtor's interest                        08/01/1980

                  State the term remaining                1,049 Days                     Atomic Investments, Inc.
                                                                                         3200 B4-2 Highland Avenue
             List the contract number of any                                             3200 B4-2 Highland Avenue
                   government contract                                                   National City, CA 91950


 2.147.      State what the contract or                   Lessee for location at
             lease is for and the nature of               109 Stadium Active
             the debtor's interest                        dated 05/01/1980

                  State the term remaining                4/30/2023
                                                                                         Atomic Investments, Inc.
             List the contract number of any                                             5885 Rancho Mission Road
                   government contract                                                   San Diego, CA 92108-2502


 2.148.      State what the contract or                   Location Agreement
             lease is for and the nature of               dated 07/26/2019
             the debtor's interest
                                                                                         AV Now, Inc.
                  State the term remaining                Potentially Expired            Attn: Legal Department
                                                                                         100 Pioneer Street
             List the contract number of any                                             Suite B
                   government contract                                                   Santa Cruz, CA 95060


 2.149.      State what the contract or                   Location Agreement
             lease is for and the nature of               dated 07/26/2019
             the debtor's interest
                                                                                         AV Now, Inc.
                  State the term remaining                Potentially Expired            Attn: Legal Department
                                                                                         100 Pioneer Street
             List the contract number of any                                             Suite B
                   government contract                                                   Santa Cruz, CA 95060


 2.150.      State what the contract or                   Service Agreement -
             lease is for and the nature of               Not Dated
             the debtor's interest
                                                                                         AV Now, Inc.
                  State the term remaining                Undetermined                   Attn: Legal Department
                                                                                         100 Pioneer Street
             List the contract number of any                                             Suite B
                   government contract                                                   Santa Cruz, CA 95060


 2.151.      State what the contract or                   Lease Agreement for       AVG - Oceanside LLC
             lease is for and the nature of               Oceanside Sport dated     PDO VENTURE LLC
             the debtor's interest                        01/16/2002                9595 Wilshire Blvd
                                                                                    Suite 700
Official Form 206G                               Schedule G: Executory Contracts andBeverly Hills,
                                                                                     Unexpired     CA 90212
                                                                                               Leases                                   Page 27 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 668 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.152.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Moore Sport (Assigned)
             the debtor's interest                        dated 12/23/2014
                                                                                         AVG Club 7 LLC
                  State the term remaining                5,312 Days                     Fitness International LLC
                                                                                         Attn: Lease Administration
             List the contract number of any                                             3161 Michelson Drive
                   government contract                                                   Irvine, CA 92612


 2.153.      State what the contract or                   Lessee for location at
             lease is for and the nature of               252 Moore Sport
             the debtor's interest                        (CLOSED) dated
                                                          11/20/2015
                  State the term remaining                12/31/2034
                                                                                         AVG Club 7, LLC
             List the contract number of any                                             647 SW 19th Street
                   government contract                                                   Moore, OK 73160


 2.154.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Cypress Sport dated
             the debtor's interest                        10/24/2004

                  State the term remaining                Undetermined                   AVG Cypress LP
                                                                                         9595 Wilshire Blvd
             List the contract number of any                                             Suite 700
                   government contract                                                   Beverly Hills, CA 90212


 2.155.      State what the contract or                   Lessee for location at
             lease is for and the nature of               111 Cypress Sport
             the debtor's interest                        dated 10/24/2004

                  State the term remaining                10/23/2024
                                                                                         AVG Cypress LP
             List the contract number of any                                             4951 Katella Avenue
                   government contract                                                   Cypress, CA 90720-2721


 2.156.      State what the contract or                   Lessee for location at
             lease is for and the nature of               96862 Laguna Niguel
             the debtor's interest                        Office Space dated
                                                          06/29/2011
                  State the term remaining                5/31/2022
                                                                                         AVG LAGUNA LLC - V0000324048
             List the contract number of any                                             27921 La Paz Road, Suite B
                   government contract                                                   Laguna Niguel, CA 92677




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 28 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 669 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.157.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Laguna Niguel Super
             the debtor's interest                        Sport dated 06/01/2007

                  State the term remaining                Undetermined                   AVG Laguna, LLC
                                                                                         9595 Wilshire Blvd
             List the contract number of any                                             Suite 700
                   government contract                                                   Beverly Hills, CA 90212


 2.158.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Laguna Niguel Office
             the debtor's interest                        Space dated 06/29/2011

                  State the term remaining                715 Days                       AVG Laguna, LLC
                                                                                         9595 Wilshire Blvd
             List the contract number of any                                             Suite 700
                   government contract                                                   Beverly Hills, CA 90212


 2.159.      State what the contract or                   Sublessee for location
             lease is for and the nature of               at 862 Laguna Niguel
             the debtor's interest                        Super Sport dated
                                                          07/21/2007
                  State the term remaining                5/31/2022
                                                                                         AVG Laguna, LLC
             List the contract number of any                                             27921 La Paz Road
                   government contract                                                   Laguna Niguel, CA 92677-3931


 2.160.      State what the contract or                   Sublessee for location
             lease is for and the nature of               at 862 Laguna Niguel
             the debtor's interest                        Super Sport dated
                                                          07/21/2007
                  State the term remaining                5/31/2022
                                                                                         AVG Laguna, LLC
             List the contract number of any                                             27921 La Paz Road
                   government contract                                                   Laguna Niguel, CA 92677-3931


 2.161.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Oakland High Street
             the debtor's interest                        Sport dated 11/09/2005

                  State the term remaining                Undetermined                   AVG Oakland, LLC
                                                                                         Attn: Arnold Schlesinger
             List the contract number of any                                             9595 Wilshire Blvd, Suite 710
                   government contract                                                   Beverly Hills, CA 90212


 2.162.      State what the contract or                   Sublessee for location
             lease is for and the nature of               at 802 Oakland Sport
             the debtor's interest                        dated 07/09/2006

                  State the term remaining                11/30/2025                     AVG Oakland, LLC
                                                                                         3950 Alameda Avenue
             List the contract number of any                                             Oakland, CA 94601-3910
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 29 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 670 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.163.      State what the contract or                   Sublessee for location
             lease is for and the nature of               at 802 Oakland Sport
             the debtor's interest                        dated 07/09/2006

                  State the term remaining                11/30/2025
                                                                                         AVG Oakland, LLC
             List the contract number of any                                             3950 Alameda Avenue
                   government contract                                                   Oakland, CA 94601-3910


 2.164.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Thousand Oaks Sport
             the debtor's interest                        dated 02/01/2000
                                                                                         AVG Partners
                  State the term remaining                Undetermined                   Attn: Kammie Hertz
                                                                                         9595 Wilshire Boulevard
             List the contract number of any                                             Ste 710
                   government contract                                                   Beverly Hills, CA 90212


 2.165.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Downtown Chula Vista
             the debtor's interest                        Active dated 07/18/2007

                  State the term remaining                Undetermined                   AVG Partners
                                                                                         c/o AVG Chula Vista, LLC
             List the contract number of any                                             9595 Wilshire Blvd., #700
                   government contract                                                   Beverly Hills, CA 90212


 2.166.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Santa Clarita Active
             the debtor's interest                        dated 08/07/1998

                  State the term remaining                Undetermined                   AVG Partners
                                                                                         9595 Wilshire Boulevard
             List the contract number of any                                             Suite 700
                   government contract                                                   Beverly Hills, CA 90212


 2.167.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               144th & F Sport
             the debtor's interest                        (Assigned) dated
                                                          07/17/2000
                  State the term remaining                46 Days                        AVG Partners
                                                                                         9595 Wilshire Blvd
             List the contract number of any                                             Suite 700
                   government contract                                                   Beverly Hills, CA 90212


 2.168.      State what the contract or                   Lease Agreement for            AVG Partners
             lease is for and the nature of               Shawnee Sport                  9595 Wilshire Blvd
             the debtor's interest                        (Assigned) dated               Suite 700
                                                          01/12/2004                     Beverly Hills, CA 90212
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 30 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 671 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                1,305 Days

             List the contract number of any
                   government contract


 2.169.      State what the contract or                   Lessee for location at
             lease is for and the nature of               432 Shawnee Sport
             the debtor's interest                        (CLOSED) dated
                                                          01/12/2004
                  State the term remaining                1/11/2024
                                                                                         AVG Partners
             List the contract number of any                                             11311 Shawnee Mission Parkway
                   government contract                                                   Shawnee, KS 66203-3335


 2.170.      State what the contract or                   Lessee for location at
             lease is for and the nature of               089 Thousand Oaks
             the debtor's interest                        Sport dated 03/01/2000

                  State the term remaining                1/31/2025
                                                                                         AVG Partners
             List the contract number of any                                             2595 Thousand Oaks Blvd
                   government contract                                                   Thousand Oaks, CA 91362-3259


 2.171.      State what the contract or                   Lessee for location at
             lease is for and the nature of               348 144th & F Sport
             the debtor's interest                        (CLOSED) dated
                                                          11/01/2000
                  State the term remaining                7/31/2020
                                                                                         AVG Partners
             List the contract number of any                                             4007 S. 145th Plaza
                   government contract                                                   Omaha, NE 68137-5406


 2.172.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Central & Royal (Dallas)
             the debtor's interest                        Sport dated 12/15/2000

                  State the term remaining                Undetermined                   AVG Partners I LLC
                                                                                         9595 Wilshire Blvd
             List the contract number of any                                             Suite 700
                   government contract                                                   Beverly Hills, CA 90212


 2.173.      State what the contract or                   Lessee for location at
             lease is for and the nature of               365 Expressway Sport
             the debtor's interest                        dated 10/01/2001

                  State the term remaining                12/14/2020
                                                                                         AVG Partners I LLC
             List the contract number of any                                             11100 Central Expressway
                   government contract                                                   Dallas, TX 75243-6904




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 31 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 672 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.174.      State what the contract or                   Lessee for location at
             lease is for and the nature of               182 Gilbert Sport
             the debtor's interest                        (CLOSED) dated
                                                          10/01/2002
                  State the term remaining                2/28/2022
                                                                                         AVG Partners I LLC
             List the contract number of any                                             97 S. Val Vista Drive
                   government contract                                                   Gilbert, AZ 85296-1366


 2.175.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Gilbert Sport
             the debtor's interest                        (Assigned) dated
                                                          03/01/2002
                  State the term remaining                623 Days                       AVG Partners I, LLC
                                                                                         9595 Wilshire Blvd
             List the contract number of any                                             Suite 700
                   government contract                                                   Beverly Hills, CA 90212


 2.176.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Puyallup Super Sport
             the debtor's interest                        dated 07/27/2019
                                                                                         AVG Puyallup LLC
                  State the term remaining                Undetermined                   Attn: Arnold Schlesinger
                                                                                         9595 Wilshire Boulevard
             List the contract number of any                                             Suite 700
                   government contract                                                   Beverly Hills, CA 90212


 2.177.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               William Cannon Sport
             the debtor's interest                        dated 10/21/2006

                  State the term remaining                Undetermined                   AVG-Austin LP
                                                                                         9595 Wilshire Blvd
             List the contract number of any                                             Suite 700
                   government contract                                                   Beverly Hills, CA 90212


 2.178.      State what the contract or                   Lessee for location at
             lease is for and the nature of               676 William Cannon
             the debtor's interest                        Sport dated 10/21/2006

                  State the term remaining                10/31/2026
                                                                                         AVG-AUSTIN, LP
             List the contract number of any                                             4625 West Williams Cannon Drive
                   government contract                                                   Austin, TX 78749-2318


 2.179.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Independence Sport
             the debtor's interest                        (Assigned) dated               AVG-Overland Park LLC
                                                          08/01/2001                     AVG Partners
                  State the term remaining                411 Days                       9595 Wilshire Blvd
                                                                                         Suite 700
             List the contract number of any                                             Beverly Hills, CA 90212
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 32 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 673 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.180.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Overland Park SS
             the debtor's interest                        (Assigned) dated
                                                          11/01/2001                     AVG-Overland Park LLC
                  State the term remaining                503 Days                       AVG Partners
                                                                                         9595 Wilshire Blvd
             List the contract number of any                                             Suite 700
                   government contract                                                   Beverly Hills, CA 90212


 2.181.      State what the contract or                   Lessee for location at
             lease is for and the nature of               358 Independence
             the debtor's interest                        Sport (CLOSED) dated
                                                          02/01/2002
                  State the term remaining                7/31/2021
                                                                                         AVG-Overland Park, LLC
             List the contract number of any                                             3850 Crackerneck Road
                   government contract                                                   Independence, MO 64055-6728


 2.182.      State what the contract or                   Lessee for location at
             lease is for and the nature of               361 Overland Park SS
             the debtor's interest                        (CLOSED) dated
                                                          08/01/2002
                  State the term remaining                10/31/2021
                                                                                         AVG-Overland Park, LLC
             List the contract number of any                                             12075 Metcalf Avenue
                   government contract                                                   Overland Park, KS 66213-1121


 2.183.      State what the contract or                   Construction Contract
             lease is for and the nature of               dated 03/14/2017
             the debtor's interest

                  State the term remaining                Undetermined                   Axiom DR Construction, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1219 Wunsche Loop
                   government contract                                                   Spring, TX 77373


 2.184.      State what the contract or                   Construction Contract
             lease is for and the nature of               dated 05/24/2018
             the debtor's interest

                  State the term remaining                Undetermined                   Axiom DR Construction, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1219 Wunsche Loop
                   government contract                                                   Spring, TX 77373


 2.185.      State what the contract or                   Construction                   Axiom DR Construction, LLC
             lease is for and the nature of               Agreement dated                Attn: General Counsel
             the debtor's interest                        02/27/2019                     1219 Wunsche Loop
                                                                                         Spring, TX 77373
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 33 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 674 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.186.      State what the contract or                   Construction Contract
             lease is for and the nature of               dated 04/08/2019
             the debtor's interest

                  State the term remaining                Potentially Expired            Axiom DR Construction, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1219 Wunsche Loap
                   government contract                                                   Spring, TX 77373


 2.187.      State what the contract or                   Construction
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04/09/2019

                  State the term remaining                Undetermined                   Axiom DR Construction, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1219 Wunsche Loop
                   government contract                                                   Spring, TX 77373


 2.188.      State what the contract or                   Axiom DR Construction
             lease is for and the nature of               LLC, Construction
             the debtor's interest                        Contract (Springenergy
                                                          , TX) dated 05/03/2019
                  State the term remaining                Undetermined                   Axiom DR Construction, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1219 Wunsche Loop
                   government contract                                                   Spring, TX 77373


 2.189.      State what the contract or                   Construction Contract
             lease is for and the nature of               North Bruswick dated
             the debtor's interest                        07/23/2019

                  State the term remaining                Undetermined                   Axiom DR Construction, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1219 Wunsche Loop
                   government contract                                                   Spring, TX 77373


 2.190.      State what the contract or                   Construction
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10/30/2019

                  State the term remaining                Undetermined                   Axiom DR Construction, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1219 Wunsche Loop
                   government contract                                                   Spring, TX 77373




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 34 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 675 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.191.      State what the contract or                   Construction
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/27/2020

                  State the term remaining                Undetermined                   Axiom DR Construction, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1219 Wunsche Loop
                   government contract                                                   Spring, TX 77373


 2.192.      State what the contract or                   Construction
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/07/2019

                  State the term remaining                Undetermined                   Axiom DR Construction, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1219 Wunsche Loap
                   government contract                                                   Spring, TX 77373


 2.193.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Vallejo Active dated
             the debtor's interest                        06/02/1993

                  State the term remaining                Undetermined                   BAI Park Place LP
                                                                                         Attn: Legal Department
             List the contract number of any                                             500 Galleria Drive, Suite 287
                   government contract                                                   Johnstown, PA 15904


 2.194.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Citrus Heights Sport
             the debtor's interest                        dated 10/17/2003
                                                                                         BALLYBRACK GROUP LLC
                  State the term remaining                Undetermined                   Woodmont Real Estate Services
                                                                                         c/o Matthew Masterson
             List the contract number of any                                             1851 Heritage Lane, Suite #230
                   government contract                                                   Sacramento, CA 95815


 2.195.      State what the contract or                   Lessee for location at
             lease is for and the nature of               523 Citrus Heights
             the debtor's interest                        Sport dated 10/17/2003

                  State the term remaining                10/16/2023
                                                                                         BALLYBRACK GROUP LLC - V0000414224
             List the contract number of any                                             6633 Auburn Boulevard
                   government contract                                                   Citrus Heights, CA 95621-4925


 2.196.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Downtown Bellevue
             the debtor's interest                        Sport dated 04/01/2005         Bellevue Pacific, LLC
                                                                                         c/o JSH Properties, Inc.
                  State the term remaining                Undetermined                   10655 NE 4th Street
                                                                                         Suite 901
             List the contract number of any                                             Bellevue, WA 98004
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 35 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 676 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.197.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Meridian Sport dated
             the debtor's interest                        03/01/2001
                                                                                         Berkadia Commercial Mortgage LLC
                  State the term remaining                Undetermined                   FIT (CO) QRS 15-59 Inc
                                                                                         Attn: Tim Goodwin | WP Carey Inc.
             List the contract number of any                                             50 Rockefeller Plaza
                   government contract                                                   New York, NY 10020


 2.198.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Midwest HQ - CO dated
             the debtor's interest                        12/01/2000
                                                                                         BERKADIA COMMERCIAL MORTGAGE LLC
                  State the term remaining                684 Days                       Sunvalley Shopping Center, LC
                                                                                         SunValley
             List the contract number of any                                             200 East Long Lake Road P.O. Box 200
                   government contract                                                   Bloomfield Hills, MI 48303


 2.199.      State what the contract or                   Lessee for location at
             lease is for and the nature of               955 Hollywood, OR
             the debtor's interest                        Super Sport dated
                                                          03/22/2006
                  State the term remaining                1/31/2035                      Bernhardt Associates, Inc.
                                                                                         4224 NE Halsey Street
             List the contract number of any                                             Suite 100
                   government contract                                                   Portland, OR 97213-1539


 2.200.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Capitol & McKee Sport
             the debtor's interest                        dated 10/31/1983

                  State the term remaining                1,233 Days
                                                                                         Betty Jean Louie III Limited Parnership
             List the contract number of any                                             667 Grant Ave.
                   government contract                                                   San Francisco, CA 94108


 2.201.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Ballinger Village Active
             the debtor's interest                        dated 06/22/1993
                                                                                         BHF A California Limited Partnership
                  State the term remaining                1,101 Days                     Attn: J Michael Moore Titus Properties
                                                                                         1748 W. Katella Ave
             List the contract number of any                                             Suite 206
                   government contract                                                   Orange, CA 92867


 2.202.      State what the contract or                   Lease Agreement for       BIG Creekwood Commons LLC
             lease is for and the nature of               Gladstone Active          c/o Copaken Brooks LLC
             the debtor's interest                        (Assigned) dated          1100 Walnut
                                                          04/15/2005                Suite 2000
Official Form 206G                               Schedule G: Executory Contracts andKansas  City,
                                                                                     Unexpired    MO 64106
                                                                                               Leases                                   Page 36 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 677 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.203.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Colorado-Yale Active
             the debtor's interest                        dated 05/03/2006

                  State the term remaining                Undetermined                   Black Cherry LLC
                                                                                         Attn: EVP Leasing | DDR Corp.
             List the contract number of any                                             3300 Enterprise Parkway
                   government contract                                                   Beachwood, OH 44122


 2.204.      State what the contract or                   End User License
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   BMC
                                                                                         Attn: General Counsel
             List the contract number of any                                             2103 CityWest Boulevard
                   government contract                                                   Houston, TX 77042


 2.205.      State what the contract or                   Data Processing
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   BMC
                                                                                         Attn: General Counsel
             List the contract number of any                                             2103 CityWest Boulevard
                   government contract                                                   Houston, TX 77042


 2.206.      State what the contract or                   Product Order Form
             lease is for and the nature of               and License Agreement
             the debtor's interest                        dated 11/13/2015

                  State the term remaining                Undetermined                   BMC Software, Inc.
                                                                                         Attn: Order Services
             List the contract number of any                                             2101 City West Boulevard
                   government contract                                                   Houston, TX 77042-2827


 2.207.      State what the contract or                   Licensing Agreement
             lease is for and the nature of               dated 12/31/2011
             the debtor's interest

                  State the term remaining                Undetermined                   BMI Fitness Clubs
                                                                                         Attn: General Counsel
             List the contract number of any                                             10 Music Square East
                   government contract                                                   Nashville, TN 37203-4399




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 37 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 678 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.208.      State what the contract or                   Licensing Agreement -
             lease is for and the nature of               Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   BMI Fitness Clubs
                                                                                         Attn: General Counsel
             List the contract number of any                                             10 Music Square East
                   government contract                                                   Nashville, TN 37203-4399


 2.209.      State what the contract or                   Licensing Agreement -
             lease is for and the nature of               Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   BMI Fitness Clubs
                                                                                         Attn: General Counsel
             List the contract number of any                                             10 Music Square East
                   government contract                                                   Nashville, TN 37203-4399


 2.210.      State what the contract or                   Licensing Agreement -
             lease is for and the nature of               Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   BMI Fitness Clubs
                                                                                         Attn: General Counsel
             List the contract number of any                                             10 Music Square East
                   government contract                                                   Nashville, TN 37203-4399


 2.211.      State what the contract or                   Lessee for location at
             lease is for and the nature of               195 Anaheim Hills
             the debtor's interest                        Sport dated 10/01/1999

                  State the term remaining                9/30/2024                      Board of the State
                                                                                         Teachers' Retirement Sys of OH
             List the contract number of any                                             300 South Festival Drive
                   government contract                                                   Anaheim, CA 92808-1113


 2.212.      State what the contract or                   Lessee for location at
             lease is for and the nature of               268 Capitol
             the debtor's interest                        Expressway Sport
                                                          dated 12/20/2014
                  State the term remaining                11/30/2021
                                                                                         Borello Management Co., LLC
             List the contract number of any                                             2920 Aborn Square Road
                   government contract                                                   San Jose, CA 95121


 2.213.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Midtown Ultra Sport
             the debtor's interest                        dated 11/01/2008               BP/CGCenter II LLC
                                                                                         Attn: Regional General Counsel
                  State the term remaining                Undetermined                   599 Lexington Avenue
                                                                                         Suite 1800
             List the contract number of any                                             New York, NY 10022
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 38 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 679 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.214.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Royal Palm Beach
             the debtor's interest                        (Pipeline) dated Based
                                                          on LL/Permit Delivery          BPP Southern Palm LLC
                  State the term remaining                Undetermined                   IVT Southern Royal Palm Beach, LLC
                                                                                         c/o InvenTrust Property Management, LLC
             List the contract number of any                                             Attn: Legal - Leasing & Property Mgmt
                   government contract                                                   Downers Grove, IL 60515


 2.215.      State what the contract or                   Lessee for location at
             lease is for and the nature of               528 Rancho Cordova
             the debtor's interest                        Active dated 03/01/1994

                  State the term remaining                7/31/2022
                                                                                         Bradshaw Corporate Plaza, LP
             List the contract number of any                                             9574 Micron Avenue
                   government contract                                                   Sacramento, CA 95827-2622


 2.216.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Rancho Cordova Active
             the debtor's interest                        dated 10/01/1990

                  State the term remaining                776 Days
                                                                                         Bradshaw Corporate Plaza, LP
             List the contract number of any                                             9857 Horn Road
                   government contract                                                   Sacramento, CA 95827


 2.217.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Rosenberg Brazos
             the debtor's interest                        Town Center dated
                                                          12/31/2016                     Brazos TC South - Partnership B, LP
                  State the term remaining                Undetermined                   c/o NewQuest Prop Attn: Property Manager
                                                                                         8827 W Sam Houston Parkway N
             List the contract number of any                                             Suite 200
                   government contract                                                   Houston, TX 77040


 2.218.      State what the contract or                   Lessee for location at
             lease is for and the nature of               387 Rosenberg Super
             the debtor's interest                        Sport dated 12/31/2016

                  State the term remaining                6/30/2032
                                                                                         Brazos TC South - Partnership B, LP
             List the contract number of any                                             4112 FM 762
                   government contract                                                   Rosenberg, TX 77471-5877


 2.219.      State what the contract or                   Lease Agreement for            BRE DDR BR Cornerstar CO LLC
             lease is for and the nature of               Parker-Arapahoe Super          EVP Leasing | DDR Corp.
             the debtor's interest                        Sport dated 08/22/2008         3300 Enterprise Parkway
                                                                                         Beachwood, OH 44122
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 39 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 680 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.220.      State what the contract or                   Lessee for location at
             lease is for and the nature of               663 Parker Arapahoe
             the debtor's interest                        Super Sport dated
                                                          08/22/2008
                  State the term remaining                8/31/2028
                                                                                         BRE DDR BR Cornerstar CO LLC
             List the contract number of any                                             15900 E Briarwood Circle
                   government contract                                                   Aurora, CO 80016-1564


 2.221.      State what the contract or                   Lessee for location at
             lease is for and the nature of               907 Fontana North
             the debtor's interest                        dated 03/16/2007

                  State the term remaining                3/31/2022
                                                                                         BRE DDR CROCODILE FALCON RGE TWN CNTR II
             List the contract number of any                                             15310 Summit Avenue
                   government contract                                                   Fontana, CA 92336-0236


 2.222.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Fontana North Sport
             the debtor's interest                        dated 03/16/2007

                  State the term remaining                Undetermined                   BRE DDR Crocodile Falcon Ridge Twn CtrII
                                                                                         c/o SITE Centers Corp., Attn: GC
             List the contract number of any                                             3300 Enterprise Parkway
                   government contract                                                   Beachwood, OH 44122


 2.223.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               South Parker Super
             the debtor's interest                        Sport dated 01/19/2020
                                                                                         BRE DDR Flatacres Marketplace LLC
                  State the term remaining                Undetermined                   c/o SITE Centers Corp
                                                                                         Attn: General Counsel
             List the contract number of any                                             3300 Enterprise Parkway
                   government contract                                                   Beachwood, OH 44122


 2.224.      State what the contract or                   Lessee for location at
             lease is for and the nature of               460 South Parker Super
             the debtor's interest                        Sport dated 12/21/2019

                  State the term remaining                7/31/2035
                                                                                         BRE DDR Flatacres Marketplace LLC
             List the contract number of any                                             11481 S Twenty Mile Road
                   government contract                                                   Parker, CO 80134




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 40 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 681 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.225.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Houston Heights Super
             the debtor's interest                        Sport dated 12/21/2019

                  State the term remaining                Undetermined                   BRE Retail Residual Owner 1, LLC
                                                                                         c/o Brixmor Property Group, Inc.
             List the contract number of any                                             3901 Bellaire Boulevard
                   government contract                                                   Houston, TX 77025


 2.226.      State what the contract or                   Lessee for location at
             lease is for and the nature of               672 Houston Heights
             the debtor's interest                        Super Sport dated
                                                          12/21/2019
                  State the term remaining                Undetermined                   BRE Retail Residual Owner 1, LLC
                                                                                         1513 West 18th St
             List the contract number of any                                             Store #14
                   government contract                                                   Houston, TX 77008


 2.227.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Pacifica Active dated
             the debtor's interest                        08/01/2000

                  State the term remaining                Undetermined
                                                                                         Brentwood Holding Company
             List the contract number of any                                             180 South Spruce Avenue, #160
                   government contract                                                   South San Francisco, CA 94080


 2.228.      State what the contract or                   Lessee for location at
             lease is for and the nature of               487 Pacifica Active
             the debtor's interest                        dated 05/01/2003

                  State the term remaining                7/31/2022
                                                                                         Brentwood Holding Company
             List the contract number of any                                             555 Oceana Blvd.
                   government contract                                                   Pacifica, CA 94044-1902


 2.229.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Rowlett (Pipeline)
             the debtor's interest                        dated Based on
                                                          LL/Permit Delivery
                  State the term remaining                Undetermined                   Briarwood Rowlett, LLC
                                                                                         5959 Sherry Lane
             List the contract number of any                                             Suite 1250
                   government contract                                                   Dallas, TX 75225


 2.230.      State what the contract or                   Revocable Services
             lease is for and the nature of               dated 04/01/2015
             the debtor's interest                                                       Brickman Facility Solutions, LLC
                                                                                         Attn: Rudy Holiday
                  State the term remaining                Undetermined                   6530 West Campus Oval
                                                                                         Suite 300
             List the contract number of any                                             New Albany, OH 43054
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 41 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 682 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.231.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10/01/2015
                                                                                         Brickman Facility Solutions, LLC
                  State the term remaining                Undetermined                   Attn: Rudy Holiday
                                                                                         6530 West Campus Oval
             List the contract number of any                                             Suite 300
                   government contract                                                   New Albany, OH 43054


 2.232.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/01/2017
                                                                                         Brightview Enterprise Solutions, LLC
                  State the term remaining                Undetermined                   Attn: Rudy Holiday
                                                                                         6530 West Campus Oval
             List the contract number of any                                             Suite 300
                   government contract                                                   New Albany, OH 43054


 2.233.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/01/2017
                                                                                         Brightview Enterprise Solutions, LLC
                  State the term remaining                Undetermined                   Attn: Rudy Holiday
                                                                                         6530 West Campus Oval
             List the contract number of any                                             Suite 300
                   government contract                                                   New Albany, OH 43054


 2.234.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/01/2017
                                                                                         Brightview Enterprise Solutions, LLC
                  State the term remaining                Undetermined                   Attn: Rudy Holiday
                                                                                         6530 West Campus Oval
             List the contract number of any                                             Suite 300
                   government contract                                                   New Albany, OH 43054


 2.235.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Gulf Freeway Sport
             the debtor's interest                        dated 04/22/2005
                                                                                         Brixmor GA Apollo III TX LP
                  State the term remaining                Undetermined                   c/o Brixmor Property Group
                                                                                         Attn: Office of General Counsel Property
             List the contract number of any                                             450 Lexington Avenue 13th Floor
                   government contract                                                   New York, NY 10017


 2.236.      State what the contract or                   Lessee for location at
             lease is for and the nature of               301 Gulf Fwy Sport             Brixmor GA Apollo III TX LP
             the debtor's interest                        dated 04/22/2005               11528 Gulf Freeway
                                                                                         Houston, TX 77034-3530
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 42 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 683 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                4/30/2025

             List the contract number of any
                   government contract


 2.237.      State what the contract or                   Lessee for location at
             lease is for and the nature of               313 Nasa Active dated
             the debtor's interest                        12/19/2003

                  State the term remaining                12/18/2023
                                                                                         BRIXMOR HOLDINGS 12 SPE LLC - V00004136
             List the contract number of any                                             1017 Bay Area Blvd.
                   government contract                                                   Houston, TX 77058-2605


 2.238.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Nasa Active dated
             the debtor's interest                        12/19/2003
                                                                                         Brixmor Holdings 12 SPE, LLC
                  State the term remaining                Undetermined                   c/o Brixmor Property Group
                                                                                         Attn: Office of General Counsel Property
             List the contract number of any                                             450 Lexington Avenue 13th Floor
                   government contract                                                   New York, NY 10017


 2.239.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Camarillo Sport dated
             the debtor's interest                        02/11/2002
                                                                                         Brixmor Holdings 12 SPE, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         450 Lexington Avenue
             List the contract number of any                                             13th Floor
                   government contract                                                   New York, NY 10017


 2.240.      State what the contract or                   Lessee for location at
             lease is for and the nature of               098 Camarillo Sport
             the debtor's interest                        dated 03/01/2002

                  State the term remaining                2/28/2027
                                                                                         Brixmor Holdings 12 SPE, LLC
             List the contract number of any                                             453 Carmen Drive
                   government contract                                                   Camarillo, CA 93010-6010


 2.241.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               East Setauket (Pipeline)
             the debtor's interest                        dated 07/02/2020

                  State the term remaining                Undetermined                   Brixmor SPE 2 LLC
                                                                                         c/o Brixmor Property Group Inc.
             List the contract number of any                                             3901 Bellaire Boulevard
                   government contract                                                   Houston, TX 77025




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 43 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 684 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.242.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Rainbow Super Sport
             the debtor's interest                        dated 05/04/2018
                                                                                         Brixton-Alto Rainbow II LLC
                  State the term remaining                Undetermined                   c/o RU Rainbow Blvd Las Vegas NV, LLC
                                                                                         Attn: Asset Management, Rich Uncles
             List the contract number of any                                             3090 Bristol Street
                   government contract                                                   Costa Mesa, CA 92626


 2.243.      State what the contract or                   Music License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2009

                  State the term remaining                Undetermined                   Broadcast Music, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             320 West 57th Street
                   government contract                                                   New York, NY 10019


 2.244.      State what the contract or                   Music Performance
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2019

                  State the term remaining                Undetermined                   Broadcast Music, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             320 West 57th Street
                   government contract                                                   New York, NY 10019


 2.245.      State what the contract or                   Music Performance
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/06/2009

                  State the term remaining                Undetermined                   Broadcast Music, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             PO Box 630893
                   government contract                                                   Cincinnati, OH 45263-0893


 2.246.      State what the contract or                   Lessee for location at
             lease is for and the nature of               425 Portland
             the debtor's interest                        McLoughlin Super
                                                          Sport dated 08/14/2009
                  State the term remaining                8/13/2024
                                                                                         Brooklyn Yard Watumull
             List the contract number of any                                             4546 SE McLoughlin Blvd
                   government contract                                                   Portland, OR 97202-5041


 2.247.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Portland McLoughlin
             the debtor's interest                        SuperSport dated
                                                          08/14/2009                     Brooklyn Yard Watumull, LLC
                  State the term remaining                Undetermined                   c/o Kidder Mathews
                                                                                         One SW Columbia Street
             List the contract number of any                                             Portland, OR 97258
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 44 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 685 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.248.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Carrollton Woodlake
             the debtor's interest                        Super Sport dated
                                                          11/23/2019                     BT Carrollton, LP
                  State the term remaining                Undetermined                   c/o BET Investments, Inc.
                                                                                         Attn: President
             List the contract number of any                                             200 Dryden Road
                   government contract                                                   Dresher, PA 19025


 2.249.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Fountain Valley Super
             the debtor's interest                        Sport dated 12/19/2015
                                                                                         Builders Associates #3
                  State the term remaining                Undetermined                   Attn: Arnold Schlesinger
                                                                                         9595 Wilshire Blvd
             List the contract number of any                                             Ste 700
                   government contract                                                   Beverly Hills, CA 90212


 2.250.      State what the contract or                   Lessee for location at
             lease is for and the nature of               651 Rockwall Sport
             the debtor's interest                        dated 12/01/2007

                  State the term remaining                11/30/2027
                                                                                         Builders Associates #3
             List the contract number of any                                             405 East Interstate 30
                   government contract                                                   Rockwall, TX 75087-5406


 2.251.      State what the contract or                   Lessee for location at
             lease is for and the nature of               448 Fountain Valley
             the debtor's interest                        Super Sport dated
                                                          12/19/2015
                  State the term remaining                12/31/2035
                                                                                         Builders Associates #3
             List the contract number of any                                             17200 Brookhurst St
                   government contract                                                   Fountain Valley, CA 92708


 2.252.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Rockwall Sport dated
             the debtor's interest                        12/01/2007
                                                                                         Builders Associates III
                  State the term remaining                Undetermined                   c/o AVG Partners
                                                                                         9595 Wilshire Boulevard
             List the contract number of any                                             Suite 700
                   government contract                                                   Beverly Hills, CA 90212


 2.253.      State what the contract or                   Security Services         Burns Intl Security Services Corporation
             lease is for and the nature of               Agreement dated           Securitas Security Services USA, Inc.
             the debtor's interest                        12/20/2002                Attn: General Counsel
                                                                                    9 Campus Drive
Official Form 206G                               Schedule G: Executory Contracts andParsippany,  NJ 07054
                                                                                     Unexpired Leases                                   Page 45 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 686 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.254.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest
                                                                                         Cadence Solutions, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         9650 20 Avenue NW,Unit 108
             List the contract number of any                                             Edmonton AB T6N 1G1
                   government contract                                                   Canada


 2.255.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/14/2018
                                                                                         Cadence Solutions, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         3320A Parsons Road NW
             List the contract number of any                                             Edmonton AB T6N 1B5
                   government contract                                                   Canada


 2.256.      State what the contract or                   Revocable Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02/01/2014

                  State the term remaining                Potentially Expired            Cagwin & Dorward
                                                                                         Attn: Regional Sales Manager
             List the contract number of any                                             PO Box 1600
                   government contract                                                   Novato, CA 94948


 2.257.      State what the contract or                   Quotation & Agreement
             lease is for and the nature of               dated 02/13/2014
             the debtor's interest

                  State the term remaining                Undetermined                   Cagwin & Dorward
                                                                                         Attn: Regional Sales Manager
             List the contract number of any                                             PO Box 1600
                   government contract                                                   Novato, CA 94948


 2.258.      State what the contract or                   Quotation & Agreement
             lease is for and the nature of               dated 04/10/2014
             the debtor's interest

                  State the term remaining                Undetermined                   Cagwin & Dorward
                                                                                         Attn: Regional Sales Manager
             List the contract number of any                                             PO Box 1600
                   government contract                                                   Novato, CA 94948




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 46 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 687 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.259.      State what the contract or                   Revocable Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02/01/2015

                  State the term remaining                Undetermined                   Cagwin & Dorward
                                                                                         Attn: Regional Sales Manager
             List the contract number of any                                             PO Box 1600
                   government contract                                                   Novato, CA 94948


 2.260.      State what the contract or                   Revocable Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02/01/2014

                  State the term remaining                Potentially Expired            Cagwin & Dorward
                                                                                         Attn: Regional Sales Manager
             List the contract number of any                                             PO Box 1600
                   government contract                                                   Novato, CA 94948


 2.261.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02/01/2014

                  State the term remaining                Potentially Expired            Cagwin & Dorward
                                                                                         Attn: Regional Sales Manager
             List the contract number of any                                             PO Box 1600
                   government contract                                                   Novato, CA 94948


 2.262.      State what the contract or                   Revocable Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02/01/2014

                  State the term remaining                Undetermined                   Cagwin & Dorward
                                                                                         Attn: Regional Sales Manager
             List the contract number of any                                             PO Box 1600
                   government contract                                                   Novato, CA 94948


 2.263.      State what the contract or                   Contract for
             lease is for and the nature of               Construction dated
             the debtor's interest                        05/29/2019

                  State the term remaining                Undetermined                   Cal Select Builders, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             23253 La Palma Avenue
                   government contract                                                   Yorba Linda, CA 92887-4768


 2.264.      State what the contract or                   Cal Select Builders
             lease is for and the nature of               Construction Contract
             the debtor's interest                        dated 01/11/2018
                                                                                         Cal Select Builders, Inc.
                  State the term remaining                Undetermined                   Attn: Chris Kretz
                                                                                         23253 La Palma Avenue
             List the contract number of any                                             Yorba Linda, CA 92887-4768
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 47 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 688 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.265.      State what the contract or                   Cal Select Builders
             lease is for and the nature of               Construction Contract
             the debtor's interest                        dated 03/12/2018

                  State the term remaining                Undetermined                   Cal Select Builders, Inc.
                                                                                         Attn: Chris Kretz
             List the contract number of any                                             23253 La Palma Avenue
                   government contract                                                   Yorba Linda, CA 92887-4768


 2.266.      State what the contract or                   Cal Select Builders
             lease is for and the nature of               Construction Contract
             the debtor's interest                        dated 08/12/2019

                  State the term remaining                Undetermined                   Cal Select Builders, Inc.
                                                                                         Attn: Chris Kretz
             List the contract number of any                                             23253 La Palma Avenue
                   government contract                                                   Yorba Linda, CA 92887-4768


 2.267.      State what the contract or                   Lessee for location at
             lease is for and the nature of               497 Santa Teresa Sport
             the debtor's interest                        dated 08/01/2002

                  State the term remaining                5/31/2027
                                                                                         Camino Verde Associates
             List the contract number of any                                             6223 Santa Teresa Blvd
                   government contract                                                   San Jose, CA 95119-1436


 2.268.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Santa Teresa (San
             the debtor's interest                        Jose) Sport dated
                                                          12/01/2000
                  State the term remaining                Undetermined                   Camino Verde Associates, L.P.
                                                                                         c/o Duckett-Wilson Development Company
             List the contract number of any                                             11150 Santa Monica Blvd., Suite 760
                   government contract                                                   Los Angeles, CA 90025


 2.269.      State what the contract or                   Software Agreement
             lease is for and the nature of               dated 11/01/2016
             the debtor's interest
                                                                                         Camunda Inc
                  State the term remaining                Potentially Expired            Attn: Frederic Meier
                                                                                         275 Battery St
             List the contract number of any                                             Suite 2600
                   government contract                                                   San Francisco, CA 94111


 2.270.      State what the contract or                   Lease Agreement for       Canepa Angelo J & Lucille
             lease is for and the nature of               Santa Cruz Super Sport    Cheryl E. Panattoni, Trustee of the
             the debtor's interest                        dated 01/07/1993          Cheryl Panattoni Trust
                                                                                    c/o CP Books 26344 Carmel Rancho Lane
Official Form 206G                               Schedule G: Executory Contracts andCarmel,  CALeases
                                                                                     Unexpired  93923                                   Page 48 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 689 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.271.      State what the contract or                   Lessee for location at
             lease is for and the nature of               517 Santa Cruz Super
             the debtor's interest                        Sport Sport dated
                                                          01/01/1993
                  State the term remaining                1/6/2023
                                                                                         Canepa, Angelo J. & Lucille
             List the contract number of any                                             1261 Soquel Avenue
                   government contract                                                   Santa Cruz, CA 95062-2107


 2.272.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Capital Mall Active
             the debtor's interest                        dated 06/01/2007
                                                                                         Capital Mall Land LLC
                  State the term remaining                Undetermined                   SRP Property Management LLC
                                                                                         Attn: Lease Coordination
             List the contract number of any                                             1 E Wacker Drive
                   government contract                                                   Chicago, IL 60601


 2.273.      State what the contract or                   Lessee for location at
             lease is for and the nature of               081 West Covina Sport
             the debtor's interest                        dated 09/01/2002

                  State the term remaining                4/30/2027
                                                                                         Capital Premier Property LLC
             List the contract number of any                                             1530 West Covina Parkway
                   government contract                                                   West Covina, CA 91790-2703


 2.274.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Alameda Ave (Denver)
             the debtor's interest                        Sport dated 09/01/2000

                  State the term remaining                Undetermined                   Caplow Denver, LLC
                                                                                         9533 W Pico Boulevard
             List the contract number of any                                             Suite A
                   government contract                                                   Los Angeles, CA 90035


 2.275.      State what the contract or                   Lessee for location at
             lease is for and the nature of               351 Alameda Ave Sport
             the debtor's interest                        dated 11/01/2000

                  State the term remaining                8/31/2025
                                                                                         Caplow Denver, LLC
             List the contract number of any                                             4120 E. Alameda
                   government contract                                                   Denver, CO 80246-1069




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 49 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 690 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.276.      State what the contract or                   Direct Purchase HVAC
             lease is for and the nature of               Equipment Agreement
             the debtor's interest                        dated 03/01/2008

                  State the term remaining                Potentially Expired            Carrier Corporation
                                                                                         Attn: National Account Sales Manager
             List the contract number of any                                             18406 Buck Lake Circle
                   government contract                                                   Prior Lake, MN 55372


 2.277.      State what the contract or                   Direct Purchase HVAC
             lease is for and the nature of               Equipment Agreement
             the debtor's interest                        with Exhibits dated
                                                          03/01/2008
                  State the term remaining                Undetermined                   Carrier Corporation
                                                                                         Attn: National Account Sales Manager
             List the contract number of any                                             18406 Buck Lake Circle
                   government contract                                                   Prior Lake, MN 55372


 2.278.      State what the contract or                   Direct Purchase HVAC
             lease is for and the nature of               Equipment Agreement
             the debtor's interest                        dated 03/01/2006

                  State the term remaining                Potentially Expired            Carrier National Accounts
                                                                                         Attn: General Counsel
             List the contract number of any                                             18 Emily Road
                   government contract                                                   Mazomanie, WI 53560


 2.279.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Boynton Beach Super
             the debtor's interest                        Sport dated 05/18/2008

                  State the term remaining                Undetermined                   Catalina Shoppes FLA, LLC
                                                                                         8903 Glades Road
             List the contract number of any                                             Suite A-14
                   government contract                                                   Boca Raton, FL 33434


 2.280.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10/14/2013

                  State the term remaining                Undetermined                   CDW Direct, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             200 N. Milwaukee Avenue
                   government contract                                                   Vernon Hills, IL 60061


 2.281.      State what the contract or                   Master Services Sales
             lease is for and the nature of               Agreement and
             the debtor's interest                        Statement of Work
                                                          dated 10/14/2013               CDW Direct, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         200 N. Milwaukee Avenue
             List the contract number of any                                             Vernon Hills, IL 60061
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 50 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 691 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.282.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Cedar Park (Pipeline)
             the debtor's interest                        dated Based on
                                                          LL/Permit Delivery             Cedar Park Town Center LP
                  State the term remaining                Undetermined                   CPTC 24HF LLC
                                                                                         2415 W Alabama
             List the contract number of any                                             Suite 205
                   government contract                                                   Houston, TX 77098


 2.283.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Massapequa Super
             the debtor's interest                        Sport dated 12/27/2018
                                                                                         Cedar-Carmans LLC
                  State the term remaining                Undetermined                   c/o Cedar Realty Trust Partnership LP
                                                                                         44 South Bayles Avenue
             List the contract number of any                                             Suite 304
                   government contract                                                   Port Washington, NY 11050


 2.284.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Broomfield Sport dated
             the debtor's interest                        09/11/2000
                                                                                         Centennial Properties Inc
                  State the term remaining                Undetermined                   Centennial Properties Denver, LLC
                                                                                         Attn: Doug Yost
             List the contract number of any                                             999 West Riverside
                   government contract                                                   Spokane, WA 99201


 2.285.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Piscataway Super
             the debtor's interest                        Sport dated 12/12/2019
                                                                                         Centennial Square LLC
                  State the term remaining                Undetermined                   Leasing Administrator
                                                                                         820 Morris Turnpike
             List the contract number of any                                             Suite 301
                   government contract                                                   Short Hills, NJ 07078


 2.286.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Cerritos Super Sport
             the debtor's interest                        dated 12/19/2015
                                                                                         Cerritos Retail CenterCal, LLC
                  State the term remaining                Undetermined                   c/o CenterCal Properties, LLC
                                                                                         Attn: Jean Paul Wardy
             List the contract number of any                                             1600 East Franklin Avenue
                   government contract                                                   El Segundo, CA 90245


 2.287.      State what the contract or                   Lessee for location at
             lease is for and the nature of               931 Cerritos Super             Cerritos Retail CenterCal, LLC
             the debtor's interest                        Sport dated 12/19/2015         17970 Studebaker Road, Plaza 183
                                                                                         Cerritos, CA 90703-2645
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 51 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 692 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                12/31/2030

             List the contract number of any
                   government contract


 2.288.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Moreno Valley Super
             the debtor's interest                        Sport dated 11/22/2014
                                                                                         Che Chen Liu & Shu Fen Liu, Trustees
                  State the term remaining                Undetermined                   The Che Chen Liu Shu Fen Liu Rev Trust
                                                                                         Attn: Andy Liu
             List the contract number of any                                             4076 Oak Manor Court
                   government contract                                                   Hayward, CA 94542


 2.289.      State what the contract or                   Lessee for location at
             lease is for and the nature of               925 Moreno Valley
             the debtor's interest                        Super Sport dated
                                                          11/22/2014
                  State the term remaining                12/31/2034
                                                                                         Che Chen Liu & Shu Fen Liu, Trustees
             List the contract number of any                                             12660 Day Street
                   government contract                                                   Moreno Valley, CA 92553-7521


 2.290.      State what the contract or                   Lessee for location at
             lease is for and the nature of               925 Moreno Valley
             the debtor's interest                        Super Sport dated
                                                          11/22/2014
                  State the term remaining                8/31/2034
                                                                                         Che Chen Liu & Shu Fen Liu, Trustees
             List the contract number of any                                             12660 Day Street
                   government contract                                                   Moreno Valley, CA 92553-7521


 2.291.      State what the contract or                   Lessee for location at
             lease is for and the nature of               925 Moreno Valley
             the debtor's interest                        Super Sport dated
                                                          11/22/2014
                  State the term remaining                8/31/2034
                                                                                         Che Chen Liu & Shu Fen Liu, Trustees
             List the contract number of any                                             12660 Day Street
                   government contract                                                   Moreno Valley, CA 92553-7521


 2.292.      State what the contract or                   Lessee for location at
             lease is for and the nature of               821 San Jose East Side
             the debtor's interest                        Super Sport dated
                                                          08/10/2019
                  State the term remaining                3/31/2030
                                                                                         Chi Chiu Lo Trust
             List the contract number of any                                             2323 McKee Road
                   government contract                                                   San Jose, CA 95116




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 52 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 693 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.293.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               East Side San Jose
             the debtor's interest                        Super Sport dated
                                                          03/05/2020
                  State the term remaining                Undetermined
                                                                                         Chi Chiu Lo Trust
             List the contract number of any                                             PO Box 5161
                   government contract                                                   Redwood City, CA 94063


 2.294.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Chino Super Sport
             the debtor's interest                        dated 01/06/2014
                                                                                         Chino Central Group LLC
                  State the term remaining                Undetermined                   c/o Athena Property Management
                                                                                         730 El Camino Way
             List the contract number of any                                             Ste 200
                   government contract                                                   Tustin, CA 92780


 2.295.      State what the contract or                   Lessee for location at
             lease is for and the nature of               897 Chino Central Ave
             the debtor's interest                        SS dated 12/14/2013

                  State the term remaining                12/31/2029
                                                                                         Chino Central Group LLC
             List the contract number of any                                             12155 Central Ave
                   government contract                                                   Chino, CA 91710-2421


 2.296.      State what the contract or                   Master Purchasing
             lease is for and the nature of               Agreement dated
             the debtor's interest                        07/01/2018

                  State the term remaining                Undetermined                   Chlorine Genie, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1610 N Refugee Road
                   government contract                                                   Santa Ynez, CA 93460


 2.297.      State what the contract or                   Master Purchasing
             lease is for and the nature of               Agreement dated
             the debtor's interest                        07/01/2018

                  State the term remaining                Undetermined                   Chlorine Genie, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1610 N Refugee Road
                   government contract                                                   Santa Ynez, CA 93460


 2.298.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Madison Square Park
             the debtor's interest                        UltraSport dated               CIM/225 5th Avenue (NY), LLC
                                                          11/09/2007                     Attn: Jeff Mack, Property Manager
                  State the term remaining                Undetermined                   6922 Hollywood Boulevard
                                                                                         Suite 300
             List the contract number of any                                             Bethesda, MD 20814
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 53 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 694 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.299.      State what the contract or                   National First Aid and
             lease is for and the nature of               Safety Agreement
             the debtor's interest                        dated 07/06/2017
                                                                                         Cintas Corporation
                  State the term remaining                5 Days                         Attn: General Counsel
                                                                                         6800 Cintas Blvd.
             List the contract number of any                                             Suite 9151
                   government contract                                                   Cincinnati, OH 45262-5737


 2.300.      State what the contract or                   Consulting Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/01/2016

                  State the term remaining                Undetermined                   Cipher Solutions, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1869 Balsam Willow Trail
                   government contract                                                   Orlando, FL 32825


 2.301.      State what the contract or                   Consulting Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10/20/2017

                  State the term remaining                Undetermined                   Cipher Solutions, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1869 Balsam Willow Trail
                   government contract                                                   Orlando, FL 32825


 2.302.      State what the contract or                   Cipher Solutions
             lease is for and the nature of               Consulting Services
             the debtor's interest                        Agreement dated
                                                          10/20/2017
                  State the term remaining                Undetermined                   Cipher Solutions, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1869 Balsam Willow Trail
                   government contract                                                   Orlando, FL 32825


 2.303.      State what the contract or                   License Agreement
             lease is for and the nature of               Program dated
             the debtor's interest                        07/25/2017

                  State the term remaining                Potentially Expired            Cisco Systems, Inc.
                                                                                         Attn: Jeff Shirazi - Charles Foster
             List the contract number of any                                             16720 Collections Center Drive
                   government contract                                                   Chicago, IL 60693


 2.304.      State what the contract or                   License Agreeement             Cisco Systems, Inc.
             lease is for and the nature of               Program dated                  Attn: Jeff Shirazi - Charles Foster
             the debtor's interest                        07/25/2017                     16720 Collections Center Drive
                                                                                         Chicago, IL 60693
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 54 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 695 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.305.      State what the contract or                   License Agreement
             lease is for and the nature of               Program dated
             the debtor's interest                        07/25/2017

                  State the term remaining                Potentially Expired            Cisco Systems, Inc.
                                                                                         Attn: Jeff Shirazi - Charles Foster
             List the contract number of any                                             16720 Collections Center Drive
                   government contract                                                   Chicago, IL 60693


 2.306.      State what the contract or                   Order Form Master
             lease is for and the nature of               service Agreement
             the debtor's interest                        dated 11/03/2017
                                                                                         Cision US, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1 Prudential Plaza, 7th Floor
             List the contract number of any                                             130 E Randolph Street
                   government contract                                                   Chicago, IL 60601


 2.307.      State what the contract or                   Order Form and
             lease is for and the nature of               Statement of Work
             the debtor's interest                        dated 02/22/2018
                                                                                         Cision US, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         1 Prudential Plaza, 7th Floor
             List the contract number of any                                             130 E Randolph Street
                   government contract                                                   Chicago, IL 60601


 2.308.      State what the contract or                   Order Form to Master
             lease is for and the nature of               Service Agreement
             the debtor's interest                        dated 08/03/2017
                                                                                         Cision US, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1 Prudential Plaza, 7th Floor
             List the contract number of any                                             130 E Randolph Street
                   government contract                                                   Chicago, IL 60601


 2.309.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2013

                  State the term remaining                Undetermined                   Cision US, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             130 East Randolf Street
                   government contract                                                   Chicago, IL 60601




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 55 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 696 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.310.      State what the contract or                   Order Form and
             lease is for and the nature of               Statement of Work
             the debtor's interest                        dated 02/22/2019

                  State the term remaining                Potentially Expired            Cision US, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             130 East Randolf Street
                   government contract                                                   Chicago, IL 60601


 2.311.      State what the contract or                   Professional Services
             lease is for and the nature of               Contract dated
             the debtor's interest                        06/17/2009

                  State the term remaining                Potentially Expired            City of Los Angeles
                                                                                         Attn: General Counsel
             List the contract number of any                                             200 North Spring Street
                   government contract                                                   Los Angeles, CA 90012


 2.312.      State what the contract or                   Sublessee for location
             lease is for and the nature of               at 151 Wigwam Sport
             the debtor's interest                        dated 02/01/1999

                  State the term remaining                10/31/2023
                                                                                         CK Pecos LLC
             List the contract number of any                                             2556 Wigwam Parkway
                   government contract                                                   Henderson, NV 89074-6226


 2.313.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Compton Sport dated
             the debtor's interest                        04/01/2008
                                                                                         CLPF Gateway Towne Center LP
                  State the term remaining                Undetermined                   c/o Vestar Property Management
                                                                                         2425 E. Camelback
             List the contract number of any                                             Suite 750
                   government contract                                                   Phoenix, AZ 85016


 2.314.      State what the contract or                   Lessee for location at
             lease is for and the nature of               916 Compton Sport
             the debtor's interest                        dated 05/02/2008

                  State the term remaining                3/31/2023
                                                                                         CLPF Gateway Towne Center LP
             List the contract number of any                                             110 Towne Center Drive
                   government contract                                                   Compton, CA 90220-6436


 2.315.      State what the contract or                   CLX Service Agreement
             lease is for and the nature of               - Cover Sheet dated
             the debtor's interest                        02/23/2018
                                                                                         CLX Communications, Inc.
                  State the term remaining                Undetermined                   Attn: Legal Department
                                                                                         7000 Central Parkway, Suite 1150
             List the contract number of any                                             Atlanta, GA 30328
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 56 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 697 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.316.      State what the contract or                   Management Software
             lease is for and the nature of               Service Agreement
             the debtor's interest                        dated 03/09/2016

                  State the term remaining                Undetermined                   CobbleStone Systems Corp.
                                                                                         Attn: Legal
             List the contract number of any                                             918 South White Horse Pike
                   government contract                                                   Somerdale, NJ 08083


 2.317.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Fremont Auto Mall
             the debtor's interest                        Super Sport dated
                                                          05/01/2013
                  State the term remaining                Undetermined                   COJAMA 2 LP
                                                                                         Attn: Jason Hammerman
             List the contract number of any                                             1232 Rose Lane
                   government contract                                                   Lafeyette, CA 94549


 2.318.      State what the contract or                   Lessee for location at
             lease is for and the nature of               493 Fremont Auto Mall
             the debtor's interest                        Super Sport dated
                                                          03/02/2013
                  State the term remaining                12/31/2033
                                                                                         COJAMA 2 LP - V0000413054
             List the contract number of any                                             4500 Auto Mall Parkway
                   government contract                                                   Fremont, CA 94538-3185


 2.319.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Fort Worth Horne Sport
             the debtor's interest                        dated 05/15/2009
                                                                                         Cole 24 Fort Worth TX LLC
                  State the term remaining                Undetermined                   Carbrijar LL
                                                                                         c/o Galaxy Property Management Corp
             List the contract number of any                                             Attn: Robert Zelman
                   government contract                                                   Syosset, NY 11791


 2.320.      State what the contract or                   Lessee for location at
             lease is for and the nature of               657 Fort Worth Horne
             the debtor's interest                        Sport dated 05/15/2009

                  State the term remaining                5/31/2036
                                                                                         COLE 24 FORT WORTH TX LLC - V0000413148
             List the contract number of any                                             2701 Halloran Street
                   government contract                                                   Fort Worth, TX 76107-4637


 2.321.      State what the contract or                   Lease Agreement for       Cole 24 Orlando FL LLC
             lease is for and the nature of               Kirkman Super Sport       Clelia Abruzzi, Property Mgr CIM Group
             the debtor's interest                        dated 07/08/2018          2325 East Camelback Road
                                                                                    10th Floor
Official Form 206G                               Schedule G: Executory Contracts andPhoenix,
                                                                                     UnexpiredAZ 85016
                                                                                               Leases                                   Page 57 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 698 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.322.      State what the contract or                   Lessee for location at
             lease is for and the nature of               636 Kirkman Super
             the debtor's interest                        Sport dated 08/23/2018

                  State the term remaining                1/31/2034
                                                                                         Cole 24 Orlando FL LLC
             List the contract number of any                                             1101 Resource Avenue
                   government contract                                                   Orlando, FL 32811-2203


 2.323.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Edmond Sport
             the debtor's interest                        (Assigned) dated
                                                          02/25/2014                     Cole LA Edmond OK LLC
                  State the term remaining                3,364 Days                     Fitness International LLC
                                                                                         Attn: Lease Administration
             List the contract number of any                                             3161 Michelson Drive
                   government contract                                                   Irvine, CA 92612


 2.324.      State what the contract or                   Lessee for location at
             lease is for and the nature of               251 Edmond Sport
             the debtor's interest                        (CLOSED) dated
                                                          11/20/2015
                  State the term remaining                8/31/2029
                                                                                         Cole LA Edmond OK, LLC
             List the contract number of any                                             2121 W Danforth Road
                   government contract                                                   Edmond, OK 73003


 2.325.      State what the contract or                   Masters Product and
             lease is for and the nature of               Services Agreement -
             the debtor's interest                        Not Dated
                                                                                         Colorado Pool Systems
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         12650 West 64th Avenue
             List the contract number of any                                             Unit E-124
                   government contract                                                   Arvada, CO 80004


 2.326.      State what the contract or                   Master Product and
             lease is for and the nature of               Services Agreement -
             the debtor's interest                        Not Dated
                                                                                         Colorado Pool Systems
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         12650 West 64th Avenue
             List the contract number of any                                             Unit E-124
                   government contract                                                   Arvada, CO 80004




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 58 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 699 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.327.      State what the contract or                   Master Product and
             lease is for and the nature of               Services Agreement -
             the debtor's interest                        Not Dated
                                                                                         Colorado Pool Systems
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         12650 West 64th Avenue
             List the contract number of any                                             Unit E-124
                   government contract                                                   Arvada, CO 80004


 2.328.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               North Colorado Springs
             the debtor's interest                        Sport dated 12/14/2007
                                                                                         Colorado Springs Fitness LP
                  State the term remaining                Undetermined                   Attn: J Michael Moore Titus Properties
                                                                                         1748 W Katella Avenue
             List the contract number of any                                             Suite 206
                   government contract                                                   Orange, CA 92867


 2.329.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Columbia Tech Sport
             the debtor's interest                        dated 04/06/2000

                  State the term remaining                Undetermined                   Columbia Tech Center, LLC
                                                                                         c/o Pacific Realty Associates, LP
             List the contract number of any                                             15350 SW Sequoia Parkway #300
                   government contract                                                   Portland, OR 97224


 2.330.      State what the contract or                   Lessee for location at
             lease is for and the nature of               411 Columbia Tech
             the debtor's interest                        Sport dated 04/01/2000

                  State the term remaining                4/30/2025
                                                                                         Columbia Tech Center, LLC
             List the contract number of any                                             800 S.E. Tech Center Drive
                   government contract                                                   Vancouver, WA 98683-5532


 2.331.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Livermore Super Sport
             the debtor's interest                        dated 05/01/2013

                  State the term remaining                Undetermined                   COLUMBUS AVENUE II LLC
                                                                                         5214-F Diamond Heights Blvd
             List the contract number of any                                             Suite 828
                   government contract                                                   San Francisco, CA 94131


 2.332.      State what the contract or                   Lessee for location at
             lease is for and the nature of               895 Livermore Super
             the debtor's interest                        Sport dated 12/22/2012

                  State the term remaining                12/31/2033                     COLUMBUS AVENUE II LLC - V0000412949
                                                                                         2650 Kittyhawk Road
             List the contract number of any                                             Livermore, CA 94551-9418
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 59 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 700 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.333.      State what the contract or                   Business Class Service
             lease is for and the nature of               Order Agreement
             the debtor's interest                        dated 05/18/2009

                  State the term remaining                Undetermined                   Comcast
                                                                                         Attn: Director of Business Customer Ops
             List the contract number of any                                             500 South Gravers Road
                   government contract                                                   Plymouth Meeting, PA 19462


 2.334.      State what the contract or                   Business Class Serice
             lease is for and the nature of               Order Agreement dated
             the debtor's interest                        07/02/2013

                  State the term remaining                Potentially Expired            Comcast
                                                                                         Attn: Director of Business Customer Ops
             List the contract number of any                                             500 South Gravers Road
                   government contract                                                   Plymouth Meeting, PA 19462


 2.335.      State what the contract or                   Business Class Service
             lease is for and the nature of               Order Agreement
             the debtor's interest                        dated 07/02/2013

                  State the term remaining                Potentially Expired            Comcast
                                                                                         Attn: Director of Business Customer Ops
             List the contract number of any                                             500 South Gravers Road
                   government contract                                                   Plymouth Meeting, PA 19462


 2.336.      State what the contract or                   Business Class Service
             lease is for and the nature of               Order Agreement
             the debtor's interest                        dated 07/02/2013

                  State the term remaining                Potentially Expired            Comcast
                                                                                         Attn: Director of Business Customer Ops
             List the contract number of any                                             500 South Gravers Road
                   government contract                                                   Plymouth Meeting, PA 19462


 2.337.      State what the contract or                   Business Class Service
             lease is for and the nature of               Order Agreement
             the debtor's interest                        dated 07/02/2013

                  State the term remaining                Potentially Expired            Comcast
                                                                                         Attn: Director of Business Customer Ops
             List the contract number of any                                             500 South Gravers Road
                   government contract                                                   Plymouth Meeting, PA 19462


 2.338.      State what the contract or                   Business Class Service         Comcast
             lease is for and the nature of               Order Agreement                Attn: Director of Business Customer Ops
             the debtor's interest                        dated 07/02/2017               500 South Gravers Road
                                                                                         Plymouth Meeting, PA 19462
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 60 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 701 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                16 Days

             List the contract number of any
                   government contract


 2.339.      State what the contract or                   Master Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/30/2011
                                                                                         Comcast Cable Communications Mgmt, LLC
                  State the term remaining                Potentially Expired            Attn: Vice President/ Enterprise Sales
                                                                                         One Combcast Center
             List the contract number of any                                             1701 JFK Boulevard
                   government contract                                                   Philadelphia, PA 19103


 2.340.      State what the contract or                   Approval, Summary
             lease is for and the nature of               and Service Renewals
             the debtor's interest                        dated 08/30/2013
                                                                                         Comcast Cable Communications Mgmt, LLC
                  State the term remaining                Undetermined                   Attn: Vice President/ Enterprise Sales
                                                                                         One Combcast Center
             List the contract number of any                                             1701 JFK Boulevard
                   government contract                                                   Philadelphia, PA 19103


 2.341.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09/06/2013
                                                                                         Comcast Cable Communications Mgmt, LLC
                  State the term remaining                Undetermined                   Attn: Vice President/ Enterprise Sales
                                                                                         One Combcast Center
             List the contract number of any                                             1701 JFK Boulevard
                   government contract                                                   Philadelphia, PA 19103


 2.342.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement and
             the debtor's interest                        Amendment dated
                                                          02/03/2015                     Comcast Cable Communications Mgmt, LLC
                  State the term remaining                Undetermined                   Attn: Vice President/ Enterprise Sales
                                                                                         One Combcast Center
             List the contract number of any                                             1701 JFK Boulevard
                   government contract                                                   Philadelphia, PA 19103


 2.343.      State what the contract or                   Approval, Summary
             lease is for and the nature of               and Service Agreement
             the debtor's interest                        Renewals dated
                                                          08/30/2013                     Comcast Cable Communications Mgmt, LLC
                  State the term remaining                Undetermined                   Attn: Vice President/ Enterprise Sales
                                                                                         One Combcast Center
             List the contract number of any                                             1701 JFK Boulevard
                   government contract                                                   Philadelphia, PA 19103




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 61 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 702 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.344.      State what the contract or                   Business Class Service
             lease is for and the nature of               Order Agreement - Not
             the debtor's interest                        Dated
                                                                                         Comcast Cable Communications Mgmt, LLC
                  State the term remaining                Potentially Expired            Attn: Vice President/ Enterprise Sales
                                                                                         One Comcast Center
             List the contract number of any                                             1701 JFK Boulevard
                   government contract                                                   Philadelphia, PA 19103


 2.345.      State what the contract or                   SERVICES SALES
             lease is for and the nature of               ORDER FORM dated
             the debtor's interest                        11/24/2015

                  State the term remaining                Potentially Expired            Comcast Enterprise Services
                                                                                         Attn: General Counsel
             List the contract number of any                                             4400 Port Union Rd
                   government contract                                                   West Chester, OH 45011-9714


 2.346.      State what the contract or                   SERVICES SALES
             lease is for and the nature of               ORDER FORM dated
             the debtor's interest                        11/13/2019

                  State the term remaining                880 Days                       Comcast Enterprise Services
                                                                                         Attn: General Counsel
             List the contract number of any                                             4400 Port Union Rd
                   government contract                                                   West Chester, OH 45011-9714


 2.347.      State what the contract or                   SERVICES SALES
             lease is for and the nature of               ORDER FORM dated
             the debtor's interest                        12/16/2019

                  State the term remaining                913 Days                       Comcast Enterprise Services
                                                                                         Attn: General Counsel
             List the contract number of any                                             4400 Port Union Rd
                   government contract                                                   West Chester, OH 45011-9714


 2.348.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04/09/2001
                                                                                         Comm-Works, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         2355 Polaris Lane North
             List the contract number of any                                             Suite 120
                   government contract                                                   Minneapolis, MN 55447


 2.349.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04/27/2017                     Comm-Works, LLC
                                                                                         Attn: Elizabeth Sullivan
                  State the term remaining                Undetermined                   2355 Polaris Lane North
                                                                                         Suite 120
             List the contract number of any                                             Plymouth, MN 55441
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 62 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 703 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.350.      State what the contract or                   PC Replacement dated
             lease is for and the nature of               02/12/2019
             the debtor's interest
                                                                                         Comm-Works, LLC
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         1405 Xenium Lane N
             List the contract number of any                                             Suite 120
                   government contract                                                   Minneapolis, MN 55441


 2.351.      State what the contract or                   PC Replacement dated
             lease is for and the nature of               04/03/2019
             the debtor's interest
                                                                                         Comm-Works, LLC
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         1405 Xenium Lane N
             List the contract number of any                                             Suite 120
                   government contract                                                   Minneapolis, MN 55441


 2.352.      State what the contract or                   Search Insertion
             lease is for and the nature of               Orders dated
             the debtor's interest                        02/02/2009
                                                                                         Commission Junction, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         30699 Russell Ranch Road
             List the contract number of any                                             Suite 250
                   government contract                                                   Westlake Village, CA 91362


 2.353.      State what the contract or                   Service Agreement
             lease is for and the nature of               dated 08/01/2008
             the debtor's interest

                  State the term remaining                Undetermined                   Commission Junction, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             530 East Montecito Street
                   government contract                                                   Santa Barbara, CA 93103


 2.354.      State what the contract or                   Service Agreement
             lease is for and the nature of               Amendment dated
             the debtor's interest                        06/22/2009

                  State the term remaining                Undetermined                   Commission Junction, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             530 East Montecito Street
                   government contract                                                   Santa Barbara, CA 93103


 2.355.      State what the contract or                   Service Agreement              Commission Junction, Inc.
             lease is for and the nature of               Amendment dated                Attn: General Counsel
             the debtor's interest                        03/24/2010                     530 East Montecito Street
                                                                                         Santa Barbara, CA 94501
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 63 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 704 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.356.      State what the contract or                   Service Agreement
             lease is for and the nature of               Amendment dated
             the debtor's interest                        01/27/2011

                  State the term remaining                Undetermined                   Commission Junction, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             530 East Montecito Street
                   government contract                                                   Santa Barbara, CA 94501


 2.357.      State what the contract or                   End User License and
             lease is for and the nature of               Limited Warranty
             the debtor's interest                        Agreement - Not Dated

                  State the term remaining                Undetermined                   Commvault Systems, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1 Commvault Way
                   government contract                                                   Tinton Falls, NJ 07724


 2.358.      State what the contract or                   Services Agreement -
             lease is for and the nature of               Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   Complete Health and Fitness Concepts, In
                                                                                         Attn: General Counsel
             List the contract number of any                                             501 Grand Avenue, L2
                   government contract                                                   Asbury Park, NJ 07712


 2.359.      State what the contract or                   Services Agreement -
             lease is for and the nature of               Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   Complete Health and Fitness Concepts, In
                                                                                         Attn: General Counsel
             List the contract number of any                                             501 Grand Avenue, L2
                   government contract                                                   Asbury Park, NJ 07712


 2.360.      State what the contract or                   Professional Services
             lease is for and the nature of               Contract dated
             the debtor's interest                        06/17/2009

                  State the term remaining                Potentially Expired            Computer Sciences Corporation
                                                                                         Attn: David W. Beach, Contract Admin
             List the contract number of any                                             7459A Candlewood Road
                   government contract                                                   Hanover, MD 21076




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 64 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 705 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.361.      State what the contract or                   Purchase Order -
             lease is for and the nature of               Master Subscription
             the debtor's interest                        Agreement dated
                                                          05/07/2018
                  State the term remaining                Potentially Expired            Conga
                                                                                         Attn: Brett Sanchez
             List the contract number of any                                             PO Box 7839
                   government contract                                                   Broomfield, CO 80021


 2.362.      State what the contract or                   Purchase Order -
             lease is for and the nature of               Master Subscription
             the debtor's interest                        Agreement dated
                                                          05/07/2019
                  State the term remaining                Potentially Expired            Conga
                                                                                         Attn: Brett Sanchez
             List the contract number of any                                             PO Box 7839
                   government contract                                                   Broomfield, CO 80021


 2.363.      State what the contract or                   Master Subscription
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   Conga
                                                                                         Attn: Brett Sanchez
             List the contract number of any                                             PO Box 7839
                   government contract                                                   Broomfield, CO 80021


 2.364.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Glendale Active dated
             the debtor's interest                        06/22/2017

                  State the term remaining                Undetermined                   Copperwood Square IA, LLC
                                                                                         Property Management Advisors
             List the contract number of any                                             1234-B E. 17th Street
                   government contract                                                   Santa Ana, CA 92701


 2.365.      State what the contract or                   Master Purchasing
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05/22/2017
                                                                                         Core Health & Fitness LLC
                  State the term remaining                Undetermined                   Attn: Dustin Grosz, President
                                                                                         4400 NE 77th Avenue
             List the contract number of any                                             Suite 300
                   government contract                                                   Vancouver, WA 98662


 2.366.      State what the contract or                   Master Purchasing
             lease is for and the nature of               Agreement For
             the debtor's interest                        Equipment dated
                                                          06/11/2018                     Core Health & Fitness LLC
                  State the term remaining                Undetermined                   Attn: Time Hawkins, Vice President, Global Sales
                                                                                         4400 NE 77th Avenue Suite 300
             List the contract number of any                                             Vancouver, WA 98662
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 65 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 706 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.367.      State what the contract or                   Master Purchasing
             lease is for and the nature of               Agreement For
             the debtor's interest                        Equipment dated
                                                          01/15/2019
                  State the term remaining                Undetermined                   Core Health & Fitness LLC
                                                                                         Attn: Time Hawkins, VP, Global Sales
             List the contract number of any                                             4400 NE 77th Avenue Suite 300
                   government contract                                                   Vancouver, WA 98662


 2.368.      State what the contract or                   Agreement for Services
             lease is for and the nature of               dated 11/30/2017
             the debtor's interest

                  State the term remaining                Undetermined                   Corodata Records Management, Inc.
                                                                                         Attn: Paola Pascual
             List the contract number of any                                             PO Box 842638
                   government contract                                                   Los Angeles, CA 90084-2638


 2.369.      State what the contract or                   Agreement for Services
             lease is for and the nature of               dated 11/30/2017
             the debtor's interest

                  State the term remaining                Undetermined                   Corodata Records Management, Inc.
                                                                                         Attn: Paola Pascual
             List the contract number of any                                             PO Box 842638
                   government contract                                                   Los Angeles, CA 90084-2638


 2.370.      State what the contract or                   Agree for Services
             lease is for and the nature of               dated 02/01/2015
             the debtor's interest

                  State the term remaining                Undetermined                   Corodata Shredding, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             12375 Kerran Street
                   government contract                                                   Poway, CA 92064


 2.371.      State what the contract or                   Agreement for Services
             lease is for and the nature of               dated 02/01/2016
             the debtor's interest

                  State the term remaining                Undetermined                   Corodata Shredding, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             12375 Kerran Street
                   government contract                                                   Poway, CA 92064


 2.372.      State what the contract or                   Strategic Account         Corporate Express Office Products, Inc.
             lease is for and the nature of               Agreement dated           Attn: Thomas F. Cullen
             the debtor's interest                        12/01/2006                Senior Vice Pres. and General Counsel
                                                                                    1 Enviromental Way
Official Form 206G                               Schedule G: Executory Contracts andBroomfield,  CO 80021
                                                                                     Unexpired Leases                                   Page 66 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 707 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.373.      State what the contract or                   Custom Program
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2009

                  State the term remaining                Potentially Expired            Corporate Express Promotional Mkting Inc
                                                                                         Attn: Kim Dickinson
             List the contract number of any                                             1400 North Price Road
                   government contract                                                   St. Louis, MO 63132-2308


 2.374.      State what the contract or                   Application Services
             lease is for and the nature of               and Professional
             the debtor's interest                        Services Agreement
                                                          dated 06/30/2016
                  State the term remaining                Undetermined                   Costar Realty Information, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1331 L Street NW
                   government contract                                                   Washington, DC 20005


 2.375.      State what the contract or                   Application Services
             lease is for and the nature of               and Professional
             the debtor's interest                        Services Agreement
                                                          dated 10/25/2019
                  State the term remaining                862 Days                       Costar Realty Information, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1331 L Street NW
                   government contract                                                   Washington, DC 20005


 2.376.      State what the contract or                   Application Services
             lease is for and the nature of               and Professional
             the debtor's interest                        Services Agreement
                                                          dated 10/25/2019
                  State the term remaining                862 Days                       Costar Realty Information, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1331 L Street NW
                   government contract                                                   Washington, DC 20005


 2.377.      State what the contract or                   Lessee for location at
             lease is for and the nature of               169 Santa Clarita Active
             the debtor's interest                        dated 11/01/1998

                  State the term remaining                8/31/2023
                                                                                         Costco Wholesale
             List the contract number of any                                             18645 Via Princessa
                   government contract                                                   Santa Clarita, CA 91387-4935




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 67 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 708 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.378.      State what the contract or                   Lessee for location at
             lease is for and the nature of               169 Santa Clarita Active
             the debtor's interest                        dated 11/01/1998

                  State the term remaining                8/31/2023
                                                                                         Costco Wholesale
             List the contract number of any                                             18645 Via Princessa
                   government contract                                                   Santa Clarita, CA 91387-4935


 2.379.      State what the contract or                   Summary Agreement -
             lease is for and the nature of               Not Dated
             the debtor's interest

                  State the term remaining                Undetermined

             List the contract number of any                                             Counterparty Unknown
                   government contract


 2.380.      State what the contract or                   Security Proposal
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest

                  State the term remaining                Undetermined

             List the contract number of any                                             Counterparty Unknown
                   government contract


 2.381.      State what the contract or                   Order Form to License -
             lease is for and the nature of               Not Dated
             the debtor's interest

                  State the term remaining                Undetermined

             List the contract number of any                                             Counterparty Unknown
                   government contract


 2.382.      State what the contract or                   Purchase Order dated
             lease is for and the nature of               09/24/2009
             the debtor's interest

                  State the term remaining                Undetermined

             List the contract number of any                                             Counterparty Unknown
                   government contract


 2.383.      State what the contract or                   MASTER SERVICES
             lease is for and the nature of               AGREEMENT dated
             the debtor's interest                        10/08/2012

                  State the term remaining                Undetermined
                                                                                         Counterparty Unknown
             List the contract number of any
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 68 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 709 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.384.      State what the contract or                   Reseller Agreement
             lease is for and the nature of               dated 12/15/2016
             the debtor's interest

                  State the term remaining                Potentially Expired

             List the contract number of any                                             Counterparty Unknown
                   government contract


 2.385.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest

                  State the term remaining                Undetermined

             List the contract number of any                                             Counterparty Unknown
                   government contract


 2.386.      State what the contract or                   Master Purchasing
             lease is for and the nature of               Agreement For
             the debtor's interest                        Equipment - Not Dated

                  State the term remaining                Undetermined

             List the contract number of any                                             Counterparty Unknown
                   government contract


 2.387.      State what the contract or                   MASTER SERVICES
             lease is for and the nature of               AGREEMENT - Not
             the debtor's interest                        Dated

                  State the term remaining                Undetermined

             List the contract number of any                                             Counterparty Unknown
                   government contract


 2.388.      State what the contract or                   2019 Rate and Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/05/2019

                  State the term remaining                Potentially Expired            Courtyard
                                                                                         Attn: General Counsel
             List the contract number of any                                             5835 Owens Avenue
                   government contract                                                   Carlsbad, CA 92008


 2.389.      State what the contract or                   2019 Rate and Service          Courtyard
             lease is for and the nature of               Agreement - Not Dated          Attn: General Counsel
             the debtor's interest                                                       5835 Owens Avenue
                                                                                         Carlsbad, CA 92008
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 69 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 710 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.390.      State what the contract or                   2012 Rate and Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02/29/2012

                  State the term remaining                Potentially Expired            Courtyard - Carlsbad
                                                                                         Attn: General Counsel
             List the contract number of any                                             5835 Owens Avenue
                   government contract                                                   Carlsbad, CA 92008


 2.391.      State what the contract or                   Rate and Service
             lease is for and the nature of               Agreement and
             the debtor's interest                        Addendum dated
                                                          01/01/2015
                  State the term remaining                Potentially Expired            Courtyard - Carlsbad
                                                                                         Attn: General Counsel
             List the contract number of any                                             5835 Owens Avenue
                   government contract                                                   Carlsbad, CA 92008


 2.392.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02/15/2015

                  State the term remaining                Potentially Expired            Courtyard - Dallas Addison/Midway
                                                                                         Attn: General Counsel
             List the contract number of any                                             4165 Proton Dr
                   government contract                                                   Addison, TX 75010


 2.393.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02/15/2015

                  State the term remaining                Potentially Expired            Courtyard - Dallas Addison/Midway
                                                                                         Attn: General Counsel
             List the contract number of any                                             4165 Proton Dr
                   government contract                                                   Addison, TX 75010


 2.394.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement and
             the debtor's interest                        Addendum dated
                                                          04/15/2013
                  State the term remaining                Potentially Expired            Courtyard - Denver South/Park Meadows
                                                                                         Attn: General Counsel
             List the contract number of any                                             8320 South Valley Highway
                   government contract                                                   Englewood, CO 80112




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 70 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 711 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.395.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05/28/2015

                  State the term remaining                Potentially Expired            Courtyard - LA Hacienda Heights/OC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1905 S Azusa Avenue
                   government contract                                                   Hacienda Heights, CA 91745-6850


 2.396.      State what the contract or                   Corporate Agreement
             lease is for and the nature of               dated 01/01/2010
             the debtor's interest
                                                                                         Courtyard - San Ramon
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         12647 Alcosta Blvd.
             List the contract number of any                                             Suite 500
                   government contract                                                   San Ramon, CA 94583


 2.397.      State what the contract or                   Corporate Agreement
             lease is for and the nature of               dated 01/01/2014
             the debtor's interest
                                                                                         Courtyard - San Ramon
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         12647 Alcosta Blvd.
             List the contract number of any                                             Suite 500
                   government contract                                                   San Ramon, CA 94583


 2.398.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement and
             the debtor's interest                        Addendum dated
                                                          09/20/2015
                  State the term remaining                Potentially Expired            Courtyard - San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.399.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        12/02/2013

                  State the term remaining                Potentially Expired            Courtyard - San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.400.      State what the contract or                   Rate Agreement dated
             lease is for and the nature of               01/01/2012
             the debtor's interest
                                                                                         Courtyard - San Ramon
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         18090 San Ramon Valley Boulevard
             List the contract number of any                                             San Ramon, CA 94583
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 71 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 712 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.401.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/05/2013

                  State the term remaining                Potentially Expired            Courtyard - San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.402.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/05/2013

                  State the term remaining                Potentially Expired            Courtyard - San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.403.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/19/2013

                  State the term remaining                Potentially Expired            Courtyard - San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.404.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/19/2013

                  State the term remaining                Potentially Expired            Courtyard - San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.405.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        12/02/2013

                  State the term remaining                Potentially Expired            Courtyard - San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 72 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 713 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.406.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement Re:
             the debtor's interest                        Room/Rates
                                                          Commitment dated
                                                          04/29/2014
                  State the term remaining                Potentially Expired            Courtyard - San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.407.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement Re: Room
             the debtor's interest                        Block dated 04/29/2014

                  State the term remaining                Potentially Expired            Courtyard - San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.408.      State what the contract or                   Version 1: Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04/29/2014

                  State the term remaining                Potentially Expired            Courtyard - San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.409.      State what the contract or                   Corporate Agreement
             lease is for and the nature of               Re: Guest Room Rates
             the debtor's interest                        dated 01/01/2015

                  State the term remaining                Potentially Expired            Courtyard - San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.410.      State what the contract or                   Location Agreement
             lease is for and the nature of               dated 09/17/2016
             the debtor's interest
                                                                                         CPL Productions Ltd
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         38 Long Acre
             List the contract number of any                                             London WC2E 9JT
                   government contract                                                   United Kingdom


 2.411.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               San Jose Super Sport
             the debtor's interest                        dated 01/25/2009
                                                                                         Crane Court LLC
                  State the term remaining                Undetermined                   800 South B Street Suite 100
                                                                                         San Mateo, CA 94401
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 73 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 714 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.412.      State what the contract or                   Lessee for location at
             lease is for and the nature of               811 San Jose Super
             the debtor's interest                        Sport dated 02/06/2009

                  State the term remaining                1/24/2024
                                                                                         Crane Court LLC
             List the contract number of any                                             1610 Crane Court
                   government contract                                                   San Jose, CA 95112-4201


 2.413.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Arlington Sport dated
             the debtor's interest                        01/21/1998
                                                                                         CRICQ ARLINGTON TRUST - V0000414181
                  State the term remaining                Undetermined                   c/o RDPH Properties Inc.
                                                                                         Attn: Chrysilios Chrysiliou
             List the contract number of any                                             30423 Canwood Street
                   government contract                                                   Agoura Hills, CA 91301


 2.414.      State what the contract or                   Lessee for location at
             lease is for and the nature of               214 Arlington Sport
             the debtor's interest                        dated 12/01/1995

                  State the term remaining                1/31/2029
                                                                                         CRICQ ARLINGTON TRUST - V0000414181
             List the contract number of any                                             1131 W. Arbrook Blvd.
                   government contract                                                   Arlington, TX 76015-4206


 2.415.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Richardson Sport dated
             the debtor's interest                        01/21/1998
                                                                                         Cricq Richardson Trust
                  State the term remaining                Undetermined                   Strata Fitness Center, LP
                                                                                         c/o Strata Equity Group
             List the contract number of any                                             Attn: Andrew Gordon
                   government contract                                                   San Diego, CA 92122


 2.416.      State what the contract or                   Lessee for location at
             lease is for and the nature of               213 Richardson Sport
             the debtor's interest                        dated 01/01/1996

                  State the term remaining                1/31/2029
                                                                                         Cricq Richardson Trust
             List the contract number of any                                             1375 East Campbell Road
                   government contract                                                   Richardson, TX 75081-1938




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 74 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 715 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.417.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Spring Energy Super
             the debtor's interest                        Sport dated 01/29/2020
                                                                                         Crimson/Relp/Springwoods 24HFP, LLC
                  State the term remaining                Undetermined                   c/o Patrinely Group, LLC
                                                                                         Attn: C. Dean Patrinely
             List the contract number of any                                             1980 Post Oak Boulevard
                   government contract                                                   Houston, TX 77056


 2.418.      State what the contract or                   Lessee for location at
             lease is for and the nature of               670 Spring Energy
             the debtor's interest                        Super Sport dated
                                                          12/14/2019
                  State the term remaining                7/31/2035
                                                                                         Crimson/Relp/Springwoods 24HFP, LLC
             List the contract number of any                                             1000 Lake Plaza Dr.
                   government contract                                                   Spring, TX 77389


 2.419.      State what the contract or                   Services Agreement
             lease is for and the nature of               dated 08/21/2015
             the debtor's interest
                                                                                         CrowdTwist, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         110 East 23rd Street
             List the contract number of any                                             Floor 7
                   government contract                                                   New York, NY 10010


 2.420.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Homestead Super
             the debtor's interest                        Sport dated 01/12/2019
                                                                                         Crystal Lakes Shopping Center LLC
                  State the term remaining                Undetermined                   VF4 CRYSTAL LAKE, LLC
                                                                                         c/o Horizon Properties, as agent
             List the contract number of any                                             18610 NW 87th Avenue
                   government contract                                                   Hialeah, FL 33015


 2.421.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2016

                  State the term remaining                Undetermined                   CSG Interactive Messaging, Inc.
                                                                                         Attn: Contract Manager
             List the contract number of any                                             18020 Burt Street
                   government contract                                                   Omaha, NE 68022


 2.422.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Keller Super Sport
             the debtor's interest                        dated 04/24/2009               CSRA 5901 Golden Triangle Master Lessee,
                                                                                         c/o Capital Square Realty Advisors, LLC
                  State the term remaining                Undetermined                   Attn: Jeffrey A Gregor, General Counsel
                                                                                         10900 Nuckols Road
             List the contract number of any                                             Glen Allen, VA 23060
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 75 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 716 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.423.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Arvada Sport dated
             the debtor's interest                        11/29/1996
                                                                                         Cub Square Centre, LLC
                  State the term remaining                Undetermined                   c/o RRI Management LLC
                                                                                         7800 S. Elati St, Ste. 330
             List the contract number of any                                             Suite 330
                   government contract                                                   Littleton, CO 80120


 2.424.      State what the contract or                   Lessee for location at
             lease is for and the nature of               140 Arvada Sport dated
             the debtor's interest                        01/01/1997

                  State the term remaining                2/28/2022
                                                                                         Cub Square Centre, LLC
             List the contract number of any                                             8105 N. Sheridan Blvd.
                   government contract                                                   Arvada, CO 80003-1911


 2.425.      State what the contract or                   CultureFoundry
             lease is for and the nature of               Services Agreement
             the debtor's interest                        dated 12/10/2015
                                                                                         Culture Foundry, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         600 N. 36th Street
             List the contract number of any                                             Suite 200
                   government contract                                                   Seattle, WA 98103


 2.426.      State what the contract or                   24 Hour Fitness Master
             lease is for and the nature of               Services Agreement
             the debtor's interest                        dated 07/06/2016
                                                                                         Culture Foundry, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         600 N. 36th Street
             List the contract number of any                                             Suite 1
                   government contract                                                   Seattle, WA 98103


 2.427.      State what the contract or                   Contract for
             lease is for and the nature of               Construction dated
             the debtor's interest                        01/02/2019

                  State the term remaining                Undetermined                   Cumming Construction, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1483 East 3850 South
                   government contract                                                   St. George, UT 84790


 2.428.      State what the contract or                   Construction Contract          Cumming Construction, Inc.
             lease is for and the nature of               dated 11/08/2017               Attn: Steven Cumming
             the debtor's interest                                                       1483 East 3850 South
                                                                                         St. George, UT 84790
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 76 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 717 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.429.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/08/2016

                  State the term remaining                Undetermined                   Curvature LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             6500 Hollister Avenue
                   government contract                                                   Santa Barbara, CA 93117


 2.430.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/14/2016

                  State the term remaining                Undetermined                   Curvature LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             6500 Hollister Avenue
                   government contract                                                   Santa Barbara, CA 93117


 2.431.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest

                  State the term remaining                Potentially Expired            Curvature LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             6500 Hollister Avenue
                   government contract                                                   Santa Barbara, CA 93117


 2.432.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Kessler Park Super
             the debtor's interest                        Sport dated 06/18/2019
                                                                                         Dallas Kessler Park Ltd
                  State the term remaining                Undetermined                   2300 Ft worth Ave, LLC
                                                                                         Attn: Irene Vierra
             List the contract number of any                                             1790 SW 22 St.
                   government contract                                                   Miami Beach, FL 33145


 2.433.      State what the contract or                   Lessee for location at
             lease is for and the nature of               674 Kessler Park dated
             the debtor's interest                        06/22/2019

                  State the term remaining                6/30/2034
                                                                                         Dallas Kessler Park, Ltd.
             List the contract number of any                                             2300 Fort Worth Ave
                   government contract                                                   Dallas, TX 75211




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 77 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 718 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.434.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/01/2016

                  State the term remaining                Potentially Expired

             List the contract number of any                                             Danielle von Mayhauser
                   government contract


 2.435.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Mesa Dobson Rd Sport
             the debtor's interest                        (Assigned) dated
                                                          11/07/2008                     De Rito/Kimco Riverview LLC
                  State the term remaining                1,239 Days                     Attn: General Counsel
                                                                                         3333 New Hyde Park Road
             List the contract number of any                                             Suite 100
                   government contract                                                   New Hyde Park, NY 11042


 2.436.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Bonita Sport dated
             the debtor's interest                        03/10/2001

                  State the term remaining                Undetermined                   Del Rey Partners
                                                                                         Attn: Pam Reno
             List the contract number of any                                             3450 Bonita Rd. Suite 102
                   government contract                                                   Chula Vista, CA 91910


 2.437.      State what the contract or                   Lessee for location at
             lease is for and the nature of               084 Bonita Sport dated
             the debtor's interest                        04/01/2001

                  State the term remaining                3/9/2026
                                                                                         Del Rey Partners
             List the contract number of any                                             870 Amena Court
                   government contract                                                   Chula Vista, CA 91910-7802


 2.438.      State what the contract or                   Sponsorship
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest

                  State the term remaining                N/A                            Denver Broncos
                                                                                         Attn: General Counsel
             List the contract number of any                                             13655 Broncos Parkway
                   government contract                                                   Englewood, CO 80112


 2.439.      State what the contract or                   Location Agreement
             lease is for and the nature of               dated 05/04/2017
             the debtor's interest                                                       Denver Broncos Football Club
                                                                                         Attn: General Counsel
                  State the term remaining                Undetermined                   1701 Bryant Street
                                                                                         Suite 900
             List the contract number of any                                             Denver, CO 80204
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 78 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 719 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.440.      State what the contract or                   Location Agreement
             lease is for and the nature of               dated 06/24/2017
             the debtor's interest
                                                                                         Denver Broncos Football Club
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         1701 Bryant Street
             List the contract number of any                                             Suite 900
                   government contract                                                   Denver, CO 80204


 2.441.      State what the contract or                   Location Agreement
             lease is for and the nature of               dated 06/24/2017
             the debtor's interest
                                                                                         Denver Broncos Football Club
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1701 Bryant Street
             List the contract number of any                                             Suite 900
                   government contract                                                   Denver, CO 80204


 2.442.      State what the contract or                   Master Products and
             lease is for and the nature of               Services Agreement
             the debtor's interest                        with Development
                                                          Dimensions
                                                          International, Inc. dated
                                                          08/01/2017
                  State the term remaining                Undetermined                   Development Dimensions International, In
                                                                                         Attn: General Counsel
             List the contract number of any                                             1225 Washington Pike
                   government contract                                                   Bridgeville, PA 15017


 2.443.      State what the contract or                   Master Products and
             lease is for and the nature of               Services Agreement
             the debtor's interest                        dated 08/01/2017

                  State the term remaining                Undetermined                   Development Dimensions International, In
                                                                                         Attn: Legal Counsel
             List the contract number of any                                             1225 Washington Pike
                   government contract                                                   Bridgeville, PA 15017


 2.444.      State what the contract or                   DGC Capital
             lease is for and the nature of               Contracting Corp,
             the debtor's interest                        Contract Construction
                                                          dated 01/09/2017               DGC Capital Contracting Corp.
                  State the term remaining                Undetermined                   Attn: Steve Lezon
                                                                                         506 South 9th Avenue
             List the contract number of any                                             Suite 500
                   government contract                                                   Mount Vernon, NY 10550




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 79 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 720 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.445.      State what the contract or                   Contract for
             lease is for and the nature of               Construction dated
             the debtor's interest                        05/20/2019

                  State the term remaining                Undetermined                   DGC Capital Contracting Corp.
                                                                                         Attn: General Counsel
             List the contract number of any                                             506 South 9th Avenue
                   government contract                                                   Mount Vernon, NY 10550


 2.446.      State what the contract or                   Construction Contract
             lease is for and the nature of               dated 07/23/2019
             the debtor's interest

                  State the term remaining                Undetermined                   DGC Capital Contracting Corp.
                                                                                         Attn: General Counsel
             List the contract number of any                                             506 South 9th Avenue
                   government contract                                                   Mount Vernon, NY 10550


 2.447.      State what the contract or                   Construction Contract
             lease is for and the nature of               dated 08/01/2019
             the debtor's interest

                  State the term remaining                Undetermined                   DGC Capital Contracting Corp.
                                                                                         Attn: General Counsel
             List the contract number of any                                             506 South 9th Avenue
                   government contract                                                   Mount Vernon, NY 10550


 2.448.      State what the contract or                   Construction Contract
             lease is for and the nature of               dated 07/24/2019
             the debtor's interest

                  State the term remaining                Undetermined                   DGC Capital Contracting Corp.
                                                                                         Attn: Kevin Shelvin
             List the contract number of any                                             506 South 9th Avenue
                   government contract                                                   Mount Vernon, NY 10550


 2.449.      State what the contract or                   Electronic Database
             lease is for and the nature of               and Licensing
             the debtor's interest                        Agreement dated
                                                          05/31/2012                     Digital Envoy, Inc.
                  State the term remaining                Potentially Expired            Attn: Bill Calpin
                                                                                         155 Technology Pkwy
             List the contract number of any                                             Suite 800
                   government contract                                                   Norcross, GA 30092


 2.450.      State what the contract or                   Product-Electronic
             lease is for and the nature of               Database and License
             the debtor's interest                        Agreement dated                Digital Envoy, Inc.
                                                          05/16/2013                     Attn: Bill Calpin
                  State the term remaining                Potentially Expired            155 Technology Pkwy
                                                                                         Suite 800
             List the contract number of any                                             Norcross, GA 30092
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 80 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 721 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.451.      State what the contract or                   Digital Envoy Product
             lease is for and the nature of               and Electronic
             the debtor's interest                        Database Evaluation
                                                          and License Agreement
                                                          - Not Dated                    Digital Envoy, Inc.
                  State the term remaining                Undetermined                   Attn: Bill Calpin
                                                                                         155 Technology Pkwy
             List the contract number of any                                             Suite 800
                   government contract                                                   Norcross, GA 30092


 2.452.      State what the contract or                   Commercial Viewing
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10/06/2009

                  State the term remaining                Undetermined                   DirecTV
                                                                                         Attn: VP, Sales and Distribution
             List the contract number of any                                             2230 East Imperial Highway
                   government contract                                                   El Segundo, CA 90245


 2.453.      State what the contract or                   TV Service Agreement
             lease is for and the nature of               dated 11/16/2012
             the debtor's interest

                  State the term remaining                Potentially Expired            DirecTV
                                                                                         Attn: General Counsel
             List the contract number of any                                             2230 East Imperial Highway
                   government contract                                                   El Segundo, CA 90245


 2.454.      State what the contract or                   Direct TV Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/30/2012

                  State the term remaining                Undetermined                   DirecTV, LLC
                                                                                         Attn: Vice President, Commercial Sales
             List the contract number of any                                             2230 East Imperial Highway
                   government contract                                                   El Segundo, CA 90245


 2.455.      State what the contract or                   Direct TV Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        12/01/2015

                  State the term remaining                Undetermined                   DirecTV, LLC
                                                                                         Attn: Commercial National Accounts
             List the contract number of any                                             2260 East Imperial Highway
                   government contract                                                   El Segundo, CA 90245




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 81 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 722 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.456.      State what the contract or                   National Account
             lease is for and the nature of               Commercial Customer
             the debtor's interest                        Agreement dated
                                                          12/01/2015
                  State the term remaining                Undetermined                   DirecTV, LLC
                                                                                         Attn: Commercial National Accounts
             List the contract number of any                                             2260 East Imperial Highway
                   government contract                                                   El Segundo, CA 90245


 2.457.      State what the contract or                   Lessee for location at
             lease is for and the nature of               688 Fort Worth Western
             the debtor's interest                        Sport dated 03/16/2007

                  State the term remaining                3/31/2032
                                                                                         Do not have
             List the contract number of any                                             6500 Old Denton Road
                   government contract                                                   Fort Worth, TX 76131-2397


 2.458.      State what the contract or                   Lessee for location at
             lease is for and the nature of               823 Santa Clara Super
             the debtor's interest                        Sport

                  State the term remaining                Undetermined
                                                                                         Do not have
             List the contract number of any                                             3615 El Camino Real
                   government contract                                                   Santa Clara, CA 95051


 2.459.      State what the contract or                   Lessee for location at
             lease is for and the nature of               760 Cedar Park Super
             the debtor's interest                        Sport

                  State the term remaining                Undetermined
                                                                                         Do not have
             List the contract number of any                                             E. New Hope Dr.
                   government contract                                                   Cedar Park, TX


 2.460.      State what the contract or                   Lessee for location at
             lease is for and the nature of               830 Ft. Totten Art
             the debtor's interest                        Place SS

                  State the term remaining                Undetermined
                                                                                         Do not have
             List the contract number of any                                             Galloway St.
                   government contract                                                   Washington, DC 20001


 2.461.      State what the contract or                   Ground Lease for
             lease is for and the nature of               location at 941 Pomona
             the debtor's interest                        Super Sport

                  State the term remaining                Undetermined
                                                                                         Do not have
             List the contract number of any                                             Pomona, CA
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 82 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 723 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.462.      State what the contract or                   Lessee for location at
             lease is for and the nature of               941 Pomona Super
             the debtor's interest                        Sport

                  State the term remaining                Undetermined

             List the contract number of any                                             Do not have
                   government contract                                                   Pomona, CA


 2.463.      State what the contract or                   Lessee for location at
             lease is for and the nature of               948 Sacramento Del
             the debtor's interest                        Paso Super Sport

                  State the term remaining                Undetermined

             List the contract number of any                                             Do not have
                   government contract                                                   Natomas, CA 95835


 2.464.      State what the contract or                   Lessee for location at
             lease is for and the nature of               949 West Roseville
             the debtor's interest                        Super Sport

                  State the term remaining                Undetermined

             List the contract number of any                                             Do not have
                   government contract                                                   Roseville, CA


 2.465.      State what the contract or                   Lessee for location at
             lease is for and the nature of               088 Hollywood Super
             the debtor's interest                        Sport dated 09/01/2002

                  State the term remaining                8/20/2022                      Dome Center, LLC
                                                                                         6380 W. Sunset Blvd
             List the contract number of any                                             4th Flr
                   government contract                                                   Hollywood, CA 90028-7233


 2.466.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Hollywood CA Super
             the debtor's interest                        Sport dated 08/21/2002

                  State the term remaining                Undetermined
                                                                                         Dome Center, LLC
             List the contract number of any                                             120 N. Robertson Blvd
                   government contract                                                   Los Angeles, CA 90048-3102


 2.467.      State what the contract or                   Lease Agreement for       Doral Court Retail Investments
             lease is for and the nature of               Doral East (Pipeline)     Attn: David Martin and Adam Adler
             the debtor's interest                        dated Based on            2665 South Bayshore Drive
                                                          LL/Permit Delivery        Suite 1020
Official Form 206G                               Schedule G: Executory Contracts andCoconut
                                                                                     UnexpiredGrove,
                                                                                               LeasesFL 33133                           Page 83 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 724 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.468.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Sherman Oaks Sport
             the debtor's interest                        dated 03/07/2002
                                                                                         Douglas Emmett 2016 LLC
                  State the term remaining                Undetermined                   Director of Commercial Property Mgmt
                                                                                         1299 Ocean Avenue
             List the contract number of any                                             Ste 1000
                   government contract                                                   Santa Monica, CA 90401


 2.469.      State what the contract or                   Lessee for location at
             lease is for and the nature of               070 Sherman Oaks
             the debtor's interest                        dated 04/29/2002

                  State the term remaining                3/10/2022
                                                                                         Douglas Emmett 2016 LLC
             List the contract number of any                                             15301 Ventura Blvd.
                   government contract                                                   Sherman Oaks, CA 91403-3102


 2.470.      State what the contract or                   License Agreement
             lease is for and the nature of               dated 04/06/2020
             the debtor's interest
                                                                                         Driscoll, Inc.
                  State the term remaining                Undetermined                   Attn: Contract Administration
                                                                                         The Madison
             List the contract number of any                                             15851 Dallas Parkway
                   government contract                                                   Addison, TX 75001-3388


 2.471.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Fountain Valley Active
             the debtor's interest                        dated 08/01/2002

                  State the term remaining                Undetermined                   DS Fountain Valley LP
                                                                                         Donahue Schriber Realty Group, LP
             List the contract number of any                                             200 E.Baker Street, Ste 100
                   government contract                                                   Costa Mesa, CA 92626


 2.472.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Alamo Express dated
             the debtor's interest                        02/01/2008
                                                                                         DS Properties 17 LP
                  State the term remaining                960 Days                       DS Alamo Plaza, LP
                                                                                         c/o Donahue Schriber Attn: Property Mgr
             List the contract number of any                                             3501 Del Paso Road, Suite 100
                   government contract                                                   Sacramento, CA 95835




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 84 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 725 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.473.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Portland Regional Ofc
             the debtor's interest                        dated 04/01/2017
                                                                                         Durham Business Properties LLC
                  State the term remaining                Undetermined                   Saturn Properties LLC
                                                                                         c/o Wyse Investment Services Company
             List the contract number of any                                             810 SE Belmont Street, Suite 100
                   government contract                                                   Portland, OR 97214


 2.474.      State what the contract or                   Lessee for location at
             lease is for and the nature of               96750 Portland
             the debtor's interest                        Regional Ofc dated
                                                          04/01/2017
                  State the term remaining                8/31/2027                      Durham Business Properties, LLC
                                                                                         Saturn Properties, LLC
             List the contract number of any                                             17700 SW Upper Boones Ferry Road Ste 130
                   government contract                                                   Durham, OR 97224


 2.475.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Manhattan Beach
             the debtor's interest                        Super Sport dated
                                                          06/16/1993                     Dwyer-Curlett & Co
                  State the term remaining                Undetermined                   Continental 1500 Rosecrans LLC
                                                                                         Attn: Director of Property Management
             List the contract number of any                                             2041 Rosecrans Avenue
                   government contract                                                   El Segundo, CA 90245


 2.476.      State what the contract or                   Lessee for location at
             lease is for and the nature of               163 Manhattan Beach
             the debtor's interest                        dated 03/01/1993

                  State the term remaining                6/30/2023
                                                                                         DWYER-CURLETT & CO - V0000412020
             List the contract number of any                                             1500 Rosecrans Avenue
                   government contract                                                   Manhattan Beach, CA 90266-3763


 2.477.      State what the contract or                   Manufacturing
             lease is for and the nature of               Agreement dated
             the debtor's interest                        07/08/2015

                  State the term remaining                Undetermined                   Dymatize Enterprises, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             13737 N. Stemmons Freeway
                   government contract                                                   Farmers Branch, TX 75234


 2.478.      State what the contract or                   License Agreement
             lease is for and the nature of               dated 12/27/2017
             the debtor's interest                                                       Dynatrace, LLC
                                                                                         Attn: General Counsel
                  State the term remaining                Undetermined                   161 Trapelo Road
                                                                                         Suite 116
             List the contract number of any                                             Waltham, MA 02451
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 85 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 726 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.479.      State what the contract or                   License Agreement -
             lease is for and the nature of               Not Dated
             the debtor's interest
                                                                                         Dynatrace, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         161 Trapelo Road
             List the contract number of any                                             Suite 116
                   government contract                                                   Waltham, MA 02451


 2.480.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Falls Church Super
             the debtor's interest                        Sport dated 09/21/2012
                                                                                         East Broad Street LLC
                  State the term remaining                Undetermined                   IGI19 FC VA, LLC
                                                                                         Attn: Steven R. Greathouse
             List the contract number of any                                             1140 N Williamson Boulevard
                   government contract                                                   Daytona Beach, FL 32114


 2.481.      State what the contract or                   Lessee for location at
             lease is for and the nature of               818 Falls Church Super
             the debtor's interest                        Sport dated 09/21/2012

                  State the term remaining                12/31/2027
                                                                                         EAST BROAD STREET LLC - V0000411854
             List the contract number of any                                             1000 East Broad Street
                   government contract                                                   Falls Church, VA 22042-2405


 2.482.      State what the contract or                   Lessee for location at
             lease is for and the nature of               062 Altadena Sport
             the debtor's interest                        dated 03/24/2006

                  State the term remaining                3/31/2031                      East West Bank
                                                                                         2180 Lincoln Avenue
             List the contract number of any                                             Building #4
                   government contract                                                   Altadena, CA 91001-5456


 2.483.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               La Jolla Sport dated
             the debtor's interest                        10/08/2005

                  State the term remaining                Undetermined
                                                                                         Edward F. Plant c/o Harman Asset Managem
             List the contract number of any                                             PO Box 2463
                   government contract                                                   La Jolla, CA 92307-2463


 2.484.      State what the contract or                   Master Purchasing         Eleiko Sport Inc.
             lease is for and the nature of               Agreement dated           Attn: Rickard Blomberg
             the debtor's interest                        10/01/2018                318 West Grand Avenue
                                                                                    Suite 301
Official Form 206G                               Schedule G: Executory Contracts andChicago,
                                                                                     UnexpiredIL 60654
                                                                                               Leases                                   Page 86 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 727 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.485.      State what the contract or                   Master Purchasing
             lease is for and the nature of               Agreement for
             the debtor's interest                        Equipment dated
                                                          10/01/2018                     Eleiko Sport Inc.
                  State the term remaining                Undetermined                   Attn: Rickard Blomberg
                                                                                         318 West Grand Avenue
             List the contract number of any                                             Suite 301
                   government contract                                                   Chicago, IL 60654


 2.486.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Santa Barbara Super
             the debtor's interest                        Sport dated 02/28/2005
                                                                                         Ella Paseo, LLC
                  State the term remaining                Undetermined                   New Resources Consulting LLC
                                                                                         2151 Alessandro Drive
             List the contract number of any                                             Ste 145
                   government contract                                                   Ventura, CA 93001


 2.487.      State what the contract or                   Lessee for location at
             lease is for and the nature of               054 Santa Barbara SS
             the debtor's interest                        dated 02/28/2005

                  State the term remaining                2/28/2025
                                                                                         Ella Paseo, LLC
             List the contract number of any                                             820 State Street
                   government contract                                                   Santa Barbara, CA 93101-3256


 2.488.      State what the contract or                   Master Purchase
             lease is for and the nature of               Agreement for
             the debtor's interest                        Equipment dated
                                                          07/18/2018
                  State the term remaining                Undetermined                   Energy Management Collaborative LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             2890 Vicksburg Lane
                   government contract                                                   Playmouth, MN 55447


 2.489.      State what the contract or                   Master Serivces
             lease is for and the nature of               Agreement and
             the debtor's interest                        Statement of Work
                                                          dated 12/31/2017               EnTouch Controls, Inc.
                  State the term remaining                Potentially Expired            Attn: Finance Department
                                                                                         661 North Plano Road
             List the contract number of any                                             Suite 323
                   government contract                                                   Richardson, TX 75081




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 87 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 728 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.490.      State what the contract or                   Value Assessment
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10/21/2015
                                                                                         EnTouch Controls, Inc.
                  State the term remaining                Potentially Expired            Attn: Finance Department
                                                                                         661 North Plano Road
             List the contract number of any                                             Suite 323
                   government contract                                                   Richardson, TX 75081


 2.491.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/16/2017
                                                                                         EnTouch Controls, Inc.
                  State the term remaining                Undetermined                   Attn: Finance Department
                                                                                         661 North Plano Road
             List the contract number of any                                             Suite 323
                   government contract                                                   Richardson, TX 75081


 2.492.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/16/2017
                                                                                         EnTouch Controls, Inc.
                  State the term remaining                Undetermined                   Attn: Finance Department
                                                                                         661 North Plano Road
             List the contract number of any                                             Suite 323
                   government contract                                                   Richardson, TX 75081


 2.493.      State what the contract or                   Master Serivces
             lease is for and the nature of               Agreement and
             the debtor's interest                        Statement of Work
                                                          dated 12/31/2017               EnTouch Controls, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         661 North Plano Road
             List the contract number of any                                             Suite 323
                   government contract                                                   Richardson, TX 75081


 2.494.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Roseville dated
             the debtor's interest                        09/21/1999
                                                                                         EPR FITNESS LLC
                  State the term remaining                Undetermined                   EPR Properties
                                                                                         Attn: Allison Griffin
             List the contract number of any                                             909 Walnut St. Suite 200
                   government contract                                                   Kansas City, MO 64106


 2.495.      State what the contract or                   Lessee for location at
             lease is for and the nature of               592 Roseville Sport
             the debtor's interest                        dated 09/01/1999

                  State the term remaining                9/20/2034                      EPR FITNESS LLC
                                                                                         336 N. Sunrise Avenue
             List the contract number of any                                             Roseville, CA 95661-3025
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 88 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 729 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.496.      State what the contract or                   Data Processor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10/29/2019
                                                                                         Epsilon Data Management, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         11030 CirclePoint Road
             List the contract number of any                                             Suite 101
                   government contract                                                   Westminster, CO 80020


 2.497.      State what the contract or                   DATA PROCESSOR
             lease is for and the nature of               AGREEMENT dated
             the debtor's interest                        10/29/2019
                                                                                         Epsilon Data Management, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         11030 CirclePoint Road
             List the contract number of any                                             Suite 101
                   government contract                                                   Westminster, CO 80020


 2.498.      State what the contract or                   MSA dated 05/03/2016
             lease is for and the nature of
             the debtor's interest
                                                                                         Epsilon Data Management, LLC
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         11030 CirclePoint Road
             List the contract number of any                                             Suite 101
                   government contract                                                   Westminster, CO 80020


 2.499.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05/03/2016

                  State the term remaining                Undetermined                   Epsilon Data Management, LLC
                                                                                         Attn: Legal Department/Urgent
             List the contract number of any                                             6021 Connection Drive
                   government contract                                                   Irving, TX 75039


 2.500.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Copperfield Sport
             the debtor's interest                        dated 10/16/2004

                  State the term remaining                Undetermined                   EQYInvest Owner II Ltd, LP
                                                                                         c/o Global Realty & Management TX, Inc
             List the contract number of any                                             15866 Champion Forest Drive
                   government contract                                                   Spring, TX 77379


 2.501.      State what the contract or                   Lessee for location at
             lease is for and the nature of               304 Copperfield Sport          EQYInvest Owner II, Ltd., LLP
             the debtor's interest                        dated 10/16/2004               15542 FM 529 Road
                                                                                         Houston, TX 77095-2704
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 89 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 730 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                10/15/2024

             List the contract number of any
                   government contract


 2.502.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Everett 19th Avenue
             the debtor's interest                        SuperSport dated
                                                          07/01/2008                     Everett Washington Fitness LP
                  State the term remaining                Undetermined                   Titus Properties, LLC
                                                                                         1748 W Katella Avenue
             List the contract number of any                                             Suite 206
                   government contract                                                   Orange, CA 98901


 2.503.      State what the contract or                   Reseller Agreement
             lease is for and the nature of               dated 12/14/2017
             the debtor's interest
                                                                                         Evotek, Inc.
                  State the term remaining                Potentially Expired            Attn: Accounts Department
                                                                                         6150 Lusk Boulevard
             List the contract number of any                                             Suite B204
                   government contract                                                   San Diego, CA 92121


 2.504.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/14/2018
                                                                                         Evotek, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         6150 Lusk Boulevard
             List the contract number of any                                             Suite B204
                   government contract                                                   San Diego, CA 92121


 2.505.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/14/2018
                                                                                         Evotek, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         6150 Lusk Boulevard
             List the contract number of any                                             Suite B204
                   government contract                                                   San Diego, CA 92121


 2.506.      State what the contract or                   Reseller Agreement
             lease is for and the nature of               dated 12/07/2015
             the debtor's interest
                                                                                         Evotek, Inc.
                  State the term remaining                Potentially Expired            Attn: Accounts Department
                                                                                         687 South Coast Highway 101
             List the contract number of any                                             Suite 229
                   government contract                                                   Encinitas, CA 92024




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 90 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 731 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.507.      State what the contract or                   License Agreement -
             lease is for and the nature of               Not Dated
             the debtor's interest
                                                                                         Evotek, Inc.
                  State the term remaining                Undetermined                   Attn: Accounts Department
                                                                                         687 South Coast Highway 101
             List the contract number of any                                             Suite 229
                   government contract                                                   Encinitas, CA 92024


 2.508.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Escondido North
             the debtor's interest                        County Mall Super
                                                          Sport dated 06/25/2016         EWH Escondido Associates LP
                  State the term remaining                Undetermined                   c/o Westfield LLC
                                                                                         Attn: Lease Administration
             List the contract number of any                                             2049 Century Park East, 41st Floor
                   government contract                                                   Los Angeles, CA 90067


 2.509.      State what the contract or                   Lessee for location at
             lease is for and the nature of               873 Escondido North
             the debtor's interest                        County Mall SS dated
                                                          06/25/2016                     EWH Escondido Associates LP
                  State the term remaining                6/30/2031                      North County Fair LP
                                                                                         230 E. Via Rancho Parkway, Suite 210
             List the contract number of any                                             Suite 210
                   government contract                                                   Escondido, CA 92025-8005


 2.510.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Morgan Hill Active
             the debtor's interest                        dated 10/06/1995

                  State the term remaining                1,933 Days
                                                                                         Facchino LaBarbera Tennant Station LLC
             List the contract number of any                                             873 Blossom Hill Road
                   government contract                                                   San Jose, CA 95123


 2.511.      State what the contract or                   Non-Disclosure
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   Facebook, Inc.
                                                                                         Attn: Kristal Berry
             List the contract number of any                                             15161 Collections Center Drive
                   government contract                                                   Chicago, IL 60693


 2.512.      State what the contract or                   Corporate Rate
             lease is for and the nature of               Booking Agreement
             the debtor's interest                        dated 01/01/2019               Fairfield Inn & Suites Marriott
                                                                                         SD Carlsbad
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         1929 Palomar Oaks Way
             List the contract number of any                                             Carlsbad, CA 92011
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 91 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 732 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.513.      State what the contract or                   Corporate Rate
             lease is for and the nature of               Booking Agreement
             the debtor's interest                        dated 01/01/2019
                                                                                         Fairfield Inn & Suites Marriott
                  State the term remaining                Potentially Expired            SD Carlsbad
                                                                                         Attn: General Counsel
             List the contract number of any                                             1929 Palomar Oaks Way
                   government contract                                                   Carlsbad, CA 92011


 2.514.      State what the contract or                   2015 Rate Agreement
             lease is for and the nature of               dated 04/15/2015
             the debtor's interest

                  State the term remaining                Potentially Expired            Fairfield Inn & Suites Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             1929 Palomar Oaks Way
                   government contract                                                   Carlsbad, CA 92008


 2.515.      State what the contract or                   Corporate Rate
             lease is for and the nature of               Booking Agreement
             the debtor's interest                        dated 01/01/2016

                  State the term remaining                Potentially Expired            Fairfield Inn & Suites Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             1929 Palomar Oaks Way
                   government contract                                                   Carlsbad, CA 92011


 2.516.      State what the contract or                   Pricing Agreement
             lease is for and the nature of               dated 12/16/2008
             the debtor's interest

                  State the term remaining                Undetermined                   Federal Express Corporation
                                                                                         Attn: Neil Francis Magtoto
             List the contract number of any                                             PO Box 94515
                   government contract                                                   Palatine, IL 60094-4515


 2.517.      State what the contract or                   Agreement dated
             lease is for and the nature of               03/31/2009
             the debtor's interest

                  State the term remaining                Undetermined                   FedEx
                                                                                         Attn: General Counsel
             List the contract number of any                                             942 South Shady Grove Road
                   government contract                                                   Memphis, TN 03812


 2.518.      State what the contract or                   Email Agreement dated          FedEx
             lease is for and the nature of               12/10/2008                     Attn: General Counsel
             the debtor's interest                                                       942 South Shady Grove Road
                                                                                         Memphis, TN 03812
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 92 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 733 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.519.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               SouthLake Sport dated
             the debtor's interest                        10/15/2005
                                                                                         Fernicola Delaware LLC
                  State the term remaining                Undetermined                   Attn: Anthony Fernicola
                                                                                         801 Arnold Avenue
             List the contract number of any                                             Suite 1L
                   government contract                                                   Point Pleasant Beach, NJ 08742


 2.520.      State what the contract or                   Lessee for location at
             lease is for and the nature of               375 SouthLake Sport
             the debtor's interest                        dated 10/15/2005

                  State the term remaining                10/31/2025
                                                                                         Fernicola Delaware LLC
             List the contract number of any                                             301 N. Nolen Drive
                   government contract                                                   Southlake, TX 76092-8025


 2.521.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Redmond Super Sport
             the debtor's interest                        dated 10/12/2013
                                                                                         FHR Community Center LLC
                  State the term remaining                Undetermined                   c/o Fairbourne Properties LLC
                                                                                         Attn: Senior Vice President
             List the contract number of any                                             1 East Wacker Drive
                   government contract                                                   Chicago, IL 60601


 2.522.      State what the contract or                   Lessee for location at
             lease is for and the nature of               492 Redmond Super
             the debtor's interest                        Sport dated 10/12/2013

                  State the term remaining                12/31/2028
                                                                                         FHR Community Center LLC
             List the contract number of any                                             7320 170th Ave NE
                   government contract                                                   Redmond, WA 98052-4457


 2.523.      State what the contract or                   Special Pricing dated
             lease is for and the nature of               01/01/2018
             the debtor's interest
                                                                                         First Service Straightline Ent, Inc
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         797 Southpoint Blvd.
             List the contract number of any                                             Suite D
                   government contract                                                   Petaluma, CA 94954




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 93 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 734 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.524.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Westheimer (Houston)
             the debtor's interest                        Sport dated 07/23/1996

                  State the term remaining                Undetermined                   FIT (TX), LP
                                                                                         50 Rockefeller Plaza
             List the contract number of any                                             50 Rockefeller Plaza
                   government contract                                                   New York, NY 10020


 2.525.      State what the contract or                   Lessee for location at
             lease is for and the nature of               209 Westheimer Sport
             the debtor's interest                        dated 02/01/1995

                  State the term remaining                10/31/2029
                                                                                         FIT (TX), LP
             List the contract number of any                                             10707 Westheimer Road
                   government contract                                                   Houston, TX 77042-3497


 2.526.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Sugarhouse Sport
             the debtor's interest                        dated 05/14/2000
                                                                                         FIT (UT) QRS 14-92, Inc.
                  State the term remaining                Undetermined                   WP Carey Inc.
                                                                                         50 Rockefeller Plaza
             List the contract number of any                                             2nd Floor
                   government contract                                                   New York, NY 10020


 2.527.      State what the contract or                   Fitness Marketing
             lease is for and the nature of               System, LLC.
             the debtor's interest                        Supplementary
                                                          Agreement dated
                                                          01/10/2012
                  State the term remaining                Potentially Expired            Fitness Marketing System, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             427 N Theard St 239
                   government contract                                                   Covington, LA 70433


 2.528.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09/08/2016

                  State the term remaining                Potentially Expired            Five Data LLC d/b/a Keono
                                                                                         Attn: General Counsel
             List the contract number of any                                             561 Fairview Avenue
                   government contract                                                   Elmhurst, IL 60126


 2.529.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09/08/2016                     Five Data LLC d/b/a Keono
                                                                                         Attn: General Counsel
                  State the term remaining                Potentially Expired            561 Fairview Avenue
                                                                                         Elmhurst, IL 60126
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 94 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 735 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.530.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2018

                  State the term remaining                199 Days                       Five Data LLC d/b/a Keono
                                                                                         Attn: General Counsel
             List the contract number of any                                             561 Fairview Avenue
                   government contract                                                   Elmhurst, IL 60126


 2.531.      State what the contract or                   Installment Payment
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/20/2001

                  State the term remaining                Undetermined                   Fleet Business Credit Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             One South Wacker Drive
                   government contract                                                   Chicago, IL 60606


 2.532.      State what the contract or                   Installment Payment
             lease is for and the nature of               Agreement dated
             the debtor's interest                        08/31/2001

                  State the term remaining                Undetermined                   Fleet Business Credit LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             One South Wacker Drive
                   government contract                                                   Chicago, IL 60606


 2.533.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Vancouver Andresen
             the debtor's interest                        Sport dated 12/12/2007

                  State the term remaining                Undetermined                   Fourth Plain Portland Shopping Center LL
                                                                                         c/o Arcadia Management Group, Inc.
             List the contract number of any                                             PO Nox 10
                   government contract                                                   Scottsdale, AZ 85252


 2.534.      State what the contract or                   Lessee for location at
             lease is for and the nature of               513 Mountain View
             the debtor's interest                        Sport dated 01/01/1996

                  State the term remaining                3/31/2026
                                                                                         FR SAN ANTONIO CENTER LLC - V0000414232
             List the contract number of any                                             550 Showers Drive
                   government contract                                                   Mountain View, CA 94040-1431




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 95 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 736 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.535.      State what the contract or                   Lessee for location at
             lease is for and the nature of               513 Mountain View
             the debtor's interest                        Sport dated 01/01/1996

                  State the term remaining                Undetermined
                                                                                         FR SAN ANTONIO CENTER LLC - V0000414232
             List the contract number of any                                             550 Showers Drive
                   government contract                                                   Mountain View, CA 94040-1431


 2.536.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Mountain View Sport
             the debtor's interest                        dated 03/19/1996
                                                                                         FR San Antonio Center, LLC
                  State the term remaining                2,115 Days                     c/o FRIT CA Operations, Inc.
                                                                                         Attn: Legal Dept
             List the contract number of any                                             1626 E. Jefferson Street
                   government contract                                                   Rockville, MD 20852


 2.537.      State what the contract or                   Master Purchasing
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2012

                  State the term remaining                Undetermined                   Freemotion Fitness, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1500 SOuth 1000 West
                   government contract                                                   Logan, UT 84321


 2.538.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Mission Viejo Active
             the debtor's interest                        dated 05/01/1993
                                                                                         Fremont Property, LLC
                  State the term remaining                Undetermined                   c/o Coreland Companies
                                                                                         17542 E. 17th Street
             List the contract number of any                                             Ste 420
                   government contract                                                   Tustin, CA 92780


 2.539.      State what the contract or                   Lessee for location at
             lease is for and the nature of               157 Mission Viejo
             the debtor's interest                        Active dated 11/01/1992

                  State the term remaining                4/30/2027                      Fremont Property, LLC
                                                                                         23166 Los Alisos Blvd
             List the contract number of any                                             #140
                   government contract                                                   Mission Viejo, CA 92691-2810


 2.540.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Frisco Sport dated
             the debtor's interest                        09/25/2005                     Frisco Fitness LP
                                                                                         c/o Titus Properties LLC
                  State the term remaining                Undetermined                   Attn: J Michael Moore
                                                                                         1748 W Katella Avenue
             List the contract number of any                                             Orange, CA 92867
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 96 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 737 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.541.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Downtown LA-6th
             the debtor's interest                        Street Sport dated
                                                          08/29/2006                     FSP-South Flower Street Associates, LLC
                  State the term remaining                Undetermined                   c/o Common Wealth Partners
                                                                                         Attn: Asset Manager City National Plz
             List the contract number of any                                             515 S. Flower Street Suite 3200
                   government contract                                                   Los Angeles, CA 90071


 2.542.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Brea Sport dated
             the debtor's interest                        04/28/2003
                                                                                         FW CA-Brea Marketplace, LLC
                  State the term remaining                Undetermined                   c/o Regency Centers, LP
                                                                                         Attn: Property Management
             List the contract number of any                                             One Independent Drive
                   government contract                                                   Jacksonville, FL 32202


 2.543.      State what the contract or                   Lessee for location at
             lease is for and the nature of               159 Brea Sport dated
             the debtor's interest                        03/01/1991

                  State the term remaining                10/27/2022
                                                                                         FW CA-Brea Marketplace, LLC
             List the contract number of any                                             965 E. Birch Street
                   government contract                                                   Brea, CA 92821-5813


 2.544.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Point Loma Active
             the debtor's interest                        dated 06/01/1991
                                                                                         FW CA-Point Loma Plaza, LLC
                  State the term remaining                Undetermined                   c/o Regency Centers Corporation
                                                                                         Attn: Lease Administration
             List the contract number of any                                             One Independent Drive, Suite 114
                   government contract                                                   Jacksonville, FL 32202-5019


 2.545.      State what the contract or                   Lessee for location at
             lease is for and the nature of               103 Point Loma Active
             the debtor's interest                        dated 11/01/1979

                  State the term remaining                5/31/2024                      FW CA-Point Loma Plaza, LLC
                                                                                         3675 Midway Drive
             List the contract number of any                                             A1
                   government contract                                                   San Diego, CA 92110-5259


 2.546.      State what the contract or                   Lease Agreement for       FW CA-Rancho San Diego Village, LLC
             lease is for and the nature of               Rancho San Diego          c/o Regency Centers Corporation
             the debtor's interest                        Sport dated 12/01/2002    Attn: Lease Administration
                                                                                    One Independent Drive, Suite 114
Official Form 206G                               Schedule G: Executory Contracts andJacksonville, FL 32202-5019
                                                                                     Unexpired Leases                                   Page 97 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 738 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.547.      State what the contract or                   Lessee for location at
             lease is for and the nature of               060 Rancho San Diego
             the debtor's interest                        Sport dated 01/30/2003

                  State the term remaining                11/30/2022
                                                                                         FW CA-Rancho San Diego Village, LLC
             List the contract number of any                                             3633 Avocado Blvd.
                   government contract                                                   La Mesa, CA 91941-7337


 2.548.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Apopka Semoran Blvd
             the debtor's interest                        dated 10/28/2017
                                                                                         G&I VIII Piedmont Plaza LLC
                  State the term remaining                Undetermined                   Legal Department Woolbright Development
                                                                                         3200 N Military Trail
             List the contract number of any                                             4th Floor
                   government contract                                                   Boca Raton, FL 33431


 2.549.      State what the contract or                   Lessee for location at
             lease is for and the nature of               635 Apopka Super
             the debtor's interest                        Sport dated 10/28/2017

                  State the term remaining                10/31/2032
                                                                                         G&I VIII Piedmont Plaza LLC
             List the contract number of any                                             2360 E. Semoran Blvd
                   government contract                                                   Apopka, FL 32703


 2.550.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Sunnyvale Sport dated
             the debtor's interest                        12/01/1985

                  State the term remaining                1,994 Days                     Gahrahmat Family Limited Partnership II,
                                                                                         Attn: Patti Levonyak, Property Manager
             List the contract number of any                                             3476 Edward Avenue
                   government contract                                                   Santa Clara, CA 95054


 2.551.      State what the contract or                   Lessee for location at
             lease is for and the nature of               506 Sunnyvale Sport
             the debtor's interest                        dated 08/01/1986

                  State the term remaining                11/30/2025
                                                                                         Gahrahmat Properties
             List the contract number of any                                             150 E. Fremont Avenue
                   government contract                                                   Sunnyvale, CA 94087-3201




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 98 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 739 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.552.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Plano Super Sport
             the debtor's interest                        dated 01/21/1998
                                                                                         Gainesville Holdings LLC
                  State the term remaining                Undetermined                   CRICQ Plano Trust
                                                                                         c/o John K.C. Hyslip
             List the contract number of any                                             65 Ledgeside Lane
                   government contract                                                   Plymouth, NH 03264


 2.553.      State what the contract or                   Third Party
             lease is for and the nature of               Administrator
             the debtor's interest                        Agreement dated
                                                          01/01/2015                     Gallagher Bassett Services, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         12647 Alcosa Boulevard
             List the contract number of any                                             Suite 500
                   government contract                                                   San Ramon, CA 94583


 2.554.      State what the contract or                   Third Party
             lease is for and the nature of               Administrator
             the debtor's interest                        Agreement dated
                                                          01/01/2015
                  State the term remaining                Undetermined                   Gallagher Bassett Services, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             Two Pierce Place
                   government contract                                                   Itasca, IL 60143


 2.555.      State what the contract or                   Gallup, Inc. Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05/01/2019
                                                                                         Gallup, Inc.
                  State the term remaining                684 Days                       Attn: Alex Power, Senior Consultant
                                                                                         18300 Von Karman Avenue
             List the contract number of any                                             Suite 1000
                   government contract                                                   Irvine, CA 92612


 2.556.      State what the contract or                   Building a Culture of
             lease is for and the nature of               Employee Engagement
             the debtor's interest                        dated 04/25/2019
                                                                                         Gallup, Inc.
                  State the term remaining                684 Days                       Attn: General Counsel
                                                                                         18300 Von Karman Avenue
             List the contract number of any                                             Suite 1000
                   government contract                                                   Irvine, CA 92612


 2.557.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Carol Stream dated
             the debtor's interest                        03/07/2020                     Geneva Crossing Carol Stream IL LLC
                                                                                         Attn: Kumar Bhavanasi
                  State the term remaining                Undetermined                   1551 South Washington Avenue
                                                                                         Suite 402A
             List the contract number of any                                             Piscataway, NJ 08854
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 99 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 740 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.558.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Staten Island (Pipeline)
             the debtor's interest                        dated Based on
                                                          LL/Permit Delivery             GGP Staten Island Mall LLC
                  State the term remaining                Undetermined                   c/o Staten Island The Crossings
                                                                                         Attn: Law/Lease Administration Dept
             List the contract number of any                                             350 N Orleans Street
                   government contract                                                   Chicago, IL 60654


 2.559.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Vista Sport dated
             the debtor's interest                        06/01/2009

                  State the term remaining                Undetermined
                                                                                         GIAVISTA INVESTMENT LLC
             List the contract number of any                                             8 GONDOLIERS BLUFF
                   government contract                                                   Newport Beach, CA 92657


 2.560.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Euless Rio Grande
             the debtor's interest                        Super Sport dated
                                                          12/31/2016
                  State the term remaining                Undetermined                   Glade Infrastructure, LLC
                                                                                         6723 Weaver Road
             List the contract number of any                                             Suite 108
                   government contract                                                   Rockford, IL 61114


 2.561.      State what the contract or                   Lessee for location at
             lease is for and the nature of               385 Euless Rio Grande
             the debtor's interest                        Super Sport dated
                                                          12/31/2016
                  State the term remaining                12/31/2032
                                                                                         Glade Infrastructure, LLC
             List the contract number of any                                             2401 Rio Grande Blvd
                   government contract                                                   Euless, TX 76039


 2.562.      State what the contract or                   Lessee for location at
             lease is for and the nature of               069 Santa Fe Springs
             the debtor's interest                        Sport dated 06/01/2002

                  State the term remaining                9/30/2031
                                                                                         GOLDEN SPRINGS DEVELOPMENT CO LLC - V672
             List the contract number of any                                             13312 Imperial Highway
                   government contract                                                   Santa Fe Springs, CA 90670-4819


 2.563.      State what the contract or                   Lease Agreement for            Golden Springs Development Company, LLC
             lease is for and the nature of               Santa Fe Springs Sport         Moshe Sassover
             the debtor's interest                        dated 03/01/2002               13116 Imperial Highway
                                                                                         Santa Fe Springs, CA 90670
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 100 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 741 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.564.      State what the contract or                   Enterprise Agreement -
             lease is for and the nature of               Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   Google
                                                                                         Attn: General Counsel
             List the contract number of any                                             1600 Amphitheatre Parkway
                   government contract                                                   Mountain View, CA 94043


 2.565.      State what the contract or                   Enterprise Agreement -
             lease is for and the nature of               Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   Google Apps
                                                                                         Attn: General Counsel
             List the contract number of any                                             1600 Amphitheatre Parkway
                   government contract                                                   Mountain View, CA 94043


 2.566.      State what the contract or                   Advertising Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09/05/2013

                  State the term remaining                Undetermined                   Google, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1600 Amphitheatre Parkway
                   government contract                                                   Mountain View, CA 94043


 2.567.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Charlotte East Arbor
             the debtor's interest                        (Mallard Creek)
                                                          (Pipeline) dated Based
                                                          on LL/Permit Delivery
                  State the term remaining                Undetermined                   GP Partners NC LLC
                                                                                         c/o Stiles Corporation
             List the contract number of any                                             301 E Las Olas Boulevard
                   government contract                                                   Fort Lauderdale, FL 33301


 2.568.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Mesa Active (Assigned)
             the debtor's interest                        dated 08/18/2007
                                                                                         Grace-Power & McKellips LLC
                  State the term remaining                807 Days                       Prescott Convention Center LP
                                                                                         c/o WM Grace Development Co
             List the contract number of any                                             7575 N 16th Street Suite 1
                   government contract                                                   Phoenix, AZ 85020


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 101 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 742 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.569.      State what the contract or                   Lessee for location at
             lease is for and the nature of               857 Mesa Active
             the debtor's interest                        (CLOSED) dated
                                                          08/18/2007
                  State the term remaining                8/31/2022
                                                                                         Grace-Power & McKellips, LLC
             List the contract number of any                                             1919 N. Power Road
                   government contract                                                   Mesa, AZ 85205-3728


 2.570.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Mesquite Super Sport
             the debtor's interest                        dated 01/21/1998
                                                                                         Grandway Capital Holdings III LLC
                  State the term remaining                Undetermined                   Grandway Asset Management, Inc
                                                                                         Attn: David Lin
             List the contract number of any                                             55 S. Lake Ave.
                   government contract                                                   Pasadena, CA 91101


 2.571.      State what the contract or                   Lessee for location at
             lease is for and the nature of               211 Mesquite Super
             the debtor's interest                        Sport dated 01/01/1996

                  State the term remaining                12/31/2025
                                                                                         Grandway Capital Holdings III, LLC
             List the contract number of any                                             3600 Emporium Circle
                   government contract                                                   Mesquite, TX 75150-6508


 2.572.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               San Jacinto Sport
             the debtor's interest                        dated 05/01/1999
                                                                                         Gratiot HB Jacinto LLC
                  State the term remaining                Undetermined                   HB Jacinto LLC c/o JBL Asset Management
                                                                                         SG2607 Properties LLC
             List the contract number of any                                             766 Riverside Drive
                   government contract                                                   Coral Springs, FL 33071


 2.573.      State what the contract or                   Lessee for location at
             lease is for and the nature of               730 Valley Stream
             the debtor's interest                        Green Acres Mall dated
                                                          12/17/2016
                  State the term remaining                12/31/2031                     Green Acres Adjacent LLC
                                                                                         750 West Sunrise Hwy, Suite 100
             List the contract number of any                                             100 Green Acres Commons
                   government contract                                                   Valley Stream, NY 11581-1007


 2.574.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Valley Stream Super
             the debtor's interest                        Sport dated 12/17/2016
                                                                                         Green Acres Adjacent LLC
                  State the term remaining                Undetermined                   Attn: Center Manager
                                                                                         2034 Green Acres Mall
             List the contract number of any                                             Valley Stream, NY 11581-1545
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 102 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 743 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.575.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Millbrae Super Sport
             the debtor's interest                        dated 12/14/2007

                  State the term remaining                Undetermined                   Green Banker LLC
                                                                                         Attn: Stanley Lo
             List the contract number of any                                             398 Primrose Rd
                   government contract                                                   Burlingame, CA 94010


 2.576.      State what the contract or                   Lessee for location at
             lease is for and the nature of               805 Millbrae Super
             the debtor's interest                        Sport dated 12/14/2007

                  State the term remaining                12/13/2022
                                                                                         Green Banker LLC
             List the contract number of any                                             979 Broadway
                   government contract                                                   Millbrae, CA 94030-1987


 2.577.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               West Woodlands Sport
             the debtor's interest                        dated 09/22/2006
                                                                                         GRI Woodlands Crossing, LLC
                  State the term remaining                Undetermined                   c/o First Washington Realty
                                                                                         Attn: Diana Chastain
             List the contract number of any                                             4350 East West Highway
                   government contract                                                   Bethesda, MD 20814


 2.578.      State what the contract or                   Gridgain Order Form
             lease is for and the nature of               dated 08/01/2015
             the debtor's interest
                                                                                         GridGain Systems, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         1065 East Hillsdale Blvd.
             List the contract number of any                                             Suite 220
                   government contract                                                   Foster City, CA 94404


 2.579.      State what the contract or                   Gridgain Order Form
             lease is for and the nature of               dated 03/31/2017
             the debtor's interest
                                                                                         GridGain Systems, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         1065 East Hillsdale Blvd.
             List the contract number of any                                             Suite 220
                   government contract                                                   Foster City, CA 94904




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 103 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 744 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.580.      State what the contract or                   Master Software
             lease is for and the nature of               License, Maintenance
             the debtor's interest                        and Services
                                                          Agreement with
                                                          GridGain Systems - Not
                                                          Dated                          GridGain Systems, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1065 East Hillsdale Blvd.
             List the contract number of any                                             Suite 220
                   government contract                                                   Foster City, CA 94404


 2.581.      State what the contract or                   Gridgain Order Form
             lease is for and the nature of               dated 12/15/2017
             the debtor's interest

                  State the term remaining                Potentially Expired            GridGain Systems, Inc.
                                                                                         Attn: Chief Financial Officer
             List the contract number of any                                             1065 East Hillsdale Blvd., Suite 220
                   government contract                                                   Foster City, CA 94404


 2.582.      State what the contract or                   Gridgain Order Form
             lease is for and the nature of               dated 12/15/2017
             the debtor's interest

                  State the term remaining                Undetermined                   GridGain Systems, Inc.
                                                                                         Attn: Chief Financial Officer
             List the contract number of any                                             1065 East Hillsdale Blvd., Suite 220
                   government contract                                                   Foster City, CA 94404


 2.583.      State what the contract or                   Lessee for location at
             lease is for and the nature of               633 Lake Mary Super
             the debtor's interest                        Sport dated 03/17/2018

                  State the term remaining                10/31/2033
                                                                                         Griffin Farm at Midtown, LLC
             List the contract number of any                                             236 Wheel House Lane
                   government contract                                                   Lake Mary, FL 32746-3410


 2.584.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Lake Mary Super Sport
             the debtor's interest                        dated 04/06/2018

                  State the term remaining                Undetermined                   Griffin Farms at Midtown, LLC
                                                                                         7940 Via Dellagio Way
             List the contract number of any                                             Suite 200
                   government contract                                                   Orlando, FL 32819


 2.585.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Winter Park Super              Grove at Winter Park Property, LLC
             the debtor's interest                        Sport dated 04/07/2017         c/o Triout Advisory Services
                                                                                         18331 Pines blvd.
                  State the term remaining                Undetermined                   Pembroke Pines, FL 33029
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 104 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 745 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease


             List the contract number of any
                   government contract


 2.586.      State what the contract or                   Lessee for location at
             lease is for and the nature of               638 Winter Park Super
             the debtor's interest                        Sport dated 02/04/2017

                  State the term remaining                4/30/2032                      Grove at Winter Park Property, LLC
                                                                                         4270 Aloma Avenue, Suite 164
             List the contract number of any                                             Suite 164
                   government contract                                                   Winter Park, FL 32792-9393


 2.587.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Eastridge Super Sport
             the debtor's interest                        dated 03/28/2015
                                                                                         GS Pacific ER LLC
                  State the term remaining                Undetermined                   c/o Pacific Retail Capital Partners
                                                                                         Attn: Gary Karl
             List the contract number of any                                             100 N Sepulveda Blvd, Ste #1925
                   government contract                                                   El Segundo, CA 90245


 2.588.      State what the contract or                   Lessee for location at
             lease is for and the nature of               930 Eastridge Super
             the debtor's interest                        Sport dated 03/28/2015

                  State the term remaining                12/31/2025
                                                                                         GS Pacific ER LLC
             List the contract number of any                                             2200 Eastridge Loop
                   government contract                                                   San Jose, CA 95122


 2.589.      State what the contract or                   Lessee for location at
             lease is for and the nature of               90280 Bishop Ranch
             the debtor's interest                        (San Ramon)-CA dated
                                                          08/01/2002
                  State the term remaining                12/31/2031                     H & A PROPERTIES, LP - V0000312383
                                                                                         12647 Alcosta Blvd
             List the contract number of any                                             Stes. 100/410/500
                   government contract                                                   San Ramon, CA 94583


 2.590.      State what the contract or                   Lessee for location at
             lease is for and the nature of               90281 Palomar Airport
             the debtor's interest                        Rd (MSC) dated
                                                          08/17/2007
                  State the term remaining                9/30/2020
                                                                                         H & A PROPERTIES, LP - V0000312383
             List the contract number of any                                             1265 Laurel Tree Lane, Ste 200
                   government contract                                                   Carlsbad, CA




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 105 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 746 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.591.      State what the contract or                   Lessee for location at
             lease is for and the nature of               90281 Palomar Airport
             the debtor's interest                        Rd (MSC) dated
                                                          08/17/2007
                  State the term remaining                8/31/2027
                                                                                         H & A PROPERTIES, LP - V0000312383
             List the contract number of any                                             1265 Laurel Tree Lane, Ste 200
                   government contract                                                   Carlsbad, CA


 2.592.      State what the contract or                   Lessee for location at
             lease is for and the nature of               902 North Torrance
             the debtor's interest                        Redondo Active dated
                                                          08/24/2007
                  State the term remaining                8/24/2022
                                                                                         H & A PROPERTIES, LP - V0000312383
             List the contract number of any                                             4240 Redondo Beach Blvd.
                   government contract                                                   Torrance, CA 90504-1030


 2.593.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               North Torrance Active
             the debtor's interest                        Dry dated 08/24/2007
                                                                                         H&A Properties, LP
                  State the term remaining                Undetermined                   c/o Tiarna Real Estate Services, Inc.
                                                                                         2603 Main Street
             List the contract number of any                                             Suite 210
                   government contract                                                   Irvine, CA 92614


 2.594.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Plantation Sport dated
             the debtor's interest                        01/21/1998

                  State the term remaining                Undetermined                   HAAG Management Inc
                                                                                         c/o Vann Investments GP
             List the contract number of any                                             14814 Giles Road
                   government contract                                                   Omaha, NE 68138


 2.595.      State what the contract or                   Lessee for location at
             lease is for and the nature of               217 Plantation Sport
             the debtor's interest                        dated 11/01/1996

                  State the term remaining                1/31/2029
                                                                                         HAAG Management Inc
             List the contract number of any                                             700 South Pine Island Road
                   government contract                                                   Plantation, FL 33324-3130


 2.596.      State what the contract or                   Lessee for location at
             lease is for and the nature of               217 Plantation Sport
             the debtor's interest                        dated 11/01/1996

                  State the term remaining                1/31/2029                      HAAG Management Inc
                                                                                         700 South Pine Island Road
             List the contract number of any                                             Plantation, FL 33324-3130
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 106 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 747 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.597.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               9th Street Sport dated
             the debtor's interest                        09/01/2004

                  State the term remaining                Undetermined
                                                                                         HAI Murray Gym LLC
             List the contract number of any                                             PO Box 3309
                   government contract                                                   Logan, UT 84323


 2.598.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Hancock Center Sport
             the debtor's interest                        dated 01/01/2004
                                                                                         Hancock Fitness, LP
                  State the term remaining                Undetermined                   Attn: J Michael Moore
                                                                                         1748 W Katella Avenue
             List the contract number of any                                             Suite 206
                   government contract                                                   Orange, CA 92867


 2.599.      State what the contract or                   Sublessee for location
             lease is for and the nature of               at 372 Hancock Center
             the debtor's interest                        Sport dated 01/09/2004

                  State the term remaining                9/30/2023                      Hancock Fitness, LP
                                                                                         1000 E. 41st Street
             List the contract number of any                                             Suite 850
                   government contract                                                   Austin, TX 78751-4810


 2.600.      State what the contract or                   Sublessee for location
             lease is for and the nature of               at 372 Hancock Center
             the debtor's interest                        Sport dated 01/09/2004

                  State the term remaining                9/30/2023                      Hancock Fitness, LP
                                                                                         1000 E. 41st Street
             List the contract number of any                                             Suite 850
                   government contract                                                   Austin, TX 78751-4810


 2.601.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Whippany Super Sport
             the debtor's interest                        dated 06/29/2019
                                                                                         Hanover 3201 Realty LLC
                  State the term remaining                Undetermined                   c/o Mack-Cali Realty Corp Harborside 3
                                                                                         210 Hudson Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Jersey City, NJ 07311


 2.602.      State what the contract or                   Lease Agreement for       Hawaiian Gardens Lakewood Retail VIII, L
             lease is for and the nature of               Hawaiian Gardens          c/o Athena Property Management
             the debtor's interest                        Super Sport dated         730 El Camino Way
                                                          08/07/2018                Suite 200
Official Form 206G                               Schedule G: Executory Contracts andTustin, CALeases
                                                                                     Unexpired 92780                                    Page 107 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 748 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.603.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Hawthorne Sport dated
             the debtor's interest                        07/23/2005
                                                                                         Hawthorne X, LLC
                  State the term remaining                Undetermined                   Jackie Villanueva
                                                                                         2973 Harbor Blvd
             List the contract number of any                                             #150
                   government contract                                                   Costa Mesa, CA 92626


 2.604.      State what the contract or                   Lessee for location at
             lease is for and the nature of               055 Hawthorne Sport
             the debtor's interest                        dated 07/23/2005

                  State the term remaining                7/31/2025
                                                                                         Hawthorne X, LLC
             List the contract number of any                                             2831 W. 120th Street
                   government contract                                                   Hawthorne, CA 90250-3374


 2.605.      State what the contract or                   Lessee for location at
             lease is for and the nature of               488 Hayward Super
             the debtor's interest                        Sport dated 06/01/2013

                  State the term remaining                12/31/2028
                                                                                         HAYWARD 880 LLC - V0000412873
             List the contract number of any                                             2480 Whipple Road
                   government contract                                                   Hayward, CA 94544-7808


 2.606.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Hayward Super Sport
             the debtor's interest                        dated 06/01/2013

                  State the term remaining                Undetermined                   Hayward 880, LLC
                                                                                         Attn: Daniel Temkin
             List the contract number of any                                             3417 Hunts Point Rd.
                   government contract                                                   Hunts Point, WA 98004


 2.607.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Hasbrouck Heights
             the debtor's interest                        Super Sport dated
                                                          05/18/2008
                  State the term remaining                Undetermined                   Heights Plaza, LLC
                                                                                         c/o Levin Management Corporation
             List the contract number of any                                             975 Route 22 West
                   government contract                                                   North Plainfield, NJ 07060-3622




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 108 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 749 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.608.      State what the contract or                   Construction Contract
             lease is for and the nature of               dated 08/15/2017
             the debtor's interest
                                                                                         Herman/Stewart Construction & Dvpmt, Inc
                  State the term remaining                Undetermined                   Attn: Jim Crist
                                                                                         4550 Forbes Boulevard
             List the contract number of any                                             Suite 200
                   government contract                                                   Lanham, MD 20706


 2.609.      State what the contract or                   Construction Contract
             lease is for and the nature of               dated 09/26/2019
             the debtor's interest
                                                                                         Herman/Stewart Construction & Dvpmt, Inc
                  State the term remaining                Undetermined                   Attn: Al Zywar
                                                                                         4550 Forbes Boulevard
             List the contract number of any                                             Suite 200
                   government contract                                                   Lanham, MD 20706


 2.610.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Garden Grove Sport
             the debtor's interest                        dated 06/01/2001
                                                                                         HGGA Promenade, LP
                  State the term remaining                Undetermined                   c/o Hughes Investments
                                                                                         Attn: Property Manager, Mary Fouladi
             List the contract number of any                                             23 Corporate Plaza
                   government contract                                                   Newport Beach, CA 92660


 2.611.      State what the contract or                   Lessee for location at
             lease is for and the nature of               156 Garden Grove
             the debtor's interest                        Sport dated 06/01/2001

                  State the term remaining                5/31/2021
                                                                                         HGGA Promenade, LP
             List the contract number of any                                             9561 Chapman Avenue
                   government contract                                                   Garden Grove, CA 92841-2704


 2.612.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Highlands Garden
             the debtor's interest                        Active dated 05/18/2007

                  State the term remaining                Undetermined                   HGV Commercial, LLC
                                                                                         Attn: Charles J Perry
             List the contract number of any                                             1640 Market Street
                   government contract                                                   Denver, CO 80202


 2.613.      State what the contract or                   Lessee for location at
             lease is for and the nature of               956 Highlands Garden
             the debtor's interest                        Active dated 05/18/2007

                  State the term remaining                5/31/2022                      HGV Commercial, LLC
                                                                                         4600 West 38th Avenue
             List the contract number of any                                             Denver, CO 80212-2047
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 109 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 750 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.614.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Renton Highlands
             the debtor's interest                        Active dated 02/17/2006
                                                                                         Highland Shopping Center, LLC
                  State the term remaining                Undetermined                   James F. Hamm
                                                                                         2800 156th Ave SE
             List the contract number of any                                             Suite 120
                   government contract                                                   Bellevue, WA 98007


 2.615.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Highlands Ranch Sport
             the debtor's interest                        dated 02/01/2002
                                                                                         Highlands Fitness, L.T.D.
                  State the term remaining                Undetermined                   Attn: J Michael Moore / Titus Properties
                                                                                         1748 W Katella Avenue
             List the contract number of any                                             Suite 206
                   government contract                                                   Orange, CA 92867


 2.616.      State what the contract or                   Construction Contract
             lease is for and the nature of               Puyallup dated
             the debtor's interest                        01/21/2019
                                                                                         Hilbers, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         770 North Walton Avenue
             List the contract number of any                                             Suite 100
                   government contract                                                   Yuba City, CA 95993


 2.617.      State what the contract or                   Construction Contract
             lease is for and the nature of               dated 03/08/2019
             the debtor's interest
                                                                                         Hilbers, Inc.
                  State the term remaining                Undetermined                   Attn: Glenn Hilbers
                                                                                         770 North Walton Avenue
             List the contract number of any                                             Suite 100
                   government contract                                                   Yuba City, CA 95993


 2.618.      State what the contract or                   Hilbers, Inc.
             lease is for and the nature of               Construction Contract
             the debtor's interest                        dated 12/12/2017

                  State the term remaining                Undetermined                   Hilbers, Inc.
                                                                                         Attn: Glenn Hilbers
             List the contract number of any                                             1210 Stabler Lane
                   government contract                                                   Yuba City, CA 95993


 2.619.      State what the contract or                   Hilbers, Inc.                  Hilbers, Inc.
             lease is for and the nature of               Construction Contract          Attn: Glenn Hilbers
             the debtor's interest                        dated 05/24/2018               1210 Stabler Lane
                                                                                         Yuba City, CA 95993
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 110 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 751 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.620.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Castle Hills Super
             the debtor's interest                        Sport dated 12/18/2009

                  State the term remaining                Undetermined                   HMC Lewisville TC LLC
                                                                                         Lewisville Town Crossing
             List the contract number of any                                             PO Box 82552 - GRY001
                   government contract                                                   Goleta, CA 93118-2552


 2.621.      State what the contract or                   Lessee for location at
             lease is for and the nature of               881 Castle Hills Super
             the debtor's interest                        Sport dated 12/18/2009

                  State the term remaining                12/31/2026
                                                                                         HMC LEWISVILLE TC LLC - V0000415605
             List the contract number of any                                             4866 State Hwy 121
                   government contract                                                   Lewisville, TX 75056-2915


 2.622.      State what the contract or                   Master Purchasing
             lease is for and the nature of               Agreement for Exercise
             the debtor's interest                        Equipment dated
                                                          05/03/2012
                  State the term remaining                Undetermined                   Hoist Fitness Systems, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             9990 Empire Street
                   government contract                                                   San Diego, CA 92126


 2.623.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Hollywood OR Super
             the debtor's interest                        Sport dated 03/27/2006
                                                                                         Hollywood Station Partners LLC
                  State the term remaining                Undetermined                   David Kotansky | Colliers International
                                                                                         851 SW 6th Avenue
             List the contract number of any                                             Suite 1200
                   government contract                                                   Portland, OR 97204


 2.624.      State what the contract or                   Lessee for location at
             lease is for and the nature of               206 Willowbrook Super
             the debtor's interest                        Sport dated 11/01/1994

                  State the term remaining                1/31/2029
                                                                                         HOUSTON WILLOWBROOK LLC - V0000411025
             List the contract number of any                                             7300 West Greens Road
                   government contract                                                   Houston, TX 77064




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 111 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 752 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.625.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Willowbrook Super
             the debtor's interest                        Sport dated 01/21/1998
                                                                                         Houston Willowbrook, LLC
                  State the term remaining                Undetermined                   350 N. Orleans St.
                                                                                         350 N. Orleans St.
             List the contract number of any                                             Ste. 300
                   government contract                                                   Chicago, IL 60654


 2.626.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Monrovia Active dated
             the debtor's interest                        04/25/1995
                                                                                         HREH, LLC
                  State the term remaining                Undetermined                   Attn: Stan Huang
                                                                                         6840 Orangethorpe Ave
             List the contract number of any                                             Suite G
                   government contract                                                   Buena, CA 90620


 2.627.      State what the contract or                   Lessee for location at
             lease is for and the nature of               170 Monrovia Active
             the debtor's interest                        dated 11/01/1994

                  State the term remaining                12/31/2024
                                                                                         HREH, LLC
             List the contract number of any                                             715 E. Huntington Drive
                   government contract                                                   Monrovia, CA 91016-3613


 2.628.      State what the contract or                   Lessee for location at
             lease is for and the nature of               170 Monrovia Active
             the debtor's interest                        dated 11/01/1994

                  State the term remaining                12/31/2024
                                                                                         HREH, LLC
             List the contract number of any                                             715 E. Huntington Drive
                   government contract                                                   Monrovia, CA 91016-3613


 2.629.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Lafayette Super Sport
             the debtor's interest                        dated 12/20/2019

                  State the term remaining                Undetermined
                                                                                         HSC Lafayette, LLC
             List the contract number of any                                             805 Trione Avenue
                   government contract                                                   Daphne, AL 36526


 2.630.      State what the contract or                   Lessee for location at
             lease is for and the nature of               669 Lafayette Super
             the debtor's interest                        Sport dated 09/21/2019

                  State the term remaining                12/31/2034                     HSC Lafayette, LLC
                                                                                         851 N. Hwy 287
             List the contract number of any                                             Lafayette, CO 80026
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 112 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 753 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.631.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Algonquin (Pipeline)
             the debtor's interest                        dated Based on
                                                          LL/Permit Delivery             HSG Algonquin LLC
                  State the term remaining                Undetermined                   c/o CP2 Management LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             225 West Hubbard
                   government contract                                                   Chicago, IL 60654


 2.632.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Oak Lawn (Pipeline)
             the debtor's interest                        dated Based on
                                                          LL/Permit Delivery             HSG-KRE Oak Lawn Property Owner LLC
                  State the term remaining                Undetermined                   c/o Mid-America Asset Management, Inc
                                                                                         One Parkview Plaza
             List the contract number of any                                             9th Floor
                   government contract                                                   Oakbrook, IL 60181


 2.633.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Downtown Seattle
             the debtor's interest                        Sport dated 02/12/2001
                                                                                         Hudson Met Park North LLC
                  State the term remaining                Undetermined                   Attn: Howard Stern
                                                                                         11601 Wilshire Boulevard
             List the contract number of any                                             Suite 1600
                   government contract                                                   Los Angeles, CA 90025


 2.634.      State what the contract or                   Lessee for location at
             lease is for and the nature of               412 Downtown Seattle
             the debtor's interest                        Sport dated 08/01/2001

                  State the term remaining                2/28/2026
                                                                                         Hudson Met Park North LLC
             List the contract number of any                                             1827 Yale Avenue
                   government contract                                                   Seattle, WA 98101-1443


 2.635.      State what the contract or                   Lessee for location at
             lease is for and the nature of               412 Downtown Seattle
             the debtor's interest                        Sport dated 08/01/2001

                  State the term remaining                2/28/2026
                                                                                         Hudson Met Park North LLC
             List the contract number of any                                             1827 Yale Avenue
                   government contract                                                   Seattle, WA 98101-1443


 2.636.      State what the contract or                   Lease Agreement for            HUH DI/OCP Cinque Terre, LLC
             lease is for and the nature of               Kissimmee Super Sport          Attn: Mark S. Rosen Hampshire Companies
             the debtor's interest                        dated 11/28/2016               22 Maple Avenue
                                                                                         Morristown, NJ 07960
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 113 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 754 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.637.      State what the contract or                   Lessee for location at
             lease is for and the nature of               639 Kissimmee Super
             the debtor's interest                        Sport dated 12/17/2016

                  State the term remaining                11/30/2031
                                                                                         HUH DI/OCP Cinque Terre, LLC
             List the contract number of any                                             850 W. Osceola Parkway
                   government contract                                                   Kissimmee, FL 34741


 2.638.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Huntington Beach
             the debtor's interest                        Super Sport dated
                                                          12/17/2016
                  State the term remaining                Undetermined
                                                                                         Huntington South Center LLC
             List the contract number of any                                             77 West Del Mar Blvd
                   government contract                                                   Pasadena, CA 91105


 2.639.      State what the contract or                   Lessee for location at
             lease is for and the nature of               932 Huntington Beach
             the debtor's interest                        Super Sport dated
                                                          12/17/2016
                  State the term remaining                12/31/2031
                                                                                         Huntington South Center LLC
             List the contract number of any                                             9051 Atlanta Avenue
                   government contract                                                   Huntington Beach, CA 92646


 2.640.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Summerlin Super Sport
             the debtor's interest                        dated 06/01/2015
                                                                                         Husite Nevada LP
                  State the term remaining                1,811 Days                     c/o Brown Associates LLC
                                                                                         1640 Newport Boulevard
             List the contract number of any                                             Suite 250
                   government contract                                                   Costa Mesa, CA 92627


 2.641.      State what the contract or                   Lessee for location at
             lease is for and the nature of               228 Summerlin Super
             the debtor's interest                        Sport dated 07/01/2003

                  State the term remaining                5/31/2025
                                                                                         Husite Nevada LP
             List the contract number of any                                             2090 Village Center Circle
                   government contract                                                   Las Vegas, NV 89134-6250




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 114 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 755 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.642.      State what the contract or                   Software As A Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/01/2016

                  State the term remaining                Undetermined                   HYP3R, Inc.
                                                                                         Attn: Ashley Burnstad
             List the contract number of any                                             1161 Mission St
                   government contract                                                   San Francisco, CA 94103


 2.643.      State what the contract or                   Interactive Content
             lease is for and the nature of               Subscription and
             the debtor's interest                        Statement of Work No.
                                                          1 dated 01/01/2017             i-on Interactive, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         200 East Palmetto Park Road
             List the contract number of any                                             Suite 107
                   government contract                                                   Boca Raton, FL 33432


 2.644.      State what the contract or                   Service Agreement
             lease is for and the nature of               dated 12/14/2016
             the debtor's interest
                                                                                         i-on Interactive, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         200 East Palmetto Park Road
             List the contract number of any                                             Suite 107
                   government contract                                                   Boca Raton, FL 33432


 2.645.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Spring Cypress Active
             the debtor's interest                        dated 08/25/2006
                                                                                         IA Cypress CyFair LP
                  State the term remaining                Undetermined                   c/o InvenTrust Property Management, LLC
                                                                                         Attn: Property Manager
             List the contract number of any                                             3025 Highland Parkway
                   government contract                                                   Downers Grove, IL 60515


 2.646.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               League City Sport
             the debtor's interest                        dated 12/14/2007
                                                                                         IA League City Bay Colony LP
                  State the term remaining                Undetermined                   c/o InvenTrust Property Management LLC
                                                                                         Attn: Property Manager
             List the contract number of any                                             3025 Highland Parkway
                   government contract                                                   Downers Grove, IL 60515


 2.647.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Carlsbad - IT Storage
             the debtor's interest                        dated 06/01/2017               Icon Owner Pool I West/Southwest, LLC
                                                                                         c/o Link Industrial Management LLC
                  State the term remaining                Undetermined                   Attn: Lease Administration
                                                                                         220 Commerce Drive, Suite 400
             List the contract number of any                                             Washington, PA 00019-0034
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 115 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 756 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.648.      State what the contract or                   Lessee for location at
             lease is for and the nature of               90071 Carlsbad - IT
             the debtor's interest                        Storage

                  State the term remaining                8/31/2027
                                                                                         Icon Owner Pool I West/Southwest, LLC
             List the contract number of any                                             1225 Park Center Drive, Ste B
                   government contract                                                   Vista, CA 92081


 2.649.      State what the contract or                   Lessee for location at
             lease is for and the nature of               90076 Regional
             the debtor's interest                        Training Center dated
                                                          04/20/2013
                  State the term remaining                4/30/2029
                                                                                         Icon Owner Pool I West/Southwest, LLC
             List the contract number of any                                             17204 Slover Avenue
                   government contract                                                   Fontana, CA 92337-7536


 2.650.      State what the contract or                   Letter Re: Due
             lease is for and the nature of               Dilligence Expenses
             the debtor's interest                        dated 05/20/2010

                  State the term remaining                Undetermined                   ID Associates, Inc.
                                                                                         Attn: Business Deveopment
             List the contract number of any                                             1771 Industrial Road
                   government contract                                                   Dothan, AL 36303


 2.651.      State what the contract or                   Master Signage
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   ID Associates, Inc.
                                                                                         Attn: Business Deveopment
             List the contract number of any                                             1771 Industrial Road
                   government contract                                                   Dothan, AL 36303


 2.652.      State what the contract or                   Master Signage
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/09/2013

                  State the term remaining                Undetermined                   ID Associates, Inc.
                                                                                         Attn: Rosalyn Holdebield
             List the contract number of any                                             1771 Industrial Road
                   government contract                                                   Dothan, AL 36303


 2.653.      State what the contract or                   Master Signage                 ID Associates, Inc.
             lease is for and the nature of               Agreement dated                Attn: General Counsel
             the debtor's interest                        02/21/2010                     1771 Industrial Road
                                                                                         Dothan, AL 36303
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 116 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 757 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.654.      State what the contract or                   Letter Re: Due
             lease is for and the nature of               Dilligence Expenses
             the debtor's interest                        dated 05/20/2020

                  State the term remaining                Undetermined                   ID Associates, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1771 Industrial Road
                   government contract                                                   Dothan, AL 36303


 2.655.      State what the contract or                   Consluting Agreement
             lease is for and the nature of               dated 07/01/2015
             the debtor's interest

                  State the term remaining                Undetermined                   Imagenation LLC
                                                                                         Attn: M. WIlliams
             List the contract number of any                                             212 W. 10th Street
                   government contract                                                   Indianapolis, IN 46202


 2.656.      State what the contract or                   Proactive Maintenance
             lease is for and the nature of               Full Parts Labor dated
             the debtor's interest                        02/01/2006

                  State the term remaining                Undetermined                   Industrial Building Services
                                                                                         Attn: General Counsel
             List the contract number of any                                             11034 Lakeridge Parkway
                   government contract                                                   Ashland, VA 23005


 2.657.      State what the contract or                   Revocable Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/01/2006
                                                                                         Industrial Building Services, LLC
                  State the term remaining                Potentially Expired            Attn: Bob Barnard
                                                                                         3511 NE 22nd Avenue
             List the contract number of any                                             Suite 300
                   government contract                                                   Fort Lauderdale, FL 33308


 2.658.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               City of Industry Sport
             the debtor's interest                        dated 02/13/2009
                                                                                         Industry East Land Retail II, LLC
                  State the term remaining                Undetermined                   c/o Majestic Realty Co.
                                                                                         Attn: John Hunter and Marguerite Hill
             List the contract number of any                                             13191 Crossroads Parkway North
                   government contract                                                   City of Industry, CA 91746




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 117 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 758 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.659.      State what the contract or                   Lessee for location at
             lease is for and the nature of               860 City of industry
             the debtor's interest                        Sport dated 02/13/2009

                  State the term remaining                2/12/2024
                                                                                         Industry East Land Retail II, LLC
             List the contract number of any                                             21560 Valley Blvd.
                   government contract                                                   City of industry, CA 91789-5241


 2.660.      State what the contract or                   Lessee for location at
             lease is for and the nature of               851 Huntington Beach
             the debtor's interest                        Sport dated 06/18/2007

                  State the term remaining                6/30/2022
                                                                                         INDUSTRY INVESTMENT COMPANY LLC
             List the contract number of any                                             7887 Center Avenue
                   government contract                                                   Huntington Beach, CA 92647-3051


 2.661.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Huntington Beach
             the debtor's interest                        Sport dated 06/22/2007

                  State the term remaining                Undetermined
                                                                                         Industry Investment Company, LLC
             List the contract number of any                                             18 Cypress Point Lane
                   government contract                                                   Jackson, NJ 08527


 2.662.      State what the contract or                   24 Hour Fitness Master
             lease is for and the nature of               Services Agreement
             the debtor's interest                        with Infield Digital
                                                          dated 09/15/2017
                  State the term remaining                Undetermined                   Infield Digital LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             210 Mississippi Street
                   government contract                                                   San Francisco, CA 94107


 2.663.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09/15/2017

                  State the term remaining                Undetermined                   Infield Digital LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             210 Mississippi Street
                   government contract                                                   San Francisco, CA 94107


 2.664.      State what the contract or                   Informatica, LLC
             lease is for and the nature of               Statement of Work
             the debtor's interest                        dated 11/08/2017
                                                                                         Informatica
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         2100 Seaport Boulevard
             List the contract number of any                                             Redwood City, CA 94063
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 118 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 759 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.665.      State what the contract or                   Maintenance and/or
             lease is for and the nature of               Sub. dated 10/01/2019
             the debtor's interest

                  State the term remaining                107 Days                       Informatica
                                                                                         Attn: Nathan Hayes
             List the contract number of any                                             2100 Seaport Boulevard
                   government contract                                                   Redwood City, CA 94063


 2.666.      State what the contract or                   Renewal of
             lease is for and the nature of               Maintenance and
             the debtor's interest                        Subscription
                                                          Agreement dated
                                                          10/02/2019
                  State the term remaining                108 Days                       Informatica
                                                                                         Attn: Nathan Hayes
             List the contract number of any                                             2100 Seaport Boulevard
                   government contract                                                   Redwood City, CA 94063


 2.667.      State what the contract or                   Software License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/29/2007

                  State the term remaining                Undetermined                   Informatica Coporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             100 Cardinal Way
                   government contract                                                   Redwood City, CA 94063


 2.668.      State what the contract or                   Production Standard
             lease is for and the nature of               Renewal Maintenance
             the debtor's interest                        dated 09/01/2012

                  State the term remaining                Potentially Expired            Informatica Coporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             100 Cardinal Way
                   government contract                                                   Redwood City, CA 94063


 2.669.      State what the contract or                   Software License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/29/2007

                  State the term remaining                Undetermined                   Informatica Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             100 Cardinal Way
                   government contract                                                   Redwood City, CA 94063




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 119 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 760 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.670.      State what the contract or                   Private Training dated
             lease is for and the nature of               12/09/2014
             the debtor's interest

                  State the term remaining                Undetermined                   Informatica University
                                                                                         Attn: General Counsel
             List the contract number of any                                             2100 Seaport Boulevard
                   government contract                                                   Redwood City, CA 94063


 2.671.      State what the contract or                   ILD Access
             lease is for and the nature of               Supplement dated
             the debtor's interest                        05/01/2014

                  State the term remaining                Potentially Expired            Information Resources, Inc.
                                                                                         Attn: Alyssa Foss
             List the contract number of any                                             150 N. Clinton Street
                   government contract                                                   Chicago, IL 60661


 2.672.      State what the contract or                   Agreement for U.S.
             lease is for and the nature of               Costco Collaborative
             the debtor's interest                        Retail Exchange dated
                                                          05/01/2014
                  State the term remaining                Undetermined                   Information Resources, Inc.
                                                                                         Attn: Alyssa Foss
             List the contract number of any                                             150 N. Clinton Street
                   government contract                                                   Chicago, IL 60661


 2.673.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               West Covina Sport
             the debtor's interest                        dated 05/01/2001
                                                                                         Inland Iowa Property LLC
                  State the term remaining                Undetermined                   Capital Premier Property LLC
                                                                                         Attn: Wendy Wong
             List the contract number of any                                             9168 Las Tunas Drive
                   government contract                                                   Temple City, CA 91780


 2.674.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Lakewood Mall Active
             the debtor's interest                        dated 12/27/1996
                                                                                         Inland US Mgmt LLC/Lakewood Towne Center
                  State the term remaining                564 Days                       RPAI Lakewood, LLC
                                                                                         Attn: Director of Collections
             List the contract number of any                                             2021 Spring Road
                   government contract                                                   Oak Brook, IL 60523


 2.675.      State what the contract or                   Independent Contract
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04/08/2018
                                                                                         Inno-Versity, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         5222 33rd Street
             List the contract number of any                                             Grand Rapids, MI 49512
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 120 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 761 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.676.      State what the contract or                   Independent Contract
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04/09/2018

                  State the term remaining                Undetermined                   Inno-Versity, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             5222 33rd Street
                   government contract                                                   Grand Rapids, MI 49512


 2.677.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02/07/2019

                  State the term remaining                Undetermined                   Inno-Versity, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             5222 33rd Street
                   government contract                                                   Grand Rapids, MI 49512


 2.678.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02/07/2019

                  State the term remaining                Undetermined                   Inno-Versity, LLC
                                                                                         Attn: Mark VanderWal
             List the contract number of any                                             5222 33rd Street
                   government contract                                                   Grand Rapids, MI 49502


 2.679.      State what the contract or                   ClubConnect
             lease is for and the nature of               Subcription Agreement
             the debtor's interest                        dated 11/01/2017

                  State the term remaining                Potentially Expired            InspireThreeSixty, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             10190 Telesis Ct.
                   government contract                                                   San Diego, CA 92121-3773


 2.680.      State what the contract or                   ClubConnect
             lease is for and the nature of               Subcription Agreement
             the debtor's interest                        dated 12/20/2017

                  State the term remaining                Potentially Expired            InspireThreeSixty, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             10190 Telesis Ct.
                   government contract                                                   San Diego, CA 92121-3773


 2.681.      State what the contract or                   Agreement for             Institute of Motion, Inc.
             lease is for and the nature of               Consulting dated          Attn: General Counsel
             the debtor's interest                        09/01/2014                827 Del Mar Downs
                                                                                    Suite B
Official Form 206G                               Schedule G: Executory Contracts andSolana  Beach,
                                                                                     Unexpired      CA 92075
                                                                                               Leases                                   Page 121 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 762 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.682.      State what the contract or                   Agreement for
             lease is for and the nature of               Consulting dated
             the debtor's interest                        07/15/2015
                                                                                         Institute of Motion, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         827 Del Mar Downs
             List the contract number of any                                             Suite B
                   government contract                                                   Solana Beach, CA 92075


 2.683.      State what the contract or                   Consulting Areement
             lease is for and the nature of               dated 07/15/2015
             the debtor's interest
                                                                                         Institute of Motion, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         827 Del Mar Downs
             List the contract number of any                                             Suite B
                   government contract                                                   Solana Beach, CA 92075


 2.684.      State what the contract or                   Software License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        12/01/2014

                  State the term remaining                Undetermined                   Inter-Images Partners, LP
                                                                                         Attn: General Counsel
             List the contract number of any                                             2912 West Patford
                   government contract                                                   Fort Worth, TX 76110


 2.685.      State what the contract or                   Order Form and
             lease is for and the nature of               Software Licensing
             the debtor's interest                        Agreement dated
                                                          12/01/2014
                  State the term remaining                Potentially Expired            Inter-Images Partners, LP
                                                                                         Attn: General Counsel
             List the contract number of any                                             2912 West Patford
                   government contract                                                   Fort Worth, TX 76110


 2.686.      State what the contract or                   Software License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        12/01/2014

                  State the term remaining                Undetermined                   Inter-Images Partners, LP
                                                                                         Attn: General Counsel
             List the contract number of any                                             2912 West Patford
                   government contract                                                   Fort Worth, TX 76110




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 122 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 763 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.687.      State what the contract or                   Service Level
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/09/2017
                                                                                         InTouch Technology
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1155 W. Pender Street Suite 601
             List the contract number of any                                             Vancouver BC V6E 2P4
                   government contract                                                   Canada


 2.688.      State what the contract or                   Lessee for location at
             lease is for and the nature of               660 Katy Bella Terra
             the debtor's interest                        Super Sport dated
                                                          04/23/2011
                  State the term remaining                12/31/2026
                                                                                         Invesco U.S. Income REIT, LLC
             List the contract number of any                                             5270 West Grand Parkway South
                   government contract                                                   Richmond, TX 77406-5822


 2.689.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Katy Bella Terra Super
             the debtor's interest                        Sport dated 05/10/2011
                                                                                         Invesco US Income REIT LLC
                  State the term remaining                Undetermined                   Shops at Bella Terra Owner, LP
                                                                                         c/o Stream Retail Division
             List the contract number of any                                             515 Post Oak Blvd.
                   government contract                                                   Houston, TX 77027


 2.690.      State what the contract or                   Purchasing Agreement
             lease is for and the nature of               dated 12/27/2012
             the debtor's interest

                  State the term remaining                Undetermined                   Iron Grip Barbell Company, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             4012 West Garry Avenue
                   government contract                                                   Santa Ana, CA 92704


 2.691.      State what the contract or                   Master Purchasing
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/01/2018

                  State the term remaining                Undetermined                   Iron Grip Barbell Company, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             4012 West Garry Avenue
                   government contract                                                   Santa Ana, CA 92704


 2.692.      State what the contract or                   Master Pruchasing
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/01/2018
                                                                                         Iron Grip Barbell Company, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         4012 West Garry Avenue
             List the contract number of any                                             Santa Ana, CA 92704
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 123 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 764 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.693.      State what the contract or                   Master Purchasing
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/01/2018

                  State the term remaining                Undetermined                   Iron Grip Barbell Company, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             4012 West Garry Avenue
                   government contract                                                   Santa Ana, CA 92704


 2.694.      State what the contract or                   Master Purchasing
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/06/2018

                  State the term remaining                Undetermined                   Iron Grip Barbell Company, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             4012 West Garry Avenue
                   government contract                                                   Santa Ana, CA 92704


 2.695.      State what the contract or                   Lessee for location at
             lease is for and the nature of               150 Irvine Culver Drive
             the debtor's interest                        Active dated 06/01/1990

                  State the term remaining                1/31/2021                      Irvine Company, The
                                                                                         15315 Culver Drive, Suite 165
             List the contract number of any                                             #165
                   government contract                                                   Irvine, CA 92604-7132


 2.696.      State what the contract or                   Revocable Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02/01/2006

                  State the term remaining                Undetermined                   Irvine Valley Air Conditioning, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             2961 East Coronado Street
                   government contract                                                   Anaheim, CA 92806


 2.697.      State what the contract or                   Revocable Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02/01/2006

                  State the term remaining                Undetermined                   Irvine Valley Air Conditioning, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             2961 East Coronado Street
                   government contract                                                   Anaheim, CA 92806


 2.698.      State what the contract or                   Preventative                   Irvine Valley Air Conditioning, Inc.
             lease is for and the nature of               Maintenance Services           Attn: General Counsel
             the debtor's interest                        Agreement dated                2961 East Coroando Street
                                                          03/01/2012                     Anaheim, CA 92806
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 124 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 765 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.699.      State what the contract or                   Maintenance
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10/01/2007

                  State the term remaining                Undetermined                   Irvine Valley Air Conditioning, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             2961 East Coronado Street
                   government contract                                                   Anaheim, CA 92806


 2.700.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Parkmoor Active dated
             the debtor's interest                        01/26/1994

                  State the term remaining                3,152 Days                     ISCM GREAT AMERICA PARKWAY LLC
                                                                                         c/o Imwalle Properties
             List the contract number of any                                             365 E. Campbell Avenue
                   government contract                                                   Campbell, CA 95008


 2.701.      State what the contract or                   Lessee for location at
             lease is for and the nature of               544 Parkmoor Active
             the debtor's interest                        dated 04/01/1993

                  State the term remaining                1/31/2029
                                                                                         ISCM/Great America Parkway, LLC
             List the contract number of any                                             1531 Parkmoor Avenue
                   government contract                                                   San Jose, CA 95128-2407


 2.702.      State what the contract or                   Master Agreement
             lease is for and the nature of               dated 07/31/2007
             the debtor's interest

                  State the term remaining                Undetermined                   ISD Corporation
                                                                                         Attn: Bruce Venema, VP Finance
             List the contract number of any                                             11335 James Street
                   government contract                                                   Holland, MI 49424


 2.703.      State what the contract or                   License and Annual
             lease is for and the nature of               Support Agreement
             the debtor's interest                        dated 07/22/2010

                  State the term remaining                Undetermined                   ISD Corporation
                                                                                         Attn: Bruce Venema, VP Finance
             List the contract number of any                                             11335 James Street
                   government contract                                                   Holland, MI 49424




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 125 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 766 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.704.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               East Arques Active
             the debtor's interest                        dated 06/01/1993

                  State the term remaining                1,080 Days
                                                                                         James Lindsey
             List the contract number of any                                             18 Cypress Ave
                   government contract                                                   Kentfield, CA 94904


 2.705.      State what the contract or                   Master Subscription
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05/10/2018
                                                                                         Janrain, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         519 SW Third Ave.
             List the contract number of any                                             Suite 200
                   government contract                                                   Portland, OR 97204


 2.706.      State what the contract or                   Master Subscription
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest
                                                                                         Janrain, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         519 SW Third Ave.
             List the contract number of any                                             Suite 200
                   government contract                                                   Portland, OR 97204


 2.707.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Sugarland Sport dated
             the debtor's interest                        03/19/1998
                                                                                         JAWS SUGARLAND LLC
                  State the term remaining                Undetermined                   CRICQ Sugarland Trust
                                                                                         Attn: Sam Spiegel Administrative Trustee
             List the contract number of any                                             455 Fairway Drive
                   government contract                                                   Deerfield Beach, FL 33441


 2.708.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Santa Rosa Super
             the debtor's interest                        Sport dated 07/28/1997
                                                                                         JBC SANTA ROSA LP
                  State the term remaining                1,660 Days                     SPI Holdings, LLC
                                                                                         JBC Santa Rosa, LP
             List the contract number of any                                             88 Kearny Street Suite 1400
                   government contract                                                   San Francisco, CA 94108


 2.709.      State what the contract or                   Lessee for location at
             lease is for and the nature of               510 Santa Rosa Super
             the debtor's interest                        Sport dated 05/01/1991

                  State the term remaining                12/31/2024                     JBC SANTA ROSA LP
                                                                                         3550 Industrial Drive
             List the contract number of any                                             Santa Rosa, CA 95403-2058
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 126 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 767 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.710.      State what the contract or                   Lessee for location at
             lease is for and the nature of               332 Jacinto City Sport
             the debtor's interest                        dated 05/01/1999

                  State the term remaining                1/31/2029                      JBL ASSET MANAGEMENT LLC - V0000413404
                                                                                         11420 I-10 East Freeway
             List the contract number of any                                             Ste 200
                   government contract                                                   Jacinto City, TX 77029-1935


 2.711.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Freehold Super Sport
             the debtor's interest                        dated Based on
                                                          LL/Permit Delivery
                  State the term remaining                Undetermined                   JDN Real Estate - Freehold LP
                                                                                         c/o SITE Centers Corp. Attn: GC
             List the contract number of any                                             3300 Enterprise Parkway
                   government contract                                                   Beachwood, OH 44122


 2.712.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Apple Valley Super
             the debtor's interest                        Sport dated 06/05/2009
                                                                                         Jess Ranch Brea Retail XVI, LLC
                  State the term remaining                Undetermined                   c/o Athena Property Management
                                                                                         730 El Camino Way
             List the contract number of any                                             Ste 200
                   government contract                                                   Tustin, CA 92780


 2.713.      State what the contract or                   Lessee for location at
             lease is for and the nature of               871 Apple Valley Super
             the debtor's interest                        Sport dated 06/05/2009

                  State the term remaining                6/4/2024
                                                                                         Jess Ranch Brea Retail XVI, LLC
             List the contract number of any                                             18825 Bear Valley Road
                   government contract                                                   Apple Valley, CA 92308-2726


 2.714.      State what the contract or                   Lessee for location at
             lease is for and the nature of               679 Pearland Super
             the debtor's interest                        Sport dated 12/08/2006

                  State the term remaining                12/31/2032                     JGA TEXAS LEGACY PARTNERS LLC - V0000415
                                                                                         10011 Broadway Street, Suite 107
             List the contract number of any                                             Suite 107
                   government contract                                                   Pearland, TX 77584-7873


 2.715.      State what the contract or                   Lease Agreement for            JGA Texas Legacy Partners, LLC
             lease is for and the nature of               Pearland Super Sport           Attn: Jana Atkinson Rodich
             the debtor's interest                        dated 07/07/2012               9923 N Uinta Drive
                                                                                         Kamas, UT 84036
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 127 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 768 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.716.      State what the contract or                   Construction Contract
             lease is for and the nature of               dated 03/10/2017
             the debtor's interest

                  State the term remaining                Potentially Expired            Johnson Construction & Development, Inc.
                                                                                         Attn: Charles Johnson
             List the contract number of any                                             13829 Park Avenue
                   government contract                                                   Victorville, CA 94583


 2.717.      State what the contract or                   Construction Contract
             lease is for and the nature of               dated 09/15/2017
             the debtor's interest

                  State the term remaining                Undetermined                   Johnson Construction & Development, Inc.
                                                                                         Attn: Charles Johnson
             List the contract number of any                                             13829 Park Avenue
                   government contract                                                   Victorville, CA 92392


 2.718.      State what the contract or                   Construction Contract
             lease is for and the nature of               dated 02/06/2018
             the debtor's interest

                  State the term remaining                Undetermined                   Johnson Construction & Development, Inc.
                                                                                         Attn: Charles Johnson
             List the contract number of any                                             13829 Park Avenue
                   government contract                                                   Victorville, CA 92392


 2.719.      State what the contract or                   Construction Contract
             lease is for and the nature of               dated 03/12/2018
             the debtor's interest

                  State the term remaining                Undetermined                   Johnson Construction & Development, Inc.
                                                                                         Attn: Charles Johnson
             List the contract number of any                                             13829 Park Avenue
                   government contract                                                   Victorville, CA 92392


 2.720.      State what the contract or                   Contract for
             lease is for and the nature of               Construction dated
             the debtor's interest                        06/20/2018

                  State the term remaining                Undetermined                   Johnson Construction & Development, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             13829 Park Avenue
                   government contract                                                   Victorville, CA 92392




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 128 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 769 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.721.      State what the contract or                   Construction
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09/18/2018

                  State the term remaining                Undetermined                   Johnson Construction & Development, Inc.
                                                                                         Attn: Charles Johnson
             List the contract number of any                                             13829 Park Avenue
                   government contract                                                   Victorville, CA 92392


 2.722.      State what the contract or                   Contract for
             lease is for and the nature of               Construction dated
             the debtor's interest                        01/17/2019

                  State the term remaining                Potentially Expired            Johnson Construction & Development, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             13829 Park Avenue
                   government contract                                                   Victorville, CA 92392


 2.723.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Coit Active dated
             the debtor's interest                        10/01/2006
                                                                                         JR Black Properties Ltd
                  State the term remaining                Undetermined                   Pavilion West
                                                                                         7517 Campbell Rd.
             List the contract number of any                                             Suite 601
                   government contract                                                   Dallas, TX 75248


 2.724.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Greeley Super Sport
             the debtor's interest                        dated 06/04/2020
                                                                                         JSW Greeley LLC
                  State the term remaining                Undetermined                   JS Western Retail Investments
                                                                                         15233 Ventura Boulevard
             List the contract number of any                                             Suite 316
                   government contract                                                   Sherman, CA 91403


 2.725.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Houston Rice Village
             the debtor's interest                        SS dated 06/15/2011
                                                                                         JTVP Corporation
                  State the term remaining                Undetermined                   c/o William Marsh Rice University
                                                                                         Attn: Treasurers Office - Ronald Long
             List the contract number of any                                             6100 Main Street
                   government contract                                                   Houston, TX 77005-1827


 2.726.      State what the contract or                   Lessee for location at
             lease is for and the nature of               659 Houston Rice
             the debtor's interest                        Village SS dated
                                                          03/26/2011
                  State the term remaining                12/31/2026                     JTVP CORPORATION - V0000412659
                                                                                         2500 Dunstan Road
             List the contract number of any                                             Houston, TX 77005-2572
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 129 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 770 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.727.      State what the contract or                   Lessee for location at
             lease is for and the nature of               114 Encinitas Active
             the debtor's interest                        dated 08/01/1993

                  State the term remaining                8/31/2023
                                                                                         K & K Lumber
             List the contract number of any                                             455 Santa Fe Drive
                   government contract                                                   Encinitas, CA 92024-5134


 2.728.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Encinitas Active dated
             the debtor's interest                        12/01/1993
                                                                                         K & K LUMBER COMPANY
                  State the term remaining                1,172 Days                     Charles Dunn Real Estate Services, Inc.
                                                                                         Attn:Bill Punch - PM
             List the contract number of any                                             8222 MELROSE AVENUE, STE. 200
                   government contract                                                   Los Angeles, CA 90046


 2.729.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/01/2012

                  State the term remaining                Undetermined                   K&B Enterprise Corporation
                                                                                         Attn: Kaye Davis, CEO and Owner
             List the contract number of any                                             1410 33rd Avenue
                   government contract                                                   Vero Beach, FL 32960


 2.730.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/01/2012

                  State the term remaining                Undetermined                   K&B Enterprise Corporation
                                                                                         Attn: Kaye Davis, CEO and Owner
             List the contract number of any                                             1410 33rd Avenue
                   government contract                                                   Vero Beach, FL 32960


 2.731.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/01/2012

                  State the term remaining                Undetermined                   K&B Enterprise Corporation
                                                                                         Attn: Kaye Davis, CEO and Owner
             List the contract number of any                                             1410 33rd Avenue
                   government contract                                                   Vero Beach, FL 32960


 2.732.      State what the contract or                   Revocable Services             K&B Enterprise Corporation
             lease is for and the nature of               Agreement dated                Attn: Kaye Davis, CEO and Owner
             the debtor's interest                        03/01/2012                     1410 33rd Avenue
                                                                                         Vero Beach, FL 32960
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 130 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 771 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.733.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/30/2014
                                                                                         K&S Laundry, LLC
                  State the term remaining                Undetermined                   Attn: Susan Gregory
                                                                                         2900 SW Cornelius Pass Road
             List the contract number of any                                             Suite 759
                   government contract                                                   Hillsboro, OR 97123


 2.734.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement and
             the debtor's interest                        Exhibits dated
                                                          06/30/2014                     K&S Laundry, LLC
                  State the term remaining                Undetermined                   Attn: Susan Gregory
                                                                                         2900 SW Cornelius Pass Road
             List the contract number of any                                             Suite 759
                   government contract                                                   Hillsboro, OR 94583


 2.735.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Reno South Sport
             the debtor's interest                        dated 09/16/1997

                  State the term remaining                Undetermined
                                                                                         KA&N Industries
             List the contract number of any                                             35 Baywood Terrace
                   government contract                                                   San Rafael, CA 94901


 2.736.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Kapolei Parkway Super
             the debtor's interest                        Sport dated 12/03/2016
                                                                                         Kapolei Hawaii Property Company, LLC
                  State the term remaining                Undetermined                   Attn: Richard Hartline
                                                                                         841 Bishop Street
             List the contract number of any                                             Suite 1070
                   government contract                                                   Honolulu, HI 96813


 2.737.      State what the contract or                   Sublessee for location
             lease is for and the nature of               at 963 Kapolei Parkway
             the debtor's interest                        Super Sport dated
                                                          12/03/2016
                  State the term remaining                12/31/2031                     Kapolei Hawaii Property Company, LLC
                                                                                         91-5431 Kapolei Parkway, Suite 1700
             List the contract number of any                                             Suite 1700
                   government contract                                                   Kapolei, HI 96707




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 131 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 772 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.738.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Glendale Bell Sport
             the debtor's interest                        (Assigned) dated
                                                          06/15/2007
                  State the term remaining                729 Days                       Kawips Florida, LLC
                                                                                         1590-D Rosecrans Avenue
             List the contract number of any                                             PMB #259
                   government contract                                                   Manhattan Beach, CA 90266


 2.739.      State what the contract or                   Lessee for location at
             lease is for and the nature of               856 Glendale Bell Sport
             the debtor's interest                        (CLOSED) dated
                                                          06/29/2007
                  State the term remaining                6/14/2022
                                                                                         Kawips Florida, LLC
             List the contract number of any                                             4316 West Bell Road
                   government contract                                                   Glendale, AZ 85308-3515


 2.740.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Palomar Airport Rd
             the debtor's interest                        (MSC) dated 10/17/2017

                  State the term remaining                Undetermined                   Kelly/JRM Palomar Airport Road I LLC
                                                                                         c/o JRMC Real Estate Inc.
             List the contract number of any                                             330 ENCINITAS BLVD SUITE 201
                   government contract                                                   ENCINITAS, CA 92024


 2.741.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Aurora Sport dated
             the debtor's interest                        04/30/1997

                  State the term remaining                Undetermined                   Kimco East Bank 689 Inc.
                                                                                         500 North Broadway, Suite 201
             List the contract number of any                                             PO Box 9010
                   government contract                                                   Jericho, NY 11753


 2.742.      State what the contract or                   Lessee for location at
             lease is for and the nature of               699 Grand Prairie Sport
             the debtor's interest                        dated 12/03/2007

                  State the term remaining                12/31/2022
                                                                                         KIMCO LAKE PRAIRIE TC LP - V0000321893
             List the contract number of any                                             5208 South State Hwy 360
                   government contract                                                   Grand Prairie, TX 75052-8307


 2.743.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Grand Prairie Sport
             the debtor's interest                        dated 11/30/2007
                                                                                         Kimco Lake Prairie TC, LP
                  State the term remaining                Undetermined                   3333 New Hyde Park Road
                                                                                         Suite 100
             List the contract number of any                                             New Hyde Park, NY 11042
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 132 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 773 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.744.      State what the contract or                   Lessee for location at
             lease is for and the nature of               869 Mesa Dobson Rd
             the debtor's interest                        Sport (CLOSED) dated
                                                          11/07/2008
                  State the term remaining                11/6/2023
                                                                                         KIMCO RIVERVIEW LLC - V0000370726
             List the contract number of any                                             1844 W. Rio Salado Parkway
                   government contract                                                   Mesa, AZ 85201-7762


 2.745.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Charleston Active
             the debtor's interest                        dated 05/25/1996

                  State the term remaining                715 Days                       Kimridge Development Group
                                                                                         2935 N. Beverly Glen Cir
             List the contract number of any                                             Ste 358
                   government contract                                                   Temple City, CA 90078


 2.746.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Orlando Orange Super
             the debtor's interest                        Sport dated 10/31/2008

                  State the term remaining                Undetermined                   Kimzay of Florida, Inc.
                                                                                         3333 New Hyde Park Road
             List the contract number of any                                             Suite 100
                   government contract                                                   New Hyde Park, NY 11042


 2.747.      State what the contract or                   Lessee for location at
             lease is for and the nature of               819 Fairfax Super Sport
             the debtor's interest                        dated 12/13/2014

                  State the term remaining                12/31/2029
                                                                                         KIR FAIRFAX LP - V0000414141
             List the contract number of any                                             12300 Price Club Plaza
                   government contract                                                   Fairfax, VA 22030


 2.748.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Fairfax Super Sport
             the debtor's interest                        dated 11/16/2014
                                                                                         KIR Fairfax, LP
                  State the term remaining                Undetermined                   c/o Kimco Realty corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             3333 New Hyde Park Road, Suite 100
                   government contract                                                   New Hyde Park, NY 10042-0020


 2.749.      State what the contract or                   Lease Agreement for       KIR VISTA BALBOA LP
             lease is for and the nature of               Balboa Super Sport        c/o Kimco Realty Corporation
             the debtor's interest                        dated 04/21/2012          3333 New Hyde Park Road, Suite 100
                                                                                    P.O. Box 5020
Official Form 206G                               Schedule G: Executory Contracts andNew  Hyde Leases
                                                                                     Unexpired Park, NY 10042                           Page 133 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 774 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.750.      State what the contract or                   Lessee for location at
             lease is for and the nature of               892 Balboa Super Sport
             the debtor's interest                        dated 04/21/2012

                  State the term remaining                12/31/2027
                                                                                         KIR VISTA BALBOA LP - V0000411507
             List the contract number of any                                             7715 Balboa Avenue
                   government contract                                                   San Diego, CA 92111-2229


 2.751.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Kirkwood Active
             the debtor's interest                        (Assigned) dated
                                                          01/26/2006                     Kirkwood Missouri Fitness, LP
                  State the term remaining                2,176 Days                     J. Michael Moore | Titus Properties
                                                                                         1748 W Katella Avenue
             List the contract number of any                                             Suite 206
                   government contract                                                   Orange, CA 92867


 2.752.      State what the contract or                   Sublessee for location
             lease is for and the nature of               at 683 Kirkwood Active
             the debtor's interest                        (CLOSED) dated
                                                          06/03/2006
                  State the term remaining                5/31/2026
                                                                                         Kirkwood Missouri Fitness, LP
             List the contract number of any                                             10320 Manchester Road
                   government contract                                                   Kirkwood, MO 63122-1521


 2.753.      State what the contract or                   Sublessee for location
             lease is for and the nature of               at 683 Kirkwood Active
             the debtor's interest                        (CLOSED) dated
                                                          06/03/2006
                  State the term remaining                5/31/2026
                                                                                         Kirkwood Missouri Fitness, LP
             List the contract number of any                                             10320 Manchester Road
                   government contract                                                   Kirkwood, MO 63122-1521


 2.754.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Hawaii Kai Active dated
             the debtor's interest                        11/11/2000
                                                                                         Koko Marina Holdings, LLC
                  State the term remaining                Undetermined                   c/o Sofos Realty Corporation
                                                                                         600 Kapiolani Boulevard
             List the contract number of any                                             Suite 200
                   government contract                                                   Honolulu, HI 96813




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 134 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 775 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.755.      State what the contract or                   Lessee for location at
             lease is for and the nature of               593 Hawaii Kai Active
             the debtor's interest                        dated 08/01/2001

                  State the term remaining                11/11/2025
                                                                                         Koko Marina Holdings, LLC
             List the contract number of any                                             7120 Kalanianaole Hwy
                   government contract                                                   Honolulu, HI 96825-1932


 2.756.      State what the contract or                   Maintenance Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04/01/2010

                  State the term remaining                Undetermined                   Kone Elevator Corporation
                                                                                         Attn: John Albrecht
             List the contract number of any                                             22351 North 65h Ave.
                   government contract                                                   Glendale, AZ 22351


 2.757.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement For Vertical
                                                          Transportation dated
                                                          08/01/2011                     Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammound Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.758.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        07/01/2016
                                                                                         Kone, Inc.
                  State the term remaining                Undetermined                   Attn: Strategic Accounts
                                                                                         4225 Naperville Road
             List the contract number of any                                             Suite 400
                   government contract                                                   Lisle, IL 60532


 2.759.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        07/01/2016
                                                                                         Kone, Inc.
                  State the term remaining                Undetermined                   Attn: Strategic Accounts
                                                                                         4225 Naperville Road
             List the contract number of any                                             Suite 400
                   government contract                                                   Lisle, IL 60532


 2.760.      State what the contract or                   Agreement for Vertical
             lease is for and the nature of               Transportation with            Kone, Inc.
             the debtor's interest                        Kone dated 07/01/2011          Attn: General Counsel
                                                                                         4225 Naperville Road
                  State the term remaining                Undetermined                   Suite 400
                                                                                         Lisle, IL 60532
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 135 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 776 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.761.      State what the contract or                   Agreement for Vertical
             lease is for and the nature of               Transportation with
             the debtor's interest                        Kone dated 08/01/2011
                                                                                         Kone, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         4225 Naperville Road
             List the contract number of any                                             Suite 400
                   government contract                                                   Lisle, IL 60532


 2.762.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement for Vertical
                                                          Transportation - Not
                                                          Dated                          Kone, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         4225 Naperville Road
             List the contract number of any                                             Suite 400
                   government contract                                                   Lisle, IL 60532


 2.763.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance) Agrement
             the debtor's interest                        For Vertical
                                                          Transportation dated
                                                          03/01/2009                     Kone, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         2700 Bi State Drive
             List the contract number of any                                             Suite 100
                   government contract                                                   Kansas City, MO 64108


 2.764.      State what the contract or                   Agreement for Vertical
             lease is for and the nature of               Transportation with
             the debtor's interest                        Kone dated 07/01/2011
                                                                                         Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.765.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement For Vertical
                                                          Transportation dated
                                                          07/01/2011                     Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 136 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 777 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.766.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement For Vertical
                                                          Transportation dated
                                                          07/01/2011                     Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.767.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement for Vertical
                                                          Transportation dated
                                                          10/01/2011                     Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.768.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement for Vertical
                                                          Transportation dated
                                                          10/01/2011                     Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.769.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintance) Agreement
             the debtor's interest                        dated 10/01/2011
                                                                                         Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.770.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement for Vertical
                                                          Transportation - Not
                                                          Dated                          Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 137 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 778 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.771.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement for Vertical
                                                          Transportation - Not
                                                          Dated                          Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.772.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement for Vertical
                                                          Transportation - Not
                                                          Dated                          Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.773.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement for Vertical
                                                          Transportation - Not
                                                          Dated                          Kone, Inc.
                  State the term remaining                Potentially Expired            Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.774.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement for Vertical
                                                          Transportation - Not
                                                          Dated                          Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.775.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement for Vertical
                                                          Transportation - Not
                                                          Dated                          Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 138 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 779 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.776.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement for Vertical
                                                          Transportation - Not
                                                          Dated                          Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.777.      State what the contract or                   Complete Maintenance
             lease is for and the nature of               Agreement for Vertical
             the debtor's interest                        Transportation dated
                                                          11/01/2002                     Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.778.      State what the contract or                   Complete Maintenance
             lease is for and the nature of               Agreement for Vertical
             the debtor's interest                        Transportation dated
                                                          03/01/2005                     Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.779.      State what the contract or                   Premium (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement for Vertical
                                                          Transportation dated
                                                          06/17/2006                     Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.780.      State what the contract or                   Premium (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement dated
                                                          04/01/2008                     Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.781.      State what the contract or                   Agreement for Vertical         Kone, Inc.
             lease is for and the nature of               Transportation with            Bruce Gregson National Account Manager
             the debtor's interest                        Kone dated 12/01/2009          801 Hammond Street
                                                                                         Suite 400
                  State the term remaining                Undetermined                   Coppell, TX 75019
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 139 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 780 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease


             List the contract number of any
                   government contract


 2.782.      State what the contract or                   Standard (Exam and
             lease is for and the nature of               Lube) Agreement for
             the debtor's interest                        Vertical Transportation
                                                          dated 12/01/2009               Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.783.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement dated
                                                          06/01/2011                     Kone, Inc.
                  State the term remaining                Potentially Expired            Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.784.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement for Vertical
                                                          Transportation dated
                                                          06/01/2011                     Kone, Inc.
                  State the term remaining                Potentially Expired            Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.785.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement for Vertical
                                                          Transportation dated
                                                          06/01/2011                     Kone, Inc.
                  State the term remaining                Potentially Expired            Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.786.      State what the contract or                   Plus (Complete
             lease is for and the nature of               Maintenance)
             the debtor's interest                        Agreement for Vertical
                                                          Transportation dated
                                                          06/01/2011                     Kone, Inc.
                  State the term remaining                Potentially Expired            Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 140 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 781 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease


 2.787.      State what the contract or                   Master Maintenace
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/15/2012
                                                                                         Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.788.      State what the contract or                   Master Maintenance
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10/01/2015
                                                                                         Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.789.      State what the contract or                   Master Maintenace
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2016
                                                                                         Kone, Inc.
                  State the term remaining                Undetermined                   Bruce Gregson National Account Manager
                                                                                         801 Hammond Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Coppell, TX 75019


 2.790.      State what the contract or                   Agreement for Vertical
             lease is for and the nature of               Transportation with
             the debtor's interest                        Kone dated 07/01/2011
                                                                                         Kone, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         960 Riverside Parkway
             List the contract number of any                                             Suite 90
                   government contract                                                   West Sacramento, CA 95605


 2.791.      State what the contract or                   KONE Care Plus
             lease is for and the nature of               Agreement for Vertical
             the debtor's interest                        Transportation dated
                                                          07/01/2011                     Kone, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         960 Riverside Parkway
             List the contract number of any                                             Suite 90
                   government contract                                                   West Sacramento, CA 95605


 2.792.      State what the contract or                   Complete Maintenance
             lease is for and the nature of               Agreement For
             the debtor's interest                        Hydraulic Elevators            Kone, Inc.
                                                          dated 02/12/1999               Attn: General Counsel
                  State the term remaining                Undetermined                   12950 Alondra Boulevard
                                                                                         Cerritos, CA 90703-2108
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 141 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 782 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.793.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09/11/2015

                  State the term remaining                Undetermined                   Kone, Inc.
                                                                                         Attn: Legal Department
             List the contract number of any                                             One Kone Court
                   government contract                                                   Moline, IL 61265


 2.794.      State what the contract or                   Lessee for location at
             lease is for and the nature of               870 NW Las Vegas Ann
             the debtor's interest                        Rd Super Sport dated
                                                          04/03/2009
                  State the term remaining                3/31/2024
                                                                                         KRG Las Vegas Centennial Gateway LLC
             List the contract number of any                                             5651 Centennial Center Blvd
                   government contract                                                   Las Vegas, NV 89149-7104


 2.795.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Las Vegas Ann Road
             the debtor's interest                        Super Sport dated
                                                          04/03/2009
                  State the term remaining                Undetermined
                                                                                         KRG Las Vegas Centennial Gateway, LLC
             List the contract number of any                                             62921 Collections Center Drive
                   government contract                                                   Chicago, IL 60693


 2.796.      State what the contract or                   Lessee for location at
             lease is for and the nature of               507 Daly City Sport
             the debtor's interest                        dated 02/01/1989

                  State the term remaining                5/31/2024
                                                                                         Kuk Chung
             List the contract number of any                                             373 Gellert Blvd
                   government contract                                                   Daly City, CA 94015-2613


 2.797.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Glendale Super Sport
             the debtor's interest                        dated 03/01/2000
                                                                                         KW Fund V - Brand, LLC
                  State the term remaining                Undetermined                   c/o Cushman Wakefield of California Inc
                                                                                         Attn: Property Manager
             List the contract number of any                                             400 N. Brand Blvd Ste 750
                   government contract                                                   Glendale, CA 91203




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 142 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 783 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.798.      State what the contract or                   Lessee for location at
             lease is for and the nature of               219 Glendale Super
             the debtor's interest                        Sport dated 07/01/2000

                  State the term remaining                2/28/2035                      KW Fund V - Brand, LLC
                                                                                         450 N. Brand Blvd.
             List the contract number of any                                             Ste. 120
                   government contract                                                   Glendale, CA 91203-2347


 2.799.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               La Costa Super Sport
             the debtor's interest                        dated 12/07/2014
                                                                                         La Costa Town Center LLC
                  State the term remaining                Undetermined                   c/o Terramar Retail Centers, LLC
                                                                                         Attn: CEO & President
             List the contract number of any                                             4695 MacArthur Courth, Suite 700
                   government contract                                                   Newport Beach, CA 92660


 2.800.      State what the contract or                   Lessee for location at
             lease is for and the nature of               927 La Costa Super
             the debtor's interest                        Sport dated 11/08/2014

                  State the term remaining                12/31/2029
                                                                                         La Costa Town Center LLC
             List the contract number of any                                             3409 Via Montebello
                   government contract                                                   Carlsbad, CA 92009-8685


 2.801.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Laguna Hills Active
             the debtor's interest                        dated 01/05/1986
                                                                                         La Paz Shopping Center LP
                  State the term remaining                199 Days                       c/o Tiarna Real Estate Services, Inc.
                                                                                         Attn: Eileen Burton
             List the contract number of any                                             2603 Main Street
                   government contract                                                   Irvine, CA 92614


 2.802.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Redwood City Super
             the debtor's interest                        Sport dated 02/21/2015

                  State the term remaining                Undetermined
                                                                                         La Salle, LP and Goodman Enterprises, LL
             List the contract number of any                                             134 Paul Drive, Suite #102-104
                   government contract                                                   San Rafael, CA 94903


 2.803.      State what the contract or                   Lessee for location at
             lease is for and the nature of               475 Redwood City
             the debtor's interest                        Super Sport dated
                                                          05/23/2015
                  State the term remaining                12/31/2035                     La Salle, LP and Goodman Enterprises, LL
                                                                                         1050 Broadway St
             List the contract number of any                                             Redwood City, CA 94063
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 143 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 784 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.804.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Laguna Sport dated
             the debtor's interest                        11/15/1997
                                                                                         LAGUNA VILLAGE INVESTORS, LLC
                  State the term remaining                Undetermined                   c/o Walnut Creek Holdings, Inc.
                                                                                         Attn: Rebecca Hall
             List the contract number of any                                             PO Box 905
                   government contract                                                   Concord, CA 94522


 2.805.      State what the contract or                   Lessee for location at
             lease is for and the nature of               552 Laguna Sport dated
             the debtor's interest                        01/01/1998

                  State the term remaining                11/30/2027
                                                                                         LAGUNA VILLAGE INVESTORS, LLC
             List the contract number of any                                             8785 Center Parkway
                   government contract                                                   Sacramento, CA 95823-7697


 2.806.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Lake Creek Sport dated
             the debtor's interest                        02/18/2005
                                                                                         Lakeline Austin Fitness, L.P.
                  State the term remaining                Undetermined                   Attn: J Michael Moore
                                                                                         1748 W Katella Avenue
             List the contract number of any                                             Suite 206
                   government contract                                                   Orange, CA 92867


 2.807.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Lakeshore Towers
             the debtor's interest                        Ultra Sport dated
                                                          07/07/1997                     Lakeshore Land Lessee PT LLC
                  State the term remaining                Undetermined                   Real Estate Manager
                                                                                         18101 Von Karman Avenue
             List the contract number of any                                             Suite 1220
                   government contract                                                   Irvine, CA 92612


 2.808.      State what the contract or                   Lessee for location at
             lease is for and the nature of               648 Rowlett Super
             the debtor's interest                        Sport

                  State the term remaining                Undetermined
                                                                                         Lakeshore Land Lessee PT LLC
             List the contract number of any                                             5959 Sherry Ln. Ste. 1250
                   government contract                                                   Dallas, TX 75225


 2.809.      State what the contract or                   Lease Agreement for            Lakha Kent Properties LLC
             lease is for and the nature of               Kent Kangley Super             10400 NE 4th St
             the debtor's interest                        Sport dated 07/13/2008         Suite #2200
                                                                                         Bellevue, WA 98004
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 144 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 785 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.810.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Burbank Empire Super
             the debtor's interest                        Sport dated 07/27/2010
                                                                                         LAP Empire Evenue, LLC
                  State the term remaining                Undetermined                   Attn: Levon D. Paronyan
                                                                                         141 South Linden Drive
             List the contract number of any                                             #305
                   government contract                                                   Beverly Hills, CA 90212


 2.811.      State what the contract or                   Lessee for location at
             lease is for and the nature of               883 Burbank Empire
             the debtor's interest                        Super Sport dated
                                                          07/23/2011
                  State the term remaining                12/31/2025
                                                                                         LAP Empire Evenue, LLC
             List the contract number of any                                             1903 W. Empire Avenue
                   government contract                                                   Burbank, CA 91504-3433


 2.812.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Richmond Sport dated
             the debtor's interest                        07/01/2001

                  State the term remaining                Undetermined                   LBG HILLTOP LLC
                                                                                         c/o LBG Management Company, Inc.
             List the contract number of any                                             2200 Hilltop Mall Rd.
                   government contract                                                   Richmond, CA 94806


 2.813.      State what the contract or                   Lessee for location at
             lease is for and the nature of               494 Richmond Sport
             the debtor's interest                        dated 09/01/2001

                  State the term remaining                1/31/2021
                                                                                         LBG HILLTOP LLC
             List the contract number of any                                             2126 Hilltop Mall Road
                   government contract                                                   Richmond, CA 94806-1923


 2.814.      State what the contract or                   End User License
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest
                                                                                         Leaptest LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         139 Market Street 29th Floor
             List the contract number of any                                             Suite 2
                   government contract                                                   San Francisco, CA 09412




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 145 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 786 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.815.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Ledgewood (Pipeline)
             the debtor's interest                        dated Based on
                                                          LL/Permit Delivery             Ledgewood Investors LLC
                  State the term remaining                Undetermined                   c/o Advance Realty
                                                                                         Attn: Director, Asset Management
             List the contract number of any                                             1041 US Highway 202/206
                   government contract                                                   Bridgewater, NJ 08807


 2.816.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Wigwam Sport dated
             the debtor's interest                        01/01/1999

                  State the term remaining                Undetermined                   Legacy Retail LLC
                                                                                         c/o Odyssey Realty LLC
             List the contract number of any                                             PO BOX 34976
                   government contract                                                   Las Vegas, NV 89133


 2.817.      State what the contract or                   Serengeti Tracker
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/01/2002
                                                                                         Legal Systems Holding Company
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1180 Northwest Maple Street
             List the contract number of any                                             Suite 100
                   government contract                                                   Issaquah, WA 98027


 2.818.      State what the contract or                   Preventative Maintance
             lease is for and the nature of               Services Agreement
             the debtor's interest                        dated 09/28/2012

                  State the term remaining                Potentially Expired            Lennox National Account Services, LLC
                                                                                         Attn: Contracts
             List the contract number of any                                             2140 Lark Park Boulevard
                   government contract                                                   Richardson, TX 75080


 2.819.      State what the contract or                   Les Entreprise Energie
             lease is for and the nature of               Cardio, Inc. Access
             the debtor's interest                        Agreement dated
                                                          01/09/2015                     Les Entreprise Energie Cardio, Inc.
                  State the term remaining                Undetermined                   Attn: Directeur du Marketing et des Comm
                                                                                         1040 Boulevard Michele-Bohec, Bureau 300
             List the contract number of any                                             Blainville QC J7C 5E2
                   government contract                                                   Canada


 2.820.      State what the contract or                   Service Agreement
             lease is for and the nature of               Checklist dated
             the debtor's interest                        04/01/2016                     Les Mills
                                                                                         Attn: General Counsel
                  State the term remaining                Potentially Expired            363 W Erie St.
                                                                                         suite 2
             List the contract number of any                                             Chicago, IL 06654
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 146 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 787 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.821.      State what the contract or                   Les Mills International
             lease is for and the nature of               Limited, Letter
             the debtor's interest                        Agreement dated
                                                          11/21/2014                     Les Mills International Limited
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         22 Centre Street, Freemans Bay
             List the contract number of any                                             Auckland 1010
                   government contract                                                   New Zealand


 2.822.      State what the contract or                   Les Mills United States
             lease is for and the nature of               Trading, Inc.
             the debtor's interest                        Supplementary
                                                          Agreement dated
                                                          01/10/2012                     Les Mills United States Trading, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         235 Montgomery Street
             List the contract number of any                                             Suite 950
                   government contract                                                   San Francisco, CA 94104


 2.823.      State what the contract or                   Les Mills United States
             lease is for and the nature of               Trading, Inc.
             the debtor's interest                        Supplementary
                                                          Agreement dated
                                                          01/10/2012                     Les Mills United States Trading, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         235 Montgomery Street
             List the contract number of any                                             Suite 950
                   government contract                                                   San Francisco, CA 94104


 2.824.      State what the contract or                   Les Mills United States
             lease is for and the nature of               Trading, Inc. Service
             the debtor's interest                        Agreement dated
                                                          01/01/2013                     Les Mills United States Trading, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         235 Montgomery Street
             List the contract number of any                                             Suite 950
                   government contract                                                   San Francisco, CA 94104


 2.825.      State what the contract or                   Les Mills United States
             lease is for and the nature of               Trading, Inc. Service
             the debtor's interest                        Agreement dated
                                                          04/01/2016                     Les Mills United States Trading, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         363 West Erie Street
             List the contract number of any                                             Suite 200
                   government contract                                                   Chicago, IL 60654




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 147 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 788 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.826.      State what the contract or                   Services Agreement
             lease is for and the nature of               dated 01/01/2010
             the debtor's interest
                                                                                         Les Mills West Coast, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         235 Montgomery Street
             List the contract number of any                                             Suite 950
                   government contract                                                   San Francisco, CA 94101


 2.827.      State what the contract or                   Lessee for location at
             lease is for and the nature of               694 Little Elm Crossing
             the debtor's interest                        Sport dated 06/20/2008

                  State the term remaining                6/30/2023                      LETC DUNHILL LLC - V0000413573
                                                                                         2700 E. Eldorado Parkway
             List the contract number of any                                             Ste. 300
                   government contract                                                   Little Elm, TX 75068-5999


 2.828.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Little Elm Crossing
             the debtor's interest                        Sport dated 06/20/2008
                                                                                         LETC Dunhill, LLC
                  State the term remaining                Undetermined                   Care of Dunhill Partners Inc..
                                                                                         3100 Monticello Avenue
             List the contract number of any                                             Suite #300
                   government contract                                                   Dallas, TX 75205


 2.829.      State what the contract or                   Life Fitness Purchasing
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/15/2012

                  State the term remaining                Undetermined                   Life Fitness, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             5100 River Road
                   government contract                                                   Schiller Park, IL 60176


 2.830.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Eastvale Super Sport
             the debtor's interest                        dated 05/28/2013

                  State the term remaining                Undetermined
                                                                                         Lindley Terrace LLC
             List the contract number of any                                             600 Spring Road
                   government contract                                                   Moorpark, CA 93021


 2.831.      State what the contract or                   Lessee for location at
             lease is for and the nature of               893 Eastvale Super
             the debtor's interest                        Sport dated 05/18/2013

                  State the term remaining                12/31/2028                     LINDLEY TERRACE LLC - V0000413091
                                                                                         12354 Limonite Avenue
             List the contract number of any                                             Eastvale, CA 91752-3671
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 148 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 789 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.832.      State what the contract or                   Sold to Customer
             lease is for and the nature of               Contract dated
             the debtor's interest                        06/15/2017

                  State the term remaining                Undetermined                   LinkedIn Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             1000 West Maude Avenue
                   government contract                                                   Sunnyvale, CA 94085


 2.833.      State what the contract or                   Sold to Customer
             lease is for and the nature of               Contract dated
             the debtor's interest                        12/18/2018

                  State the term remaining                Potentially Expired            LinkedIn Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             1000 West Maude Avenue
                   government contract                                                   Sunnyvale, CA 94085


 2.834.      State what the contract or                   Subscription
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02/13/2019

                  State the term remaining                242 Days                       LinkedIn Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             1000 West Maude Avenue
                   government contract                                                   Sunnyvale, CA 94085


 2.835.      State what the contract or                   Sales Contract dated
             lease is for and the nature of               02/13/2019
             the debtor's interest

                  State the term remaining                Undetermined                   LinkedIn Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             1000 West Maude Avenue
                   government contract                                                   Sunnyvale, CA 94085


 2.836.      State what the contract or                   Subscription
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/01/2019

                  State the term remaining                Potentially Expired            LinkedIn Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             1000 West Maude Avenue
                   government contract                                                   Sunnyvale, CA 94085


 2.837.      State what the contract or                   Subscription                   LinkedIn Corporation
             lease is for and the nature of               Agreement - Not Dated          Attn: General Counsel
             the debtor's interest                                                       1000 West Maude Avenue
                                                                                         Sunnyvale, CA 94085
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 149 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 790 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.838.      State what the contract or                   Subscription
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   LinkedIn Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             1000 West Maude Avenue
                   government contract                                                   Sunnyvale, CA 94085


 2.839.      State what the contract or                   Subscription
             lease is for and the nature of               Agreement dated
             the debtor's interest                        12/18/2015

                  State the term remaining                Potentially Expired            LinkedIn Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             2029 Stierlin Court
                   government contract                                                   Mountain View, CA 94043


 2.840.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/07/2018
                                                                                         Livewire Kiosk, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1805 Loucks Road
             List the contract number of any                                             Suite 700
                   government contract                                                   York, PA 17408


 2.841.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest
                                                                                         Livewire Kiosk, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1805 Loucks Road
             List the contract number of any                                             Suite 700
                   government contract                                                   York, PA 17408


 2.842.      State what the contract or                   LLA Lifeguarding
             lease is for and the nature of               Services, LLC.
             the debtor's interest                        Revocable Services
                                                          Agreement dated
                                                          03/01/2016
                  State the term remaining                Undetermined                   LLA Lifeguarding Services, LLC
                                                                                         Attn: David Grubbs
             List the contract number of any                                             108 Brandon Lane
                   government contract                                                   Forney, TX 75126


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 150 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 791 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.843.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/01/2016

                  State the term remaining                Undetermined                   LLA Lifeguarding Services, LLC
                                                                                         Attn: David Grubbs
             List the contract number of any                                             108 Brandon Lane
                   government contract                                                   Forney, TX 75126


 2.844.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/01/2016

                  State the term remaining                Potentially Expired            LLA Lifeguarding Services, LLC
                                                                                         Attn: David Grubbs
             List the contract number of any                                             108 Brandon Lane
                   government contract                                                   Forney, TX 75126


 2.845.      State what the contract or                   Revocable Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2006

                  State the term remaining                Undetermined                   Lomel's & Associates, Inc.
                                                                                         Attn: Jesus Lomeli, Owner
             List the contract number of any                                             26162 Cottonwood Street
                   government contract                                                   Murrieta, CA 92563-4030


 2.846.      State what the contract or                   Revocable Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2006

                  State the term remaining                Undetermined                   Lomel's & Associates, Inc.
                                                                                         Attn: Jesus Lomeli, Owner
             List the contract number of any                                             26162 Cottonwood Street
                   government contract                                                   Murrieta, CA 92563-4030


 2.847.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/01/2012

                  State the term remaining                Undetermined                   Lomel's & Associates, Inc.
                                                                                         Attn: Jesus Lomeli, Owner
             List the contract number of any                                             26162 Cottonwood Street
                   government contract                                                   Murrieta, CA 92563-4030


 2.848.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/01/2012
                                                                                         Lomel's & Associates, Inc.
                  State the term remaining                Undetermined                   Attn: Jesus Lomeli, Owner
                                                                                         26162 Cottonwood Street
             List the contract number of any                                             Murrieta, CA 92563-4030
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 151 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 792 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.849.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/01/2012

                  State the term remaining                Undetermined                   Lomel's & Associates, Inc.
                                                                                         Attn: Jesus Lomeli, Owner
             List the contract number of any                                             26162 Cottonwood Street
                   government contract                                                   Murrieta, CA 92563-4030


 2.850.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2015

                  State the term remaining                Undetermined                   Lomel's & Associates, Inc.
                                                                                         Attn: Jesus Lomeli, Owner
             List the contract number of any                                             26162 Cottonwood Street
                   government contract                                                   Murrieta, CA 92563-4030


 2.851.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2015

                  State the term remaining                Undetermined                   Lomel's & Associates, Inc.
                                                                                         Attn: Jesus Lomeli, Owner
             List the contract number of any                                             26162 Cottonwood Street
                   government contract                                                   Murrieta, CA 92563-4030


 2.852.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09/12/2017

                  State the term remaining                Potentially Expired            Lomel's & Associates, Inc.
                                                                                         Attn: Jesus Lomeli, Owner
             List the contract number of any                                             26162 Cottonwood Street
                   government contract                                                   Murrieta, CA 92563-4030


 2.853.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09/12/2017

                  State the term remaining                Undetermined                   Lomel's & Associates, Inc.
                                                                                         Attn: Jesus Lomeli, Owner
             List the contract number of any                                             26162 Cottonwood Street
                   government contract                                                   Murrieta, CA 92563-4030


 2.854.      State what the contract or                   Revocable Services             Lomel's & Associates, Inc.
             lease is for and the nature of               Agreement dated                Attn: Jesus Lomeli, Owner
             the debtor's interest                        09/12/2017                     26162 Cottonwood Street
                                                                                         Murrieta, CA 92563-4030
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 152 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 793 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.855.      State what the contract or                   Agreement to Existing
             lease is for and the nature of               24 Hour Fitness
             the debtor's interest                        Contract dated
                                                          12/01/2005
                  State the term remaining                Undetermined                   Lomel's & Associates, Inc.
                                                                                         Attn: Jesus Lomeli, Owner
             List the contract number of any                                             26162 Cottonwood Street
                   government contract                                                   Murrieta, CA 92563-4030


 2.856.      State what the contract or                   Revocable Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2006

                  State the term remaining                Undetermined                   Lomel's & Associates, Inc.
                                                                                         Attn: Jesus Lomeli, Owner
             List the contract number of any                                             26162 Cottonwood Street
                   government contract                                                   Murrieta, CA 92563-4030


 2.857.      State what the contract or                   Revocable Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04/01/2010

                  State the term remaining                Undetermined                   Lomel's & Associates, Inc.
                                                                                         Attn: Jesus Lomeli, Owner
             List the contract number of any                                             26162 Cottonwood Street
                   government contract                                                   Murrieta, CA 92563-4030


 2.858.      State what the contract or                   Agreement - Not Dated
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Undetermined                   Lomel's & Associates, Inc.
                                                                                         Attn: Jesus Lomeli, Owner
             List the contract number of any                                             26162 Cottonwood Street
                   government contract                                                   Murrieta, CA 92563-4030


 2.859.      State what the contract or                   Badge Production
             lease is for and the nature of               Service Agreement
             the debtor's interest                        dated 06/16/2010

                  State the term remaining                Undetermined                   LoneStar Badge & Sign, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             301 Quail Run
                   government contract                                                   Martindale, TX 78655




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 153 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 794 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.860.      State what the contract or                   License Agreement
             lease is for and the nature of               dated 05/21/2015
             the debtor's interest
                                                                                         Longview of America, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         Two Radnor Corporate Center
             List the contract number of any                                             100 Matsonford Road , Suite 230
                   government contract                                                   Radnor, PA 19087


 2.861.      State what the contract or                   Longview License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05/21/2015
                                                                                         Longview of America, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         Two Radnor Corporate Center
             List the contract number of any                                             100 Matsonford Road , Suite 230
                   government contract                                                   Radnor, PA 19087


 2.862.      State what the contract or                   Maintenance and
             lease is for and the nature of               Support Services
             the debtor's interest                        Agreement dated
                                                          05/21/2015                     Longview of America, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         Two Radnor Corporate Center
             List the contract number of any                                             100 Matsonford Road , Suite 230
                   government contract                                                   Radnor, PA 19087


 2.863.      State what the contract or                   Professional Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05/21/2015
                                                                                         Longview of America, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         Two Radnor Corporate Center
             List the contract number of any                                             100 Matsonford Road , Suite 230
                   government contract                                                   Radnor, PA 19087


 2.864.      State what the contract or                   Professional Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05/21/2015
                                                                                         Longview of America, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         Two Radnor Corporate Center
             List the contract number of any                                             100 Matsonford Road , Suite 230
                   government contract                                                   Radnor, PA 19087


 2.865.      State what the contract or                   Maintenance and
             lease is for and the nature of               Support Services
             the debtor's interest                        Agreement dated                Longview of America, LLC
                                                          05/21/2015                     c/o Longview Solutions Canada ULC
                  State the term remaining                Undetermined                   Attn: John Power65 Allstate Pkwy Ste 200
                                                                                         Markham ON L3R 9X1
             List the contract number of any                                             Canada
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 154 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 795 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.866.      State what the contract or                   Software License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        07/10/2002
                                                                                         Longview of America, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1974 Sproul Road
             List the contract number of any                                             Suite 402
                   government contract                                                   Broomall, PA 19008


 2.867.      State what the contract or                   Order Document
             lease is for and the nature of               (Professional Services
             the debtor's interest                        Statement of Work)
                                                          dated 05/21/2015               Longview of America, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1974 Sproul Road
             List the contract number of any                                             Suite 402
                   government contract                                                   Broomall, PA 19008


 2.868.      State what the contract or                   Order Document dated
             lease is for and the nature of               05/21/2015
             the debtor's interest
                                                                                         Longview of America, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1974 Sproul Road
             List the contract number of any                                             Suite 402
                   government contract                                                   Broomall, PA 19008


 2.869.      State what the contract or                   Sublessee for location
             lease is for and the nature of               at 814 Mtn View Super
             the debtor's interest                        Sport dated 09/12/2008

                  State the term remaining                12/11/2022
                                                                                         LOS ALTOS SCHOOL DISTRICT
             List the contract number of any                                             2535 California Street
                   government contract                                                   Mountain View, CA 94040-1301


 2.870.      State what the contract or                   License Agreement
             lease is for and the nature of               dated 05/01/2018
             the debtor's interest
                                                                                         Los Angeles Rams, LLC
                  State the term remaining                Potentially Expired            Attn: Todd Davis
                                                                                         29899 Agoura Road
             List the contract number of any                                             Suite 200
                   government contract                                                   Agoura Hills, CA 91301


 2.871.      State what the contract or                   Revocable Services             Louis Upholstery
             lease is for and the nature of               Agreement dated                Attn: General Counsel
             the debtor's interest                        03/01/2012                     2202 Lakeridge Drive
                                                                                         Grapevine, TX 76051
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 155 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 796 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.872.      State what the contract or                   Revocable Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2015

                  State the term remaining                Undetermined                   Louis Upholstery
                                                                                         Attn: Lisa Darnell
             List the contract number of any                                             2202 Lakeridge Drive
                   government contract                                                   Grapevine, TX 76051


 2.873.      State what the contract or                   Revocable Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03/01/2012

                  State the term remaining                Undetermined                   Louis Upholstery
                                                                                         Attn: General Counsel
             List the contract number of any                                             2202 Lakeridge Drive
                   government contract                                                   Grapevine, TX 76051


 2.874.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Lowry Sport dated
             the debtor's interest                        06/17/2005
                                                                                         Lowry Denver Fitness LP
                  State the term remaining                Undetermined                   c/o Titus Properties
                                                                                         Attn: J Michael Moore
             List the contract number of any                                             1748 W Katella Avenue
                   government contract                                                   Orange, CA 92867


 2.875.      State what the contract or                   Lessee for location at
             lease is for and the nature of               572 Lowry Sport dated
             the debtor's interest                        06/16/2005

                  State the term remaining                6/30/2025
                                                                                         Lowry Denver Fitness, L.P.
             List the contract number of any                                             7600 Academy Blvd
                   government contract                                                   Denver, CO 80230-7194


 2.876.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Lewisville Sport dated
             the debtor's interest                        06/01/2007
                                                                                         LRIC Lewisville LLP
                  State the term remaining                Undetermined                   c/o LRIC LLC Attn: Steve Lipscomb
                                                                                         4311 Oak Lawn
             List the contract number of any                                             Suite 370
                   government contract                                                   Dallas, TX 75219




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 156 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 797 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.877.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               South Hills Plaza Active
             the debtor's interest                        dated 11/16/2007
                                                                                         LTG Sourth Hills, LLC
                  State the term remaining                Undetermined                   c/o LT Management Group
                                                                                         1418 S. Azusa Ave
             List the contract number of any                                             Ste 23
                   government contract                                                   West Covina, CA 91791


 2.878.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Market Street Active
             the debtor's interest                        dated 02/22/2000

                  State the term remaining                Undetermined                   Lyons Market Street, LLC
                                                                                         c/o Janet Lyons
             List the contract number of any                                             30 Inverness Way
                   government contract                                                   Hillsborough, CA 94010


 2.879.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               North Brunswick
             the debtor's interest                        (Pipeline) dated Based
                                                          on LL/Permit Delivery
                  State the term remaining                Undetermined                   M&M at North Brunswick, LLC
                                                                                         c/o Edgewood Properties
             List the contract number of any                                             1260 Station Road
                   government contract                                                   Piscataway, NJ 08854


 2.880.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Auburn Active dated
             the debtor's interest                        09/06/2005
                                                                                         M-4, LLC
                  State the term remaining                Undetermined                   c/o Kidder Mathews
                                                                                         1201 Pacific Ave
             List the contract number of any                                             Suite 1400
                   government contract                                                   Tacoma, WA 98402


 2.881.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Ventura Super Sport
             the debtor's interest                        dated 12/12/2018
                                                                                         Macerich Buenaventura Limited Partnershi
                  State the term remaining                Undetermined                   Correspondence Routing Sys/Legal Dept
                                                                                         PO Box 2172, 401 Wilshire Blvd
             List the contract number of any                                             Ste 700
                   government contract                                                   Santa Monica, CA 90407


 2.882.      State what the contract or                   Lessee for location at
             lease is for and the nature of               846 Ventura Super
             the debtor's interest                        Sport dated 12/22/2018

                  State the term remaining                12/31/2033                     Macerich Buenaventura Limited Partnershi
                                                                                         3350 Telegraph Road
             List the contract number of any                                             Ventura, CA 93003
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 157 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 798 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.883.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Lakewood Super Sport
             the debtor's interest                        dated 08/11/2012
                                                                                         Macerich Lakewood, LLC
                  State the term remaining                Undetermined                   Macerich Property Management Company LLC
                                                                                         Attn: Legal Department
             List the contract number of any                                             401 Wilshire Blvd.
                   government contract                                                   Santa Monica, CA 90401


 2.884.      State what the contract or                   Lessee for location at
             lease is for and the nature of               890 Lakewood Super
             the debtor's interest                        Sport dated 08/11/2012

                  State the term remaining                8/31/2027
                                                                                         Macerich Lakewood, LLC Club 890
             List the contract number of any                                             4821 Del Amo Blvd
                   government contract                                                   Lakewood, CA 90712-2504


 2.885.      State what the contract or                   Project Agreement for
             lease is for and the nature of               Architectural/Engineeri
             the debtor's interest                        ng Consultant Services
                                                          dated 05/02/2018               Mackenzie
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         River East Center
             List the contract number of any                                             1515 SE Water Avenue, Suite 100
                   government contract                                                   Portland, OR 97214


 2.886.      State what the contract or                   Project Agreement for
             lease is for and the nature of               Architectural/Engineeri
             the debtor's interest                        ng Consultant Services
                                                          dated 02/12/2020               Mackenzie
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1515 NE Water Avenue
             List the contract number of any                                             Suite 100
                   government contract                                                   Portland, OR 97214


 2.887.      State what the contract or                   Project Agreement
             lease is for and the nature of               dated 10/04/2017
             the debtor's interest
                                                                                         Mackenzie
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1515 NE Water Avenue
             List the contract number of any                                             Suite 100
                   government contract                                                   Portland, OR 97214


 2.888.      State what the contract or                   Project Agreement         Mackenzie
             lease is for and the nature of               dated 03/07/2018          Attn: General Counsel
             the debtor's interest                                                  1515 NE Water Avenue
                                                                                    Suite 100
Official Form 206G                               Schedule G: Executory Contracts andPortland,
                                                                                     UnexpiredOR 97214
                                                                                              Leases                                    Page 158 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 799 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.889.      State what the contract or                   Project Agreement for
             lease is for and the nature of               Architectural/Engineeri
             the debtor's interest                        ng Consultant Services
                                                          dated 09/29/2017               Mackenzie
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1515 SE Water Avenue
             List the contract number of any                                             Suite 100
                   government contract                                                   Portland, OR 97214


 2.890.      State what the contract or                   Project Agreement
             lease is for and the nature of               dated 10/08/2018
             the debtor's interest
                                                                                         Mackenzie
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1515 SE Water Avenue
             List the contract number of any                                             Suite 100
                   government contract                                                   Portland, OR 97214


 2.891.      State what the contract or                   Project Agreement
             lease is for and the nature of               dated 07/08/2019
             the debtor's interest
                                                                                         Mackenzie
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1515 SE Water Avenue
             List the contract number of any                                             Suite 100
                   government contract                                                   Portland, OR 97214


 2.892.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Riverside Madison
             the debtor's interest                        Super Sport dated
                                                          12/25/2017
                  State the term remaining                Undetermined                   Madison 3721, LLC
                                                                                         co PRP Commercial Real Estate Service Inc
             List the contract number of any                                             417 29th Street Newport Beach
                   government contract                                                   Newport Beach, CA 92663


 2.893.      State what the contract or                   Lessee for location at
             lease is for and the nature of               398 Riverside Madison
             the debtor's interest                        SS dated 12/23/2017

                  State the term remaining                12/31/2032
                                                                                         Madison 3721, LLC
             List the contract number of any                                             3490 Madison Street
                   government contract                                                   Riverside, CA 92504-3717




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 159 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 800 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.894.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Sandy Sport dated
             the debtor's interest                        08/11/2000

                  State the term remaining                Undetermined
                                                                                         Magna Investments & Development, Ltd
             List the contract number of any                                             P.O. Box 65827
                   government contract                                                   Salt Lake, UT 84165-0827


 2.895.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Santa Ana Super Sport
             the debtor's interest                        dated 05/31/2015
                                                                                         MainPlace Shoppingtown LLC
                  State the term remaining                Undetermined                   co Centennial Real Estate Management LLC
                                                                                         Attn: Chief Operating Officer
             List the contract number of any                                             8750 N. Central Expressway Suite 1740
                   government contract                                                   Dallas, TX 75231


 2.896.      State what the contract or                   Lessee for location at
             lease is for and the nature of               899 Santa Ana
             the debtor's interest                        MainPlace Super Sport
                                                          dated 05/30/2015
                  State the term remaining                5/30/2030
                                                                                         MainPlace Shoppingtown LLC
             List the contract number of any                                             2800 North Main St, unit 3100
                   government contract                                                   Santa Ana, CA 92705


 2.897.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Noe Valley Fit Lite
             the debtor's interest                        dated 04/25/2005

                  State the term remaining                1,811 Days                     Maionchi/Launderland 24th St Fam Ptsp LP
                                                                                         Attn: Dominic Maionchi
             List the contract number of any                                             250 Avila Street
                   government contract                                                   San Francisco, CA 94123


 2.898.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Mall 205 (Portland)
             the debtor's interest                        Sport dated 07/23/2001
                                                                                         Mall 205 GARP LLC
                  State the term remaining                Undetermined                   Mall 205 GRF2, LLC
                                                                                         Property Management | Gerrity Group LLC
             List the contract number of any                                             973 Lomas Santa Fe Drive
                   government contract                                                   Solana, CA 92075


 2.899.      State what the contract or                   Lessee for location at
             lease is for and the nature of               423 Mall 205 Sport
             the debtor's interest                        dated 08/01/2001
                                                                                         Mall 205 GARP, LLC
                  State the term remaining                7/31/2026                      10052 SE Washington Street
                                                                                         Space E-1
             List the contract number of any                                             Portland, OR 97216-2424
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 160 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 801 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.900.      State what the contract or                   Private Line Service
             lease is for and the nature of               dated 10/06/2015
             the debtor's interest

                  State the term remaining                Potentially Expired            Manhattan Telecommunications Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             55 Water Street, 32nd Floor
                   government contract                                                   New York, NY 10041


 2.901.      State what the contract or                   Master Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/02/2020

                  State the term remaining                930 Days                       Manhattan Telecommunications Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             55 Water Street, 32nd Floor
                   government contract                                                   New York, NY 10041


 2.902.      State what the contract or                   Master Service
             lease is for and the nature of               Agrement - Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   Manhattan Telecommunications Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             55 Water Street, 32nd Floor
                   government contract                                                   New York, NY 10041


 2.903.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Green Valley Active
             the debtor's interest                        dated 08/20/1996

                  State the term remaining                Undetermined                   Mani Anand Vjay Sawh, LLC
                                                                                         Attn: Anand Sawh
             List the contract number of any                                             15565 Sleepy Creek Rd.
                   government contract                                                   El Cajon, CA 92021


 2.904.      State what the contract or                   Service Agreement
             lease is for and the nature of               dated 04/08/2004
             the debtor's interest

                  State the term remaining                Undetermined                   MapQuest, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             3710 Hempland Road
                   government contract                                                   Mountville, PA 17554


 2.905.      State what the contract or                   Lease Agreement for            Marc Ittah
             lease is for and the nature of               Arcadia CA Sport dated         9538 Brighton Way
             the debtor's interest                        08/02/2007                     #314
                                                                                         Beverly Hills, CA 90210
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 161 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 802 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.906.      State what the contract or                   Lessee for location at
             lease is for and the nature of               906 Arcadia Sport
             the debtor's interest                        dated 07/03/2007

                  State the term remaining                8/31/2022
                                                                                         Marc Ittah
             List the contract number of any                                             125 North 1st Avenue
                   government contract                                                   Arcadia, CA 91006-3213


 2.907.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Larkspur Super Sport
             the debtor's interest                        dated 04/01/1990

                  State the term remaining                199 Days
                                                                                         MARIN COUNTRY MART LLC
             List the contract number of any                                             2257C Larkspur Landing Circle
                   government contract                                                   Larkspur, CA 94939


 2.908.      State what the contract or                   Lessee for location at
             lease is for and the nature of               508 Larkspur Super
             the debtor's interest                        Sport dated 04/01/1990

                  State the term remaining                12/31/2020
                                                                                         MARIN COUNTRY MART LLC - V0000374872
             List the contract number of any                                             1001 Larkspur Landing Circle
                   government contract                                                   Larkspur, CA 94939-1705


 2.909.      State what the contract or                   Lessee for location at
             lease is for and the nature of               413 Downtown
             the debtor's interest                        Portland Sport dated
                                                          06/01/2000
                  State the term remaining                8/31/2030
                                                                                         Mark Group No. 6, dba Fifth Ave. Bldg
             List the contract number of any                                             1407 SW Fourth Avenue
                   government contract                                                   Portland, OR 97201-5507


 2.910.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09/23/2014

                  State the term remaining                Potentially Expired            Marriot Marina del Ray
                                                                                         Attn: General Counsel
             List the contract number of any                                             4100 Admiralty Way
                   government contract                                                   Marina del Rey, CA 90292




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 162 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 803 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.911.      State what the contract or                   2010 Rate and Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/05/2010

                  State the term remaining                Potentially Expired            Marriott Courtyard
                                                                                         Attn: General Counsel
             List the contract number of any                                             5835 Owens Avenue
                   government contract                                                   Carlsbad, CA 92008


 2.912.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09/15/2014

                  State the term remaining                Potentially Expired            Marriott Courtyard San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.913.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement Re: Room
             the debtor's interest                        Commitment and Rates
                                                          dated 11/19/2013
                  State the term remaining                Potentially Expired            Marriott Courtyard San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.914.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement Re Room
             the debtor's interest                        Commitment/Rates
                                                          dated 06/01/2014
                  State the term remaining                Potentially Expired            Marriott Courtyard San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.915.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/01/2014

                  State the term remaining                Potentially Expired            Marriott Courtyard San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.916.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement Re: Room
             the debtor's interest                        Commitment/Rates
                                                          dated 06/01/2014               Marriott Courtyard San Ramon
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         18090 San Ramon Valley Boulevard
             List the contract number of any                                             San Ramon, CA 94583
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 163 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 804 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.917.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/24/2014

                  State the term remaining                Undetermined                   Marriott Denver South at Park Meadows
                                                                                         Attn: Stephanie Marcus
             List the contract number of any                                             10345 Park Meadows Drive
                   government contract                                                   Littleton, CO 80124


 2.918.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   Marriott Denver South at Park Meadows
                                                                                         Attn: Stephanie Marcus
             List the contract number of any                                             10345 Park Meadows Drive
                   government contract                                                   Littleton, CO 80124


 2.919.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/27/2014

                  State the term remaining                Undetermined                   Marriott Denver South at Park Meadows
                                                                                         Attn: Stephaie Marcus
             List the contract number of any                                             10345 Park Meadows Drive
                   government contract                                                   Littleton, CO 80124


 2.920.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/09/2014

                  State the term remaining                Potentially Expired            Marriott Marquis San Diego Marina
                                                                                         Attn: General Counsel
             List the contract number of any                                             333 West Harbor Drive
                   government contract                                                   San Diego, CA 92101


 2.921.      State what the contract or                   2011 Preferred Account
             lease is for and the nature of               Information and Rate
             the debtor's interest                        Agreement dated
                                                          04/05/2011
                  State the term remaining                Potentially Expired            Marriott Phoenix Mesa
                                                                                         Attn: General Counsel
             List the contract number of any                                             200 N. Centennial Way
                   government contract                                                   Mesa, AZ 85201


 2.922.      State what the contract or                   Sales Contract dated           Marriott Pleasanton
             lease is for and the nature of               10/05/2017                     Attn: General Counsel
             the debtor's interest                                                       11950 Dublin Canyon Road
                                                                                         Pleasanton, CA 94588
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 164 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 805 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.923.      State what the contract or                   Marriott Pleasanton
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/07/2017

                  State the term remaining                Potentially Expired            Marriott Pleasanton
                                                                                         Attn: General Counsel
             List the contract number of any                                             11950 Dublin Canyon Road
                   government contract                                                   Pleasanton, CA 94588


 2.924.      State what the contract or                   Local Volume Rate
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01/01/2014

                  State the term remaining                Potentially Expired            Marriott Pleasanton
                                                                                         Attn: General Counsel
             List the contract number of any                                             11950 Dublin Canyon Road
                   government contract                                                   Pleasanton, CA 94588


 2.925.      State what the contract or                   Meeting Dates and
             lease is for and the nature of               Guest Room Block
             the debtor's interest                        dated 03/31/2017

                  State the term remaining                Potentially Expired            Marriott Pleasanton
                                                                                         Attn: General Counsel
             List the contract number of any                                             11950 Dublin Canyon Rd
                   government contract                                                   Pleasanton, CA 94588


 2.926.      State what the contract or                   Group Sales
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/30/2014

                  State the term remaining                Potentially Expired            Marriott San Ramon
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.927.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Moraga Super Sport
             the debtor's interest                        dated 09/15/2007

                  State the term remaining                Undetermined
                                                                                         Masue Trust c/o Kin Properties Inc
             List the contract number of any                                             185 NW Spanish River Blvd., Suite 100
                   government contract                                                   Boca Raton, FL 33431




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 165 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 806 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.928.      State what the contract or                   Lessee for location at
             lease is for and the nature of               812 Moraga Rheem
             the debtor's interest                        Super Sport dated
                                                          07/18/2008
                  State the term remaining                5/31/2022
                                                                                         Masue Trust c/o Kin Properties, Inc.
             List the contract number of any                                             351 Rheem Blvd
                   government contract                                                   Moraga, CA 94556-1541


 2.929.      State what the contract or                   Settlement Letter and
             lease is for and the nature of               Release dated
             the debtor's interest                        10/25/2013

                  State the term remaining                Undetermined                   MCI Communications Services
                                                                                         Attn: General Counsel
             List the contract number of any                                             500 Technology Drive
                   government contract                                                   Weldon Spring, MO 63304


 2.930.      State what the contract or                   Settlement Letter dated
             lease is for and the nature of               08/07/2018
             the debtor's interest

                  State the term remaining                Potentially Expired            MCI Communications Services
                                                                                         Attn: General Counsel
             List the contract number of any                                             500 Technology Drive
                   government contract                                                   Weldon Spring, MO 63304


 2.931.      State what the contract or                   Settlement Letter dated
             lease is for and the nature of               10/11/2018
             the debtor's interest

                  State the term remaining                Potentially Expired            MCI Communications Services
                                                                                         Attn: General Counsel
             List the contract number of any                                             500 Technology Drive
                   government contract                                                   Weldon Spring, MO 63304


 2.932.      State what the contract or                   Business Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        08/17/2006

                  State the term remaining                Potentially Expired            MCI Network Services
                                                                                         Attn: General Counsel
             List the contract number of any                                             22001 Loudoun County Parkway
                   government contract                                                   Ashburn, VA 20147


 2.933.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               McKinney Super Sport
             the debtor's interest                        dated 05/08/2019
                                                                                         McKinney SH I LTD
                  State the term remaining                Undetermined                   Attn: R. Eric Seitz
                                                                                         1110 Cowan
             List the contract number of any                                             Celina, TX 75009
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 166 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 807 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.934.      State what the contract or                   Lessee for location at
             lease is for and the nature of               388 McKinney Super
             the debtor's interest                        Sport dated 12/08/2018

                  State the term remaining                5/31/2034
                                                                                         McKinney SH I LTD
             List the contract number of any                                             1601 N. Hardin Blvd.
                   government contract                                                   McKinney, TX 75071


 2.935.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Tanasbourne Super
             the debtor's interest                        Sport dated 04/16/2010

                  State the term remaining                Undetermined                   MDC Coast 21 LLC
                                                                                         c/o Realty Income Properties
             List the contract number of any                                             11995 El Camino Real
                   government contract                                                   San Francisco, CA 92130


 2.936.      State what the contract or                   Lessee for location at
             lease is for and the nature of               849 Tanasbourne Super
             the debtor's interest                        Sport dated 04/16/2010

                  State the term remaining                8/15/2025
                                                                                         MDC Coast 21 LLC
             List the contract number of any                                             1265 Waterhouse Avenue
                   government contract                                                   Beaverton, OR 97006


 2.937.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Downtown Portland
             the debtor's interest                        Sport dated 04/15/2000
                                                                                         Melvin Mark Brokerage Company
                  State the term remaining                Undetermined                   Mark Group Partnership No. 6
                                                                                         111 SW Columbia
             List the contract number of any                                             Suite 1380
                   government contract                                                   Portland, OR 97201


 2.938.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               West Seattle Active
             the debtor's interest                        dated 12/31/1993
                                                                                         MEPT Westwood Village LLC
                  State the term remaining                Undetermined                   c/o McNaul Ebel Nawrot & Helgren PLLC
                                                                                         Attn: Marc O. Winters
             List the contract number of any                                             600 University Street
                   government contract                                                   Seattle, WA 98101


 2.939.      State what the contract or                   Lessee for location at         MEPT Westwood Village, LLC
             lease is for and the nature of               407 West Seattle Active        2500 SW Barton Street, Suite B-7
             the debtor's interest                        dated 11/01/1998               Suite B-7
                                                                                         Seattle, WA 98126-3949
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 167 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 808 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                1/31/2024

             List the contract number of any
                   government contract


 2.940.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               San Juan Capistrano
             the debtor's interest                        Super Sport dated
                                                          12/28/2018
                  State the term remaining                Undetermined                   Mercury TIC, LLC
                                                                                         1187 Coast Village Rd.
             List the contract number of any                                             Ste 1, #561
                   government contract                                                   Santa Barbara, CA 93108


 2.941.      State what the contract or                   Lessee for location at
             lease is for and the nature of               898 San Juan
             the debtor's interest                        Capistrano SS Relo
                                                          dated 01/05/2019
                  State the term remaining                12/31/2033
                                                                                         Mercury TIC, LLC
             List the contract number of any                                             27124 Calle Arroyo
                   government contract                                                   San Juan Capistrano, CA 92675


 2.942.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Costa Mesa Active
             the debtor's interest                        dated 01/01/1996

                  State the term remaining                929 Days                       Mesa Verde Associates
                                                                                         Property Management
             List the contract number of any                                             3315 Fairview Road
                   government contract                                                   Costa Mesa, CA 92626


 2.943.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               San Clemente Super
             the debtor's interest                        Sport dated 05/05/2014

                  State the term remaining                Undetermined                   Metro ALP, LLC
                                                                                         227 20th Street
             List the contract number of any                                             Suite 100
                   government contract                                                   Newport Beach, CA 92663


 2.944.      State what the contract or                   Lessee for location at
             lease is for and the nature of               845 San Clemente La
             the debtor's interest                        Pata SS dated
                                                          04/26/2014
                  State the term remaining                12/31/2034
                                                                                         Metro ALP, LLC
             List the contract number of any                                             110 Avenida La Pata
                   government contract                                                   San Clemente, CA 92673-6307




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 168 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 809 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.945.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Irving (Metroplex Plaza)
             the debtor's interest                        Sport dated 02/01/2000
                                                                                         Metroplex Plaza LP
                  State the term remaining                Undetermined                   c/o CNA Enterprises, Inc.
                                                                                         Attn: Asset Management
             List the contract number of any                                             1901 Avenue of the Stars
                   government contract                                                   Los Angeles, CA 90067


 2.946.      State what the contract or                   Master Service
             lease is for and the nature of               Agereement POTS
             the debtor's interest                        Services dated
                                                          08/01/2014
                  State the term remaining                Undetermined                   Metropolitan Telecommunications Corp
                                                                                         Attn: General Counsel
             List the contract number of any                                             55 Water Street, 32nd Floor
                   government contract                                                   New York, NY 10041


 2.947.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Meyerland Plaza Sport
             the debtor's interest                        dated 05/24/2001

                  State the term remaining                Undetermined                   Meyerland Retail Associates, LLC
                                                                                         4500 Bissonnet
             List the contract number of any                                             Suite 300
                   government contract                                                   Bellaire, TX 77401


 2.948.      State what the contract or                   Lessee for location at
             lease is for and the nature of               366 Meyerland Sport
             the debtor's interest                        dated 09/01/2001

                  State the term remaining                5/31/2021
                                                                                         Meyerland Retail Associates, LLC
             List the contract number of any                                             8650 Endicott Lane
                   government contract                                                   Houston, TX 77096-1501


 2.949.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Laguna Hills (relo)
             the debtor's interest                        (Pipeline) dated Based
                                                          on LL/Permit Delivery          MGP Fund X Laguna Hills, LLC
                  State the term remaining                Undetermined                   Lease Administration
                                                                                         Five Lagunas, Unit #635-110
             List the contract number of any                                             425 California St 10th Floor
                   government contract                                                   San Francisco, CA 94104-2113


 2.950.      State what the contract or                   Lessee for location at
             lease is for and the nature of               938 Laguna Hills Super
             the debtor's interest                        Sport

                  State the term remaining                Undetermined                   MGP Fund X Laguna Hills, LLC
                                                                                         TBD
             List the contract number of any                                             Laguna Hills, CA 92653
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 169 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 810 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.951.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               North Hollywood
             the debtor's interest                        (Pipeline) dated Based
                                                          on LL/Permit Delivery          MGP XI-GPI Laurel Plaza, LLC
                  State the term remaining                Undetermined                   c/o Merlone Geier Partners
                                                                                         6180 Laurel Canyon Blvd
             List the contract number of any                                             Ste 170
                   government contract                                                   North Hollywood, CA 91606


 2.952.      State what the contract or                   Lessee for location at
             lease is for and the nature of               939 Laurel Canyon
             the debtor's interest                        Super Sport

                  State the term remaining                6/30/2035
                                                                                         MGP XI-GPI Laurel Plaza, LLC
             List the contract number of any                                             6140 Laurel Canyon Blvd, Ste 170
                   government contract                                                   North Hollywood, CA 91606


 2.953.      State what the contract or                   MASTER AGREEMENT
             lease is for and the nature of               dated 03/16/2015
             the debtor's interest
                                                                                         MI9 Business Intelligence Systems, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         301-245 Yorkland Boulevard
             List the contract number of any                                             Toronto ON M2J 4W9
                   government contract                                                   Canada


 2.954.      State what the contract or                   Core Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06/23/2014
                                                                                         Microsoft
                  State the term remaining                Undetermined                   Attn: Services Attorney
                                                                                         Microsoft Law and Corporate Affairs
             List the contract number of any                                             One Microsoft Way
                   government contract                                                   Redmond, WA 98052


 2.955.      State what the contract or                   Server and Cloud
             lease is for and the nature of               Enrollment - Not Dated
             the debtor's interest
                                                                                         Microsoft
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         Microsoft Law and Corporate Affairs
             List the contract number of any                                             One Microsoft Way
                   government contract                                                   Redmond, WA 98052


 2.956.      State what the contract or                   Licensing Product Use     Microsoft
             lease is for and the nature of               Rights dated 07/01/2009   Courtney Krehblel, Managing Consultant
             the debtor's interest                                                  9255 Towne Centre Drive
                                                                                    Suite 400
Official Form 206G                               Schedule G: Executory Contracts andSan Diego,Leases
                                                                                     Unexpired CA 92121                                 Page 170 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 811 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.957.      State what the contract or                   Microsoft Online
             lease is for and the nature of               Services Agreement -
             the debtor's interest                        Not Dated
                                                                                         Microsoft
                  State the term remaining                Undetermined                   Courtney Krehblel, Managing Consultant
                                                                                         9255 Towne Centre Drive
             List the contract number of any                                             Suite 400
                   government contract                                                   San Diego, CA 92121


 2.958.      State what the contract or                   Volume Licensing
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest
                                                                                         Microsoft
                  State the term remaining                Undetermined                   Courtney Krehblel, Managing Consultant
                                                                                         9255 Towne Centre Drive
             List the contract number of any                                             Suite 400
                   government contract                                                   San Diego, CA 92121


 2.959.      State what the contract or                   Customer Reference
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05/29/2015
                                                                                         Microsoft Corporation
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         Dept. 551, Volume Licensing
             List the contract number of any                                             6100 Neil Road, Suite 210
                   government contract                                                   Reno, NV 89511-1137


 2.960.      State what the contract or                   Server and Cloud
             lease is for and the nature of               Enrollment dated
             the debtor's interest                        06/01/2015
                                                                                         Microsoft Corporation
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         Dept. 551, Volume Licensing
             List the contract number of any                                             6100 Neil Road, Suite 210
                   government contract                                                   Reno, NV 89511-1137


 2.961.      State what the contract or                   Services Work Order
             lease is for and the nature of               dated 12/28/2017
             the debtor's interest
                                                                                         Microsoft Corporation
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         Dept. 551, Volume Licensing
             List the contract number of any                                             6100 Neil Road, Suite 210
                   government contract                                                   Reno, NV 89511-1137




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 171 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 812 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.962.      State what the contract or                   Program Signature
             lease is for and the nature of               Form - Software
             the debtor's interest                        Agreement dated
                                                          01/01/2018                     Microsoft Corporation
                  State the term remaining                199 Days                       Attn: General Counsel
                                                                                         Dept. 551, Volume Licensing
             List the contract number of any                                             6100 Neil Road, Suite 210
                   government contract                                                   Reno, NV 89511-1137


 2.963.      State what the contract or                   Services Work Order
             lease is for and the nature of               dated 12/28/2018
             the debtor's interest
                                                                                         Microsoft Corporation
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         Dept. 551, Volume Licensing
             List the contract number of any                                             6100 Neil Road, Suite 210
                   government contract                                                   Reno, NV 89511-1137


 2.964.      State what the contract or                   Select Enrollment
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest
                                                                                         Microsoft Corporation
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         Dept. 551, Volume Licensing
             List the contract number of any                                             6100 Neil Road, Suite 210
                   government contract                                                   Reno, NV 89511-1137


 2.965.      State what the contract or                   Microsoft Select
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest
                                                                                         Microsoft Corporation
                  State the term remaining                Undetermined                   Volume Licensing Group
                                                                                         Attn: Law and Corporate Affairs
             List the contract number of any                                             One Microsoft Way
                   government contract                                                   Redmond, WA 98052


 2.966.      State what the contract or                   Business and Services
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest
                                                                                         Microsoft Corporation
                  State the term remaining                Undetermined                   Volume Licensing Group
                                                                                         Attn: Law and Corporate Affairs
             List the contract number of any                                             One Microsoft Way
                   government contract                                                   Redmond, WA 98052


 2.967.      State what the contract or                   Enterprise Agreement -
             lease is for and the nature of               Not Dated
             the debtor's interest                                                       Microsoft Corporation
                                                                                         Volume Licensing Group
                  State the term remaining                Undetermined                   Attn: Law and Corporate Affairs
                                                                                         One Microsoft Way
             List the contract number of any                                             Redmond, WA 98052
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 172 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 813 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.968.      State what the contract or                   Business and Services
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   Microsoft Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             One Microsoft Way
                   government contract                                                   Redmond, WA 98052


 2.969.      State what the contract or                   Business and Services
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest

                  State the term remaining                Undetermined                   Microsoft Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             One Microsoft Way
                   government contract                                                   Redmond, WA 98052


 2.970.      State what the contract or                   Customer Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        08/25/2009

                  State the term remaining                Potentially Expired            Microsoft Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             One Micrsoft Way
                   government contract                                                   Redmond, WA 98052


 2.971.      State what the contract or                   Volume Licensing
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05/05/2005
                                                                                         Microsoft Licensing, GP
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         Dept. 551, Volume Licensing
             List the contract number of any                                             6100 Neil Road, Suite 210
                   government contract                                                   Reno, NV 89511-1137


 2.972.      State what the contract or                   Enrollment Agreement
             lease is for and the nature of               Letter dated 06/01/2006
             the debtor's interest
                                                                                         Microsoft Licensing, GP
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         Dept. 551, Volume Licensing
             List the contract number of any                                             6100 Neil Road, Suite 210
                   government contract                                                   Reno, NV 89511-1137


 2.973.      State what the contract or                   Volume Licensing          Microsoft Licensing, GP
             lease is for and the nature of               Agreement - Not Dated     Attn: General Counsel
             the debtor's interest                                                  Dept. 551, Volume Licensing
                                                                                    6100 Neil Road, Suite 210
Official Form 206G                               Schedule G: Executory Contracts andReno,  NV 89511-1137
                                                                                     Unexpired Leases                                   Page 173 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 814 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.974.      State what the contract or                   Volume Licensing
             lease is for and the nature of               Agreement - Not Dated
             the debtor's interest
                                                                                         Microsoft Licensing, GP
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         Dept. 551, Volume Licensing
             List the contract number of any                                             6100 Neil Road, Suite 210
                   government contract                                                   Reno, NV 89511-1137


 2.975.      State what the contract or                   Enterprise Agreement
             lease is for and the nature of               dated 01/01/2015
             the debtor's interest
                                                                                         Microsoft/PCM Sarcom
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         6100 Neil Road
             List the contract number of any                                             Suite 210
                   government contract                                                   Reno, NV 89511


 2.976.      State what the contract or                   Price Quotation and
             lease is for and the nature of               Purchase Agreement
             the debtor's interest                        dated 02/08/2009

                  State the term remaining                Undetermined                   MicroStrategy
                                                                                         Attn: General Counsel
             List the contract number of any                                             1850 Towers Crescent Plaza
                   government contract                                                   Tysons Corner, VA 22182


 2.977.      State what the contract or                   Price Quotation and
             lease is for and the nature of               Purchase Agreement
             the debtor's interest                        dated 06/05/2009

                  State the term remaining                Potentially Expired            MicroStrategy
                                                                                         Attn: General Counsel
             List the contract number of any                                             1850 Towers Crescent Plaza
                   government contract                                                   Tysons Corner, VA 22182


 2.978.      State what the contract or                   Price Quotation and
             lease is for and the nature of               Purchase Agreement
             the debtor's interest                        dated 12/19/2009

                  State the term remaining                Undetermined                   MicroStrategy
                                                                                         Attn: General Counsel
             List the contract number of any                                             1850 Towers Crescent Plaza
                   government contract                                                   Tysons Corner, VA 22182




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 174 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 815 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.979.      State what the contract or                   Price Quotation and
             lease is for and the nature of               Purchase Agreement
             the debtor's interest                        dated 09/30/2010

                  State the term remaining                Potentially Expired            MicroStrategy
                                                                                         Attn: General Counsel
             List the contract number of any                                             1850 Towers Crescent Plaza
                   government contract                                                   Tysons Corner, VA 22182


 2.980.      State what the contract or                   Price Quotation and
             lease is for and the nature of               Purchase Agreement
             the debtor's interest                        dated 03/22/2012

                  State the term remaining                Undetermined                   MicroStrategy
                                                                                         Attn: General Counsel
             List the contract number of any                                             1850 Towers Crescent Plaza
                   government contract                                                   Tysons Corner, VA 22182


 2.981.      State what the contract or                   Price Quotation and
             lease is for and the nature of               Purchase Agreement
             the debtor's interest                        No. 132141 - Not Dated

                  State the term remaining                Undetermined                   MicroStrategy
                                                                                         Attn: General Counsel
             List the contract number of any                                             1850 Towers Crescent Plaza
                   government contract                                                   Tysons Corner, VA 22182


 2.982.      State what the contract or                   Software License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09/07/2007

                  State the term remaining                Undetermined                   MicroStrategy Services Corp.
                                                                                         Attn: VP, Commerncial Licensing
             List the contract number of any                                             1861 International Drive
                   government contract                                                   McLean, VA 22102


 2.983.      State what the contract or                   Price Quotation and
             lease is for and the nature of               Purchase Agreement
             the debtor's interest                        No. 124030 dated
                                                          09/07/2007
                  State the term remaining                Undetermined                   MicroStrategy Services Corporation
                                                                                         Attn: Kim Burkett
             List the contract number of any                                             PO Box 409671
                   government contract                                                   Atlanta, GA 30384-9671


 2.984.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Mililani Super Sport
             the debtor's interest                        dated 11/01/2011               Mililani Shopping Center, LLC
                                                                                         Attn: Director of Operations
                  State the term remaining                503 Days                       c/o MIG Real Estate
                                                                                         860 Newport Center Drive Suite 1300
             List the contract number of any                                             Newport Beach, CA 92660
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 175 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 816 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.985.      State what the contract or                   Lessee for location at
             lease is for and the nature of               548 Mililani Super Sport
             the debtor's interest                        dated 03/01/1997

                  State the term remaining                10/31/2021
                                                                                         Mililani Shopping Center, LLC (548)
             List the contract number of any                                             95-221 Kipapa Drive
                   government contract                                                   Mililani, HI 96789-1147


 2.986.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Simi Valley Sport dated
             the debtor's interest                        04/26/2000
                                                                                         Miracle Mile Properties
                  State the term remaining                Undetermined                   Attn: Lionel Levy
                                                                                         4221 Wilshire Blvd.
             List the contract number of any                                             Suite 480
                   government contract                                                   Los Angeles, CA 90010


 2.987.      State what the contract or                   Lessee for location at
             lease is for and the nature of               176 Simi Valley Sport
             the debtor's interest                        dated 05/01/2000

                  State the term remaining                4/30/2025
                                                                                         Miracle Mile Properties
             List the contract number of any                                             1352 Madera Road
                   government contract                                                   Simi Valley, CA 93065-4019


 2.988.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Miramar Sport dated
             the debtor's interest                        08/28/2008

                  State the term remaining                Undetermined                   MIRAMAR EQUITY I LLC
                                                                                         Attn: Rigoberto Ruiz, Property Manager
             List the contract number of any                                             696 NE 125th Street
                   government contract                                                   North Miami, FL 33161


 2.989.      State what the contract or                   Lessee for location at
             lease is for and the nature of               629 Miramar Sport
             the debtor's interest                        dated 09/26/2008

                  State the term remaining                12/27/2023
                                                                                         MIRAMAR EQUITY I LLC
             List the contract number of any                                             11645 Red Road, Space H-1
                   government contract                                                   Miramar, FL 33025-7810




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 176 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 817 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.990.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               San Diego Mission
             the debtor's interest                        Valley (relo) (Pipeline)
                                                          dated Based on
                                                          LL/Permit Delivery             Mission Valley Shoppingtown LLC
                  State the term remaining                Undetermined                   Attn: Lease Administration
                                                                                         c/o Westfield LLC
             List the contract number of any                                             2049 Century Park East, 41st Floor
                   government contract                                                   Los Angeles, CA 90067


 2.991.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Mission Valley Super
             the debtor's interest                        Sport dated 12/01/2020
                                                                                         Mission Valley Shoppingtown LLC
                  State the term remaining                Undetermined                   Attn: Lease Administration
                                                                                         c/o Westfield LLC
             List the contract number of any                                             2049 Century Park East, 41st Floor
                   government contract                                                   Los Angeles, CA 90067


 2.992.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Mission Valley Active
             the debtor's interest                        dated 09/19/2005

                  State the term remaining                Undetermined                   Mission Valley Shoppingtown, LLC
                                                                                         c/o Westfield Corporation, Inc
             List the contract number of any                                             11601 Wilshire Boulevard, 12th Floor
                   government contract                                                   Los Angeles, CA 90025-1748


 2.993.      State what the contract or                   Lessee for location at
             lease is for and the nature of               067 Mission Valley
             the debtor's interest                        Active dated 07/24/2005

                  State the term remaining                9/18/2025                      Mission Valley Shoppingtown, LLC
                                                                                         1640 Camino Del Rio N., Suite #315
             List the contract number of any                                             #315
                   government contract                                                   San Diego, CA 92108-1506


 2.994.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Petaluma Active dated
             the debtor's interest                        06/06/1998

                  State the term remaining                Undetermined
                                                                                         MKD Great Petaluma Mill LLC
             List the contract number of any                                             1001 Canal Blvd., Suite A1
                   government contract                                                   Richmond, CA 94804


 2.995.      State what the contract or                   Lessee for location at
             lease is for and the nature of               577 Petaluma Active
             the debtor's interest                        dated 03/01/1999
                                                                                         MKD Great Petaluma Mill LLC
                  State the term remaining                6/30/2022                      6 Petaluma Blvd. North
                                                                                         Petaluma, CA 94952-3050
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 177 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 818 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.996.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               Mountlake Terrace
             the debtor's interest                        (relo) (Pipeline) dated
                                                          Based on LL/Permit
                                                          Delivery                       MLT Station LLC
                  State the term remaining                Undetermined                   Jonathan Tran
                                                                                         1618 S. Lane Street
             List the contract number of any                                             Suite 203
                   government contract                                                   Seattle, WA 98144


 2.997.      State what the contract or                   Lessee for location at
             lease is for and the nature of               971 Mountlake Terrace
             the debtor's interest                        Super Sport

                  State the term remaining                Undetermined
                                                                                         MLT Station LLC
             List the contract number of any                                             6004 237th St. SW, Suite 100
                   government contract                                                   Mountlake Terrace, WA 98043


 2.998.      State what the contract or                   Lease Agreement for
             lease is for and the nature of               San Leandro Sport
             the debtor's interest                        dated 08/15/1999
                                                                                         MM/PG (BAYFAIR) PROPERTIES LLC
                  State the term remaining                Undetermined                   Madison Marquette Retail Services, Inc.
                                                                                         Attn: CFO
             List the contract number of any                                             1000 Maine Avenue, SW, STE. 300
                   government contract                                                   Washington, DC 20024


 2.999.      State what the contract or                   Lessee for location at
             lease is for and the nature of               501 San Leandro Sport
             the debtor's interest                        dated 06/01/1983

                  State the term remaining                12/31/2023
                                                                                         MM/PG (BAYFAIR) PROPERTIES LLC
             List the contract number of any                                             304 Bayfair Mall
                   government contract                                                   San Leandro, CA 94578-1900


 2.1000. State what the contract or                       REVOCABLE SERVICE
         lease is for and the nature of                   AGREEMENT dated
         the debtor's interest                            08/22/2011

                  State the term remaining                Potentially Expired            Mobile Repair Services
                                                                                         Attn: Tamas T. Mekeres
             List the contract number of any                                             5930 Running Hills Avenue
                   government contract                                                   Livermore, CA 94551




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 178 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 819 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1001. State what the contract or                       REVOCABLE SERVICE
         lease is for and the nature of                   AGREEMENT dated
         the debtor's interest                            08/15/2011

                  State the term remaining                Potentially Expired            Mobile Repair Services
                                                                                         Attn: Tamas T. Mekeres
             List the contract number of any                                             5930 Running Hill Avenue
                   government contract                                                   Livermore, CA 94551


 2.1002. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/22/2011

                  State the term remaining                Potentially Expired            Mobile Repair Services
                                                                                         Attn: Tamas T. Mekeres
             List the contract number of any                                             5930 Running Hill Avenue
                   government contract                                                   Livermore, CA 94551


 2.1003. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/01/2012

                  State the term remaining                Potentially Expired            Mobile Repair Services
                                                                                         Attn: Tamas T. Mekeres
             List the contract number of any                                             5930 Running Hills Avenue
                   government contract                                                   Livermore, CA 94551


 2.1004. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/01/2012

                  State the term remaining                Potentially Expired            Mobile Repair Services
                                                                                         Attn: Tamas T. Mekeres
             List the contract number of any                                             5930 Running Hills Avenue
                   government contract                                                   Livermore, CA 94551


 2.1005. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/01/2012

                  State the term remaining                Potentially Expired            Mobile Repair Services
                                                                                         Attn: Tamas T. Mekeres
             List the contract number of any                                             5930 Running Hills Avenue
                   government contract                                                   Livermore, CA 94551


 2.1006. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/01/2012
                                                                                         Mobile Repair Services
                  State the term remaining                Potentially Expired            Attn: Tamas T. Mekeres
                                                                                         5930 Running Hill Avenue
             List the contract number of any                                             Livermore, CA 94551
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 179 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 820 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1007. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Mockingbird (Dallas)
         the debtor's interest                            Active dated 10/01/1991

                  State the term remaining                1,811 Days                     Mockingbird Park, Ltd
                                                                                         4455 LBJ Freeway
             List the contract number of any                                             Suite 812
                   government contract                                                   Dallas, TX 75244


 2.1008. State what the contract or                       Master Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/12/2016
                                                                                         Modis, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         9350 Waxie Way Street
             List the contract number of any                                             Suite 220
                   government contract                                                   San Diego, CA 92123


 2.1009. State what the contract or                       Client Services
         lease is for and the nature of                   Agreement with Modis
         the debtor's interest                            dated 12/05/2014
                                                                                         Modis, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         4747 Executive Drive
             List the contract number of any                                             Suite 240
                   government contract                                                   San Diego, CA 92121


 2.1010. State what the contract or                       Client Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/17/2015
                                                                                         Modis, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         4747 Executive Drive
             List the contract number of any                                             Suite 240
                   government contract                                                   San Diego, CA 92121


 2.1011. State what the contract or                       Modis Letter of
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/11/2015
                                                                                         Modis, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         4747 Executive Drive
             List the contract number of any                                             Suite 240
                   government contract                                                   San Diego, CA 92121


 2.1012. State what the contract or                       Master Services           Modis, Inc.
         lease is for and the nature of                   Agreement dated           Attn: General Counsel
         the debtor's interest                            10/10/2016                4747 Executive Drive
                                                                                    Suite 240
Official Form 206G                               Schedule G: Executory Contracts andSan Diego,Leases
                                                                                     Unexpired  CA 92121                                Page 180 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 821 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.1013. State what the contract or                       Master Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            11/01/2016
                                                                                         Modis, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         4747 Executive Drive
             List the contract number of any                                             Suite 240
                   government contract                                                   San Diego, CA 92121


 2.1014. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/12/2017
                                                                                         Modis, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         4747 Executive Drive
             List the contract number of any                                             Suite 240
                   government contract                                                   San Diego, CA 92121


 2.1015. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            11/10/2017
                                                                                         Modis, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         4747 Executive Drive
             List the contract number of any                                             Suite 240
                   government contract                                                   San Diego, CA 92121


 2.1016. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            11/10/2017
                                                                                         Modis, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         4747 Executive Drive
             List the contract number of any                                             Suite 240
                   government contract                                                   San Diego, CA 92121


 2.1017. State what the contract or                       Master Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/15/2018
                                                                                         Modis, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         4747 Executive Drive
             List the contract number of any                                             Suite 240
                   government contract                                                   San Diego, CA 92121




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 181 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 822 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1018. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/15/2018
                                                                                         Modis, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         4747 Executive Drive
             List the contract number of any                                             Suite 240
                   government contract                                                   San Diego, CA 92121


 2.1019. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            10/24/2018
                                                                                         Modis, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         4747 Executive Drive
             List the contract number of any                                             Suite 240
                   government contract                                                   San Diego, CA 92121


 2.1020. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            10/24/2018
                                                                                         Modis, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         4747 Executive Drive
             List the contract number of any                                             Suite 240
                   government contract                                                   San Diego, CA 92121


 2.1021. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Navajo Super Sport
         the debtor's interest                            dated 11/03/2018

                  State the term remaining                Undetermined                   MONTEREY PROPERTY ASSOCIATES ANAHEIM LLC
                                                                                         c/o Athena Property Management
             List the contract number of any                                             730 El Camino Way, Ste 200
                   government contract                                                   Tustin, CA 92780


 2.1022. State what the contract or                       Lessee for location at
         lease is for and the nature of                   780 San Diego Navajo
         the debtor's interest                            Relo dated 11/03/2018

                  State the term remaining                11/30/2033
                                                                                         Monterey Property Associates Anaheim, LL
             List the contract number of any                                             8876 Navajo Road
                   government contract                                                   San Diego, CA 92119


 2.1023. State what the contract or                       Maintenance
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/14/1994                     Montgomery Elevator Company
                                                                                         Attn: General Counsel
                  State the term remaining                Potentially Expired            18001 Sky Park South
                                                                                         Suite E
             List the contract number of any                                             Irvine, CA 92714
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 182 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 823 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1024. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Redlands Super Sport
         the debtor's interest                            dated 03/28/2015
                                                                                         Mountain Grove Partners, LLC
                  State the term remaining                Undetermined                   c/o Majestic Realty Co.
                                                                                         Attn: Chief Financial Officer
             List the contract number of any                                             13191 Crossroads Parkway N 6th Fl
                   government contract                                                   City of Industry, CA 91746


 2.1025. State what the contract or                       Lessee for location at
         lease is for and the nature of                   926 Redlands Super
         the debtor's interest                            Sport dated 03/28/2015

                  State the term remaining                12/31/2030
                                                                                         Mountain Grove Partners, LLC
             List the contract number of any                                             27621 San Bernardino Avenue
                   government contract                                                   Redlands, CA 92374


 2.1026. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Berkeley Solano
         the debtor's interest                            Avenue FitLite dated
                                                          06/01/2007
                  State the term remaining                Undetermined                   MRE Commercial Real Estate
                                                                                         Attn: Richard Odenheimer / Andy Rohner
             List the contract number of any                                             6001 Shellmound Street, #825
                   government contract                                                   Emeryville, CA 94608


 2.1027. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Miami Cutler Ridge
         the debtor's interest                            Sport dated 12/07/2007

                  State the term remaining                Undetermined
                                                                                         MS Shopping Center LLC
             List the contract number of any                                             845 NE 79 St
                   government contract                                                   Miami, FL 33138


 2.1028. State what the contract or                       Microsoft Business
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/21/2003
                                                                                         MSLI, GP
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         Dept. 551, Volume Liscensing
             List the contract number of any                                             6100 Neil Road, Suite 210
                   government contract                                                   Reno, NV 89511-1137


 2.1029. State what the contract or                       Microsoft Select          MSLI, GP
         lease is for and the nature of                   Agreement dated           Attn: General Counsel
         the debtor's interest                            05/21/2013                6100 Neil Road
                                                                                    Suite 210
Official Form 206G                               Schedule G: Executory Contracts andReno,  NV 89511-5137
                                                                                     Unexpired Leases                                   Page 183 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 824 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1030. State what the contract or                       Enrollment Agreement
         lease is for and the nature of                   dated 03/03/2000
         the debtor's interest
                                                                                         MSLI, GP
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         6100 Neil Road
             List the contract number of any                                             Suite 210
                   government contract                                                   Reno, NV 89511-1137


 2.1031. State what the contract or                       Select Master
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/03/2000
                                                                                         MSLI, LLC
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         Dept. 551, Volume Licensing
             List the contract number of any                                             6100 Neil Road, Suite 210
                   government contract                                                   Reno, NV 89511-1137


 2.1032. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Murphy Super Sport
         the debtor's interest                            dated 12/19/2008

                  State the term remaining                Undetermined                   Murphy Marketplace Station LLC
                                                                                         Attn: Robert F Myers, COO
             List the contract number of any                                             11501 Northlake Drive
                   government contract                                                   Cincinnati, OH 45249


 2.1033. State what the contract or                       Lessee for location at
         lease is for and the nature of                   656 Murphy Super
         the debtor's interest                            Sport dated 12/19/2008

                  State the term remaining                12/31/2023
                                                                                         Murphy Marketplace Station LLC
             List the contract number of any                                             229 East FM 544
                   government contract                                                   Murphy, TX 75094-4023


 2.1034. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Murray Scholls Sport
         the debtor's interest                            dated 10/02/2000
                                                                                         Murray Scholls LLC
                  State the term remaining                1,964 Days                     c/o Gramor Development Inc
                                                                                         19767 SW 72nd Avenue
             List the contract number of any                                             Suite 100
                   government contract                                                   Tualatin, OR 97062




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 184 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 825 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1035. State what the contract or                       Lessee for location at
         lease is for and the nature of                   415 Murray Scholls
         the debtor's interest                            Sport dated 12/01/1999

                  State the term remaining                10/31/2025
                                                                                         Murray Schools, LLC
             List the contract number of any                                             11100 SW Murray Scholls Pl.
                   government contract                                                   Beaverton, OR 97007-9703


 2.1036. State what the contract or                       Supply Agreement
         lease is for and the nature of                   dated 11/28/2017
         the debtor's interest
                                                                                         Muscle Foods USA
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         100 Keystone Industrial Park Road
             List the contract number of any                                             Unit 1B
                   government contract                                                   Dunmore, PA 18512


 2.1037. State what the contract or                       Promotion Agreement
         lease is for and the nature of                   dated 02/16/2015
         the debtor's interest
                                                                                         MusclePharm Corporation
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         4721 Ironton Street
             List the contract number of any                                             Building A
                   government contract                                                   Denver, CO 80239


 2.1038. State what the contract or                       Promotion Agreement
         lease is for and the nature of                   dated 09/01/2013
         the debtor's interest
                                                                                         MusclePharm Corporation
                  State the term remaining                Undetermined                   Attn: Jeremy DeLuca
                                                                                         4721 Ironton Street
             List the contract number of any                                             Building A
                   government contract                                                   Denver, CO 80239


 2.1039. State what the contract or                       Order Form 050296
         lease is for and the nature of                   dated 06/19/2015
         the debtor's interest
                                                                                         Navex Global, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         6000 Meadows Road
             List the contract number of any                                             Suite 200
                   government contract                                                   Lake Oswego, OR 97035


 2.1040. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/29/2012                     Navex Global, Inc.
                                                                                         Attn: General Counsel
                  State the term remaining                Undetermined                   6000 Meadows Road
                                                                                         Suite 200
             List the contract number of any                                             Lake Oswego, OR 97035
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 185 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 826 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1041. State what the contract or                       Purchase Order -
         lease is for and the nature of                   Service Agreement
         the debtor's interest                            dated 12/22/2014
                                                                                         NAVEX Global, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         5500 Meadows Road
             List the contract number of any                                             Suite 500
                   government contract                                                   Lake Oswego, OR 97035


 2.1042. State what the contract or                       Navex Global Order
         lease is for and the nature of                   Form NetClaim
         the debtor's interest                            Subscription dated
                                                          08/14/2017                     Navex Global, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         5500 Meadows Road
             List the contract number of any                                             Suite 500
                   government contract                                                   Lake Oswego, OR 97035


 2.1043. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement for Risk
         the debtor's interest                            Services dated
                                                          09/06/2017                     Navex Global, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         5500 Meadows Road
             List the contract number of any                                             Suite 500
                   government contract                                                   Lake Oswego, OR 97035


 2.1044. State what the contract or                       Navex Global Sales
         lease is for and the nature of                   Order dated 08/14/2018
         the debtor's interest
                                                                                         Navex Global, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         5500 Meadows Road
             List the contract number of any                                             Suite 500
                   government contract                                                   Lake Oswego, OR 97035


 2.1045. State what the contract or                       Order Form 345069
         lease is for and the nature of                   dated 12/29/2018
         the debtor's interest
                                                                                         Navex Global, Inc.
                  State the term remaining                196 Days                       Attn: General Counsel
                                                                                         5500 Meadows Road
             List the contract number of any                                             Suite 500
                   government contract                                                   Lake Oswego, OR 97035


 2.1046. State what the contract or                       Order Form 099371         Navex Global, Inc.
         lease is for and the nature of                   dated 06/28/2019          Attn: General Counsel
         the debtor's interest                                                      5500 Meadows Road
                                                                                    Suite 500
Official Form 206G                               Schedule G: Executory Contracts andLake  Oswego,
                                                                                     Unexpired     OR 97035
                                                                                               Leases                                   Page 186 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 827 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1047. State what the contract or                       Navex Global Sales
         lease is for and the nature of                   Order dated 08/14/2019
         the debtor's interest
                                                                                         Navex Global, Inc.
                  State the term remaining                59 Days                        Attn: General Counsel
                                                                                         5500 Meadows Road
             List the contract number of any                                             Suite 500
                   government contract                                                   Lake Oswego, OR 97035


 2.1048. State what the contract or                       Navex Global Sales
         lease is for and the nature of                   Order dated 08/14/2019
         the debtor's interest
                                                                                         Navex Global, Inc.
                  State the term remaining                59 Days                        Attn: General Counsel
                                                                                         5500 Meadows Road
             List the contract number of any                                             Suite 500
                   government contract                                                   Lake Oswego, OR 97035


 2.1049. State what the contract or                       ORDER FORM 099371 -
         lease is for and the nature of                   Not Dated
         the debtor's interest
                                                                                         Navex Global, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         5500 Meadows Road
             List the contract number of any                                             Suite 500
                   government contract                                                   Lake Oswego, OR 97035


 2.1050. State what the contract or                       Contract with Navex
         lease is for and the nature of                   Global, Inc. dated
         the debtor's interest                            06/01/2015
                                                                                         Navex Global, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         5500 Meadows Road
             List the contract number of any                                             Suite 500
                   government contract                                                   Lake Oswego, OR 97035


 2.1051. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Folsom Super Sport
         the debtor's interest                            dated 11/30/2007

                  State the term remaining                Undetermined                   NAZARETH RETAIL HOLDINGS LLC
                                                                                         Attn: Michael Ohayon
             List the contract number of any                                             800 South B Street Suite 100
                   government contract                                                   San Mateo, CA 94401




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 187 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 828 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1052. State what the contract or                       Lessee for location at
         lease is for and the nature of                   809 Folsom Super
         the debtor's interest                            Sport dated 11/30/2007

                  State the term remaining                11/30/2027
                                                                                         NAZARETH RETAIL HOLDINGS LLC
             List the contract number of any                                             1006 Riley Street
                   government contract                                                   Folsom, CA 95630-3266


 2.1053. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Rohnert Park Super
         the debtor's interest                            Sport dated 02/15/2012

                  State the term remaining                Undetermined                   NBC Partners, LLC
                                                                                         c/o Argonaut Investments,LLC
             List the contract number of any                                             101 Larkspur Landing Circle, Suite 120
                   government contract                                                   Larkspur, CA 94939


 2.1054. State what the contract or                       Lessee for location at
         lease is for and the nature of                   815 Rohnert Park Super
         the debtor's interest                            Sport dated 02/11/2012

                  State the term remaining                12/31/2027
                                                                                         NBC Partners, LLC
             List the contract number of any                                             6345 Commerce Blvd
                   government contract                                                   Rohnert Park, CA 94928-2403


 2.1055. State what the contract or                       Relocation Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/07/2008

                  State the term remaining                Undetermined                   NEI Global Relocation Company
                                                                                         Attn: Randy Wilson
             List the contract number of any                                             8701 West Dodge Road
                   government contract                                                   Omaha, NE 68114


 2.1056. State what the contract or                       Lessee for location at
         lease is for and the nature of                   202 Austin Sport dated
         the debtor's interest                            06/01/1991

                  State the term remaining                6/30/2022
                                                                                         Nelda Wells Spears, Tax Collector
             List the contract number of any                                             10616 Research Blvd.
                   government contract                                                   Austin, TX 78759-5709


 2.1057. State what the contract or                       End User License
         lease is for and the nature of                   Agreement - Not Dated
         the debtor's interest
                                                                                         NetApp
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1395 Crossman Avenue
             List the contract number of any                                             Sunnyvale, CA 94089
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 188 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 829 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1058. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Broadmoor Sport dated
         the debtor's interest                            07/12/2000
                                                                                         New Haven WG LLC
                  State the term remaining                Undetermined                   Broadmoor Towne Center LLC
                                                                                         1125 South 103rd Street
             List the contract number of any                                             Suite 450
                   government contract                                                   Omaha, NE 68124


 2.1059. State what the contract or                       Lessee for location at
         lease is for and the nature of                   346 Broadmoor Sport
         the debtor's interest                            dated 07/01/2000

                  State the term remaining                3/31/2025
                                                                                         New Haven WG LLC
             List the contract number of any                                             1892 Southgate Road
                   government contract                                                   Colorado Springs, CO 80906-2686


 2.1060. State what the contract or                       Sublessee for location
         lease is for and the nature of                   at 058 Puente Hills
         the debtor's interest                            Sport dated 03/01/2003

                  State the term remaining                1/31/2024                      Newage PHM, LLC
                                                                                         1600 S Azusa Avenue
             List the contract number of any                                             300
                   government contract                                                   City of Industry, CA 91748-1674


 2.1061. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Buena Park Sport dated
         the debtor's interest                            05/15/2007
                                                                                         NEWKOA LLC
                  State the term remaining                Undetermined                   Attn: Eric Choi
                                                                                         8308 On the Mall,
             List the contract number of any                                             3rd Floor, Suite 100
                   government contract                                                   Buena, CA 90620


 2.1062. State what the contract or                       Lessee for location at
         lease is for and the nature of                   855 Buena Park Sport
         the debtor's interest                            dated 06/30/2007

                  State the term remaining                5/31/2022                      NEWKOA LLC
                                                                                         8430 On the Mall
             List the contract number of any                                             Unit No. 250
                   government contract                                                   Buena Park, CA 90620-3218


 2.1063. State what the contract or                       Lease Agreement for            NewPark Mall, LP
         lease is for and the nature of                   Newark NewPark Mall            c/o Brookfield Properties (R), LLC
         the debtor's interest                            Super Sport dated              200 Vesey Street, 25th Floor
                                                          06/09/2017                     New York, NY 10281
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 189 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 830 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1064. State what the contract or                       Lessee for location at
         lease is for and the nature of                   875 Newark Newpark
         the debtor's interest                            Mall SS dated
                                                          06/10/2017
                  State the term remaining                6/30/2032
                                                                                         NewPark Mall, LP
             List the contract number of any                                             6000 Newpark Mall
                   government contract                                                   Newark, CA 94560-5205


 2.1065. State what the contract or                       Lessee for location at
         lease is for and the nature of                   647 Aliana Super Sport
         the debtor's interest

                  State the term remaining                Undetermined
                                                                                         NewQuest
             List the contract number of any                                             The Grand at Aliana
                   government contract                                                   Richmond, TX


 2.1066. State what the contract or                       Master Agreement
         lease is for and the nature of                   dated 12/01/2013
         the debtor's interest

                  State the term remaining                Potentially Expired            NFC Amenity Management
                                                                                         Attn: General Counsel
             List the contract number of any                                             501 Grand Avenue, L2
                   government contract                                                   Asbury Park, NJ 07712


 2.1067. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/01/2014

                  State the term remaining                Undetermined                   NFC Amenity Management
                                                                                         Attn: Robert Cancel
             List the contract number of any                                             501 Grand Avenue, L2
                   government contract                                                   Asbury Park, NJ 07719


 2.1068. State what the contract or                       Lessee for location at
         lease is for and the nature of                   872 Imperial
         the debtor's interest                            Marketplace Sport
                                                          dated 12/18/2009
                  State the term remaining                12/17/2024
                                                                                         NFF IMPERIAL LLC - V0000379526
             List the contract number of any                                             4345 Imperial Avenue
                   government contract                                                   San Diego, CA 92113-1962




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 190 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 831 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1069. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Imperial Marketplace
         the debtor's interest                            Sport dated 12/18/2009

                  State the term remaining                Undetermined                   NFF Imprerial, LLC
                                                                                         c/o Pacfic Development Partners
             List the contract number of any                                             501 Santa Monica Blvd., Suite 312
                   government contract                                                   Santa Monica, CA 90401


 2.1070. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Chula Vista Active
         the debtor's interest                            dated 06/01/1990

                  State the term remaining                Undetermined                   Nickie Investments, Inc.
                                                                                         c/o Parkstone Management Services
             List the contract number of any                                             3033 Fifth Avenue, Suite 225
                   government contract                                                   San Diego, CA 92103


 2.1071. State what the contract or                       Lessee for location at
         lease is for and the nature of                   102 Chula Vista Active
         the debtor's interest                            dated 06/01/1979

                  State the term remaining                5/31/2025
                                                                                         Nickie Investments, Inc.
             List the contract number of any                                             1660 Broadway
                   government contract                                                   Chula Vista, CA 91911-4856


 2.1072. State what the contract or                       Nintex Master
         lease is for and the nature of                   Subscription
         the debtor's interest                            Agreement dated
                                                          03/13/2018                     Nintex USA, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         10800 NE 8th Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Bellevue, WA 98004


 2.1073. State what the contract or                       Nintex Master
         lease is for and the nature of                   Subscription
         the debtor's interest                            Agreement dated
                                                          12/01/2017                     Nintex USA, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         10800 NE 8th Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Bellevue, WA 98004


 2.1074. State what the contract or                       Nintex Renewal Order
         lease is for and the nature of                   Form dated 11/30/2018
         the debtor's interest                                                           Nintex USA, Inc.
                                                                                         Attn: General Counsel
                  State the term remaining                Potentially Expired            10800 NE 8th Street
                                                                                         Suite 400
             List the contract number of any                                             Bellevue, WA 98004
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 191 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 832 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1075. State what the contract or                       Ninex USA, Inc. - Order
         lease is for and the nature of                   Form dated 11/30/2019
         the debtor's interest
                                                                                         Nintex USA, Inc.
                  State the term remaining                167 Days                       Attn: General Counsel
                                                                                         10800 NE 8th Street
             List the contract number of any                                             Suite 400
                   government contract                                                   Bellevue, WA 98004


 2.1076. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   North Hollywood Super
         the debtor's interest                            Sport dated 07/23/2011
                                                                                         NoHo Meadowridge Retail IX, LLC
                  State the term remaining                Undetermined                   c/o Athena Property Management
                                                                                         730 El Camino Way
             List the contract number of any                                             Ste 200
                   government contract                                                   Tustin, CA 92780


 2.1077. State what the contract or                       Lessee for location at
         lease is for and the nature of                   889 North Hollywood
         the debtor's interest                            Super Sport dated
                                                          07/23/2011
                  State the term remaining                7/31/2026                      NoHo Meadowridge Retail IX, LLC
                                                                                         5300 Lankershim Blvd
             List the contract number of any                                             100
                   government contract                                                   North Hollywood, CA 91601-3178


 2.1078. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Benjamin Holt Sport
         the debtor's interest                            dated 08/01/1998

                  State the term remaining                Undetermined
                                                                                         Norman H. Scheiner
             List the contract number of any                                             130 Throckmorton
                   government contract                                                   Mill Valley, CA 94941


 2.1079. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Pasadena Active dated
         the debtor's interest                            01/15/1992
                                                                                         North Halstead Associates, LLC
                  State the term remaining                715 Days                       c/o EverWest Real Estate Partners, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1099 18th Street
                   government contract                                                   Denver, CO 80202


 2.1080. State what the contract or                       Lease Agreement for       NORTH NATOMAS TOWN CENTER EAST, LLC
         lease is for and the nature of                   Sacramento Del Paso       c/o Lewis Management Corp.
         the debtor's interest                            (Pipeline) dated Based    Attn: Director of Property Managemern
                                                          on LL/Permit Delivery     1156 N. Mountain Avenue
Official Form 206G                               Schedule G: Executory Contracts andUpland,  CALeases
                                                                                     Unexpired  91785                     Page 192 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 833 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1081. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   North Richland Hills
         the debtor's interest                            Sport dated 08/14/2006
                                                                                         North Richland Fitness, LP
                  State the term remaining                Undetermined                   c/o Titus Properties LLC
                                                                                         1748 W Katella Avenue
             List the contract number of any                                             Suite 206
                   government contract                                                   Orange, CA 92867


 2.1082. State what the contract or                       Lessee for location at
         lease is for and the nature of                   886 Northgate Super
         the debtor's interest                            Sport dated 12/17/2010

                  State the term remaining                12/31/2025
                                                                                         NORTHGATE MALL PARTNERSHIP - V0000411250
             List the contract number of any                                             507 NE Northgate Way
                   government contract                                                   Seattle, WA 98125-6106


 2.1083. State what the contract or                       Lessee for location at
         lease is for and the nature of                   886 Northgate Super
         the debtor's interest                            Sport dated 12/17/2010

                  State the term remaining                12/31/2022
                                                                                         NORTHGATE MALL PARTNERSHIP - V0000411250
             List the contract number of any                                             507 NE Northgate Way
                   government contract                                                   Seattle, WA 98125-6106


 2.1084. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   North Point Active
         the debtor's interest                            dated 11/15/1992

                  State the term remaining                Undetermined                   NorthPoint Investors, Inc.
                                                                                         c/o Wilsey Bennett Co.
             List the contract number of any                                             235 Kansas Street, Suite 200
                   government contract                                                   San Francisco, CA 94103


 2.1085. State what the contract or                       Lessee for location at
         lease is for and the nature of                   439 Issaquah Black
         the debtor's interest                            Nugget Super Sport
                                                          dated 02/19/2010
                  State the term remaining                2/18/2025                      OB FRANK PROPERTIES LLC - V0000404540
                                                                                         5712 East Lake Sammamish Parkway SE
             List the contract number of any                                             200
                   government contract                                                   Issaquah, WA 98029-8914




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 193 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 834 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1086. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Issaquah Black Nugget
         the debtor's interest                            Rd SS dated 02/19/2010
                                                                                         OB Frank Properties, LLC
                  State the term remaining                Undetermined                   c/o Hansen Real Estate, LLC
                                                                                         5712 E Lake Sammamish Parkway SE
             List the contract number of any                                             #100
                   government contract                                                   Issaquah, WA 98029


 2.1087. State what the contract or                       Lessee for location at
         lease is for and the nature of                   284 Brick Sport
         the debtor's interest                            (CLOSED) dated
                                                          12/20/2014
                  State the term remaining                4/30/2023
                                                                                         OCEAN ICE PALACE - V0000414095
             List the contract number of any                                             193 Chambers Bridge Road
                   government contract                                                   Brick, NJ 08723-3400


 2.1088. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Ocean Ranch Sport
         the debtor's interest                            dated 05/03/2001
                                                                                         Ocean Ranch II, LLC
                  State the term remaining                2,084 Days                     c/o Shea Properties, Senior VP
                                                                                         Asset Management
             List the contract number of any                                             130 Vantis Suite 200
                   government contract                                                   Aliso Viejo, CA 92656


 2.1089. State what the contract or                       Lessee for location at
         lease is for and the nature of                   085 Ocean Ranch Sport
         the debtor's interest                            dated 03/18/2002

                  State the term remaining                2/28/2026                      Ocean Ranch II, LLC
                                                                                         32451 Golden Lantern, suite 100
             List the contract number of any                                             Suite 100
                   government contract                                                   Laguna Niguel, CA 92677-5344


 2.1090. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Fulton and Hurley
         the debtor's interest                            Sport dated 02/03/2006

                  State the term remaining                Undetermined
                                                                                         Ochoyuno Investment Company
             List the contract number of any                                             11150 Santa Monica Blvd., Suite 760
                   government contract                                                   Los Angeles, CA 90025


 2.1091. State what the contract or                       Lessee for location at
         lease is for and the nature of                   571 Fulton and Hurley
         the debtor's interest                            Sport dated 02/03/2006

                  State the term remaining                2/29/2024                      Ochoyuno Investment Company
                                                                                         1314 Fulton Avenue
             List the contract number of any                                             Sacramento, CA 95825-3604
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 194 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 835 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1092. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Bakersfield NW Active
         the debtor's interest                            dated 03/01/1989
                                                                                         Olive Drive Partners
                  State the term remaining                Undetermined                   Attn: Property Manager
                                                                                         3939 Bernard St.
             List the contract number of any                                             Suite 1
                   government contract                                                   Bakersfield, CA 93306


 2.1093. State what the contract or                       REVOCABLE SERVICE
         lease is for and the nature of                   AGREEMENT dated
         the debtor's interest                            03/25/2011
                                                                                         On-Site Commercial Services, Inc.
                  State the term remaining                Undetermined                   c/o On-Site Commercial Services, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             231 Market Place, Suite 334
                   government contract                                                   San Ramon, CA 94583


 2.1094. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/04/2015
                                                                                         On-Site Commercial Services, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         7567 Amador Valley Blvd.
             List the contract number of any                                             Suite 308
                   government contract                                                   Dublin, CA 94568


 2.1095. State what the contract or                       LANDSCAPING AND
         lease is for and the nature of                   PARKING LOT
         the debtor's interest                            MAINTENANCE
                                                          AGREEMENT dated
                                                          03/25/2011                     On-Site Commercial Services, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         231 Market Place
             List the contract number of any                                             Suite 334
                   government contract                                                   San Ramon, CA 94583


 2.1096. State what the contract or                       Landscaping and
         lease is for and the nature of                   Parking Lot
         the debtor's interest                            Maintenance
                                                          Agreement dated
                                                          03/25/2011                     On-Site Commercial Services, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         231 Market Place
             List the contract number of any                                             Suite 334
                   government contract                                                   San Ramon, CA 94583




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 195 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 836 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1097. State what the contract or                       REVOCABLE SERVICE
         lease is for and the nature of                   AGREEMENT dated
         the debtor's interest                            03/25/2011
                                                                                         On-Site Commercial Services, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         231 Market Place
             List the contract number of any                                             Suite 334
                   government contract                                                   San Ramon, CA 94583


 2.1098. State what the contract or                       REVOCABLE SERVICE
         lease is for and the nature of                   AGREEMENT dated
         the debtor's interest                            03/25/2011
                                                                                         On-Site Commercial Services, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         231 Market Place
             List the contract number of any                                             Suite 334
                   government contract                                                   San Ramon, CA 94583


 2.1099. State what the contract or                       REVOCABLE
         lease is for and the nature of                   SERVICES
         the debtor's interest                            AGREEMENT dated
                                                          03/25/2011                     On-Site Commercial Services, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         231 Market Place
             List the contract number of any                                             Suite 334
                   government contract                                                   San Ramon, CA 94583


 2.1100. State what the contract or                       REVOCABLE SERVICE
         lease is for and the nature of                   AGREEMENT dated
         the debtor's interest                            03/25/2011
                                                                                         On-Site Commercial Services, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         231 Market Place
             List the contract number of any                                             Suite 334
                   government contract                                                   San Ramon, CA 94583


 2.1101. State what the contract or                       REVOCABLE SERVICE
         lease is for and the nature of                   AGREEMENT dated
         the debtor's interest                            03/25/2011
                                                                                         On-Site Commercial Services, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         231 Market Place
             List the contract number of any                                             Suite 334
                   government contract                                                   San Ramon, CA 94583


 2.1102. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/01/2012                     On-Site Commercial Services, Inc.
                                                                                         Attn: General Counsel
                  State the term remaining                Undetermined                   231 Market Place
                                                                                         Suite 334
             List the contract number of any                                             San Ramon, CA 94583
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 196 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 837 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1103. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            01/01/2013
                                                                                         On-Site Commercial Services, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         231 Market Place
             List the contract number of any                                             Suite 334
                   government contract                                                   San Ramon, CA 94583


 2.1104. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/01/2012
                                                                                         On-Site Commercial Services, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         231 Market Place
             List the contract number of any                                             Suite 334
                   government contract                                                   San Ramon, CA 94583


 2.1105. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/01/2012
                                                                                         On-Site Commercial Services, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         231 Market Place
             List the contract number of any                                             Suite 334
                   government contract                                                   San Ramon, CA 94583


 2.1106. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/04/2015
                                                                                         On-Site Commercial Services, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         231 Market Place
             List the contract number of any                                             Suite 334
                   government contract                                                   San Ramon, CA 94583


 2.1107. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            01/01/2015

                  State the term remaining                Potentially Expired            On-Site Upholstery, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             5930 Running Hill Avenue
                   government contract                                                   Livermore, CA 94551


 2.1108. State what the contract or                       Lessee for location at
         lease is for and the nature of                   920 Ontario Super              ONTARIO RETAIL PARTNERS - V0000372921
         the debtor's interest                            Sport dated 06/19/2009         2580 S. Archibald Avenue
                                                                                         Ontario, CA 91761-6503
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 197 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 838 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                6/22/2024

             List the contract number of any
                   government contract


 2.1109. State what the contract or                       Lessee for location at
         lease is for and the nature of                   920 Ontario Super
         the debtor's interest                            Sport dated 06/19/2009

                  State the term remaining                8/24/2024
                                                                                         ONTARIO RETAIL PARTNERS - V0000372921
             List the contract number of any                                             2580 S. Archibald Avenue
                   government contract                                                   Ontario, CA 91761-6503


 2.1110. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Ontario Super Sport
         the debtor's interest                            dated 06/23/2009

                  State the term remaining                Undetermined                   Ontario Retal Partnres, LLC
                                                                                         227 20th Street
             List the contract number of any                                             Suite 100
                   government contract                                                   Newport Beach, CA 92663


 2.1111. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement and EULA
         the debtor's interest                            dated 03/21/2004
                                                                                         Open Text Corporation
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         185 Columbia Street
             List the contract number of any                                             Waterloo ON N2L 5Z5
                   government contract                                                   Canada


 2.1112. State what the contract or                       Open Text Corporation
         lease is for and the nature of                   Agreement File
         the debtor's interest                            Summary (Master
                                                          Services Agreement)
                                                          dated 03/21/2004               Open Text Corporation
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         185 Columbia Street
             List the contract number of any                                             Waterloo ON N2L 5Z5
                   government contract                                                   Canada


 2.1113. State what the contract or                       SUPPLY AGREEMENT
         lease is for and the nature of                   dated 01/01/2011
         the debtor's interest

                  State the term remaining                Potentially Expired            Optimum Nutrition, Inc.
                                                                                         Attn: CFO
             List the contract number of any                                             700 North Commerce Street
                   government contract                                                   Aurora, IL 60504


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 198 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 839 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1114. State what the contract or                       Time and Materials
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/09/2006

                  State the term remaining                Undetermined                   Oracle
                                                                                         Attn: General Counsel
             List the contract number of any                                             3030 Orchard Parkway
                   government contract                                                   San Jose, CA 95134


 2.1115. State what the contract or                       Learning Credits Order
         lease is for and the nature of                   Letter dated 12/31/2006
         the debtor's interest

                  State the term remaining                Potentially Expired            Oracle
                                                                                         Attn: General Counsel
             List the contract number of any                                             3030 Orchard Parkway
                   government contract                                                   San Jose, CA 95134


 2.1116. State what the contract or                       Oracle Cloud Services
         lease is for and the nature of                   Agreement and
         the debtor's interest                            Amendment dated
                                                          05/24/2016
                  State the term remaining                Undetermined                   Oracle America, Inc.
                                                                                         Attn: Accounts Receivable
             List the contract number of any                                             PO Box 44471
                   government contract                                                   San Francisco, CA 94144-4471


 2.1117. State what the contract or                       Order to Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/02/2013

                  State the term remaining                Potentially Expired            Oracle America, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             PO Box 44471
                   government contract                                                   San Francisco, CA 94144-4471


 2.1118. State what the contract or                       Engagement Contract
         lease is for and the nature of                   dated 05/14/2003
         the debtor's interest
                                                                                         Oracle Corporation
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         222 North Sepulveda Boulevard
             List the contract number of any                                             Suite 2300
                   government contract                                                   El Segundo, CA 90245


 2.1119. State what the contract or                       Software License dated
         lease is for and the nature of                   05/30/2003
         the debtor's interest                                                           Oracle Corporation
                                                                                         Attn: Viken Eldemir
                  State the term remaining                Potentially Expired            10 Twin Dolphin Drive
                                                                                         MS OPL 5
             List the contract number of any                                             Redwood Shores, CA 94065
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 199 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 840 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1120. State what the contract or                       Software License and
         lease is for and the nature of                   Services Agreement
         the debtor's interest                            dated 02/26/1998

                  State the term remaining                Undetermined                   Oracle Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             500 Oracle Parkway
                   government contract                                                   Redwood Shores, CA 94065


 2.1121. State what the contract or                       Agreement License
         lease is for and the nature of                   Summary - Not Dated
         the debtor's interest

                  State the term remaining                Undetermined                   Oracle Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             1001 Sunset Blvd.
                   government contract                                                   Rocklin, CA 95765


 2.1122. State what the contract or                       Oracle Corporation -
         lease is for and the nature of                   Not Dated
         the debtor's interest

                  State the term remaining                Undetermined                   Oracle Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             1001 Sunset Blvd.
                   government contract                                                   Rocklin, CA 95765


 2.1123. State what the contract or                       Oracle Licenses dated
         lease is for and the nature of                   02/28/2019
         the debtor's interest

                  State the term remaining                Undetermined                   Oracle Corporation
                                                                                         Attn: Licence Management Services
             List the contract number of any                                             Oracle Parkway
                   government contract                                                   Redwood Shores, CA 94065


 2.1124. State what the contract or                       Staffing Order dated
         lease is for and the nature of                   01/16/2006
         the debtor's interest

                  State the term remaining                Potentially Expired            Oracle USA, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             500 Oracle Parkway
                   government contract                                                   Redwood Shores, CA 94065


 2.1125. State what the contract or                       Staffing Order dated           Oracle USA, Inc.
         lease is for and the nature of                   03/13/2006                     Attn: General Counsel
         the debtor's interest                                                           500 Oracle Parkway
                                                                                         Redwood Shores, CA 94065
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 200 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 841 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.1126. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Orange Sport dated
         the debtor's interest                            05/15/2002
                                                                                         Orange Center Tower Owner LLC
                  State the term remaining                Undetermined                   c/o LPC West, Inc.
                                                                                         Attn: Property Manager
             List the contract number of any                                             500 N. State College Blvd
                   government contract                                                   Orange, CA 92868


 2.1127. State what the contract or                       Lessee for location at
         lease is for and the nature of                   063 Orange Sport dated
         the debtor's interest                            02/01/2003

                  State the term remaining                5/14/2027
                                                                                         Orange Center Tower Owner LLC
             List the contract number of any                                             3600 West Orangewood Avenue
                   government contract                                                   Orange, CA 92868-1607


 2.1128. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Tualatin Super Sport
         the debtor's interest                            dated 12/19/2003

                  State the term remaining                Undetermined                   Oregon DPP, LLC
                                                                                         227 20th Street
             List the contract number of any                                             Suite 100
                   government contract                                                   Newport Beach, CA 92663


 2.1129. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   The Pearl Sport dated
         the debtor's interest                            04/21/2004

                  State the term remaining                Undetermined                   Oregon DPP, LLC
                                                                                         227 20th Street
             List the contract number of any                                             Suite 100
                   government contract                                                   Newport Beach, CA 92663


 2.1130. State what the contract or                       Lessee for location at
         lease is for and the nature of                   562 The Pearl Sport
         the debtor's interest                            dated 06/01/1997

                  State the term remaining                6/30/2031
                                                                                         Oregon DPP, LLC
             List the contract number of any                                             1210 NW Johnson Street
                   government contract                                                   Portland, OR 97209-3011




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 201 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 842 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1131. State what the contract or                       Lessee for location at
         lease is for and the nature of                   491 Tualatin Super
         the debtor's interest                            Sport dated 12/12/2003

                  State the term remaining                6/30/2031
                                                                                         Oregon DPP, LLC
             List the contract number of any                                             17942 SW McEwan Road
                   government contract                                                   Tigard, OR 97224-7206


 2.1132. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Castle Rock Super
         the debtor's interest                            Sport dated 05/13/2017

                  State the term remaining                Undetermined                   Orris Family LLC
                                                                                         6295 Greenwood Plaza Boulevard
             List the contract number of any                                             Suite 120
                   government contract                                                   Greenwood Village, CO 80111


 2.1133. State what the contract or                       Lessee for location at
         lease is for and the nature of                   384 Castle Rock Super
         the debtor's interest                            Sport dated 05/13/2017

                  State the term remaining                5/31/2032
                                                                                         Orris Family LLC
             List the contract number of any                                             5745 New Abbey Lane
                   government contract                                                   Castle Rock, CO 80108


 2.1134. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Anaheim Hills Sport
         the debtor's interest                            dated 04/01/2000

                  State the term remaining                1,568 Days                     OTR
                                                                                         Vestar Property Management
             List the contract number of any                                             8020 E. Santa Ana Canyon Road
                   government contract                                                   Anaheim, CA 92808


 2.1135. State what the contract or                       Letter Agreement dated
         lease is for and the nature of                   08/18/2014
         the debtor's interest
                                                                                         Outsource Technical SD LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         2 Corporate Plaza Drive
             List the contract number of any                                             Suite 125
                   government contract                                                   Newport Beach, CA 92660


 2.1136. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Aliso Viejo Active dated
         the debtor's interest                            12/06/1993                     Oxford Spectrum Wilson
                                                                                         c/o Essex Realty Management, Inc.
                  State the term remaining                Undetermined                   Attn: Property Management
                                                                                         17744 Sky Park Circle
             List the contract number of any                                             Irvine, CA 92614
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 202 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 843 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1137. State what the contract or                       Lessee for location at
         lease is for and the nature of                   158 Aliso Viejo Active
         the debtor's interest                            dated 05/01/1993

                  State the term remaining                12/5/2028                      Oxford Spectrum Wilson
                                                                                         27141 Aliso Creek Road
             List the contract number of any                                             #100
                   government contract                                                   Aliso Viejo, CA 92656-3357


 2.1138. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Manteca Sport dated
         the debtor's interest                            10/19/1995
                                                                                         Pacific Resources Associates
                  State the term remaining                Undetermined                   Pacific Realty Associates, LP
                                                                                         Attn: GC/Tenant Code, 24hou535
             List the contract number of any                                             15350 S.W. Sequoia Parkway, Suite 300
                   government contract                                                   Portland, OR 97224


 2.1139. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Solana Beach Active
         the debtor's interest                            dated 09/08/2004
                                                                                         Pacific Solana Beach Holdings, L.P.
                  State the term remaining                3,394 Days                     c/o American Assets Trust Management LLC
                                                                                         Attn: Charise McLaughlin
             List the contract number of any                                             11455 El Camino Real, Suite 200
                   government contract                                                   San Diego, CA 92130


 2.1140. State what the contract or                       Lessee for location at
         lease is for and the nature of                   174 Solana Beach
         the debtor's interest                            Active dated 09/08/2004

                  State the term remaining                9/30/2029
                                                                                         Pacific Solana Beach Holdings, L.P.
             List the contract number of any                                             975 Lomas Santa Fe Drive
                   government contract                                                   Solana Beach, CA 92075-2125


 2.1141. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Walnut Amar Road
         the debtor's interest                            dated 07/15/2017
                                                                                         PacWal, LLC
                  State the term remaining                Undetermined                   c/o Pacific Properties
                                                                                         Attn: Edward S. Franklin
             List the contract number of any                                             12100 Wilshire Blvd Ste 1025
                   government contract                                                   Los Angeles, CA 90025


 2.1142. State what the contract or                       Lessee for location at
         lease is for and the nature of                   934 Walnut Super Sport         PacWal, LLC
         the debtor's interest                            dated 07/15/2017               18730 Amar Road
                                                                                         Walnut, CA 91789-4166
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 203 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 844 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                7/31/2032

             List the contract number of any
                   government contract


 2.1143. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Clackamas Super Sport
         the debtor's interest                            dated 01/27/2007
                                                                                         Palms 24, LLC
                  State the term remaining                Undetermined                   c/o Doug Bean & Associates
                                                                                         1650 NW Naito Parkway
             List the contract number of any                                             Suite 302
                   government contract                                                   Portland, OR 97209


 2.1144. State what the contract or                       Lessee for location at
         lease is for and the nature of                   954 Clackamas Super
         the debtor's interest                            Sport dated 12/30/2006

                  State the term remaining                1/31/2031
                                                                                         Palms 24, LLC
             List the contract number of any                                             8720 SE Sunnybrook Blvd.
                   government contract                                                   Clackamas, OR 97015-5731


 2.1145. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Dallas Regional Office
         the debtor's interest                            dated 11/01/2012
                                                                                         Palomar Fitness Partner LP
                  State the term remaining                Undetermined                   Saskaway Six, LP
                                                                                         14275 Midway Rd.
             List the contract number of any                                             Suite 160
                   government contract                                                   Addison, TX 75001


 2.1146. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Carlsbad Palomar
         the debtor's interest                            Airport Sport dated
                                                          09/01/2007
                  State the term remaining                Undetermined                   Palomar Fitness Partner Lp
                                                                                         c/o Pacific Development Partners
             List the contract number of any                                             11601 Wilshire Boulevard, Suite 2110
                   government contract                                                   Los Angeles, CA 90025


 2.1147. State what the contract or                       Lessee for location at
         lease is for and the nature of                   024 Carlsbad Sport
         the debtor's interest                            dated 08/31/2007

                  State the term remaining                8/31/2032                      PALOMAR FITNESS PARTNER LP
                                                                                         1265 Laurel Tree Lane
             List the contract number of any                                             Suite 100
                   government contract                                                   Carlsbad, CA 92011-4221




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 204 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 845 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1148. State what the contract or                       Lessee for location at
         lease is for and the nature of                   024 Carlsbad Sport
         the debtor's interest                            dated 08/31/2007

                  State the term remaining                9/30/2020                      PALOMAR FITNESS PARTNER LP
                                                                                         1265 Laurel Tree Lane
             List the contract number of any                                             Suite 100
                   government contract                                                   Carlsbad, CA 92011-4221


 2.1149. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Panorama City Active
         the debtor's interest                            dated 05/15/1993
                                                                                         Panorama Capital, L.P.
                  State the term remaining                1,811 Days                     c/o Safeco Capital
                                                                                         1850 S. Sepulveda Blvd.
             List the contract number of any                                             #200
                   government contract                                                   Los Angeles, CA 90025


 2.1150. State what the contract or                       Lessee for location at
         lease is for and the nature of                   145 Panorama City
         the debtor's interest                            Active dated 11/01/1992

                  State the term remaining                5/31/2025
                                                                                         Panorama Capital, L.P.
             List the contract number of any                                             8350 Van Nuys Blvd
                   government contract                                                   Panorama City, CA 91402-3608


 2.1151. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Orlando Park Square
         the debtor's interest                            Super Sport dated
                                                          08/27/2019
                  State the term remaining                Undetermined                   Park Square UCF, LLC
                                                                                         5200 Vineland Road
             List the contract number of any                                             Suite 200
                   government contract                                                   Orlando, FL 32811


 2.1152. State what the contract or                       Lessee for location at
         lease is for and the nature of                   619 Orlando Park
         the debtor's interest                            Square Super Sport
                                                          dated 08/10/2019
                  State the term remaining                8/31/2034
                                                                                         Park Square UCF, LLC
             List the contract number of any                                             12187 E. Colonial Drive
                   government contract                                                   Orlando, FL 32826-4707


 2.1153. State what the contract or                       Client Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            11/08/2017                     Parker & Lynch
                                                                                         Attn: General Counsel
                  State the term remaining                Undetermined                   9191 Towne Center Drive
                                                                                         Suite 1700
             List the contract number of any                                             San Diego, CA 92122
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 205 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 846 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1154. State what the contract or                       Client Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            11/04/2013
                                                                                         Parker & Lynch
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         9171 Towne Center Drive
             List the contract number of any                                             Suite 215
                   government contract                                                   San Diego, CA 92103


 2.1155. State what the contract or                       Client Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/01/2016
                                                                                         Parker & Lynch
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         9171 Towne Center Drive
             List the contract number of any                                             Suite 215
                   government contract                                                   San Diego, CA 92122


 2.1156. State what the contract or                       Client Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            06/01/2016

                  State the term remaining                Potentially Expired            Parker & Lynch
                                                                                         Attn: General Counsel
             List the contract number of any                                             44 Montgomery Street, Suite 1950
                   government contract                                                   San Francisco, CA 94104


 2.1157. State what the contract or                       Client Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            06/17/2016

                  State the term remaining                Potentially Expired            Parker & Lynch
                                                                                         Attn: General Counsel
             List the contract number of any                                             44 Montgomery Street, Suite 1950
                   government contract                                                   San Francisco, CA 94104


 2.1158. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   East Plano Super Sport
         the debtor's interest                            dated 12/07/2019
                                                                                         Parker Central Plaza Ltd
                  State the term remaining                Undetermined                   Dalsan Property
                                                                                         Attn: Wayne Nash
             List the contract number of any                                             2001 Preston Rd.
                   government contract                                                   Plano, TX 75093


 2.1159. State what the contract or                       Lessee for location at
         lease is for and the nature of                   390 East Plano Super           Parker Central Plaza, Ltd
         the debtor's interest                            Sport dated 12/07/2019         3300 N Central Expressway, Suite A
                                                                                         Plano, TX 75074
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 206 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 847 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                6/30/2035

             List the contract number of any
                   government contract


 2.1160. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Molasky Active dated
         the debtor's interest                            07/28/2007
                                                                                         Parkway Center, LLC
                  State the term remaining                Undetermined                   c/o Molasky Corporate Center
                                                                                         100 City Parkway
             List the contract number of any                                             Suite 140
                   government contract                                                   Las Vegas, NV 89106


 2.1161. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Annapolis Riva Rd.
         the debtor's interest                            Super Sport dated
                                                          09/25/2009                     Parole Holding LLC
                  State the term remaining                Undetermined                   Annapolis Towne Center at Parole LLC
                                                                                         c/o PGIM Real Estate
             List the contract number of any                                             Attn: Michael Harrington
                   government contract                                                   Madison, NJ 07940


 2.1162. State what the contract or                       Enterprise Enrollment
         lease is for and the nature of                   (Direct) - Not Dated
         the debtor's interest

                  State the term remaining                Undetermined                   PC Mall Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1940 E. Mariposa Ave
                   government contract                                                   El Segundo, CA 90245


 2.1163. State what the contract or                       PCM Sales Reseller
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/14/2019

                  State the term remaining                Undetermined                   PCM Sales
                                                                                         Attn: General Counsel
             List the contract number of any                                             19 Morgan
                   government contract                                                   Irvine, CA 92618


 2.1164. State what the contract or                       PCM Reseller
         lease is for and the nature of                   Agreement Prepay
         the debtor's interest                            dated 08/14/2019

                  State the term remaining                Undetermined                   PCM Sales
                                                                                         Attn: General Counsel
             List the contract number of any                                             19 Morgan
                   government contract                                                   Irvine, CA 92618




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 207 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 848 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1165. State what the contract or                       Reseller Agreement
         lease is for and the nature of                   dated 12/20/2016
         the debtor's interest

                  State the term remaining                Undetermined                   PCM Sales, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1940 E. Mariposa Ave.
                   government contract                                                   El Segundo, CA 90245


 2.1166. State what the contract or                       Reseller Agreement
         lease is for and the nature of                   dated 12/20/2016
         the debtor's interest

                  State the term remaining                Undetermined                   PCM Sales, Inc.
                                                                                         Attn: Legal Counsel c/o Karen Montenegro
             List the contract number of any                                             1940 E. Mariposa Ave
                   government contract                                                   El Segundo, CA 90245


 2.1167. State what the contract or                       Reseller Agreement
         lease is for and the nature of                   dated 12/20/2016
         the debtor's interest

                  State the term remaining                Undetermined                   PCM Sales, Inc.
                                                                                         Attn: Legal Counsel c/o Karen Montenegro
             List the contract number of any                                             1940 E. Mariposa Ave
                   government contract                                                   El Segundo, CA 90245


 2.1168. State what the contract or                       Product Purchase
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/30/2013
                                                                                         PCM/Sarcom
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         4995 Murphy Canyon Road
             List the contract number of any                                             Suite 300
                   government contract                                                   San Diego, CA 92123


 2.1169. State what the contract or                       Volume Licensing
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/16/2013
                                                                                         PCM/Sarcom
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         4995 Murphy Canyon Road
             List the contract number of any                                             Suite 300
                   government contract                                                   San Diego, CA 92123


 2.1170. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Fontana Super Sport
         the debtor's interest                            dated 04/01/2013               PCW Properties
                                                                                         c/o Milan Capital Management
                  State the term remaining                Undetermined                   888 S. Disneyland Drive
                                                                                         Suite 101
             List the contract number of any                                             Anaheim, CA 92802
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 208 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 849 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1171. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Regional Training
         the debtor's interest                            Center dated
                                                          04/01/2013                     PCW Properties
                  State the term remaining                3,241 Days                     c/o Milan Capital Management
                                                                                         888 S. Disneyland Drive
             List the contract number of any                                             Suite 101
                   government contract                                                   Anaheim, CA 92802


 2.1172. State what the contract or                       Lessee for location at
         lease is for and the nature of                   923 Fontana Super
         the debtor's interest                            Sport dated 04/20/2013

                  State the term remaining                4/30/2029
                                                                                         PCW Properties
             List the contract number of any                                             17204 Slover Avenue
                   government contract                                                   Fontana, CA 92337-7536


 2.1173. State what the contract or                       Sponsorship
         lease is for and the nature of                   agreement dated
         the debtor's interest                            05/14/2019
                                                                                         PDB Sports, Ltd
                  State the term remaining                Potentially Expired            c/o Stadium Management Company, LLC
                                                                                         Attn: Joe Ellis, President/CEO
             List the contract number of any                                             13655 Broncos Parkway
                   government contract                                                   Englewood, CO 80112


 2.1174. State what the contract or                       Sponsorship
         lease is for and the nature of                   agreement dated
         the debtor's interest                            05/14/2019

                  State the term remaining                Undetermined                   PDB Sports, Ltd
                                                                                         Attn: General Counsel
             List the contract number of any                                             13655 Broncos Parkway
                   government contract                                                   Englewood, CO 80112


 2.1175. State what the contract or                       Lessee for location at
         lease is for and the nature of                   080 Oceanside Sport
         the debtor's interest                            dated 09/01/2002

                  State the term remaining                10/15/2021
                                                                                         PDO Venture, LLC
             List the contract number of any                                             4655 Frazee Blvd.
                   government contract                                                   Oceanside, CA 92057-6100


 2.1176. State what the contract or                       Lessee for location at
         lease is for and the nature of                   080 Oceanside Sport            PDO Venture, LLC
         the debtor's interest                            dated 09/01/2002               4655 Frazee Blvd.
                                                                                         Oceanside, CA 92057-6100
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 209 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 850 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                10/15/2021

             List the contract number of any
                   government contract


 2.1177. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Foothill Ranch Sport
         the debtor's interest                            dated 11/22/2000

                  State the term remaining                Undetermined                   Peak Holdings, LLC
                                                                                         9595 Wilshire Blvd
             List the contract number of any                                             Ste 700
                   government contract                                                   Beverly Hills, CA 90212


 2.1178. State what the contract or                       Lessee for location at
         lease is for and the nature of                   073 Foothill Ranch
         the debtor's interest                            Sport dated 09/01/2001

                  State the term remaining                11/21/2025
                                                                                         Peak Holdings, LLC
             List the contract number of any                                             26781 Rancho Parkway
                   government contract                                                   Lake Forest, CA 92630-8706


 2.1179. State what the contract or                       Lessee for location at
         lease is for and the nature of                   073 Foothill Ranch
         the debtor's interest                            Sport dated 09/01/2001

                  State the term remaining                11/21/2025
                                                                                         Peak Holdings, LLC
             List the contract number of any                                             26781 Rancho Parkway
                   government contract                                                   Lake Forest, CA 92630-8706


 2.1180. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Pembroke Pines Sport
         the debtor's interest                            dated 07/01/2006
                                                                                         Pembroke Miami Fitness, LP
                  State the term remaining                Undetermined                   c/o Titus Properties
                                                                                         1748 W Katella Avenue
             List the contract number of any                                             Suite 206
                   government contract                                                   Orange, CA 92867


 2.1181. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Victorville (Pipeline)
         the debtor's interest                            dated Based on
                                                          LL/Permit Delivery
                  State the term remaining                Undetermined
                                                                                         Peninsula Retail Partners IV, LLC
             List the contract number of any                                             417 29th Street
                   government contract                                                   Newport Beach, CA 92663




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 210 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 851 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1182. State what the contract or                       Software License and
         lease is for and the nature of                   Services Agreement
         the debtor's interest                            dated 04/09/2001
                                                                                         PeopleSoft USA, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         2010 Main Street
             List the contract number of any                                             Suite 450
                   government contract                                                   Irvine, CA 92614


 2.1183. State what the contract or                       Software License and
         lease is for and the nature of                   Services Agreement
         the debtor's interest                            dated 12/23/1997
                                                                                         PepopleSoft, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         4305 Hacienda Drive
             List the contract number of any                                             PO Box 9085
                   government contract                                                   Pleasanton, CA 94566


 2.1184. State what the contract or                       Package Beverage
         lease is for and the nature of                   Product and Equipment
         the debtor's interest                            Placement Agreement
                                                          dated 04/27/2016
                  State the term remaining                230 Days                       Pepsi-Cola Advertising & Marketing, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             700 Anderson Hill Road
                   government contract                                                   Purchase, NY 10577


 2.1185. State what the contract or                       Bubly Amendment
         lease is for and the nature of                   dated 01/01/2018
         the debtor's interest

                  State the term remaining                Undetermined                   Pepsi-Cola Advertising & Marketing, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             700 Anderson Hill Road
                   government contract                                                   Purchase, NY 10577


 2.1186. State what the contract or                       Bubly Amendment
         lease is for and the nature of                   dated 01/01/2018
         the debtor's interest

                  State the term remaining                Undetermined                   Pepsi-Cola Advertising & Marketing, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             700 Anderson Hill Road
                   government contract                                                   Purchase, NY 10577


 2.1187. State what the contract or                       Amended and Restated
         lease is for and the nature of                   Perceptive Software
         the debtor's interest                            Standard Master
                                                          Agreement dated                Perceptive Software LLC
                                                          03/21/2013                     Attn: General Counsel
                  State the term remaining                Undetermined                   22701 West 68th Terrace
                                                                                         Shawnee, KS 66226
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 211 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 852 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.1188. State what the contract or                       Software License
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/31/2006

                  State the term remaining                Undetermined                   Percussion Software, Inc.
                                                                                         Attn: Contracts Manager
             List the contract number of any                                             600 Unicorn Park Drive
                   government contract                                                   Woburn, MA 01801


 2.1189. State what the contract or                       PERCUSSION
         lease is for and the nature of                   SOFTWARE, INC.
         the debtor's interest                            AGREEMENT FILE
                                                          SUMMARY dated
                                                          03/31/2006
                  State the term remaining                Undetermined                   Percussion Software, Inc.
                                                                                         Attn: Contracts Manager
             List the contract number of any                                             600 Unicorn Park Drive
                   government contract                                                   Woburn, MA 01801


 2.1190. State what the contract or                       Renewal Proposal and
         lease is for and the nature of                   Order Confirmation for
         the debtor's interest                            IBM Watson Expereince
                                                          Analytics dated
                                                          03/01/2018
                  State the term remaining                Undetermined                   Pereion Solutions, LLC
                                                                                         Attn: Contracts Manager
             List the contract number of any                                             600 Unicorn Park Drive
                   government contract                                                   Woburn, MA 01801


 2.1191. State what the contract or                       Standard Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/08/2019

                  State the term remaining                Undetermined                   Pereion Solutions, LLC
                                                                                         Attn: Contracts Manager
             List the contract number of any                                             600 Unicorn Park Drive
                   government contract                                                   Woburn, MA 01801


 2.1192. State what the contract or                       Proposal and Order
         lease is for and the nature of                   Confirmation for
         the debtor's interest                            Watson CXA/Tealeaf
                                                          License Extension
                                                          dated 09/01/2019
                  State the term remaining                Potentially Expired            Pereion Solutions, LLC
                                                                                         Attn: Contracts Manager
             List the contract number of any                                             600 Unicorn Park Drive
                   government contract                                                   Woburn, MA 01801


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 212 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 853 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1193. State what the contract or                       Proposal and Order
         lease is for and the nature of                   Confirmation for
         the debtor's interest                            Acoustic Analytics
                                                          Renewal dated
                                                          12/01/2019
                  State the term remaining                Undetermined                   Pereion Solutions, LLC
                                                                                         Attn: Contracts Manager
             List the contract number of any                                             600 Unicorn Park Drive
                   government contract                                                   Woburn, MA 01801


 2.1194. State what the contract or                       Standard Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            01/25/2016

                  State the term remaining                Undetermined                   Pereion Solutions, LLC
                                                                                         Attn: Contracts Manager
             List the contract number of any                                             600 Unicorn Park Drive
                   government contract                                                   Woburn, MA 01801


 2.1195. State what the contract or                       Standard Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/24/2016

                  State the term remaining                Undetermined                   Pereion Solutions, LLC
                                                                                         Attn: Contracts Manager
             List the contract number of any                                             600 Unicorn Park Drive
                   government contract                                                   Woburn, MA 01801


 2.1196. State what the contract or                       Standard Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/01/2016

                  State the term remaining                Undetermined                   Pereion Solutions, LLC
                                                                                         Attn: Contracts Manager
             List the contract number of any                                             600 Unicorn Park Drive
                   government contract                                                   Woburn, MA 01801


 2.1197. State what the contract or                       Standard Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            01/31/2017

                  State the term remaining                Undetermined                   Pereion Solutions, LLC
                                                                                         Attn: Contracts Manager
             List the contract number of any                                             600 Unicorn Park Drive
                   government contract                                                   Woburn, MA 01801


 2.1198. State what the contract or                       Standard Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/22/2019                     Pereion Solutions, LLC
                                                                                         Attn: Contracts Manager
                  State the term remaining                Potentially Expired            600 Unicorn Park Drive
                                                                                         Woburn, MA 01801
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 213 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 854 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.1199. State what the contract or                       Agreement for Acoustic
         lease is for and the nature of                   Software as a Service
         the debtor's interest                            Products dated
                                                          12/10/2019
                  State the term remaining                Undetermined                   Pereion Solutions, LLC
                                                                                         Attn: Steven Perry
             List the contract number of any                                             34 Gould Street
                   government contract                                                   Reading, MA 01867


 2.1200. State what the contract or                       Agreement for Acoustic
         lease is for and the nature of                   Software as a Service
         the debtor's interest                            Products - Not Dated

                  State the term remaining                Undetermined                   Pereion Solutions, LLC
                                                                                         Attn: Steven Perry
             List the contract number of any                                             34 Gould Street
                   government contract                                                   Reading, MA 01867


 2.1201. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Santa Clara (Pipeline)
         the debtor's interest                            dated Based on
                                                          LL/Permit Delivery             Pero and Anka Margaretic and Trust Ent.
                  State the term remaining                Undetermined                   c/o Maryanne Margaretic
                                                                                         335 Main Street
             List the contract number of any                                             Suite A
                   government contract                                                   Los Angeles, CA 94022


 2.1202. State what the contract or                       Le: Master Product and
         lease is for and the nature of                   Services Agreement
         the debtor's interest                            dated 06/07/2019
                                                                                         Petra Hygienic Systems International Lim
                  State the term remaining                Undetermined                   Attn: Matthew Anderson
                                                                                         86 Moyal Court
             List the contract number of any                                             Concord ON L4K 4R8
                   government contract                                                   Canada


 2.1203. State what the contract or                       Master Product and
         lease is for and the nature of                   Services Agreement
         the debtor's interest                            dated 10/01/2013
                                                                                         Petra Hygienic Systems International Lim
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         86 Moyal Court
             List the contract number of any                                             Concord ON L4K 4R8
                   government contract                                                   Canada




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 214 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 855 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1204. State what the contract or                       Master Product and
         lease is for and the nature of                   Services Agreement
         the debtor's interest                            dated 10/01/2013
                                                                                         Petra Hygienic Systems International Lim
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         86 Moyal Court
             List the contract number of any                                             Concord ON L4K 4R8
                   government contract                                                   Canada


 2.1205. State what the contract or                       General Liability
         lease is for and the nature of                   Endorsement - Not
         the debtor's interest                            Dated
                                                                                         Philadelphia Indemnity Insurance Company
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1 Bala Cynwyd
             List the contract number of any                                             Suite 100
                   government contract                                                   Bala Cynwyd, PA 19004


 2.1206. State what the contract or                       General Liability Deluxe
         lease is for and the nature of                   Endorsement - Not
         the debtor's interest                            Dated
                                                                                         Philadelphia Indemnity Insurance Company
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1 Bala Cynwyd
             List the contract number of any                                             Suite 100
                   government contract                                                   Bala Cynwyd, PA 19004


 2.1207. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Pomona (Pipeline)
         the debtor's interest                            dated Based on
                                                          LL/Permit Delivery
                  State the term remaining                Undetermined
                                                                                         Phillips Ranch Business Center LLC
             List the contract number of any                                             9680 Flair Dr.
                   government contract                                                   El Monte, CA 91731


 2.1208. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Metro Parkway Sport
         the debtor's interest                            (Assigned) dated
                                                          09/14/2007                     Phoenix Metro Center Fitness LP
                  State the term remaining                837 Days                       J Michael Moore / Titus Properties LLC
                                                                                         1748 W Katella Avenue
             List the contract number of any                                             Suite 206
                   government contract                                                   Orange, CA 92867


 2.1209. State what the contract or                       Lessee for location at
         lease is for and the nature of                   861 Metro Parkway
         the debtor's interest                            Sport (CLOSED) dated
                                                          09/14/2007
                  State the term remaining                9/30/2022                      PHOENIX METRO CENTER FITNESS LP
                                                                                         10046 N. Metro Parkway
             List the contract number of any                                             Phoenix, AZ 85051-1437
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 215 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 856 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1210. State what the contract or                       Lessee for location at
         lease is for and the nature of                   848 Centennial Super
         the debtor's interest                            Sport dated 04/16/2010

                  State the term remaining                8/15/2035
                                                                                         Pine Castle, NV
             List the contract number of any                                             6830 E County Line Road
                   government contract                                                   Highlands Ranch, CO 80126-3906


 2.1211. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Centennial Super Sport
         the debtor's interest                            dated 04/16/2010

                  State the term remaining                Undetermined
                                                                                         Pine Castle, NV
             List the contract number of any                                             72 Beverly Park
                   government contract                                                   Beverly Hills, CA 90210


 2.1212. State what the contract or                       Lessee for location at
         lease is for and the nature of                   095 Escondido Super
         the debtor's interest                            Sport dated 09/01/2000

                  State the term remaining                4/30/2021
                                                                                         PINECREST DIAMOND LLC - V0000413755
             List the contract number of any                                             400 La Terraza Blvd
                   government contract                                                   Escondido, CA 92025-3838


 2.1213. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Escondido La Terraza
         the debtor's interest                            SS dated 08/25/2000

                  State the term remaining                Undetermined                   Pinecrest Diamond, LLC
                                                                                         Attn: David Chang
             List the contract number of any                                             1440 N. HARBOR BLVD
                   government contract                                                   Fullerton, CA 92835


 2.1214. State what the contract or                       Master Product and
         lease is for and the nature of                   Services Agreement
         the debtor's interest                            dated 01/01/2012

                  State the term remaining                Potentially Expired            Piranha Industries, LLC
                                                                                         Attn: John Herr
             List the contract number of any                                             16002 West 64th Avenue
                   government contract                                                   Arvada, CO 80004


 2.1215. State what the contract or                       Master Product and        Piranha LLC d/b/a Piranha Industries
         lease is for and the nature of                   Services Agreement        Attn: Executive Team
         the debtor's interest                            and Statement of Work     2801 Youngfield Street
                                                          dated 03/22/2017          Suite 260
Official Form 206G                               Schedule G: Executory Contracts andGolden,  CO
                                                                                     Unexpired   80401
                                                                                               Leases                                   Page 216 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 857 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                258 Days

             List the contract number of any
                   government contract


 2.1216. State what the contract or                       Master Proudct and
         lease is for and the nature of                   Services Agreement
         the debtor's interest                            dated 03/22/2017
                                                                                         Piranha LLC d/b/a Piranha Industries
                  State the term remaining                Undetermined                   Attn: Executive Team
                                                                                         2801 Youngfield Street
             List the contract number of any                                             Suite 260
                   government contract                                                   Golden, CO 80401


 2.1217. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/31/2008
                                                                                         Pitney Bowes Software, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         4200 Parliament Place
             List the contract number of any                                             Suite 600
                   government contract                                                   Lanham, MD 20706


 2.1218. State what the contract or                       On-Demand
         lease is for and the nature of                   Subscription
         the debtor's interest                            Agreement dated
                                                          01/13/2017                     Pitney Bowes Software, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         4200 Parliament Place
             List the contract number of any                                             Suite 500
                   government contract                                                   Lanham, MD 20706-1890


 2.1219. State what the contract or                       Professional Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            01/13/2017
                                                                                         Pitney Bowes Software, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         4200 Parliament Place
             List the contract number of any                                             Suite 500
                   government contract                                                   Lanham, MD 20706-1890


 2.1220. State what the contract or                       Software and Data
         lease is for and the nature of                   Agreement and Order
         the debtor's interest                            Form dated 12/13/2010

                  State the term remaining                Potentially Expired            Pitney Bowes Software, Inc.
                                                                                         Attn: Legal Department
             List the contract number of any                                             One Global View
                   government contract                                                   Troy, NY 12180




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 217 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 858 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1221. State what the contract or                       Professional Services
         lease is for and the nature of                   Order Form dated
         the debtor's interest                            10/10/2019

                  State the term remaining                Potentially Expired            Pitney Bowes Software, Inc.
                                                                                         Attn: Legal Department
             List the contract number of any                                             One Global View
                   government contract                                                   Troy, NY 12180


 2.1222. State what the contract or                       Service Order Form -
         lease is for and the nature of                   Not Dated
         the debtor's interest

                  State the term remaining                Undetermined                   Pitney Bowes Software, Inc.
                                                                                         Attn: Legal Department
             List the contract number of any                                             One Global View
                   government contract                                                   Troy, NY 12180


 2.1223. State what the contract or                       Professional Services
         lease is for and the nature of                   Order Form dated
         the debtor's interest                            01/13/2017

                  State the term remaining                Potentially Expired            Pitney Bowes Software, Inc.
                                                                                         Attn: Legal Department
             List the contract number of any                                             One Global View
                   government contract                                                   Troy, NY 12180


 2.1224. State what the contract or                       Software and Data End
         lease is for and the nature of                   User License
         the debtor's interest                            Agreement - Not Dated

                  State the term remaining                Undetermined                   Pitney Bowes Software, Inc.
                                                                                         Attn: Legal Department
             List the contract number of any                                             One Global View
                   government contract                                                   Troy, NY 12180


 2.1225. State what the contract or                       Software and Data End
         lease is for and the nature of                   User License
         the debtor's interest                            Agreement - Not Dated

                  State the term remaining                Undetermined                   Pitney Bowes Software, Inc.
                                                                                         Attn: Legal Department
             List the contract number of any                                             One Global View
                   government contract                                                   Troy, NY 12180


 2.1226. State what the contract or                       Licensed Product
         lease is for and the nature of                   Order dated 11/22/2013
         the debtor's interest
                                                                                         Pitney Bowes Software, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         1 Elmcroft Road
             List the contract number of any                                             Stamford, CT 06926-0700
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 218 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 859 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1227. State what the contract or                       Lessee for location at
         lease is for and the nature of                   808 Elk Grove Calvine
         the debtor's interest                            Active dated 11/09/2007

                  State the term remaining                11/30/2022
                                                                                         PK I BELAIR VILLAGE II LP - V0000413683
             List the contract number of any                                             8461 Elk Grove Florin Road
                   government contract                                                   Elk Grove, CA 95624-9518


 2.1228. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Elk Grove Calvine
         the debtor's interest                            Active dated 11/09/2007
                                                                                         PK I BELAIRE VILLAGE II, LP
                  State the term remaining                Undetermined                   Attn: Legal Department
                                                                                         3333 New Hyde Park Road - Suite 100
             List the contract number of any                                             P.O. Box 5020
                   government contract                                                   New Hyde Park, NY 11042


 2.1229. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Cedar Hill Sport dated
         the debtor's interest                            03/09/2006
                                                                                         Platform Cedar MT, LLC
                  State the term remaining                Undetermined                   c/o Platform Ventures LLC
                                                                                         Attn: Karah Franklin
             List the contract number of any                                             4220 Shawnee Mission Parkway
                   government contract                                                   Fairway, KS 66205


 2.1230. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Mansfield Sport dated
         the debtor's interest                            05/19/2007
                                                                                         Platform Mansfield MT, LLC
                  State the term remaining                Undetermined                   c/o Platform Ventures LLC
                                                                                         Attn: Karah Franklin
             List the contract number of any                                             4220 Shawnee Mission Parkway
                   government contract                                                   Fairway, KS 66205


 2.1231. State what the contract or                       Lessee for location at
         lease is for and the nature of                   691 Mansfield Sport
         the debtor's interest                            dated 05/19/2007

                  State the term remaining                5/31/2033
                                                                                         Platform Mansfield MT, LLC
             List the contract number of any                                             1101 N. Walnut Creek Drive
                   government contract                                                   Mansfield, TX 76063-2501


 2.1232. State what the contract or                       Lease Agreement for       Plaza Edinger LLC
         lease is for and the nature of                   Santa Ana Edinger         Attn: James E. Carter, Esq.
         the debtor's interest                            dated 09/23/2017          400 N. Tustin Ave
                                                                                    Ste 225
Official Form 206G                               Schedule G: Executory Contracts andSanta  Ana,Leases
                                                                                     Unexpired  CA 92750                                Page 219 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 860 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1233. State what the contract or                       Lessee for location at
         lease is for and the nature of                   876 Santa Ana Edinger
         the debtor's interest                            Ave SS dated
                                                          09/16/2017
                  State the term remaining                9/30/2032
                                                                                         Plaza Edinger LLC
             List the contract number of any                                             1350 West Edinger Avenue
                   government contract                                                   Santa Ana, CA 92704


 2.1234. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            07/14/2013

                  State the term remaining                Potentially Expired            Pleasanton Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             11950 Dublin Canyon Blvd.,
                   government contract                                                   Pleasanton, CA 94588


 2.1235. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/05/2013

                  State the term remaining                Potentially Expired            Pleasanton Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             11950 Dublin Canyon Blvd.,
                   government contract                                                   Pleasanton, CA 94588


 2.1236. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/03/2013

                  State the term remaining                Potentially Expired            Pleasanton Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             11950 Dublin Canyon Blvd.,
                   government contract                                                   Pleasanton, CA 94588


 2.1237. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/03/2013

                  State the term remaining                Potentially Expired            Pleasanton Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             11950 Dublin Canyon Blvd.,
                   government contract                                                   Pleasanton, CA 94588




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 220 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 861 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1238. State what the contract or                       Master Product and
         lease is for and the nature of                   Services Agreement -
         the debtor's interest                            Not Dated
                                                                                         Pool Systems
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         12650 West 64th Avenue
             List the contract number of any                                             Unit E-124
                   government contract                                                   Arvada, CO 80004


 2.1239. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Galleria Sport dated
         the debtor's interest                            10/02/2009

                  State the term remaining                Undetermined                   POR LP
                                                                                         5177 Richmond Ave.
             List the contract number of any                                             Suite 610
                   government contract                                                   Houston, TX 77056


 2.1240. State what the contract or                       Lessee for location at
         lease is for and the nature of                   882 Galleria Sport
         the debtor's interest                            dated 10/02/2009

                  State the term remaining                10/31/2024
                                                                                         POR LP - V0000243205
             List the contract number of any                                             5070 Richmond Avenue
                   government contract                                                   Houston, TX 77056-7402


 2.1241. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Pelham Manor Super
         the debtor's interest                            Sport dated 02/10/2018

                  State the term remaining                Undetermined                   Post Road Plaza Leasehold LLC
                                                                                         Attn: Chief Financial Officer
             List the contract number of any                                             975 US Highway 22 West
                   government contract                                                   North Plainfield, NJ 07060


 2.1242. State what the contract or                       Lessee for location at
         lease is for and the nature of                   640 Pelham Manor
         the debtor's interest                            Super Sport dated
                                                          12/16/2017
                  State the term remaining                2/9/2033
                                                                                         Post Road Plaza Leasehold LLC
             List the contract number of any                                             887 Pelham Parkway
                   government contract                                                   Pelham Manor, NY 10803


 2.1243. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   South Coast Metro
         the debtor's interest                            Center SS dated                PR II/MCC South Coast Property Owner LLC
                                                          07/17/2000                     575 Anton Blvd
                  State the term remaining                Undetermined                   Ste 350
                                                                                         Ste 350
             List the contract number of any                                             Beverly Hills, CA 92626
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 221 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 862 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1244. State what the contract or                       Lessee for location at
         lease is for and the nature of                   078 South Coast Metro
         the debtor's interest                            Super Sport dated
                                                          12/01/2000
                  State the term remaining                7/31/2025
                                                                                         PR II/MCC South Coast Property Owner LLC
             List the contract number of any                                             589 Anton Blvd.
                   government contract                                                   Costa Mesa, CA 92626-1912


 2.1245. State what the contract or                       Creative Productions
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/01/2016

                  State the term remaining                Potentially Expired            Precor Incorporated
                                                                                         Attn: Marketing Department
             List the contract number of any                                             20031 142nd Avenue NE
                   government contract                                                   Woodinville, WA 98072


 2.1246. State what the contract or                       Location Agreement
         lease is for and the nature of                   dated 10/08/2014
         the debtor's interest

                  State the term remaining                Undetermined                   Precor Incorporated
                                                                                         Attn: General Counsel
             List the contract number of any                                             20031 142nd Avenue NE
                   government contract                                                   Woodinville, WA 98072


 2.1247. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement for Exercise
         the debtor's interest                            Equipment dated
                                                          01/01/2015
                  State the term remaining                Undetermined                   Precor Incorporated
                                                                                         Attn: General Counsel
             List the contract number of any                                             20031 142nd Avenue NE
                   government contract                                                   Woodinville, WA 98072


 2.1248. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement - Not Dated
         the debtor's interest
                                                                                         Precor USA
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         PO Box 7202
             List the contract number of any                                             20031 142nd Ave NE
                   government contract                                                   Woodinville, WA 98075-4002


 2.1249. State what the contract or                       Master Purchasing         Precor USA
         lease is for and the nature of                   Agreement - Not Dated     Attn: General Counsel
         the debtor's interest                                                      PO Box 7202
                                                                                    20031 142nd Ave NE
Official Form 206G                               Schedule G: Executory Contracts andWoodinville, WA 98075-4002
                                                                                     Unexpired Leases                                   Page 222 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 863 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1250. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement - Not Dated
         the debtor's interest
                                                                                         Precor USA
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         PO Box 7202
             List the contract number of any                                             20031 142nd Ave NE
                   government contract                                                   Woodinville, WA 98075-4002


 2.1251. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            04/01/2011

                  State the term remaining                Undetermined                   Precor, Inc.
                                                                                         Attn: Paul Byrne
             List the contract number of any                                             20031 142nd Avenue Northeast
                   government contract                                                   Woodinville, WA 98072


 2.1252. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            04/01/2011

                  State the term remaining                Undetermined                   Precor, Inc.
                                                                                         Attn: Paul Byrne
             List the contract number of any                                             20031 142nd Ave NE
                   government contract                                                   Woodinville, WA 98072


 2.1253. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement - Not Dated
         the debtor's interest

                  State the term remaining                Undetermined                   Precor, Inc.
                                                                                         Attn: Paul Byrne
             List the contract number of any                                             20031 142nd Ave NE
                   government contract                                                   Woodinville, WA 98072


 2.1254. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement - Not Dated
         the debtor's interest

                  State the term remaining                Undetermined                   Precor, Inc.
                                                                                         Attn: Paul Byrne
             List the contract number of any                                             20031 142nd Ave NE
                   government contract                                                   Woodinville, WA 98072




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 223 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 864 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1255. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Mission Hills
         the debtor's interest                            Sepulveda Super Sport
                                                          dated 12/16/2017               Prime/FRIT Mission Hills, LLC
                  State the term remaining                Undetermined                   Federal Realty Investment Trust - Olivo
                                                                                         Attn: Legal Department
             List the contract number of any                                             1626 East Jefferson Street
                   government contract                                                   Rockville, MD 20852


 2.1256. State what the contract or                       Lessee for location at
         lease is for and the nature of                   874 Mission Hills
         the debtor's interest                            Sepulveda SS dated
                                                          12/16/2017
                  State the term remaining                12/31/2032
                                                                                         Prime/FRIT Mission Hills, LLC
             List the contract number of any                                             10400 Sepulveda Blvd
                   government contract                                                   Mission Hills, CA 91345-2424


 2.1257. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Parmer Sport dated
         the debtor's interest                            06/01/2007
                                                                                         Princeton Plaza
                  State the term remaining                Undetermined                   Princeton Plaza et al, tenants in common
                                                                                         96 N Third Street
             List the contract number of any                                             Suite 275
                   government contract                                                   San Jose, CA 95112


 2.1258. State what the contract or                       License Agreement
         lease is for and the nature of                   dated 04/10/1998
         the debtor's interest

                  State the term remaining                Undetermined                   ProBusiness Services, Inc.
                                                                                         Attn: President
             List the contract number of any                                             4125 Hopyard Road
                   government contract                                                   Pleasanton, CA 94566


 2.1259. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Pacific Beach (San
         the debtor's interest                            Diego) dated 12/01/2000
                                                                                         Protea Holdings
                  State the term remaining                Undetermined                   Protea Pacific Beach, LLC
                                                                                         c/o Protea Property Management, Inc.
             List the contract number of any                                             3262 Holiday Court Suite 100
                   government contract                                                   La Jolla, CA 92037


 2.1260. State what the contract or                       Lessee for location at
         lease is for and the nature of                   065 Pacific Beach
         the debtor's interest                            Active dated 08/01/2002

                  State the term remaining                11/30/2025                     Protea Holdings
                                                                                         909 Garnet Avenue
             List the contract number of any                                             San Diego, CA 92109-2729
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 224 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 865 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1261. State what the contract or                       Services Rider - Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            10/22/2014
                                                                                         Protection 1 Security Solutions
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         12301 Kiln Court
             List the contract number of any                                             Suite A
                   government contract                                                   Beltsville, MD 20705-6308


 2.1262. State what the contract or                       Authorization Letter
         lease is for and the nature of                   dated 11/08/2011
         the debtor's interest
                                                                                         Protection One
                  State the term remaining                Undetermined                   Attn: Elizabeth Maldonado
                                                                                         National Account Coordinator
             List the contract number of any                                             4221 W John Carpenter Fwy
                   government contract                                                   Irving, TX 75063


 2.1263. State what the contract or                       Commerical Schedule
         lease is for and the nature of                   of Protection Proposal
         the debtor's interest                            and Sales Agreement
                                                          dated 07/02/2013               Protection One
                  State the term remaining                Undetermined                   Attn: Elizabeth Maldonado
                                                                                         National Account Coordinator
             List the contract number of any                                             4221 W John Carpenter Fwy
                   government contract                                                   Irving, TX 75063


 2.1264. State what the contract or                       Commerical Schedule
         lease is for and the nature of                   of Protection Proposal
         the debtor's interest                            and Sales Agreement
                                                          dated 02/08/2013
                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1265. State what the contract or                       Commerical Schedule
         lease is for and the nature of                   of Protection Proposal
         the debtor's interest                            and Sales Agreement
                                                          dated 02/08/2013
                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1266. State what the contract or                       Commerical Schedule            Protection One Alarm Monitoring, Inc.
         lease is for and the nature of                   of Protection Proposal         Attn: General Counsel
         the debtor's interest                            and Sales Agreement            1035 N. 3rd Street, Suite 101
                                                          dated 02/28/2013               Lawrence, KS 66044
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 225 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 866 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1267. State what the contract or                       Commerical Schedule
         lease is for and the nature of                   of Protection Proposal
         the debtor's interest                            and Sales Agreement
                                                          dated 05/17/2013
                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1268. State what the contract or                       Commerical Schedule
         lease is for and the nature of                   of Protection Proposal
         the debtor's interest                            and Sales Agreement
                                                          dated 05/30/2013
                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1269. State what the contract or                       Commerical Schedule
         lease is for and the nature of                   of Protection Proposal
         the debtor's interest                            and Sales Agreement
                                                          dated 07/02/2013
                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1270. State what the contract or                       Commerical Schedule
         lease is for and the nature of                   of Protection Proposal
         the debtor's interest                            and Sales Agreement
                                                          dated 07/02/2013
                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1271. State what the contract or                       Commercial Schedule
         lease is for and the nature of                   Of Protection Proposal
         the debtor's interest                            and Sales Agreement
                                                          dated 09/11/2014
                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 226 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 867 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1272. State what the contract or                       Commercial Schedule
         lease is for and the nature of                   Of Protection Proposal
         the debtor's interest                            and Sales Agreement
                                                          dated 09/11/2014
                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1273. State what the contract or                       Service Order - Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/24/2014

                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1274. State what the contract or                       Service Order - Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/24/2014

                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1275. State what the contract or                       Service Order - Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/24/2014

                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1276. State what the contract or                       Services Rider - Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/24/2014

                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1277. State what the contract or                       Services Rider - Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            10/22/2014
                                                                                         Protection One Alarm Monitoring, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1035 N. 3rd Street, Suite 101
             List the contract number of any                                             Lawrence, KS 66044
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 227 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 868 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1278. State what the contract or                       Protection, Proposal
         lease is for and the nature of                   and Sales Agreement
         the debtor's interest                            dated 01/28/2015

                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1279. State what the contract or                       Protection, Proposal
         lease is for and the nature of                   and Sales Agreement
         the debtor's interest                            dated 04/07/2015

                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1280. State what the contract or                       Protection, Proposal
         lease is for and the nature of                   and Sales Agreement
         the debtor's interest                            dated 04/07/2015

                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1281. State what the contract or                       Protection, Proposal
         lease is for and the nature of                   and Sales Agreement
         the debtor's interest                            dated 04/08/2015

                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1282. State what the contract or                       Protection, Proposal
         lease is for and the nature of                   and Sales Agreement
         the debtor's interest                            dated 09/15/2015

                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1283. State what the contract or                       Protection, Proposal           Protection One Alarm Monitoring, Inc.
         lease is for and the nature of                   and Sales Agreement            Attn: General Counsel
         the debtor's interest                            dated 09/15/2015               1035 N. 3rd Street, Suite 101
                                                                                         Lawrence, KS 66044
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 228 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 869 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1284. State what the contract or                       Protection, Proposal
         lease is for and the nature of                   and Sales Agreement
         the debtor's interest                            dated 02/22/2017

                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1035 N. 3rd Street, Suite 101
                   government contract                                                   Lawrence, KS 66044


 2.1285. State what the contract or                       Purchase Order dated
         lease is for and the nature of                   06/30/2015
         the debtor's interest

                  State the term remaining                Undetermined                   Protection One Alarm Monitoring, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             PO Box 5714
                   government contract                                                   Carol Stream, IL 60197-5714


 2.1286. State what the contract or                       Commercial
         lease is for and the nature of                   Agreements dated
         the debtor's interest                            03/23/2002
                                                                                         Protection Service Industries, LP
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         10535 Foothill Boulevard
             List the contract number of any                                             Suite 350
                   government contract                                                   Rancho Cucamonga, CA 91730


 2.1287. State what the contract or                       Commerical Agreement
         lease is for and the nature of                   dated 12/29/1999
         the debtor's interest
                                                                                         Protection Service Industries, LP
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         10535 Foothill Blvd.
             List the contract number of any                                             Suite 350
                   government contract                                                   Rancho Cucamonga, CA 91730


 2.1288. State what the contract or                       Agreement dated
         lease is for and the nature of                   03/10/1999
         the debtor's interest

                  State the term remaining                Undetermined                   Protection Service Industries, LP
                                                                                         Attn: General Counsel
             List the contract number of any                                             10535 Foothill Blvd.
                   government contract                                                   Rancho Cucamonga, CA 91730




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 229 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 870 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1289. State what the contract or                       Master Service
         lease is for and the nature of                   Agrement dated
         the debtor's interest                            04/18/2016
                                                                                         Proven Recruiting, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         9444 Waples Street
             List the contract number of any                                             Suite 440
                   government contract                                                   San Diego, CA 92121


 2.1290. State what the contract or                       Letter Agreement Re
         lease is for and the nature of                   Software Contractors
         the debtor's interest                            dated 09/03/2013
                                                                                         Proven Solutions, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         9444 Waples Street
             List the contract number of any                                             Suite 440
                   government contract                                                   San Diego, CA 92121


 2.1291. State what the contract or                       Engagement Letter
         lease is for and the nature of                   dated 09/03/2013
         the debtor's interest
                                                                                         Proven Solutions, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         9444 Waples Street
             List the contract number of any                                             Suite 440
                   government contract                                                   San Diego, CA 92121


 2.1292. State what the contract or                       Letter Agreement Re:
         lease is for and the nature of                   Temporary Employees
         the debtor's interest                            dated 09/03/2013
                                                                                         Proven Solutions, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         9444 Waples Street
             List the contract number of any                                             Suite 440
                   government contract                                                   San Diego, CA 92121


 2.1293. State what the contract or                       Letter Agreement Re:
         lease is for and the nature of                   Temporary Employees
         the debtor's interest                            and Stateemnt of Work
                                                          dated 09/03/2013               Proven Solutions, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         9444 Waples Street
             List the contract number of any                                             Suite 440
                   government contract                                                   San Diego, CA 92121


 2.1294. State what the contract or                       Letter Agreement Re:
         lease is for and the nature of                   Temporary Employees
         the debtor's interest                            dated 08/18/2014               Proven Solutions, Inc.
                                                                                         Attn: General Counsel
                  State the term remaining                Undetermined                   9444 Waples Street
                                                                                         Suite 440
             List the contract number of any                                             San Diego, CA 92121
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 230 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 871 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1295. State what the contract or                       Letter Agreement and
         lease is for and the nature of                   Statement of Work
         the debtor's interest                            dated 08/18/2014
                                                                                         Proven Solutions, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         9444 Waples Street
             List the contract number of any                                             Suite 440
                   government contract                                                   San Diego, CA 91121


 2.1296. State what the contract or                       Client Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/25/2014
                                                                                         Proven Solutions, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         9444 Waples Street
             List the contract number of any                                             Suite 440
                   government contract                                                   San Diego, CA 92121


 2.1297. State what the contract or                       Contract Execution
         lease is for and the nature of                   Form: Revocable
         the debtor's interest                            Services Agreement
                                                          dated 05/16/2014               Prudential Overall Supply
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         2485 Ash Street
             List the contract number of any                                             Corporate Sales Representative
                   government contract                                                   Vista, CA 92081


 2.1298. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement and
         the debtor's interest                            Exhibits dated
                                                          05/26/2014                     Prudential Overall Supply
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         2485 Ash Street
             List the contract number of any                                             Attn: Tim Miller
                   government contract                                                   Vista, CA 92081


 2.1299. State what the contract or                       Wash Program
         lease is for and the nature of                   Services Letter dated
         the debtor's interest                            05/14/2014

                  State the term remaining                Undetermined                   Prudential Overall Supply
                                                                                         Attn: Time Hawkins, VP, Global Sales
             List the contract number of any                                             2485 Ash Street
                   government contract                                                   Vista, CA 92081


 2.1300. State what the contract or                       Wash Program                   Prudential Overall Supply
         lease is for and the nature of                   Services Letter dated          Attn: Tim Miller, Corporate Sales Rep
         the debtor's interest                            05/14/2014                     2485 Ash Street
                                                                                         Vista, CA 92081
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 231 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 872 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1301. State what the contract or                       Wash Program
         lease is for and the nature of                   Services Letter dated
         the debtor's interest                            05/14/2014

                  State the term remaining                Undetermined                   Prudential Overall Supply
                                                                                         Attn: Tim Miller, Corporate Sales Rep
             List the contract number of any                                             2485 Ash Street
                   government contract                                                   Vista, CA 92081


 2.1302. State what the contract or                       Purchase Orders dated
         lease is for and the nature of                   05/15/2014
         the debtor's interest

                  State the term remaining                Undetermined                   Prudential Overall Supply
                                                                                         Attn: General Counsel
             List the contract number of any                                             2485 Ash Street
                   government contract                                                   Vista, CA 92081


 2.1303. State what the contract or                       Purchase Order -
         lease is for and the nature of                   Supply Agreement
         the debtor's interest                            dated 05/21/2014

                  State the term remaining                Undetermined                   Prudential Overall Supply
                                                                                         Attn: General Counsel
             List the contract number of any                                             2485 Ash Street
                   government contract                                                   Vista, CA 92081


 2.1304. State what the contract or                       Service Agreement
         lease is for and the nature of                   dated 05/24/2016
         the debtor's interest

                  State the term remaining                Undetermined                   PTA Global
                                                                                         Attn: General Counsel
             List the contract number of any                                             1774 Platte Street
                   government contract                                                   Denver, CO 80202


 2.1305. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Panther Lake Super
         the debtor's interest                            Sport dated 06/13/2019
                                                                                         PWRP - Kent LLC
                  State the term remaining                Undetermined                   c/o JLL
                                                                                         3001 Douglas Boulevard
             List the contract number of any                                             Suite 330
                   government contract                                                   Roseville, CA 95661-3853




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 232 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 873 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1306. State what the contract or                       Lessee for location at
         lease is for and the nature of                   970 Panther Lake Super
         the debtor's interest                            Sport dated 12/08/2018

                  State the term remaining                6/30/2029
                                                                                         PWRP - Kent LLC
             List the contract number of any                                             20600 108th Avenue SE
                   government contract                                                   Kent, WA 98031


 2.1307. State what the contract or                       Business Class Service
         lease is for and the nature of                   Order Agreement - Not
         the debtor's interest                            Dated

                  State the term remaining                Potentially Expired            Q the Sports Club
                                                                                         Attn: General Counsel
             List the contract number of any                                             7300 West Green Rderenewal
                   government contract                                                   Houston, TX 77064


 2.1308. State what the contract or                       Qualtrics Master
         lease is for and the nature of                   Services Agreement
         the debtor's interest                            dated 05/01/2015

                  State the term remaining                Undetermined                   Qualtrics, LLC
                                                                                         Attn: Maggie Weidauer
             List the contract number of any                                             333 River Park Dr
                   government contract                                                   Provo, UT 84604


 2.1309. State what the contract or                       Qualtrics Service Order
         lease is for and the nature of                   dated 05/01/2015
         the debtor's interest

                  State the term remaining                Potentially Expired            Qualtrics, LLC
                                                                                         Attn: Maggie Weidauer
             List the contract number of any                                             333 River Park Dr
                   government contract                                                   Provo, UT 84604


 2.1310. State what the contract or                       Qualtrics Service Order
         lease is for and the nature of                   dated 05/01/2015
         the debtor's interest

                  State the term remaining                Potentially Expired            Qualtrics, LLC
                                                                                         Attn: Maggie Weidauer
             List the contract number of any                                             333 River Park Dr
                   government contract                                                   Provo, UT 84604


 2.1311. State what the contract or                       Promotion Agreement
         lease is for and the nature of                   dated 02/12/2015
         the debtor's interest
                                                                                         Quest Nutrition, LLC
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         2233 East El Segundo Blvd.
             List the contract number of any                                             El Segundo, CA 90245
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 233 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 874 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1312. State what the contract or                       Software License
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/05/2002

                  State the term remaining                Undetermined                   Quest Software, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             8001 Irvine Center Drive
                   government contract                                                   Irvine, CA 92618


 2.1313. State what the contract or                       Master Software
         lease is for and the nature of                   Transaction Agreement
         the debtor's interest                            dated 01/26/2017

                  State the term remaining                Undetermined                   Quest Software, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             4 Polaris Way
                   government contract                                                   Aliso Viejo, CA 92656


 2.1314. State what the contract or                       Master Software
         lease is for and the nature of                   Transaction Agreement
         the debtor's interest                            - Not Dated

                  State the term remaining                Undetermined                   Quest Software, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             4 Polaris Way
                   government contract                                                   Aliso Viejo, CA 92656


 2.1315. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Bothell Super Sport
         the debtor's interest                            dated 11/02/2014

                  State the term remaining                Undetermined                   Rainier Pacific Equity, LLC
                                                                                         c/o K&S Property, LLC
             List the contract number of any                                             9670 Research Drive
                   government contract                                                   Irvine, CA 92618


 2.1316. State what the contract or                       Lessee for location at
         lease is for and the nature of                   440 Bothell 120th Ave
         the debtor's interest                            SS dated 08/09/2014

                  State the term remaining                3/31/2035
                                                                                         Rainier Pacific Equity, LLC
             List the contract number of any                                             18006 120th Avenue
                   government contract                                                   Bothell, WA 98011-9478


 2.1317. State what the contract or                       Lease Agreement for            Ralphs Grocery Company
         lease is for and the nature of                   Sunrise Sport dated            Attn: Real Estate Dept.
         the debtor's interest                            05/16/2007                     1100 West Artesia Boulevard
                                                                                         Compton, CA 90220
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 234 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 875 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1318. State what the contract or                       Sublessee for location
         lease is for and the nature of                   at 807 Sunrise Sport
         the debtor's interest                            dated 06/01/2007

                  State the term remaining                5/16/2022
                                                                                         Ralphs Grocery Company
             List the contract number of any                                             2280 Sunrise Blvd.
                   government contract                                                   Rancho Cordova, CA 95670-4342


 2.1319. State what the contract or                       Construction
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            01/03/2018
                                                                                         Raymond Construction, Inc.
                  State the term remaining                Undetermined                   Attn: David Schlimme - SVP
                                                                                         4407 North Beltwood Parkway
             List the contract number of any                                             Suite 106
                   government contract                                                   Dallas, TX 75244


 2.1320. State what the contract or                       Construction
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/03/2019
                                                                                         Raymond Construction, Inc.
                  State the term remaining                Potentially Expired            Attn: David Schlimme - SVP
                                                                                         4407 North Beltwood Parkway
             List the contract number of any                                             Suite 106
                   government contract                                                   Dallas, TX 75244


 2.1321. State what the contract or                       Raymond Construction
         lease is for and the nature of                   Inc. Construction
         the debtor's interest                            Contract dated
                                                          12/09/2019                     Raymond Construction, Inc.
                  State the term remaining                Undetermined                   Attn: David Schlimme - SVP
                                                                                         4407 North Beltwood Parkway
             List the contract number of any                                             Suite 106
                   government contract                                                   Dallas, TX 75244


 2.1322. State what the contract or                       Short Form
         lease is for and the nature of                   Construction Contract
         the debtor's interest                            dated 07/03/2018
                                                                                         Raymond Construction, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         4407 North Beltwood Parkway
             List the contract number of any                                             Suite 106
                   government contract                                                   Dallas, TX 75244




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 235 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 876 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1323. State what the contract or                       Construction Contract
         lease is for and the nature of                   dated 10/29/2018
         the debtor's interest
                                                                                         Raymond Construction, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         4407 North Beltwood Parkway
             List the contract number of any                                             Suite 106
                   government contract                                                   Dallas, TX 75063


 2.1324. State what the contract or                       Construction
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/20/2019
                                                                                         Raymond Construction, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         4407 North Beltwood Parkway
             List the contract number of any                                             Suite 106
                   government contract                                                   Dallas, TX 75244


 2.1325. State what the contract or                       Construction
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            01/08/2020
                                                                                         Raymond Construction, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         4407 North Beltwood Parkway
             List the contract number of any                                             Suite 106
                   government contract                                                   Dallas, TX 75244


 2.1326. State what the contract or                       Construction
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/18/2018
                                                                                         Raymond Construction, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         4407 North Beltwood Parkway
             List the contract number of any                                             Suite 106
                   government contract                                                   Dallas, TX 75244


 2.1327. State what the contract or                       Construction Contract
         lease is for and the nature of                   dated 07/16/2018
         the debtor's interest

                  State the term remaining                Undetermined                   Raymond Construction, Inc.
                                                                                         Attn: David Schlimme- Senior VP
             List the contract number of any                                             4407 N. Beltwood Parkway, Suite 106
                   government contract                                                   Dallas, TX 75244


 2.1328. State what the contract or                       Raymond Construction
         lease is for and the nature of                   Inc. Construction
         the debtor's interest                            Contract dated
                                                          10/30/2018                     Raymond Construction, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         4407 N Beltwood Pkwy #106
             List the contract number of any                                             Dallas, TX 75244
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 236 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 877 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1329. State what the contract or                       Lessee for location at
         lease is for and the nature of                   253 Omaha Sport
         the debtor's interest                            (CLOSED) dated
                                                          11/20/2015
                  State the term remaining                1/31/2029
                                                                                         Realty Income Properties 25, LLC
             List the contract number of any                                             14651 Sprague Street
                   government contract                                                   Omaha, NE 68116


 2.1330. State what the contract or                       Lessee for location at
         lease is for and the nature of                   631 Sunrise Florida
         the debtor's interest                            Super Sport dated
                                                          10/17/2008
                  State the term remaining                8/31/2022
                                                                                         REALTY INCOME PROPERTIES 4 LLC - V000041
             List the contract number of any                                             9919 West Oakland Park Blvd
                   government contract                                                   Sunrise, FL 33351-7009


 2.1331. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Sunrise Florida Super
         the debtor's interest                            Sport dated 01/28/2008

                  State the term remaining                Undetermined                   Realty Income Properties 4, LLC
                                                                                         Attn: Legal Department
             List the contract number of any                                             11995 El Camino Real
                   government contract                                                   San Diego, CA 92130


 2.1332. State what the contract or                       Lessee for location at
         lease is for and the nature of                   218 Fort Worth Hulen
         the debtor's interest                            Sport (CLOSED) dated
                                                          06/01/2000
                  State the term remaining                5/31/2020
                                                                                         Realty Income Texas Properties 1, LLC
             List the contract number of any                                             5001 Overton Ridge Blvd.
                   government contract                                                   Fort Worth, TX 76132-1917


 2.1333. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Fort Worth Hulen Sport
         the debtor's interest                            dated 05/15/2000

                  State the term remaining                Undetermined
                                                                                         Realty Income Texas Properties 1, LLC
             List the contract number of any                                             11995 El Camino Real
                   government contract                                                   San Diego, CA 92130


 2.1334. State what the contract or                       Lease Agreement for       Receivership Estate of Specific Assets
         lease is for and the nature of                   Chandler Sport            Santan North Investors, LLC
         the debtor's interest                            (Assigned) dated          4980 Hillsdale Circle
                                                          06/01/2006                Suite A
Official Form 206G                               Schedule G: Executory Contracts andEl Dorado,Leases
                                                                                     Unexpired CA 95762                                 Page 237 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 878 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                350 Days

             List the contract number of any
                   government contract


 2.1335. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Kuykendahl Sport
         the debtor's interest                            dated 07/01/2000

                  State the term remaining                1,750 Days                     Reddy Cypresswood, LP
                                                                                         730 N Post Oak Road
             List the contract number of any                                             #330
                   government contract                                                   Houston, TX 77024


 2.1336. State what the contract or                       Lessee for location at
         lease is for and the nature of                   347 Kuykendahl Sport
         the debtor's interest                            dated 07/01/2000

                  State the term remaining                3/31/2025
                                                                                         Reddy Partnership-Parkair and Cypresswoo
             List the contract number of any                                             18541 Kuykendahl Road
                   government contract                                                   Spring, TX 77379-8161


 2.1337. State what the contract or                       Agreement for
         lease is for and the nature of                   Construction Materials
         the debtor's interest                            Engineering & Testing
                                                          Services dated
                                                          03/08/2019                     Reed Engineering Group, Ltd
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         2424 Stutz Drive
             List the contract number of any                                             Suite 400
                   government contract                                                   Dallas, TX 75235


 2.1338. State what the contract or                       Master License,
         lease is for and the nature of                   Support, And Services
         the debtor's interest                            Agreement dated
                                                          06/28/2007
                  State the term remaining                Undetermined                   Reflexis Systems, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             3 Allied Drive, Suite 400
                   government contract                                                   Dedham, MA 02026


 2.1339. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Potrero Hill Sport dated
         the debtor's interest                            03/10/1997
                                                                                         Regency Centers, LP
                  State the term remaining                654 Days                       c/o Regency Centers Corporation
                                                                                         Attn: Legal Department
             List the contract number of any                                             One Independent Drive, Suite 114
                   government contract                                                   Jacksonville, FL 32202-5019


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 238 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 879 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1340. State what the contract or                       Lessee for location at
         lease is for and the nature of                   545 Potrero Hill Sport
         the debtor's interest                            dated 03/01/1997

                  State the term remaining                3/31/2022
                                                                                         Regency Centers, LP
             List the contract number of any                                             1645 Bryant Street
                   government contract                                                   San Francisco, CA 94103-4851


 2.1341. State what the contract or                       Software License
         lease is for and the nature of                   Agreement - Not Dated
         the debtor's interest

                  State the term remaining                Undetermined                   Remedy Coporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             2103 CityWest Boulevard
                   government contract                                                   Houston, TX 77042


 2.1342. State what the contract or                       License Purge
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            04/05/2002

                  State the term remaining                Undetermined                   Remedy Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             1505 salado drive
                   government contract                                                   Mountain View, CA 94043


 2.1343. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Renaissance
         the debtor's interest                            Marketplace Super
                                                          Sport dated 12/24/2018         Renaissance Commercial Property LLC
                  State the term remaining                Undetermined                   1st Commercial Property LLC
                                                                                         2009 Porterfield Way
             List the contract number of any                                             Ste P
                   government contract                                                   Upland, CA 91786


 2.1344. State what the contract or                       Lessee for location at
         lease is for and the nature of                   847 Renaissance
         the debtor's interest                            Marketplace SS dated
                                                          07/14/2018
                  State the term remaining                12/31/2038
                                                                                         Renaissance Commercial Property LLC
             List the contract number of any                                             1335 W. Renaissance Parkway
                   government contract                                                   Rialto, CA 92376


 2.1345. State what the contract or                       Renaissance New York
         lease is for and the nature of                   Hotel 57 Agreement
         the debtor's interest                            dated 01/01/2011
                                                                                         Renaissance Hotel
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         130 East 57th Street
             List the contract number of any                                             New York, NY 10022
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 239 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 880 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1346. State what the contract or                       Master Subscription
         lease is for and the nature of                   and Services
         the debtor's interest                            Agreement dated
                                                          12/31/2010
                  State the term remaining                Undetermined                   Return Path, Inc.
                                                                                         Attn: Cheif Financial Officer
             List the contract number of any                                             304 Park Avenue South, 7th Floor
                   government contract                                                   New York, NY 10010


 2.1347. State what the contract or                       Master Subscription
         lease is for and the nature of                   and Services
         the debtor's interest                            Agreement and
                                                          Insertion Order dated
                                                          01/01/2013
                  State the term remaining                Potentially Expired            Return Path, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             304 Park Avenue South, 7th Floor
                   government contract                                                   New York, NY 10010


 2.1348. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Fort Collins Sport
         the debtor's interest                            dated 12/28/2007
                                                                                         Revesco (USA) Properties of Ft. Collins
                  State the term remaining                Undetermined                   c/o Revesco Property Services LLC
                                                                                         2731 17th Street
             List the contract number of any                                             Suite 300
                   government contract                                                   Denver, CO 80211


 2.1349. State what the contract or                       Lessee for location at
         lease is for and the nature of                   667 Fort Collins Sport
         the debtor's interest                            dated 12/28/2007

                  State the term remaining                12/31/2027
                                                                                         Revesco (USA) Properties of Ft. Collins
             List the contract number of any                                             2208 E Harmony Road
                   government contract                                                   Fort Collins, CO 80528-3412


 2.1350. State what the contract or                       Subscription and
         lease is for and the nature of                   Service Level
         the debtor's interest                            Agreement dated
                                                          12/01/2016                     Revstream, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1301 Shoreway Road
             List the contract number of any                                             Suite 160
                   government contract                                                   Belmont, CA 94002




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 240 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 881 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1351. State what the contract or                       RSA Order Form dated
         lease is for and the nature of                   01/01/2017
         the debtor's interest
                                                                                         Revstream, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1301 Shoreway Road
             List the contract number of any                                             Suite 160
                   government contract                                                   Belmont, CA 94002


 2.1352. State what the contract or                       Services Agreement
         lease is for and the nature of                   dated 11/01/2010
         the debtor's interest

                  State the term remaining                Potentially Expired            RGIS, LLC
                                                                                         Attn: Office of General Counsel
             List the contract number of any                                             2000 East Taylor Road
                   government contract                                                   Auburn Hills, MI 48326


 2.1353. State what the contract or                       Services Agreement
         lease is for and the nature of                   dated 11/01/2010
         the debtor's interest

                  State the term remaining                Potentially Expired            RGIS, LLC
                                                                                         Attn: Office of General Counsel
             List the contract number of any                                             2000 East Taylor Road
                   government contract                                                   Auburn Hills, MI 48326


 2.1354. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            11/16/2016

                  State the term remaining                Potentially Expired            RGIS, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             2000 East Taylor Road
                   government contract                                                   Auburn Hills, MI 48326


 2.1355. State what the contract or                       Master Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/22/2015
                                                                                         Riskonnect
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1701 Barrett Lakes Boulevard
             List the contract number of any                                             Suite 500
                   government contract                                                   Kennesaw, GA 30144


 2.1356. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Walnut Creek Super
         the debtor's interest                            Sport dated 06/14/2013
                                                                                         RNB PARTNERS LLC
                  State the term remaining                Undetermined                   C/O RICHARD J. BOCCI REALTY
                                                                                         194 SCHOOL STREET
             List the contract number of any                                             DALY CITY, CA 94014
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 241 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 882 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1357. State what the contract or                       Lessee for location at
         lease is for and the nature of                   885 Walnut Creek North
         the debtor's interest                            Main SS dated
                                                          01/26/2013
                  State the term remaining                6/30/2033
                                                                                         RNB PARTNERS LLC - V0000412983
             List the contract number of any                                             2800 North Main Street
                   government contract                                                   Walnut Creek, CA 94597-2717


 2.1358. State what the contract or                       Lessee for location at
         lease is for and the nature of                   885 Walnut Creek North
         the debtor's interest                            Main SS dated
                                                          01/26/2013
                  State the term remaining                7/31/2021
                                                                                         RNB PARTNERS LLC - V0000412983
             List the contract number of any                                             2800 North Main Street
                   government contract                                                   Walnut Creek, CA 94597-2717


 2.1359. State what the contract or                       Client Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            10/02/2014
                                                                                         Robert Half International, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         4225 Executive Square
             List the contract number of any                                             Suite 300
                   government contract                                                   La Jolla, CA 92037


 2.1360. State what the contract or                       RH Customer
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            06/04/2015
                                                                                         Robert Half International, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         5865 Owens Avenue
             List the contract number of any                                             Suite 100
                   government contract                                                   Carlsbad, CA 92008


 2.1361. State what the contract or                       Client Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            07/28/2016

                  State the term remaining                Undetermined                   Robert Half International, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             2613 Camino Ramon
                   government contract                                                   San Ramon, CA 94583


 2.1362. State what the contract or                       RH Customer                    Robert Half International, Inc.
         lease is for and the nature of                   Agreement dated                Attn: General Counsel
         the debtor's interest                            07/28/2016                     2613 Camino Ramon
                                                                                         San Ramon, CA 94583
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 242 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 883 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1363. State what the contract or                       SOW Software
         lease is for and the nature of                   Developer dated
         the debtor's interest                            09/05/2017

                  State the term remaining                Undetermined                   Robert Half International, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             2613 Camino Ramon
                   government contract                                                   San Ramon, CA 94583


 2.1364. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Bakersfield SW Active
         the debtor's interest                            dated 09/27/1996

                  State the term remaining                Undetermined                   Robert N. Ruggles
                                                                                         220 Montgomery St.
             List the contract number of any                                             #421
                   government contract                                                   San Francisco, CA 94104


 2.1365. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Hayward Active dated
         the debtor's interest                            11/13/1995
                                                                                         ROIC California, LLC
                  State the term remaining                1,994 Days                     c/o Retail Opportunity Investments Corp
                                                                                         Attn: Chief Operating Officer
             List the contract number of any                                             11250 El Camino Real, Ste 200
                   government contract                                                   San Diego, CA 92130


 2.1366. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   West Hills Super Sport
         the debtor's interest                            dated 06/26/2006
                                                                                         ROIC California, LLC
                  State the term remaining                Undetermined                   c/o Retail Opportunity Investments Corp
                                                                                         Attn: Chief Operating Officer
             List the contract number of any                                             11250 El Camino Real Ste 200
                   government contract                                                   San Diego, CA 92130


 2.1367. State what the contract or                       Lessee for location at
         lease is for and the nature of                   904 West Hills Super
         the debtor's interest                            Sport dated 06/25/2006

                  State the term remaining                6/30/2026
                                                                                         ROIC California, LLC
             List the contract number of any                                             6653 Fallbrook Avenue
                   government contract                                                   West Hills, CA 91307-3520




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 243 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 884 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1368. State what the contract or                       Lessee for location at
         lease is for and the nature of                   536 Hayward Active
         the debtor's interest                            dated 11/01/1995

                  State the term remaining                11/30/2025
                                                                                         ROIC California, LLC
             List the contract number of any                                             24727 Amador Street
                   government contract                                                   Hayward, CA 94544-1801


 2.1369. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Gresham Super Sport
         the debtor's interest                            dated 05/20/2017
                                                                                         ROIC Oregon LLC
                  State the term remaining                Undetermined                   COO, Retail Opportunity Investments Corp
                                                                                         11250 El Camino Real
             List the contract number of any                                             Suite 200
                   government contract                                                   San Diego, CA 92130


 2.1370. State what the contract or                       Lessee for location at
         lease is for and the nature of                   442 Gresham Super
         the debtor's interest                            Sport dated 05/13/2017

                  State the term remaining                5/31/2032
                                                                                         ROIC Oregon LLC
             List the contract number of any                                             1541 NE 181st Avenue
                   government contract                                                   Portland, OR 97230


 2.1371. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Torrance-PV Super
         the debtor's interest                            Sport dated 06/01/1994
                                                                                         Rolling Hills Plaza, LLC
                  State the term remaining                Undetermined                   Attn: Property Management
                                                                                         2601 Airport Drive
             List the contract number of any                                             Ste 300
                   government contract                                                   Torrance, CA 90505


 2.1372. State what the contract or                       Lessee for location at
         lease is for and the nature of                   130 Torrance/PV dated
         the debtor's interest                            11/01/1988

                  State the term remaining                5/31/2024
                                                                                         Rolling Hills Plaza, LLC
             List the contract number of any                                             2685 Pacific Coast Highway
                   government contract                                                   Torrance, CA 90505-7037


 2.1373. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Lynnwood Sport dated
         the debtor's interest                            11/01/1999
                                                                                         Rosen Investment Company
                  State the term remaining                Undetermined                   Rosen Properties
                                                                                         PO Box 5003
             List the contract number of any                                             Bellevue, WA 98009-5003
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 244 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 885 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1374. State what the contract or                       Lessee for location at
         lease is for and the nature of                   418 Lynnwood Sport
         the debtor's interest                            dated 11/01/2001

                  State the term remaining                2/28/2021
                                                                                         Rosen Investment Company
             List the contract number of any                                             18930 29th Avenue West
                   government contract                                                   Lynwood, WA 98036-4729


 2.1375. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Round Rock Sport
         the debtor's interest                            dated 05/07/2004
                                                                                         Round Rock Fitness, LP
                  State the term remaining                Undetermined                   Attn: J Michael Moore
                                                                                         1748 W Katella Avenue
             List the contract number of any                                             Suite 206
                   government contract                                                   Orange, CA 92867


 2.1376. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Springfield Super Sport
         the debtor's interest                            dated 03/12/2020

                  State the term remaining                Undetermined
                                                                                         RPG, LLC
             List the contract number of any                                             275 Route 22 East
                   government contract                                                   Springfield, NJ 07081


 2.1377. State what the contract or                       Lessee for location at
         lease is for and the nature of                   615 Springfield Super
         the debtor's interest                            Sport dated 02/22/2020

                  State the term remaining                Undetermined
                                                                                         RPG, LLC
             List the contract number of any                                             75 US Hwy 22
                   government contract                                                   Springfield, NJ 07081


 2.1378. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Carlsbad Super Sport
         the debtor's interest                            dated 11/08/2014

                  State the term remaining                Undetermined                   RPI Carlsbad, LP
                                                                                         Attn: General Manager
             List the contract number of any                                             2525 El Camino Real
                   government contract                                                   Carlsbad, CA 92008


 2.1379. State what the contract or                       Lessee for location at
         lease is for and the nature of                   894 Carlsbad Super             RPI Carlsbad, LP
         the debtor's interest                            Sport dated 10/25/2014         2501 El Camino Real
                                                                                         Carlsbad, CA 92008-1202
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 245 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 886 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                12/31/2029

             List the contract number of any
                   government contract


 2.1380. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Voss Sport dated
         the debtor's interest                            12/06/1999

                  State the term remaining                1,660 Days                     RPI Management Company LLC
                                                                                         RPI Interests II, Ltd.
             List the contract number of any                                             5333 Gulfton Street
                   government contract                                                   Houston, TX 77081


 2.1381. State what the contract or                       Lessee for location at
         lease is for and the nature of                   334 Voss Sport dated
         the debtor's interest                            12/01/1999

                  State the term remaining                12/31/2024
                                                                                         RPI Management Company, LLC
             List the contract number of any                                             6425 San Felipe Street
                   government contract                                                   Houston, TX 77057-2705


 2.1382. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Raleigh Six Forks
         the debtor's interest                            (Midtown) (Pipeline)
                                                          dated Based on
                                                          LL/Permit Delivery
                  State the term remaining                Undetermined                   RRPV 601 Midtown Raleigh LP
                                                                                         President | RAM Realty Services
             List the contract number of any                                             4801 PGA Boulevard
                   government contract                                                   Palm Beach Gardens, FL 33418


 2.1383. State what the contract or                       Lease Agreement for El
         lease is for and the nature of                   Cajon Main St Super
         the debtor's interest                            Sport dated 03/29/2010

                  State the term remaining                Undetermined                   RS PARTNERS LP
                                                                                         Attn: Preeti Mathur
             List the contract number of any                                             170 Leafy Pass
                   government contract                                                   Irvine, CA 92602


 2.1384. State what the contract or                       Lessee for location at
         lease is for and the nature of                   880 El Cajon Super
         the debtor's interest                            Sport dated 12/18/2009

                  State the term remaining                11/28/2024
                                                                                         RS PARTNERS LP
             List the contract number of any                                             198 West Main Street
                   government contract                                                   El Cajon, CA 92020-3399


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 246 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 887 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1385. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Littleton Belleview
         the debtor's interest                            Sport dated 06/27/2008
                                                                                         RSD Partners LLC
                  State the term remaining                Undetermined                   c/o LCP Management LLC
                                                                                         2150 West 29th Avenue
             List the contract number of any                                             Suite 410
                   government contract                                                   Denver, CO 80211


 2.1386. State what the contract or                       Lessee for location at
         lease is for and the nature of                   731 Scarsdale Central
         the debtor's interest                            Park Ave dated
                                                          12/23/2017
                  State the term remaining                12/31/2037
                                                                                         RUDETH REALTY COMPANY LLC
             List the contract number of any                                             668 Central Park Ave
                   government contract                                                   Scarsdale, NY 10583-2512


 2.1387. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Scarsdale Central Park
         the debtor's interest                            Ave Super Sport dated
                                                          12/01/2017                     Rudeth Realty LLC
                  State the term remaining                Undetermined                   c/o Wagner Francis Richman & Ackerman
                                                                                         Attn: Sheryl Fine
             List the contract number of any                                             66 South Tyson Avenue
                   government contract                                                   Floral Park, NY 11101


 2.1388. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Coconut Grove Sport
         the debtor's interest                            dated 11/12/2005

                  State the term remaining                Undetermined
                                                                                         S&C Venture, a Florida Joint Venture
             List the contract number of any                                             1261 20th Street
                   government contract                                                   Miami Beach, FL 33139


 2.1389. State what the contract or                       Agreement File
         lease is for and the nature of                   Summary dated
         the debtor's interest                            03/01/2010

                  State the term remaining                Undetermined                   S.L.I. Systems, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             20370 Town Center Lane, Suite 208
                   government contract                                                   Cupertino, CA 95014


 2.1390. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Doral West Super Sport
         the debtor's interest                            dated 12/10/2019
                                                                                         S/VIIB Beacon Lakes LLC
                  State the term remaining                Undetermined                   c/o Stiles Corporation
                                                                                         301 East Las Olas Boulevard
             List the contract number of any                                             Fort Lauderdale, FL 33301
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 247 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 888 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1391. State what the contract or                       Lessee for location at
         lease is for and the nature of                   267 Doral West Super
         the debtor's interest                            Sport dated 12/21/2019

                  State the term remaining                Undetermined
                                                                                         S/VIIB Beacon Lakes LLC
             List the contract number of any                                             1970 NW 117 PL
                   government contract                                                   Miami, FL 33182-1500


 2.1392. State what the contract or                       Lease Agreement for El
         lease is for and the nature of                   Cerrito Super Sport
         the debtor's interest                            dated 08/07/2018

                  State the term remaining                Undetermined                   Safeway Inc
                                                                                         Attn: Legal Dept, Real Estate Law
             List the contract number of any                                             250 E. Parkcenter Blvd.
                   government contract                                                   Boise, ID 83702


 2.1393. State what the contract or                       Sublessee for location
         lease is for and the nature of                   at 937 El Cerrito Super
         the debtor's interest                            Sport dated 08/18/2018

                  State the term remaining                11/14/2031
                                                                                         SAFEWAY INC
             List the contract number of any                                             10636 San Pablo Ave
                   government contract                                                   El Cerrito, CA


 2.1394. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/23/2006
                                                                                         Salesforce.com, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         The Landmark # One Market
             List the contract number of any                                             Suite 300
                   government contract                                                   San Francisco, CA 94105


 2.1395. State what the contract or                       MASTER SERVICES
         lease is for and the nature of                   AGREEMENT FILE
         the debtor's interest                            SUMMARY dated
                                                          02/23/2006                     Salesforce.com, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         The Landmark # One Market
             List the contract number of any                                             Suite 300
                   government contract                                                   San Francisco, CA 94105




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 248 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 889 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1396. State what the contract or                       MASTER
         lease is for and the nature of                   SUBSCRIPTION
         the debtor's interest                            AGREEMENT FILE
                                                          SUMMARY dated
                                                          02/23/2006                     Salesforce.com, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         The Landmark # One Market
             List the contract number of any                                             Suite 300
                   government contract                                                   San Francisco, CA 94105


 2.1397. State what the contract or                       Master Subscription
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/22/2006
                                                                                         Salesforce.com, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         The Landmark @ One Market
             List the contract number of any                                             Suite 300
                   government contract                                                   San Francisco, CA 94105


 2.1398. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   East Meadow (Pipeline)
         the debtor's interest                            dated Based on
                                                          LL/Permit Delivery
                  State the term remaining                Undetermined                   Salisbury Partners LLC
                                                                                         Attn: Stephen Cantor
             List the contract number of any                                             3000 Marcus Avenue
                   government contract                                                   Lake Success, NY 11020


 2.1399. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Hillsdale Sport dated
         the debtor's interest                            12/11/2000

                  State the term remaining                Undetermined                   Salvatore LLC
                                                                                         Attn: Joe Rubino
             List the contract number of any                                             PO Box 5908
                   government contract                                                   San Jose, CA 95150


 2.1400. State what the contract or                       Lessee for location at
         lease is for and the nature of                   504 Hillsdale Sport
         the debtor's interest                            dated 12/11/2000

                  State the term remaining                12/31/2025
                                                                                         Salvatore LLC
             List the contract number of any                                             1825-A Hillsdale Avenue
                   government contract                                                   San Jose, CA 95124-3405


 2.1401. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Mountain View Super            San Antonio Center II LLC
         the debtor's interest                            Sport dated 01/01/1999         Los Altos School District
                                                                                         c/o FRIT CA Operations, Inc.
                  State the term remaining                Undetermined                   Attn: Legal Department
                                                                                         Rockville, MD 20852-4041
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 249 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 890 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.1402. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   College Grove dated
         the debtor's interest                            12/20/2004

                  State the term remaining                Undetermined                   San Diego Grove, LP
                                                                                         c/o Cornerstone Property Management
             List the contract number of any                                             8525 GIBBS DRIVE, SUITE 200
                   government contract                                                   San Diego, CA 92123


 2.1403. State what the contract or                       Lessee for location at
         lease is for and the nature of                   057 College Grove
         the debtor's interest                            dated 12/20/2004

                  State the term remaining                12/31/2024                     San Diego Grove, LP
                                                                                         6348 College Grove Way
             List the contract number of any                                             Suite 109
                   government contract                                                   San Diego, CA 92115-8401


 2.1404. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Yorba Linda Super
         the debtor's interest                            Sport dated 05/31/2014
                                                                                         San Jose Central Travel, Inc
                  State the term remaining                Undetermined                   c/o John Suk Sohn, CPA
                                                                                         3001 Geary Blvd
             List the contract number of any                                             Ste 201
                   government contract                                                   San Francisco, CA 94118


 2.1405. State what the contract or                       Lessee for location at
         lease is for and the nature of                   896 Yorba Linda Super
         the debtor's interest                            Sport dated 05/31/2014

                  State the term remaining                12/31/2029
                                                                                         San Jose Central Travel, Inc
             List the contract number of any                                             4848 Valley View Ave
                   government contract                                                   Yorba Linda, CA 92886-3642


 2.1406. State what the contract or                       GROUP SALES
         lease is for and the nature of                   AGREEMENT dated
         the debtor's interest                            05/14/2018

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive, San Ramon, CA
                   government contract                                                   San Ramon, CA 94583




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 250 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 891 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1407. State what the contract or                       Rate Agreement dated
         lease is for and the nature of                   02/07/2011
         the debtor's interest

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             18090 San Ramon Valley Boulevard
                   government contract                                                   San Ramon, CA 94583


 2.1408. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            06/15/2015

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1409. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            04/06/2015

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1410. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/14/2015

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1411. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/18/2015

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1412. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            06/23/2015
                                                                                         San Ramon Marriott
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         2600 Bishop Drive
             List the contract number of any                                             San Ramon, CA 94583
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 251 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 892 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1413. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/14/2015

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1414. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/14/2015

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1415. State what the contract or                       Hotel Agreement dated
         lease is for and the nature of                   09/19/2016
         the debtor's interest

                  State the term remaining                Undetermined                   San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1416. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            04/11/2017

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1417. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            04/11/2017

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1418. State what the contract or                       Group Sales                    San Ramon Marriott
         lease is for and the nature of                   Agreement dated                Attn: General Counsel
         the debtor's interest                            07/18/2017                     2600 Bishop Drive
                                                                                         San Ramon, CA 94583
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 252 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 893 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.1419. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            07/18/2017

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1420. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            11/13/2017

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1421. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            11/13/2017

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1422. State what the contract or                       Agreement dated
         lease is for and the nature of                   01/01/2018
         the debtor's interest

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1423. State what the contract or                       Agreement dated
         lease is for and the nature of                   01/01/2018
         the debtor's interest

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 253 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 894 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1424. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/14/2018

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1425. State what the contract or                       Agreement dated
         lease is for and the nature of                   01/01/2019
         the debtor's interest

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1426. State what the contract or                       Room Agreement dated
         lease is for and the nature of                   01/01/2019
         the debtor's interest

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1427. State what the contract or                       Group Ramon Marriott
         lease is for and the nature of                   dated 04/29/2019
         the debtor's interest

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1428. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            04/29/2019

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1429. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            10/14/2019
                                                                                         San Ramon Marriott
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         2600 Bishop Drive
             List the contract number of any                                             San Ramon, CA 94583
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 254 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 895 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1430. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            10/14/2019

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1431. State what the contract or                       Service Agreement
         lease is for and the nature of                   dated 01/01/2010
         the debtor's interest

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1432. State what the contract or                       Rate Agreement dated
         lease is for and the nature of                   02/16/2011
         the debtor's interest

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1433. State what the contract or                       Rate Agreement dated
         lease is for and the nature of                   02/02/2012
         the debtor's interest

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1434. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            11/30/2014

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1435. State what the contract or                       Group Sales                    San Ramon Marriott
         lease is for and the nature of                   Agreement dated                Attn: General Counsel
         the debtor's interest                            02/09/2015                     2600 Bishop Drive
                                                                                         San Ramon, CA 94583
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 255 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 896 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.1436. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/14/2015

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1437. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/08/2019

                  State the term remaining                Potentially Expired            San Ramon Marriott
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Bishop Drive
                   government contract                                                   San Ramon, CA 94583


 2.1438. State what the contract or                       Hotel Contract dated
         lease is for and the nature of                   06/20/2018
         the debtor's interest

                  State the term remaining                Potentially Expired            San Ramon Residence Inn
                                                                                         Attn: General Counsel
             List the contract number of any                                             1071 Market Place
                   government contract                                                   San Ramon, CA 94583


 2.1439. State what the contract or                       Hotel Contract dated
         lease is for and the nature of                   01/08/2019
         the debtor's interest

                  State the term remaining                Potentially Expired            San Ramon Residence Inn
                                                                                         Attn: General Counsel
             List the contract number of any                                             1071 Market Place
                   government contract                                                   San Francisco, CA 94583


 2.1440. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Huntington Beach
         the debtor's interest                            Active dated 01/01/1995
                                                                                         Sancals Group LLC
                  State the term remaining                Undetermined                   8885 Venice Blvd
                                                                                         8885 Venice Blvd
             List the contract number of any                                             Ste 200
                   government contract                                                   Los Angeles, CA 90034




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 256 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 897 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1441. State what the contract or                       Lessee for location at
         lease is for and the nature of                   105 Huntington Beach
         the debtor's interest                            Active dated 10/01/1979

                  State the term remaining                12/31/2026
                                                                                         Sancals Group LLC
             List the contract number of any                                             5858 Warner Avenue
                   government contract                                                   Huntington Beach, CA 92649-4658


 2.1442. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Simi Valley-Tapo Active
         the debtor's interest                            Dry dated 10/27/2006

                  State the term remaining                Undetermined                   Santa Susana GRF2, LLC
                                                                                         c/o Gerrity Atlantic Management, Inc.
             List the contract number of any                                             973 Lomas Santa Fe Drive
                   government contract                                                   Solana, CA 92075


 2.1443. State what the contract or                       Lessee for location at
         lease is for and the nature of                   852 Chandler Sport
         the debtor's interest                            (CLOSED) dated
                                                          06/19/2006
                  State the term remaining                5/31/2021
                                                                                         Santan North Investors, LLC
             List the contract number of any                                             1085 South Arizona Avenue
                   government contract                                                   Chandler, AZ 85286-6505


 2.1444. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Santee Sport dated
         the debtor's interest                            12/18/2002
                                                                                         Santee Trolley Square 991, LP
                  State the term remaining                Undetermined                   Attn: Legal Department
                                                                                         3333 New Hyde Park Rd, Suite 100
             List the contract number of any                                             PO Box 5020
                   government contract                                                   New Hyde Park, NY 11042-0020


 2.1445. State what the contract or                       Lessee for location at
         lease is for and the nature of                   104 Santee Sport dated
         the debtor's interest                            10/18/2002

                  State the term remaining                10/17/2022
                                                                                         Santee Trolley Square 991, LP
             List the contract number of any                                             9906 Mission Gorge Road
                   government contract                                                   Santee, CA 92071-3840


 2.1446. State what the contract or                       Statement of Work -
         lease is for and the nature of                   Technical Solutions
         the debtor's interest                            Agreement dated                Sarcom Corporation
                                                          06/14/2010                     Attn: General Counsel
                  State the term remaining                Potentially Expired            4995 Murphy Canyon Road
                                                                                         Suite 300
             List the contract number of any                                             San Diego, CA 92123
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 257 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 898 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1447. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            06/28/2010

                  State the term remaining                Undetermined                   Sarcom Incorporated
                                                                                         Attn: Ed Tarzi
             List the contract number of any                                             19 Morgan
                   government contract                                                   Irvine, CA 92618


 2.1448. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            06/28/2010

                  State the term remaining                Undetermined                   Sarcom Incorporated
                                                                                         Attn: Ed Tarzi
             List the contract number of any                                             19 Morgan
                   government contract                                                   Irvine, CA 92618


 2.1449. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement and
         the debtor's interest                            Statement of Work
                                                          dated 06/28/2010
                  State the term remaining                Potentially Expired            Sarcom Incorporated
                                                                                         Attn: Ed Tarzi
             List the contract number of any                                             19 Morgan
                   government contract                                                   Irvine, CA 92618


 2.1450. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Reg Ofc_Lakeshore
         the debtor's interest                            Towers dated
                                                          07/01/2017
                  State the term remaining                745 Days                       SASKAWAY SIX LP - V0000413102
                                                                                         14275 Midway Rd.
             List the contract number of any                                             Suite 160
                   government contract                                                   Addison, TX 75001


 2.1451. State what the contract or                       Lessee for location at
         lease is for and the nature of                   96400 Dallas Regional
         the debtor's interest                            Office dated 11/01/2012

                  State the term remaining                6/30/2020
                                                                                         SASKAWAY SIX LP - V0000413102
             List the contract number of any                                             14275 Midway Road
                   government contract                                                   Addison, TX 75001


 2.1452. State what the contract or                       Lease Agreement for            SCB, Inc
         lease is for and the nature of                   Fullerton Imperial             c/o Scotti and Associates, Inc.
         the debtor's interest                            Highway dated                  PO Box 5917
                                                          01/25/2018                     Fullerton, CA 92838
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 258 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 899 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1453. State what the contract or                       Lessee for location at
         lease is for and the nature of                   844 Fullerton Super
         the debtor's interest                            Sport dated 07/29/2017

                  State the term remaining                1/31/2033
                                                                                         SCB, Inc
             List the contract number of any                                             130 Imperial Highway
                   government contract                                                   Fullerton, CA 92835-1019


 2.1454. State what the contract or                       Standard Software as a
         lease is for and the nature of                   Service Agreement
         the debtor's interest                            dated 04/02/2018
                                                                                         ScoutRFP, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         123 Mission Street
             List the contract number of any                                             Suite 600
                   government contract                                                   San Francisco, CA 94105


 2.1455. State what the contract or                       Standard Software as a
         lease is for and the nature of                   Service Agreement -
         the debtor's interest                            Not Dated
                                                                                         ScoutRFP, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         123 Mission Street
             List the contract number of any                                             Suite 600
                   government contract                                                   San Francisco, CA 94105


 2.1456. State what the contract or                       SCW LMM, Inc.
         lease is for and the nature of                   Supplementary
         the debtor's interest                            Agreement dated
                                                          01/10/2012                     SCW LMM, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         c/o SCW Inc.
             List the contract number of any                                             7365 Old Alexandria Ferry Rd
                   government contract                                                   Clinton, MD 20735-1832


 2.1457. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Bishop Ranch (San
         the debtor's interest                            Ramon)-CA dated
                                                          07/01/2015
                  State the term remaining                Undetermined                   SDC7, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             2600 Camino Ramon, Suite #201
                   government contract                                                   San Ramon, CA 94583




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 259 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 900 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1458. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Channel Islands Active
         the debtor's interest                            dated 08/01/2008
                                                                                         Seabridge Partners, LP
                  State the term remaining                Undetermined                   Attn: Shahram Afshani
                                                                                         3280 Motor Avenue
             List the contract number of any                                             Suite 200
                   government contract                                                   Los Angeles, CA 90034


 2.1459. State what the contract or                       Lessee for location at
         lease is for and the nature of                   919 Channel Islands
         the debtor's interest                            Active dated 08/01/2008

                  State the term remaining                7/31/2023                      Seabridge Partners, LP
                                                                                         1651 Victoria Avenue, Suite 160
             List the contract number of any                                             Suite 160
                   government contract                                                   Oxnard, CA 93035-1592


 2.1460. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   The Promenade Super
         the debtor's interest                            Sport dated 07/01/2005
                                                                                         Second & S.M. Blvd. Associates, LLC
                  State the term remaining                1,841 Days                     Doug Lambeck
                                                                                         12381 Wilshire Blvd.
             List the contract number of any                                             Ste 201
                   government contract                                                   Los Angeles, CA 90025-2058


 2.1461. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            07/01/2015

                  State the term remaining                Undetermined                   Securitas Security Services USA, Inc.
                                                                                         Attn: Peter Platten, VP National Sales
             List the contract number of any                                             2 Campus Drive
                   government contract                                                   Parsippany, NJ 07054


 2.1462. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            07/01/2015

                  State the term remaining                Undetermined                   Securitas Security Services USA, Inc.
                                                                                         Attn: Peter Platten, VP National Sales
             List the contract number of any                                             2 Campus Drive
                   government contract                                                   Parsippany, NJ 07054


 2.1463. State what the contract or                       Lessee for location at
         lease is for and the nature of                   733 Yorktown Heights
         the debtor's interest                            dated 03/14/2020
                                                                                         Seritage
                  State the term remaining                3/31/2035                      600 Lee Blvd., Suite 1180
                                                                                         Jefferson Valley Mall
             List the contract number of any                                             Yorktown Heights, NY
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 260 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 901 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1464. State what the contract or                       Lessee for location at
         lease is for and the nature of                   734 East Northpoint
         the debtor's interest                            Super Sport dated
                                                          02/29/2020
                  State the term remaining                2/28/2035                      Seritage
                                                                                         4000 Jericho Turnpike
             List the contract number of any                                             Suite 1190
                   government contract                                                   East Northport, NY 11731


 2.1465. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Yorktown Heights
         the debtor's interest                            dated 03/20/2020
                                                                                         Seritage SRC Finance LLC
                  State the term remaining                Undetermined                   c/o Seritage Growth Properties
                                                                                         Attn: Executive VP Operations & Leasing
             List the contract number of any                                             500 Fifth Avenue
                   government contract                                                   New York, NY 10110


 2.1466. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   East Northport dated
         the debtor's interest                            02/18/2020
                                                                                         Seritage SRC Finance LLC
                  State the term remaining                Undetermined                   c/o Seritage Growth Properties
                                                                                         Attn: Executive VP Operations & Leasing
             List the contract number of any                                             500 Fifth Avenue
                   government contract                                                   New York, NY 10110


 2.1467. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Hicksville Broadway
         the debtor's interest                            (Pipeline) dated Based
                                                          on LL/Permit Delivery          Seritage SRC Finance LLC
                  State the term remaining                Undetermined                   c/o Seritage Growth Properties
                                                                                         Attn: Executive VP Operations & Leasing
             List the contract number of any                                             500 Fifth Avenue
                   government contract                                                   New York, NY 10110


 2.1468. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Chicago North Harlem
         the debtor's interest                            (Pipeline) dated Based
                                                          on LL/Permit Delivery          Seritage SRC Finance LLC
                  State the term remaining                Undetermined                   c/o Seritage Growth Properties
                                                                                         Attn: EVP, General Counsel
             List the contract number of any                                             500 Fifth Avenue
                   government contract                                                   New York, NY 10110


 2.1469. State what the contract or                       Lease Agreement for       Seritage SRC Finance LLC
         lease is for and the nature of                   Six Corners Irving Park   c/o Seritage Growth Properties
         the debtor's interest                            (Pipeline) dated Based    Attn: EVP, General Counsel
                                                          on LL/Permit Delivery     500 Fifth Avenue
Official Form 206G                               Schedule G: Executory Contracts andNew  York, Leases
                                                                                     Unexpired NY 10110                                 Page 261 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 902 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1470. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Joliet (Pipeline) dated
         the debtor's interest                            Based on LL/Permit
                                                          Delivery                       Seritage SRC Finance LLC
                  State the term remaining                Undetermined                   c/o Seritage Growth Properties
                                                                                         Attn: EVP, General Counsel
             List the contract number of any                                             500 Fifth Avenue
                   government contract                                                   New York, NY 10110


 2.1471. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Orland Park Square
         the debtor's interest                            (Pipeline) dated Based
                                                          on LL/Permit Delivery          Seritage SRC Finance LLC
                  State the term remaining                Undetermined                   c/o Seritage Growth Properties
                                                                                         Attn: EVP, General Counsel
             List the contract number of any                                             500 Fifth Avenue
                   government contract                                                   New York, NY 10110


 2.1472. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement - Product
         the debtor's interest                            Order Form dated
                                                          07/01/2018
                  State the term remaining                Undetermined                   ServiceChannel.com, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             18 East 16th Street, 2nd Floor
                   government contract                                                   New York, NY 10003


 2.1473. State what the contract or                       MASTER SERVICES
         lease is for and the nature of                   AGREEMENT
         the debtor's interest                            PRODUCT ORDER
                                                          FORM dated
                                                          07/01/2018
                  State the term remaining                Undetermined                   ServiceChannel.com, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             18 East 16th Street, 2nd Floor
                   government contract                                                   New York, NY 10003


 2.1474. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Gladstone McLoughlin
         the debtor's interest                            Blvd dated 07/01/2017

                  State the term remaining                Undetermined                   Seven Hills Properties 31, LLC
                                                                                         Attn: NAI Elliott
             List the contract number of any                                             901 NE Glisan Street
                   government contract                                                   Portland, OR 97232


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 262 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 903 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1475. State what the contract or                       Lessee for location at
         lease is for and the nature of                   427 Gladstone Super
         the debtor's interest                            Sport dated 07/22/2017

                  State the term remaining                6/30/2032
                                                                                         Seven Hills Properties 31, LLC
             List the contract number of any                                             465 W. Arlington Street
                   government contract                                                   Gladstone, OR 97027


 2.1476. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Bedford Super Sport
         the debtor's interest                            dated 02/06/1996
                                                                                         SF TX LP
                  State the term remaining                Undetermined                   c/o W.P. Carey Inc.
                                                                                         50 Rockefeller Plaza,
             List the contract number of any                                             2nd Floor
                   government contract                                                   New York, NY 10020


 2.1477. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Taylorsville Sport dated
         the debtor's interest                            12/16/2002
                                                                                         SFP 24 Hour Taylorsville LLC
                  State the term remaining                Undetermined                   Newmark Grubb ACRES
                                                                                         376 East 400 South
             List the contract number of any                                             Suite 120
                   government contract                                                   Salt Lake City, UT 84111


 2.1478. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Downtown Sacramento
         the debtor's interest                            SuperSport dated
                                                          10/19/2011                     SG Downtown LLC
                  State the term remaining                Undetermined                   SGD Retail LLC
                                                                                         c/o DOCO Management - CBRE
             List the contract number of any                                             Attn: Jamie Adao
                   government contract                                                   Sacramento, CA 95814


 2.1479. State what the contract or                       Lessee for location at
         lease is for and the nature of                   598 Sacramento
         the debtor's interest                            Downtown Super Sport
                                                          dated 07/01/2000
                  State the term remaining                12/31/2026
                                                                                         SGD RETAIL LLC
             List the contract number of any                                             1020 7th Street
                   government contract                                                   Sacramento, CA 95814-3400


 2.1480. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Milpitas Super Sport
         the debtor's interest                            dated 05/14/2018
                                                                                         Shapell Calaveras, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         11200 Corbin Avenue Suite 201
             List the contract number of any                                             Porter, CA 91326
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 263 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 904 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1481. State what the contract or                       Lessee for location at
         lease is for and the nature of                   602 Milpitas Town
         the debtor's interest                            Center Super Sport
                                                          dated 05/12/2018
                  State the term remaining                5/31/2033
                                                                                         Shapell Calaveras, LLC.
             List the contract number of any                                             749 East Calaveras Blvd
                   government contract                                                   Milpitas, CA 95033-5435


 2.1482. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Milpitas Active dated
         the debtor's interest                            12/05/2005

                  State the term remaining                Undetermined                   Shapell Properties Inc (Club 601)
                                                                                         SHAPELL NORCAL RENTAL PROPERTIES LLC
             List the contract number of any                                             39650 Liberty Street, Suite 490
                   government contract                                                   Fremont, CA 94538


 2.1483. State what the contract or                       Reseller Agreement
         lease is for and the nature of                   dated 11/06/2017
         the debtor's interest
                                                                                         Shubh Solutions, LLC
                  State the term remaining                Undetermined                   Attn: Kesava Pasumarthi
                                                                                         10225 Barnes Canyon Rd.
             List the contract number of any                                             Suite A206
                   government contract                                                   San Diego, CA 92121


 2.1484. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            04/29/2016
                                                                                         Shubh Solutions, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         10225 Barnes Canyon Rd.
             List the contract number of any                                             Suite A206
                   government contract                                                   San Diego, CA 92121


 2.1485. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            11/17/2014

                  State the term remaining                Potentially Expired            Shubh Solutions, LLC
                                                                                         Attn: Kesava Pasumarthi
             List the contract number of any                                             10225 Barnes Canyon Rd.
                   government contract                                                   San Diego, CA 92121


 2.1486. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Oakland Active dated           SIC - Lakeside Drive, LLC
         the debtor's interest                            04/26/1996                     300 Lakeside Drive, Ste. 206
                                                                                         Oakland, CA 94612
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 264 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 905 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                1,928 Days

             List the contract number of any
                   government contract


 2.1487. State what the contract or                       Lessee for location at
         lease is for and the nature of                   532 Oakland Active
         the debtor's interest                            dated 06/01/1996

                  State the term remaining                9/25/2025
                                                                                         SIC - Lakeside Drive, LLC
             List the contract number of any                                             2050 Webster Street
                   government contract                                                   Oakland, CA 94612-3512


 2.1488. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Missouri City Hwy
         the debtor's interest                            (Pipeline) dated Based
                                                          on LL/Permit Delivery          Sienna Cypress LLC
                  State the term remaining                Undetermined                   c/o Williamsburg Enterprises LLC
                                                                                         3 Riverway
             List the contract number of any                                             Suite 1100
                   government contract                                                   Houston, TX 77056


 2.1489. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Silverado Sport dated
         the debtor's interest                            04/14/2002
                                                                                         Silverado Ranch Centre II, LLC
                  State the term remaining                Undetermined                   c/o Laurich Properties
                                                                                         10655 Park Run Drive
             List the contract number of any                                             Ste 160
                   government contract                                                   Las Vegas, NV 89144


 2.1490. State what the contract or                       Program and Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/20/2013

                  State the term remaining                Undetermined                   SiteSpect, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             10 Milk Street, Suite 820
                   government contract                                                   Boston, MA 02108


 2.1491. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Montclair Active dated
         the debtor's interest                            09/15/2006
                                                                                         Skolem Group, LLC
                  State the term remaining                Undetermined                   c/o BP International, Inc.
                                                                                         650 W. Duarte Rd
             List the contract number of any                                             Ste. 1088
                   government contract                                                   Arcadia, CA 91007




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 265 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 906 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1492. State what the contract or                       Dealer Application and
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            07/25/2011

                  State the term remaining                Undetermined                   Skullcandy, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1441 West Ute Boulevard
                   government contract                                                   Park City, UT 84098


 2.1493. State what the contract or                       Master Subscription
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/03/2018

                  State the term remaining                Undetermined                   Slack Technologies, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             500 Howard Street
                   government contract                                                   San Francisco, CA 94105


 2.1494. State what the contract or                       Sma + Architects,
         lease is for and the nature of                   Project Agreement
         the debtor's interest                            dated 08/15/2018

                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 West Main Street
                   government contract                                                   Allen, TX 75013


 2.1495. State what the contract or                       Sma + Architects, PC.
         lease is for and the nature of                   Project Agreement
         the debtor's interest                            dated 02/20/2019

                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 West Main Street
                   government contract                                                   Allen, TX 75013


 2.1496. State what the contract or                       Project Agreement for
         lease is for and the nature of                   Consultant Services
         the debtor's interest                            dated 02/21/2019

                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 West Main Street
                   government contract                                                   Allen, TX 75013


 2.1497. State what the contract or                       Project Agreement for
         lease is for and the nature of                   Architectural/Engineeri
         the debtor's interest                            ng Consultant Services
                                                          dated 02/22/2019               SMA Architects, PC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         115 West Main Street
             List the contract number of any                                             Allen, TX 75013
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 266 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 907 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1498. State what the contract or                       Agreement for
         lease is for and the nature of                   Consultant Services
         the debtor's interest                            dated 03/08/2019

                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 West Main Street
                   government contract                                                   Allen, TX 75013


 2.1499. State what the contract or                       Sma + Architects,
         lease is for and the nature of                   Project Agreement
         the debtor's interest                            dated 03/23/2019

                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 West Main Street
                   government contract                                                   Allen, TX 75013


 2.1500. State what the contract or                       Agreement for
         lease is for and the nature of                   Consultant Services
         the debtor's interest                            dated 03/23/2019

                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 West Main Street
                   government contract                                                   Allen, TX 75013


 2.1501. State what the contract or                       Agreement for
         lease is for and the nature of                   Consultant Services
         the debtor's interest                            dated 07/21/2019

                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 West Main Street
                   government contract                                                   Allen, TX 75013


 2.1502. State what the contract or                       Sma + Architects,
         lease is for and the nature of                   Project Agreement
         the debtor's interest                            dated 10/02/2019

                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 West Main Street
                   government contract                                                   Allen, TX 75013


 2.1503. State what the contract or                       Agreement for                  SMA Architects, PC
         lease is for and the nature of                   Consultant Services            Attn: General Counsel
         the debtor's interest                            dated 10/11/2019               115 West Main Street
                                                                                         Allen, TX 75013
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 267 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 908 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1504. State what the contract or                       Sma + Architects, PC.
         lease is for and the nature of                   Project Agreement
         the debtor's interest                            dated 10/25/2019

                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 West Main Street
                   government contract                                                   Allen, TX 75013


 2.1505. State what the contract or                       Sma + Architects, PC.
         lease is for and the nature of                   Project Agreement
         the debtor's interest                            dated 10/25/2019

                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 West Main Street
                   government contract                                                   Allen, TX 75013


 2.1506. State what the contract or                       Sma + Architects,
         lease is for and the nature of                   Project Agreement
         the debtor's interest                            dated 03/08/2017

                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 W. Main Street
                   government contract                                                   Allen, TX 75013


 2.1507. State what the contract or                       Sma + Architects,
         lease is for and the nature of                   Project Agreement
         the debtor's interest                            dated 05/12/2017

                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 W. Main Street
                   government contract                                                   Allen, TX 75013


 2.1508. State what the contract or                       Sma + Architects,
         lease is for and the nature of                   Project Agreement
         the debtor's interest                            dated 12/14/2017

                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 W. Main Street
                   government contract                                                   Allen, TX 75013




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 268 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 909 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1509. State what the contract or                       Sma + Architects,
         lease is for and the nature of                   Project Agreement
         the debtor's interest                            dated 11/20/2018

                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 W. Main Street
                   government contract                                                   Allen, TX 75013


 2.1510. State what the contract or                       Project Agreement for
         lease is for and the nature of                   Architectural/Engineeri
         the debtor's interest                            ng Consultant Services
                                                          dated 03/25/2019
                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 W. Main Street
                   government contract                                                   Allen, TX 75013


 2.1511. State what the contract or                       Architectural &
         lease is for and the nature of                   Engineering Services
         the debtor's interest                            Agreement -
                                                          Piscataway dated
                                                          08/05/2019
                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 W. Main Street
                   government contract                                                   Allen, TX 75013


 2.1512. State what the contract or                       SMA ARCHITECTS
         lease is for and the nature of                   PROJECT
         the debtor's interest                            AGREEMENT FOR
                                                          ARCHITECTURAL/ENGI
                                                          NEERING
                                                          CONSULTANT
                                                          SERVICES dated
                                                          01/30/2019
                  State the term remaining                Undetermined                   SMA Architects, PC
                                                                                         Attn: General Counsel
             List the contract number of any                                             115 W Main St
                   government contract                                                   Allen, TX 75013


 2.1513. State what the contract or                       Order Sheet dated
         lease is for and the nature of                   06/21/2018
         the debtor's interest
                                                                                         Smartsheet, Inc.
                  State the term remaining                Potentially Expired            Attn: Catriana Sheputis
                                                                                         10500 NE 8th Street
             List the contract number of any                                             Suite 1300
                   government contract                                                   Bellevue, WA 98004-4312




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 269 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 910 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1514. State what the contract or                       Services Agreement
         lease is for and the nature of                   dated 06/28/2018
         the debtor's interest
                                                                                         Smartsheet, Inc.
                  State the term remaining                Undetermined                   Attn: Catriana Sheputis
                                                                                         10500 NE 8th Street
             List the contract number of any                                             Suite 1300
                   government contract                                                   Bellevue, WA 98004-4312


 2.1515. State what the contract or                       SERVICES
         lease is for and the nature of                   AGREEMENT - Not
         the debtor's interest                            Dated
                                                                                         Smartsheet, Inc.
                  State the term remaining                Undetermined                   Attn: Catriana Sheputis
                                                                                         10500 NE 8th Street
             List the contract number of any                                             Suite 1300
                   government contract                                                   Bellevue, WA 98004-4312


 2.1516. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Santa Monica Super
         the debtor's interest                            Sport dated 01/02/1979
                                                                                         SMBP LLC
                  State the term remaining                Undetermined                   c/o Boston Properties
                                                                                         Attn: Jon Lange
             List the contract number of any                                             3200 Ocean Park Blvd
                   government contract                                                   Santa Monica, CA 90405


 2.1517. State what the contract or                       Lessee for location at
         lease is for and the nature of                   183 Santa Monica
         the debtor's interest                            Super Sport dated
                                                          11/01/1996
                  State the term remaining                2/28/2022
                                                                                         SMBP LLC
             List the contract number of any                                             2929 31st Street
                   government contract                                                   Santa Monica, CA 90405-3036


 2.1518. State what the contract or                       Mastering SAAS
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            01/03/2019

                  State the term remaining                Undetermined                   Snowflake Computing, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             100 South Ellsworth Avenue #100
                   government contract                                                   San Mateo, CA 94491


 2.1519. State what the contract or                       Mastering SAAS
         lease is for and the nature of                   Agreement - Not Dated
         the debtor's interest
                                                                                         Snowflake Computing, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         100 South Ellsworth Avenue #100
             List the contract number of any                                             San Mateo, CA 94401
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 270 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 911 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1520. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Corona Sport dated
         the debtor's interest                            11/01/1999

                  State the term remaining                Undetermined                   SO-McKinley LLC
                                                                                         c/o ShopOne Centers REIT, Inc
             List the contract number of any                                             10100 Waterville Street
                   government contract                                                   Whitehouse, OH 43571


 2.1521. State what the contract or                       Lessee for location at
         lease is for and the nature of                   198 Corona Sport dated
         the debtor's interest                            05/01/1999

                  State the term remaining                5/23/2024                      SO-McKinley LLC
                                                                                         275 Teller Street
             List the contract number of any                                             #100
                   government contract                                                   Corona, CA 92879-1894


 2.1522. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Oxnard Collection
         the debtor's interest                            Super Sport dated
                                                          12/20/2014                     SOCM I, LLC
                  State the term remaining                Undetermined                   c/o Shea Properties
                                                                                         130 Vantis Ste 200
             List the contract number of any                                             Attn: Senior VP of Asset Management
                   government contract                                                   Aliso Viejo, CA 92656


 2.1523. State what the contract or                       Lessee for location at
         lease is for and the nature of                   928 Oxnard Collection
         the debtor's interest                            Super Sport dated
                                                          12/20/2014
                  State the term remaining                12/31/2029
                                                                                         SOCM I, LLC
             List the contract number of any                                             400 Town Center Drive
                   government contract                                                   Oxnard, CA 93036-1145


 2.1524. State what the contract or                       Purchase Agreement
         lease is for and the nature of                   dated 11/01/2016
         the debtor's interest
                                                                                         Softtek Integration Systems, Inc.
                  State the term remaining                Undetermined                   Attn: Corporate Legal Counsel
                                                                                         Boulevard Constitucion #3098 piso PH
             List the contract number of any                                             Monterrey, Nuevo Leon 64650
                   government contract                                                   Mexico


 2.1525. State what the contract or                       Master Services           Softtek Integration Systems, Inc.
         lease is for and the nature of                   Agreement dated           Attn: Corporate Legal Counsel
         the debtor's interest                            03/01/2018                Boulevard Constitucion #3098 piso PH
                                                                                    Monterrey, Nuevo Leon 64650
Official Form 206G                               Schedule G: Executory Contracts andMexico
                                                                                     Unexpired Leases                                   Page 271 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 912 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.1526. State what the contract or                       Sofftek Integration
         lease is for and the nature of                   Systems, Inc. Sales
         the debtor's interest                            Channel Phase 2 Pilot
                                                          dated 01/01/2019               Softtek Integration Systems, Inc.
                  State the term remaining                Potentially Expired            Attn: Corporate Legal Counsel
                                                                                         Boulevard Constitucion #3098 piso PH
             List the contract number of any                                             Monterrey, Nuevo Leon 64650
                   government contract                                                   Mexico


 2.1527. State what the contract or                       Sofftek Integration
         lease is for and the nature of                   Systems, Inc. Sales
         the debtor's interest                            Channel Phase 2 Pilot
                                                          dated 01/01/2019               Softtek Integration Systems, Inc.
                  State the term remaining                Potentially Expired            Attn: Corporate Legal Counsel
                                                                                         Boulevard Constitucion #3098 piso PH
             List the contract number of any                                             Monterrey, Nuevo Leon 64650
                   government contract                                                   Mexico


 2.1528. State what the contract or                       Mi9 Project dated
         lease is for and the nature of                   01/01/2016
         the debtor's interest
                                                                                         Softtek Integration Systems, Inc.
                  State the term remaining                Undetermined                   Attn: Corporate Legal Counsel
                                                                                         Boulevard Constitucion #3098 piso PH
             List the contract number of any                                             Monterrey, Nuevo Leon 64650
                   government contract                                                   Mexico


 2.1529. State what the contract or                       Software Development
         lease is for and the nature of                   dated 01/01/2016
         the debtor's interest
                                                                                         Softtek Integration Systems, Inc.
                  State the term remaining                Undetermined                   Attn: Corporate Legal Counsel
                                                                                         Boulevard Constitucion #3098 piso PH
             List the contract number of any                                             Monterrey, Nuevo Leon 64650
                   government contract                                                   Mexico


 2.1530. State what the contract or                       Software development
         lease is for and the nature of                   dated 01/01/2016
         the debtor's interest
                                                                                         Softtek Integration Systems, Inc.
                  State the term remaining                Undetermined                   Attn: Corporate Legal Counsel
                                                                                         Boulevard Constitucion #3098 piso PH
             List the contract number of any                                             Monterrey, Nuevo Leon 64650
                   government contract                                                   Mexico




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 272 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 913 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1531. State what the contract or                       Computer Products
         lease is for and the nature of                   Handled dated
         the debtor's interest                            06/27/2012
                                                                                         Softtek Integration Systems, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         2002 Summit Boulevard
             List the contract number of any                                             Suite 300
                   government contract                                                   Atlanta, GA 30319


 2.1532. State what the contract or                       Master Agreement
         lease is for and the nature of                   dated 03/16/2015
         the debtor's interest
                                                                                         Softtek Integration Systems, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         2002 Summit Boulevard
             List the contract number of any                                             Suite 300
                   government contract                                                   Atlanta, GA 30319


 2.1533. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/01/2018
                                                                                         Softtek Integration Systems, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         2002 Summit Boulevard
             List the contract number of any                                             Suite 300
                   government contract                                                   Atlanta, GA 30319


 2.1534. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/01/2018
                                                                                         Softtek Integration Systems, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         2002 Summit Boulevard
             List the contract number of any                                             Suite 300
                   government contract                                                   Atlanta, GA 30319


 2.1535. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/01/2018
                                                                                         Softtek Integration Systems, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         2002 Summit Boulevard
             List the contract number of any                                             Suite 300
                   government contract                                                   Atlanta, GA 30319


 2.1536. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/01/2018                     Softtek Integration Systems, Inc.
                                                                                         Attn: General Counsel
                  State the term remaining                Potentially Expired            2002 Summit Boulevard
                                                                                         Suite 300
             List the contract number of any                                             Atlanta, GA 30319
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 273 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 914 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1537. State what the contract or                       Master Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            01/25/2011

                  State the term remaining                Undetermined                   Softtek Integration Systems, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             3003 Summit Blvd, Suite #1500
                   government contract                                                   Atlanta, GA 30319


 2.1538. State what the contract or                       Sales Order dated
         lease is for and the nature of                   03/16/2015
         the debtor's interest
                                                                                         Software Development, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         3825 Hopyard Rd
             List the contract number of any                                             Suite 106
                   government contract                                                   Pleasanton, CA 94588


 2.1539. State what the contract or                       Sales Order dated
         lease is for and the nature of                   03/16/2015
         the debtor's interest
                                                                                         Software Development, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         3825 Hopyard Rd
             List the contract number of any                                             Suite 106
                   government contract                                                   Pleasanton, CA 94583


 2.1540. State what the contract or                       End User License
         lease is for and the nature of                   Agreement - Not Dated
         the debtor's interest
                                                                                         SolarWinds Worldwide, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         3711 South MoPac Expressway
             List the contract number of any                                             Building Two
                   government contract                                                   Austin, TX 78746


 2.1541. State what the contract or                       End-User License
         lease is for and the nature of                   Agreement - Not Dated
         the debtor's interest
                                                                                         Sophos Limited
                  State the term remaining                Undetermined                   Attn: Legal Department
                                                                                         The Pentagon Abingdon Science Park
             List the contract number of any                                             Abingdon, Oxfordshire OX14 3YP
                   government contract                                                   United Kingdom


 2.1542. State what the contract or                       Lease Agreement for            SouthGlenn Property Holdings, LLC
         lease is for and the nature of                   Southglenn Super               5750 DTC Parkway
         the debtor's interest                            Sport dated 01/30/2010         Suite 210
                                                                                         Greenwood Village, CO 80111
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 274 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 915 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1543. State what the contract or                       Master Services dated
         lease is for and the nature of                   04/25/2019
         the debtor's interest

                  State the term remaining                Undetermined                   Southport Marketing Inc.
                                                                                         Attn: Tom Johnson
             List the contract number of any                                             1090 Avenida Acaso
                   government contract                                                   Camarillo, CA 93012


 2.1544. State what the contract or                       Agreement for
         lease is for and the nature of                   Sponsorship and
         the debtor's interest                            Advertising dated
                                                          09/01/2017
                  State the term remaining                564 Days                       Spartan Race, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             234 Congress Street, 5th floor
                   government contract                                                   Boston, MA 02110


 2.1545. State what the contract or                       Data Processor
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            10/29/2019

                  State the term remaining                Undetermined                   Spartan Race, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             234 Congress Street, 5th Floor
                   government contract                                                   Boston, MA 02110


 2.1546. State what the contract or                       Trainers Limited
         lease is for and the nature of                   Coaching License
         the debtor's interest                            dated 10/12/2017

                  State the term remaining                Undetermined                   Spartan Race, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             12647 Alcosta Blvd., Ste. 500
                   government contract                                                   San Ramon, CA 94583


 2.1547. State what the contract or                       DATA PROCESSOR
         lease is for and the nature of                   AGREEMENT dated
         the debtor's interest                            10/29/2019

                  State the term remaining                Undetermined                   Spartan Race, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             12647 Alcosta Blvd., Ste. 500
                   government contract                                                   San Ramon, CA 94583




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 275 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 916 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1548. State what the contract or                       Trainers Limited
         lease is for and the nature of                   Coaching License - Not
         the debtor's interest                            Dated

                  State the term remaining                Undetermined                   Spartan Race, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             12647 Alcosta Blvd., Ste. 500
                   government contract                                                   San Ramon, CA 94583


 2.1549. State what the contract or                       Sponsorship and
         lease is for and the nature of                   Advertising Agreement
         the debtor's interest                            dated 09/01/2017

                  State the term remaining                564 Days                       Spartan Race, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             234 Congress Street, 5th fl
                   government contract                                                   Boston, MA 02110


 2.1550. State what the contract or                       Marketing &
         lease is for and the nature of                   Sponsorship
         the debtor's interest                            Agreement dated
                                                          07/01/2015
                  State the term remaining                Potentially Expired            Spartan Sports Properties, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1393 South 7th Street
                   government contract                                                   San Jose, CA 95112


 2.1551. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Puente Hills Sport
         the debtor's interest                            dated 02/14/2003
                                                                                         Spectrum Clubs, Inc.
                  State the term remaining                Undetermined                   Bud Rockhill
                                                                                         840 Apollo Strret
             List the contract number of any                                             Ste 100
                   government contract                                                   El Segundo, CA 90245


 2.1552. State what the contract or                       Lessee for location at
         lease is for and the nature of                   208 Sugarland Sport
         the debtor's interest                            dated 12/01/1994

                  State the term remaining                3/31/2029
                                                                                         SPIEGEL & SPIEGEL - V0000190931
             List the contract number of any                                             14111 Southwest Freeway
                   government contract                                                   Sugar Land, TX 77478-3776


 2.1553. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Lancaster West Super
         the debtor's interest                            Sport dated 12/31/2009         Spirit Master Funding X, LLC
                                                                                         c/o Spirit Realty Capital, Inc.
                  State the term remaining                Undetermined                   16767 North Perimeter Drive
                                                                                         Suite 210
             List the contract number of any                                             Scottsdale, AZ 85260-1042
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 276 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 917 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1554. State what the contract or                       Lessee for location at
         lease is for and the nature of                   878 Lancaster West
         the debtor's interest                            Super Sport dated
                                                          12/19/2009
                  State the term remaining                12/18/2024
                                                                                         Spirit Master Funding X, LLC
             List the contract number of any                                             1220 West Avenue K
                   government contract                                                   Lancaster, CA 93534-5922


 2.1555. State what the contract or                       Maintenance
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/14/1994

                  State the term remaining                Potentially Expired            Sporting Club of America
                                                                                         Attn: General Counsel
             List the contract number of any                                             18007 1/2 Von Karman
                   government contract                                                   Irvine, CA 92715


 2.1556. State what the contract or                       Supply Agreement
         lease is for and the nature of                   dated 01/01/2011
         the debtor's interest

                  State the term remaining                Undetermined                   SportTech Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             12264 Boulder Pass Drive
                   government contract                                                   Milford, MI 48380


 2.1557. State what the contract or                       Lessee for location at
         lease is for and the nature of                   186 Long Beach Super
         the debtor's interest                            Sport dated 11/01/1996

                  State the term remaining                12/31/2022
                                                                                         Spring Shopping Center, LLC
             List the contract number of any                                             3030 Bellflower Blvd.
                   government contract                                                   Long Beach, CA 90808-3701


 2.1558. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Long Beach Super
         the debtor's interest                            Sport dated 03/01/1994

                  State the term remaining                Undetermined
                                                                                         Spring Shopping Center, LLC
             List the contract number of any                                             PO Box 34486
                   government contract                                                   Los Angeles, CA 90034


 2.1559. State what the contract or                       Master Services           Sprinklr, Inc.
         lease is for and the nature of                   Agreement - Not Dated     Attn: General Counsel
         the debtor's interest                                                      29 West 35th Street
                                                                                    8th Floor
Official Form 206G                               Schedule G: Executory Contracts andNew  York, Leases
                                                                                     Unexpired  NY 10001                                Page 277 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 918 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1560. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement - Not Dated
         the debtor's interest
                                                                                         Sprinklr, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         29 West 35th Street
             List the contract number of any                                             8th Floor
                   government contract                                                   New York, NY 10001


 2.1561. State what the contract or                       Platform License Order
         lease is for and the nature of                   Form - Not Dated
         the debtor's interest
                                                                                         Sprinklr, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         29 West 35th Street
             List the contract number of any                                             8th Floor
                   government contract                                                   New York, NY 10001


 2.1562. State what the contract or                       License Order Form
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/06/2017

                  State the term remaining                Undetermined                   Sprinklr, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             29 West 35th Street, 7th Floor
                   government contract                                                   New York, NY 10001


 2.1563. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement Sprinklr
         the debtor's interest                            dated 02/06/2017

                  State the term remaining                Undetermined                   Sprinklr, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             29 West 35th Street, 8th Floor
                   government contract                                                   New York, NY 10001


 2.1564. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Miramar Active dated
         the debtor's interest                            09/01/1985

                  State the term remaining                Undetermined                   SR19 Mark II Portfolio LLC
                                                                                         c/o Stos Partners
             List the contract number of any                                             669 2nd Street, 2nd Floor
                   government contract                                                   Encinitas, CA 92024




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 278 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 919 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1565. State what the contract or                       Lessee for location at
         lease is for and the nature of                   094 Miramar Active
         the debtor's interest                            dated 08/01/1985

                  State the term remaining                12/31/2029
                                                                                         SR19 Mark II Portfolio LLC
             List the contract number of any                                             9550 Miramar Road
                   government contract                                                   San Diego, CA 92126-4533


 2.1566. State what the contract or                       Lessee for location at
         lease is for and the nature of                   90528 Reg Ofc
         the debtor's interest                            (Miramar) CA dated
                                                          09/01/1985
                  State the term remaining                12/31/2025
                                                                                         SR19 Mark II Portfolio LLC
             List the contract number of any                                             9550 Miramar Road
                   government contract                                                   San Diego, CA 92126


 2.1567. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Katy Sport dated
         the debtor's interest                            04/24/2004
                                                                                         SSS Highland Plaza, LLC
                  State the term remaining                Undetermined                   c/o Wu Properties Attn: Jessica Wu
                                                                                         6100 Corporate Drive
             List the contract number of any                                             Suite 288
                   government contract                                                   Houston, TX 77036


 2.1568. State what the contract or                       Club Seat License
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/14/2019
                                                                                         Stadium Management Company, LLC
                  State the term remaining                Potentially Expired            Denver Broncos Ticket Office
                                                                                         Sports Authority Field at Mile High
             List the contract number of any                                             1701 Bryant Street, Suite 100
                   government contract                                                   Denver, CO 80204


 2.1569. State what the contract or                       Sponsorship
         lease is for and the nature of                   agreement dated
         the debtor's interest                            05/14/2019
                                                                                         Stadium Management Company, LLC
                  State the term remaining                Potentially Expired            c/o Stadium Management Company, LLC
                                                                                         Attn: Joe Ellis, President/CEO
             List the contract number of any                                             13655 Broncos Parkway
                   government contract                                                   Englewood, CO 80112


 2.1570. State what the contract or                       CLUB SEAT LICENSE
         lease is for and the nature of                   dated 05/14/2019
         the debtor's interest                                                           Stadium Management Company, LLC
                                                                                         Attn: General Counsel
                  State the term remaining                Potentially Expired            1701 Bryant Street
                                                                                         Suite 100
             List the contract number of any                                             Denver, CO 80204
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 279 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 920 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1571. State what the contract or                       Sponsorship
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/26/2015

                  State the term remaining                Potentially Expired            Stadium Management Company, LLC
                                                                                         Attn: Joe Ellis, President/CEO
             List the contract number of any                                             13655 Broncos Parkway
                   government contract                                                   Englewood, CO 80112


 2.1572. State what the contract or                       Sponsorship
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/26/2015

                  State the term remaining                Potentially Expired            Stadium Management Company, LLC
                                                                                         Attn: Joe Ellis, President/CEO
             List the contract number of any                                             13655 Broncos Parkway
                   government contract                                                   Englewood, CO 80112


 2.1573. State what the contract or                       Sponsorship
         lease is for and the nature of                   agreement dated
         the debtor's interest                            05/14/2019

                  State the term remaining                Undetermined                   Stadium Management Company, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             13655 Broncos Parkway
                   government contract                                                   Englewood, CO 80112


 2.1574. State what the contract or                       Lessee for location at
         lease is for and the nature of                   960 Vancouver 131st
         the debtor's interest                            Ave Super Sport dated
                                                          09/19/2008
                  State the term remaining                9/18/2023
                                                                                         Stahl Investments LP
             List the contract number of any                                             13019 NE Fourth Plain Road
                   government contract                                                   Vancouver, WA 98682-5547


 2.1575. State what the contract or                       Lessee for location at
         lease is for and the nature of                   960 Vancouver 131st
         the debtor's interest                            Ave Super Sport dated
                                                          09/19/2008
                  State the term remaining                9/18/2023
                                                                                         Stahl Investments LP
             List the contract number of any                                             13019 NE Fourth Plain Road
                   government contract                                                   Vancouver, WA 98682-5547


 2.1576. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Vancouver 131st Ave            Stahl Investments LP
         the debtor's interest                            SuperSport dated               105 2nd Street
                                                          09/19/2008                     Oakland, CA 94607
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 280 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 921 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1577. State what the contract or                       Assignment,
         lease is for and the nature of                   Assumption, and
         the debtor's interest                            Consent Agreement
                                                          dated 06/30/2009
                  State the term remaining                Undetermined                   Staples Contract & Commercial LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             7500 W. 110th Street
                   government contract                                                   Overland Park, KS 66210


 2.1578. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/01/2013

                  State the term remaining                Undetermined                   Staples Contract & Commercial LLC
                                                                                         Attn: Steve Seignious
             List the contract number of any                                             500 Staples Drive
                   government contract                                                   Framingham, MA 01702


 2.1579. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/01/2013

                  State the term remaining                Undetermined                   Staples Contract & Commercial LLC
                                                                                         Attn: Steve Seignious
             List the contract number of any                                             500 Staples Drive
                   government contract                                                   Framingham, MA 01702


 2.1580. State what the contract or                       Program Agreement
         lease is for and the nature of                   dated 02/01/2013
         the debtor's interest

                  State the term remaining                Undetermined                   Staples Contract & Commercial LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             500 Staples Drive
                   government contract                                                   Framingham, MA 01702


 2.1581. State what the contract or                       Staples Advantage
         lease is for and the nature of                   Master Purchasing
         the debtor's interest                            Agreement dated
                                                          02/01/2013
                  State the term remaining                Undetermined                   Staples Contract & Commercial LLC
                                                                                         Attn: Steve Seignious
             List the contract number of any                                             500?Staples Drive
                   government contract                                                   Framingham, MA 01702




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 281 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 922 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1582. State what the contract or                       Program Agreement
         lease is for and the nature of                   dated 02/01/2013
         the debtor's interest

                  State the term remaining                Undetermined                   Staples Contract & Commercial LLC
                                                                                         Attn: SPS VP/GM
             List the contract number of any                                             500 Staples Drive
                   government contract                                                   Framingham, MA 01702


 2.1583. State what the contract or                       Agreement to Order
         lease is for and the nature of                   Marketing Fulfillment
         the debtor's interest                            Inventory List dated
                                                          02/05/2015
                  State the term remaining                Undetermined                   Staples Promotional Products
                                                                                         Attn: SPP General Manager
             List the contract number of any                                             7500 W. 110th Street
                   government contract                                                   Overland Park, KS 66210


 2.1584. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Solano Mall - Fairfield
         the debtor's interest                            Sport dated 06/08/2007

                  State the term remaining                Undetermined                   Star-West Solano LLC
                                                                                         Attn: General Manager
             List the contract number of any                                             1350 Travis Blvd.
                   government contract                                                   Fairfield, CA 94533


 2.1585. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Florin Sport dated
         the debtor's interest                            09/19/2008
                                                                                         STARBOARD FLORIN LLC
                  State the term remaining                Undetermined                   STARBOARD MANAGEMENT SERVICES LLC
                                                                                         c/o Colliers International
             List the contract number of any                                             Attn: Eleanor Mueller
                   government contract                                                   Sacramento, CA 95825


 2.1586. State what the contract or                       Lessee for location at
         lease is for and the nature of                   806 Florin Sport dated
         the debtor's interest                            09/19/2008
                                                                                         STARBOARD FLORIN LLC
                  State the term remaining                9/30/2033                      ROBHANA INVESTMENTS III, LLC
                                                                                         RHET FLORIN, LLC
             List the contract number of any                                             6061 Florin Rd
                   government contract                                                   Sacramento, CA 95823-2304


 2.1587. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Anaheim Garden Walk
         the debtor's interest                            Active dated 06/27/2008        STC GardenWalk, LLC
                                                                                         c/o STC Management
                  State the term remaining                Undetermined                   10722 Beverly Blvd.
                                                                                         Ste. P
             List the contract number of any                                             Whittier, CA 90601
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 282 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 923 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1588. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Antioch Somersville
         the debtor's interest                            Super Sport dated
                                                          08/29/2017
                  State the term remaining                Undetermined
                                                                                         Steve Padis Jewelry Plus Enterprises Inc
             List the contract number of any                                             888 Brannan Street Suite 128
                   government contract                                                   San Francisco, CA 94103


 2.1589. State what the contract or                       Lessee for location at
         lease is for and the nature of                   456 Antioch
         the debtor's interest                            Somersville Super
                                                          Sport dated 12/17/2016
                  State the term remaining                8/31/2037
                                                                                         Steve Padis Jewelry Plus Enterprises Inc
             List the contract number of any                                             2520 Somersville Road
                   government contract                                                   Antioch, CA 94509-4409


 2.1590. State what the contract or                       Construction
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/25/2017

                  State the term remaining                Potentially Expired            Steven Robert Construction
                                                                                         Attn: Steven Cumming
             List the contract number of any                                             1483 E 3850 South
                   government contract                                                   St. George, UT 84790


 2.1591. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Rancho Penasquitos
         the debtor's interest                            Sport dated 07/02/1998
                                                                                         SunBrewer Partners, L.P.
                  State the term remaining                Undetermined                   c/o 1st Commercial Mgmt Group SD Inc.
                                                                                         Attn: Roberta Lawler
             List the contract number of any                                             9875 Carmel Mountain Road
                   government contract                                                   San Diego, CA 92129


 2.1592. State what the contract or                       Lessee for location at
         lease is for and the nature of                   191 Rancho
         the debtor's interest                            Penasquitos Sport
                                                          dated 03/01/1999
                  State the term remaining                7/31/2028
                                                                                         SunBrewer Partners, L.P.
             List the contract number of any                                             10025 Carmel Mountain Road
                   government contract                                                   San Diego, CA 92129-3229


 2.1593. State what the contract or                       Lease Agreement for            Sunnyvale Shopping Center, LLC
         lease is for and the nature of                   Sunnyvale Super Sport          c/o Terramar Retail Centers, LLC
         the debtor's interest                            dated 03/12/2011               5973 Avenida Encinas, Suite 300
                                                                                         Carlsbad, CA 92008
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 283 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 924 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1594. State what the contract or                       Sublessee for location
         lease is for and the nature of                   at 887 Sunnyvale Super
         the debtor's interest                            Sport dated 03/12/2011

                  State the term remaining                12/31/2025
                                                                                         Sunnyvale Shopping Center, LLC
             List the contract number of any                                             762 Sunnyvale Saratoga Road
                   government contract                                                   Sunnyvale, CA 94087-1462


 2.1595. State what the contract or                       Services Agreement
         lease is for and the nature of                   dated 10/17/2011
         the debtor's interest
                                                                                         Sunset Pools, Inc.
                  State the term remaining                Undetermined                   Attn: Contract Manager
                                                                                         1808-1 I Street NW
             List the contract number of any                                             Suite 101
                   government contract                                                   Washington, DC 20006


 2.1596. State what the contract or                       Swimming Pool
         lease is for and the nature of                   Management
         the debtor's interest                            Agreement dated
                                                          09/25/2009                     Sunset Pools, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         1801-1 I Street NW
             List the contract number of any                                             Suite 201
                   government contract                                                   Washington, DC 20006


 2.1597. State what the contract or                       Swimming Pool
         lease is for and the nature of                   Management
         the debtor's interest                            Agreement dated
                                                          09/25/2010                     Sunset Pools, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         1808-1 I Street NW
             List the contract number of any                                             Suite 201
                   government contract                                                   Washington, DC 20006


 2.1598. State what the contract or                       Swimming Pool
         lease is for and the nature of                   Management
         the debtor's interest                            Agreement dated
                                                          09/25/2010                     Sunset Pools, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         1808-1 I Street NW
             List the contract number of any                                             Suite 201
                   government contract                                                   Washington, DC 20006




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 284 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 925 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1599. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/01/2013
                                                                                         Sunset Pools, Inc.
                  State the term remaining                Undetermined                   Attn: Bob Kiani
                                                                                         6066 Leesburg Pike
             List the contract number of any                                             Suite 220
                   government contract                                                   Falls Church, VA 22041


 2.1600. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            10/01/2014

                  State the term remaining                Undetermined                   Sunset Pools, Inc.
                                                                                         Attn: Bob Kiani
             List the contract number of any                                             2701 N. Pershing Drive
                   government contract                                                   Arlington, VA 22201


 2.1601. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Tamarac Super Sport
         the debtor's interest                            dated 06/06/2019
                                                                                         Sunshine MZL LLC
                  State the term remaining                Undetermined                   c/o Katz Properties
                                                                                         254 West 31st St.
             List the contract number of any                                             4th Floor
                   government contract                                                   New York, NY 10001


 2.1602. State what the contract or                       Lessee for location at
         lease is for and the nature of                   637 Tamarac Super
         the debtor's interest                            Sport dated 12/08/2018

                  State the term remaining                6/30/2034
                                                                                         Sunshine MZL LLC c/o Katz Properties
             List the contract number of any                                             4017 W. Commercial Blvd
                   government contract                                                   Tamarac, FL 33319


 2.1603. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Concord Sport dated
         the debtor's interest                            08/23/2003

                  State the term remaining                Undetermined                   Sunvalley Shopping Center, LC
                                                                                         SunValley
             List the contract number of any                                             200 East Long Lake Road P.O. Box 200
                   government contract                                                   Bloomfield Hills, MI 48303


 2.1604. State what the contract or                       Lessee for location at
         lease is for and the nature of                   511 Concord Sport
         the debtor's interest                            dated 08/23/2003

                  State the term remaining                1/31/2022                      Sunvalley Shopping Center, LC
                                                                                         359 Sun Valley Mall Road
             List the contract number of any                                             Concord, CA 94520-5811
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 285 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 926 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1605. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Baytown Garth Road
         the debtor's interest                            Sport dated 12/07/2007
                                                                                         SW Properties LLC
                  State the term remaining                Undetermined                   Brixmor holdings 12 SPE, LLC
                                                                                         c/o Brixmor Property Group Inc.
             List the contract number of any                                             Attn: General Counsel
                   government contract                                                   New York, NY 10017


 2.1606. State what the contract or                       Lessee for location at
         lease is for and the nature of                   695 Baytown Sport
         the debtor's interest                            dated 12/07/2007

                  State the term remaining                1/25/2022
                                                                                         SW Properties, LLC
             List the contract number of any                                             3501 Garth Road
                   government contract                                                   Baytown, TX 77521-3865


 2.1607. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Dairy Ashford Sport
         the debtor's interest                            dated 08/12/2007
                                                                                         SW3LH, LLC
                  State the term remaining                Undetermined                   c/o AVG Partners
                                                                                         Attn: Kammie Hertz
             List the contract number of any                                             9595 Wilshire Boulevard
                   government contract                                                   Beverly Hills, CA 90212


 2.1608. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Houston Regional Ofc
         the debtor's interest                            dated 08/12/2012
                                                                                         SW3LH, LLC
                  State the term remaining                1,264 Days                     c/o AVG Partners Attn: Kammie Hertz
                                                                                         9595 Wilshire Boulevard
             List the contract number of any                                             Suite 700
                   government contract                                                   Beverly Hills, CA 90212


 2.1609. State what the contract or                       Lessee for location at
         lease is for and the nature of                   697 Dairy Ashford
         the debtor's interest                            Sport dated 08/25/2007

                  State the term remaining                12/1/2023
                                                                                         SW3LH, LLC
             List the contract number of any                                             12553 Westheimer Road
                   government contract                                                   Houston, TX 77077-5807


 2.1610. State what the contract or                       Lessee for location at
         lease is for and the nature of                   96990 Houston                  SW3LH, LLC
         the debtor's interest                            Regional Ofc dated             12553 Westheimer Road
                                                          08/25/2007                     Houston, TX 77077-5807
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 286 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 927 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                12/1/2023

             List the contract number of any
                   government contract


 2.1611. State what the contract or                       Colocation Facilities
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/22/2014

                  State the term remaining                Undetermined                   Switch Communications Group LLC
                                                                                         Attn: Lesley McVay, EVP Facility Service
             List the contract number of any                                             7135 S. Decatur Blvd
                   government contract                                                   Las Vegas, NV 89118


 2.1612. State what the contract or                       Service Order dated
         lease is for and the nature of                   09/22/2014
         the debtor's interest

                  State the term remaining                Undetermined                   Switch Communications Group LLC
                                                                                         Attn: Lesley McVay, EVP Facility Service
             List the contract number of any                                             7135 S. Decatur Blvd
                   government contract                                                   Las Vegas, NV 89118


 2.1613. State what the contract or                       Service Order dated
         lease is for and the nature of                   01/02/2019
         the debtor's interest

                  State the term remaining                565 Days                       Switch Communications Group LLC
                                                                                         Attn: Lesley McVay, EVP Facility Service
             List the contract number of any                                             7135 S. Decatur Blvd
                   government contract                                                   Las Vegas, NV 89118


 2.1614. State what the contract or                       Colocation Facilities
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/10/2012

                  State the term remaining                Undetermined                   Switch Communications Group LLC
                                                                                         Attn: Melissa Young, EvP Colocation
             List the contract number of any                                             7135 S. Decatur Blvd
                   government contract                                                   Las Vegas, NV 89118


 2.1615. State what the contract or                       RE: Enterprise
         lease is for and the nature of                   Licensing Agreement
         the debtor's interest                            dated 02/28/2011

                  State the term remaining                Potentially Expired            Symantec Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             350 Ellis Street
                   government contract                                                   Mountain View, CA 94043




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 287 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 928 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1616. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Tacoma South 38th
         the debtor's interest                            dated 03/01/2018

                  State the term remaining                Undetermined                   T24, LLC
                                                                                         2602 South 38th Street
             List the contract number of any                                             Suite #101
                   government contract                                                   Tacoma, WA 98409


 2.1617. State what the contract or                       Lessee for location at
         lease is for and the nature of                   441 Tacoma Super
         the debtor's interest                            Sport dated 09/23/2017

                  State the term remaining                2/28/2038
                                                                                         T24, LLC
             List the contract number of any                                             111 South 38th Street
                   government contract                                                   Tacoma, WA 98418-7803


 2.1618. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Brentwood (Pipeline)
         the debtor's interest                            dated Based on
                                                          LL/Permit Delivery             TA Brentwood, LLC
                  State the term remaining                Undetermined                   c/o Tekin & Associates, LLC
                                                                                         Attn: Anna Rodriquez
             List the contract number of any                                             2600 N. Dallas Pkwy, Ste 370
                   government contract                                                   Frisco, TX 75034


 2.1619. State what the contract or                       Lessee for location at
         lease is for and the nature of                   457 Brentwood Lone
         the debtor's interest                            Tree Super Sport

                  State the term remaining                Undetermined
                                                                                         TA Brentwood, LLC
             List the contract number of any                                             Lone Treet & Jeffrey Way
                   government contract                                                   Brentwood, CA


 2.1620. State what the contract or                       Software License &
         lease is for and the nature of                   Support Agreement
         the debtor's interest                            and Addenda dated
                                                          01/01/2014                     Tax Compliance, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         10089 Willow Creek Road
             List the contract number of any                                             Suite 300
                   government contract                                                   San Diego, CA 92131


 2.1621. State what the contract or                       Turnkey Software
         lease is for and the nature of                   License & Support
         the debtor's interest                            Agreement dated
                                                          01/01/2004                     Tax Compliance, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         10200-A Willow Creek Road
             List the contract number of any                                             San Diego, CA 92131
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 288 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 929 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1622. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Temecula Sport dated
         the debtor's interest                            01/20/2007

                  State the term remaining                Undetermined                   Temecula Town Center Owner, LLC
                                                                                         c/o Citivest, Inc.
             List the contract number of any                                             4340 Von Karman Avenue, Suite 110
                   government contract                                                   Newport Beach, CA 92660


 2.1623. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Riverlake Active dated
         the debtor's interest                            03/01/1994

                  State the term remaining                Undetermined                   Tencom Associates LLC
                                                                                         c/o Colliers International
             List the contract number of any                                             301 University Ave, Suite 100
                   government contract                                                   Sacramento, CA 95825


 2.1624. State what the contract or                       Lessee for location at
         lease is for and the nature of                   560 Riverlake Active
         the debtor's interest                            dated 01/01/1998

                  State the term remaining                2/28/2024                      Tencom Associates LLC
                                                                                         7600 Greenhaven Drive
             List the contract number of any                                             # 15
                   government contract                                                   Sacramento, CA 95831-5604


 2.1625. State what the contract or                       Services Agreement
         lease is for and the nature of                   dated 03/08/2019
         the debtor's interest
                                                                                         Terracon Consultants, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         11555 Clay Road
             List the contract number of any                                             Suite 100
                   government contract                                                   Houston, TX 77043-1239


 2.1626. State what the contract or                       Services Agreement
         lease is for and the nature of                   dated 04/10/2019
         the debtor's interest

                  State the term remaining                Undetermined                   Testing Engineers, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             2811 Teagarden Street
                   government contract                                                   San Leandro, CA 94577


 2.1627. State what the contract or                       Rate and Service               The Courtyard by Marriott - Carlsbad
         lease is for and the nature of                   Agreement dated                Attn: General Counsel
         the debtor's interest                            03/11/2014                     5835 Owens Avenue
                                                                                         Carlsbad, CA 92008
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 289 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 930 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1628. State what the contract or                       2016 Rate and Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            01/01/2016

                  State the term remaining                Potentially Expired            The Courtyard by Marriott - Carlsbad
                                                                                         Attn: General Counsel
             List the contract number of any                                             5835 Owens Avenue
                   government contract                                                   Carlsbad, CA 92008


 2.1629. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Reno Active dated
         the debtor's interest                            09/20/1996

                  State the term remaining                Undetermined                   The Hagers LP
                                                                                         Attn: Robert R Hager
             List the contract number of any                                             546 Ridge Street
                   government contract                                                   Reno, NV 89501


 2.1630. State what the contract or                       Lessee for location at
         lease is for and the nature of                   538 Reno Active dated
         the debtor's interest                            03/01/1996

                  State the term remaining                9/30/2021
                                                                                         The Hagers LP
             List the contract number of any                                             1595 Sky Mountain Drive
                   government contract                                                   Reno, NV 89523-9190


 2.1631. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Maui Active dated
         the debtor's interest                            12/01/1997

                  State the term remaining                1,841 Days                     The Harry and Jeanette Weinberg Fdn, Inc
                                                                                         3660 Waialae Avenue
             List the contract number of any                                             Suite 400
                   government contract                                                   Honolulu, HI 96816-3260


 2.1632. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Irvine Center Drive
         the debtor's interest                            SuperSport dated
                                                          07/19/2000
                  State the term remaining                1,691 Days                     The Irvine Company LLC
                                                                                         Attn: General counsel, Retail Properties
             List the contract number of any                                             101 Innovation Drive
                   government contract                                                   Irvine, CA 92617




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 290 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 931 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1633. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Irvine Marketplace
         the debtor's interest                            Super Sport dated
                                                          11/12/2010
                  State the term remaining                Undetermined                   The Irvine Company LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             100 Innovation Drive
                   government contract                                                   Irvine, CA 92617


 2.1634. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Irvine Spectrum Sport
         the debtor's interest                            dated 05/31/2007

                  State the term remaining                715 Days                       The Irvine Company LLC
                                                                                         Attn: General Counsel Retail Properties
             List the contract number of any                                             101 Innovation Drive
                   government contract                                                   Irvine, CA 92617


 2.1635. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Irvine Culver Drive -
         the debtor's interest                            Active dated 02/01/1991

                  State the term remaining                230 Days                       The Irvine Company LLC
                                                                                         General Counsel, Retail Properties
             List the contract number of any                                             100 Innovation Drive
                   government contract                                                   Irvine, CA 92617


 2.1636. State what the contract or                       Lessee for location at
         lease is for and the nature of                   196 Irvine Center Drive
         the debtor's interest                            Super Sport dated
                                                          01/01/2000
                  State the term remaining                1/31/2025
                                                                                         The Irvine Company LLC
             List the contract number of any                                             8697 Irvine Center Drive
                   government contract                                                   Irvine, CA 92618-4219


 2.1637. State what the contract or                       Lessee for location at
         lease is for and the nature of                   884 Irvine Marketplace
         the debtor's interest                            Super Sport dated
                                                          11/12/2010
                  State the term remaining                11/30/2025
                                                                                         THE IRVINE COMPANY LLC - V4180
             List the contract number of any                                             13752 Jamboree Road
                   government contract                                                   Irvine, CA 92602-1200


 2.1638. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Daly City Sport dated
         the debtor's interest                            02/01/1989
                                                                                         The Kuk and Yongae Chung Living Trust
                  State the term remaining                Undetermined                   Attn: Kuk Chung
                                                                                         1133 Littleoak Circle
             List the contract number of any                                             San Jose, CA 95129
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 291 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 932 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1639. State what the contract or                       Sponsorship And
         lease is for and the nature of                   Promotion Agreement
         the debtor's interest                            dated 06/01/2016

                  State the term remaining                Potentially Expired            The Los Angeles Rams, LLC
                                                                                         Attn: Todd A. Davis, VP - Legal Affairs
             List the contract number of any                                             29899 Agoura Road
                   government contract                                                   Agoura Hills, CA 91301


 2.1640. State what the contract or                       License Agreement
         lease is for and the nature of                   dated 03/12/2019
         the debtor's interest

                  State the term remaining                Potentially Expired            The Los Angeles Rams, LLC
                                                                                         Attn: Todd Davis
             List the contract number of any                                             29899 Agoura Road
                   government contract                                                   Agoura Hills, CA 91301


 2.1641. State what the contract or                       License Agreement
         lease is for and the nature of                   dated 05/10/2016
         the debtor's interest

                  State the term remaining                Potentially Expired            The Los Angeles Rams, LLC
                                                                                         Attn: Todd Davis
             List the contract number of any                                             29889 Agoura Road
                   government contract                                                   Agoura Hills, CA 91301


 2.1642. State what the contract or                       License Agreement
         lease is for and the nature of                   dated 03/03/2018
         the debtor's interest

                  State the term remaining                Potentially Expired            The Los Angeles Rams, LLC
                                                                                         Attn: Todd Davis
             List the contract number of any                                             29899 Agoura Road
                   government contract                                                   Agoura Hills, CA 91301


 2.1643. State what the contract or                       License Agreement
         lease is for and the nature of                   dated 03/03/2018
         the debtor's interest

                  State the term remaining                Potentially Expired            The Los Angeles Rams, LLC
                                                                                         Attn: Todd Davis
             List the contract number of any                                             29899 Agoura Road
                   government contract                                                   Agoura Hills, CA 91301


 2.1644. State what the contract or                       License Agreement              The Los Angeles Rams, LLC
         lease is for and the nature of                   dated 03/12/2019               Attn: Todd Davis
         the debtor's interest                                                           29899 Agoura Road
                                                                                         Agoura Hills, CA 91301
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 292 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 933 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.1645. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   San Carlos Active
         the debtor's interest                            dated 06/04/1994
                                                                                         The Masha Grupp Trust II
                  State the term remaining                1,507 Days                     Ventana Property Services
                                                                                         Attn: Julie DeShazo
             List the contract number of any                                             975 High Street
                   government contract                                                   Palo Alto, CA 94301


 2.1646. State what the contract or                       Lessee for location at
         lease is for and the nature of                   595 San Carlos Active
         the debtor's interest                            dated 11/01/1998

                  State the term remaining                7/31/2024
                                                                                         The Masha Grupp Trust II
             List the contract number of any                                             1650 Industrial Road
                   government contract                                                   San Carlos, CA 94070-4113


 2.1647. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Nanuet Super Sport
         the debtor's interest                            dated 12/14/2013

                  State the term remaining                Undetermined                   The Retail Property Trust
                                                                                         Attn: General Counsel
             List the contract number of any                                             225 West Washington Street
                   government contract                                                   Indianapolis, IN 46204


 2.1648. State what the contract or                       Lessee for location at
         lease is for and the nature of                   729 Nanuet Super Sport
         the debtor's interest                            dated 12/21/2013

                  State the term remaining                12/31/2028
                                                                                         The Retail Property Trust
             List the contract number of any                                             5205 Fashion Drive
                   government contract                                                   Nanuet, NY 10954-2751


 2.1649. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Beaverton Sport dated
         the debtor's interest                            12/17/2003

                  State the term remaining                Undetermined                   The Round Owner LLC
                                                                                         810 NW Marshall Street
             List the contract number of any                                             Suite 300
                   government contract                                                   Portland, OR 97209




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 293 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 934 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1650. State what the contract or                       License Agreement
         lease is for and the nature of                   dated 03/17/2016
         the debtor's interest

                  State the term remaining                Potentially Expired            The St. Louis Rams, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             One Rams Way
                   government contract                                                   Earth City, MO 63045


 2.1651. State what the contract or                       Marks Rights
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/26/2003

                  State the term remaining                Potentially Expired            The United States Olympic Committee
                                                                                         Attn: General Counsel
             List the contract number of any                                             One Olympic Plaza
                   government contract                                                   Colorado Springs, CO 80909


 2.1652. State what the contract or                       Project Agreement for
         lease is for and the nature of                   Architectural/Engineeri
         the debtor's interest                            ng Consultanct
                                                          Services dated
                                                          01/03/2019                     Think Architecture, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         5151 South 900 East
             List the contract number of any                                             Suite 200
                   government contract                                                   Salt Lake City, UT 84117


 2.1653. State what the contract or                       Agreement for
         lease is for and the nature of                   Consultant Services
         the debtor's interest                            dated 02/27/2019
                                                                                         Think Architecture, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         5151 South 900 East
             List the contract number of any                                             Suite 200
                   government contract                                                   Salt Lake City, UT 84117


 2.1654. State what the contract or                       Architectural and
         lease is for and the nature of                   Engineering Consulting
         the debtor's interest                            Services Contract
                                                          Parker South 20 dated
                                                          01/31/2019                     Think Architecture, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         5151 South 900 East
             List the contract number of any                                             Suite 200
                   government contract                                                   Salt Lake City, UT 84117


 2.1655. State what the contract or                       Project Agreement for          Think Architecture, Inc.
         lease is for and the nature of                   Architectural/Engineeri        Attn: General Counsel
         the debtor's interest                            ng Consultant Services         5151 South 900 East
                                                          dated 04/15/2019               Suite 200
                  State the term remaining                Undetermined                   Salt Lake City, UT 84117
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 294 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 935 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease


             List the contract number of any
                   government contract


 2.1656. State what the contract or                       Project Agreement for
         lease is for and the nature of                   Architectural/Engineeri
         the debtor's interest                            ng Consultant Services
                                                          dated 08/21/2019               Think Architecture, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         5151 South 900 East
             List the contract number of any                                             Suite 200
                   government contract                                                   Salt Lake City, UT 84117


 2.1657. State what the contract or                       Project Agreement
         lease is for and the nature of                   dated 08/21/2019
         the debtor's interest
                                                                                         Think Architecture, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         5151 South 900 East
             List the contract number of any                                             Suite 200
                   government contract                                                   Salt Lake City, UT 84417


 2.1658. State what the contract or                       Project Agreement for
         lease is for and the nature of                   Architecturel/Engineeri
         the debtor's interest                            ng Consultant Services
                                                          dated 09/03/2019               Think Architecture, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         5151 South 900 East
             List the contract number of any                                             Suite 200
                   government contract                                                   Salt Lake City, UT 84117


 2.1659. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/20/2018
                                                                                         Throtle Data, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         141 West Front Street
             List the contract number of any                                             #410
                   government contract                                                   Red Bank, NJ 07701


 2.1660. State what the contract or                       Data Management and
         lease is for and the nature of                   Services Agreement
         the debtor's interest                            dated 08/20/2018
                                                                                         Throtle, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         141 West Front Street
             List the contract number of any                                             Suite 410
                   government contract                                                   Red Bank, NJ 07701




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 295 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 936 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1661. State what the contract or                       Service Agreement
         lease is for and the nature of                   dated 07/21/2014
         the debtor's interest

                  State the term remaining                Potentially Expired            Time Warner Cable Business Services
                                                                                         Attn: Evan Davis
             List the contract number of any                                             13820 Sunrise Valley Drive
                   government contract                                                   Herndon, VA 20171


 2.1662. State what the contract or                       Service Agreement
         lease is for and the nature of                   dated 07/09/2014
         the debtor's interest

                  State the term remaining                Undetermined                   Time Warner Cable Enterprises LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1511 Cravens Ave
                   government contract                                                   Torrance, CA 90501


 2.1663. State what the contract or                       Service Agreement
         lease is for and the nature of                   dated 07/09/2014
         the debtor's interest

                  State the term remaining                Undetermined                   Time Warner Cable Enterprises LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1511 Cravens Ave
                   government contract                                                   Torrance, CA 90501


 2.1664. State what the contract or                       Customer Service
         lease is for and the nature of                   Order dated 03/24/2014
         the debtor's interest

                  State the term remaining                Undetermined                   Time Warner Cable Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             17777 Center Court Drive
                   government contract                                                   Cerritos, CA 90703


 2.1665. State what the contract or                       Service Agreement
         lease is for and the nature of                   dated 06/05/2008
         the debtor's interest

                  State the term remaining                Undetermined                   Time Warner Cable LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             60 Columbus Circle
                   government contract                                                   New York, NY 10023


 2.1666. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Murrieta Active dated
         the debtor's interest                            04/13/2007
                                                                                         TKG MURRIETTA PLAZA LLC
                  State the term remaining                Undetermined                   211 North Stadium Blvd
                                                                                         Suite 201
             List the contract number of any                                             Columbia, MD 65203
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 296 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 937 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1667. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Northridge Super Sport
         the debtor's interest                            dated 04/30/2010
                                                                                         TKG Nordhoff-Tampa Plaza, LLC
                  State the term remaining                Undetermined                   c/o TKG Management
                                                                                         211 N. Stadium Blvd.
             List the contract number of any                                             Ste 201
                   government contract                                                   Columbia, MO 65203


 2.1668. State what the contract or                       Lessee for location at
         lease is for and the nature of                   866 Northridge Super
         the debtor's interest                            Sport dated 04/30/2010

                  State the term remaining                4/29/2030
                                                                                         TKG Nordhoff-Tampa Plaza, LLC
             List the contract number of any                                             19350 Nordhoff Street, Unit D
                   government contract                                                   Northridge, CA 91324-2498


 2.1669. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement for
         the debtor's interest                            Equipment dated
                                                          10/01/2016
                  State the term remaining                Undetermined                   Torque Fitness LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             9365 Holly Street NW
                   government contract                                                   Coon Rapids, MN 55433


 2.1670. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Costa Mesa Sport
         the debtor's interest                            dated 12/09/1985
                                                                                         TR Costa Mesa Courtyards LLC
                  State the term remaining                Undetermined                   c/o Vestar Property Management
                                                                                         Attn: Property Mgr Costa Mesa Courtyards
             List the contract number of any                                             7575 Carson Blvd.
                   government contract                                                   Long Beach, CA 90808


 2.1671. State what the contract or                       Lessee for location at
         lease is for and the nature of                   185 Costa Mesa Sport
         the debtor's interest                            dated 11/01/1996

                  State the term remaining                12/31/2025
                                                                                         TR Costa Mesa Courtyards LLC
             List the contract number of any                                             555 West 19th Street
                   government contract                                                   Costa Mesa, CA 92627-2753


 2.1672. State what the contract or                       Lease Agreement for       TR Wateridge LLC
         lease is for and the nature of                   La Cienega Sport dated    c/o Holland & Knight LLP
         the debtor's interest                            12/22/2004                Attn: James T. Mayer, Esq.
                                                                                    131 South Dearborn St
Official Form 206G                               Schedule G: Executory Contracts andChicago,
                                                                                     UnexpiredIL 60603
                                                                                               Leases                                   Page 297 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 938 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1673. State what the contract or                       Lessee for location at
         lease is for and the nature of                   490 La Cienega Sport
         the debtor's interest                            dated 12/22/2004

                  State the term remaining                12/31/2029
                                                                                         TR Wateridge LLC
             List the contract number of any                                             5045 West Slauson Avenue
                   government contract                                                   Los Angeles, CA 90056-1651


 2.1674. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Orange Super Sport
         the debtor's interest                            dated 08/10/2013
                                                                                         Transform Holdco LLC
                  State the term remaining                Undetermined                   Attn: Vice President - Real Estate
                                                                                         3333 Beverly Road
             List the contract number of any                                             Dept. 824RE
                   government contract                                                   Hoffman, IL 60179


 2.1675. State what the contract or                       Sublessee for location
         lease is for and the nature of                   at 922 Orange Super
         the debtor's interest                            Sport dated 08/10/2013

                  State the term remaining                2/29/2024
                                                                                         Transform Holdco LLC
             List the contract number of any                                             2102 North Tustin Street
                   government contract                                                   Orange, CA 92865-3702


 2.1676. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   San Bernardino Super
         the debtor's interest                            Sport dated 12/12/2015
                                                                                         Tri Cities Harriman, LLC
                  State the term remaining                Undetermined                   c/o Tri Cities Harriman LLC
                                                                                         Attn: Brien Stronach
             List the contract number of any                                             2001 South Barrington Ave.
                   government contract                                                   Los Angeles, CA 90025


 2.1677. State what the contract or                       Lessee for location at
         lease is for and the nature of                   933 San Bernardino
         the debtor's interest                            Super Sport dated
                                                          12/12/2015
                  State the term remaining                12/31/2030
                                                                                         Tri Cities Harriman, LLC
             List the contract number of any                                             897 East Harriman Place
                   government contract                                                   San Bernardino, CA 92408-3563




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 298 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 939 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1678. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement for
         the debtor's interest                            Equipment dated
                                                          07/01/2018                     Tri-Dim Filter Corporation
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         Tri-Dim Filter Corporation
             List the contract number of any                                             93 Industrial Drive
                   government contract                                                   Louisa, VA 23093


 2.1679. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement for
         the debtor's interest                            Equipment - Not Dated
                                                                                         Tri-Dim Filter Corporation
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         Tri-Dim Filter Corporation
             List the contract number of any                                             93 Industrial Drive
                   government contract                                                   Louisa, VA 23093


 2.1680. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement For
         the debtor's interest                            Equipment dated
                                                          07/01/2018
                  State the term remaining                Undetermined                   Tri-Dim Filter Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             93 Industrial Drive
                   government contract                                                   Louisa, VA 23093


 2.1681. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            07/01/2018

                  State the term remaining                Undetermined                   Tri-Dim Filter Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             93 Industrial Drive
                   government contract                                                   Louisa, VA 23093


 2.1682. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Ramsey Crescent Ave
         the debtor's interest                            Super Sport dated
                                                          01/14/2017                     Triangle 17 Center LLC
                  State the term remaining                Undetermined                   c/o AAC Management Corp. Attn: GC
                                                                                         150 East 58th Street
             List the contract number of any                                             39th Floor
                   government contract                                                   New York, NY 10155


 2.1683. State what the contract or                       Lessee for location at
         lease is for and the nature of                   641 Ramsey Super
         the debtor's interest                            Sport dated 12/31/2016

                  State the term remaining                12/31/2032                     Triangle 17 Center LLC
                                                                                         150 Triangle Plaza
             List the contract number of any                                             Ramsey, NJ 07446
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 299 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 940 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1684. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Costa Mesa Newport
         the debtor's interest                            Super Sport dated
                                                          11/19/2011                     Triangle Center LLC
                  State the term remaining                Undetermined                   c/o Cannon Management, Attn: Jackson Foo
                                                                                         10850 Wilshire Blvd.
             List the contract number of any                                             Ste 1000
                   government contract                                                   Los Angeles, CA 90024


 2.1685. State what the contract or                       Lessee for location at
         lease is for and the nature of                   891 Costa Mesa
         the debtor's interest                            Newport Super Sport
                                                          dated 11/19/2011
                  State the term remaining                12/31/2026                     Triangle Center LLC
                                                                                         1870 Harbor Blvd
             List the contract number of any                                             B4
                   government contract                                                   Costa Mesa, CA 92627-5022


 2.1686. State what the contract or                       Master Services dated
         lease is for and the nature of                   05/02/2017
         the debtor's interest
                                                                                         Trintech Inc.
                  State the term remaining                Undetermined                   Attn: Contracts Department
                                                                                         15851 Dallas Parkway
             List the contract number of any                                             Suite 900
                   government contract                                                   Addison, TX 75001


 2.1687. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Tropicana Super Sport
         the debtor's interest                            dated 08/01/2000
                                                                                         Trop 2015 Holdings LLC
                  State the term remaining                Undetermined                   c/o Great American Capital
                                                                                         8350 W. Sahara Avenue
             List the contract number of any                                             Ste. 210
                   government contract                                                   Las Vegas, NV 89117


 2.1688. State what the contract or                       Client Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            10/05/2017
                                                                                         TTS Search, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         2588 El Camino Real
             List the contract number of any                                             Suite F-204
                   government contract                                                   Carlsbad, CA 92008


 2.1689. State what the contract or                       Client Services           TTS Search, Inc.
         lease is for and the nature of                   Agreement dated           Attn: General Counsel
         the debtor's interest                            10/05/2017                2588 El Camino Real
                                                                                    Suite F-204
Official Form 206G                               Schedule G: Executory Contracts andCarlsbad,
                                                                                     Unexpired CA 92008
                                                                                               Leases                                   Page 300 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 941 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1690. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Tysons Corner Super
         the debtor's interest                            Sport dated 08/14/2013
                                                                                         Tysons West Retail, LLC
                  State the term remaining                Undetermined                   c/o Rappaport Management Company
                                                                                         8405 Greensboro Drive
             List the contract number of any                                             8th Floor
                   government contract                                                   McLean, MD 22102


 2.1691. State what the contract or                       Sponsorship Renewal
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            01/01/2013

                  State the term remaining                Undetermined                   U.S. Olympic Committee
                                                                                         Attn: General Counsel
             List the contract number of any                                             1 Olympic Plaza
                   government contract                                                   Colorado Springs, CO 80909


 2.1692. State what the contract or                       Marks Rights
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/01/2016

                  State the term remaining                Undetermined                   U.S. Olympic Committee
                                                                                         Attn: General Counsel
             List the contract number of any                                             1 Olympic Plaza
                   government contract                                                   Colorado Springs, CO 80909


 2.1693. State what the contract or                       Agreement dated
         lease is for and the nature of                   08/05/2016
         the debtor's interest

                  State the term remaining                Undetermined                   U.S. Olympic Committee
                                                                                         Attn: General Counsel
             List the contract number of any                                             1 Olympic Plaza
                   government contract                                                   Colorado Springs, CO 80909


 2.1694. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Paramus Super Sport
         the debtor's interest                            dated 05/14/2012
                                                                                         UE Bergen East LLC
                  State the term remaining                Undetermined                   Urban Edge Properties
                                                                                         Attn: Chief Operating Officer
             List the contract number of any                                             210 Route 4 East
                   government contract                                                   Paramus, NJ 07652




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 301 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 942 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1695. State what the contract or                       Lessee for location at
         lease is for and the nature of                   616 Paramus Super
         the debtor's interest                            Sport dated 12/14/2011

                  State the term remaining                12/31/2031
                                                                                         UE BERGEN EAST LLC - V0000414215
             List the contract number of any                                             260 East Route-4
                   government contract                                                   Paramus, NJ 07652-5169


 2.1696. State what the contract or                       Authorized Dealer
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/19/2014

                  State the term remaining                Undetermined                   Under Armour, Inc.
                                                                                         Attn: Ashley Robinson
             List the contract number of any                                             PO Box 791022
                   government contract                                                   Baltimore, MD 21279-1022


 2.1697. State what the contract or                       Authorized Dealer
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/19/2014

                  State the term remaining                Undetermined                   Under Armour, Inc.
                                                                                         Attn: Ashley Robinson
             List the contract number of any                                             PO Box 791022
                   government contract                                                   Baltimore, MD 21279-1022


 2.1698. State what the contract or                       Service Agreement
         lease is for and the nature of                   dated 04/16/2011
         the debtor's interest

                  State the term remaining                Undetermined                   United Laundry & Linen Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             PO Box 266
                   government contract                                                   Cliffside Park, NJ 07010


 2.1699. State what the contract or                       Service Agreement
         lease is for and the nature of                   dated 04/01/2010
         the debtor's interest

                  State the term remaining                Undetermined                   United Laundry, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             PO Box 143
                   government contract                                                   Cliffside Park, NJ 07010


 2.1700. State what the contract or                       Service Agreement -
         lease is for and the nature of                   Not Dated
         the debtor's interest
                                                                                         United Laundry, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         PO Box 143
             List the contract number of any                                             Cliffside Park, NJ 07010
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 302 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 943 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1701. State what the contract or                       Service Agreement -
         lease is for and the nature of                   Not Dated
         the debtor's interest

                  State the term remaining                Undetermined                   United Laundry, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             PO Box 143
                   government contract                                                   Cliffside Park, NJ 07010


 2.1702. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   San Ramon Super
         the debtor's interest                            Sport dated 06/15/1999

                  State the term remaining                1,308 Days                     United Parcel Service Inc
                                                                                         Attn: Real Estate Manager
             List the contract number of any                                             25201 Paseo De Alicia, Suite 200
                   government contract                                                   Laguna, CA 92653


 2.1703. State what the contract or                       Lessee for location at
         lease is for and the nature of                   512 San Ramon Super
         the debtor's interest                            Sport dated 01/15/1999

                  State the term remaining                1/14/2024
                                                                                         United Parcel Service Inc
             List the contract number of any                                             4450 Norris Canyon Road
                   government contract                                                   San Ramon, CA 94583-5415


 2.1704. State what the contract or                       Transportation
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/21/2018

                  State the term remaining                Undetermined                   United Parcel Service, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             55 Glenlake Parkway
                   government contract                                                   Atlanta, GA 30328


 2.1705. State what the contract or                       Transportation
         lease is for and the nature of                   Agreement - Not Dated
         the debtor's interest

                  State the term remaining                Undetermined                   United Parcel Service, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             55 Glenlake Parkway
                   government contract                                                   Atlanta, GA 30328


 2.1706. State what the contract or                       Contract Carrier               United Parcel Service, Inc.
         lease is for and the nature of                   Agreement and                  Attn: General Counsel
         the debtor's interest                            Addendum dated                 55 Glenlake Parkway
                                                          01/23/2006                     Atlanta, GA 30328
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 303 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 944 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1707. State what the contract or                       Carrier Agreement and
         lease is for and the nature of                   Addenda dated
         the debtor's interest                            02/01/2006

                  State the term remaining                Potentially Expired            United Parcel Service, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             55 Glenlake Parkway
                   government contract                                                   Atlanta, GA 30328


 2.1708. State what the contract or                       Carrier Agreement
         lease is for and the nature of                   dated 12/13/2007
         the debtor's interest

                  State the term remaining                Undetermined                   United Parcel Service, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             55 Glenlake Parkway
                   government contract                                                   Atlanta, GA 30328


 2.1709. State what the contract or                       UPS Incentive Program
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/29/2014

                  State the term remaining                Potentially Expired            United Parcel Service, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             55 Glenlake Parkway
                   government contract                                                   Atlanta, GA 30328


 2.1710. State what the contract or                       UPS Incentive Program
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/29/2014

                  State the term remaining                Potentially Expired            United Parcel Service, Inc.
                                                                                         Attn: Sharon J.J. Tinker
             List the contract number of any                                             8475 Pardee Drive
                   government contract                                                   Oakland, CA 94621


 2.1711. State what the contract or                       Service Agreement
         lease is for and the nature of                   dated 05/13/2020
         the debtor's interest

                  State the term remaining                Undetermined

             List the contract number of any                                             United States Building Cleaning Inc.
                   government contract



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 304 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 945 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1712. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   UTC Super Sport dated
         the debtor's interest                            01/21/2013
                                                                                         UNIVERSITY TOWNE CENTRE LLC
                  State the term remaining                Undetermined                   UTC VENTURE, LLC
                                                                                         c/o Westfield, LLC Lease Administration
             List the contract number of any                                             11601 Wilshire Boulevard, 11th Floor
                   government contract                                                   Los Angeles, CA 90025


 2.1713. State what the contract or                       Lessee for location at
         lease is for and the nature of                   888 UTC Super Sport
         the debtor's interest                            dated 12/15/2012

                  State the term remaining                12/31/2028
                                                                                         UNIVERSITY TOWNE CENTRE LLC - V271
             List the contract number of any                                             4425 La Jolla Village Drive
                   government contract                                                   San Diego, CA 92122-1219


 2.1714. State what the contract or                       Master Serivces
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/28/2007

                  State the term remaining                Undetermined                   UPS Supply Chain Solutions, Inc.
                                                                                         Contracts and Compliance Department
             List the contract number of any                                             12380 Morris Road
                   government contract                                                   Alpharetta, GA 30005


 2.1715. State what the contract or                       Amended and Restated
         lease is for and the nature of                   Master Service
         the debtor's interest                            Agreement dated
                                                          01/01/2015
                  State the term remaining                Undetermined                   UPS Supply Chain Solutions, Inc.
                                                                                         Contracts and Compliance Department
             List the contract number of any                                             12380 Morris Road
                   government contract                                                   Alpharetta, GA 30005


 2.1716. State what the contract or                       Amended and Restated
         lease is for and the nature of                   Master Services
         the debtor's interest                            Agreement dated
                                                          01/01/2015
                  State the term remaining                Undetermined                   UPS Supply Chain Solutions, Inc.
                                                                                         Attn: Contracts Compliance Department
             List the contract number of any                                             12380 Morris Road
                   government contract                                                   Alpharetta, GA 30005


 2.1717. State what the contract or                       Service and Rate
         lease is for and the nature of                   Interim Agreement
         the debtor's interest                            dated 03/07/2011
                                                                                         UPS Supply Chain Solutions, Inc.
                  State the term remaining                Undetermined                   Attn: Contracts Compliance Department
                                                                                         12380 Morris Road
             List the contract number of any                                             Alpharetta, GA 30005
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 305 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 946 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1718. State what the contract or                       Services and Rate
         lease is for and the nature of                   Interim Agreement
         the debtor's interest                            dated 03/07/2011

                  State the term remaining                Undetermined                   UPS Supply Chain Solutions, Inc.
                                                                                         Attn: Contracts Compliance Department
             List the contract number of any                                             12380 Morris Road
                   government contract                                                   Alpharetta, GA 30005


 2.1719. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/28/2007

                  State the term remaining                Undetermined                   UPS Supply Chain Solutions, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             12380 Morris Road
                   government contract                                                   Alpharetta, GA 30005


 2.1720. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/30/2007

                  State the term remaining                Undetermined                   UPS Supply Chain Solutions, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             12380 Morris Road
                   government contract                                                   Alpharetta, GA 30005


 2.1721. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/27/2019

                  State the term remaining                Undetermined                   US Cloud LC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1714 Gilsinn Lane
                   government contract                                                   St. Louis, MO 63026


 2.1722. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Downey Super Sport
         the debtor's interest                            dated 12/05/2015
                                                                                         US VI Downey, LLC
                  State the term remaining                Undetermined                   c/o Northwood Investors, LLC
                                                                                         11355 W. Olympic Blvd
             List the contract number of any                                             Ste 100
                   government contract                                                   Los Angeles, CA 90064


 2.1723. State what the contract or                       Lessee for location at
         lease is for and the nature of                   877 Downey Super               US VI Downey, LLC
         the debtor's interest                            Sport dated 12/05/2015         8810 Apollo Way
                                                                                         Downey, CA 90242
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 306 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 947 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                12/31/2030

             List the contract number of any
                   government contract


 2.1724. State what the contract or                       Customer Agreement
         lease is for and the nature of                   and Exhibits dated
         the debtor's interest                            10/01/2015
                                                                                         USGN, Inc.
                  State the term remaining                Undetermined                   Attn: Douglas Sperr, CEO
                                                                                         1430 East Missouri Avenue
             List the contract number of any                                             Suite 269
                   government contract                                                   Pheonix, AZ 85014


 2.1725. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   North Aurora
         the debtor's interest                            Chambers Sport dated
                                                          12/05/2008                     Vallejo Investments LLC
                  State the term remaining                Undetermined                   City Center LLC
                                                                                         c/o Panorama Property Management
             List the contract number of any                                             5500 E. Yale Ave
                   government contract                                                   Denver, CO 80222


 2.1726. State what the contract or                       Lessee for location at
         lease is for and the nature of                   437 North Aurora
         the debtor's interest                            Chambers Rd Sport
                                                          dated 12/05/2008
                  State the term remaining                9/30/2029
                                                                                         Vallejo Investments, LLC
             List the contract number of any                                             512 S. Chambers Road
                   government contract                                                   Aurora, CO 80017-3606


 2.1727. State what the contract or                       Lessee for location at
         lease is for and the nature of                   502 Van Ness Sport
         the debtor's interest                            dated 12/01/1984

                  State the term remaining                12/31/2022
                                                                                         Van Ness Post Center, LLC
             List the contract number of any                                             1200 Van Ness Avenue
                   government contract                                                   San Francisco, CA 94109-5507


 2.1728. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Van Ness Sport dated
         the debtor's interest                            01/01/1996

                  State the term remaining                929 Days
                                                                                         Van Ness Post Center, LLC
             List the contract number of any                                             23 Geary Street, Suite 510
                   government contract                                                   San Francisco, CA 94108




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 307 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 948 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1729. State what the contract or                       Vantage (Vanstar)
         lease is for and the nature of                   Constrution Co.
         the debtor's interest                            Construction Contract
                                                          (Tamarac, FL) dated
                                                          04/04/2018
                  State the term remaining                Undetermined                   Vanstar (Vantage) Construction Co.
                                                                                         Attn: James R. Achurch, President
             List the contract number of any                                             507 Fee Fee Road
                   government contract                                                   St. Louis, MO 63043-3217


 2.1730. State what the contract or                       Vantage (Vanstar)
         lease is for and the nature of                   Constrution Co.
         the debtor's interest                            Construction Contract
                                                          dated 04/06/2018
                  State the term remaining                Undetermined                   Vanstar (Vantage) Construction Co.
                                                                                         Attn: James R. Achurch, President
             List the contract number of any                                             507 Fee Fee Road
                   government contract                                                   St. Louis, MO 63043-3217


 2.1731. State what the contract or                       Construction Contract
         lease is for and the nature of                   Orlando dated
         the debtor's interest                            08/10/2018

                  State the term remaining                Undetermined                   Vanstar (Vantage) Construction Co.
                                                                                         Attn: James R. Achurch, President
             List the contract number of any                                             507 Fee Fee Road
                   government contract                                                   St. Louis, MO 63043-3217


 2.1732. State what the contract or                       Vantage (Vanstar)
         lease is for and the nature of                   Constrution Co.
         the debtor's interest                            Construction Contract
                                                          dated 08/29/2018
                  State the term remaining                Undetermined                   Vanstar (Vantage) Construction Co.
                                                                                         Attn: James R. Achurch, President
             List the contract number of any                                             507 Fee Fee Road
                   government contract                                                   St. Louis, MO 63043-3217


 2.1733. State what the contract or                       Construction Contract
         lease is for and the nature of                   dated 12/10/2019
         the debtor's interest

                  State the term remaining                Undetermined                   Vanstar (Vantage) Construction Co.
                                                                                         Attn: General Counsel
             List the contract number of any                                             507 Fee Fee Road
                   government contract                                                   Maryland Heights, MO 63043


 2.1734. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Indio Jackson Center           VEREIT Real Estate LP
         the debtor's interest                            Sport dated 10/31/2008         c/o VERIT, Inc., Attn: Asset Manager
                                                                                         2315 E. Camelback Road
                  State the term remaining                Undetermined                   9th Floor
                                                                                         Phoenix, AZ 85016
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 308 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 949 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.1735. State what the contract or                       Lessee for location at
         lease is for and the nature of                   921 Indio Jackson St
         the debtor's interest                            Sport dated 10/31/2008

                  State the term remaining                10/31/2033
                                                                                         VEREIT Real Estate LP
             List the contract number of any                                             42900 Jackson Street
                   government contract                                                   Indio, CA 92203-9754


 2.1736. State what the contract or                       Media Agency of
         lease is for and the nature of                   Record Agreement
         the debtor's interest                            dated 07/02/2018
                                                                                         Veritas Media Group, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1111 Broadway
             List the contract number of any                                             3rd Floor
                   government contract                                                   Oakland, CA 94607


 2.1737. State what the contract or                       Media Agency of
         lease is for and the nature of                   Record Agreement
         the debtor's interest                            dated 07/02/2018
                                                                                         Veritas Media Group, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1111 Broadway
             List the contract number of any                                             3rd Floor
                   government contract                                                   Oakland, CA 94607


 2.1738. State what the contract or                       Media Agency of
         lease is for and the nature of                   Record Agreement
         the debtor's interest                            dated 02/26/2020
                                                                                         Veritas Media Group, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1111 Broadway
             List the contract number of any                                             Suite 300
                   government contract                                                   Oakland, CA 94607


 2.1739. State what the contract or                       Media Agency of
         lease is for and the nature of                   Record Agreement
         the debtor's interest                            dated 02/26/2020
                                                                                         Veritas Media Group, LLC
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1111 Broadway
             List the contract number of any                                             Suite 300
                   government contract                                                   Oakland, CA 94607




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 309 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 950 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1740. State what the contract or                       Media Agency of
         lease is for and the nature of                   Record Agreement and
         the debtor's interest                            Schedules dated
                                                          06/14/2018
                  State the term remaining                Undetermined                   Veritas Media Group, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             1111 Broadway, 3rd Floor
                   government contract                                                   Oakland, CA 94607


 2.1741. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            06/22/2007

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1742. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            11/30/2007

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1743. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            01/04/2008

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1744. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/23/2008

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1745. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/27/2008
                                                                                         Verizon Business Network Services, Inc.
                  State the term remaining                Undetermined                   Attn: Customer Service
                                                                                         6415-6455 Business Center Drive
             List the contract number of any                                             Highlands Ranch, CO 80130
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 310 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 951 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1746. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            07/30/2009

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1747. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/30/2010

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1748. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/16/2011

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1749. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            04/23/2012

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1750. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            01/31/2013

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1751. State what the contract or                       Business Service               Verizon Business Network Services, Inc.
         lease is for and the nature of                   Agreement dated                Attn: Customer Service
         the debtor's interest                            07/11/2014                     6415-6455 Business Center Drive
                                                                                         Highlands Ranch, CO 80130
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 311 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 952 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1752. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            07/29/2014

                  State the term remaining                Potentially Expired            Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1753. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/27/2014

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1754. State what the contract or                       Amended and Restated
         lease is for and the nature of                   Business Service
         the debtor's interest                            Agreement dated
                                                          10/15/2014
                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1755. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            07/21/2016

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1756. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement - Not Dated
         the debtor's interest

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 312 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 953 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1757. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement - Not Dated
         the debtor's interest

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1758. State what the contract or                       Service Order Form -
         lease is for and the nature of                   Not Dated
         the debtor's interest

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Service
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1759. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            05/11/2007

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: Customer Services
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1760. State what the contract or                       Settlement Letter and
         lease is for and the nature of                   Release dated
         the debtor's interest                            07/09/2007

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             6415-6455 Business Center Drive
                   government contract                                                   Highlands Ranch, CO 80130


 2.1761. State what the contract or                       Business Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            10/15/2014

                  State the term remaining                Undetermined                   Verizon Business Network Services, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             One Verizon Way
                   government contract                                                   Basking Ridge, NJ 07920


 2.1762. State what the contract or                       Master Services dated
         lease is for and the nature of                   10/19/2007
         the debtor's interest
                                                                                         Vertex, Inc.
                  State the term remaining                Undetermined                   Attn: Contracts Administration
                                                                                         1041 Old Cassatt Road
             List the contract number of any                                             Berwyn, PA 19312
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 313 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 954 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1763. State what the contract or                       Software as a Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/21/2012

                  State the term remaining                Undetermined                   Vertex, Inc.
                                                                                         Attn: Contracts Management
             List the contract number of any                                             1041 Old Cassatt Road
                   government contract                                                   Berwyn, PA 19312


 2.1764. State what the contract or                       Consulting Agreement
         lease is for and the nature of                   and Statement of Work
         the debtor's interest                            dated 05/26/2016

                  State the term remaining                Undetermined                   Vertex, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1041 Old Cassatt Road
                   government contract                                                   Berwyn, PA 19312


 2.1765. State what the contract or                       Consulting Agreement
         lease is for and the nature of                   and Statement of Work
         the debtor's interest                            dated 05/26/2016

                  State the term remaining                Undetermined                   Vertex, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             1041 Old Cassatt Road
                   government contract                                                   Berwyn, PA 19312


 2.1766. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Carmel Mountain
         the debtor's interest                            Ranch Super Sport
                                                          dated 12/07/2019
                  State the term remaining                Undetermined                   VESTAR CALIFORNIA XXI, L.L.C.
                                                                                         c/o Vestar
             List the contract number of any                                             2425 East Camelback Road, Suite 750
                   government contract                                                   Phoenix, AZ 85016


 2.1767. State what the contract or                       Lessee for location at
         lease is for and the nature of                   781 Carmel Mountain
         the debtor's interest                            Ranch Super Sport
                                                          dated 12/07/2019
                  State the term remaining                12/31/2034
                                                                                         VESTAR CALIFORNIA XXI, L.L.C.
             List the contract number of any                                             14331 Penasquitos Drive
                   government contract                                                   San Diego, CA 92129


 2.1768. State what the contract or                       Lessee for location at
         lease is for and the nature of                   618 Homestead Super            VF4 CRYSTAL LAKE, LLC
         the debtor's interest                            Sport dated 01/12/2019         3314 NE 7th Street
                                                                                         Homestead, FL 33033-4502
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 314 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 955 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                1/31/2034

             List the contract number of any
                   government contract


 2.1769. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/11/2016
                                                                                         Via Technical , LLC
                  State the term remaining                Undetermined                   Attn: Natalie Viani
                                                                                         591 Camino De La Reina
             List the contract number of any                                             Suite 929
                   government contract                                                   San Diego, CA 92108


 2.1770. State what the contract or                       Letter Agreement dated
         lease is for and the nature of                   12/01/2015
         the debtor's interest
                                                                                         Via Technical , LLC
                  State the term remaining                Potentially Expired            Attn: Natalie Viani
                                                                                         591 Camino De La Reina
             List the contract number of any                                             Suite 929
                   government contract                                                   San Diego, CA 92108


 2.1771. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            04/30/2017
                                                                                         Via Technical , LLC
                  State the term remaining                Potentially Expired            Attn: Natalie Viani
                                                                                         591 Camino De La Reina
             List the contract number of any                                             Suite 929
                   government contract                                                   San Diego, CA 92108


 2.1772. State what the contract or                       Master Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            04/30/2017
                                                                                         Via Technical , LLC
                  State the term remaining                Potentially Expired            Attn: Natalie Viani
                                                                                         591 Camino De La Reina
             List the contract number of any                                             Suite 929
                   government contract                                                   San Diego, CA 92108


 2.1773. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/30/2017
                                                                                         Via Technical , LLC
                  State the term remaining                Potentially Expired            Attn: Natalie Viani
                                                                                         591 Camino De La Reina
             List the contract number of any                                             Suite 929
                   government contract                                                   San Diego, CA 92108




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 315 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 956 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1774. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            09/30/2017
                                                                                         Via Technical , LLC
                  State the term remaining                Potentially Expired            Attn: Natalie Viani
                                                                                         591 Camino De La Reina
             List the contract number of any                                             Suite 929
                   government contract                                                   San Diego, CA 92108


 2.1775. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            04/05/2018
                                                                                         Via Technical , LLC
                  State the term remaining                Potentially Expired            Attn: Natalie Viani
                                                                                         591 Camino De La Reina
             List the contract number of any                                             Suite 929
                   government contract                                                   San Diego, CA 92108


 2.1776. State what the contract or                       Master Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            12/21/2018
                                                                                         Via Technical , LLC
                  State the term remaining                Potentially Expired            Attn: Natalie Viani
                                                                                         591 Camino De La Reina
             List the contract number of any                                             Suite 929
                   government contract                                                   San Diego, CA 92108


 2.1777. State what the contract or                       MASTER SERVICES
         lease is for and the nature of                   AGREEMENT - Not
         the debtor's interest                            Dated
                                                                                         Via Technical , LLC
                  State the term remaining                Undetermined                   Attn: Natalie Viani
                                                                                         591 Camino De La Reina
             List the contract number of any                                             Suite 929
                   government contract                                                   San Diego, CA 92108


 2.1778. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Middletown Hwy 35
         the debtor's interest                            (Pipeline) dated Based
                                                          on LL/Permit Delivery          Village 35, LP
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         3 Manhattanville Road
             List the contract number of any                                             Suite 202
                   government contract                                                   Purchase, NY 10577


 2.1779. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Fairview Super Sport
         the debtor's interest                            dated 12/17/2019               Village FV, Ltd
                                                                                         Attn: Robert Dozier
                  State the term remaining                Undetermined                   2000 McKinney Avenue
                                                                                         Suite 1000
             List the contract number of any                                             Dallas, TX 75201
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 316 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 957 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1780. State what the contract or                       Lessee for location at
         lease is for and the nature of                   389 Fairview Super
         the debtor's interest                            Sport dated 12/21/2019

                  State the term remaining                12/31/2034
                                                                                         Village FV, Ltd
             List the contract number of any                                             361 Southwind Ln.
                   government contract                                                   Fairview, TX 75069


 2.1781. State what the contract or                       Lessee for location at
         lease is for and the nature of                   090 Hillcrest Active
         the debtor's interest                            dated 04/01/1999

                  State the term remaining                7/31/2028                      VILLAGE HILLCREST PARTNERS LP - V15238
                                                                                         3965 5th Avenue
             List the contract number of any                                             Suite 100
                   government contract                                                   San Diego, CA 92103-3192


 2.1782. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Hillcrest Active dated
         the debtor's interest                            04/01/1999

                  State the term remaining                Undetermined                   Village Hillcrest Partners LP
                                                                                         Attn: Roberto Brutocao
             List the contract number of any                                             6 Venture, Suite 201
                   government contract                                                   Irvine, CA 92618


 2.1783. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Wayne Town Center
         the debtor's interest                            Super Sport dated
                                                          12/31/2015                     VNO Wayne Towne Center LLC
                  State the term remaining                Undetermined                   c/o Vornado Realty Trust
                                                                                         Attn: Legal Dept Retail Real Estate Div
             List the contract number of any                                             210 Route 4 East
                   government contract                                                   Paramus, NJ 07652


 2.1784. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/16/2015

                  State the term remaining                Undetermined                   Vortex Industries, Inc.
                                                                                         Attn: Stacey Muto Corporate Accounts Mgr
             List the contract number of any                                             3198-M Airport Loop Drive
                   government contract                                                   Costa Mesa, CA 92626


 2.1785. State what the contract or                       Revocable Services             Vortex Industries, Inc.
         lease is for and the nature of                   Agreement dated                Attn: Stacey Muto Corporate Accounts Mgr
         the debtor's interest                            02/16/2015                     3198-M Airport Loop Drive
                                                                                         Costa Mesa, CA 92626
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 317 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 958 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1786. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Downtown Long Beach
         the debtor's interest                            Super Sport dated
                                                          06/01/2018
                  State the term remaining                Undetermined                   W/GL Ocean Avenue LB Holdings VII LLC
                                                                                         Attn: One World Trade Center
             List the contract number of any                                             PO Box 60247-0247
                   government contract                                                   Los Angeles, CA 90060-0247


 2.1787. State what the contract or                       Lessee for location at
         lease is for and the nature of                   936 Downtown Long
         the debtor's interest                            Beach Super Sport
                                                          dated 11/03/2018
                  State the term remaining                5/31/2038
                                                                                         W/GL Ocean Avenue LB Holdings VII LLC
             List the contract number of any                                             1 World Trade Center, Ste 110
                   government contract                                                   Long Beach, CA 90831


 2.1788. State what the contract or                       GROUP SALES
         lease is for and the nature of                   AGREEMENT dated
         the debtor's interest                            11/05/2018

                  State the term remaining                Potentially Expired            Wailea Beach Resort
                                                                                         Attn: General Counsel
             List the contract number of any                                             3700 Wailea Alanui
                   government contract                                                   Wailea, HI 96753


 2.1789. State what the contract or                       Group Sales
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            11/05/2018

                  State the term remaining                Potentially Expired            Wailea Beach Resort
                                                                                         Attn: General Counsel
             List the contract number of any                                             3700 Wailea Alanui
                   government contract                                                   Wailea, HI 96753


 2.1790. State what the contract or                       Master Subcriotion
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/14/2018
                                                                                         WalkMe, Inc.
                  State the term remaining                Undetermined                   Attn: Legal Department
                                                                                         525 Market Street, 37th Floor
             List the contract number of any                                             Suite 500
                   government contract                                                   San Francisco, CA 94105




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 318 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 959 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1791. State what the contract or                       MASTER
         lease is for and the nature of                   SUBSCRIPTION
         the debtor's interest                            AGREEMENT dated
                                                          08/14/2018                     WalkMe, Inc.
                  State the term remaining                Undetermined                   Attn: Legal Department
                                                                                         525 Market Street, 37th Floor
             List the contract number of any                                             Suite 500
                   government contract                                                   San Francisco, CA 94105


 2.1792. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Hillsboro Sport dated
         the debtor's interest                            05/01/1999
                                                                                         Watumull Properties Corp
                  State the term remaining                Undetermined                   Hillsboro Watumull, LLC
                                                                                         307 Lewers Street
             List the contract number of any                                             6th Floor
                   government contract                                                   Honolulu, HI 96815


 2.1793. State what the contract or                       Lessee for location at
         lease is for and the nature of                   575 Hillsboro Sport
         the debtor's interest                            dated 05/01/1999

                  State the term remaining                2/1/2021
                                                                                         Watumull Properties Corp.
             List the contract number of any                                             6095 SE Tualatin Valley Hwy
                   government contract                                                   Hillsboro, OR 97123-8181


 2.1794. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Windward Active dated
         the debtor's interest                            07/01/1998

                  State the term remaining                Undetermined
                                                                                         WCSC LLC
             List the contract number of any                                             86 Frederick Avenue
                   government contract                                                   Atherton, CA 94027


 2.1795. State what the contract or                       Lessee for location at
         lease is for and the nature of                   559 Windward Active
         the debtor's interest                            dated 10/01/1998

                  State the term remaining                12/31/2022                     WCSC, LLC
                                                                                         45-480 Kaneohe Bay Drive, Suite C-21
             List the contract number of any                                             Suite C-21
                   government contract                                                   Kaneohe, HI 96744-2039


 2.1796. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   San Marcos dated
         the debtor's interest                            02/17/2017                     Weingarten Nostat Inc
                                                                                         Weingarten Realty Investors
                  State the term remaining                Undetermined                   2600 Citadel Plaza Drive
                                                                                         Suite 125
             List the contract number of any                                             Houston, TX 77008
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 319 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 960 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1797. State what the contract or                       Lessee for location at
         lease is for and the nature of                   180 Chino Hills Sport
         the debtor's interest                            dated 03/25/2005

                  State the term remaining                3/31/2032                      WEINGARTEN NOSTAT INC - V0000412434
                                                                                         4200 Chino Hills Parkway
             List the contract number of any                                             Suite 780
                   government contract                                                   Chino Hills, CA 91709-5839


 2.1798. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Chino Hills Marketplace
         the debtor's interest                            Sport dated 05/24/2005

                  State the term remaining                Undetermined                   Weingarten Nostat, Inc.
                                                                                         2600 Citadel Plaza Drive
             List the contract number of any                                             Suite 125
                   government contract                                                   Houston, TX 77008


 2.1799. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Town & Country Sport
         the debtor's interest                            dated 04/22/2008
                                                                                         Weingarten Realty Inv
                  State the term remaining                Undetermined                   WRC Properties, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             PO Box 924133
                   government contract                                                   Dallas, TX 75303-1074


 2.1800. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            06/01/2017

                  State the term remaining                Undetermined                   Wendt Industries, Inc.
                                                                                         Attn: Michael P. Wendt, President
             List the contract number of any                                             25520 Schulte Court
                   government contract                                                   Tracy, CA 95377


 2.1801. State what the contract or                       Master Purchasing
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            06/01/2017

                  State the term remaining                Undetermined                   Wendt Industries, Inc.
                                                                                         Attn: Michael P. Wendt, President
             List the contract number of any                                             25520 Schulte Court
                   government contract                                                   Tracy, CA 95377


 2.1802. State what the contract or                       Endorsement                    West Coast Commercial Pools, Inc.
         lease is for and the nature of                   Agreement - Waver              Attn: General Counsel
         the debtor's interest                            Subrogation dated              2491 N Cottage Hill Drive
                                                          01/14/2015                     Orange, CA 92867
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 320 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 961 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.1803. State what the contract or                       Revocable Service
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            03/01/2009

                  State the term remaining                Undetermined                   West Coast Commercial Pools, Inc.
                                                                                         Attn: Rich Foley
             List the contract number of any                                             2491 N Cottage Hill Drive
                   government contract                                                   Orange, CA 92867


 2.1804. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   West Hollywood Super
         the debtor's interest                            Sport dated 02/01/1980

                  State the term remaining                807 Days                       West Hollywood Development Co, LLC
                                                                                         Michael Talla
             List the contract number of any                                             1803 Pontius Avenue
                   government contract                                                   Los Angeles, CA 90025


 2.1805. State what the contract or                       Lessee for location at
         lease is for and the nature of                   184 West Hollywood
         the debtor's interest                            Super Sport dated
                                                          11/01/1996
                  State the term remaining                8/31/2022
                                                                                         West Hollywood Development Co, LLC
             List the contract number of any                                             8612 Santa Monica Blvd
                   government contract                                                   West Hollywood, CA 90069-4110


 2.1806. State what the contract or                       Service Agreement
         lease is for and the nature of                   dated 07/24/2017
         the debtor's interest
                                                                                         West Unified Communications Services, In
                  State the term remaining                Undetermined                   Attn: Legal Department
                                                                                         8420 West Bryn Mawr Avenue
             List the contract number of any                                             Suite 1100
                   government contract                                                   Chicago, IL 60631


 2.1807. State what the contract or                       Service Agreement
         lease is for and the nature of                   dated 07/25/2017
         the debtor's interest
                                                                                         West Unified Communications Services, In
                  State the term remaining                Undetermined                   Attn: Legal Department
                                                                                         8420 West Bryn Mawr Avenue
             List the contract number of any                                             Suite 1100
                   government contract                                                   Chicago, IL 60631




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 321 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 962 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1808. State what the contract or                       Purchase Order -
         lease is for and the nature of                   Service Agreement
         the debtor's interest                            dated 07/25/2017
                                                                                         West Unified Communications Services, In
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         8420 West Bryn Mawr Avenue
             List the contract number of any                                             Suite 1100
                   government contract                                                   Chicago, IL 60631


 2.1809. State what the contract or                       Connected Audio
         lease is for and the nature of                   Services dated
         the debtor's interest                            07/25/2017
                                                                                         West Unified Communications Services, In
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         8420 West Bryn Mawr Avenue
             List the contract number of any                                             Suite 1100
                   government contract                                                   Chicago, IL 60631


 2.1810. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Woodland Hills Super
         the debtor's interest                            Sport dated 01/01/2016
                                                                                         West Valley Owner LLC/21919 Erwin St LLC
                  State the term remaining                Undetermined                   Attn: Lease Administration
                                                                                         2049 Century Park East
             List the contract number of any                                             41st Floor
                   government contract                                                   Los Angeles, CA 90067


 2.1811. State what the contract or                       Lessee for location at
         lease is for and the nature of                   929 Woodland Hills
         the debtor's interest                            Super Sport dated
                                                          09/19/2015
                  State the term remaining                12/31/2030                     West Valley Owner, LLC
                                                                                         6220 N Topanga Canyon Blvd, Ste 2410
             List the contract number of any                                             2410
                   government contract                                                   Woodland Hills, CA 91367


 2.1812. State what the contract or                       Lessee for location at
         lease is for and the nature of                   782 Mission Valley
         the debtor's interest                            Super Sport

                  State the term remaining                Undetermined

             List the contract number of any                                             Westfield
                   government contract                                                   San Diego, CA


 2.1813. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   San Mateo Sport dated
         the debtor's interest                            09/01/1997

                  State the term remaining                868 Days                       WESTLAKE DMD LLC
                                                                                         520 S. El Camino Real 9th Floor
             List the contract number of any                                             San Mateo, CA 94402
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 322 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 963 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1814. State what the contract or                       Lessee for location at
         lease is for and the nature of                   503 San Mateo Sport
         the debtor's interest                            dated 09/01/1997

                  State the term remaining                10/31/2022
                                                                                         WESTLAKE DMD LLC
             List the contract number of any                                             500 S. El Camino Real
                   government contract                                                   San Mateo, CA 94402-1707


 2.1815. State what the contract or                       Lessee for location at
         lease is for and the nature of                   665 Lake Worth Sport
         the debtor's interest                            dated 04/10/2009

                  State the term remaining                9/30/2030
                                                                                         WESTMAR I DFW LLC - V0000415007
             List the contract number of any                                             6000 Quebec Street
                   government contract                                                   Fort Worth, TX 76135-3609


 2.1816. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Lake Worth Sport dated
         the debtor's interest                            02/28/2009
                                                                                         Westmar I DFW, LLC
                  State the term remaining                Undetermined                   c/o McGinity & Nodar, LLP
                                                                                         Attn: Rudy P Nodar
             List the contract number of any                                             1300 West Olympic Boulevard
                   government contract                                                   Los Angeles, CA 90064


 2.1817. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Pleasanton Super Sport
         the debtor's interest                            dated 02/09/2011

                  State the term remaining                Undetermined                   WESTMAR II LP
                                                                                         11300 West Olympic Blvd
             List the contract number of any                                             Suite 620
                   government contract                                                   Los Angeles, CA 90064


 2.1818. State what the contract or                       Lessee for location at
         lease is for and the nature of                   836 Pleasanton Willow
         the debtor's interest                            Super Sport dated
                                                          12/10/2010
                  State the term remaining                12/31/2031
                                                                                         WESTMAR II LP - V0000415549
             List the contract number of any                                             4770 Willow Road
                   government contract                                                   Pleasanton, CA 94588-2762


 2.1819. State what the contract or                       Lessee for location at
         lease is for and the nature of                   836 Pleasanton Willow          WESTMAR II LP - V0000415549
         the debtor's interest                            Super Sport dated              4770 Willow Road
                                                          12/10/2010                     Pleasanton, CA 94588-2762
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 323 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 964 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                12/31/2031

             List the contract number of any
                   government contract


 2.1820. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Whittier Active dated
         the debtor's interest                            07/31/2004

                  State the term remaining                Undetermined                   Whittwood 1768, Inc.
                                                                                         500 North Broadway
             List the contract number of any                                             Ste 210, PO Box 9010
                   government contract                                                   Jericho, NY 11753


 2.1821. State what the contract or                       Lessee for location at
         lease is for and the nature of                   123 Whittier Active
         the debtor's interest                            dated 07/31/2004

                  State the term remaining                7/30/2024
                                                                                         Whittwood 1768, Inc.
             List the contract number of any                                             10125 Whittwood Drive
                   government contract                                                   Whittier, CA 90603-2314


 2.1822. State what the contract or                       Construction K dated
         lease is for and the nature of                   05/04/2017
         the debtor's interest

                  State the term remaining                Potentially Expired            Williams Construction Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             2701 West Mansfield Avenue
                   government contract                                                   Englewood, CO 80110


 2.1823. State what the contract or                       Construction
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            07/17/2017

                  State the term remaining                Undetermined                   Williams Construction Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             2701 West Mansfield Avenue
                   government contract                                                   Englewood, CO 80110


 2.1824. State what the contract or                       Construction Contract
         lease is for and the nature of                   with Williams
         the debtor's interest                            Construction
                                                          Corporation dated
                                                          08/28/2018
                  State the term remaining                Undetermined                   Williams Construction Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             2701 West Mansfield Avenue
                   government contract                                                   Englewood, CO 80110


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 324 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 965 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1825. State what the contract or                       Williams Construction
         lease is for and the nature of                   Corporation,
         the debtor's interest                            Construction Contract
                                                          dated 03/14/2019
                  State the term remaining                Undetermined                   Williams Construction Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             2701 West Mansfield Avenue
                   government contract                                                   Englewood, CO 80110


 2.1826. State what the contract or                       Williams Construction
         lease is for and the nature of                   Corporation,
         the debtor's interest                            Construction Contract
                                                          dated 03/19/2019
                  State the term remaining                Undetermined                   Williams Construction Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             2701 West Mansfield Avenue
                   government contract                                                   Englewood, CO 80110


 2.1827. State what the contract or                       Williams Construction
         lease is for and the nature of                   Corporation,
         the debtor's interest                            Construction Contract
                                                          dated 04/25/2019
                  State the term remaining                Undetermined                   Williams Construction Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             2701 West Mansfield Avenue
                   government contract                                                   Englewood, CO 80110


 2.1828. State what the contract or                       Construction Contract-
         lease is for and the nature of                   South Parker dated
         the debtor's interest                            06/24/2019

                  State the term remaining                Potentially Expired            Williams Construction Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             2701 West Mansfield Avenue
                   government contract                                                   Englewood, CO 80110


 2.1829. State what the contract or                       Construction
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/22/2017

                  State the term remaining                Undetermined                   Williams Construction Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             2701 West Mansfield Avenue
                   government contract                                                   Englewood, CO 80110


 2.1830. State what the contract or                       Construction
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            10/19/2017
                                                                                         Williams Construction Corporation
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         2701 West Mansfield Avenue
             List the contract number of any                                             Englewood, CO 80110
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 325 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 966 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1831. State what the contract or                       Construction
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            11/30/2017

                  State the term remaining                Undetermined                   Williams Construction Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             2701 West Mansfield Avenue
                   government contract                                                   Englewood, CO 80110


 2.1832. State what the contract or                       Construction
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/08/2018

                  State the term remaining                Undetermined                   Williams Construction Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             2701 West Mansfield Avenue
                   government contract                                                   Englewood, CO 80110


 2.1833. State what the contract or                       Change Order for
         lease is for and the nature of                   Williams dated
         the debtor's interest                            09/27/2019

                  State the term remaining                Undetermined                   Williams Construction Corporation
                                                                                         Attn: General Counsel
             List the contract number of any                                             2701 West Mansfield Avenue
                   government contract                                                   Englewood, CO 80110


 2.1834. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Victorville Active dated
         the debtor's interest                            01/01/1993
                                                                                         Wilmington Victorville LLC
                  State the term remaining                Undetermined                   c/o The Woodmont Company
                                                                                         Attn: Frederick J. Meno, Receiver
             List the contract number of any                                             2100 W. 7th Street
                   government contract                                                   Fort Worth, TX 76107


 2.1835. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Bishop Active dated
         the debtor's interest                            11/01/1997

                  State the term remaining                Undetermined                   WKF, Inc
                                                                                         1000 Bishop Street
             List the contract number of any                                             Suite 810
                   government contract                                                   Honolulu, HI 96813-3423


 2.1836. State what the contract or                       Lessee for location at         WKF, INC. - V0000123007
         lease is for and the nature of                   555 Bishop Active              1000 Bishop Street
         the debtor's interest                            dated 08/01/1998               Suite 101
                                                                                         Honolulu, HI 96813-4202
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 326 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 967 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                2/28/2023

             List the contract number of any
                   government contract


 2.1837. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Pasadena East Sport
         the debtor's interest                            dated 12/22/2006
                                                                                         WMC Fund, LLC
                  State the term remaining                Undetermined                   Attn: Damiam Nusynkier
                                                                                         1990 NE 163rd Street
             List the contract number of any                                             Suite 209
                   government contract                                                   North Miami Beach, FL 33162


 2.1838. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Woodbridge Township
         the debtor's interest                            Super Sport dated
                                                          05/27/2019                     Woodbridge Avenel, LLC
                  State the term remaining                Undetermined                   c/o JJ Operating Inc.
                                                                                         112 West 34th Street
             List the contract number of any                                             Suite 2106
                   government contract                                                   New York, NY 10120


 2.1839. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Glenarden Super Sport
         the debtor's interest                            dated 12/20/2014
                                                                                         Woodmore Towne Centre LLC
                  State the term remaining                Undetermined                   c/o Petrie Ross Ventures LLC
                                                                                         Attn: Warren B Duckett III, Esq.
             List the contract number of any                                             1919 West Street
                   government contract                                                   Annapolis, MD 21401


 2.1840. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Austin Sport dated
         the debtor's interest                            06/08/1995
                                                                                         WPC HOLDCO LLC
                  State the term remaining                Undetermined                   24 HR-TX (TX) Limited Partnership
                                                                                         c/o W.P. Carey Inc.
             List the contract number of any                                             50 Rockefeller Plaza
                   government contract                                                   New York, NY 10020


 2.1841. State what the contract or                       Lessee for location at
         lease is for and the nature of                   202 Austin Sport dated
         the debtor's interest                            06/01/1991

                  State the term remaining                6/30/2022
                                                                                         WPC HOLDCO LLC - V0000415806
             List the contract number of any                                             10616 Research Blvd.
                   government contract                                                   Austin, TX 78759-5709




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 327 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 968 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1842. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Castro Valley Active
         the debtor's interest                            dated 12/19/1992

                  State the term remaining                Undetermined                   WRI Southern Industrial Pool, LLC
                                                                                         2600 Citadel Plaza Drive
             List the contract number of any                                             Suite 125
                   government contract                                                   Houston, TX 77008


 2.1843. State what the contract or                       Lessee for location at
         lease is for and the nature of                   514 Castro Valley
         the debtor's interest                            Active dated 12/01/1992

                  State the term remaining                12/31/2029
                                                                                         WRI Southern Industrial Pool, LLC (514)
             List the contract number of any                                             3839 E. Castro Valley Blvd.
                   government contract                                                   Castro Valley, CA 94552-4837


 2.1844. State what the contract or                       Lessee for location at
         lease is for and the nature of                   543 Paseo Padre Active
         the debtor's interest                            dated 07/01/1992

                  State the term remaining                7/31/2023
                                                                                         WRI WEST GATE SOUTH LP - V0000382238
             List the contract number of any                                             39300 Paseo Padre Parkway
                   government contract                                                   Fremont, CA 94538-1629


 2.1845. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Westminster Active
         the debtor's interest                            dated 12/21/2007
                                                                                         WRI West Gate South, L.P.
                  State the term remaining                Undetermined                   c/o Weingarten Realty Investors,
                                                                                         Attn: General Counsel
             List the contract number of any                                             PO Box 924133
                   government contract                                                   Houston, TX 77292-4133


 2.1846. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Paseo Padre Active
         the debtor's interest                            dated 01/31/1994

                  State the term remaining                1,141 Days                     WRI West Gate South, LP
                                                                                         Attn: General Counsel
             List the contract number of any                                             PO Box 924133
                   government contract                                                   Houston, TX 77292


 2.1847. State what the contract or                       Service Order
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            04/28/2010
                                                                                         XO Communications Services, Inc.
                  State the term remaining                Potentially Expired            Attn: General Counsel
                                                                                         140 S Dearborn St Ste 220
             List the contract number of any                                             Chicago, IL 60603-5237
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 328 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 969 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1848. State what the contract or                       Service Order
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            04/28/2010

                  State the term remaining                Potentially Expired            XO Communications Services, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             140 S Dearborn St Ste 220
                   government contract                                                   Chicago, IL 60603-5237


 2.1849. State what the contract or                       Service Order
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            02/28/2004

                  State the term remaining                Potentially Expired            XO Communications Services, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             13865 Sunrise Valley Drive
                   government contract                                                   Herndon, VA 20171


 2.1850. State what the contract or                       Service Order
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            08/13/2014

                  State the term remaining                Potentially Expired            XO Communications Services, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             13865 Sunrise Valley Drive
                   government contract                                                   Herndon, VA 20171


 2.1851. State what the contract or                       Service Order
         lease is for and the nature of                   Agreement and
         the debtor's interest                            Addendum dated
                                                          08/13/2014
                  State the term remaining                Potentially Expired            XO Communications Services, LLC
                                                                                         Attn: General Counsel
             List the contract number of any                                             13865 Sunrise Valley Drive
                   government contract                                                   Herndon, VA 20171


 2.1852. State what the contract or                       Purchase Order dated
         lease is for and the nature of                   07/01/2016
         the debtor's interest

                  State the term remaining                Undetermined                   Yelp, Inc.
                                                                                         Attn: Vanessa Salviejo
             List the contract number of any                                             PO Box 204393
                   government contract                                                   Dallas, TX 75320-4393


 2.1853. State what the contract or                       Purchase Order dated           Yelp, Inc.
         lease is for and the nature of                   07/01/2016                     Attn: Vanessa Salviejo
         the debtor's interest                                                           PO Box 204393
                                                                                         Dallas, TX 75320-4393
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 329 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 970 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Potentially Expired

             List the contract number of any
                   government contract


 2.1854. State what the contract or                       Purchase Order dated
         lease is for and the nature of                   07/01/2016
         the debtor's interest

                  State the term remaining                Potentially Expired            Yelp, Inc.
                                                                                         Attn: Vanessa Salviejo
             List the contract number of any                                             PO Box 204393
                   government contract                                                   Dallas, TX 75320-4393


 2.1855. State what the contract or                       Purchase Order dated
         lease is for and the nature of                   07/01/2017
         the debtor's interest

                  State the term remaining                Potentially Expired            Yelp, Inc.
                                                                                         Attn: Vanessa Salviejo
             List the contract number of any                                             PO Box 204393
                   government contract                                                   Dallas, TX 75320-4393


 2.1856. State what the contract or                       Purchase Order dated
         lease is for and the nature of                   07/01/2018
         the debtor's interest

                  State the term remaining                Potentially Expired            Yelp, Inc.
                                                                                         Attn: Vanessa Salviejo
             List the contract number of any                                             PO Box 204393
                   government contract                                                   Dallas, TX 75320-4393


 2.1857. State what the contract or                       Supplemental Purchase
         lease is for and the nature of                   Order dated 07/01/2019
         the debtor's interest

                  State the term remaining                15 Days                        Yelp, Inc.
                                                                                         Attn: Vanessa Salviejo
             List the contract number of any                                             PO Box 204393
                   government contract                                                   Dallas, TX 75320-4393


 2.1858. State what the contract or                       Advertising Agreement
         lease is for and the nature of                   and Purchase Order
         the debtor's interest                            dated 01/14/2013

                  State the term remaining                Potentially Expired            Yelp, Inc.
                                                                                         Attn: Vanessa Salviejo
             List the contract number of any                                             PO Box 204393
                   government contract                                                   Dallas, TX 75320-4393




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 330 of 333
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 971 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1859. State what the contract or                       Advertising Agreement
         lease is for and the nature of                   dated 07/15/2013
         the debtor's interest

                  State the term remaining                Potentially Expired            Yelp, Inc.
                                                                                         Attn: Vanessa Salviejo
             List the contract number of any                                             PO Box 204393
                   government contract                                                   Dallas, TX 75320-4393


 2.1860. State what the contract or                       Supplemental Purchase
         lease is for and the nature of                   Order dated 08/01/2013
         the debtor's interest

                  State the term remaining                Potentially Expired            Yelp, Inc.
                                                                                         Attn: Vanessa Salviejo
             List the contract number of any                                             PO Box 204393
                   government contract                                                   Dallas, TX 75320-4393


 2.1861. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Walnut Creek Active
         the debtor's interest                            dated 10/01/1991

                  State the term remaining                Undetermined                   Ygnacio Center Owner, LLC
                                                                                         HINES
             List the contract number of any                                             2033 N. Main Street Suite 210
                   government contract                                                   Walnut Creek, CA 94596


 2.1862. State what the contract or                       Lessee for location at
         lease is for and the nature of                   272 Washington Sport
         the debtor's interest                            dated 12/20/2014

                  State the term remaining                2/28/2025
                                                                                         YIP HOLDINGS TWO LLC - V0000414086
             List the contract number of any                                             567 Floresta Blvd
                   government contract                                                   San Leandro, CA 94578-4125


 2.1863. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Rancho Cucamonga
         the debtor's interest                            Sport dated 02/01/2001
                                                                                         YNS Enterprise No. 1, LLC
                  State the term remaining                Undetermined                   c/o Pacific Century Investment, Inc.
                                                                                         11799 Sebastian Way
             List the contract number of any                                             Suite 105
                   government contract                                                   Rancho Cucamonga, CA 91730


 2.1864. State what the contract or                       Lessee for location at
         lease is for and the nature of                   197 Rancho
         the debtor's interest                            Cucamonga Sport
                                                          dated 02/01/2001
                  State the term remaining                1/31/2021                      YNS Enterprise No. 1, LLC
                                                                                         11787 Foothill Blvd.
             List the contract number of any                                             Rancho Cucamonga, CA 91730-3907
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 331 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 972 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.1865. State what the contract or                       Software Development
         lease is for and the nature of                   and License Agreement
         the debtor's interest                            dated 05/24/2017

                  State the term remaining                Undetermined                   Your Trainer, Inc.
                                                                                         Attn: CEO
             List the contract number of any                                             1514 Roberts Drive
                   government contract                                                   Jacksonville Beach, FL 32250


 2.1866. State what the contract or                       Augmented Staffing
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            10/01/2019

                  State the term remaining                Undetermined                   Your Trainer, Inc.
                                                                                         Attn: CFO
             List the contract number of any                                             1514 Roberts Drive
                   government contract                                                   Jacksonville Beach, FL 32250


 2.1867. State what the contract or                       Lease Agreement for
         lease is for and the nature of                   Miami Gardens Super
         the debtor's interest                            Sport dated 02/01/2021

                  State the term remaining                Undetermined                   Zelprop 24 LLC
                                                                                         Galaxy Management
             List the contract number of any                                             50 Jackson Ave.
                   government contract                                                   Syosset, NY 11791


 2.1868. State what the contract or                       Lessee for location at
         lease is for and the nature of                   634 Miami Gardens
         the debtor's interest                            Super Sport dated
                                                          12/15/2018
                  State the term remaining                1/31/2039
                                                                                         Zelprop 24 LLC
             List the contract number of any                                             19371 NW 27th Avenue
                   government contract                                                   Miami Gardens, FL 33056-2521


 2.1869. State what the contract or                       Revocable Services
         lease is for and the nature of                   Agreement and
         the debtor's interest                            Exhibits dated
                                                          05/01/2016
                  State the term remaining                Undetermined                   Zone Aire Systems, Inc.
                                                                                         Attn: General Counsel
             List the contract number of any                                             140-18 Foch Boulevard
                   government contract                                                   Jamaica, NY 11436


 2.1870. State what the contract or                       Revocable Services             Zone Aire Systems, Inc.
         lease is for and the nature of                   Agreement and                  Attn: Vinita Singh
         the debtor's interest                            Exhibits dated                 140-18 Foch Boulevard
                                                          04/01/2015                     Jamaica, NY 11436
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 332 of 333
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                                 Case 20-11561-KBO                           Doc 6   Filed 08/28/20       Page 973 of 976
 Debtor 1 24 Hour Fitness USA, Inc.                                                              Case number (if known)   20-11561
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Undetermined

             List the contract number of any
                   government contract


 2.1871. State what the contract or                       Master Subscription
         lease is for and the nature of                   Agreement dated
         the debtor's interest                            10/19/2017
                                                                                         Zuora, Inc.
                  State the term remaining                Undetermined                   Attn: General Counsel
                                                                                         1051 E. Hillside Avenue
             List the contract number of any                                             Suite 600
                   government contract                                                   Foster CIty, CA 94404




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 333 of 333
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                                 Case 20-11561-KBO                   Doc 6    Filed 08/28/20         Page 974 of 976

 Fill in this information to identify the case:

 Debtor name         24 Hour Fitness USA, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         20-11561
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      24 Hour Fitness                   1707 Market Place Boulevard, # 200                Morgan Stanley                     D   2.1
             Holdings LLC                      Irving, TX 75063                                  Senior Funding, Inc.               E/F
                                                                                                                                    G




    2.2      24 Hour Fitness                   1707 Market Place Boulevard, # 200                Morgan Stanley                     D   2.2
             Holdings LLC                      Irving, TX 75063                                  Senior Funding, Inc.               E/F
                                                                                                                                    G




    2.3      24 Hour Fitness                   1707 Market Place Boulevard, # 200                Morgan Stanley                     D   2.1
             United States,                    Irving, TX 75063                                  Senior Funding, Inc.               E/F
             Inc.
                                                                                                                                    G




    2.4      24 Hour Fitness                   1707 Market Place Boulevard, # 200                Morgan Stanley                     D   2.2
             United States,                    Irving, TX 75063                                  Senior Funding, Inc.               E/F
             Inc.
                                                                                                                                    G




    2.5      24 Hour Fitness                   1707 Market Place Boulevard, # 200                Morgan Stanley                     D   2.1
             Worldwide Inc.                    Irving, TX 75063                                  Senior Funding, Inc.               E/F
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 2
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                                 Case 20-11561-KBO                   Doc 6   Filed 08/28/20      Page 975 of 976

 Debtor       24 Hour Fitness USA, Inc.                                                 Case number (if known)   20-11561


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      24 Hour Fitness                   1707 Market Place Boulevard, # 200            Morgan Stanley                 D   2.2
             Worldwide Inc.                    Irving, TX 75063                              Senior Funding, Inc.           E/F
                                                                                                                            G




    2.7      24 Hour Holdings                  1707 Market Place Boulevard, # 200            Morgan Stanley                 D   2.1
             II LLC                            Irving, TX 75063                              Senior Funding, Inc.           E/F
                                                                                                                            G




    2.8      24 Hour Holdings                  1707 Market Place Boulevard, # 200            Morgan Stanley                 D   2.2
             II LLC                            Irving, TX 75063                              Senior Funding, Inc.           E/F
                                                                                                                            G




    2.9      RS Fit Holdings                   1707 Market Place Boulevard, # 200            Morgan Stanley                 D   2.1
             LLC                               Irving, TX 75063                              Senior Funding, Inc.           E/F
                                                                                                                            G




    2.10     RS Fit Holdings                   1707 Market Place Boulevard, # 200            Morgan Stanley                 D   2.2
             LLC                               Irving, TX 75063                              Senior Funding, Inc.           E/F
                                                                                                                            G




Official Form 206H                                                       Schedule H: Your Codebtors                                Page 2 of 2
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                            Case 20-11561-KBO                    Doc 6        Filed 08/28/20          Page 976 of 976




Fill in this information to identify the case:

Debtor name         24 Hour Fitness USA, Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)     20-11561
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 27, 2020                 X /s/ Chris Nelson
                                                           Signature of individual signing on behalf of debtor

                                                            Chris Nelson
                                                            Printed name

                                                            Executive Vice President and Chief Financial Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
